Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 1 of 606 PageID #: 1




                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF NEW YORK

 AUGUST WILDMAN, CORBIN CABRERA,
 DANIEL MATIAS CABRERA, GILLIAN LEIGH
 CABRERA, M.G.C. BY AND THROUGH HIS
 NEXT FRIEND AUGUST CABRERA, R.X.C. BY
 AND THROUGH HIS NEXT FRIEND AUGUST              COMPLAINT UNDER THE
 CABRERA, ROBERT CABRERA, RONALD PAUL             ANTI-TERRORISM ACT
 HOPKINS, SUZANNE RENAE MARTINEZ, JD                 (18 U.S.C. § 2333)
 PROSSER, GLORIA DIANE TRELFA, JONATHAN
 L. ASHLEY III, JONATHAN LEIGH ASHLEY IV,
 JORDAN T. ASHLEY, TAMMIE MARIA ASHLEY,          JURY TRIAL DEMANDED
 CHERYL ATWELL, ERIN RIEDEL, ANGELA
 KAHLER, PAMELA E. ALEXANDER BELL,
 JAMES BELL, LONDON JACINDA BELL,
 ANDREA ROE, FREDERICK C. BENSON,
 BEVERLY MILLS, MAGGIE MAE BILYEU,                     No. 21-cv-4400
 KATHERINE ABREU-BORDER, MARY BORDER,
 DELAYNIE K. PEEK, FRANCISCO JAVIER
 BRISEÑO GUTIERREZ, LUIS BRISEÑO,
 MARISSA BROWN, ARIELL S. TAYLOR,
 INDIVIDUALLY AND ON BEHALF OF THE
 ESTATE OF CHRISTOPHER L. BROWN,
 WILLIAM A. BURLEY, WILLIAM MICHAEL
 BURLEY, MICHAEL COLLINS, DAN
 OLMSTEAD, TAMMY OLMSTEAD, CYNTHIA
 CAROL CAMPBELL, RAMIRO CARDOZA JR.,
 RAMIRO CARDOZA SR., MARIA CARDOZA,
 BRITTANI MARIE CARNER, T.M.C. BY AND
 THROUGH HIS NEXT FRIEND TIMOTHY
 NORMAN CARNER, TIMOTHY NORMAN
 CARNER, CORDARO DEVONE CLARK,
 CORTEIZE CLARK, KEYKO D. CLARK,
 PRECIOUS CLARK, CLEVELAND DAVIS, APRIL
 CLEARY, JONATHAN CLEARY, B.C. BY AND
 THROUGH HIS NEXT FRIEND HOLLY CONRAD,
 HOLLY CONRAD, PEYTON COONEY, A.C. BY
 AND THROUGH HIS NEXT FRIEND NICOLE
 COX, BRENNAN COX, H.C. BY AND THROUGH
 HER NEXT FRIEND NICOLE COX, NICOLE COX,
 ROSS COX, ANTHONY D’AUGUSTINE,
 JENNIFER D'AUGUSTINE, NICOLE
 D'AUGUSTINE, PATRICIA D’AUGUSTINE,
 MICHELE KULESA, ADAM DAEHLING,
 BRENDA DAEHLING, KAYLA MARIE
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 2 of 606 PageID #: 2




 DAEHLING, KIRK W. DAEHLING, SAMANTHA
 DAEHLING, HEATHER FRANCES DANIELS,
 JAMES L. DANIELS, LUCAS DANIELS, SOPHIE
 DANIELS, JUDITH SARA DARROUGH, ROBERT
 CHARLES DARROUGH, C.D. BY AND
 THROUGH HIS NEXT FRIEND HELENA DAVIS,
 HELENA DAVIS, JOSEPH ROGER
 DESLAURIERS, LISA DESLAURIERS, ALBERTO
 D. DIAZ, ANTHONY M. DIAZ, FRANCES P.
 DIAZ, KAYLA N. DIAZ, MATTHEW J. DIAZ,
 MAXIMO DIAZ, N.J.A.D. BY AND THROUGH
 HIS NEXT FRIEND KAYLA N. DIAZ, N.J.D. BY
 AND THROUGH HER NEXT FRIEND KAYLA N.
 DIAZ, B.C.D. BY AND THROUGH HIS NEXT
 FRIEND KELLI DODGE, KELLI DODGE, P.A.D.
 BY AND THROUGH HER NEXT FRIEND KELLI
 DODGE, PHOUTHASITH DOUANGDARA,
 ROBERT ALEXANDER DOVE, JOSEPH DUARTE,
 SARAH PETERS-DUARTE, INDIVIDUALLY AND
 ON BEHALF OF THE ESTATE OF CURTIS
 JOSEPH DUARTE, JOY COY, ROBERT L.
 DUNNING, INDIVIDUALLY AND ON BEHALF
 OF THE ESTATE OF TOMOE DUNNING, CAREY
 GREGGORY DUVAL, ERICH MARTIN ELLIS,
 JAMES RUSSELL ELLIS, JAMES EARL ELLIS,
 JOELLE R. ELLIS, JOHN F. ELLIS, VANESSA
 MARIE ANZURES, BRIAN EDWARD ELLIS,
 JULIE ANN ELLIS, VICTOR RAYMOND ELLIS,
 CATHERINE ELM BOATWRIGHT, MARGARET
 ELM CAMPBELL, DENNIS JOHN ELM, DONNA
 LEE ELM, MATTHEW ELM, CHRISTINE
 RANGEL, CHARLES ESSEX, MARION RUTH
 HOPKINS, JOHN L. FANT, STEPHANIE JANE
 FISHER, C.F. BY AND THROUGH HIS NEXT
 FRIEND STEPHANIE JANE FISHER, K.F. BY
 AND THROUGH HIS NEXT FRIEND STEPHANIE
 JANE FISHER, THOMAS ANTHONY FOGARTY,
 ERICA FOX, G.F. BY AND THROUGH HIS NEXT
 FRIEND ERICA FOX, MICHAEL FESTUS FOX,
 JASON WAYNE GIBSON, KARA GIBSON, Q.G.
 BY AND THROUGH HIS NEXT FRIEND KARA
 GIBSON, JESSICA ANNE BENSON, JOANNA
 GILBERT, EMMITT DWAYNE BURNS, JANICE
 CARUSO, PAUL EDWARD GOINS III, PATRICIA
 GOINS, DANA RAINEY, L.C.D. BY AND
 THROUGH HIS NEXT FRIEND BRIDGETT L.
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 3 of 606 PageID #: 3




 DEHOFF, KIRK ANDREW GOLLNITZ, TYLER
 GOLLNITZ, CONCHETTA MICHELL DIAZ,
 CEDRIC DONSHAE GORDON SR., CEDRIC
 FRANK GORDON, ADRIAN KIE-ALUN
 SHERROD, KRISTIN CARACCIOLO, SUNI
 CHABROW, PAIGE ERLANGER, COLBY
 ANDERSON, HAYLEY ANDERSON, A.G. BY
 AND THROUGH HER NEXT FRIEND JULIE
 GREEN, A.G. BY AND THROUGH HER NEXT
 FRIEND JULIE GREEN, E.G. BY AND THROUGH
 HER NEXT FRIEND JULIE GREEN, GLENDA
 GREEN, JULIE GREEN, T.G. BY AND THROUGH
 HER NEXT FRIEND JULIE GREEN, TRAVIS
 SCOTT GREEN, CAROL GRIFFIN, DANIEL
 GRIFFIN, MATT GRIFFIN, SHAWN PATRICK
 GRIFFIN, SHEILA RISTAINO, JERRY
 HARDISON, INDIVIDUALLY AND ON THE
 BEHALF OF THE ESTATE OF TERESA
 HARDISON, JUSTINA HARDISON, HOLLY
 MARIE HARPE, ANGELA MARIE HARPER,
 BRIAN HARPER, JOSEPH TROY HULSEY JR.,
 ADAM SAMUEL HARTSWICK, ALEX HENIGAN,
 KEVIN HONAKER, LARRY D. HORNS, TAMARA
 ELAINE HORNS, TIFFANY LOUISE HORNS,
 BENJAMIN HORSLEY, JOHN HORSLEY,
 SONGMI KIETZMANN, KATHLEEN LYNN
 ALEXANDER, DANIEL OWEN HUGHES,
 PATRICIA SHIRLEY HUGHES, KRISTINE ANNE
 ZITNY, BETTY DARLENE BLACK, JOEY J.
 HUNTER II, JOEY J. HUNTER SR., ERIC M.
 HUNTER, J.H. BY AND THROUGH HIS NEXT
 FRIEND ERIC M. HUNTER, KENNA HUNTER,
 K.H. BY AND THROUGH HER NEXT FRIEND
 ERIC M. HUNTER, NICHOLAS WALTER
 ROBINSON IV, MICHAEL IUBELT, SHELBY
 IUBELT, V.I. BY AND THROUGH HER NEXT
 FRIEND SHELBY IUBELT, CHARLOTTE
 LOQUASTO, J.A.L. BY AND THROUGH HIS
 NEXT FRIEND CHARLOTTE LOQUASTO,
 BRADLEY DYLAN IVANCHAN, ADAM
 MATTHEW JAYNE, AYZIA J. JAYNE, PAUL
 ELMER JAYNE, G.A.S. BY AND THROUGH HIS
 NEXT FRIEND KENT ALAN SKEENS, KENT
 ALAN SKEENS, SHERRY A. SKEENS, TRENT
 LORNE SKEENS, Z.R.S. BY AND THROUGH HER
 NEXT FRIEND KENT ALAN SKEENS, BRIAN
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 4 of 606 PageID #: 4




 CHRISTOPHER JERGENS, TERENCE LONNIE
 JONES, JOHN C. MCCARTHY, ALISON R. POHN,
 KEVIN KING, STEPHANIE ANN MILLER,
 EDWARD KLEIN, ABBY KNAPP-MORRIS, K.K.
 BY AND THROUGH HER NEXT FRIEND ABBY
 KNAPP-MORRIS, BRANDON KORONA, BRIAN
 LAMBKA, JORDAN LAMBKA, L.A.E.L.B. BY
 AND THROUGH HER NEXT FRIEND NATASHA
 BUCHANAN, NATASHA BUCHANAN, S.L.L.B.
 BY AND THROUGH HER NEXT FRIEND
 NATASHA BUCHANAN, DOUGLAS A.
 LANDPHAIR, JEAN S. LANDPHAIR, MEREDITH
 LANDPHAIR, B.R.L. BY AND THROUGH HER
 NEXT FRIEND MIRANDA LANDRUM, G.B.L. BY
 AND THROUGH HIS NEXT FRIEND MIRANDA
 LANDRUM, JAMES R. LANDRUM, JANET
 LANDRUM, MIRANDA LANDRUM, HOLLY LAU
 ABRAHAM, LEROY WINGKIT LAU JR.,
 ALEXANDER LAU, DAVID WILLIAM HAALILIO
 LAU, HAMIDE LAU, K.L. BY AND THROUGH
 HIS NEXT FRIEND DAVID WILLIAM HAALILIO
 LAU, M.L. BY AND THROUGH HER NEXT
 FRIEND DAVID WILLIAM HAALILIO LAU,
 VIVIAN PERRY, MICHELLE LEE
 RAUSCHENBERGER, JAMMIE JOANN SMITH,
 ERIC DANIEL LUND, KARYN STONE MARTA,
 LAWRENCE MARTA, TAYLOR MARTA, BOB
 SURPRENANT, KRISTIE SURPRENANT, BRIAN
 M. MARTIN, CATHERINE G. MARTIN,
 ELIZABETH A. MARTIN, JULIE K. MARTIN,
 JOSE LUIS MARTINEZ HERNANDEZ, LISETH
 MARTINEZ-ARELLANO, CHESTER R. MCBRIDE
 SR., ANNIE L. MCBRIDE, ALEXANDRA DORIAN
 MCCLINTOCK, D.C.M. BY AND THROUGH HIS
 NEXT FRIEND ALEXANDRA DORIAN
 MCCLINTOCK, GEORGE B. MCCLINTOCK,
 JOYCE PATRICIA PAULSEN, KEVIN WILLIAMS,
 KATHLEEN MCEVOY, MICHELLE ROSE
 MCEVOY, PATRICK CHARLES MCEVOY,
 JANICE H. PROCTOR, LUANN VARNEY,
 SHANNON K. MCNULTY, JOHN MEANS,
 CLARENCE JOSEPH METCALF, KIMBERLY
 METCALF, JEREMY J. METZGER, THERESA
 KARLSON, ANNA MARIA BANZER, ANDREA
 KESSLER, SOFIA KESSLER, ERIC MORGADO,
 JOSE ALBERTO MORGADO, CONNOR ALEXIAN
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 5 of 606 PageID #: 5




 PLADECK-MORGADO, ANNA MORGAN,
 JEDIDIAH DANIEL MORGAN, MIRIAM A.
 MULLEN, NANCY MARIE MULLEN, WILLIAM J.
 MULLEN, CATHERINE MULLINS, THOMAS
 MULLINS, BETHANY ROSE MULLINS
 RANDALL, CHET MURACH, WILLIAM
 ANTHONY MURACH, WILLIAM R. NEVINS,
 DERRICK ANTHONY DAVIS, DONALD
 EDWARD NEWMAN SR., AMANDA NEWMAN,
 MARY R. HAMMERBACHER-NICHOLS,
 BRANDON NICHOLS, CYNTHIA NICHOLS,
 DOUGLAS NICHOLS, MONTE DOUGLAS
 NICHOLS, NICOLE ANN ROBLES, BRUCE K.
 NICHOLS, JEANNE M. NICHOLS, M.G.N. BY
 AND THROUGH HER NEXT FRIEND BRUCE K.
 NICHOLS, ADOLF OLIVAS, CHRISTA L.
 OSBORN, CREIGHTON DAVID OSBORN, KADE
 M. OSBORN, KATLYN M. OSBORN, JULIA OTT,
 NANCY R. WILSON, ROBIN ELIZABETH
 AKERS, TRACY ANNE HERRING, ADAN PEREZ,
 ANTHONY PEREZ, DEBRA ANN PEREZ,
 NICHOLAS JOSEPH FRANCIS PEREZ, B.M. BY
 AND THROUGH HIS NEXT FRIEND DARILYN
 PEREZ, RICARDO J. PEREZ-RAMOS, A.P. BY
 AND THROUGH HER NEXT FRIEND DARILYN
 PEREZ, DARILYN PEREZ, S.P. BY AND
 THROUGH HER NEXT FRIEND RICARDO J.
 PEREZ-RAMOS, A.T.P. BY AND THROUGH HER
 NEXT FRIEND STEWART LAMAR PERRY,
 G.W.P. BY AND THROUGH HIS NEXT FRIEND
 JULIANNE GOOD PERRY, JULIANNE GOOD
 PERRY, KATHLEEN PERRY, L.R.P. BY AND
 THROUGH HER NEXT FRIEND JULIANNE
 GOOD PERRY, STEWART LAMAR PERRY,
 ASHLEY PETERS, DEBORAH JEAN PETERS,
 DENNIS W. PETERS, G.R.P. BY AND THROUGH
 HIS NEXT FRIEND ASHLEY PETERS,
 CHRISTINE H. PHILLIPS, S.N.P. BY AND
 THROUGH HER NEXT FRIEND CHRISTINE H.
 PHILLIPS, BETHANY ROSE WESLEY, JOHN
 TERRY PITTMAN SR., IDA BELLE PITTMAN,
 AARON WILLIAM PRESCOTT, JACOB RICHARD
 PRESCOTT, JOSHUA MICHAEL PRESCOTT,
 TRACEY MARIE PRESCOTT, JUDITH L.
 ASHLEY, LOUISE P. CONLON, MEGHAN JANET
 HOLLINGSWORTH, MARYJANE G. MEDEIROS,
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 6 of 606 PageID #: 6




 SARAH TIFFANY PETERSON, BRIAN PROVOST,
 GAIL PROVOST, GERTRUDE PROVOST, JOHN
 A. PROVOST, LOUIS PROVOST, PAUL
 PROVOST, SCOTT PETER PROVOST, SPENCER
 DANA PROVOST, LONA L. BOSLEY, ANDREA
 N. RATZLAFF, HANNAH MASON, SUMMER
 REEVES DUNN, CHARLOTTE ANN REEVES,
 JENNIFER KATHERINE REEVES, KATRINA M.
 REEVES, VICTORIA JANE REEVES, JOYCE ANN
 TULLOCH, MALLORY TAYLOR WILLIAMS,
 SCOTT REGELIN, SHIRENE REGELIN, CASSIE
 MARIE RICHARDSON, CYNTHIA JEFFRIES
 RICHMOND, MICHELLE RILEY, RODNEY
 RILEY, NATHAN JEREMY RIMPF,
 CHRISTOPHER POWERS, H.R. BY AND
 THROUGH HER NEXT FRIEND RANDY RISTAU,
 RANDY RISTAU, SUZANNE RISTAU, DANIEL
 MARK ROBINSON, RODOLFO RODRIGUEZ SR.,
 D.R. BY AND THROUGH HIS NEXT FRIEND
 MELISSA RODRIGUEZ,
 K.R. BY AND THROUGH HER NEXT FRIEND
 MELISSA RODRIGUEZ, MELISSA RODRIGUEZ,
 RODZIE EFREN RODRIGUEZ, BARBARA A.
 ROLAND, ERICA M. ROLAND, MARK K.
 ROLAND, ANGEL R. ROLDAN, LIESELOTTE R.
 ROLDAN, MATTHIAS P. ROLDAN, SAMANTHA
 G. ROLDAN, CHRISTOPHER J. ROSEBROCK,
 ALEX JASON ROZANSKI, JOSHUA ANTHONY
 SAMS, COLLEEN WHIPPLE, A.L.S. BY AND
 THROUGH HIS NEXT FRIEND NATALIE
 SCHMIDT, BRANDON TYLER SCHMIDT,
 LEEANN SCHMIDT, NATALIE SCHMIDT,
 PHILLIP J. SCHMIDT, SHEESHTA MARIE
 PERRY, A.M.S. BY AND THROUGH HER NEXT
 FRIEND TAMMIE SUE SCHOONHOVEN, A.R.S.
 BY AND THROUGH HER NEXT FRIEND
 TAMMIE SUE SCHOONHOVEN, CHRISTOPHER
 SCOTT SCHOONHOVEN, DEBORAH FERN
 SCHOONHOVEN, TAMMIE SUE
 SCHOONHOVEN, SARAH MELINDA
 SCHWALLIE, SAMUEL ROBERT SHOCKLEY,
 SPENSER J. FERNANDEZ, SUZI L. FERNANDEZ,
 JORDAN L. SIBLEY, LOWELL BRENT SIBLEY,
 INDIVIDUALLY AND ON BEHALF OF THE
 ESTATE OF FORREST B. SIBLEY, G.S. BY AND
 THROUGH HIS NEXT FRIEND GEORGANNE M.
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 7 of 606 PageID #: 7




 SIERCKS, G.S. BY AND THROUGH HIS NEXT
 FRIEND GEORGANNE M. SIERCKS,
 GEORGANNE M. SIERCKS, JOAN M.
 SMEDINGHOFF, MARK T. SMEDINGHOFF,
 MARY BETH SMEDINGHOFF, REGINA C.
 SMEDINGHOFF, THOMAS SMEDINGHOFF, JAN
 MARIE HURNBLAD SPARKS, ERIK SPARKS,
 GARRY LEE SPARKS, JANE SPARKS, ZACHARY
 DOUGLAS SPARKS, LISA MARTINUSEN,
 MARIE SENTINA MIELKE, ANNETTE SPEHAR,
 JACOB LOUIS SPEHAR, LUKE SPEHAR,
 PATRICK SPEHAR, MITCHELL L. STAMBAUGH,
 CHARLES WESLEY STRANGE III, C.E.S. BY
 AND THROUGH HER NEXT FRIEND CHARLES
 WESLEY STRANGE, CHARLES WESLEY
 STRANGE, KATELYN MARIE STRANGE,
 GARRETT LAYNE FUNK, JOSHUA NICHOLAS
 SUST, ERIN NICOLE GOSS, TRECIA BROCK
 HOOD, WENDY SHEDD, FREDDIE DEWEY
 SUTTON, HARRIET SUTTON, SUMMER
 BREANNE SUTTON, DIANE TIMONEY,
 GREGORY TIMONEY, RYAN GREGORY
 TIMONEY, FREDERICK ALLEN TOLON, ESTA
 SMITH, JIMMY SMITH, EMILY TORIAN, JOE
 TORIAN, NATHAN EWELL TORIAN, BRITTANY
 TAYLOR TOWNSEND, KEVIN TRIMBLE,
 CHRISTOPHER MICHAEL VAN ETTEN,
 CATHERINE KIMBERLY VAUGHN KRYZDA,
 C.C.V. BY AND THROUGH HER NEXT FRIEND
 CATHERINE KIMBERLY VAUGHN KRYZDA,
 R.C.V. BY AND THROUGH HIS NEXT FRIEND
 CATHERINE KIMBERLY VAUGHN KRYZDA,
 ROBERT MARTIN KAHOKULANI VICKERS JR.,
 ROBERT MARTIN KAHOKULANI VICKERS SR.,
 HORTENSE KAINOA WAINANI VICKERS,
 K.N.V. BY AND THROUGH HIS NEXT FRIEND
 HORTENSE KAINOA WAINANI VICKERS,
 K.E.F.V. BY AND THROUGH HER NEXT FRIEND
 HORTENSE KAINOA WAINANI VICKERS,
 K.M.G.V. BY AND THROUGH HER NEXT
 FRIEND HORTENSE KAINOA WAINANI
 VICKERS, MARK MATTHEW KALEINANI
 VICKERS, MARY JANE VICKERS, VANCE
 MARSHALL KELIIOLANI VICKERS, MAKAHEA
 XHELILI, MICHELLE JOY
 KAPUNAHELEOKALANI YARBOROUGH,
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 8 of 606 PageID #: 8




 BARRY WELCH, LORRIA WELCH, ZACKARY
 WELCH, JEFFREY L. WHITE SR., KYLE WHITE,
 MICHAEL WHITE, PAULA K. WHITE,
 MICHELLE CAROLINA ROTELLI, MARTHA
 CAROLINA SMITH, THOMAS ELMER
 WICKLIFF, BRIAN ANTHONY WILLIAMS,
 CLARENCE WILLIAMS JR., ABRILL RENEE
 WILLIAMS, SAMANTHA SHERVON WILLIAMS,
 TALISA SHERVON WILLIAMS, MONA G.
 BETZEN, CODY WORLEY, GREGORY W.
 WORLEY, JAMES WAYNE WORLEY, MARK G.
 WORLEY, BAILY ZIMMERMAN, CHRIS LEE
 ZIMMERMAN, MICHELLE ZIMMERMAN,
 DANIEL LEE BROWN, KRISTINA BROWN,
 DANIEL EDWARD STAMPER JR., CAMERON
 STUART, KATY STUART, ADRIANA
 WAKELING, SETH WAKELING,

                   Plaintiffs,

       v.

 DEUTSCHE BANK AKTIENGESELLSCHAFT,
 DEUTSCHE BANK UK, DEUTSCHE BANK AG,
 DUBAI BRANCH, DEUTSCHE BANK AG, NEW
 YORK BRANCH, DEUTSCHE BANK TRUST
 COMPANY AMERICAS, STANDARD
 CHARTERED BANK, STANDARD CHARTERED
 PLC, STANDARD CHARTERED BANK LIMITED,
 STANDARD CHARTERED BANK (PAKISTAN)
 LIMITED, STANDARD CHARTERED BANK,
 DUBAI MAIN BRANCH, DANSKE BANK A/S,
 DANSKE MARKETS INC., PLACID NK
 CORPORATION d/b/a PLACID EXPRESS, and
 WALL STREET EXCHANGE LLC,

                   Defendants.


               COMPLAINT UNDER THE ANTI-TERRORISM ACT
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 9 of 606 PageID #: 9




                                                 TABLE OF CONTENTS
                                                                                                                                      Page

INTRODUCTION AND EXECUTIVE SUMMARY.................................................................... 1

THE DEFENDANTS.................................................................................................................... 17

          A.        The Deutsche Bank Defendants ............................................................................ 17

          B.        The Standard Chartered Bank Defendants ............................................................ 19

          C.        The Danske Bank Defendants ............................................................................... 21

          D.        Placid Express ....................................................................................................... 22

          E.        Wall Street Exchange ............................................................................................ 22

JURISDICTION AND VENUE ................................................................................................... 23

FACTUAL ALLEGATIONS ....................................................................................................... 25

     I.        DESIGNATED FOREIGN TERRORIST ORGANIZATIONS LED BY AL-
               QAEDA COMMITTED, PLANNED, AND AUTHORIZED THE ATTACKS
               THAT INJURED PLAINTIFFS AND THEIR FAMILY MEMBERS ...................... 25

          A.        After 9/11, Al-Qaeda Organized And Led A Terrorist Syndicate
                    Comprising Its Affiliates, Including The Taliban, The Haqqani Network,
                    Lashkar-E-Taiba, D-Company, To Attack Americans In Afghanistan ................ 25

               1.        Al-Qaeda ......................................................................................................... 32

               2.        The Taliban (Including Its Haqqani Network)................................................ 36

               4.        Lashkar-e-Taiba .............................................................................................. 41

               5.        Jaish-e-Mohammed ......................................................................................... 44

               6.        The Kabul Attack Network ............................................................................. 46

               7.        D-Company ..................................................................................................... 48

          B.        Al-Qaeda Planned And Authorized The Terrorist Attacks That Killed And
                    Injured Plaintiffs ................................................................................................... 52

          C.        Al-Qaeda Committed The Terrorist Attacks That Killed And Injured
                    Plaintiffs, And Often Did So As Part Of Joint Cells With The Taliban, The
                    Haqqani Network, And Lashkar-E-Taiba ............................................................. 66




                                                                     i
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 10 of 606 PageID #: 10




    II.         THE SYNDICATE RELIED ON EXPLOSIVE FERTILIZER AND U.S.
                DOLLARS TO CARRY OUT ATTACKS ON AMERICANS IN
                AFGHANISTAN ........................................................................................................ 69

           A.        Al-Qaeda And The Haqqani Network Financed And Armed Terrorists
                     Targeting Americans In Afghanistan Through Global Terrorist Finance
                     And Logistics Networks That Relied On Access To The U.S. Financial
                     System ................................................................................................................... 70

                1.        Al-Qaeda And The Haqqani Network Relied Upon Transnational
                          Crime As A Key Source Of Terrorist Finance................................................ 78

                2.        The U.S. Financial System Was Key To Syndicate Operations And
                          The U.S. Dollar Was The “Gold Standard” For Syndicate Terrorist
                          Fundraising And Finance ................................................................................ 83

                3.        Al-Qaeda And The Haqqani Network Were Aware Of The
                          Laundromat Market Signals Communicated By Banks And Remitters ......... 85

           B.        Al-Qaeda, The Haqqani Network, Lashkar-E-Taiba, And D-Company
                     Relied Upon A Transnational Network Of Terrorist Finance And Logistics
                     Cells Operating In Afghanistan, Pakistan, The U.A.E., Russia, And
                     Europe To Finance And Arm Syndicate Terrorist Attacks Against
                     Americans In Afghanistan .................................................................................... 87

                1.        Afghanistan, Pakistan, And The U.A.E. ......................................................... 88

                2.        Russia .............................................................................................................. 95

                3.        Cyprus ........................................................................................................... 102

                4.        Germany ........................................................................................................ 103

                5.        Estonia........................................................................................................... 105

           C.        From 2011 Through 2016, Al-Qaeda And The Haqqani Network Relied
                     Upon Fatima And Pakarab CAN Fertilizer To Source The Explosives
                     Used In Nearly All CAN Fertilizer Bomb Attacks Against Americans ............. 105

                1.        CAN Fertilizer Bombs Made With Fatima And Pakarab CAN
                          Fertilizer Caused 90 Percent Of American Casualties In Afghanistan ......... 105

                2.        In 2011, Fatima And Pakarab Joined The Rogue ISI Conspiracy With
                          The Haqqani Network To Support And Supply The Syndicate’s CAN
                          Fertilizer Bomb Campaign Against Americans in Afghanistan ................... 109

    III.        AL-QAEDA AND THE HAQQANI NETWORK RELIED UPON A
                GLOBAL NETWORK OF AGENTS, OPERATIVES, FRONTS, CELLS,


                                                                       ii
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 11 of 606 PageID #: 11




               AND BUSINESS PARTNERS TO HELP FUND, ARM, AND
               LOGISTICALLY SUPPORT SYNDICATE ATTACKS AGAINST
               AMERICANS IN AFGHANISTAN ........................................................................ 118

          A.        Altaf Khanani and the Khanani Money Laundering Organization ..................... 119

               1.        Khanani And The Khanani MLO Were Agents For Al-Qaeda, The
                         Taliban (Including Its Haqqani Network), Lashkar-E-Taiba, Jaish-E-
                         Mohammed And Khanani Was Also A D-Company Operative ................... 120

               2.        Khanani And The Khanani MLO Transferred, Managed, Invested,
                         And Protected Al-Qaeda And Its Allies’ U.S. Dollars Worldwide And
                         Financed Attacks Against Americans In Afghanistan .................................. 121

               3.        The Khanani MLO’s Transactions Funded Khanani’s Profit-Sharing
                         With Syndicate Members Who Financed, Armed, And Conducted
                         Attacks, Including D-Company And The Haqqani Network........................ 125

               4.        Khanani MLO Transactions Relating To Russia, Europe, The U.A.E.,
                         Pakistan, Or Afghanistan Ordinarily Financed Al-Qaeda, The Taliban
                         (Including Its Haqqani Network), Lashkar-E-Taiba, Jaish-E-
                         Mohammed, And/Or D-Company ................................................................ 128

               5.        The Khanani MLO Required Complicit Banks And Money Remitters ....... 130

          B.        Samir Azizi and the Azizi Cell ........................................................................... 137

          C.        Imran Yakub Ahmed and the Ahmed Cell ......................................................... 143

          D.        Mustafa Ahmed al-Hisawi .................................................................................. 144

          E.        Mamoun Darkazanli and the Hamburg Cell ....................................................... 144

          F.        Viktor Bout ......................................................................................................... 145

          G.        Abdul Baqi Bari .................................................................................................. 148

          H.        Hikmatullah Shadman......................................................................................... 150

    IV.        DEFENDANTS EACH PLAYED A ROLE IN THE SYNDICATE’S
               CAMPAIGN OF TERROR AGAINST AMERICANS IN AFGHANISTAN......... 151

          A.        Deutsche Bank Enabled Syndicate Terrorist Finance ......................................... 151

               1.        Altaf Khanani and the Khanani MLO ........................................................... 160

               2.        Samir Azizi and the Azizi Cell ..................................................................... 190

               3.        Imran Yakub Ahmed and the Ahmed Cell ................................................... 201


                                                                    iii
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 12 of 606 PageID #: 12




              4.        Mamoun Darkazanli and the Hamburg Cell ................................................. 208

         B.        Standard Chartered Bank Enabled Syndicate Terrorist Finance......................... 210

              1.        Altaf Khanani and the Khanani MLO ........................................................... 220

              2.        Mustafa Ahmed al-Hisawi ............................................................................ 229

              3.        Viktor Bout ................................................................................................... 230

              4.        Abdul Baqi Bari ............................................................................................ 232

              5.        Hikmatullah Shadman................................................................................... 234

         C.        Standard Chartered Bank Enabled Syndicate CAN Fertilizer Bomb
                   Logistics .............................................................................................................. 236

         D.        Danske Bank Enabled Syndicate Terrorist Finance............................................ 267

              1.        Danske Bank Enabled Syndicate Terrorist Finance Through Its
                        Laundromat ................................................................................................... 267

              2.        Danske Bank Enabled Syndicate Terrorist Finance Through Its VAT
                        Fraud Schemes .............................................................................................. 270

         E.        Placid Express Enabled Syndicate Terrorist Finance ......................................... 273

         F.        Wall Street Exchange Enabled Syndicate Terrorist Finance .............................. 275

    V.        DEFENDANTS WERE GENERALLY AWARE OF THE ROLE THEY
              PLAYED IN ILLEGAL ACTIVITY BECAUSE ANY REASONABLE
              FINANCIAL INSTITUTION WOULD KNOW ITS CONDUCT WAS
              ADVANCING AL-QAEDA’S AND THE HAQQANI NETWORK’S
              TERRORIST CAMPAIGN TARGETING AMERICANS IN
              AFGHANISTAN ...................................................................................................... 278

         A.        Defendants Knew That Their Provision Of U.S.-Linked Financial Services
                   To Syndicate Fronts, Operatives, Agents, And Partners Had A Close Link
                   To Syndicate Terrorism ...................................................................................... 281

         B.        Defendants Knew That Operating Laundromats For Customers In High-
                   Risk Terrorist Finance Jurisdictions Foreseeably Aided Terrorism ................... 287

         C.        Defendants Knew The U.S. and U.K. Governments Opposed Conduct
                   Like Their Own ................................................................................................... 303

         D.        Defendants Possessed Sufficient Data To Prevent The Syndicate From
                   Using Their Services For Terrorist Fundraising, Finance, and Logistics
                   Operations ........................................................................................................... 304


                                                                    iv
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 13 of 606 PageID #: 13




          E.        Defendants Knew Transactions In High-Terrorist-Finance-Risk
                    Jurisdictions That Used “Buffers,” “Shell Companies,” Or
                    “Intermediaries” Foreseeably Aided Syndicate Terrorist Fundraising,
                    Finance, And Logistics Operations ..................................................................... 308

          F.        Defendants Knew Altaf Khanani Was A Notorious Terrorist Financier Of,
                    And Agent For, Al-Qaeda, The Taliban, The Haqqani Network, Lashkar-
                    E-Taiba, Jaish-E-Mohammed, And D-Company................................................ 310

          G.        Defendants Knew Terrorists Regularly Used Tax Fraud, Including VAT
                    Fraud, Schemes To Finance Attacks ................................................................... 317

          H.        Defendants Knew Terrorists Regularly Used Capital Flight Schemes To
                    Finance Attacks ................................................................................................... 321

          I.        Defendants Knew Of The Close Link Between Narcotics-Related
                    Transactions And Syndicate Violence ................................................................ 321

          J.        Defendants Knew Of Al-Qaeda’s Role............................................................... 324

    VI.        EACH DEFENDANT KNEW THEY WERE AIDING THE SYNDICATE’S
               CAMPAIGN OF TERROR IN AFGHANISTAN.................................................... 324

          A.        Deutsche Bank Knew It Was Aiding Terrorists ................................................. 324

               1.        Deutsche Bank Knew It Operated As A Criminal Enterprise And
                         Laundromat Until 2016 ................................................................................. 324

               2.        Deutsche Bank Knew Terrorists Could Foreseeably Benefit From Its
                         Russian Laundromat Because It Knew The Laundromat Was Designed
                         By The Same Russian Mafia Organization That Notoriously
                         Laundered Opium Money For Al-Qaeda And Its Allies .............................. 336

               3.        Deutsche Bank Knew Its Clients Were Engaged In Money Laundering,
                         VAT Fraud, And Capital Flight, Which Deutsche Bank Knew Were
                         Red Flags For Terrorist Finance ................................................................... 343

               4.        Deutsche Bank Knew It Was A Preferred Bank For Terrorist
                         Financiers Based On Its History Of Enabling “Dirty Money”
                         Transactions .................................................................................................. 351

          B.        Standard Chartered Bank Knew It Was Aiding Terrorists ................................. 353

               1.        Standard Chartered Bank Knew That It Operated As A Criminal
                         Enterprise And Laundromat Until 2016 ....................................................... 353

               2.        Standard Chartered Bank Knew That Its Clients Were Engaged In
                         Money Laundering And Contributing To Bombmaking .............................. 383


                                                                   v
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 14 of 606 PageID #: 14




            3.        Standard Chartered Bank Knew It Was A Preferred Bank For Terrorist
                      Financiers Based On Its History Of Enabling “Dirty Money”
                      Transactions .................................................................................................. 383

            4.        Standard Chartered Bank Knew It Regularly Disregarded Terrorist
                      Finance Red Flags Recognized By Others.................................................... 386

       C.        Danske Bank Knew It Was Aiding Terrorists .................................................... 387

            1.        Danske Bank Knew That It Operated As A Criminal Enterprise And
                      Laundromat Until 2017 ................................................................................. 387

            2.        Danske Bank Knew That Its Clients Were Engaged In Money
                      Laundering, VAT Fraud, And Capital Flight, Which Danske Bank
                      Knew Were Red Flags For Terrorist Finance ............................................... 388

       D.        Placid Express Knew It Was Aiding Terrorists .................................................. 390

       E.        Wall Street Exchange Knew It Was Aiding Terrorists ....................................... 392

    VII.    DEFENDANTS’ FINANCIAL AND LOGISTICAL ASSISTANCE TO AL-
            QAEDA, THE HAQQANI NETWORK, AND THEIR ALLIES WAS
            SUBSTANTIAL, AND AIDED TERRORIST ATTACKS AGAINST
            AMERICANS IN AFGHANISTAN BETWEEN 2011 AND 2016......................... 395

       A.        Defendants Provided Support Tailored To The Violence At Issue Here............ 395

       B.        The Amount Of Money, And Concealment Of The Same, Were Both
                 Significant ........................................................................................................... 400

       C.        Defendants Had Culpable Mental States ............................................................ 403

            1.        Deutsche Bank Had A Culpable Mental State .............................................. 404

            2.        Standard Chartered Bank Had A Culpable Mental State .............................. 413

            3.        Danske Bank Had A Culpable Mental State ................................................. 413

            4.        Placid Express Had A Culpable Mental State............................................... 414

            5.        Wall Street Exchange Chartered Bank Had A Culpable Mental State ......... 414

       D.        Defendants Had A Close Relationship To The Tortfeasors................................ 415

       E.        The Duration Of Support Was Long ................................................................... 415

    VIII.   DEFENDANTS’ ASSISTANCE TO THE SYNDICATE HAD A
            SUBSTANTIAL NEXUS TO THE UNITED STATES .......................................... 416



                                                                 vi
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 15 of 606 PageID #: 15




            A.        Deutsche Bank’s Assistance To The Syndicate Had A Substantial Nexus
                      To The United States .......................................................................................... 416

                 1.        Deutsche Bank’s Laundromat Terrorist Finance Transactions For Al-
                           Qaeda, The Haqqani Network, Lashkar-E-Taiba, And D-Company
                           Had A Substantial Nexus To The United States ........................................... 417

                 2.        Deutsche Bank’s VAT-Fraud Terrorist Finance Transactions For Al-
                           Qaeda And The Haqqani Network Had A Substantial Nexus To The
                           United States ................................................................................................. 425

            B.        Standard Chartered Bank’s Terrorist Finance Routed To Al-Qaeda, The
                      Haqqani Network, Lashkar-e-Taiba, and D-Company Through Its
                      Laundromat Had A Substantial Nexus To The United States ............................ 428

                 1.        Standard Chartered Bank’s Terrorist Finance Had A Substantial Nexus
                           To The United States .................................................................................... 430

                 2.        Standard Chartered Bank’s CAN Fertilizer Bomb Logistical Support
                           For The Syndicate Had A Substantial Nexus To The United States ............ 433

            C.        Danske Bank’s Assistance To The Syndicate Had A Substantial Nexus To
                      The United States ................................................................................................ 438

            D.        Placid Express’s Assistance To The Syndicate Had A Substantial Nexus
                      To The United States .......................................................................................... 440

            E.        Wall Street Exchange’s Assistance To The Syndicate Had A Substantial
                      Nexus To The United States ............................................................................... 440

      IX.        THE SYNDICATE USED DEFENDANTS’ ASSISTANCE TO COMMIT
                 ATTACKS THAT KILLED AND INJURED PLAINTIFFS THROUGH
                 ACTS OF INTERNATIONAL TERRORISM THAT WERE COMMITTED,
                 PLANNED, AND AUTHORIZED BY AL-QAEDA AND/OR THE
                 HAQQANI NETWORK ........................................................................................... 441

 CLAIMS FOR RELIEF .............................................................................................................. 585

 COUNT ONE: VIOLATION OF THE ANTI-TERRORISM ACT, 18 U.S.C. § 2333(d)
 [All Defendants: Aiding-And-Abetting Liability, Attack Predicate] ........................................ 585

 COUNT TWO: VIOLATION OF THE ANTI-TERRORISM ACT, 18 U.S.C. § 2333(d)
 [All Defendants: Aiding-And-Abetting Liability, RICO Predicate].......................................... 587

 JURY DEMAND ........................................................................................................................ 590

 PRAYER FOR RELIEF ............................................................................................................. 590




                                                                    vii
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 16 of 606 PageID #: 16




                       INTRODUCTION AND EXECUTIVE SUMMARY

        1.      Plaintiffs, American service members and civilians, and their families, who were

 killed or wounded while serving their country in Afghanistan between 2011 and 2016, now bring

 claims for aiding and abetting acts of international terrorism in violation of the Anti-Terrorism

 Act (“ATA”), 18 U.S.C. § 2333. While these men and women worked to rebuild Afghanistan,

 they were attacked by a terrorist syndicate led by al-Qaeda and the Haqqani Network, the most

 extreme faction of the Taliban (hereinafter referred to as the “Syndicate”). Defendants are

 Deutsche Bank, Standard Chartered Bank, Danske Bank, Placid Express, and Wall Street

 Exchange, who each knowingly facilitated transfers of millions of U.S. Dollars to the terrorists,

 and in other ways enabled their campaign of violence against Americans in the region.1

        2.      Defendants’ conduct was outrageous. While most global financial institutions, by

 2009 at the latest, responsibly adhered to rules designed to keep money away from violent

 terrorists, Defendants did the exact opposite: Defendants acted as “Laundromats,” i.e., complex

 criminal schemes designed to enable criminal terrorist financiers to secretly move their funds and

 evade regulatory scrutiny. See infra Part IV.

        3.      “Laundromats” allow suspicious customers (who would be rejected by other

 financial institutions) to execute high-risk transactions (that would be refused by other financial

 institutions) and to otherwise use the financial institution’s resources and facilities to perpetrate

 unlawful conduct, such as concealing the illicit source or use of money.




 1
   The factual allegations in this complaint are based on information from witnesses with direct
 and indirect knowledge of the alleged facts, internal company documents, declassified military-
 intelligence and financial-intelligence reporting, congressional testimony and reports, press
 accounts, Defendants’ own statements, and Plaintiffs’ recollections.


                                                   1
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 17 of 606 PageID #: 17




        4.      Here, the terrorists used Defendants’ Laundromats to change dirty money into

 clean money and convert dirty foreign currency into clean U.S. Dollars. The U.S. Dollar is the

 preferred currency of terrorists because it is a safe, stable currency that can be spent easily

 anywhere in the world. See infra Part II.A.2. Although money laundering is not unique to

 terrorists (other criminals do it), Defendants laundered money for customers (Syndicate agents,

 operatives, and fronts) in jurisdictions (Afghanistan, Pakistan, Russia, and the U.A.E.) and with

 types of transactions that all alerted Defendants that they were laundering money for terrorists.

 See infra Part V. Defendants knew they were aiding terrorism and yet did so anyway.

        5.      Defendants intentionally set up and operated their respective Laundromats. They

 knowingly sought out and catered to customers seeking to evade laws against terror financing.

 See infra Part IV. The overwhelming evidence that Defendants knew what they were doing

 comes from public reports, company documents, regulators and other government investigations,

 whistleblowers, and admissions from Defendants’ own executives. See infra Part V.

        6.      When Defendants operated their Laundromats, they directly financed terrorists,

 including al-Qaeda, the Taliban (including its Haqqani Network), and other Syndicate allies. In

 this way, financial institutions and remitters like Defendants played a vital role in lubricating al-

 Qaeda and the Haqqani Network’s transnational terrorist finance and logistics enterprises,

 directly supporting attacks against Americans in Afghanistan. As Dr. Louise Shelley, the

 Director of the Terrorism, Transnational Crime and Corruption Center at George Mason

 University, testified before Congress in 2016:

        Many [] hybrid criminal-terrorists have European passports. Therefore, the new
        hybrid terrorists … have more mobility... My present research … continues to see
        the problem of illicit trade as a key funding source for terrorism. … We [] need
        to focus on legitimate banks that can help facilitate the storing and transport of
        money for terrorists. Recent investigations reveal that legitimate large banks
        such as Deutsche Bank, in violation of international regulations, receive funds



                                                   2
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 18 of 606 PageID #: 18




            that are associated with terrorists and criminals as this helps increase profits.
            Officials at Deutsche Bank, in a significant number of suspicious files examined
            by auditors, revealed that officials were told to avoid warning signs or not to
            commit due diligence on what should be suspicious clients.2

            7.      From 2000 through 2017, Defendants enabled hundreds of millions of U.S.

 Dollars to flow from their respective branch accounts and correspondent accounts in New York

 to al-Qaeda- and Haqqani Network-controlled accounts operated by known or suspected terrorist

 financiers. Defendants did so by providing financial services to customers whom Defendants

 knew were acting for the Syndicate, including, but not limited to:

     (i)         Altaf Khanani, the world’s most notorious terrorist money launderer, whose
                 transactions relied upon each Defendant’s New York branch to launder and then
                 repatriate hundreds of millions U.S. Dollars in Syndicate’s income back to al-Qaeda
                 and the Haqqani Network, among other Syndicate clients, to support Syndicate
                 attacks against Americans in Afghanistan from 2001 through 2016;

     (ii)        Samir Azizi, a notorious al-Qaeda and Haqqani Network financier who led a Value
                 Added Tax (or “VAT”) fraud3 cell in Europe that partnered with the Deutsche Bank
                 Defendants to execute a massive VAT fraud scheme planned by al-Qaeda and the
                 Haqqani Network, through which Azizi’s cell fraudulently obtained more than 60
                 million euros from European governments and enabled Azizi to transfer more than $8
                 million to al-Qaeda and the Haqqani Network to fund terrorist attacks against
                 Americans in Afghanistan from 2007 through 2012;

     (iii)       Imran Yakub Ahmed, another notorious Syndicate financier and fundraiser, whom
                 the Deutsche Bank Defendants helped execute a massive VAT fraud scheme designed
                 by the Syndicate to fraudulently obtain more than a billion euros, millions of which
                 were converted to U.S. Dollars, through Deutsche Bank, and repatriated to the

 2
  Statement of Dr. Louise Shelley Director, Terrorism, Transnational Crime and Corruption
 Center George Mason University, Current Terrorist Financing Trends, Hearing Before the U.S.
 House of Representatives Committee on Homeland Security, Subcommittee on Counterterrorism
 and Intelligence, Congressional Testimony via FDCH (May 12, 2016), 2016 WLNR 14564170.
 3
   VAT is “value added tax,” the European equivalent of a sales tax. The VAT fraud schemes at
 issue in this case were complex; at a high level, the gist is that al-Qaeda and Haqqani Network
 operatives (often dual-hatted) orchestrated transnational fraud rings designed to obtain refunds of
 fictitious VAT tax payments arising out of transactions purportedly between arms-length
 counterparties. They did this with the help of complicit financial institutions. Al-Qaeda and the
 Haqqani Network would then transfer a substantial percentage of the resulting money stolen
 from the European governments, again with the help of complicit financial institutions, to fund
 their, and the Taliban’s, attacks against Americans in Afghanistan.


                                                     3
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 19 of 606 PageID #: 19




                Syndicate to support attacks against Americans in Afghanistan from the mid-2000s
                through 2010;

    (iv)        Mustafa Ahmed al-Hisawi, “al-Qaeda’s Money Man,” whom the Standard
                Chartered Bank Defendants recklessly permitted to use SCB Dubai and SCB New
                York to move more than $100,000 to fund al-Qaeda operations before and after 9/11;

    (v)         Mamoun Darkazanli and Mamdouh Mahmud Salim, al-Qaeda supporters,
                operatives, and fundraisers who were each a member of al-Qaeda’s notorious
                Hamburg Cell in Germany, who relied upon Deutsche Bank to source more than
                $500,000 in terrorist finance for al-Qaeda from 1995 through 2003;

    (vi)        Viktor Bout, the infamous al-Qaeda and Taliban arms supplier known as the
                “Merchant of Death,” whom the Standard Chartered Bank Defendants recklessly
                permitted to use SCB accounts to facilitate weapons smuggling to both groups before
                and after 9/11;

    (vii)       Abdul Baqi Bari, an al-Qaeda, Haqqani Network, and Taliban operative who served
                as the Taliban’s “bank,” whom the Standard Chartered Bank Defendants recklessly
                serviced through 2006, during which time the Syndicate used Standard Chartered
                Bank accounts to source at least several million U.S. Dollars for the Syndicate from
                2001 through 2006; and

    (viii) Hikmatullah Shadman, a notorious Afghan warlord, whose transactions, recklessly
           facilitated by the Standard Chartered Bank Defendants, relied upon the SCB New
           York and SCB Afghanistan accounts to pay at least several million dollars to the
           Syndicate from 2009 through 2012.

           8.      Between the mid-1990s and 2017, Deutsche Bank operated one of the worst

 Laundromats in the world’s financial history. When a whistleblower demanded to know why

 Deutsche Bank would so flagrantly engage in obvious financial crime, the reply came back:

 “Because we’re that greedy.”

           9.      For decades, Deutsche Bank was a financier for al-Qaeda and the Taliban.

 Deutsche Bank provided every key component of the Syndicate’s finance needs, including by:

          actively aiding two large-scale VAT fraud schemes while knowing that its customers
           were likely al-Qaeda and/or Haqqani Network terrorists;

          working with notorious al-Qaeda agents, including the Russian Mafia and Altaf Khanani;




                                                    4
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 20 of 606 PageID #: 20




       secretly disclosing sensitive non-public data about its own counter-terrorist-finance
        controls to the Russian Mafia, so the criminals could evade core post-9/11 safeguards;
        and

       dissembling with regard to its Laundromat, including by intimidating potential critics,
        retaliating against known and suspected whistleblowers, and pursuing strategies,
        discussed internally by key employees, to remain willfully blind so as to evade
        accountability by appearing ignorant when questioned about the Bank’s misconduct.

        10.     From 1995 through 2016, Deutsche Bank intentionally transferred or enabled the

 transfer of at least $59,326,477 (discovery will show the amount was much more than this) to the

 Syndicate. Deutsche Bank knew these transactions were perpetrated by notorious Syndicate

 agents and operatives who managed accounts for al-Qaeda, the Taliban (including its Haqqani

 Network), Lashkar-E-Taiba, Jaish-e-Mohammed, and D-Company.

        11.     The table below summarizes Plaintiffs’ allegations concerning Deutsche Bank’s

 direct financial aid to the Syndicate through a litany of long-term relationships with notorious

 Syndicate fronts, shell companies, operatives, agents, or business partners.

       Syndicate           Timeframe         Terrorist Finance          DB Defendants Aiding
    Operative, Front,                             (USD)                 Syndicate Operative,
    Agent, or Partner                                                  Front, Agent, or Partner
   Altaf Khanani and       2009-2016     $49,787,832 minimum          Deutsche Bank
   the Khanani Money                     (likely at least             DB Moscow
   Laundering                            $100,000,000)
                                                                      DB New York (DBTCA)
   Organization
                                                                      DB London
   Samir Azizi and the     2007-2012     $8,568,060 minimum           Deutsche Bank
   Azizi Cell                            (likely at least             DB New York (incl.
                                         $10,000,000)                 DBTCA)
                                                                      DB Frankfurt
                                                                      DB London
   Imran Yakub             2005-2010     Likely at least              Deutsche Bank
   Ahmed and the                         $10,000,000                  DB New York (incl.
   Ahmed Cell                                                         DBTCA)
                                                                      DB Frankfurt
                                                                      DB London



                                                  5
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 21 of 606 PageID #: 21




          Syndicate           Timeframe         Terrorist Finance          DB Defendants Aiding
       Operative, Front,                             (USD)                 Syndicate Operative,
       Agent, or Partner                                                  Front, Agent, or Partner
     Mamoun Darkazanli        1995-2003     $970,585 minimum             Deutsche Bank
     and Mamdouh                            (likely least $2,000,000)    DB New York (DBTCA)
     Mahmud Salim (The                                                   DB Frankfurt
     Hamburg Cell)
                                                                         DB London
     TOTAL                                            $59,326,477 minimum
                                                 (likely more than $120,000,000)

            12.    David Enrich, the award-winning Business Investigations editor for the New York

 Times, concluded that Deutsche Bank operated as “[a] criminal enterprise,” whose Laundromat

 that systematically facilitated terrorist finance was “not the work of an isolated crew of rogue

 Deutsche employees;” indeed, “[m]anagers knew. Their bosses knew. American regulators …

 [found] evidence that at least one member of the bank’s vorstand—[] one of Deutsche’s most

 senior executives—knew about and approved of the scheme.”4 Deutsche Bank spent “decades”

 always making “expedient, easy choices with the single-minded purpose of maximizing

 immediate profits”:5

            [Deutsche Bank’s] ascent [was] fueled by greed, sloppiness, hubris, and
            criminality, and when the reckoning came, it was brutal. Deutsche’s risk-
            taking—the product of years of make-money-at-all-costs mismanagement—was
            out of control. … Managers were incentivized to shirk responsibilities. …
            Deutsche exhibited a jarring lack of interest in its clients’ reputations. It would
            soon become enveloped in scandals relating to money laundering, tax evasion,
            manipulating interest rates, manipulating the prices of previous metals,
            manipulating the currencies markets, bribing foreign officials, accounting fraud,
            violating international sanctions, ripping off customers, and ripping off the
            German, British, and United States governments. (The list went on.)6



 4
  David Enrich, Dark Towers: Deutsche Bank, Donald Trump, and an Epic Trail of Destruction
 7, 16, 105 (Custom House 2020) (“Enrich, Dark Towers”).
 5
     Id. at 7.
 6
     Id. at 8-9 (emphasis added).


                                                     6
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 22 of 606 PageID #: 22




        13.     Deutsche Bank insiders concurred. For example, Eric Ben-Artzi, a former

 Deutsche Bank risk analyst, stated in an on-the-record interview with The New Yorker, “There

 was cultural criminality. Deutsche Bank was structurally designed by management to allow

 corrupt individuals to commit fraud.”7

        14.     Deutsche Bank further evidenced it knew about the terrorist finance by charging

 premium rates for it. As one journalist reported, colleagues at Deutsche Bank “understood that

 [DB Moscow Head Equities Trader Tim Wiswell] had the blessings of his superiors, who on

 occasion pushed him to charge higher fees for this unique offering.”

        15.     Deutsche Bank acted with actual knowledge of the VAT frauds committed by the

 Azizi Cell and the Ahmed Cell. Early on, a Deutsche Bank employee emailed a Deutsche Bank

 compliance colleague and informed Deutsche Bank’s compliance department that “[t]he CO2

 market” that Deutsche Bank was orchestrating for Azizi and Ahmed “[was] showing typical

 characteristics of a sales tax carousel,” referring to a universally recognized red flag for

 terrorist finance generally and especially for al-Qaeda and the Haqqani Network finance

 activities. Protecting Deutsche Bank’s Laundromat, the compliance officer responded, in effect,

 that there was nothing to worry about with respect to the potential terrorist finance risk that had

 been identified because “[t]he measures taken [were] sufficient to document our duty of care in

 the event of a claim.” Thereafter, millions of U.S. Dollars poured into al-Qaeda’s and the

 Haqqani Networks’ coffers in Afghanistan, financing their devastating terrorist campaign there.

        16.     Standard Chartered Bank also operated as a Laundromat. In 2012, the New York

 Department of Financial Services (“NYDFS”) entered a Consent Order which labeled Standard



 7
  Ed Caesar, The Moscow Laundromat: Deutsche Bank’s $10-Billion Scandal, The New Yorker
 (Aug. 29, 2016) (“Caesar, The Moscow Laundromat”).


                                                  7
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 23 of 606 PageID #: 23




 Chartered Bank as a “rogue institution,” and made clear that for “nearly a decade,” Standard

 Chartered Bank “programmatically engaged in deceptive and fraudulent misconduct [] to move

 at least $250 billion … then covered up its transgressions.” NYDFS concluded that “[Standard

 Chartered Bank’s] actions left the U.S. financial system vulnerable to terrorists.”8 NYDFS

 determined that SCB London, SCB Dubai, and SCB New York, helped “finance terrorist

 groups”9 and had “indisputably helped sustain a global threat to peace and stability.”10

            17.    Standard Chartered Bank’s conduct was brazen. In October 2006, when reminded

 of the requirement that the Bank comply with terrorism-related sanctions prohibiting banks from

 transacting with suspected terrorist fronts a Standard Chartered Bank Group Executive Director

 infamously berated his American colleagues: “You fucking Americans. Who are you to tell us,

 the rest of the world, that we’re not going to deal with Iranians.”

            18.    This attitude (and admission) that the risk of violating American terrorism laws

 and regulations, and abetting anti-American terrorist violence, was something only “F---ing

 Americans” cared about, informed Standard Chartered Bank’s policies and conduct regarding

 terrorist finance. Indeed, in October 2006, when Standard Chartered Bank’s Group Executive

 Director admitted the Bank’s willingness to fund terror, Iranian terrorist proxies killed dozens of

 Americans and four U.K. nationals. For Standard Chartered Bank, however, customers’ terrorist

 attacks against American and British service members were merely the cost of doing business.

            19.    From 1999 through 2016, Standard Chartered Bank intentionally transferred or

 enabled the transfer of at least $13,066,300 (discovery will show the amount was much more



 8
  NYDFS, In re Standard Chartered Bank, New York Branch, Consent Order, at 1, 2, 4 (Aug. 6,
 2012) (“2012 Consent Order”).
 9
     Id. at 8.
 10
      Id. at 22.


                                                    8
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 24 of 606 PageID #: 24




 than this) to the Syndicate. The table below summarizes Plaintiffs’ allegations concerning

 SCB’s direct financial aid to the Syndicate through a litany of long-term relationships with

 notorious Syndicate fronts, shell companies, operatives, agents, or business partners.

    Syndicate Operative,      Timeframe       Terrorist Finance       SCB Defendants Aiding
      Front, Agent, or                             (USD)               Syndicate Operative,
          Partner                                                     Front, Agent, or Partner
   Altaf Khanani and the      2009-2016     $5,350,000 minimum       Standard Chartered Bank
   Khanani Money                            (likely at least         SCB New York
   Laundering                               $100,000,000)            SCB London
   Organization
                                                                     SCB Dubai
                                                                     SCB Pakistan
   Mustafa Ahmed al-          2000-2001     $116,300                 Standard Chartered Bank
   Hisawi                                                            SCB Dubai
                                                                     SCB London
                                                                     SCB New York
   Victor Bout                1999-2008     Likely at least          Standard Chartered Bank
                                            $18,000,000              SCB Dubai
                                                                     SCB New York
   Abdul Baqi Bari            2000-2006     $2,600,000 minimum       Standard Chartered Bank
                                            (likely at least         SCB Dubai
                                            $3,000,000)              SCB London
                                                                     SCB Pakistan
                                                                     SCB New York
   Hikmatullah Shadman        2008-2013     Likely at least          Standard Chartered Bank
                                            $1,200,000               SCB Dubai
                                                                     SCB Afghanistan
                                                                     SCB New York
   Fatima Fertilizer Co. &    2008-2014     $5,000,000 minimum       Standard Chartered Bank
   Pakarab Fertilizers Ltd.                 (likely at least         SCB London
                                            $10,000,000)             SCB Dubai
                                                                     SCB Pakistan
                                                                     SCB New York
   TOTAL                           $13,066,300 minimum (likely more than $130,000,000)




                                                 9
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 25 of 606 PageID #: 25




        20.     Standard Chartered Bank also assumed a key logistical role in the Syndicate’s

 terrorist enterprise by aiding al-Qaeda’s bombmaking campaign through financial services they

 provided to two closely-affiliated Pakistani fertilizer companies, Fatima Fertilizer Co. Ltd. and

 Pakarab Fertilizers Ltd. Standard Chartered knew that both companies deliberately provided key

 support to the Haqqani Network through their monopoly on the manufacture, sale, and

 distribution of calcium ammonium nitrate (or “CAN”) fertilizer, a notoriously dangerous dual-

 use product that al-Qaeda used to make powerful improvised explosive devices (“IEDs”) for use

 against American troops.

        21.     Fatima and Pakarab were not normal corporations engaged in routine business.

 Instead, they were widely understood active co-conspirators with Haqqani Network terrorists.

 By the end of 2011, Standard Chartered Bank knew that Fatima and Pakarab had intentionally

 joined the conspiracy between the Taliban (including its Haqqani Network) and rogue elements

 of the Pakistani Inter-Services Intelligence (or “ISI”). The object of the conspiracy was to ensure

 the Haqqani Network’s uninterrupted supply chain of high quality, reliable CAN fertilizer to

 provide the explosives for the CAN fertilizer bombs that Syndicate terrorists used to attack

 Americans in Afghanistan from 2011 through 2016.

        22.     Even though Standard Chartered Bank knew that CAN fertilizer was the

 Syndicate’s “low-cost weapon of choice” and responsible for “90% of American casualties in

 Afghanistan,” Standard Chartered Bank provided essential U.S. Dollar-related financial services

 to Fatima and Pakarab from 2011 until at least 2014, including, but not limited to, the trade

 finance and credit services that enabled Haqqani Network agents, operatives, and fronts in the

 U.A.E. and Pakistan to buy CAN fertilizer.




                                                 10
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 26 of 606 PageID #: 26




           23.      By 2013, several whistleblowers had alerted Standard Chartered Bank, and each

 Standard Chartered Bank Defendant therefore knew, the foreseeable possibility that it was

 enabling anti-American terrorist finance:

    (i)          one whistleblower concluded that Standard Chartered Bank’s illicit banking practices
                 contributed to funds which were ultimately used to support terrorist activities that
                 killed and wounded American service members;

    (ii)         a second whistleblower concluded that Standard Chartered Bank’s misconduct
                 generated cash flow to finance terrorist activities that were killing and injuring
                 American service members; and

    (iii)        a third whistleblower concluded that Standard Chartered Bank had blood on its hands
                 because it had enabled terrorist finance, including U.S. Dollar-related terrorist finance
                 transactions executed by Al Zarooni Exchange, which Standard Chartered Bank knew
                 at the time to be a notorious Khanani MLO-related terrorist finance vehicle used by
                 anti-American terrorists to finance their operations.

           24.      Despite knowing that it was aiding terrorist finance, Standard Chartered Bank

 continuing aiding the terrorists, and Americans continued dying.

           25.      Standard Chartered Bank was so committed to its own U.S. Dollar Laundromat

 that it persisted in servicing its terrorist customers even after being specifically warned by the

 U.S. government that its financial services were playing a direct role in enabling attacks against

 Americans in Afghanistan. In January 2013, Standard Chartered Bank’s senior leadership were

 directly confronted with an in-person warning from Lt. Gen. (“LTG”) Michael Barbero, who as

 head of the Department of Defense’s Joint IED Defeat Organization (“JIEDDO”) was tasked

 with overseeing America’s efforts to protect Americans from CAN fertilizer bomb attacks,

 among other IED types. LTG Barbero told Standard Chartered Bank, during in-person meetings

 in the United States, in sum and substance, that its business practices were enabling the

 Syndicate’s CAN fertilizer bomb campaign targeting Americans in Afghanistan and helping kill

 and injure Americans by the thousands each year.




                                                      11
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 27 of 606 PageID #: 27




        26.     The U.S. government in 2013 askEd SCB to change its practices to save

 American lives there. Despite the U.S. government’s request, Standard Chartered did not stop

 providing substantial assistance to the terrorists.

        27.     Every Plaintiff who was injured, or whose loved one was killed or injured, by a

 Syndicate IED or suicide bomb attack from 2011 through 2016 was killed or injured by terrorists

 using a CAN fertilizer bomb.

        28.   From 2007 through 2016, out of its Estonia branch, Defendant Danske Bank’s

 Laundromat executed $233 billion dollars in suspicious transactions, the majority of which

 facilitated money laundering for Khanani, the Russian Mob, the leadership of Azerbaijan, the

 Syndicate, and others.

        29.   Danske Bank let Khanani, a known al-Qaeda and Syndicate money launderer,

 exchange large and suspicious amounts of U.S. Dollars via his Dubai-registered company

 Mazaka General Trading. Richard Grant, the former head of the Australian intelligence service

 was quoted as saying “[t]here can only be one reason why money has been moved out of Danske

 Bank and into his trading companies – and that is money laundering. Because that was the only

 thing that happened in those companies.”11

        30.   From the beginning, Danske Bank knew. In 2007, for example, the Russian Central

 Bank told the Danish Financial Services Authority that Danske Bank Estonia was facilitating

 crime and money laundering with significant magnitude and regularity, and the Danish

 authorities passed that message on to Danske Bank. The volume of these transactions and their

 timing reveal that Danske Bank, in Estonia and also in its headquarters in Denmark, knew that it



 11
  Business Recorder, FinCEN Files: Pakistan's Altaf Khanani got huge sums from account in
 Danske Bank (Sept. 21, 2020), https://www.brecorder.com/news/40020006.


                                                   12
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 28 of 606 PageID #: 28




 operated a Laundromat, and that it chose to do so despite knowing that by doing so it was

 financing terrorism.

        31.   Again in 2012, Estonian regulators warned Danske Bank about its Estonian branch

 and its customers, but Danske Bank did nothing.

        32.   In 2013, Danske Bank internally realized that some of the Estonian branch’s

 customers may be “black-listed,” when one of Danske Bank’s New York correspondent accounts

 terminated its relationship with Danske Bank’s Estonian branch due to suspicious activity, and

 an internal Danske Bank Estonian branch employee whistleblower reported internally that

 Danske Bank was dealing with criminals. Still, Danske Bank did not stop its Laundromat.

        33.   The magnitude of the Danske Bank Laundromat, the amount of money laundered,

 the number of accounts for which it laundered money, and the period over which it did so, all

 make clear that Danske Bank knew that it was participating in illegal activity and that terrorist

 finance was a foreseeable result.

        34.   The fallout from these revelations has been devastating. Danske Bank has been

 charged by the Danish authorities with violating the Danish Anti-Money Laundering Act, and

 U.S. financial crime authorities continue to investigate. In the wake of this scandal, the CEO of

 Danske Bank has resigned.

        35.     Defendants Placid Express and Wall Street Exchange also served as Laundromats

 to terrorists. Placid Express and Wall Street Exchange both served as core financial partners for

 the world’s most notorious al-Qaeda and Taliban fundraiser and his money-laundering

 organization: Altaf Khanani. In so doing, Placid Express and Wall Street Exchange each enabled

 tens of millions of U.S. Dollars to flow from accounts in New York to Syndicate accounts in




                                                 13
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 29 of 606 PageID #: 29




 Afghanistan, Pakistan, and the U.A.E. from 2001 through 2016, directly funding attacks against

 Americans in Afghanistan.

         36.     When each Defendant made the conscious choice to serve as a Laundromat in a

 high-risk jurisdiction for al-Qaeda and Haqqani Network terrorist finance and logistics, each

 prioritized its own profits over the certain risk that Americans would be killed and maimed in

 Afghanistan by the thousands every year through a terrorist campaign aided and abetted by their

 reckless practices. Thus, when Defendants applied their Laundromat model to high-risk

 jurisdictions for al-Qaeda and Haqqani Network activity, Defendants deliberately assumed a role

 in the Syndicate’s terrorist enterprise and each Defendant played such role for years, doing so

 well after the U.S. government (among others) had warned that their conduct was potentially

 helping al-Qaeda and its affiliates attack Americans.

         37.     By helping Syndicate fronts launder overseas income back into the Syndicate’s

 coffers in Afghanistan, Pakistan, the U.A.E., and/or Russia, each Defendant knowingly assumed

 a role in the Syndicate’s terrorist campaign against Americans in Afghanistan. Without

 Defendants’ decades-long financial partnership, the Syndicate would not have been able to carry

 out the same scale of terrorist campaign or conduct mass casualty attacks, with the same

 frequency, lethality, or reliability.

         38.     Each Defendant’s support for the Syndicate’s agents, operatives, and fronts in

 Afghanistan, Pakistan, the U.A.E., and Russia intensified the Syndicate’s terrorist campaign

 against Americans in Afghanistan. Laundered overseas Syndicate profits were quantitatively

 significant – by most accounts one of the Syndicate’s largest funding sources overall. Even

 relatively low-dollar recycling of profits had an outsized effect on the Syndicate’s terrorist

 capabilities by subsidizing salaries and weapons for multiple terrorists. Each Defendant’s




                                                  14
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 30 of 606 PageID #: 30




 decision to facilitate larger, seven-figure transactions had an even greater effect: such

 transactions translated into thousands of CAN fertilizer bombs, CAN suicide bombs, advanced

 surface-to-air-missiles, and the terrorists to detonate them, all of which the Syndicate used to kill

 and injure Americans in Afghanistan. Plaintiffs bore the consequences of that decision.

         39.     This is a paradigmatic case for aiding-and-abetting liability, which Congress

 added to the ATA when it enacted the Justice Against Sponsors of Terrorism Act (“JASTA”),

 Pub. L. No. 114-222, 130 Stat. 852 (2016). JASTA provides “civil litigants with the broadest

 possible basis . . . to seek relief against persons, entities, and foreign countries, wherever acting

 and wherever they may be found, that have provided material support, directly or indirectly, to

 foreign organizations or persons that engage in terrorist activities against the United States.”

 JASTA § 2(b) (emphasis added).

         40.     An action for aiding and abetting is available whenever an act of international

 terrorism was “committed, planned, or authorized by an organization that had been designated as

 a foreign terrorist organization” (or FTO) by the U.S. government. 18 U.S.C. § 2333(d)(2).

 Designation as an FTO is a severe sanction: it is a felony to knowingly provide any material

 support to any organization designated as such. 18 U.S.C. § 2339B.

         41.     Al-Qaeda, which led the Syndicate that committed, planned, and authorized the

 attacks that injured Plaintiffs in this case was a designated Foreign Terrorist Organizations

 (“FTOs”) at the time of the attacks. See infra Part I.A.-C.

         42.     Aiding and abetting liability under JASTA has three elements. First, the person

 the defendant aids must perform a wrongful act that causes injury to the plaintiff. Second Circuit

 law is clear that even if the aid is delivered indirectly, i.e., through intermediaries, it still triggers




                                                     15
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 31 of 606 PageID #: 31




 liability. Moreover, the plaintiff need not trace funds from a defendant bank through to an

 individual terrorist attacker. Even indirect aid to a terrorist group satisfies this element.

         43.     Here, Defendants aided FTOs. See infra Part IV. Sometimes, this aid was given

 directly to al-Qaeda and Haqqani Network operatives and agents. Other times, it was given

 indirectly to intermediaries acting on al-Qaeda’s behalf, or companies supplying the Haqqani

 Network with explosive materials as part of the Syndicate’s conspiracy. In every case, however,

 Defendants helped the Syndicate carry out terrorist violence in Afghanistan.

         44.     The Syndicate FTOs, in turn, committed, planned, and authorized terrorist attacks

 against Americans in Afghanistan. See infra Part I. The Syndicate did so pursuant to a broader

 campaign to perpetrate anti-American violence in the region. The attacks and the campaign were

 each acts of international terrorism that caused Plaintiffs’ injuries.

         45.     The second element is that the defendant must be generally aware that it is

 playing a role in an illegal or tortious scheme that foreseeably could lead to acts of international

 terrorism. A defendant need not have actual knowledge that it is supporting terrorism per se, and

 certainly does not need specific intent to advance terrorism. Instead, it is enough if the defendant

 knows that it is involved in illegal activity that carries a foreseeable risk of terrorism.

         46.     Here, each Defendant knew that they were participating in criminal activity. See

 infra Part V. Indeed, the transactions they facilitated were themselves criminal. Laundering

 money is criminal. And Defendants knew they were thereby supporting terrorist organizations,

 terrorist financiers, terrorist money launderers, and transnational criminal organizations with

 established links to FTOs. They also knew that the FTOs in question were engaged in a

 campaign of anti-American violence at the time. See infra Part V.J. Terrorist attacks were an

 easily foreseeable consequence of that support. See infra Part V.A.




                                                   16
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 32 of 606 PageID #: 32




        47.     The final element is that the defendant’s assistance must be substantial.

 Substantiality is based on a number of factors, including the nature of the act encouraged, the

 amount of assistance provided, and the duration of the assistance.

        48.     These factors weigh heavily in favor of liability. The Syndicate needed funds,

 especially U.S.-Dollars, to fund its campaign of violence against Americans in Afghanistan. See

 infra Part II.A. Defendants helped the Syndicate obtain and access hundreds of millions of U.S.

 Dollars over a period of several years. See infra Part IV.

        49.     For the foregoing reasons, Defendants are liable for aiding and abetting on two

 theories. First, they aided and abetted acts of terrorist violence against Americans in Afghanistan.

 Second, they aided and abetted a racketeering enterprise: al-Qaeda and the Haqqani Network’s

 campaign of terror in Afghanistan, which has killed over 1500 American service members and

 injured over 20,000 more. Both are acts of international terrorism that render Defendants liable.

                                       THE DEFENDANTS

        A.      The Deutsche Bank Defendants

        50.     Defendant Deutsche Bank Aktiengesellschaft (“Deutsche Bank” or “Deutsche”) is

 one of the largest banks in the world, with more 100,000 employees and agents in 62 countries.

 Deutsche Bank is a publicly traded German financial institution whose principal place of

 business is in Frankfurt, Germany (“DB Frankfurt”). Its stock trades in the U.S. (NYSE: DB).

        51.     Defendant Deutsche Bank AG London (“DB London”) is Deutsche Bank’s

 branch in London, and is registered as the UK establishment of Deutsche Bank AG. DB London

 offers banking services to corporate and institutional clients.

        52.     Defendant Deutsche Bank AG does business in New York under the name

 Deutsche Bank Securities, Inc., which is Deutsche Bank’s branch in New York. Deutsche Bank

 Securities, Inc. offers banking services to corporate and institutional clients only, primarily U.S.


                                                  17
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 33 of 606 PageID #: 33




 Dollar (or “USD”) clearing for international wire payments and letters of credit. Since 1972,

 Deutsche Bank has operated as a foreign bank branch in New York, New York pursuant to a

 license issued by the state of New York. Deutsche Bank was first registered to do business in the

 State of New York on January 19, 1972, under the name Cyrus J. Lawrence & Sons

 Incorporated, Deutsche Bank Securities Inc. assumed its current name as the survivor entity of a

 merger on September 28, 1993.

        53.    Deutsche Bank’s USA PATRIOT Act certification applies to Deutsche Bank

 Securities, Inc.. It states that “Deutsche Bank AG, New York Branch is a resident of the United

 States at … 60 Wall Street, New York, NY 10005.”

        54.    Defendant Deutsche Bank Trust Company Americas (“DBTCA”) is a wholly

 owned subsidiary of Deutsche Bank Trust Corporation, which is a wholly owned subsidiary of

 Defendant Deutsche Bank. DBTCA is a New York State chartered bank regulated by NYDFS,

 and it resides in New York.

        55.    Deutsche Bank Securities, Inc. and DBTCA (collectively, “Deutsche Bank New

 York” or “DB New York”) serve as one of the largest U.S. Dollar correspondent banks in the

 world. Significant Deutsche Bank Laundromat transactions alleged in this Complaint, totaling

 more than $50 million dollars, were executed by and through Deutsche’s branches in the U.S.

        56.    Defendant Deutsche Bank AG, Dubai Branch (“DB Dubai”) is an Emirati

 financial institution that serves as Deutsche Bank’s branch in Dubai, United Arab Emirates.

        57.    Defendant Deutsche Bank Ltd, also known as Deutsche Bank LLC, (“Deutsche

 Bank Russia” or “DB Moscow”) is a wholly owned subsidiary of Deutsche Bank. DB Moscow

 serves Deutsche Bank’s customers in Russia, primarily in connection with their U.S. Dollar-




                                                18
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 34 of 606 PageID #: 34




 related transaction needs. DB Moscow is a Russian corporation, and it resides in Moscow,

 Russian Federation.

        58.     Deutsche Bank regularly reached into the United States to assert its interests in

 U.S. court. For example, Deutsche Bank used “foreclosure mills” to illegally file foreclosure

 lawsuits in American courts against U.S. service members who were deployed to Iraq and

 Afghanistan in violation of the Servicemembers Civil Relief Act.

        59.     Deutsche Bank does extensive business throughout the United States and holds

 significant assets in the United States. Deutsche Bank operates, through DB New York

 (including DBTCA), one of the largest USD-clearing banks in the world. Significant Deutsche

 Bank Laundromat transactions alleged in this Complaint, totaling millions of dollars, were

 executed by and through Deutsche Bank’s branches in the United States.

        B.      The Standard Chartered Bank Defendants

        60.     Defendant Standard Chartered Bank (or “SCB”) is one of the largest banks in the

 world, with more than 1,700 branches in more than 60 countries. SCB is a publicly traded

 United Kingdom financial institution whose principal place of business is in London, England,

 and whose stock trades in the United States (ADR: SCBFY), United Kingdom (Ticker: STAN),

 and Hong Kong (Ticker: 2888.HK).

        61.     Since 1976, SCB has operated as a foreign bank branch in New York, New York

 pursuant to a license issued by the state of New York.

        62.     Defendant Standard Chartered PLC (“SCB London”) is the parent of SCB New

 York, SCB Dubai, and SCB Pakistan, as defined below, and is based in London, England.

        63.     Defendant Standard Chartered Bank Ltd. (“SCB New York”) is SCB’s branch in

 New York. SCB New York offers banking services to corporate and institutional clients only,

 primarily U.S. Dollar clearing for international wire payments and letters of credit. As one


                                                 19
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 35 of 606 PageID #: 35




 regulator found, SCB New York “primarily conducts a U.S. dollar clearing business, which

 clears approximately $190 billion per day for its international clients.”12 SCB New York “also

 engages in corporate lending, project and structured finance, trade finance, cash management,

 foreign exchange trading, and wire transfer services.”13 SCB New York is one of the largest

 USD-clearing banks in the world.

            64.   Standard Chartered Bank’s USA PATRIOT Act certification applies to SCB New

 York, and also “covers … Standard Chartered Bank Branches and Subsidiaries” including,

 among others, Standard Chartered Bank’s branches and subsidiaries in Dubai, (“U.A.E.”), and

 Karachi, Pakistan, and states that Standard Chartered Bank is a resident of the United States at

 1095 Avenue of the Americas, New York, NY 10036.

            65.   Defendant Standard Chartered Bank, Dubai Main Branch (“SCB Dubai”) is

 Standard Chartered Bank’s branch in the U.A.E. and is based in Dubai, U.A.E.

            66.   Defendant Standard Chartered Bank (Pakistan) Limited (“SCB Pakistan”) is

 Standard Chartered Bank’s branch in Pakistan and is based in Karachi, Pakistan.

            67.   Defendants Standard Chartered Bank, SCB London, SCB New York, SCB Dubai,

 and SCB Pakistan are, collectively, “Standard Chartered Bank” or “the SCB Defendants,” and

 each is individually an “SCB Defendant.”

            68.   SCB does extensive business throughout the United States and holds significant

 assets in the United States. Significant SCB Laundromat transactions alleged in this Complaint,

 totaling millions of dollars, were executed by and through SCB’s branches in the United States.




 12
      2012 Consent Order at 6.
 13
      Id.


                                                 20
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 36 of 606 PageID #: 36




          C.     The Danske Bank Defendants

          69.    Defendant Danske Bank A/S (or “Danske Bank”) is one of the largest banks in the

 world, with approximately 180 branches in 12 countries. Danske Bank is publicly traded on the

 Nasdaq Nordic exchange in Copenhagen, Denmark, under “DK0010274414.” Its principal place

 of business is in Copenhagen, Denmark.

          70.    Danske Bank has operated bank branches and/or subsidiaries in New York since

 1985. According to Danske Bank’s USA PATRIOT Act certification regarding correspondence

 accounts from 2011, Danske Bank operated a New York branch as of that date. Danske Bank’s

 2018 USA PATRIOT Act certification does not disclose a New York branch, but does disclose

 that Danske Bank maintains at least one correspondent account with a U.S. bank or U.S. broker-

 dealer in securities.

          71.    Danske Bank’s USA PATRIOT Act certification discloses Danske Bank’s

 branches in Finland, Germany, Sweden, the United Kingdom, Poland, Norway, Ireland,

 Lithuania, Estonia, Latvia, Luxembourg, and Russia. It also states that Danske Bank has

 authorized Robert I. Bodian, Esq., of Mintz Levin Cohn Ferris Glovsky and Popeo P.C., to

 accept service of legal process on behalf of Danske Bank, at 666 Third Avenue, New York, NY,

 10017.

          72.    Defendant Danske Markets Inc. (“Danske New York”) is Danske Bank’s New

 York subsidiary and agent. Danske New York is a registered U.S. broker-dealer which provides

 U.S. Dollar clearing for international wire payments and letters of credit, and foreign exchange

 and interest rate derivatives transactions as agent for Danske Bank A/S. Danske New York is

 incorporated in Delaware and has its principal place of business in New York. Danske New

 York has operated in New York since at least 2001.




                                                 21
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 37 of 606 PageID #: 37




         73.     Defendants Danske Bank and Danske New York are, collectively, “Danske Bank”

 or “the Danske Bank Defendants,” and each is individually a “Danske Bank Defendant.”

         74.     Danske Bank does extensive business throughout the United States and holds

 significant assets in the United States. Significant Danske Bank Laundromat transactions alleged

 in this Complaint, totaling millions of dollars, were executed by and through Danske Bank’s

 branches and/or its correspondent accounts in the United States.

         D.      Placid Express

         75.     Defendant Placid NK Corporation d/b/a Placid Express (“Placid Express”) is a

 licensed U.S.-based money transmitter that focuses its business on facilitating U.S. Dollar

 transactions between the United States and customers in mostly high-risk geographies overseas,

 including, but not limited to, Pakistan, India, Nepal, and Bangladesh.

         76.     Placid Express is a Delaware corporation and United States as well as Global

 Headquarters are at 7210 37th Avenue, Jackson Heights, NY 11372.

         77.     Placid Express does extensive business throughout the United States and holds

 significant assets in the United States. Significant Placid Express Laundromat transactions

 alleged in this Complaint, totaling millions of dollars, were executed by and through Placid

 Express’s facilities in the United States. All Placid Express’s conduct alleged herein occurred, in

 whole or in part, within this District.

         E.      Wall Street Exchange

         78.     Defendant Wall Street Exchange (“Wall Street Exchange”) is a licensed U.A.E.-

 based money transmitter that focuses its business on facilitating U.S. Dollar transactions between

 the United States and customers in mostly high-risk geographies overseas.

         79.     Wall Street Exchange is a U.A.E. corporation and is headquartered in Dubai.

 Wall Street Exchange is not an organ of U.A.E., and its employees are not government


                                                 22
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 38 of 606 PageID #: 38




 employees; rather it is an ordinary commercial money remitter based in U.A.E. with a significant

 international presence. The U.A.E. government does not directly own Wall Street Exchange; the

 owner of Wall Street Exchange is Emirates Post Group, which is itself a corporation separate

 from the government, owned by the U.A.E. government.

        80.     Wall Street Exchange does extensive business throughout the United States and

 holds significant assets in the United States. Significant Wall Street Exchange Laundromat

 transactions alleged in this Complaint, totaling millions of dollars, were executed by and through

 Wall Street Exchange’s facilities in the United States. Wall Street Exchange’s United States

 commercial activities (including transactions initiated and executed by and through facilities in

 the United States) form the core of the allegations against Wall Street Exchange. All Wall Street

 Exchange’s conduct alleged herein occurred, in whole or in part, within this District.

                                 JURISDICTION AND VENUE

        81.     This Court has subject-matter jurisdiction under 18 U.S.C. § 2338 and 28 U.S.C.

 § 1331.

        82.     This Court has personal jurisdiction over each Defendant under Federal Rule of

 Civil Procedure 4(k)(1)(C) and/or 4(k)(2), and 18 U.S.C. § 2334(a).

        83.     Defendants are subject to personal jurisdiction pursuant to 18 U.S.C. § 2334(a),

 N.Y. C.P.L.R. § 302, and Fed. R. Civ. P. 4(k). That is because each of Standard Chartered

 Bank’s, Deutsche Bank’s, Danske Bank’s, Placid Express’s, and Wall Street Exchange’s conduct

 (and that of each affiliated Defendant) had a substantial nexus to the U.S. and to New York,

 including the transfer of U.S. Dollars from the U.S. to bank accounts abroad in order to finance

 and arm al-Qaeda, the Taliban (including its Haqqani Network), and their Syndicate allies.




                                                 23
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 39 of 606 PageID #: 39




         84.     Each Defendants has also entered the United States voluntarily, maintained a

 physical presence here, and have claimed the benefit of U.S. law by initiating legal actions in this

 Court and/or the Supreme Court of New York.

         85.     Each Defendant has also purposefully availed themselves of U.S. jurisdiction to

 commit their tortious acts, including the processing of transactions for the terrorists that injured

 Plaintiffs through each Defendants’ affiliated New York, or through such Defendant’s

 correspondent account transactions with a bank in New York.

         86.     As a bank with a branch in the United States and/or a licensed money remitter

 headquartered in the United States, the Standard Chartered Bank Defendants, Deutsche Bank

 Defendants, Danske Bank Defendants, Placid Express, and Wall Street Exchange, respectively,

 are also charged with knowledge of U.S. law, including the Congressional finding, incorporated

 in Section 2(a)(6) of JASTA, that companies that “contribute material support or resources,

 directly or indirectly, to persons or organizations that pose a significant risk of committing acts

 of terrorism” should “reasonably anticipate being brought to court in the United States to answer

 for such activities.”

         87.     Venue is proper in this District under 18 U.S.C. § 2334(a) because Defendant

 Placid Express resides in this District. Venue is also proper under 28 U.S.C. § 1391(b)(2)

 because a substantial part of the events giving rise to the claims occurred in this District.




                                                  24
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 40 of 606 PageID #: 40




                                  FACTUAL ALLEGATIONS

 I.     DESIGNATED FOREIGN TERRORIST ORGANIZATIONS LED BY AL-
        QAEDA COMMITTED, PLANNED, AND AUTHORIZED THE ATTACKS THAT
        INJURED PLAINTIFFS AND THEIR FAMILY MEMBERS

        A.      After 9/11, Al-Qaeda Organized And Led A Terrorist Syndicate Comprising
                Its Affiliates, Including The Taliban, The Haqqani Network, Lashkar-E-
                Taiba, D-Company, To Attack Americans In Afghanistan

        88.     At all relevant times, al-Qaeda led a joint venture of terrorists in Afghanistan and

 Pakistan, which included al-Qaeda, the Taliban (including its Haqqani Network, a part of the

 Taliban), Lashkar-e-Taiba, Jaish-e-Mohamed, and D-Company. This joint venture has been

 described by the U.S. government as al-Qaeda’s “Syndicate.”

        89.     Prior to 9/11, al-Qaeda was closely allied with the Taliban, including its Haqqani

 Network. The Taliban provided bin Laden shelter while al-Qaeda was closely fused with the

 Haqqani Network based on bin Laden’s long-standing personal alliance with its leaders,

 Jalaluddin Haqqani.

        90.     After 9/11, these groups formed a terrorist Syndicate in Afghanistan and Pakistan

 that was led by al-Qaeda and included an array of terrorist groups on both sides of the

 Afghanistan-Pakistan border who shared a common Sunni Islamist terrorist agenda and desire to

 kill Americans in Afghanistan.

        91.     Under al-Qaeda’s Syndicate-approach, al-Qaeda and its most trusted terrorist ally,

 the Haqqani Network, ran every aspect of the Syndicate’s transnational terror related strategies.

 Al-Qaeda and the Haqqani Network and specifically acted on behalf of the Taliban outside of

 Afghanistan as the Syndicate sought to fund and source its terrorist campaign against Americans

 in Afghanistan from terrorist finance activity worldwide.

        92.     By 2009, al-Qaeda and the Haqqani Network intensified their attack campaign

 inside Afghanistan. To do so, they ramped up their terrorist finance campaigns worldwide,


                                                 25
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 41 of 606 PageID #: 41




 putting out a call to all al-Qaeda and Haqqani Network financiers to support the jihad against

 Americans in Afghanistan the same way both groups had previously rallied terrorist financiers

 worldwide to support the campaign against the Soviets in the 1980s.

        93.     Thereafter, due in large part to the Syndicate’s terrorist finance, al-Qaeda’s

 terrorist campaign grew more lethal each month and year.

        94.     Al-Qaeda’s Syndicate-counterattack-strategy reflected bin Laden’s long-standing

 vision of al-Qaeda (and him, specifically) as the leader of a grand terrorist coalition across

 Afghanistan and Pakistan.14 Due to the mutually reinforcing ties between al-Qaeda, the Taliban

 (including its Haqqani Network), Lashkar-e-Taiba, and D-Company in Afghanistan – including

 their practice of cross-donations to each other – support for the one benefited all. Defendants’

 support to the Syndicate’s terrorist finance bombmaking logistics thus had crosscutting effects:

 they enabled wide-ranging terrorist attacks against Americans in Afghanistan.

        95.     Al-Qaeda’s leadership of that terrorist syndicate reflected the degree to which al-

 Qaeda and the Taliban became fully and operationally intertwined. As India’s Permanent

 Representative to the United Nations explained in describing the al-Qaeda-Taliban “syndicate of

 terrorism,” both groups were by 2011 “ideologically and operationally fused.”15 By the fall of

 2009, noted journalist Peter Bergen concluded, “the Taliban and Al Qaeda function more or less

 as a single entity. The signs of this are everywhere.”16




 14
   See Bill Roggio & Thomas Joscelyn, The al Qaeda – Taliban Connection, Weekly Standard
 (July 4, 2011) (“The al Qaeda – Taliban Connection”).
 15
   India Against Hasty Troop Withdrawal From Afghanistan, Daily Fin. Post (Oct. 1, 2011),
 2011 WLNR 20105460 (quoting Hardeep Singh Puri, India’s Permanent Representative to the
 United Nations).
 16
   Peter Bergen, The Front: The Taliban-Al Qaeda Merger, New Republic (Oct. 19, 2009) (“The
 Front”).


                                                  26
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 42 of 606 PageID #: 42




            96.   Internationally, al-Qaeda and the Haqqani Network (and through it, the Taliban)

 shared intertwined streams for fundraising, financing, logistics, smuggling, and weapons.

 According to Haqqani Network expert Gretchen Peters, international “funding streams” were

 “intertwined across” amongst al-Qaeda, the Haqqani Network, and the Taliban.17 As Ms. Peters

 explained in 2012, al-Qaeda, the Haqqani Network, and their allies “derive[d] income in and

 outside Afghanistan” and their “money move[d] between key network actors and into banks in

 Pakistan, the [U.A.E.] and beyond.”18

            97.   Director of National Intelligence John Negroponte has publicly explained that

 “Osama bin Laden, and al Qa’ida more broadly, had a mergers and acquisition strategy,” under

 which al-Qaeda “acquire[d]” its affiliates and allies, including each Syndicate member.

            98.   In 2010, one terrorism scholar warned against drawing a bright line between al-

 Qaeda and the Afghan terrorist groups that it sponsored. In explaining the importance of

 “recogniz[ing] the link between al Qa’ida and Afghan insurgent groups,” he observed that a

 “policy focused on targeting al-Qa’ida – and not the Taliban, Haqqani Network, or other groups

 – would ignore one of the most egregious lessons from September 11.”19

            99.   The U.S. government agreed. During the relevant timeframe, the U.S.

 government repeatedly stated that al-Qaeda and the Taliban acted together in a terrorist

 “syndicate,” and warned against efforts to distinguish between them. Examples include:

      Secretary of State Hillary Clinton, July 2009: “[W]e had an intensive strategic review upon
       taking office[.] And we not only brought the entire United States government together, but
       we reached out to friends and allies . . . [T]he result of that strategic review was to conclude

 17
   Gretchen Peters, Haqqani Network Financing: The Evolution Of An Industry 32, Combatting
 Terrorism Ctr. (July 2012) (“Peters, Haqqani Network Financing”).
 18
      Id.
 19
  Seth G. Jones, In the Graveyard of Empires: America’s War in Afghanistan at 332 (W.W.
 Norton & Co. 2010) (“Graveyard of Empires”).


                                                    27
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 43 of 606 PageID #: 43




       that al-Qaeda is supported by and uses its extremist allies like elements within the Taliban . .
       . to be proxies for a lot of its attacks . . . So the Taliban . . . [is] part of a kind of terrorist
       syndicate with al-Qaeda at the center[.]”20
      Secretary of State Hillary Clinton, December 2009: “[W]e have increasingly come to see
       these organizations not as separate independent operators that occasionally cooperate with
       one another, but as part of a syndicate of terrorism. . . . [T]he level of operational
       cooperation, training, equipping, financing, has grown exponentially. And at the head of the
       table, like an old Mafia kind of diagram, sits al Qaeda.”21
      Secretary of Defense Robert Gates, January 2010: “Defense Secretary Robert M. Gates said
       yesterday that Al Qaeda was using proxy terrorist groups to orchestrate attacks in . . .
       Afghanistan as part of a broader strategy to destabilize the region. In a news conference held
       after two days of meetings with Indian officials, Gates said Al Qaeda had formed a
       ‘syndicate’ of terrorist groups with Taliban factions in Afghanistan and Pakistan . . . ‘What
       we see is that the success of any one of these groups leads to new capabilities and a new
       reputation for all,’ Gates said. ‘A victory for one is a victory for all.’ US intelligence
       officials have said that jihadi groups in the region are cooperating more closely than ever . . .
       Gates said all of the factions were working under the umbrella of Al Qaeda.”22
      Secretary of Defense Robert Gates, May 2010: “The other concern we have . . . is the
       creation of the syndicate of terrorist organizations that are working with each other, al Qaeda,
       the Taliban in Pakistan, the Taliban in Afghanistan, the Haqqani Network. There are five or
       six of these groups that are now really working together and a success for one is a success for
       all . . . And so this problem has become more complex as these groups have gotten closer and
       cooperated operationally in a way that we really haven’t seen, I think, significantly before
       2007, 2006.”23
      Under Secretary of Defense for Policy Michele Flournoy, April 2011: “We view al Qaeda,
       Haqqani, the Taliban, these are all part of a syndicate of groups that help each other. The
       Pakistanis tend to make finer distinctions between them -- you know, not being . . . tolerant
       to some, like al Qaeda, but otherwise tolerating others. We are trying to work with them to
       shift that perspective and shift that calculus.”24

           100.    Al-Qaeda’s interdependence and joint venture with its affiliates in Afghanistan

 and Pakistan continued throughout the period in which Plaintiffs were killed and injured. As two


 20
      Sec. of State Hillary Clinton, NBC News: Meet the Press (July 26, 2009).
 21
      S. Hr’g 111-479, at 24.
 22
   Gates Casts Qaeda As Terror Syndicate, Wash. Post (Jan. 21, 2010), 2010 WLNR 1263055
 (“Gates Casts Qaeda As Terror Syndicate”).
 23
   John King Presents: Full Interview with Secretary of Defense Robert Gates, CNN (May 8,
 2010), 2010 WLNR 27823364.
 24
   Hindustan Times, Pakistan Must Meet Certain Expectations on Counter-Terrorism (Apr. 22,
 2011).


                                                      28
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 44 of 606 PageID #: 44




 journalists noted in 2016, the U.S. military’s relative success against al-Qaeda neither eliminated

 al-Qaeda nor broke apart its Syndicate: Afghanistan’s southern and eastern provinces remained

 a “hub of Afghan insurgents and [the] al-Qaeda-led terrorist syndicate.”25 Similarly, as two

 terrorism scholars explained in a 2018 book, “[t]he Taliban still retain[ed] a close alliance with

 al-Qaeda,” which represented “the worst possible scenario for terrorism.”26

        101.    From 9/11 through today, al-Qaeda’s terrorist enterprise benefited from al-Qaeda

 operatives who were “polyterrorists,” i.e., al-Qaeda terrorist operatives who also simultaneously

 served as a terrorist operative for one or more al-Qaeda affiliates. By design, al-Qaeda

 operatives were often members of other Pakistan-based al-Qaeda affiliates, most commonly, the

 Haqqani Network and Lashkar-e-Taiba. Typically, al-Qaeda’s and the Haqqani Network’s

 polyterrorist operatives or agents served the group’s transnational terrorist activities in support of

 the attack campaign against Americans in Afghanistan. Former assistant Treasury secretary for

 terrorist finance Juan C. Zarate explained in 2013:

        Treasury’s [counter-terror] strategy … aimed at targeting networks of key
        financial actors and nodes in the terrorist support system. The point was … to
        make it harder for individuals who were financing terrorists to access the formal
        financial system. Our analyses therefore focused on the networks of actors and
        institutions providing the financial backbone to terrorist enterprises. Interestingly,
        we found that there were all-purpose financiers who would give to multiple
        causes—“polyterror” supporters.27

        102.    Since the mid-2000s, Sirajuddin Haqqani was – and remains today – the signal

 example of an al-Qaeda “polyterrorist” operative who killed Americans. Sirajuddin Haqqani



 25
  Ayaz Ahmed & Dr. Faisal Javed, Pakistan And SCO: Opportunities for Pakistan, Asian
 Defence J. (Aug. 31, 2016), 2016 WLNR 25890108.
 26
   Walter Laquer and Christopher Wall, The Future of Terrorism 153 (St. Martin’s Press 2018)
 (“Laquer and Wall, Future of Terrorism”).
 27
   Juan C. Zarate, Treasury’s War: The Unleashing of a New Era of Financial Warfare 41
 (Public Affairs 2013) (“Zarate, Treasury’s War”).


                                                  29
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 45 of 606 PageID #: 45




 was the son of bin-Laden’s long-standing ally, mentor, and protector, Jalaluddin Haqqani. By

 2008, Sirajuddin Haqqani was simultaneously: (1) a senior al-Qaeda operative, leader, and

 attack planner, who served as the most important member of al-Qaeda’s military council

 (essentially, it’s terrorist planning committee); (2) the Haqqani Network’s top operative, attack

 planner, and leader; and (3) a senior leader of the Quetta Shura Taliban, which would eventually

 make him its number two leader (Deputy Emir).

            103.   On February 29, 2008, the U.S. State Department designated Sirajuddin Haqqani

 a Specially Designated Global Terrorist for “acts of terrorism that threaten the security of U.S.

 nationals or the national security, foreign policy, or economy of the United States” and the U.S.

 Congress specifically identified Sirajuddin Haqqani as “the overall leader of the Haqqani

 Network as well as the leader of the Taliban’s Mira shah Regional Military Shura” in 2012.28

            104.   Sirajuddin Haqqani facilitated al-Qaeda members’ efforts to join and fight with

 the Haqqani Network and the rest of the Taliban. According to U.S. intelligence officers,

 Sirajuddin Haqqani acts as a member of al-Qaeda’s military council. U.S. officials have

 described him as al-Qaeda’s top facilitator in Afghanistan.

            105.   When Plaintiffs were injured between August 2011 and 2016, Sirajuddin Haqqani

 served as the top Syndicate “polyterrorist” responsible for coordinating key transnational-facing

 aspects of the Syndicate’s terrorist campaign in Afghanistan and, in coordination with other al-

 Qaeda and affiliated terrorists:

      (i)      Sirajjudin Haqqani planned and authorized the Syndicate attacks that targeted Kabul
               – which Sirajuddin Haqqani personally viewed as a tactical priority – that were
               committed by joint al-Qaeda/Taliban (including Haqqani Network)/Lashkar-e-Taiba

 28
   Public Notice, In the Matter of the Designation of Sirajuddin Haqqani, aka Sirajuddin Haqani,
 aka Siraj Haqqani, aka Siraj Haqani, aka Saraj Haqqani, aka Saraj Haqani, as a Specially
 Designated Global Terrorist Pursuant to Section 1(b) of Executive Order 13224, as Amended, 73
 Fed. Reg. 12,499 (Mar. 7, 2008); Pub. L. 112-168, 126 Stat. 1299, § 2(a)(8) (Aug. 10, 2012).


                                                   30
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 46 of 606 PageID #: 46




              cells known as the Kabul Attack Network, including such joint cell’s IED and suicide
              bomb attacks in Kabul and the surrounding provinces;

    (ii)      Sirajjudin Haqqani planned and authorized al-Qaeda’s CAN fertilizer bombing
              campaign, including, but not limited to, al-Qaeda’s and the Haqqani Network’s
              strategy for: (1) sourcing CAN fertilizer from Fatima and Pakarab; (2) purchasing and
              transporting the CAN fertilizer; (3) operating al-Qaeda bombmaking factories hosted
              at Sirajuddin Haqqani’s personal network of joint al-Qaeda-Haqqani Network
              terrorist camps in Pakistan; and (4) deploying CAN fertilizer bombs as IEDs and
              suicide bombs to attack Americans in Afghanistan;

    (iii)     Sirajjudin Haqqani planned and authorized al-Qaeda’s suicide bombing campaign,
              including, but not limited to, al-Qaeda’s and the Haqqani Network’s shared strategy
              for: (1) planning the targets for suicide bomber attacks in Afghanistan; (2) sourcing
              suicide bombers through al-Qaeda’s and the Haqqani Network’s long-standing allies,
              Lashkar-e-Taiba and Jaish-e-Mohammed; and (3) coordinating the “suicide bomber
              infrastructure” of camps, madrassas, ratlines, and safehouses, which relied heavily
              upon al-Qaeda and Haqqani Network resources and polyterrorists like Sirajuddin;

    (iv)      Sirajuddin Haqqani planned and authorized the kidnapping of Kevin King; and

    (v)       Sirajuddin Haqqani planned and authorized al-Qaeda’s and the Haqqani Network’s
              transnational terrorist finance operations, including, but not limited to: (1) its
              collaboration with the Russian Mafia to derive terrorist finance from Syndicate opium
              exports; (2) its use of Altaf Khanani and the Khanani Money Laundering
              Organization (“Khanani MLO”), who served as Sirajuddin’s personal financier, and
              as a key transnational terrorist finance agent for the Haqqani Network to finance its
              and its allies’ operations in Afghanistan; and (3) al-Qaeda and the Haqqani Network’s
              transnational VAT fraud terrorist finance schemes, which al-Qaeda and the Haqqani
              Network jointly planned and administered by training dual-hatted al-Qaeda/Haqqani
              Network terrorists in camps in Afghanistan and Pakistan, and then deploying such
              terrorists in Europe to serve as transnational fundraising cells for the specific purpose
              of sending terrorist finance denominated in U.S. Dollars back to the Syndicate to
              attack Americans in Afghanistan.

           106.   Each of the terrorist entities below used indiscriminate violence against American

 armed forces members serving as part of Operation Enduring Freedom or the ISAF, as well as

 civilians, to achieve political ends. Their primary goal was to intimidate and coerce the U.S.

 government (and other Coalition countries) to withdraw Coalition personnel from Afghanistan,

 and to affect the conduct of those governments by mass destruction, assassination, and

 kidnapping. The terrorists also sought to intimidate the newly elected (and U.S.-backed)



                                                   31
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 47 of 606 PageID #: 47




 recognized government of Afghanistan. And the insurgency used violence to intimidate and

 coerce the civilian population of Afghanistan to abide by a severe form of Islamic Sharia law.

        107.    At all relevant times, Deutsche Bank, SCB, Danske Bank, Place Express, and

 Wall Street Exchange Defendants knew that al-Qaeda, the Taliban (including its Haqqani

 Network), Lashkar e-Taiba, Jaish-e-Mohammed, the Kabul Attack Network, and D-Company

 were terrorist organizations targeting both American service members and American and Afghan

 civilians. They knew this not only because it was common knowledge in Afghanistan – a

 prevailing understanding of which Defendants and their agents were aware – but also because it

 was reported by both the U.S. government and the Western press.

        108.    None of the terrorist entities identified below adhered to the Geneva Conventions

 or the laws of war. Among other violations, they refused to wear uniforms or otherwise

 distinguish themselves from civilians; they intentionally slaughtered civilians; and they used

 indiscriminate weapons. None was associated with a recognized government. And none was

 waging a civil war, nor did any have a legitimate claim to sovereignty over Afghan territory.

                1.      Al-Qaeda

        109.    Bin Laden declared war on the United States in a published fatwa (an

 authoritative religious decree) in 1996.

        110.    On October 8, 1999, the U.S. State Department designated al-Qaeda as an FTO.

        111.    In the spring 2001, Osama bin Laden, on behalf of al-Qaeda, pledged an oath of

 allegiance to Mullah Omar and the Taliban.

        112.    Professor Jimmy Gurulé served in a senior terrorist-finance facing role at the

 Treasury Department and now teaches law at Notre Dame. As Professor Gurulé explained in his

 book, Unfunding Terror, “[s]ince the September 11, 2001 terrorist attacks, al Qaeda [] emerged

 as the head of a global Islamist terror movement, comprised of dozens of deadly jihadist groups”


                                                 32
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 48 of 606 PageID #: 48




 and “[s]everal members of the al Qaeda terror movement [were] designated as FTOs” including,

 but not limited to, “Islamic Movement of Uzbekistan,” “Jaish-e-Mohammed,” and “Lashkar-e-

 Tayyiba.”29 This reflected al-Qaeda’s tactical and operational fusion with its affiliates in

 Afghanistan and Pakistan.

           113.    Since 9/11, and continuing through the present, Al-Qaeda led the Syndicate and

 worked jointly with its inseparable ally, the Taliban, with whom al-Qaeda had been essentially

 fused since before 9/11 and have remained so ever since. The overlap between the organizations

 meant that al-Qaeda often played a key role in Taliban and Haqqani Network attacks. As

 terrorism scholars Bill Roggio and Thomas Joscelyn observed, “[i]t is not clear where, say, al

 Qaeda ends and the Taliban and other terrorist groups begin. This is by design. Bin Laden

 envisioned al Qaeda as the vanguard of a broader jihadist coalition. Al Qaeda was always a joint

 venture.”30 Mr. Joscelyn testified that the word “syndicate” – referring to al-Qaeda’s terrorist

 joint venture with its Afghan and Pakistani affiliates – offers an “excellent description of how al

 Qaeda operates.”31

           114.    Al-Qaeda’s Syndicate strategy was consistent with its broader corporate approach

 to Islamist terror. “A further advance has been the rise of franchising.”32 Indeed, “Al Qaeda

 became the first terrorist organization to sponsor other terrorist organizations.”33


 29
   Jimmy Gurulé, Unfunding Terror: The Legal Response to the Financing of Global Terrorism
 89 (Edward Elgar 2008) (hereinafter, “Gurulé, Unfunding Terror” or “Gurulé”).
 30
      The al Qaeda – Taliban Connection.
 31
   Al-Qaeda In Afghanistan and Pakistan: An Enduring Threat, Hr’g Before the U.S. House
 Committee On Foreign Affairs, Subcommittee On Terrorism, Nonproliferation, and Trade, S.
 Hr’g 113-156, at 28 (May 20, 2014) (statement of Thomas Joscelyn, Sr. Research Fellow, Found.
 for Def. of Democracies), 2014 WLNR 13518260.
 32
   Jodi Vittori, Terrorist Financing and Resourcing 61 (Palgrave Macmillan 2011) (“Vittori,
 Terrorist Financing”).
 33
      Id. at 62.


                                                  33
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 49 of 606 PageID #: 49




           115.       According to Dr. Jodi Vittori, “Al Qaeda, more than any other terrorist group in

 history, has been compared to a transnational corporation and described using standard business

 terms, such an organization with ‘franchises’ and ‘subcontractors,’ the ‘Ford Foundation of

 Terrorism,’ with Usama bin Laden as its ‘CEO’ and ‘al Qaeda’ akin to a brand name. Much of

 this derives from the fact that al Qaeda was designed from inception along a business-oriented

 model, with much of the leadership of al Qaeda, including Usama bin Laden himself, with

 backgrounds in business and economics.”34

           116.       True to this approach, al-Qaeda followed a “franchise” model, under which the

 Taliban (including its Haqqani Network), Lashkar-e-Taiba, Jaish-e-Mohammed, and D-

 Company operated as al-Qaeda “franchises” (all but D-Company) or “partners” (D-Company).

 “The term ‘franchise’ has been extensively used to describe al Qaeda-associated groups, in

 which terrorist organizations have made a formal or informal agreement to join the overall al

 Qaeda organization. This provides al Qaeda extra manpower, financing and logistics networks,

 while the smaller organization accepts the al Qaeda brand name.”35

           117.       Moreover, according to Professor Gurulé, “Al Qaeda has used its substantial

 financial resources to establish links, leverage support and maintain the loyalty of more than 20

 militant jihadist groups globally” and “has provided financial assistance to these terrorist

 surrogates to underwrite specific jihadi operations, purchase weapons, and train thousands of

 their members at al Qaeda-run camps in Afghanistan, Pakistan, … and elsewhere.”36




 34
      Id. at 74-75.
 35
      Vittori, Terrorist Financing, at 100.
 36
      Gurulé, Unfunding Terror, at 73.


                                                      34
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 50 of 606 PageID #: 50




        118.    Through decades of terrorist operations, al-Qaeda developed a comprehensive

 infrastructure designed to route terrorist finance anywhere in the world to wherever al-Qaeda and

 its allies needed their money or logistical resources to be sent. According to Martin S. Navias, a

 terrorism researcher at King’s College in London:

        [In the 1990s,] international terrorist organizations such as al-Qaida developed …
        a well-oiled and sophisticated machine for generating funds and also for
        exploiting loopholes in the increasingly interconnected international banking
        system for purposes of moving these funds around the world in support of cell
        sustenance and the propagation of terrorist activities. Counterterrorist finance
        warfare … [after 9/11] therefore… aim[ed] [to] block[] terrorist fund generation
        capabilities and prevent[] the movement across borders of these illicit monies.37

        119.    Counter-terrorist finance practitioners recognized that al-Qaeda’s globally

 integrated, corporate-inspired tactic of funding and logistically supporting terrorist operations

 against Americans from a network of cells, agents, and allied terrorist groups in Europe, Asia,

 and the Middle East was the vital to understanding al-Qaeda strategy after 9/11:

        The key point about al-Qaeda financing is its global nature and its
        sophistication. Al-Qaeda has cells in Africa, the Middle East, Asia, Europe, and
        North America. Since 1998 it has carried out operations in Africa, the Middle
        East, Asia, and North America and therefore, for structural and operational
        reasons, requires funds to be raised and delivered globally. … Such a wide range
        of international operations would not have been possible without bin Laden’s
        knowledge of the functioning of contemporary international banking and financial
        practices…. bin Laden was firstly as a financial entrepreneur. A 1996 CIA
        profile of bin Laden was entitled: “Islamic Extremist Financier.”38
        120. Al-Qaeda integrated the terrorist finance and logistics activities of its cells around

 the world through agents like Altaf Khanani and polyterrorists like Sirajjuddin Haqqani. As Mr.

 Kochan documented in 2005:

        Al Qaida is the quintessential global conglomerate. It has or had offices and cells
        throughout Europe, the Middle East, Africa, Asia and even South America. It
        draws expertise from personnel with myriad skills. Its structure mimics the

 37
    Martin S. Navias, “Global Terror and International Finance in the Immediate Aftermath of
 9/11,” in Christopher Ankersen (ed.), Understanding Global Terror 172-3 (Polity 2007).
 38
    Id. at 183.


                                                  35
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 51 of 606 PageID #: 51




        horizontal cellular hierarchy so typical of progressive multinationals. This
        devolution of power from the center to outlying cadres has increased since the
        United States launched its full-scale war against the movement in 2001.39

        121.    In 2002, Joseph M. DeThomas, the U.S. Ambassador to Estonia, highlighted the

 interconnectedness between al-Qaeda and its allies’ activities around the world and their ability

 to attack Americans in places like Afghanistan. As Mr. Kochan summarized:

        Joseph M. DeThomas, U.S. Ambassador to Estonia, amplified the paradox of Al
        Qaida as a business-like entity in a speech he gave to the business daily Aripäev
        in June 2002. He said, “The global society has helped engender global villains.
        Groups hostile to democratic values have also gone global. Al Qaida is the
        equivalent of a terrorist multinational corporation with branches in more than 30
        countries. Sitting in Afghanistan, Osama Bin Laden had operatives in Germany
        designing an attack on the United States…”40

                2.      The Taliban (Including Its Haqqani Network)

        122.    The Taliban is a Sunni Islamic terrorist organization composed originally of

 former mujahideen fighters who had expelled the Soviet Union from Afghanistan.

        123.    In 2002, the U.S. designated the Taliban and its leader Mohammed Omar as

 Specially Designated Global Terrorists. President Bush found that these designations guarded

 against “grave acts of terrorism and threats of terrorism committed by foreign terrorists.”41

        124.    On December 26, 2007, Congress enacted a law declaring that, for purposes of

 “section 212(a)(3)(B) of the Immigration and Nationality Act, . . . the Taliban shall be

 considered to be a terrorist organization.”42 As a State Department official explained, the U.S.

 government treats the Taliban “as a Foreign Terrorist Organization for immigration purposes.”43


 39
    Kochan, The Washing Machine, at 69.
 40
    Kochan, The Washing Machine, at 70.
 41
    Exec. Order No. 13,268, 67 Fed. Reg. 44,751 (July 3, 2002).
 42
   Consolidated Appropriations Act of 2007, § 691(d), Pub. L. No. 110-161, 121 Stat. 1844,
 2365.
 43
  U.S. Dep’t of State, Senior Administration Officials on the Terrorist Designation of the
 Haqqani Network (Sept. 7, 2012).


                                                 36
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 52 of 606 PageID #: 52




           125.   At all relevant times, the U.S. government viewed the Taliban as a terrorist group,

 not as the legitimate armed force of any nation.

           126.   The Taliban’s principal goal has long been to expel Americans from the country

 and undermine the democratically elected government of Afghanistan. To that end, the Taliban

 attacked U.S. forces From 2001 through 2016.

           127.   At all times, the Taliban (including its Haqqani Network) routinely engaged in

 acts of terror in Afghanistan designed to compel Afghan civilians to submit to the jurisdiction of

 the Taliban’s illegal shadow-government rather than the duly constituted Government of the

 Islamic Republic of Afghanistan. Terrorism scholars Walter Laquer and Christopher Wall

 explained how this strategy was as core Taliban terrorist tactic and ensured that the Taliban’s

 purported “shadow government services” were inextricably linked to its terrorist enterprise:

           [T]he most successful terrorist groups also provide benefits exclusively to [their]
           members. These can [include] social services. … [When the] Taliban managed to
           take over large swaths of Afghanistan …, [the Taliban] demanded that
           individuals adhere to the [Taliban’s] values to receive these benefits, further
           strengthening the bond of solidarity individuals felt. Looking beyond individual
           rationality, when a person adopts and organization’s values, his or her
           worldview alters. Taking into account the club goods model for terrorism, what
           emerges is a rational explanation for the acts of terror.44

           128.   The Haqqani Network is a Sunni Islamic terrorist organization that has been

 operating in Afghanistan since the 1970s. It was founded by Jalaluddin Haqqani and is now led

 by his son, Sirajuddin Haqqani. The Haqqani Network is a member of the Syndicate, has been a

 part of the Taliban for decades, and is closely allied and interdependent with al-Qaeda.

           129.   On September 19, 2012, the U.S. State Department designated the Haqqani

 Network as an FTO.



 44
      Laquer and Wall, Future of Terrorism, at 213.


                                                    37
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 53 of 606 PageID #: 53




        130.    The U.S. designated multiple Haqqani leaders as SDGTs. As previously

 mentioned, the U.S. designated Sirajuddin Haqqani as an SDGT in 2008 and, in 2010 and 2011,

 the followed up by designating three other Haqqanis—Nasiruddin, Khalil Al-Rahman, and

 Badruddin—as fundraisers and commanders of the Haqqani Network. By February 2014, the

 U.S. had designated fourteen leaders in the Haqqani Network under Executive Order 13224.45

        131.    The Haqqani Network was especially active in the southeastern parts of

 Afghanistan, particularly in the Paktia, Paktika, and Khost (“P2K”) Provinces. It also developed

 a significant presence in the surrounding Provinces of Kabul, Logar, Wardak, Ghazni, and Zabul.

 Because of the Haqqani Network’s longstanding tribal connections to the southeastern region of

 Afghanistan, the Taliban often acts through the Haqqani Network in those areas.

        132.    The Haqqani Network’s influence is not limited to one Afghan region. There is

 also significant overlap between the broader leadership of the Taliban and the Haqqani Network.

 Sirajuddin Haqqani has been a member of the Taliban’s governing council since at least 2010.

 Since 2015, he has been the Deputy Emir of the Taliban, the Taliban’s second in command.

 Working alongside al-Qaeda, the Haqqani Network has overseen the Taliban’s terrorist attacks

 on U.S. and Coalition forces in Afghanistan. For example, after September 11, Jalaluddin

 Haqqani effectively served as the Taliban’s secretary of terrorism and planned many of the

 Taliban’s attacks on U.S. forces in the early days following the overthrow of the Taliban

 government while sheltering al-Qaeda leadership at the time.



 45
   It is not uncommon for the U.S. government to issue a terrorism-related designation years, and
 sometimes even decades, after a terrorist suspect first becomes internationally notorious for his
 or her role enabling terror. This ordinarily does not reflect uncertainty about whether someone
 was a terrorist, only the uniquely cumbersome inter-agency legal and diplomatic process, which
 often stretches years, that the U.S. government completes before most terrorism-related
 designations including, on information and belief, each designation identified in this Complaint.


                                                38
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 54 of 606 PageID #: 54




        133.    Both Sirajuddin and Jalaluddin Haqqani have confirmed that the Haqqani

 Network operates as part of the Taliban. The Taliban has rejected claims that the Haqqani

 Network is separate from the Taliban.

        134.    The Haqqani Network has significant links to al-Qaeda, dating back to the 1980s

 when Osama bin Laden established a training camp for his nascent terrorist group in Haqqani-

 controlled territory. After September 11, the Haqqanis provided sanctuary to bin Laden.

        135.    The Haqqani Network’s close relationship with al-Qaeda and other terrorist

 groups has helped grow the modern terrorist Syndicate operating in Afghanistan. In furtherance

 of that goal, the Haqqani Network provides protection to al-Qaeda so that it can launch attacks in

 Afghanistan and plan acts of international terrorism abroad. Senior Haqqani Network officials

 also have publicly indicated that the Haqqani Network and al-Qaeda are one. And in July 2008,

 Jalaluddin Haqqani’s son—18-year-old Muhamman Omar Haqqani—was killed alongside a top

 al-Qaeda commander in southeast Afghanistan. The Haqqani Network also maintains training

 camps and safe houses that have been used by al-Qaeda and Taliban operatives.

        136.    When the U.S. Treasury Department designated Sirajuddin Haqqani’s uncle

 Khalil Al-Rahman Haqqani as a SDGT, it noted that he “has also acted on behalf of al-Qa’ida

 and has been linked to al-Qa’ida military operations.”46 The Treasury Department likewise has

 repeatedly recognized links between Haqqani Network leaders and al-Qaeda.

        137.    Along with al-Qaeda, the Haqqani Network jointly operated and conducted al-

 Qaeda’s CAN fertilizer bomb campaign in Afghanistan, and Haqqani Network agents,

 operatives, and fronts, including Haqqani Network co-conspirators Fatima and Pakarab, were



 46
    Press Release, U.S. Dep’t of Treasury, Treasury Targets the Financial and Support Networks
 of Al Qa’ida and the Taliban, Haqqani Network Leadership (Feb. 9, 2011).


                                                39
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 55 of 606 PageID #: 55




 vital to sourcing every component necessary for the Syndicate to execute its CAN fertilizer bomb

 campaign at a nationwide scale throughout Afghanistan.

        138.    The Haqqani Network ordinarily managed the Taliban’s transnational terrorist

 finance and logistics operations and also often aided al-Qaeda’s transnational terrorist finance

 and logistics activities. When doing so, the Haqqani Network used its network of agents,

 operatives, and fronts in the U.A.E. as an alias for its fellow Syndicate terrorists. As explained

 by Haqqani Network expert Gretchen Peters, the Haqqani Network’s interlocking financial

 support of other Syndicate members through cross-border transactions included, but was not

 limited to: (1) managing the Taliban’s international narcotics enterprises, and repatriating47

 profits back to the Taliban to fund attacks against Americans in Afghanistan; (2) raising funds

 for al-Qaeda and the Taliban from commercial activities overseas and repatriating those monies

 back to al-Qaeda and the Taliban to fund attacks against Americans in Afghanistan; and (3)

 committing transactions through known Haqqani Network operatives, agents, or fronts around

 the world, including, but not limited to, such Haqqani Network assets in the U.A.E., Afghanistan,

 Pakistan, Russia, Central Asia, Germany, Italy, Cyprus, and other key sites in Europe, the

 Middle East, and Asia, all of which directly funded al-Qaeda and Haqqani Network operations

 that supported their shared terrorist campaign against Americans in Afghanistan.




 47
   By “repatriating profits,” Plaintiffs refer to the process through which al-Qaeda, the Haqqani
 Network, and their allies, used their operatives, agents, fronts, or partners to launder illicit
 overseas income, convert such funds into U.S. Dollars from their original currency (e.g., Russian
 Rubles), and transfer such cleansed money back to the terrorist group’s designated “controller,”
 e.g., Altaf Khanani, who then manages the money and disperses it consistent with the needs and
 request of the terrorist group. Such “repatriation” by al-Qaeda, the Taliban (including the
 Haqqani Network), and their allies occurred through their use of operatives, agents, fronts, and
 partners throughout the world.


                                                  40
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 56 of 606 PageID #: 56




            139.   The Treasury Department determined that the Haqqani Network regularly used its

 transnational terrorist finance activities to fund multiple al-Qaeda-affiliated Syndicate members

 simultaneously. For example, example, on February 9, 2011, the Treasury Department

 designated Syndicate operatives, Said Jan Abd Al-Salam and Khalil Al-Rahman Haqqani

 (Jalaluddin’ s brother), as SDGTs to “target[] the financial and support networks of al-Qa’ida,

 the Taliban and the Haqqani Network leadership.”48

            140.   By 2010, CAN fertilizer sourced from Pakistan was “one of the most coveted

 substances in a Taliban bomb-maker’s arsenal” and served as “the basic ingredient of the

 Taliban’s roadside bombs,”49 and the Syndicate had developed a sophisticated end-to-end

 logistics chain for the sourcing, manufacture, and distribution of al-Qaeda CAN fertilizer bombs.

 By 2011, “U.S. military officials believe[d] the Haqqani [N]etwork” was “working closely with

 [CAN fertilizer] suppliers,” e.g.., Fatima, “to help smuggle the fertilizer across the border.”50

            141.   By the time it was designated as an FTO on September 19, 2012, the Haqqani

 Network, working closely with al-Qaeda, had grown and refined the Syndicate’s CAN fertilizer

 bomb logistics chain in Afghanistan and Pakistan for more than five years.

                   4.     Lashkar-e-Taiba

            142.   Lashkar-e-Taiba (or “LT”) means “Army of the Pure,” and was founded in

 Pakistan in the early 1990s. Since its inception, the group has been engaged in terrorist activities,

 causing the United States to designate it as an FTO on December 26, 2001—and to subsequently

 renew that designation and expand it to include Lashkar-e-Taiba’s aliases and affiliates.


 48
      Id.
 49
  Alex Rodriguez, Bribes Keep Taliban Flush with Explosives, L.A. Times (May 8, 2010), 2010
 WLNR 9039604.
 50
   Aamer Madhani, Tensions With Pakistan Rise Over Bomb Ingredient, National Journal Daily
 (Jul. 6, 2011), 2011 WLNR 13371684.


                                                  41
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 57 of 606 PageID #: 57




           143.   At all relevant times, Lashkar-e-Taiba was a member of the Syndicate and known

 to be a terrorist group that targeted Americans in Afghanistan for attack.

           144.   Lashkar-e-Taiba and Al-Qaeda have close ties dating back to the anti-Soviet war.

 Lashkar-e-Taiba has a long history of providing support to al-Qaeda members.

           145.   As an al-Qaeda “franchise,” Lashkar-e-Taiba provided key funding, which al-

 Qaeda relied upon to fund and arm Qaeda terrorists throughout the world. According to Mr.

 Zarate, by 2011, “Al Qaeda core struggle[ed] financially and rel[ied] more heavily on its

 affiliates for funding” and by 2013, “Al Qaeda in Pakistan” “increasingly collaborat[ed] and

 shar[ed] resources with Pakistani-based militant groups” and “[was] known to share resources

 and secure funding from Lashkar-e-Taiba,” which was an “example” of how al-Qaeda relied on

 “relationships” “that tie[d] [al-Qaeda’s’ financing to the infrastructure and operations of other

 organizations” as a central component of the al-Qaeda’s terrorist finance strategy.51

           146.   As an al-Qaeda “franchise,” Lashkar-e-Taiba’s operations and finances were

 heavily intertwined with al-Qaeda, and Lashkar-e-Taiba regularly provided funds and weapons,

 and deployed Lashkar-e-Taiba terrorists, to al-Qaeda for use by the Syndicate’s joint cells in

 eastern Afghanistan. Thus, a substantial percentage of the terrorist finance that flowed to

 Lashkar-e-Taiba ordinarily flowed through Lashkar-e-Taiba and on to al-Qaeda to support the

 latter’s terrorist operations in Afghanistan.

           147.   Collaboration between Lashkar-e-Taiba and its al-Qaeda, Taliban, and Haqqani

 Network partners in the Syndicate “was centered on the jihad in Afghanistan” and “included the




 51
      Zarate, Treasury’s War, at 362, 364.


                                                  42
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 58 of 606 PageID #: 58




 joint recruitment and infiltration of fighters into Afghanistan; sharing safe houses and resources,

 including weapons, explosives and information; and joint training and fighting in Afghanistan.”52

           148.   The U.S. government and terrorism scholars recognized that LT played a key role

 in the Syndicate’s ability to commit attacks in Afghanistan.

           149.   As the insurgency targeting Americans in Afghanistan “gained strength in 2005-

 2006,” Lashkar-e-Taiba “began facilitating access” to Afghanistan for Lashkar-e-Taiba members

 to fight under al-Qaeda and the Taliban’s banner.53 From 2005 through the present,

 Lashkar-e-Taiba’s Afghanistan-facing operations have effectively been fused with al-Qaeda and

 the Taliban, including its Haqqani Network.

           150.   As an affiliate of al-Qaeda, Lashkar-e-Taiba provided critical support to the

 Syndicate by sourcing thousands of foreign fighters to receive training by al-Qaeda to be

 deployed in Afghanistan on behalf of the joint al-Qaeda/Taliban (including Haqqani Network)

 cells operating in the key provinces there. For example, substantial numbers of Lashkar-e-Taiba

 terrorists were embedded in joint al-Qaeda/Taliban (including Haqqani Network) cells in P2K

 and N2KL, where Lashkar-e-Taiba operatives were part of the joint cells targeting Americans.

           151.   Lashkar-e-Taiba and its front organizations also provide essential logistical

 support to facilitate the operation of al-Qaeda-run training camps in Waziristan by providing

 funding, safe houses, travel support, and recruits, for the camps.

           152.   Lashkar-e-Taiba also played the key role in sourcing nearly all the suicide

 bombers who were ultimately trained by al-Qaeda and deployed as suicide attackers on behalf of

 the joint al-Qaeda/Taliban (including Haqqani Network) cells operating in N2KL, P2K, and the



 52
      Tankel, supra note 20, at 19 (2011).
 53
      Stephen Tankel, Lashkar-e-Taiba: Past Operations and Future Prospects, at 6 (2011).


                                                   43
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 59 of 606 PageID #: 59




 Kabul Attack Network-related Provinces. “[R]ecruitment for suicide bombings conducted by

 other groups” was a particular “LT specialty.”54 On information and belief, Lashkar-e-Taiba

 (along with Jaish-e-Mohamed, below) directly or indirectly helped furnish every suicide bomber

 who was ultimately trained to become an al-Qaeda operative and executed a suicide attack.

        153.    Lashkar-e-Taiba terrorists did not openly participate in attacks in Afghanistan

 under Lashkar-e-Taiba’s banner. Instead, Lashkar-e-Taiba terrorists were (and remain)

 embedded in joint al-Qaeda/Taliban cells in Afghanistan. This was an operational manifestation

 of al-Qaeda’s syndicate strategy, which efficiently embedded Lashkar-e-Taiba terrorists into the

 terrorist cells that were of greatest importance to the shared al-Qaeda/Taliban enterprise.

        154.    Lashkar-e-Taiba terrorists sometimes worked on behalf of more than one jihadist

 group. Sheikh Abu Mohammed Ameen Al-Peshawari (also known as Sheikh Aminullah), for

 example, was a triple-hatted operative of al-Qaeda, Lashkar-e-Taiba, and the Taliban.

 Lashkar-e-Taiba and al-Qaeda terrorists were often dual-hatted, as Lashkar-e-Taiba was the

 Pakistani jihadist group that most closely adhered to al-Qaeda’s interpretation of Islam.

                5.      Jaish-e-Mohammed

        155.    Jaish-e-Mohammed (or “JEM”) was a member of the Syndicate and a Sunni

 extremist group founded by Masood Azhar with funding and support from Osama bin Laden.

 JEM has long served as one of the Taliban’s Punjabi allies in both Afghanistan and Pakistan.

        156.    Jaish-e-Mohammed has openly declared war against the United States, which

 designated JEM an FTO in 2001.




 54
    Ashley J. Tellis, The Menace That Is Lashkar-e-Taiba, Carnegie Endowment for International
 Peace Policy Outlook (Mar. 13, 2012), https://carnegieendowment.org/2012/03/13/menace-that-
 is-lashkar-e-taiba-pub-47512.


                                                 44
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 60 of 606 PageID #: 60




        157.    After the Taliban and al-Qaeda were routed by U.S. forces in the fall of 2001, “the

 Taliban and al-Qaida” “receiv[ed] help from” “Jaish-e-Mohammed.”55

        158.    Jaish-e-Mohammed has a history of helping al-Qaeda and the Taliban commit

 spectacular suicide bombing attacks in Afghanistan and Pakistan.

        159.    Jaish-e-Mohammed was a key member of the Syndicate by the mid-2000s. As

 one analyst put it in late 2008, “[o]ne plausible theory” is that Jaish-e-Mohammed,

 Lashkar-e-Taiba, al-Qaeda, the Taliban, Haqqanis, and Pakistani Taliban “have forged an

 alliance that is executing a strategy in the region to defend themselves against a new US-led

 strategy” in the Afghanistan/Pakistan theater.56 Indeed, by 2009, it was “now accepted” even

 within elements of the Pakistani military “that Al Qaeda, the Taliban and their allies among the

 Punjabi jihadis operate as a syndicate,” and that such allies “included the Jaish-e-Mohammed.”57

        160.    Jaish-e-Mohammed’s participation in the Syndicate continued at all relevant

 times. The U.S. designated Jaish-e-Mohammed as an FTO because of the role it plays in

 augmenting al-Qaeda and other al-Qaeda linked terrorists operating in Afghanistan and Pakistan

 as part of the Syndicate.

        161.    Like its ally Lashkar-e-Taiba, another of Jaish-e-Mohammed’s key roles is to

 serve as a “talent scout” for al-Qaeda, Taliban, and Haqqani terrorists in Afghanistan. The U.S.

 government itself recognized the key role that Masood Azhar and Jaish-e-Mohammed have

 played in recruiting suicide bombers to support the Taliban and al-Qaeda’s shared jihad in



 55
   Associated Press, Pockets of Taliban, al-Qaeda Fighters are Said to be Regrouping in
 Afghanistan, St. Louis Post Dispatch (Mar. 2, 2002), 2002 WLNR 1220832.
 56
  Richard Beeston, Washington Crucial as Attack Exposes Terror Groups’ Deadly Strategies,
 Australian (Dec. 2, 2008).
 57
   Nirupama Subramanian, Pakistan: Two Questions, Multiple Realities, Hindu, 2009 WLNR
 23938767 (Nov. 27, 2009).


                                                 45
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 61 of 606 PageID #: 61




 Afghanistan. Specifically, according to the Treasury Department, “In 2008, [Jaish-e-

 Mohammed] recruitment posters in Pakistan contained a call from Azhar for volunteers to join

 the fight in Afghanistan against Western forces.”58

        162.    The Indian government concurred. As a former senior Indian official summarized

 in March 2009, “[i]t is now established that while the Taliban’s cadres in Afghanistan are

 primarily Afghan nationals, a substantial number of suicide bombers in Afghanistan are from

 militant groups drawn from Pakistan’s Punjab province, like [LT] and [JEM].”59

        163.    Jaish-e-Mohammed plays a special role in al-Qaeda’s Syndicate as the terrorist

 group responsible for taking the lead in collecting and paying out so-called “martyr payments” to

 the families of al-Qaeda-aligned suicide bombers who blow themselves up in Afghanistan, which

 encouraged them to attack Americans.

        164.     Jaish-e-Mohammed facilitated martyr payments to many of the suicide bombers

 who committed the attacks in this case. Martyr payments provide a direct and powerful incentive

 to the perpetrators of suicide bombings. The knowledge that such payments are available makes

 people more likely to join terrorist causes, and more likely to carry out suicide attacks on behalf

 of FTOs. The payments are a key incentive not only from a monetary standpoint, but also

 because they confer prestige on the recipients.

                6.      The Kabul Attack Network

        165.    The Kabul Attack Network was an operational manifestation of the terrorist

 syndicate led by al-Qaeda and the Taliban, including its Haqqani Network. Specifically, the



 58
   U.S. Dep’t of Treasury, Treasury Targets Pakistan-Based Terrorist Organizations Lashkar-E
 Tayyiba and Jaish-E Mohammed (Nov. 4, 2010).
 59
   G. Parthasaraty (Former High Commissioner to Pakistan), Pakistan Under Jihadi Threat,
 Business Line (Mar. 5, 2009) (emphasis added).


                                                   46
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 62 of 606 PageID #: 62




 Kabul Attack Network was a set of terrorist cells, which included members from each of the

 terrorist groups involved in the syndicate and focuses on attacks against targets in Kabul and

 extending outward into the provinces of Logar, Wardak, Nangarhar, Kapisa, Kunar, Ghazni, and

 Zabul.60 It was active around key waypoints and transit routes on the way to Kabul, including

 Wardak, Ghazni City, and areas of Logar Province.

        166.    The Kabul Attack Network’s forward-deployed terrorists were drawn from joint

 cells comprised of al-Qaeda, the Taliban (including its Haqqani Network), Lashkar-e-Taiba, and

 Jaish-e-Mohammed, each of whom participated in Kabul Attack Network attacks and contributed

 personnel and resources to such attacks. For each group, the Kabul Attack Network’s attacks

 were the most important, or among the most important, priorities of the Syndicate’s entire

 terrorist campaign since 9/11, and thus received special focus from each Syndicate member.

        167.    Attacks committed by the Kabul Attack Network were committed jointly by a

 combined cell comprised of these terrorists. By the same token, funding for any of the involved

 terrorist groups contributed to the Network’s attacks.

        168.    The Kabul Attack Network was responsible for high profile and/or mass casualty

 attacks on Americans in Kabul and the surrounding areas that relied upon CAN fertilizer IEDs,

 suicide bomber, kidnappers, or insider attacks.61

        169.    On January 24, 2010, the Afghan government accused al-Qaeda of specifically

 planning the Kabul Attack Network’s CAN fertilizer bomb attacks in Kabul, which the Syndicate

 delivered via IED and suicide bomb.



 60
   Bill Roggio, Karzai Assassination Plotters Part of Kabul Attack Network, Long War J. (Oct. 5,
 2011).
 61
   Bill Roggio, Afghan Intel Captures Taliban Commander Involved In Targeting ‘Foreigners’ In
 Kabul, Long War J. (Mar. 31, 2015).


                                                 47
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 63 of 606 PageID #: 63




        170.    Sirajuddin Haqqani, the dual-hatted al-Qaeda-Taliban terrorist, planned and

 authorized every attack committed by the Kabul Attack Network, working with local

 commanders like Mullah Dawood. to execute the Kabul Attack Network’s attacks. As a result,

 at all relevant times, the Kabul Attack Network’s attacks were planned and authorized by at least

 one FTO (al-Qaeda), and after September 19, 2012, Kabul Attack Network attacks were planned

 and authorized jointly by two FTOs (al-Qaeda and the Haqqani Network).

        171.    According to an ISAF public affairs officer, the “Haqqani Network is deeply

 entrenched in the Kabul Attack Network specifically with the facilitation of weapons and

 fighters into the area south of Kabul in Logar and Wardak.”62 Additionally, senior Haqqani

 leaders operating from their traditional strongholds often planned and executed terrorist attacks

 by the Kabul Attack Network, sometimes even giving tactical advice during attacks.

        172.    The Kabul Attack Network’s attacks were funded and logistically supported by

 al-Qaeda, the Taliban (including its Haqqani Network), Lashkar-e-Taiba, Jaish-e-Mohammed,

 and D-Company access to terrorist finance in Afghanistan, Pakistan, and worldwide. Thus,

 terrorist finance that flowed to any of these groups aided Kabul Attack Network attacks.

                7.     D-Company

        173.    D-Company was a criminal terrorist organization and notorious affiliate of al-

 Qaeda, the Taliban (including its Haqqani Network), Lashkar-e-Taiba, and Jaish-e-Mohammed.

        174.    D-Company was a member of the Syndicate through its long-standing alliances

 with Syndicate members including, but not limited to, al-Qaeda and Lashkar-e-Taiba.




 62
   Bill Roggio, Senior Taliban Commander Killed in Eastern Afghanistan, Long War J. (Aug. 20,
 2010).


                                                 48
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 64 of 606 PageID #: 64




            175.    D-Company was led by the notorious terrorist drug lord Dawood Ibrahim, a

 Specially Designated Global Terrorist (“SDGT”) and Specially Designated National (“SDN”),

 who has been internationally infamous since the 1990s as “India’s Bin Laden,” and was

 sanctioned in 2003 under the UN’s al-Qaeda/Taliban-related sanctions authority. D-Company

 was fusion terrorist/criminal organization, with Dawood Ibrahim at the top as the Boss.

            176.    In his book, Treasury’s War, Mr. Zarate confirmed that “Al Qaeda and”

 “Lashkar-e-Taiba have benefited from [their] alliances with Indian crime lord Dawood Ibrahim

 and [D-Company].”63 According to Mr. Zarate, “Dawood Ibrahim—sometimes known as

 Sheikh Dawood Hassan—was not just a notorious international crime boss. He demonstrated a

 willingness to help Al Qaeda and financed and supported Lashkar-e-Taiba (LT).”64 Thus,

 “Dawood Ibrahim” “represented the nightmare scenario of the allegiance between powerful

 international organized crime and terror.”65

            177.    Moreover, according to Mr. Zarate, “[t]he overlaps between the criminal

 underworld, illicit financial activity, and terrorist operations and funding” meant that it was

 “critical” that “counterterrorism officials” “[f]ocus[ed] on key financial conduits, nodes, and

 networks that serve[d] not just terrorists but transnational criminals.”66 “Because [the Syndicate]

 [was] seeking alternative financing sources and efficient vehicles for moving money, it [would]

 continue to develop nefarious relationships and operations that tie[d] its funding to the

 infrastructure and operations of other organizations” such as D-Company.67



 63
      Zarate, Treasury’s War, at 364-65.
 64
      Id. at 115.
 65
      Id.
 66
      Id. at 365.
 67
      Id. at 364-65.


                                                   49
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 65 of 606 PageID #: 65




            178.    “On October 16, 2003, [the Treasury Department] designated [Dawood] Ibrahim,

 sending messages out to banks” “around the world to do whatever was possible to identify and

 freeze Ibrahim’s assets.”68 According to Mr. Zarate, “When we designated [Ibrahim], I laid out

 what that action meant to our strategy: ‘This designation signals our commitment to identifying

 and attacking the financial ties between the criminal underworld and terrorism. We are calling

 on the international community to stop the flow of dirty money that kills. For [D-Company], the

 business of terrorism forms part of the larger criminal enterprise, which must be dismantled.”69

            179.    From 2001 through 2016, D-Company also operated as an agent for several

 members of the Syndicate, including al-Qaeda, the Taliban (including its Haqqani Network), and

 Lashkar-e-Taiba – and was always notorious for doing so since 9/11. While serving as an agent

 for al-Qaeda, the Taliban (including its Haqqani Network), and Lashkar-e-Taiba, D-Company

 provided, among other things, narco-terrorist expertise to each group through D-Company’s

 work for its members.

            180.    Summarizing the then-current threat from D-Company in 2013, Mr. Zarate wrote,

 “[Dawood] Ibrahim” “remained active and dangerous. Ibrahim has been a primary financier of

 the narcotics trade in Afghanistan and has maintained close ties to Al Qaeda’s senior ranks. In

 the 1990s, he was sponsored and protected by the Taliban when he traveled to Afghanistan.

 Most disturbingly, Osama bin Laden and Al Qaeda relied on Ibrahim’s smuggling routes, with

 reports that a financial arrangement had been made for bin Laden to be able to use the routes and




 68
      Id. at 116.
 69
      Id.


                                                  50
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 66 of 606 PageID #: 66




 elements of the network to move men and material for Al Qaeda safely through the Middle East

 and South Asia.”70

            181.   From 2001 through 2016, D-Company also regularly funded – and was notorious

 since 9/11 for funding – the Taliban (including its Haqqani Network). According to Professor

 Gurulé, “The Taliban has become closely aligned with Afghan drug syndicates. The drug

 organizations provide financial support to the Taliban.”71

            182.   From 2001 through 2016, D-Company also regularly provided – and was

 notorious since 9/11 for providing – logistical and funding support to every member of the

 Syndicate and served to augment the Syndicate’s financial, smuggling, and logistical narcotics-

 related capabilities. As Mr. Zarate explained, “[Dawood Ibrahim, the Boss of D-Company] may

 not have been a classic Al Qaeda jihadist, but he was a most dangerous facilitator” (for al-Qaeda,

 the Taliban, and Lashkar-e-Taiba) and “the kind of target we needed to isolate financially.”72

            183.   From 2001 through 2016, Notorious Syndicate financier Altaf Khanani, infra Part

 III.A., was widely known to serve as a D-Company operative, and widely known to have been

 Dawood Ibrahim’s personal financier and D-Company’s CFO for decades. Both benefited from

 their relationship: Khanani protected D-Company’s money, while D-Company protected

 Khanani. In short, “Khanani [was] Dawood Ibrahim’s biggest financier” while Ibrahim was




 70
      Id.
 71
      Gurulé, Unfunding Terror, at 109.
 72
      Zarate, Treasury’s War, at 116.


                                                  51
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 67 of 606 PageID #: 67




 South Asia’s biggest narcotrafficker,73 and the “second richest gangster of all time” (net worth:

 $6.7B), behind “[o]nly notorious drug smuggler and gangster Pablo Escobar” (net worth: $9B).74

        184.    Khanani and the Khanani MLO were, therefore, affiliated with D-Company.

 Khanani, as a D-Company operative, regularly kicked back a portion of his income, and that of

 the Khanani MLO, to D-Company. D-Company’s own regular practice of funding, arming, and

 logistically supporting al-Qaeda, the Taliban (including its Haqqani Network), and Lashkar-e-

 Taiba meant that a percentage of every dollar earned by Khanani and the Khanani MLO flowed

 through D-Company to these terrorist groups.

        B.      Al-Qaeda Planned And Authorized The Terrorist Attacks That Killed And
                Injured Plaintiffs

        185.    Since at least the mid-2000s, al-Qaeda planned and authorized the Taliban’s,

 including its Haqqani Network’s, attacks on U.S. forces in Afghanistan in several ways.

        186.    Authorization. Al-Qaeda provided critical religious authorization for Taliban

 (including its Haqqani Network) attacks on U.S. forces. As noted above, in 1998 Osama bin

 Laden himself directed all Muslims to kill Americans at every opportunity. In the ensuing years,

 senior al-Qaeda leaders issued a series of fatwas directed toward the Afghan Taliban, conferring

 religious permission for them to attack Americans in Afghanistan.

        187.    After Osama bin Laden was killed in May 2011 (about three months prior to the

 first attack on Plaintiffs), the Taliban confirmed his religious and moral authority over their

 Afghan jihad, stating: “Osama Bin Laden You were the sheikh of the Umma, a zealous man,



 73
    Zee News, US Arrests D-Company’s Financier; Is Dawood Ibrahim the Next Target?; The US
 has Strong Evidence to Prove that Altaf Khanani is Dawood Ibrahim’s Biggest Financier (Dec.
 4, 2015).
 74
  India Today, Dawood Ibrahim is 2nd Richest Gangster of All Time; 10 Things About Most
 Wanted Global Terrorist (Apr. 29, 2017).


                                                  52
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 68 of 606 PageID #: 68




 and the scholar and imam of the nation at the level of Jihad and the fighting of the enemies and

 their minions. You were our sheikh, our imam and role model, the hero and miracle of our

 times, unique among your peers, pious and highly sensible.”75

          188.   Al-Qaeda also authorized the Taliban’s terrorist attacks through its participation

 in Syndicate, which involved periodic mafia-style meetings in which al-Qaeda, the Taliban

 (including its Haqqani Network), and other members of the syndicate (such as Lashkar-e-Taiba)

 would confer about geographies and targets to attack.76 The Syndicate jointly authorized

 particular types of terrorist attacks in particular geographies to be carried out by the syndicate’s

 individual members. Among other things, the syndicate specifically approved: (1) the creation

 and operation of the Kabul Attack Network to attack Americans in Kabul and the surrounding

 provinces; (2) the campaign of suicide attacks against Americans throughout Afghanistan; (3) the

 Taliban’s campaign of using anti-American IED and suicide attacks specifically in Nangarhar,

 Nuristan, Kunar and Laghman (“N2KL”) Provinces and P2K; (4) the Taliban’s “surge” in

 Kandahar and Helmand from 2010 through 2012; and (5) the Syndicate’s use of, and later

 aggressive focus on, CAN fertilizer bomb attacks specifically targeting Americans.

          189.   The close operational coordination not only manifested itself in the Kabul Attack

 Network, but also provided a broader terrorist superstructure that organized the insurgency

 throughout Afghanistan.

          190.   Consistent with all these activities, al-Qaeda operatives often assumed a position

 of moral, religious, and tactical authority over Taliban (including Haqqani Network) members.




 75
   Al-Somood, Bin Laden Is Alive O Dead Ones And The Cowards Should Not Dare Close Their
 Eyes (July 1, 2011) (emphasis added).
 76
      See The al Qaeda – Taliban Connection.


                                                  53
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 69 of 606 PageID #: 69




 Al-Qaeda members, for example, often “act[ed] as instructors and religious teachers for Taliban

 personnel and their family members.”77

        191.    Al-Qaeda’s messages of authorization extended to suicide bombings. In February

 2003, bin Laden issued a recording calling specifically for suicide attacks in Afghanistan and

 Iraq. A few months later, he reiterated in a fatwa directed at Afghans that “jihad against [the

 Coalition] is your duty” and that, “If you start suicide attacks, you will see the fear of Americans

 all over the world.”78 Afghan terrorists had previously viewed suicide attacks as taboo, but al-

 Qaeda convinced it that such attacks were religiously permissible. Al-Qaeda trumpeted that

 success online, announcing, “While suicide attacks were not accepted in the Afghani culture in

 the past, they have now become a regular phenomenon!”79 With al-Qaeda’s authorization, the

 number of suicide attacks in Afghanistan increased from one in 2002, two in 2003, and six in

 2004 to 21 in 2005, and more than 100 in 2006.

        192.    As a result, al-Qaeda’s role in that suicide-bombing trend was pivotal and was the

 but-for cause of each Taliban, including Haqqani Network, suicide bomb attack.

        193.    Al-Qaeda also authorized the Taliban’s (including its Haqqani Network’s) use of

 IED attacks against Americans in Afghanistan, and Osama bin Laden regularly called for

 terrorists to attack Americans with IEDs.

        194.    Planning. Al-Qaeda also planned the Taliban’s, including its Haqqani

 Network’s, terrorist attacks against Americans in Afghanistan. Working through its Syndicate



 77
  Thomas Joscelyn, Al Qaeda Growing Stronger Under Taliban’s Umbrella, UN Finds, Long
 War J. (June 23, 2019) (“Al Qaeda Growing Stronger”).
 78
   Osama bin Laden: Calls for Martyrdom Operations Against US and British Interests (Apr.
 10, 2003) (emphasis added).
 79
   Brian Glyn Williams, Suicide Bombings in Afghanistan at 5, Jane’s Islamic Affairs Analyst
 (Sept. 2007).


                                                  54
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 70 of 606 PageID #: 70




 partners and from its safe havens on both sides of the Afghanistan-Pakistan border, al-Qaeda

 “plan[ned] international as well as regional terrorist attacks, particularly in Afghanistan.”80 Two

 terrorism scholars explained al-Qaeda’s syndicate-related shuras as follows:

           The staying power of al-Qaeda became rooted in its ability to draw from and
           coordinate with allied groups embedded in multiple networks on both sides of the
           border. . . . It established a number of shuras to coordinate strategy, operations,
           and tactics against the West and regional allied governments. In particular, al-
           Qaeda fighters have been involved in planning and carrying out suicide attacks,
           developing improved explosive devices, and helping conduct operations against
           high-value targets.81

           195.     Al-Qaeda training provided another key mechanism through which that planning

 occurred. Before the September 11 attacks, al-Qaeda operated training camps in eastern

 Afghanistan at the Taliban’s request. By 2005 at the latest, al-Qaeda began bringing instructors

 from Iraq to train the Taliban how to fight Americans. At all relevant times, these al-Qaeda

 camps trained terrorists in the al-Qaeda signature of turning fertilizer into bombs.

           196.     By the mid-2000’s, al-Qaeda’s partnership with the Haqqani Network had

 facilitated the emergence of a network of al-Qaeda training camps in North Waziristan.

 According to a declassified 2008 Defense Intelligence Agency intelligence report:

           [Sirajuddin] Haqqani is also affiliated with the several foreign fighter (ff)
           training facilities that are controlled by or associated with al Qaeda (AQ) in
           North Waziristan. . . . A list and brief description of each facility follows.

           A. Mohammad Taher ((Yuldashov)), leader of the Islamic Movement of
           Uzbekistan (IMU), and his 60 bodyguards are staying at an AQ training center in
           Miram Shah Dand.

           B. There is an al-Qaeda training center located at the Miskeen and Khaisur in
           Miram Shah. Approximately 45 U/I Arabs and Uzbeks receive training there.




 80
      Resilient al-Qaeda at 3.
 81
      Id. at 3-4.


                                                   55
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 71 of 606 PageID #: 71




           C. An AQ training facility called “Shaki Masood” is located in Miram Shah and
           over 200 AQ members (NFI) reside there; Usama bin Laden has been seen in this
           center (NFI).

           D. Another AQ training facility is located at Spin-Qamar in Masood District of
           Northern Waziristan. Over 80 Arabs receive training there (NFI).82

           197.   The training continued throughout the relevant timeframe of this case. In 2015,

 for example, U.S. and Afghan forces raided two al-Qaeda training camps in Kandahar Province –

 both reportedly “hosted by the Taliban.”83 One camp was the largest al-Qaeda facility

 discovered since the September 11 attacks, occupying nearly 30 square miles. On information

 and belief, this camp trained terrorists in how to make CAN fertilizer bombs and included an on-

 site al-Qaeda CAN fertilizer bomb factory.

           198.   Working jointly with polyterrorist Sirajuddin Haqqani, al-Qaeda specifically

 planned the Kabul Attack Network’s campaign of terror, including its suicide bomber attacks.

 As two terrorism scholars explained, the “operational and tactical cooperation” provided by al-

 Qaeda “increased the ability of the Haqqani Network to carry out sophisticated attacks in

 Kabul,” “through operations [that al-Qaeda] planned together with Sirajuddin Haqqani.”84

           199.   Al-Qaeda also planned the Taliban’s (including its Haqqani Network’s) attacks by

 devising the operational scheme through which the Taliban carried out its attacks. Information

 derived from al-Qaeda and Taliban detainees held at Guantanamo Bay, Cuba (“Gitmo”)

 corroborates those activities. For example, according to purported Gitmo intelligence files



 82
   Def. Intelligence Agency, Intelligence Information Report: Location and Activities of the
 Training Centers Affiliated with the Haqqani Network, Taliban, and al-Qaeda in Northern
 Waziristan and Future Plans and Activities of Sarajuddin ((Haqqani)) (Apr. 16, 2008) (emphasis
 added; original emphasis omitted).
 83
   Thomas Joscelyn & Bill Roggio, Trump’s Bad Deal With The Taliban, Politico (Mar. 18,
 2019).
 84
      Resilient al-Qaeda at 9.


                                                  56
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 72 of 606 PageID #: 72




 quoted by terrorism experts Bill Roggio and Thomas Joscelyn, one detainee, Abdul Razak, was

 “a high-level military commander in a newly-conceived ‘unification’ of Al Qaeda, [Hezb-e-

 Islami Gulbuddin (“HIG”)] and Taliban forces within Afghanistan,” which the groups’

 respective leaders conceived during a meeting in Pakistan in early spring 200385 Another

 purported Gitmo detainee file as quoted by Messrs. Roggio and Joscelyn concerning Haroon al

 Afghani, a dual-hatted al-Qaeda/HIG terrorist, stated:

            [Afghani] is assessed to have attended a joint operations meeting among extremist
            elements in mid-2006. A letter describing an 11 August 2006 meeting between
            commanders of the Taliban, al Qaeda, [Lashkar e Taiba], . . . and the Islamic
            Party (probably a reference to the HIG), disclosed that the groups decided to
            increase terrorist operations in the Kapisa, Kunar, Laghman, and Nangarhar
            provinces, including suicide bombings, mines, and assassinations.86

 Taken together, these reports “demonstrate a high degree of collusion between al Qaeda and

 other terrorist groups” as part of a “jihadist hydra” that shared the “common goal” of seeking to

 “drive the U.S.-led coalition out of Afghanistan.”87

            200.    Al-Qaeda also taught the Taliban (including its Haqqani Network) effective

 terrorist tradecraft. Through its relationship with al-Qaeda, the Taliban (including its Haqqani

 Network) “developed or acquired new commercial communications gear and field equipment,”

 as well as “good tactical, camouflage, and marksmanship training.”88 They also “share[d]

 communication and transportation routes, coordinate[d] attacks, and even utilize[d] the same

 explosive and suicide-bomber networks.”89 The Taliban’s (including its Haqqani Network’s)

 effective terrorist tradecraft was essential to its ability to execute al-Qaeda’s nationwide CAN


 85
      The al Qaeda – Taliban Connection.
 86
      Id. (brackets in original)
 87
      Id.
 88
      Id. at 293.
 89
      Resilient al-Qaeda at 9.


                                                   57
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 73 of 606 PageID #: 73




 fertilizer bomb campaign, which depended upon sophisticated logistics, communications,

 smuggling, storage, and other technical skills that the Taliban (including its Haqqani Network)

 only acquired through its relationship with al-Qaeda.

        201.    All these activities were part of al-Qaeda’s planning of the Taliban’s CAN

 fertilizer bomb attacks in Afghanistan. By providing an array of advice, direction, and material

 support to the Taliban, al-Qaeda was able to use the Taliban for its own jihadist ends. In so

 doing, al-Qaeda followed its more general practice of planning terrorist attacks whose details it

 would delegate to local Islamic proxies. As terrorism scholar Thomas Ruttig observed: “Both in

 Afghanistan and Pakistan, al-Qaeda exploits local conditions by co-opting militant groups with

 local battle experience.”90 Here, its “cooptation” of the Taliban was especially effective.

        202.    Al-Qaeda’s planning activities extended specifically to the two CAN fertilizer

 bomb attack types that account for every attack in this case: IEDs and suicide bombs.

        203.    IEDs. Al-Qaeda planned the Taliban’s campaign of IED attacks in Afghanistan

 in which the explosive was ammonium nitrate derived from Fatima Group CAN Fertilizer

 manufactured, sold, and distributed by Fatima and Pakarab.

        204.    At all relevant times, al-Qaeda was the world leader amongst Sunni terrorist

 groups with respect to converting fertilizer into ammonium nitrate for use in CAN fertilizer

 bomb attacks against Western targets. As Senator Charles Schumer stated in 2004, “bombs

 using [CAN] [were] the weapon of choice of al-Qaida.”

        205.    From 2001 through 2016, al-Qaeda supported fertilizer-based bomb strategies in

 every theater in which al-Qaeda pursues terrorist attacks against America and its allies. As one



 90
   Thomas Ruttig, The Other Side at 22, Afghanistan Analysts Network (July 2009) (“Ruttig, The
 Other Side”).


                                                 58
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 74 of 606 PageID #: 74




 journalist wrote in 2007, “[i]n the new age of Islamist terrorism, [CAN] fertiliser packed into a

 truck with plastic explosive as a detonator has also become an al Qaida trademark.”91

        206.    CAN fertilizer bombs were also a literal part of al-Qaeda’s terrorism playbook,

 and al-Qaeda regularly instructed Taliban and Haqqani Network terrorists, in person and in

 writing, regarding CAN fertilizer bombs. For example, a 39-page al-Qaeda memo recovered

 from an al-Qaeda laptop in Pakistan in 2004 provided that military explosives were often

 impractical to acquire, and instructed instead that jihadists should use home-made explosives,

 including ammonium nitrate bombs derived from CAN fertilizer.

        207.    Al-Qaeda and the Haqqani Network agents, operatives, and fronts in Afghanistan

 and Pakistan facilitated al-Qaeda’s CAN fertilizer bomb infrastructure by purchasing every

 essential element of the Syndicate’s bombmaking enterprise and managing the transportation and

 logistics of huge volumes of bombs and bomb precursors. These Syndicate front companies

 serviced the litany of joint al-Qaeda / Haqqani Network bombmaking factories and training

 camps in eastern Afghanistan and Syndicate-controlled territory in Afghanistan and Pakistan. It

 did so because the Haqqani Network have historically played a key role in obtaining and

 securing bomb components and precursors for use by al-Qaeda bombmakers operating in camps

 in Afghanistan and Pakistan jointly run by al-Qaeda and the Haqqani Network under the

 leadership of Syndicate polyterrorists like Sirajuddin Haqqani.

        208.    While al-Qaeda and Haqqani Network fronts and agents were sourcing their key

 explosive ingredient exclusively from Fatima and Pakarab, al-Qaeda forward-deployed terrorist

 trainers in Afghanistan and Pakistan specifically instructed the Taliban (including its Haqqani



 91
  David Barrett, Deadly Fertiliser Bombs Used By Terrorists Worldwide, Press Association
 News (Apr. 30, 2007).


                                                 59
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 75 of 606 PageID #: 75




 Network) to acquire Fatima Group CAN Fertilizer, convert it into an ammonium nitrate bomb,

 and use the resulting weapon to kill and maim Americans in Afghanistan.

          209.   Al-Qaeda’s plan for the nationwide deployment of CAN fertilizer bombs against

 Americans in Afghanistan also included aggressive support by al-Qaeda bombmakers and

 logisticians in Pakistan, aided by their Taliban and Haqqani Network allies, to maintain a series

 of joint al-Qaeda/Taliban (including through the Haqqani Network) bombmaking sites, where the

 purpose was specifically to construct large volumes of CAN fertilizer bombs detonated via a

 Syndicate IED or suicide bomber. In so doing, bin Laden and his Taliban allies, including its

 Haqqanis, were reprising one of their celebrated roles against the Soviets during the Afghan war,

 when they worked together to help arm the mujaheddin with key anti-armor weapons.

          210.   By 2009, according to famed journalist Peter Bergen, al-Qaeda’s strategy to teach

 the Taliban how to turn CAN fertilizer into CAN fertilizer bombs to kill Americans in

 Afghanistan was widely known:

          [I]n recent years, Taliban leaders have drawn especially close to Al Qaeda. . . .
          Today, at the leadership level, the Taliban and Al Qaeda function more or less as
          a single entity. The signs of this are everywhere. For instance, IED attacks in
          Afghanistan have increased dramatically since 2004. What happened? As a
          Taliban member told Sami Yousafzai and Ron Moreau of Newsweek, “The Arabs
          taught us how to make an IED by mixing nitrate fertilizer and diesel fuel and
          how to pack plastic explosives and to connect them to detonators and remote-
          control devices like mobile phones. We learned how to do this blindfolded so we
          could safely plant IEDs in the dark.”92

          211.   At all relevant times, dual al-Qaeda/Haqqani Network operative Sirajjudin

 Haqqani planned the Syndicate’s CAN fertilizer bombing campaign, and focused above all else

 on producing a regular, reliable, and deadly supply of CAN fertilizer bombs for use in Syndicate

 IED and suicide bomb attacks targeting Americans in Afghanistan.


 92
      The Front (emphases added).


                                                 60
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 76 of 606 PageID #: 76




        212.    Like his al-Qaeda brothers, Sirajuddin Haqqani viewed the Syndicate’s CAN

 fertilizer bomb campaign infrastructure as a key source of al-Qaeda and Haqqani Network power

 in Afghanistan and Pakistan, and leverage over other members of the Syndicate. Consequently,

 al-Qaeda and Haqqani Network operatives, including Sirajuddin Haqqani and other Haqqani

 family members, closely oversaw the core commercial and financial relationships that enabled

 Syndicate’s regular and reliable flow of Fatima Group CAN Fertilizer for conversion into CAN

 fertilizer bombs. This close involvement by senior al-Qaeda and Haqqani Network leadership

 ensured a tight nexus between Defendants’ reckless financial services to al-Qaeda and Haqqani

 Network agents, operatives, and fronts and the Syndicate’s CAN fertilizer bomb infrastructure.

        213.    In this relationship, the Haqqani Network provided the location, support, and

 funding for the CAN fertilizer bombmaking sites, while al-Qaeda bombmakers presided over an

 assembly line of explosives creation in which bombmakers would convert Fatima Group CAN

 Fertilizer into CAN fertilizer bombs.

        214.    Once al-Qaeda’s bombmakers had cooked down Fatima Group CAN Fertilizer

 into ammonium nitrate, al-Qaeda would then prepare the ammonium nitrate to be used in one or

 more CAN fertilizer bombs derived from al-Qaeda schematics, including: (1) large CAN

 fertilizer-based IEDs specifically designed to destroy an American armored vehicle; (2) small

 CAN fertilizer-based IEDs specifically designed to kill or maim Americans on foot; and (3)

 CAN fertilizer-based suicide vests and suicide VBIEDs specifically designed to take out the

 largest possible American armor, or to be deployed as part of a complex attack targeting an

 American installation. Different bomb types require different component parts, and therefore al-

 Qaeda’s bombmakers would coordinate the correct parts with the correct designs to ensure

 maximal effect. Once al-Qaeda’s designed- and manufactured-CAN fertilizer bombs were




                                                61
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 77 of 606 PageID #: 77




 completed, al-Qaeda and the Haqqani Network would distribute the CAN fertilizer bombs to the

 relevant Syndicate terrorist cells throughout Afghanistan to blow up Americans.

           215.     More broadly, al-Qaeda members regularly trained Taliban and Haqqani Network

 commanders in sophisticated CAN fertilizer bomb-making techniques that were material to the

 terrorists’ ability to assemble and deploy explosives against Coalition forces. According to the

 terrorist scholar Seth Jones:

           Insurgent groups also used al Qa’ida support to construct increasingly
           sophisticated [IEDs], including remote controlled detonators. For example, al
           Qa’ida ran a handful of manufacturing sites in the Bush Mountains, the Khamran
           Mountains, and the Shakai Valley in Pakistan’s Federally Administered Tribal
           Areas. They ranged from small facilities hidden within compounds that build
           IEDs to much larger “IED factories” that doubled as training centers and labs
           whose recruits experimented with IED technology. Some of this explosives
           expertise came from Iraqi groups that provided information on making and using
           various kinds of remotely controlled devices and timers.93

           216.     Al-Qaeda’s support of Taliban and Haqqani Network IED attacks also included

 the use of forward deployed al-Qaeda terrorist trainers throughout Afghanistan. For example, by

 2010, “[i]n southern Afghanistan, there [were] pockets of al Qa’ida . . . in Helmand and several

 neighboring provinces, such as Kandahar and Zabol,” which helped the Taliban “conduct suicide

 attacks and other [IED]” attacks.94 Al-Qaeda also forward deployed IED terrorist trainers in P2K

 and N2KL. At all relevant times, al-Qaeda’s forward deployed trainers directed the CAN

 fertilizer bomb campaign in keeping with its status as a “signature” al-Qaeda attack type.

           217.     Al-Qaeda’s planning efforts were significant and amplified the lethality of

 Taliban and Haqqani Network attacks. Indeed, al-Qaeda’s ability to export its terrorism




 93
      Graveyard Of Empires at 292.
 94
      Id. at 330.


                                                    62
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 78 of 606 PageID #: 78




 expertise to local groups is what “renders al-Qaeda effective in the first place.”95 In the case of

 the Taliban and the Haqqani Network, al-Qaeda executed the “transfer of technical knowhow,

 devices, and training for IED use, truck and suicide bombings as well as the channel[ ]ing of

 what some observer[s] call ‘strategic-level funding.’ ”96 Those activities were material to the

 Taliban’s and Haqqani Network’s ability to execute the type of attacks that killed and injured

 Plaintiffs. As Mr. Ruttig concluded, al-Qaeda’s activities “raise[d] the level of sophistication of

 Taleban and associated networks’ operations.”97

            218.   As Mr. Bergen put it in November 2009, “Small numbers of Al Qaeda instructors

 embedded with much larger Taliban units have functioned something like U.S. Special Forces do

 – as trainers and force multipliers.”98 Al-Qaeda’s sophistication and support was important to

 the Taliban’s (including its Haqqani Network’s) terrorist enterprise. And al-Qaeda’s

 involvement went beyond technical support; it also worked actively with Taliban leadership to

 set strategy and orchestrate attacks. For that reason, “Al Qaeda leader Ayman al-Zawahiri,

 Hamza bin Laden and the Taliban leadership ‘have repeatedly emphasized the importance of the

 alliance between’ the two groups.”99

            219.   Suicide Attacks. Al-Qaeda’s planning activities extended to suicide bombings.

 The suicide attacker is a core component of al-Qaeda’s ideology and operational philosophy. Al-

 Qaeda exported its suicide-bombing expertise to the Taliban (including its Haqqani Network)

 through their joint syndicate, and in so doing played a pivotal leadership and operational role in


 95
   Thomas Ruttig, The Other Side at 22, Afghanistan Analysts Network (July 2009) (“Ruttig, The
 Other Side”).
 96
      Id.
 97
      Id.
 98
      The Front.
 99
      Al Qaeda Growing Stronger.


                                                  63
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 79 of 606 PageID #: 79




 every Taliban (including Haqqani Network) suicide bombing in Afghanistan during the relevant

 time period. For that reason, every suicide bombing alleged in this case was jointly planned and

 committed by al-Qaeda and the Taliban.

           220.   Al-Qaeda planned suicide bombings in Afghanistan by mounting a coordinated

 communications campaign to persuade Taliban (including Haqqani) terrorists to embrace suicide

 attacks against Americans. This campaign included messages touting suicide attacks and

 honoring “martyrs” through al-Qaeda print and video outlines; promoting religious “scholarly”

 outreach; and emphasizing in-person indoctrination of Taliban and Haqqani leadership.

           221.   Al-Qaeda used this message – and the moral authority conveyed by bin Laden’s

 2003 fatwa authorizing martyrdom operations – to change the Taliban’s (including its Haqqani

 Network’s) organizational posture toward suicide bombing. As Dr. Jones summarized the

 evidence, “Al Qa’ida’s involvement was particularly important in this regard.”100

           222.   To implement its planned suicide-bombing campaign, al-Qaeda also created and

 ran training camps that converted disaffected recruits into suicide bombers at an industrial scale.

 In collaboration with other syndicate members, Al-Qaeda created and designed a process for

 identifying candidates for martyrdom operations; indoctrinating them with the necessary

 religious and socio-political concepts; and training them how, for example, to conceal the

 explosives in a Suicide VBIED, navigate a checkpoint, and detonate for maximum impact.

 Some of this training occurred in al-Qaeda-affiliated camps in Pakistan.

           223.   To carry-out their joint suicide bombing campaign, al-Qaeda and the Taliban

 (including its Haqqani Network) relied upon a series of dual-hatted al-Qaeda/Taliban (including

 Haqqani Network) terrorists to support the key nodes of the training and recruitment effort,


 100
       Graveyard of Empires at 293.


                                                 64
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 80 of 606 PageID #: 80




 including the madrassas from which most recruits were drawn and the training camps in which

 they were refined into suicide weapons. Such dual-hatted al-Qaeda/Taliban (including Haqqani

 Network) terrorists include, but are not limited to, the following:

      Sirajuddin Haqqani, a member of al-Qaeda’s military council and commander of the
       Haqqani Network, who has stated that al-Qaeda “enlighten[s] the road for [the Taliban] and
       they resist against the cross worshippers [i.e., the Americans] by cooperating with us and us
       with them in one trench,” pursuant to cooperation “at the highest limits”101;
      Qari Ziaur Rahman, a dual-hatted al-Qaeda/Taliban terrorist who was a top regional
       commander of both organizations in Kunar and Nuristan Provinces; and
      Sheikh Aminullah (aka Fazeel-a-Tul Shaykh Abu Mohammed Ameen al Peshwari), a
       dual-hatted al-Qaeda/Taliban terrorist who ran the Ganj Madrassa, which trained and
       recruited suicide bombers for al-Qaeda and the Taliban.

           224.   Al-Qaeda also created the suicide network infrastructure necessary to deploy al-

 Qaeda suicide bombers, and the suicide bombs they detonated, in support of the Taliban’s jihad

 against Americans in Afghanistan. The Syndicate’s suicide attack infrastructure included: (1)

 high-level meetings between representatives of al-Qaeda, the Taliban, and other members of the

 Syndicate; (2) joint al-Qaeda/Taliban safe houses and ratlines to support the deployment of

 suicide bombers inside Afghanistan; (3) joint al-Qaeda/Taliban explosives factories, in which the

 Syndicate converted Fatima Group CAN Fertilizer into ammonium nitrate for use in suicide

 vests and suicide VBIEDs; (4) joint al-Qaeda/Taliban suicide VBIED development sites, in

 which al-Qaeda and Taliban (including Haqqani Network) bombmakers married the CAN

 fertilizer bomb with a vehicle to create a suicide VBIED; and (5) a constellation of al-Qaeda-

 affiliated propaganda outlets that glorified the attackers, which was essential both for increasing

 the likelihood that a particular attacker would carry out his or her attack, as well as incentivizing

 the next generation of suicide bombers.



 101
       Taliban Cooperation.


                                                   65
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 81 of 606 PageID #: 81




        225.    As a reflection of the joint nature of al-Qaeda-Taliban martyrdom operations, al-

 Qaeda suicide bombers were often referred to as “Mullah Omar’s Missiles.” By following a

 strategy in which the weapons (i.e., the suicide bomber) was created by al-Qaeda and then

 deployed by the Taliban, both organizations played to their respective operational competencies

 to maximize the impact of their shared jihad against Americans in Afghanistan. Indeed, when a

 suicide bomber detonated a CAN fertilizer bomb, as happened in every suicide bomb attack in

 this case, al-Qaeda created both the suicide bomber and the explosive device itself.

        C.      Al-Qaeda Committed The Terrorist Attacks That Killed And Injured
                Plaintiffs, And Often Did So As Part Of Joint Cells With The Taliban, The
                Haqqani Network, And Lashkar-E-Taiba

        226.    In few places were Syndicate members more intertwined in a common jihadist

 cause than with respect to the manufacturing and distribution of CAN fertilizer bombs and the

 raising, transfer, and deployment of terrorist funds raised overseas. Consistent with bin Laden’s

 playbook, al-Qaeda provided the technical expertise, training, ratlines, forward deployed support

 in Afghanistan, and fundraising support, while the Taliban, Haqqani Network, Lashkar-e-Taiba,

 and Jaish-e-Mohammed provided training camps, safe houses, front companies to purchase

 components, and terrorists to be trained. Working together, these terrorist groups committed

 every IED and suicide bomb attack in this case.

        227.    Al-Qaeda members also committed attacks alongside the Taliban (including its

 Haqqani Network), including some of the attacks that killed or injured Plaintiffs or their family

 members. In fact, many terrorist operatives were “dual-hatted,” meaning that they were both al-

 Qaeda and Taliban (including Haqqani Network) members. Those dual-hatted terrorists directly

 committed many of the attacks that killed and injured Plaintiffs. Examples are set forth below.

        228.    Nangarhar, Nuristan, Kunar and Laghman (“N2KL”) Provinces. Al-Qaeda

 deployed senior operatives to coordinate attacks in the strategically critical (and contiguous)


                                                 66
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 82 of 606 PageID #: 82




 Nangarhar, Nuristan, Kunar and Laghman Provinces (known as “N2KL”), which were well-

 known al-Qaeda strongholds. In N2KL, al-Qaeda, the Taliban, and Lashkar-e-Taiba maintained

 joint cells responsible for anti-American terrorism, each of which executed the Syndicate’s CAN

 fertilizer bomb campaign in Afghanistan. The polyterrorists who ran the cells include:

          Farouq al-Qahtani, al-Qaeda’s “emir for eastern Afghanistan” who “supported the
           Taliban-led insurgency against the Afghan government, US forces and their allies.”102

          Sakhr al-Taifi, al-Qaeda’s second-highest leader in Afghanistan, who, while embedded
           with the Taliban, “coordinate[d] and direct[ed] insurgent attacks against Afghan security
           forces and coalition troops throughout eastern Afghanistan,” and “also supplie[d]
           weapons and equipment to insurgents.”103

          Mufti Assad, an al-Qaeda network and “insurgent leader who controlled al-Qaida
           terrorists operating in Kunar,” “led dozens of all-Qaida affiliated fighters throughout
           eastern Afghanistan and coordinated their attacks across the region,” and “was also an
           explosives expert who provided training to insurgents on how to construct and use
           [IEDs].”104

          Abdallah Umar al-Qurayshi, a senior al-Qaeda operative who commanded the joint al-
           Qaeda/Taliban cells operating in Kunar and Nuristan Provinces.

          Abu Atta al-Kuwaiti, a senior al-Qaeda explosives expert who coordinated the Nuristan
           and Kunar Province al-Qaeda/Taliban joint cells’ IED and suicide bomb attacks.

          Abu Ikhlas al-Masri, an al-Qaeda commander responsible for helping coordinate al-
           Qaeda / Taliban attacks in Kunar Province from 2008 until his capture in December
           2010.

          Sa’ad bin Abi Waqas, a senior al-Qaeda leader who “coordinated attacks against
           coalition forces” and “conducted training” for terrorists throughout Kunar Province, “as
           well as weapons procurement.”105


 102
     Thomas Joscelyn, Pentagon Confirms Death of Senior al Qaeda Leader In Afghanistan (Nov.
 4, 2016).
 103
   ISAF Joint Command, Morning Operational Update, Def. Visual Info. Distribution Serv.
 (May 28, 2012).
 104
   ISAF Joint Command, Morning Operational Update, Def. Visual Info. Distribution Serv.
 (Aug. 5, 2012).
 105
   ISAF Joint Command, Morning Operational Update, Def. Visual Info. Distribution Serv.
 (Apr. 16, 2011).


                                                   67
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 83 of 606 PageID #: 83




          Abu Hafs al-Najdi (aka Abdul Ghani), a senior al-Qaeda operative who directed al-
           Qaeda operations in Kunar Province and was specifically responsible for “planning
           attacks against Afghan and coalition forces” and “directing suicide-bomb attacks
           targeting U.S. government officials” that were facilitated by his “network” of Taliban
           terrorists.106

          Fatah Gul, an al-Qaeda facilitator who “ran terrorist training camps where insurgents
           learned how to conduct [IED] attacks” in the N2KL area.107

           229.   Paktia, Paktika, and Khost (“P2K”) Provinces. Like N2KL, P2K was a

 strategically critical area that historically served as a Haqqani Network stronghold and also

 operated as a “traditional al-Qaeda safe haven[].”108 In this area, al-Qaeda and the Taliban,

 through the Haqqani Network, maintained joint cells responsible for anti-American terrorism,

 each of which executed the Syndicate’s CAN fertilizer bomb campaign in Afghanistan. The

 dual-hatted terrorists who ran the cells included:

      Bekkay Harrach (aka al-Hafidh Abu Talha al-Almani), a senior member of al-Qaeda’s
       external operations branch, who specifically planned, authorized, and helped commit
       Haqqani Network attacks while living under the direct protection of Siraj Haqqani, himself a
       member of al-Qaeda’s military council;
      Sirajuddin Haqqani, a member of al-Qaeda’s military council and commander of the
       Haqqani Network;
      Khalil al-Rahman Haqqani, Jalaluddin Haqqani’s brother and a dual-hatted al-
       Qaeda/Taliban terrorist, serving as a “fundraiser, financier, and operational commander” for
       the Haqqani Network,109 as well as an agent who “acted on behalf of al-Qa’ida”110 and had
       “been linked to al-Qa’ida terrorist operations.”111




 106
       U.S. Dep’t of Def., Strike Kills No. 2 Insurgent in Afghanistan (Apr. 26, 2011).
 107
       ISAF Joint Command, Morning Operational Update (Aug. 5, 2012).
 108
       Resilient al-Qaeda at 11-12.
 109
    Bill Roggio, US Designates al Qaeda, Haqqani Network Leaders As Terrorists, Long War J.
 (Feb. 9, 2011).
 110
    Press Release, U.S. Dep’t of Treasury, Treasury Targets The Financial And Support
 Networks of Al Qa’ida And The Taliban, Haqqani Network Leadership (Feb. 9, 2011).
 111
   Press Release, U.S. Dep’t of State, Rewards for Justice - Reward Offers for Information on
 Haqqani Network Leaders (Aug. 20, 2014).


                                                   68
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 84 of 606 PageID #: 84




          230.   Kabul Attack Network-Related Provinces. Al-Qaeda deployed senior

 operatives to coordinate attacks in the strategically critical cluster of provinces around the capital

 city. This area was the focus of the Kabul Attack Network, where al-Qaeda and the Taliban,

 including its Haqqani Network, maintained joint al-Qaeda/Taliban cells responsible for planning

 and committing terrorist attacks, each of which executed the Syndicate’s CAN fertilizer bomb

 campaign in Kabul Attack Network-related provinces. See supra Part V.A.3. The dual-hatted

 al-Qaeda/Taliban terrorists who ran the cells included:

      Sirajuddin Haqqani, a member of al-Qaeda’s military council and commander of the
       Haqqani Network.
      Ahmed Jan Wazir, a dual-hatted al-Qaeda/Taliban terrorist who, in 2008, was named
       commander of jihadist forces in Ghazni Province by both al-Qaeda and the Taliban.

 II.      THE SYNDICATE RELIED ON EXPLOSIVE FERTILIZER AND U.S.
          DOLLARS TO CARRY OUT ATTACKS ON AMERICANS IN AFGHANISTAN

          231.   Defendants collectively engaged in illicit transactions that directly or indirectly

 aided nearly every significant senior al-Qaeda and Haqqani Network leader, fundraiser,

 logistician, and partner who supported the Syndicate’s terrorist campaign in Afghanistan. This

 section sets forth examples of agents, operatives, and fronts who served al-Qaeda, the Haqqani

 Network, Lashkar-e-Taiba, and their Syndicate allies; Plaintiffs separately identify each

 Defendant’s relationships with these agents, operatives, and fronts in Part IV below. Plaintiffs

 first describe how al-Qaeda and the Haqqani Network’s use of complex transnational financial

 and criminal strategies after 9/11 supported their campaign against Americans in Afghanistan.




                                                   69
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 85 of 606 PageID #: 85




              A.      Al-Qaeda And The Haqqani Network Financed And Armed Terrorists
                      Targeting Americans In Afghanistan Through Global Terrorist Finance And
                      Logistics Networks That Relied On Access To The U.S. Financial System

              232.    “Money is the ‘lifeblood’ of al Qaeda” “and other likeminded terrorist groups.”112

 According to Professor Jimmy Gurulé, who teaches law at Notre Dame and previously served in

 a senior terrorist-finance-facing role at the Treasury Department, “[a]l Qaeda and its global

 network of affiliated terrorist organizations cannot successfully implement their deadly agenda

 without financial resources” and therefore “[d]isrupting and dismantling terrorist financing

 networks is essential to combat terrorism.”113

              233.    “Once the scope of al Qaeda’s global reach is fully understood,” according to

 Professor Gurulé, “it becomes eminently clear that the Islamist militant group needs vast sums of

 money to sustain and support its global terrorist ties.”114 According to Professor Gurulé,

       (i)         “Money [was] central to the growth and development of al Qaeda’s network,” (at 21);

       (ii)         “The ability to raise and transfer funds to [al-Qaeda’s allies] [was] essential to
                   sustaining terrorist operations” in Afghanistan after 9/11;

       (iii)       “Money [was] critical to sustaining al Qaeda’s global presence and successfully
                   waging its global jihad,” (at 73);

       (iv)        “Money [was] critical to financing al Qaeda’s terrorist operations (operational costs)
                   as well as sustaining its organizational infrastructure (organizational costs),” (at 21);

       (v)         “Simply stated, depriving al Qaeda of funding [was] as important as targeting the
                   operational terror cells themselves” (at 22).

              234.    “After September 11, 2001, the United States unleashed a counter-terrorist

 financing campaign that reshaped the very nature of financial warfare.”115 “The Treasury


 112
       Gurulé, Unfunding Terror, at 21.
 113
       Id.
 114
       Id. at 89.
 115
       Zarate, Treasury’s War, at 7.


                                                         70
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 86 of 606 PageID #: 86




 Department waged an all-out offensive, using every tool in its toolbox to disrupt, dismantle, and

 deter the flows of illicit financing around the world” and “sanctions” “were now put on steroids

 to target the Al Qaeda and Taliban network and anyone providing financial support to any part of

 that network.”116 As a result, countering the flow of terrorist finance through financial

 institutions and money remitters became a core consideration of most governmental and financial

 stakeholders in the international community. The U.S. “led the way in combating terrorist

 financing through” “an ‘aggressive, multifaceted approach,’”117 under which “the Bush

 administration ordered America’s banks to disclose information to the government on suspected

 money laundering that might be used to provide financing to terrorists.”118

           235.      On September 22, 2001, President George W. Bush announced Executive Order

 13224, publicly stating that “banks and financial institutions around the world” were “on notice”

 that they must “freeze or block terrorists’ ability to access funds in foreign accounts” to protect

 Americans from terrorist attacks committed by al-Qaeda and its affiliates.

           236.      On September 28, 2001, the UN Security Council adopted Resolution 1373,

 which made it mandatory for member states to adopt broad prohibitions against terrorist finance

 in response to 9/11. According to Mr. Zarate, the first assistant secretary of the Treasury

 dedicated to countering terrorist finance, “[t]his resolution was significant because it was not

 limited to Al Qaeda or the Taliban. Its scope was intentionally broad to ensure that the

 international community was putting broad measures in place to go after terrorist financing” and




 116
       Id. at 7-8.
 117
    Jayesh D’Souza, Terrorist Financing, Money Laundering, and Tax Evasion 45 (CRC Press
 2012) (“D’Souza, Terrorist Financing”)
 118
    Robert Kuttner, Financial Hardball and Financial Beanbag, American Prospect Blogs (Jan.
 13, 2020), 2020 WLNR 1155456.


                                                   71
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 87 of 606 PageID #: 87




 “shape[d] the financial regulatory and diplomatic environment” because “[b]anks” “knew that

 the world was watching and that there was a steep reputational price to pay for falling outside the

 lines of legitimacy as they were being redrawn.”119 Most responsible global financial

 institutions and money remitters cared about their reputations and so heeded this approach.

 (Defendants did not.)

           237.    After 9/11, al-Qaeda and the Taliban (including its Haqqani Network), responded

 to the U.S. financial pressure by committing to a financial strategy that emphasized maximizing

 the Syndicate’s financial resources by attempting to source as much U.S. currency as possible

 and working together with their Syndicate allies. Under this strategy, “Al Qaeda [and] the

 Taliban,” including its Haqqani Network, “use[d] conventional banks to transfer money to

 underwrite their global terrorist activities” “because” banks “offer[ed] a broad range of financial

 services, rapid transaction security, and wide geographic availability.”120

           238.    According to Dr. Jodi Vittori, “[N]o terrorist organization has ever ‘gone global’

 to the theoretical extent of a [Trans-National Corporation], but al Qaeda represents the closest

 manifestation so far. Like a hypothetical [Trans-National Corporation], al Qaeda operates

 globally, with cells or supporters on all continents except Antarctica, including the most

 developed countries, … and the most collapsed … Not only is al Qaeda geographically

 dispersed, but also functionally dispersed. Resourcing across spectrum of the organization –

 financing, tangible goods, training, recruitment, and logistics – occurs throughout the world and

 uses multiple nodes.”121




 119
       Zarate, Treasury’s War, at 33.
 120
       Gurulé, Unfunding Terror, at 181.
 121
       Vittori, Terrorist Financing, at 147.


                                                    72
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 88 of 606 PageID #: 88




        239.    Al-Qaeda led the Syndicate’s transnational financial efforts just as it led the

 planning and commission of attacks: in the leadership role, but working closely as an ally or

 agent, of its Syndicate partners. For example, al-Qaeda (alongside the Haqqani Network) has

 traditionally managed the Afghan Taliban’s opium activities outside of Afghanistan, including,

 but not limited to, the export, sale, laundering, and repatriation of drug profits back to al-Qaeda

 and the Taliban (including the Haqqani Network) to support terrorist operations. Historically, al-

 Qaeda and the Haqqani Network extracted commissions, ranging from ten percent (10%) to

 twenty percent (20%) on the income derived from the opium pipelines they managed for the

 Taliban, and through such close coordination, each member of the Syndicate funded the shared

 enterprise.

        240.    From 2001 through 2016, al-Qaeda followed a globalized strategy that ignored

 borders and read like something that might be followed by a “Multi-National Corporation” for

 terror. Al-Qaeda’s borderless, MNC-style approach to terror obliterated traditional terrorism

 theories, which suggested that terrorist groups were only substantially supported by allies who

 were in-country or a nearby geography. Bin Laden, like Khanani and other al-Qaeda terrorist

 financiers, understood that while most global financial institutions and money remitters with ties

 to America were no longer open for business to al-Qaeda, there would always be outliers in any

 market who deviate from the norm and attempt to profit through crime. For al-Qaeda, the

 willingness of certain financial institutions and money remitters, like Defendants, to act as

 Laundromats offered incomparable economic, financial, logistical, operational, and

 communications advantages for al-Qaeda and its Syndicate allies.

        241.    After 9-11, al-Qaeda depended upon its transnational terrorist finance

 infrastructure, which it often accessed through its relationships with other Syndicate groups, to




                                                  73
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 89 of 606 PageID #: 89




 maintain a high attack tempo against Americans in Afghanistan. According to Dr. Jodi Vittori,

 “Under a [Trans-National Corporation] structure, terrorists create[d] an alliance network of

 sympathetic groups that provide[d] the parent organization its true regional or global reach” and

 “was a tactic first developed by al Qaeda,” which “remain[ed] its primary means to maintain a

 high operational tempo, even while its leadership ha[d] limited mobility and communications on

 the Pakistan-Afghanistan border.”122 As Under Secretary for Terrorism and Financial

 Intelligence David S. Cohen explained in 2012, the Syndicate’s “financial networks [were]

 instrumental in funneling money for terrorist operations [in Afghanistan].”123

             242.   The Syndicate’s strategy for both sides of the terrorist finance coin – illicit

 fundraising and illicit fund transfer – depended upon its ability to maintain a diversified

 international financial portfolio befitting the global transnational enterprise it was. This meant

 that the Syndicate prioritized several streams of illicit fundraising, including the protection

 money it obtained from corrupt corporations, the income it derived from the Afghanistan-to-

 Russia Opium Pipeline, funds raised through fraud schemes, particularly large-scale VAT frauds,

 and overseas donations, to name four examples.

             243.   For every strategy, the Syndicate could stretch its financial resources the most –

 and kill the most Americans – through a balanced and diversified global financial portfolio, for

 which it required the services of both global financial institutions and money remitters. As Mr.

 Zarate, who served as the first ever assistant secretary of the Treasury for terrorist financing,

 explained in his acclaimed book, Treasury’s War:

             [S]temming terrorist financing … plays an important role in stemming terrorism
             itself for three fundamental reasons: it makes it harder, costlier, and risker for
             terrorists to raise and move money; it forces terrorist leaders to make tough

 122
       Vittori, Terrorist Financing, at 160.
 123
       Id.


                                                      74
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 90 of 606 PageID #: 90




           budget decisions; and it constricts the global reach of their organizations. …
           When a counter-terror-finance effort is successful, it ostracizes known financiers
           from the formal financial and commercial worlds and deters fundraisers, donors,
           and sympathizers from giving support and money to terrorist groups. … If done
           well, a campaign to disrupt terrorist financing not only stops attacks, but can
           change the strategic reach and trajectory of the enemy’s network.124

           244.      “Unfortunately,” according to Mr. Zarate, “when there [was] money to be made”

 and a “staggering” “magnitude” of “illicit transactions” from which a bank could profit if it

 operated a Laundromat, a subset of global financial institutions, money remitters and

 corporations determined – even after 9/11 – their “[c]rime” could “pay” because “[w]here there

 is money to be made and moved, financial institutions will be implicated”:

           Banks and financial intermediaries will continue to weigh the balance between
           making significant amounts of money while doing business with suspect
           customers and the need to apply the most stringent financial controls and
           standards on money flowing through their systems. We have seen this over and
           over with multinational banks, including, most recently, HSBC and Standard
           Chartered. There is little mercy for those … [i]nstitutions that attempt to evade
           sanctions and scrutiny in order to tap lucrative business lines or markets.125

           245.      Thomas Creal served in Afghanistan as the Lead Forensic Accountant for Task

 Force 2010, which examined how “dirty money” aided Syndicate attacks. In 2017, he explained

 the key role financial institutions like Defendants played for the Syndicate:

           Having served in Afghanistan … as the lead forensic accountant [for Task Force
           2010] I saw up close the start of dirty money and subsequently how it was moved
           around the world, using banks … The money movers are critical as Al Capone
           witnessed … [and] can be banks, very large banks, as seen by recent billion dollar
           settlements by … Deutsche Bank, … and others. But the funds were dirty as they
           entered the bank[s] … I suggest a refocus on black money, the banks, hawalas
           and money movers. The amounts will be billions of dollars and as once a tactic by
           … George Washington, if you bankrupt the enemy you will win the war.126



 124
       Zarate, Treasury’s War, at 29.
 125
       Id. at 370.
 126
    Thomas Creal (Former U.N. Panel Expert and Lead Forensic Accountant for Task Force
 2010), A Re-Focus on Black Money, PR NewsChannel (Apr. 20, 2017), 2017 WLNR 12209363.


                                                   75
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 91 of 606 PageID #: 91




             246.   According to Mr. Zarate, the former assistant secretary of the Treasury for

 terrorist finance, even in a well-functioning financial system, there will always be a need to

 “target” “bad banks” that make a conscious decision to embrace enormous criminal risks to

 profit from serving the terrorist financiers who could not do business with responsible banks:

             Bad banks would be our target. There are always banks engaged in fraudulent
             and criminal activity someplace in the world … More interesting, for our
             purposes, were the banks serving … terrorist networks. They not only provide
             criminals access to banking services, but also allow for illicit financial activity to
             be hidden from the view of regulators, law enforcement, and intelligence services.
             BCCI, as an all-purpose bank for criminals and suspected terrorists of all stripes,
             was one such bank that we had seen in the past. … [T]here were banks around
             the world that were serving as nodes of illicit financing. At these banks, the dirty
             money of suspect actors mixed to access the international financial system. For
             any criminal or terrorist enterprise to have global and sustained reach, it must
             have a financial infrastructure to raise, hide, and move money to its operatives
             and operations. Banks are the most convenient and important of these nodes of
             the financial system and are critical to nefarious networks. Where there is a
             transnational network of concern, there is likely also a bank or family of banks
             serving as a facilitator of that activity.127

             247.   At all times, “[t]here [was] consensus that the heart of terrorism [was] its

 financing,” “stopping the flow of funds to terrorist groups [was] like sticking a dagger into the

 heart of the problem,” and it was “evident” that “al-Qaeda” embodied “[t]he international nature

 of financial crime.”128 By 2007, as the British government explained at the time, “Al-Qaida” and

 its affiliates had “attacked over 25 countries and killed thousands,” supported by a latticework of

 fundraising, logistical and operational cells around the world, under which the Syndicate’s

 “financing” was “equally international with funds very often [] raised in one country, used for

 training in a second, for procurement in a third and for terrorist acts in a fourth.”129 In this




 127
       Zarate, Treasury’s War, at 8 (emphasis added).
 128
       D’Souza, Terrorist Financing, at 27.
 129
       Id.


                                                      76
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 92 of 606 PageID #: 92




 Complaint, Plaintiffs refer to terrorist financing and its composite activities—money laundering,

 tax fraud, and tax evasion—as “financial crime” consistent with broad post-9/11 practice.130

             248.   According to Professor Gurulé, “The major methods used to move terror money

 include the traditional banking system, alternative remittance systems, such as hawala, and bulk

 cash couriers. Contrary to popular belief, terrorists use banks and other financial institutions to

 transfer funds. Deposit-taking institutions are particularly attractive because they provide an

 extensive range of financial services. Also, banks provide wide geographic availability either

 through their foreign branch offices or through correspondent accounts with foreign banks.

 Finally, large sums of money can be transferred instantaneously from a bank located in the

 United States, through bank accounts in the Middle East, to an offshore account in some other

 foreign country with the push of a button.”131

             249.   Al-Qaeda’s unique globally dispersed financial and logistical structure meant that

 the Syndicate supported its terrorist campaign in Afghanistan not from 4 or 5 countries but from

 4 or 5 dozen countries. By doing so, al-Qaeda could ensure that the Syndicate could ruthlessly

 exploit any opportunities presented by a complicit financial institution. As a result, preventing

 al-Qaeda attacks meant stopping al-Qaeda financiers from finding entry points into the global

 financial system, and, most of all, the U.S. financial system. For this reason, after 9/11, any bank

 or remitter that operated as a “Laundromat” affirmatively chose to support terror no differently

 than if it directly delivered money to al-Qaeda or the Haqqani Network. According to Professor




 130
       Id.
 131
       Gurulé, Unfunding Terror, at 151.


                                                    77
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 93 of 606 PageID #: 93




 Gurulé, “[t]he international economic sanctions regime established” after 9/11 were “the sole

 vehicle for truly global action against the twin threats of al Qaeda and the Taliban.’”132

                     1.     Al-Qaeda And The Haqqani Network Relied Upon Transnational
                            Crime As A Key Source Of Terrorist Finance

           250.      Al-Qaeda and the Haqqani Network operated transnational terrorist finance and

 logistics enterprises, which they used to fund, arm, and logistically support Syndicate terrorists in

 Afghanistan from a constellation of al-Qaeda and Haqqani Network cells worldwide, including

 but not limited, to such groups’ cells in Europe, Asia, and the Middle East.

           251.      The Syndicate’s income derived from criminal activity in Afghanistan, Pakistan,

 the U.A.E., Russia, and Europe directly funded Syndicate terrorist attacks against Americans in

 Afghanistan. According to Dr. Kimberley L. Thachuk, “the large amounts of money realized

 through criminal activity allow[ed] [Syndicate] terrorist criminal enterprises to prosper, increase

 their numbers, and buy matériel in support of terrorist plots.”133

           252.      From 9/11 to 2016, al-Qaeda and the Haqqani Network’s transnational finance

 activities depended upon the groups’ complete fusion of crime with terrorist finance worldwide.

 According to Christopher Brown, a terrorism analyst at the Hudson Institute, to prevent attacks it

 was vital to “target the logistical foundation on which [terrorism] operates,” meaning “the means

 and methods by which the groups communicate, are financed, manage transportation and supply

 operations. …Whether it is the Russian [M]afia supplying weapons, the Chinese Triads

 distributing al Qaeda-grown heroin or banks knowingly laundering criminal and terrorist funds,




 132
       Id. at 233.
 133
    Dr. Kimberley L. Thachuk, Terrorist Criminal Enterprises: Financing Terrorism through
 Organized Crime 22 (Praeger 2018; Kimberly L. Thachuk and Rollie Lal, eds.) (“Thachuk,
 Terrorist Criminal Enterprises”).


                                                    78
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 94 of 606 PageID #: 94




 these international criminal organizations form the logistical base that makes it possible for the

 terrorists to operate.”134

        253.    The U.S. government also repeatedly recognized the foreseeably close linkage

 between transnational crime in Afghanistan, Pakistan, the Middle East, Russia, and Europe, on

 the one hand, and al-Qaeda-led violence against Americans in Afghanistan, on the other.

        254.    Indeed, the Syndicate’s operations went beyond “nexus” to the point of achieving

 a complete “fusion” with transnational organized criminal organizations, like the Russian Mafia,

 as a single cohesive entity on the subject matters upon which the Syndicate cooperated with its

 criminal allies. Christopher A. Kojm, who served as Director of the National Intelligence

 Council of the Office of the Director of National Intelligence from 2009 through 2014, explained

 that, by the 2000s and ever since, there was often a complete “fusion” between terrorist groups

 like the Syndicate and transnational organized crime groups like the Russian Mafia:

        [A]cross many terrorist organizations, [] there is a complete fusion of terrorist and
        criminal activity. There is not a “nexus” between the two worlds; they are one
        and the same. … [C]ompelling examples [show] how criminal activity is
        inseparable from every aspect of terrorist organizations and their behavior. …
        [T]here are many implications of the fusion of these two worlds. [including that]
        … [w]e cannot understand the phenomenon of terrorist criminal enterprises when
        analysis takes place in separate [lanes]. …135

        255.    In their book, Terrorist Criminal Enterprises: Financing Terrorism through

 Organized Crime, Dr. Kimberley L. Thachuk, the former National Counterintelligence Officer

 for Transnational Issues, and Dr. Rollie Lal, a professor of Security Studies at George

 Washington University, explained the fusion between terrorism and organized crime after 9/11:


 134
    Christopher Brown (Transitions to Democracy Project at the Hudson Institute), Plan B on
 Terror, Washington Times (July 10, 2005), 2005 WLNR 10855164.
 135
    Christopher A. Kojm, Foreword in Terrorist Criminal Enterprises: Financing Terrorism
 Through Organized Crime viii-ix (Praeger 2018; Kimberly L. Thachuk and Rollie Lal, eds.)
 (emphasis added).


                                                 79
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 95 of 606 PageID #: 95




            Terrorism has steadily gangsterized over the past several decades. … Financing
            terrorist operations today, including the payment of clandestine operatives and the
            purchase of weapons and explosives, requires the types of transactions that only
            illicit operations can satisfy. As such, the evolution to terrorist criminal
            enterprises has not only enabled many terrorist groups to survive and expand, but
            it also has afforded them added resiliency and mobility. … [R]ather than
            continuing to treat terrorists solely as zealots, such groups should be understood
            for their engagement in complex illicit commerce. … Articulating the combined
            ideological goals and criminal activities of terrorist criminal enterprises will be
            necessary to … effective counterterrorism strategies. … [O]utmoded and
            stovepiped conceptualizations [] treat terrorism and organized crime as distinct
            entities. … Although at one time there was significant evidence of a “nexus” with
            organized crime, or a terrorist-criminal continuum, such symbioses may have
            been largely transcended altogether. Hence, breaking the false dichotomy that
            defines these groups as separate phenomena will [help in the effort to] … deter
            and dismantle terrorist groups.136

            256.   The Syndicate’s “fusion” strategy obliterated the distinction between organized

 crime and terrorist criminal enterprise operations in geographies that posed a high risk of

 Syndicate finance, including Afghanistan, Pakistan, the U.A.E., and Russia. According to Dr.

 Thachuk and Dr. Lal: “Terrorist criminal enterprises differ from conventional organized crime

 only in their motivations for making and spending illicit funds. Otherwise, the criminal modus

 operandi is the same.”137 As a result, according to Dr. Lal, one must view “terrorist criminal

 enterprises as the cohesive threat that they are.”138

            257.   At all relevant times, the Syndicate, acting through al-Qaeda and the Taliban

 (including its Haqqani Network), was entrenched throughout Afghanistan’s and Pakistan’s

 economies and established as a transnational terrorist enterprise that was known for its universal




 136
    Dr. Kimberley L. Thachuk and Dr. Rollie Lal, Terrorist Criminal Enterprises: Financing
 Terrorism through Organized Crime 1-3 (Praeger 2018; Kimberly L. Thachuk and Rollie Lal,
 eds.) (emphasis added) (“Thachuk and Lal, Terrorist Criminal Enterprises”).
 137
       Id. at 7.
 138
    Dr. Rollie Lal, Terrorist Criminal Enterprises: Financing Terrorism through Organized
 Crime 193 (Praeger 2018; Kimberly L. Thachuk and Rollie Lal, eds.) (“Lal”).


                                                    80
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 96 of 606 PageID #: 96




 employment of mafia-like tactics in all transactions. The Syndicate’s collective use of front

 companies and associated bank accounts reflected such scale.

        258.    By 2008, the Syndicate had a monopoly on (or, at a minimum, a share of all

 transactions in) each core aspect of the criminal marketplace in the Afghanistan/Pakistan border

 regions stretching into the geographic strongholds of each group in Afghanistan and Pakistan,

 respectively. The Syndicate’s effective participation in all criminal profits in these areas

 extended to organized money laundering, smuggling, criminal extortion rackets, and drugs.

        259.    With respect to narcotics, because of the Syndicate’s control over various

 chokepoints in the Afghan opium industry, including agricultural supply, labor pool, protection

 rackets, control over the chemicals necessary for industrial-scale processing, and the export and

 smuggling routes outside of Afghanistan, even the financial activities of non-Syndicate drug

 warlords directly funded the Syndicate, because the Syndicate charged a “tax” on every drug

 deal and every drug lord in Afghanistan and Pakistan. Indeed, the Taliban (including its Haqqani

 Network), established elaborate procedures to collect “taxes” from every criminal actor in their

 geography, and was highly effective at doing so.

        260.    From 2008 through 2016, the Syndicate’s members collectively controlled or

 contested most of Afghanistan and Pakistan, with respect to geography, population, and areas of

 economic activity. In those areas, Syndicate control of criminal economies was so complete that

 any illicit transaction was likely to fund the Syndicate or benefit a Syndicate front.

        261.    The Syndicate’s tentacles, however, spread far outside of geographies in

 Afghanistan and Pakistan that the Syndicate contested or controlled. This was assured by the

 Syndicate’s practice of extracting “donations” or “taxes” from any and all significant players in

 the Afghani and Pakistani criminal marketplace in areas the Syndicate controlled or contested




                                                  81
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 97 of 606 PageID #: 97




 including, most of all, the narcotics infrastructure, black marketeers selling dual-use goods,

 hawala brokers who move money between (and within) Afghanistan and Pakistan, and notorious

 money launderers who set up overseas structures dependent on large banks to help al-Qaeda and

 the Haqqani Network transfer their overseas profits back to accounts controlled by al-Qaeda, the

 Haqqani Network, and their Syndicate allies.

         262.    The customary “donation” or “tax” was ten percent (10%) to twenty percent

 (20%) of the criminal’s profit from the transaction.139 In this way, the Syndicate leveraged its

 mafia-like practices to ensure that all major criminal revenue streams in Afghanistan and

 Pakistan directly or indirectly funded the Syndicate’s attacks against Americans in Afghanistan.

 Since the Syndicate controlled or contested nearly all of Afghanistan, and much of Pakistan, by

 2009, its geographic reach was substantial and included most of the geographies in Afghanistan

 and Pakistan in which Defendants conducted business or engaged in sales or transaction-related

 activity, ensuring the Syndicate’s ability to collect its standard “taxes,” directly or indirectly,

 from most illicit activity in most parts of Afghanistan and Pakistan.

         263.    The Syndicate also extracted significant income from the “taxes” it imposed on

 criminal activity in the U.A.E., as well as amongst Pakistani and Afghan diaspora in Europe, the

 Middle East, and Asia.

         264.    Al-Qaeda and the Haqqani Network also followed long-standing al-Qaeda

 doctrine that called for jihadists to achieve monopolies in key industries operating in their

 geographies to leverage such monopolistic power as a vehicle for terrorist fundraising, finance,

 and logistics. For example, when bin Laden was based in Sudan before 9/11, he famously


 139
   These numbers are separate from the customer 2.5% contributions often made as Zakat,
 which is a form of contribution long relied upon by al-Qaeda, the Taliban (including its Haqqani
 Network), and every other member of the Syndicate.


                                                   82
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 98 of 606 PageID #: 98




 supported al-Qaeda operations through a host of activities that leveraged al-Qaeda and its

 affiliates’ monopoly on various Sudanese agricultural industries to support terrorist operations.

                2.      The U.S. Financial System Was Key To Syndicate Operations And
                        The U.S. Dollar Was The “Gold Standard” For Syndicate Terrorist
                        Fundraising And Finance

        265.    The U.S. Dollar was, and is, the “gold standard” of Syndicate terrorist finance

 throughout the Middle East and Asia, including in Afghanistan, Pakistan, and the U.A.E. Like

 any other large transnational enterprise that is dependent upon purchasing key parts through

 commercial markets, the Syndicate and its constituent members sought to improve their

 operational efficiencies – e.g.., buy more bomb parts and pay for more terrorists – by

 strategically maximizing the value of their currency holdings. No other currency provides the

 terrorists with the overall advantages of the U.S. Dollar.

        266.    Al-Qaeda and the Haqqani Network, as managers for the Syndicate’s

 transnational finances, employed a blended terrorist finance strategy in which they used large

 global financial institutions, regional Pakistani banks, and hawalas. In most large cross-border

 transactions, large global financial institutions played a role in the movement of U.S. Dollars

 even when the final disbursement of the money was handled by a hawala broker. In this way,

 global financial institutions that could access the U.S. financial system, like the Defendants,

 played an especially vital role in al-Qaeda and the Haqqani Network’s ability to repatriate their

 illicit income, which typically was USD-denominated, and came in large, chunky amounts from

 dozens of countries. This made it harder to initially move the payments through a regional bank

 or the hawala system, since both tended to work best for smaller-scale transfers (e.g.., 5-figure or

 6-figure) rather than bulk 7- and 8-figure USD cash transfers that were common in the

 Syndicate’s opium trade.




                                                  83
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 99 of 606 PageID #: 99




        267.    While al-Qaeda and the Haqqani Network could – and did – use regional

 Pakistani banks to raise and launder millions of dollars for direct use in terrorist operations

 throughout Afghanistan, it also used global financial institutions to accomplish the industrial-

 scale global profit repatriation from its transnational criminal enterprise, including narcotics.

        268.    Apart from the U.S. Dollar’s universally recognized status as the world’ reserve

 currency, the Dollar is independently the currency of choice for every major global narcotics

 cartel, including the Syndicate and its agent, the Russian Mafia.

        269.    Syndicate terrorists, including members of al-Qaeda, the Taliban (including its

 Haqqani Network), Lashkar-e-Taiba, Jaish-e-Mohammed, and D-Company, prioritized terrorist

 fundraising and finance strategies that targeted U.S. Dollars, which the terrorists knew, like their

 corporate counterparts, provided the greatest return on their terrorist finance investment.

        270.    After 9/11, a common strategy emerged amongst Syndicate terrorist financiers

 who required U.S. Dollars given their geographic, commercial, or operational needs, but sought

 to avoid interacting with American banks that were rigorously following post-9/11 financial

 rules: partner with a European or Middle Eastern bank notorious for laundering money and

 possessing a branch in the United States, and use the European or Middle Eastern banking

 partner’s Laundromat, and U.S. branch, to source U.S. Dollars while leveraging the intentionally

 built-to-fail compliance systems at the European or Middle Eastern bank being used.

        271.    The Syndicate’s widespread protection money rackets show how the Syndicate

 leveraged financial institutions and money remitters to obtain the U.S. Dollars that turbocharged

 the power of its key terrorist fundraising schemes. From the mid-2000s through present day, the

 Syndicate has operated a nation-wide protection money scheme throughout Afghanistan, and

 much of Pakistan, through which it earned vast sums of money each year to fund attacks against




                                                  84
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 100 of 606 PageID #: 100




   Americans in Afghanistan. The Syndicate’s ability to access the international financial system

   and conduct U.S. Dollar-denominated transactions magnified the potency of its protection money

   rackets by, among other things, providing the mechanisms by which to manage and distribute the

   enormous cash flow from payments made by corporations and contractors doing business in

   Afghanistan and Pakistan.

                    3.     Al-Qaeda And The Haqqani Network Were Aware Of The
                           Laundromat Market Signals Communicated By Banks And Remitters

             272.   “Ultimately,” according to Professor Gurulé, “much of the burden of securing []

   financial services against abuse by terrorist organizations must be borne by financial

   institutions.”140 Al-Qaeda understood this as well.

             273.   Writing in 2005, when each Defendant was already aiding al-Qaeda or about to

   begin doing so, Mr. Kochan explained that “terrorists [] waged wars on the financial system to

   fund their outrages” after 9/11 “and companies [] made themselves available” to such groups “in

   a Faustian laundering pact.”141 He explained:

             Criminals need the services provided by global corporations especially banks and
             other financial institutions, to move and clean their money. Criminals in
             developing countries look to Western banks for a huge array of devices that
             include offshore companies and tax structures, false names for their bank
             accounts, and lawyers and accountants for their complex financial structures.
             Some banks will provide them willingly, satisfying the authorities with the
             formalities of due diligence that have increased in volume in recent years in
             response to the perceived terrorist threat to the economic system. … [H]owever it
             comes about, … [t]he maker of the corrupt or fraudulent money and the financial
             institution who helps move it are equally complicit in a process, where both are
             conspirators, in both parts of the activity.142




   140
         Gurulé, Unfunding Terror, at 173.
   141
         Id.
   142
         Kochan, The Washing Machine, at x.

                                                    85
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 101 of 606 PageID #: 101




          274.    Defendants’ transactions with the Syndicate reflected a long-standing tacit deal

   between each Defendant and the Syndicate—not that that the Syndicate “tricked” any Defendant

   into aiding it. Former federal undercover agent Robert Mazur spent a career investigating the

   flow of dirty money through the global financial system and explained that each Defendant’s

   conduct reflected a long-standing tacit deal between each Defendant and the Syndicate:

          Court filings show that since 2006 more than a dozen banks have reached
          settlements with [DOJ] regarding violations related to money laundering[,] …
          [including] Standard Chartered. All admitted to criminal offenses; all were
          handed the equivalent of traffic tickets. This has been the U.S. government’s
          playbook in fighting terrorism and the drug trade. For make no mistake: Without
          the ability to “wash” billions of dollars from illicit sources each year, these
          criminal enterprises would falter. … I have seen this firsthand. I was a federal
          agent for 27 years and worked undercover as a money launderer within this
          murky realm for five of them. … The largest and most sophisticated of these
          criminal enterprises don’t trick banks into laundering their money; rather, they
          partner with that small segment of the international banking … community that
          recirculates drug profits and cash from other illicit trades, like black-market
          arms dealing. The only way to stop the flow of this dirty money is to get tough
          on the bankers who help mask and transfer it around the world. … The stakes
          are simply too high … [A]s long as terrorists can move their cash freely around
          the world, we’ll have no chance to halt their deadly trades.143

          275.    According to Dr. Jodi Vittori, “Al Qaeda has also been particularly adept at

   manipulating the international banking system. Bin Laden once remarked to a Pakistani

   journalist that his financial backers “are as aware of the cracks inside the Western financial

   system as they are of the lines in their hands.” It used the international banking system regularly,

   and millions of dollars in accounts suspected connected with al Qaeda have been frozen. Al

   Qaeda understood the limits due to the regulations of the banking business, and it allegedly

   used the regional banking systems of the Middle East, including the United Arab Emirates,




   143
      Robert Mazur, How To Halt The Terrorist Money Train, International Herald Tribune (Jan. 4,
   2013) (emphasis added), 2013 WLNR 184047.


                                                    86
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 102 of 606 PageID #: 102




   Kuwait, Bahrain, and Lebanon, as they had been notoriously underregulated. While in

   Afghanistan, Pakistani banks were frequently used for the same reason.”144

             B.      Al-Qaeda, The Haqqani Network, Lashkar-E-Taiba, And D-Company Relied
                     Upon A Transnational Network Of Terrorist Finance And Logistics Cells
                     Operating In Afghanistan, Pakistan, The U.A.E., Russia, And Europe To
                     Finance And Arm Syndicate Terrorist Attacks Against Americans In
                     Afghanistan

             276.    After 9/11, al-Qaeda and its affiliates, including the Taliban and Haqqani

   Network, greatly intensified bin Laden’s long-standing transnational, corporate-collaborative

   approach. Al-Qaeda and the Haqqani Network – which often represented other Syndicate

   members, like the Taliban, overseas – needed far more resources to sustain its ever-growing

   jihad against Americans in Afghanistan and looked to their cells around the world for critically

   needed financial and logistical support. As al-Qaeda and the Haqqani Network did so, the

   Syndicate’s burgeoning commercial enterprises after 9/11 only heightened the importance of its

   members’ ability to access the global financial system through banks and remitters. Defendants

   conducted business in an environment in which participants understood that certain geographies

   carried a substantially elevated risk of terrorist finance.

             277.    Al-Qaeda and the Haqqani Network, however, did not limit the funding and

   resourcing of their terrorist campaign to activities in the extreme-risk Afghanistan-Pakistan-

   U.A.E. terrorist finance triangle. Both groups also relied upon critical financial and logistical

   support from cells and on-the-ground terrorists in Russia, Central Asia, and Europe, including

   Estonia (a key location for the Syndicate’s opium trade) and Germany (a long-standing al-Qaeda

   financial and logistical hub).




   144
         Vittori, Terrorist Financing, at 150-51.


                                                     87
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 103 of 606 PageID #: 103




             278.    Al-Qaeda and the Haqqani Network relied upon cells in Europe to fund, finance,

   and logistically support al-Qaeda’s terrorist campaign in Afghanistan. As Dr. Jodi Vittori

   explained in her 2011 book, Terrorist Financing and Resourcing, “the relative sanctuary that al

   Qaeda enjoy[ed] in both the developed world” “provided the organization the critical breathing

   room it needed to recover” as demonstrated by how “al Qaeda-associated cells in Europe

   continue[d] to be uncovered.”145

             279.    Indeed, supporting the terrorist campaign in Afghanistan was typically the

   primary reason most al-Qaeda and Haqqani Network cells were created in the first place. After

   9/11, according to Professor Gurulé, al-Qaeda’s and the Haqqani Network’s “ability to raise and

   transfer funds” between their cells around the world was “essential to sustaining” the “terrorist

   operations” conducted by al-Qaeda and its affiliates in Afghanistan because the continued flow

   of funds from cells around the world was “critical to sustaining al Qaeda’s global presence and

   successfully waging its global jihad.”146 Plaintiffs briefly outline these geographies below.

                     1.     Afghanistan, Pakistan, And The U.A.E.

             280.    With respect to Afghanistan, Pakistan, and the U.A.E., Defendants’ support for al-

   Qaeda’s and the Haqqani Network’s transnational terrorist enterprises occurred in an economic,

   regulatory, and business context in Pakistan, Afghanistan, and the U.A.E. in which all three

   countries were essentially one interlocking hub of terrorist fundraising, finance, logistics,

   operations, and planning. As Haqqani Network expert Gretchen Peters explained in 2009,

   transactions in these three countries played a key role funding and arming al-Qaeda and Haqqani

   Network terrorists targeting Americans in Afghanistan:



   145
         Vittori, Terrorist Financing, at 154.
   146
         Gurulé, Unfunding Terror, at 73.


                                                     88
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 104 of 606 PageID #: 104




             Eight years after 9/11, the single greatest failure in the war on terror [was] … the
             spectacular incapacity … to disrupt the flow of money that [kept] [the
             Syndicate’s] networks afloat. … The trading zone that groups Afghanistan,
             Pakistan, and the UAE [was] the financial world’s Wild West, where there
             [were] disincentives to going legal. … Since 2001, the UAE, Pakistan, and
             Afghanistan [] adopted or [] drafted laws banning money laundering … However,
             there [was] … no effort to go after those appearing to break the law. … Drug
             money … often bounc[ed] through Russia and South Africa and usually passing
             through Dubai, the flashy free-trade emirate that [was] a hub for money
             laundering and underground banking. … If you [were] a drug smuggler, it would
             be hard to find a more accommodating region to launder your money.147

             281.      From 2001 through 2016, Afghanistan, Pakistan, and the U.A.E. were extremely

   permissive environments for terrorist fundraising and finance. Throughout this time, all three

   countries were plagued by robust flows of “dirty money” from terrorist-controlled transnational

   criminal organizations. In all three places, according to Haqqani Network expert Gretchen

   Peters, it was “important to recognize that none of the money-laundering mechanisms being used

   in South Asia and the Gulf [were] the least bit unusual.”148 “[T]errorist financiers did not create

   this system, … [t]hey simply stepped into the mechanisms we ha[d] created to make it easy to

   shift money across borders.”149

             282.      Syndicate agents, operatives, and fronts in Afghanistan, Pakistan, and the U.A.E.

   were regularly open and obvious about their U.S. Dollar-related transactions in a manner that

   made the Syndicate terrorism risk apparent from the face of the transaction materials alone.

             283.      For example, in 2009, prominent local traders in Afghanistan admitted to

   Euromoney that terrorist operatives, and agents regularly leveraged the global financial system to

   conduct U.S. Dollar-denominated transactions that were obviously intended to aid the Taliban



   147
     Gretchen Peters, Seeds of Terror: How Drugs, Thugs, and Crime Are Reshaping the Afghan
   War 167-69 (Picador 2009) (emphasis added) (“Peters, Seeds of Terror”).
   148
         Id. at 176-77.
   149
         Id. at 177.


                                                       89
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 105 of 606 PageID #: 105




   (including its Haqqani Network) based upon simple details appearing on the face of the

   transaction itself, including, but not limited to, large, round, lump-sum U.S. Dollar-denominated

   deals.150 Indeed, according to Euromoney, traders openly admitted that: (1) Syndicate terrorist

   finance “hot money flows into and out of Kabul all the time”; (2) ordinary business people

   reviewing the transactions always “always [knew] if [it was] headed for the Taliban as it [was]

   always in big sums, often $100,000 or more”; (3) the Syndicate conducted transfers of “[a]t

   least” “$1 million” if not “[m]aybe much more”; (4) it was “clear that” “trades [were] made that

   might benefit aggressor forces” (i.e., the Syndicate); and (5) Afghans were familiar with how to

   use the global financial system and found that it was “not hard to get banking right.”151

                                  i.      Al-Qaeda And Haqqani Network Terrorist Finance

             284.   Afghanistan and Pakistan. From the 2000s through 2016, Pakistan was

   notorious as one of the highest-risk terrorist finance and logistics geographies in the world. As

   the Guardian reported in 2007, “[f]oreign money [was] fuelling the tide of Islamist violence

   washing across northern Pakistan, according to diplomats, analysts and money laundering

   experts,” and terrorist finance was enabled by “Pakistan’s notoriously lax financial system,”

   which “help[ed] [Islamists] to move the money into the country.”152

             285.   In 2010, international affairs commentator Fareed Zakaria explained that: (1)

   “Pakistan” “remain[ed] a terrorist hothouse even as jihadism [was] losing favor elsewhere”; (2)

   “From its founding, the Pakistani government has supported and encouraged jihadi groups,



   150
      Elliot Wilson, Afghanistan: Making Money in Kabul Markets, Euromoney (Sept. 1, 2009),
   2009 WLNR 26664795.
   151
         Id. (emphasis added).
   152
      Declan Walsh, Faith, Charity and the Money Trail to Pakistan’s Islamist Militants; Religious
   Donations Fuel Boom in Islamic Schools and Get Money to Extremists, Guardian (Aug. 21,
   2007), 2007 WLNR 28283961 (“Guardian, Faith, Charity and the Money Trail”).


                                                    90
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 106 of 606 PageID #: 106




   creating an atmosphere that has allowed them to flourish”; (3) “For a wannabe terrorist shopping

   for help, Pakistan [was] a supermarket” through which groups like “al-Qaeda, Jalaluddin [and]

   Siraj Haqqani’s network” and their allies “operate[d] openly via front groups throughout the

   country” and did not “have any difficulty getting money and weapons.”153

               286.   From 2001 through 2016, Afghanistan-related transactions also posed extreme red

   flags for terrorist finance and logistics similar to those in Pakistan. The Economist Intelligence

   Unit – a popular due diligence resource that was regularly read by Defendants’ employees –

   observed in 2006 that “[t]he [Afghanistan] banking system was another casualty of the war,

   having collapsed after the mujahideen seized power” in the 1990s.154 After 9/11, the country’s

   “financial sector’s primitive state mean[t] that its [] economic role [was] limited,” and “[t]he

   financial sector’s development [was] also [] hampered by the lack of a sound legal basis for the

   industry.”155 Afghanistan presented the ultimate-in-risk banking culture, which had grown

   rapidly since the Afghan Parliament enacted the banking law in 2004.

               287.   From the mid-2000s through 2016, Afghanistan regularly ranked first or second in

   in global risk ratings, usually vying with Iraq or Somalia, “a trio of failed states in the wrong sort

   of league of their own.”156 A financial services industry observer commented in 2009, “[i]t’s

   little wonder then that being a banker in a state run – at least in rural areas – by heroin barons,

   gangsters and Taliban zealots is a nervy business.”157




   153
         Fareed Zakaria, Terrorism’s Supermarket, Washington Post (May 10, 2010).
   154
         EIU ViewsWire, Afghanistan: Financial Services (Aug. 18, 2006), 2006 WLNR 26662236.
   155
         Id.
   156
     Elliot Wilson, Afghanistan: No Country for Bankers, Euromoney (Sept. 1, 2009), 2009
   WLNR 26664799.
   157
         Id.


                                                     91
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 107 of 606 PageID #: 107




          288.    Afghanistan and Pakistan also featured pervasive criminal monopolies, which the

   Syndicate leveraged to fund operations. From 2008 through 2016, the overlap between

   Syndicate members having monopolistic control over the entire criminal marketplace in their

   areas of operation in Afghanistan and Pakistan, and resulting fusion with terroristic violence,

   meant that risky commercial transactions that enabled criminal activities relating to Afghanistan

   and Pakistan, or facilitated the sale of key bomb precursors ingredients like CAN fertilizer, posed

   a uniquely high risk to enable terrorist violence because it was virtually certain that the end

   customer was either a Syndicate-affiliated terrorist or a criminal organization that directly funded

   the Syndicate through its criminal enterprise by paying a percentage of its criminal profits to the

   Syndicate as “taxes.” For this reason, from 2008 through 2016, each Defendant understood that

   any substantial transnational financial crime involving Afghanistan and/or Pakistan foreseeably

   would financially support, directly or indirectly, attacks by Syndicate terrorists against

   Americans in Afghanistan.

          289.    From 2008 through 2016, the Syndicate’s dominance of al-Qaeda-allied terrorists

   in the underworld in eastern Afghanistan and bordering Pakistan was so complete that it was

   functionally impossible to engage in any illicit transaction, including money laundering,

   narcotics trafficking, or criminal rackets along the Afghan/Pakistan border, or relating to

   products or money flowing out of Afghanistan and Pakistan, without enriching the Syndicate

   because Syndicate members, including but not limited to, the Taliban (including its Haqqani

   Network), D-Company (including Altaf Khanani), and others either ran the criminal enterprise

   themselves, or “taxed” those who did and shared such tax proceeds with the Syndicate.

          290.    Al-Qaeda and Haqqani Network terrorist finance routed to agents, operatives, or

   fronts in Pakistan and Afghanistan directly supported terrorist attacks against Americans in




                                                    92
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 108 of 606 PageID #: 108




   Afghanistan. As al-Qaeda scholar Seth Jones told the Guardian at the time: “Without significant

   funding from abroad, especially the Gulf states, we would be nowhere near the current level of

   Islamist militancy,” estimating that “[w]e’re talking about tens if not hundreds of millions of

   dollars” funneled to the Syndicate from overseas sources in order to support attacks in

   Afghanistan and Pakistan.158 In the same Guardian article, U.S. Undersecretary of State

   Nicholas Burns confirmed that “[t]here’s a lot of financing, money that gets laundered through

   banks that support these terrorist groups,” referencing the Syndicate’s use of bank accounts to

   use laundered money to support terrorist operations.159

               291.   The U.A.E. Defendants operated in a financial services environment in which the

   “cross-pollination of criminality between Afghanistan and Dubai” facilitated financial activity in

   which “billions of dollars” of proceeds from corrupt economic activities were “funneled from

   Afghanistan … to Dubai,” which “outflows” “played a part in … facilitating the resurgence of

   the Taliban.”160 Similar “Pakistan to Dubai” interactions also supported the Syndicate.161

               292.   Al-Qaeda and Haqqani Network terrorist finance routed to agents, operatives, or

   fronts in the U.A.E. directly supported terrorist attacks against Americans in Afghanistan. For

   example, according to Dr. Kimberley L. Thachuk, the Syndicate’s use of transnational criminal

   strategies, banks, and money remitters combined to make Dubai an epicenter of Syndicate

   funding, financing, and logistical activities in direct support of attacks against Americans in




   158
         Guardian, Faith, Charity and the Money Trail.
   159
         Id.
   160
         Id. at 85.
   161
     Timothy L. O’Brien, U.S. Focusing on Dubai as a Terrorist Financial Center, N.Y. Times
   (Oct. 5, 2003).


                                                     93
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 109 of 606 PageID #: 109




   Afghanistan because Syndicate “funds” were “moved” to “Dubai” so that the Syndicate’s

   “criminal cash” was “used to pay for weapons and other needed supplies” to conduct attacks.162

                                   ii.    Al-Qaeda And Haqqani Network Terrorist Logistics

             293.   Afghanistan and Pakistan. Defendants operated in a banking, corporate, and

   governance climate in Afghanistan and Pakistan where it was widely understood that al-Qaeda,

   the Haqqani Network, and other Syndicate members: (1) viewed Afghanistan and Pakistan –

   correctly – as among the most favorable possible environments to obtain explosives and other

   supplies for their bomb-making enterprise; (2) universally found it easy to raise and distribute

   money and purchase bombs and bomb components; and (3) often operated through open and

   obvious fronts when acquiring bomb materials or other goods vital to the bomb campaign.

             294.   Al-Qaeda and Haqqani Network terrorist logistics routed to agents, operatives, or

   fronts in Afghanistan and Pakistan directly supported terrorist attacks against Americans.

             295.   The U.A.E. As it was for some Defendants, the U.A.E. was always a useful

   logistics hub for al-Qaeda and the Haqqani Network because it offered easy access to Russia,

   Europe and the Middle East via land, water, and air, and al-Qaeda and Haqqani Network terrorist

   logisticians, sometimes working with Lashkar-e-Taiba.

             296.   Al-Qaeda and Haqqani Network terrorist logistics routed to the agents, operatives,

   or fronts in U.A.E. directly supported terrorist attacks against Americans in Afghanistan. For

   example, on June 21, 2011, the Treasury Department designated Fazl Rabbi as someone who

   “committed, pose[d] a significant risk of committing, or support[ed] acts of terrorism.”163

   Similarly, in designated Khalil Haqqani as an SDGT, Treasury found that he leveraged activities


   162
         Thachuk, Terrorist Criminal Enterprises, at 15.
   163
      Federal Register (June 28, 2011), https://www.govinfo.gov/content/pkg/FR-2011-06-
   28/pdf/2011-16185.pdf.


                                                    94
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 110 of 606 PageID #: 110




   in Dubai to provide fundraising and logistics support to al-Qaeda and Taliban, including Haqqani

   Network, operations in Afghanistan.164

                      2.     Russia

               297.   Russia was, and is, a global epicenter for money laundering on behalf of violent

   actors, including Syndicate members al-Qaeda and the Haqqani Network (who represent the

   Taliban’s opium interests in Russia). Thus, Russian “dirty money” transactions posed a

   foreseeable risk of aiding al-Qaeda and Taliban (including Haqqani Network) terrorist finance

   and logistics.

               298.   Andrew Rennemo worked as an intelligence analyst at the Treasury Department

   and explained that the Russian financial marketplace served as “one of the world’s largest

   exporters of dirty money,”165 which status it maintained at all relevant times. According to Mr.

   Zarate, the former assistant secretary of the Treasury for terrorist finance:

               Russia had been a center of money laundering and illicit financial activity for
               years, with a baking system unaccustomed to the anti-money-laundering strictures
               of most of the world. The Financial Action Task Force had blacklisted Russia in
               1999 for its lack of anti-money-laundering laws and measures. Organized crime,
               the global arms trade, corruption at the highest levels, and a willingness to do
               business with rogue states made the Russian commercial and financial system a
               problematic intersection of illicit financial flows.166

               299.   When Defendants conducted financial transactions with Russian-related

   counterparties, Defendants knew that they operated in one of the most notorious environments

   for financial crime in the world. As a former American trader who worked in Moscow explained

   to the New Yorker, Russia was “the wild, wild East” because “[i]If you wanted to be competitive,



   164
         Id.
   165
      Andrew Rennemo, Russia’s Crafty Financial Crimes Have Become A Foreign Policy
   Problem, Press Release by Center for the National Interest, States News Service (Apr. 28, 2019).
   166
         Zarate, Treasury’s War, at 159 (emphasis added).


                                                      95
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 111 of 606 PageID #: 111




   you had to do a lot of things that were not done in the developed world, because it was Russia.

   It was a very aggressive sales mentality, which was going on across the board across all the

   Russian banks.”167

            300.   Defendants doing business in Russia also had to contend with two unique – and

   notorious – facts about the Russian financial services marketplace: (1) the Russian Mafia’s

   notorious decades-long service as one of al-Qaeda’s narcotics-related finance agents; and (2) the

   Russian Mafia’s decades-long opium joint venture with most of the Syndicate, which managed

   the Afghanistan-to-Russia Opium Pipeline, also called the northern route, through an OPEC-

   style cartel. As a result of both notorious aspects of Russia’s economy, suspect financial

   transactions relating to Russian customers, banks, or remitters, were known to, and did, pose an

   elevated risk of funding al-Qaeda, the Haqqani Network, and their allies. Plaintiffs briefly

   outline each aspect below.

            301.   Al-Qaeda and Haqqani Network terrorist finance and terrorist logistics routed to

   agents, operatives, or fronts in Russia directly supported terrorist attacks against Americans in

   Afghanistan. For example, according to an unclassified FBI report, the FBI concluded that the

   Russian Mafia served as a key long-standing commercial ally of al-Qaeda and the Taliban in

   Afghanistan by purchasing large amounts of Afghan opium from them and then laundering the

   Syndicate’s resulting profits as their agent, paying them back in guns and laundered money.

                                 i.      Russian Mafia’s Agency Relationship With al-Qaeda

            302.   “Regrettably,” Victor “Bout [was] not an isolated case” and “[t]here [were]

   numerous other similar stories of gun-running ‘former’ Soviet agents … supplying arms to some




   167
         Caesar, Moscow Laundromat (emphasis added).


                                                   96
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 112 of 606 PageID #: 112




   of the world’s worst terrorists.”168 Foremost among them was the Solntsevskaya Group, also

   known as the Solntsevo Group (the “Group”), which was Russia’s largest transnational narco-

   terrorist cartel, routinely committed acts of international terrorism itself.169

             303.   The Group was led by notorious narco-terrorist and Russian Mafia “boss of

   bosses” Semyon Mogilevich, who was publicly described by media outlets as “one of the

   world’s most dangerous terrorists,”170 notoriously nicknamed “the face of Russian organised

   crime,” and the “Brainy Don” because of his reputation for ruthlessness, business prowess, and

   possession of an economics degree. Plaintiffs refer to Solntsevskaya Group and Mogilevich

   collectively as the “Russian Mafia” because they were (and remain) the Russian Mafia.

             304.   At all relevant times, the Russian Mafia was expressly hostile to the United

   States. For example, according to Mr. Unger, Russian Mafia leader “Mogilevich made no secret

   of the contempt he had for the United States” and his view that America was “the enemy.”171

             305.   Beginning no later than the early 1990s, under bin Laden’s personal leadership,

   al-Qaeda and the Taliban (including its Haqqani Network) pursued a close working relationship

   with the Russian Mafia, including Mogilevich. The close partnership between al-Qaeda, the

   Taliban, and the Russian Mafia was the direct result of bin Laden’s Syndicate vision: he



   168
      Patrick Krey, Lords of Chaos: The Kremlin’s Arms Merchants: Moscow’s Merchants of
   Death Arm Terrorist Groups and Foment Violent Anarchy, Fueling the Call for Global Gun
   Control and Expanded UN Powers to Deal with the Chaos, New American (Sept. 14, 2009),
   2009 WLNR 18794639.
   169
       While based in Russia, the Russian Mafia also maintained cells throughout the world and was
   widely known to be among the most powerful, violent, organized, and well-resourced, narco-
   terrorist cartels in the world. Through this global network, the Russian Mafia sometimes works
   with other violent groups if there is mutual benefit to be had.
   170
      Lyndsey Telford, Tape Reveals Slain Journalist Probing Putin Link to Terrorist, Irish
   Independent (Jan. 24, 2015), 2015 WLNR 2357960.
   171
         Craig Unger, House of Trump, House of Putin 108 (Dutton 2d. ed. 2019) (“Unger”).


                                                     97
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 113 of 606 PageID #: 113




   personally oversaw the development of al-Qaeda’s relationship with the Russian Mafia on behalf

   of the Taliban because he reasoned that the Taliban (and by extension, al-Qaeda) could convert

   their control over Afghanistan’s opium market into a reliable source of terrorist finance for al-

   Qaeda and its affiliates, through close partnership with the Russian Mafia.

          306.    From the late 1990s through 2016, al-Qaeda and the Taliban (including its

   Haqqani Network) employed the Russian Mafia as one of their agents that, alongside Khanani

   and the Khanani MLO, managed a substantial portion of the Syndicate’s terrorist finance

   operations each year, including those relating to opium. This strategy accorded with al-Qaeda’s

   reputation for following a “pragmatic” and “corporate” approach to Islamist terrorism; al-Qaeda

   wisely employed both the Russian Mafia and D-Company, augmenting al-Qaeda’s own power

   with the resources, personnel, and financial muscle of the largest narco-terrorist organizations in

   South Asia and the former Soviet Union – the perfect narco-terrorist allies for the Syndicate.

          307.    Yossef Bodansky served as the director of the Congressional Task Force on

   Terrorism and Unconventional Warfare. In his pre-9/11 book, bin Laden, Mr. Bodansky

   presciently warned about the dire looming threat from al-Qaeda, which he attributed, in part, to

   its agent/principal relationship with the Russian Mafia, which allowed al-Qaeda to leverage the

   Russian Mafia’s existing geographies, relationships, competencies, resources, smuggling routes,

   corrupt relationships, and safe houses to kickstart the Syndicate’s growth as a terrorist enterprise:

          bin Laden and the Russian Mafia have established yet another complex money
          laundering operation described by an insider as “an extended and octopus-like
          network” … These funds are used to finance the Taliban [] and a host of
          Islamist terrorist operations. Bin Laden makes a commission on these
          transactions, which is laundered by the Russian mafia … Bin Laden administers
          and manages [the Taliban’s opium profits]—laundering them through the
          Russian Mafia—in return for a commission of between 10 and 15 percent…172

   172
      Yossef Bodansky, Bin Laden: The Man Who Declared War on America 315 (Forum 1999)
   (emphasis added) (“Bodansky, Bin Laden”).


                                                    98
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 114 of 606 PageID #: 114




             308.   The agency relationship described by Mr. Bodansky continued through 2016, as

   Sirajuddin Haqqani and a host of other Syndicate terrorists have carefully tended the

   relationship. Indeed, according to Mr. Zarate, “As [Transnational Criminal Organizations] grow

   more interconnected in ways that transcend national boundaries,” “the ability of such

   [Transnational Criminal Organizations] to provide their infrastructure and expertise to”

   “terrorists” “raises the specter of alliances of convenience and profit aligned dangerous against

   the United States. The reach of the Russia-based organized crime network of Semion

   Mogilevich is a stark example of this point.”173

             309.   The Russian Mafia’s services as al-Qaeda’s and the Haqqani Network’s money

   laundering agent was notorious for decades. For example, in 2002, Mark Galeotti explained that,

   because al-Qaeda’s “underground banking system” was “under serious threat [after 9/11] and

   brokers [were] being deterred from handling their money,” “[t]he Russians [could] and [did]

   offer the services of their own huge and well-established money laundering operations, which

   already deal[t] securely and efficiently with much larger sums than the [Syndicate] terrorists

   need to move.”174

             310.   From the late 1990s through 2016, public statements from U.S. and Russian

   government officials, and regular media reports, documented allegations that the Russian Mafia,

   including but not limited to Mogilevich, served as an agent of al-Qaeda and the Taliban

   (including its Haqqani Network) for financial crime purposes, while also being partners in the

   Syndicate-Russian Mafia Opium Joint Venture. These reports alerted Defendants to the Russian




   173
         Zarate, Treasury’s War, at 379.
   174
         Mark Galeotti, Crime Pays, World Today (Aug./Sept. 2002), 2002 WLNR 16294207.


                                                      99
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 115 of 606 PageID #: 115




   Mafia’s agency relationship with al-Qaeda and the foreseeable risk that Russian Mafia-related

   laundering transactions were laundering al-Qaeda money.

                                  ii.     The Syndicate-Russian Mafia Opium Joint Venture

          311.    Beginning in the late 1990s, al-Qaeda, the Taliban, and the Russian Mafia

   intensified their close working relationship into, effectively, a terrorist joint venture through

   which a two-way “Afghanistan-to-Russia Opium Pipeline” flows. From Afghanistan-to-Russia,

   Afghan opium flowed from the Taliban in Afghanistan and Pakistan to the Russian Mafia in

   Russia and other parts of Central Asia and once received, through the Russian Mafia, to Europe,

   Africa, and the Middle East; from Russia-to-Afghanistan, Russian weapons, explosives, and

   freshly laundered money (usually converted from other currencies into U.S. Dollars) flowed back

   to al-Qaeda and the Taliban.

          312.    The purpose of the Syndicate-Russian Mafia Opium Joint Venture was to

   maximize each JV member’s profits from their control over the “pipeline” that turns Afghan

   poppy and Pakistani-sourced chemicals into refined heroin, then smuggles the product through

   Central Asia into Russia, where the Russian Mafia controls global distribution and, as al-Qaeda’s

   and the Taliban’s agent, helps “wash” the resulting heroin profits on their behalf. In short, it was

   to manage and maintain every aspect of this “Afghanistan-to-Russia Opium Pipeline.”

          313.    Under this Joint Venture arrangement, al-Qaeda and the Haqqani Network act as

   agents for the Quetta Shura Taliban, and coordinated the Russian Mafia’s money laundering

   activities on the Taliban’s behalf; for such services, al-Qaeda and the Haqqani Network earned

   commissions in addition to aiding the Syndicate’s cause. Plaintiffs refer to this deal as the

   “Syndicate-Russian Mafia Opium Joint Venture,” “Joint Venture,” or “JV”.

          314.    From 9/11 through the present, the Syndicate has maintained an exclusive or

   nearly exclusive opium supply relationship with the Russian Mafia, who trust one another after


                                                    100
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 116 of 606 PageID #: 116




   decades of close partnership. Moreover, the Taliban and Russian Mafia are bonded by the

   practical reality that, of the world’s major opium-growing regions, Afghanistan offers – by far –

   the closest and most secure smuggling route to Russia and, through Russia, to the rest of Central

   Asia, Europe, and the Middle East. As a result, al-Qaeda, the Taliban, and the Russian Mafia

   have found it in their own mutual interest to pursue a decades-long joint venture to manage and

   regulate the world’s opium trade, playing much the same role as OPEC does with oil.

          315.    From 9/11 through the present, approximately ninety-five percent (95%) of all

   opium sold in Russia, Central Asia, the Middle East, and Europe flowed through the same

   pipeline: from the Taliban (who grew it), then to al-Qaeda and the Haqqani Network (who

   worked with Syndicate members and al-Qaeda affiliates like D-Company to export it), then to

   the Syndicate’s long-standing joint venture partners in the Russian Mafia (who took it to the

   world market and helped launder the resulting proceeds).

          316.    In March 2009, Russian Federal Drug Control Service Director Viktor Ivanov

   publicly stated that: (1) “Afghanistan [] produce[d] 95% of the opium in the world”; and (2)

   “[d]rug trafficking from Afghanistan seriously affect[ed] Russia” because approximately “90%

   of Russian drug addicts use[d] heroin compared to just 10% in European countries.”175

          317.    The Russian Mafia, al-Qaeda and the Taliban (including its Haqqani Network)

   pursued their Joint Venture under the leadership of Mogilevich, bin Laden, and Jalaluddin

   Haqqani (and later Sirajuddin Haqqani), respectively, each of whom personally supported the JV

   as a key strategy for their respective organizations.




   175
     Interfax Russia & CIS Military Newswire, Afghan Drugs Problem Has No Military Solution –
   FSKN Chief (Mar. 24, 2009).


                                                   101
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 117 of 606 PageID #: 117




          318.    From the late 1990s through 2016, media reports regularly documented

   allegations that the Russian Mafia, including but not limited to Mogilevich, served as an agent of

   al-Qaeda and the Taliban (including its Haqqani Network) for financial crime purposes, while

   also being partners in the Syndicate-Russian Mafia Opium Joint Venture.

                  3.      Cyprus

          319.    Cyprus was, and is, a global epicenter for money laundering on behalf of al-

   Qaeda, the Haqqani Network, Lashkar-e-Taiba, and other Syndicate allies. Al-Qaeda has long

   relied upon Cyprus as a key financial and logistical hub for al-Qaeda and its affiliates, including

   its Haqqani Network and Lashkar-e-Taiba.

          320.     Al-Qaeda operatives have confirmed the terrorist group’s use of Cyprus as a

   geography for planning and logistical purposes and Cyprus-related companies, banks, and

   remitters as a cog in al-Qaeda and its allies’ financial networks. Al-Qaeda operatives have also

   conducted, or attempted to conduct, terrorist attacks from Cyprus and within Cyprus.

          321.    Geographically, Cyprus was, and is, almost perfectly situated to be equidistant to

   nearly every major theater in which al-Qaeda, the Haqqani Network, and Lashkar-e-Taiba

   operated and targeted Americans. From Cyprus, these groups’ agents and operatives could

   easily travel, ship goods, or send money to Afghanistan, Pakistan, the U.A.E., Europe, or any

   other location worldwide that al-Qaeda, the Haqqani Network, and Lashkar-e-Taiba leveraged to

   support the Syndicate’s attacks in Afghanistan.

          322.    In addition to Cyprus’s ideal location (from al-Qaeda’s and the Haqqani

   Network’s perspective), and notoriously lax anti-money-laundering/counter-terrorist-finance

   environment, al-Qaeda and the Haqqani Network preferred Cyprus as an operational, financial,

   and logistical hub for another reason: Cyprus’s large diasporas from Afghanistan, Pakistan, and

   other key geographies.


                                                   102
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 118 of 606 PageID #: 118




          323.    Al-Qaeda’s terrorist playbook emphasizes locating terrorist cells within the

   diaspora of countries from which al-Qaeda and its affiliates draw most of their members because

   such geographies afforded natural “cover” to al-Qaeda and Haqqani Network cells operating

   there, and provided a ready-made community of targets (i.e., the members of the diaspora who

   reside in the overseas geography in question) whom the terrorist could attempt to recruit and,

   failing that, “tax” as part of al-Qaeda and the Haqqani Network’s strategy to use criminal rackets

   to fund the terrorist campaign against Americans in Afghanistan.

          324.    Al-Qaeda and the Haqqani Network also had a significant intelligence need for a

   large presence in Cyprus: it was a key hub for many of their Afghan and Pakistani enemies,

   including Afghan groups that opposed al-Qaeda and the Taliban. Al-Qaeda and the Haqqani

   Network have always hewed to a “keep your friends close, but your enemies closer” strategy

   that, in particular, emphasized infiltrating their opponents’ organizations and geographies for

   intelligence purposes and to “turn” people to their cause.

          325.    Al-Qaeda and Haqqani Network terrorist finance and terrorist logistics routed to

   agents, operatives, or fronts in Cyprus directly supported terrorist attacks against Americans in

   Afghanistan. For example, when the Treasury Department invoked its so-called “Section 311”

   powers under the Patriot Act for the first time in 2004, doing so to shut down First Merchant

   Bank in Cyprus, which the Treasury Department publicly announced had laundered narcotics

   money for terrorists; in response, commentators credited Treasury’s decision to media coverage

   that raised awareness that al-Qaeda was known to be using Cyprus to launder money to support

   terrorist attacks against Americans in Afghanistan.

                  4.      Germany

          326.    For decades, al-Qaeda and its allies have relied upon Germany as a key geography

   to support terrorism worldwide.


                                                   103
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 119 of 606 PageID #: 119




             327.   Within weeks of 9/11, the U.S. government and virtually every media outlet in the

   world had reported that al-Qaeda maintained a web of German associates, bank accounts, and

   front companies, which al-Qaeda had used to support several 9/11 hijackers. Most infamously, it

   was widely known throughout the world in the aftermath of 9/11 that lead hijacker Mohamed

   Atta had resided in Hamburg, Germany prior to the attack, where he maintained a “no show” job

   with a fake German company and used German banks.

             328.   Responding to President Bush’s call to action by foreign banks against terrorist

   finance, including Deutsche Bank, then-German Chancellor Gerhard Schroeder publicly backed

   up the American request, and called on banks and remitters to do whatever they could to interdict

   terrorist finance in Germany that benefited al-Qaeda and its affiliates, stating:

             I understand that many people equate bank secrecy with the Magna Carta of
             internal security, but that's not the case. … He who wants to fight money
             laundering and dry out the financing sources of international terrorism –
             something we have to do – must talk about how to get at these finance sources.176

             329.   Al-Qaeda, and the Haqqani Network, both used Germany as a hub for finance and

   logistics From 2001 through 2016. By 2008, “Germany ha[d] served as the base of operations

   for some of the [deadliest] terrorists associated with al Qaeda,”177 which role has endured since.

             330.   Al-Qaeda and Haqqani Network terrorist finance and terrorist logistics routed to

   agents, operatives, or fronts in Germany directly supported terrorist attacks against Americans in

   Afghanistan. For example, Coalition special forces found direct evidence that a joint al-Qaeda

   and Haqqani Network cell operating in Germany (i.e., the Azizi Cell) directly funded the

   operations of joint al-Qaeda-Haqqani Network-Lashkar-e-Taiba cells in Afghanistan.




   176
         Stephen Graham, German Probe Focuses on Finances, AP Online (Sept. 26, 2001).
   177
         Gurulé, Unfunding Terror, at 80.


                                                    104
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 120 of 606 PageID #: 120




                  5.        Estonia

          331.    Estonia bordered Russia, sat on the “northern route” of the Afghanistan-to-Russia

   Opium Pipeline, and was a vital geography for al-Qaeda and the Haqqani Network in Europe.

          332.    Befitting Estonia’s status as a critical geography for al-Qaeda’s and the Haqqani

   Network’s drugs, arms, and money pipeline, both groups operated cells there at all times.

          333.    Given Estonia’s importance to the Afghanistan-to-Russia Opium Pipeline,

   Defendants knew that transactions raising a risk of financial crimes like money laundering also

   foreseeably risked aiding al-Qaeda and the Haqqani Network. For example, due diligence

   publications regularly alerted Defendants to the significant presence of Islamist terrorist cells and

   operations in Estonia.

          334.    Al-Qaeda and Haqqani Network terrorist finance and terrorist logistics routed to

   agents, operatives, or fronts in Estonia directly supported terrorist attacks against Americans in

   Afghanistan. For example, in 2019, Estonia extradited Haji Abdul Satar Abdul Manaf, who was

   a Haqqani Network operative who led a cell in Estonia that, among other things, helped manage

   the Syndicate’s narco-trafficking operations to fund attacks against Americans in Afghanistan.

          C.      From 2011 Through 2016, Al-Qaeda And The Haqqani Network Relied
                  Upon Fatima And Pakarab CAN Fertilizer To Source The Explosives Used
                  In Nearly All CAN Fertilizer Bomb Attacks Against Americans

                  1.        CAN Fertilizer Bombs Made With Fatima And Pakarab CAN
                            Fertilizer Caused 90 Percent Of American Casualties In Afghanistan

          335.    Like other terrorist groups, the Syndicate substantially adapted its bombing tactics

   in direct response to lessons learned by al-Qaeda and its allies in Afghanistan. In 2008, the

   Syndicate began dramatically increasing its emphasis on the use of ammonium nitrate bombs

   derived from CAN fertilizer, often called “CAN fertilizer bombs,” which is a long-standing

   signature al-Qaeda bomb design. While associated with suicide truck bombs, al-Qaeda also used



                                                   105
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 121 of 606 PageID #: 121




   CAN fertilizer to make large anti-armor IEDs, small anti-personnel IEDs, suicide vests, and all

   other manners of suicide vehicle-borne-IEDs (“suicide VBIEDs”).

               336.   The Syndicate’s increased emphasis on CAN fertilizer bombs as a

   countermeasure to U.S. efforts to protect Americans in Afghanistan during the Surge was

   essential to its ability to execute bomb attacks against Americans in Afghanistan after 2008.

               337.   When “American military fatalities in Afghanistan doubled in 2009” “perhaps the

   strongest force driving the Taliban’s ability to inflict mounting casualties” “[was] its use of crude

   but powerful roadside bombs” “made of [CAN] -- fertilizer bombs, in essence, but of a size

   unseen before 2009, and now commonly ranging up to 1,000 pounds, big enough to flip a heavy

   armored vehicle like a toy.”178 “[T]hese” CAN fertilizer bombs “proved to be ‘the surface-to-air

   missile of this war,’ as a senior intelligence official” explained, “a rueful reference to the weapon

   that helped” the “mujahedin” “drive the Soviet military out of Afghanistan in 1989.”179

               338.   By 2007, “deadly fertiliser bombs” had been “used by terrorists worldwide” and

   “ha[d] prove[n] their deadly effectiveness in a series of horrific terror attacks.”180 In this “new

   age of Islamist terrorism” after the Syndicate’s rebirth in the mid-2000s, “ammonium nitrate

   fertilizer” bombs became “an al Qaida trademark” and the Syndicate’s “desire to cause

   maximum loss of life mean[t] the fertiliser bomb’s true capacity for carnage ha[d] become

   horribly apparent” to observers, including each Defendant.181


   178
      Laura King, War Toll Likely to Get Even Worse; U.S. Troop Fatalities in Afghanistan
   Doubled to 318 Last Year. The Taliban’s Bomb Tactics were a Big Factor, L.A. Times (Jan. 1,
   2010), 2010 WLNR 32019. CAN is sometimes referred to simply as “ammonium nitrate” and
   Plaintiffs refer to ammonium nitrate as “CAN” for efficiency’s sake.
   179
         Id.
   180
      David Barrett, Deadly Fertiliser Bombs Used By Terrorists Worldwide, PA News (Apr. 30,
   2007).
   181
         Id.


                                                    106
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 122 of 606 PageID #: 122




            339.   CAN fertilizer bombs derived from Fatima and Pakarab CAN fertilizer were the

   Syndicate’s single most effective weapon for killing and maiming Americans in Afghanistan and

   countering the most advanced American armored vehicles. JIEDDO concluded that “[a] 110-

   pound bag of [CAN], a common fertilizer produced in Pakistan,” exclusively made and sold by

   Fatima and Pakarab, “can produce 82 pounds of explosives, enough to destroy an armored truck

   or 10 smaller bombs targeting troops on foot.”182 As one analyst observed:

            None of the existing technology, to the chagrin of U.S. commanders, has been
            able to crack the toughest nut of the war on IEDs: bombs made of [CAN]
            fertilizer. Lacking enough metal content to make them detectable by traditional
            sensors, these explosives have been the bane of U.S. forces. Soldiers have
            dubbed these large bombs ‘Buffalo killers’ because they can destroy a heavily
            armored Buffalo mine-protected truck [also known as an “MRAP”]. Barbero has
            estimated that the majority of [IED]s in Afghanistan are made from [CAN].183

            340.   For that reason, following al-Qaeda’s instruction, led by al-Qaeda operatives,

   using al-Qaeda’s playbook, and deploying CAN fertilizer bombs built by al-Qaeda bombmakers,

   Syndicate operatives relied upon Fatima and Pakarab fertilizers to wage a devastating CAN

   fertilizer bomb campaign against Americans in Afghanistan from 2008 through 2016. This

   required a “whole-of-Syndicate” effort directly analogous to the countervailing “whole-of-

   government” effort within the U.S. government to defeat the CAN fertilizer bomb threat. For the

   Syndicate, this meant that al-Qaeda and Haqqani Network operatives and agents at every level

   prioritized the development and growth of each aspect of al-Qaeda and Haqqani Network

   transnational terrorist finance and logistics activities that could aid the Syndicate’s CAN

   fertilizer bomb attacks against Americans in Afghanistan, including fundraising, money transfer,




   182
         Tom Vanden Brook, Drones Fight IEDs in Afghanistan, USA Today (July 15, 2012).
   183
     Sandra I. Erwin, Buried Bombs Can Be Destroyed, But Not Defeated, National Defense,
   Volume 96; Issue 698 (Jan. 2012), 2012 WLNR 30107637.


                                                   107
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 123 of 606 PageID #: 123




   purchasing, transportation, smuggling, chemical refinement (i.e., “cooking”), bomb construction,

   terrorist training, and terrorist deployment.

               341.   From 2009 through 2016, al-Qaeda and the Haqqani Network’s combined efforts

   enabled them to sustain a devastating nationwide CAN fertilizer bomb campaign against

   Americans in Afghanistan. By 2009, “[a]mmonium nitrate fertilizer bombs [had] become the

   deadliest weapons used by” Syndicate terrorists to attack Americans.184 By 2011, “[t]he use of

   roadside bombs in Afghanistan” “ha[d] reached record highs, with US forces struggling to cut

   off the flow of Pakistani fertilizer used to build them.”185 As JIEDDO explained, “[d]uring the

   last 12 months, an unending supply of [CAN], originating almost exclusively from Pakistan, has

   been used to produce IEDs in Afghanistan despite a countrywide ban” on importing CAN

   fertilizer.186 As UPI reported the views of JIEDDO, “Afghan insurgents rel[ied] on fertilizer

   bombs,” with Fatima and Pakarab CAN fertilizer being “the low-cost choice for [IED] makers

   in Afghanistan.”187 This trend continued through 2016.

               342.   In a 2011 speech to the Institute of Land Warfare, the head of JIEDDO, LTG

   Barbero amplified the U.S. government’s concerns and stated, among other things, that JIEDDO

   had concluded that: (1) about “80 percent of IEDs in Afghanistan [were] made from [CAN]

   coming from fertilizer plants in Pakistan, specifically, two factories in Pakistan” (alluding to

   Fatima and Pakarab), where “[e]ach factory produce[d] as much as 400,000 metric tons of the

   material each year”; (2) under Fatima’s and Pakarab’s practices, “about one percent” of their


   184
         UPI NewsTrack, Huge Bomb-Making Operation Found (Nov. 11, 2009).
   185
     Mathieu Rabechault, In Afghanistan, More and More Roadside Bombs, Agence France Presse
   English Wire (Aug. 7, 2011).
   186
         Id.
   187
      UPI NewsTrack, Afghan Insurgents Rely on Fertlizer Bombs (Nov. 26, 2011) (emphasis
   added).


                                                    108
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 124 of 606 PageID #: 124




   CAN fertilizer was transferred “to insurgents,” who “easily turned” the CAN fertilizer “into

   inexpensive explosives”; and (3) about “90 percent of [U.S.] casualties in Afghanistan” came

   “from ammonium nitrate explosive” derived from Fatima and Pakarab CAN fertilizer.188

          343.    By January 2012, the U.S. government had “decided to clean-up the major source

   of fertilizer CAN” by going after Fatima and Pakarab fertilizer production because the U.S.

   military was “capturing hundreds of thousands of pounds of CAN, much of it in original bags”

   and there was “no doubt [it was] all coming from Pakistan.”189

                  2.     In 2011, Fatima And Pakarab Joined The Rogue ISI Conspiracy With
                         The Haqqani Network To Support And Supply The Syndicate’s CAN
                         Fertilizer Bomb Campaign Against Americans in Afghanistan

          344.    Al-Qaeda’s CAN fertilizer bomb campaign depended upon the close cooperation

   of one of the Syndicate’s most notorious Pakistani corporate sponsors, the related CAN fertilizer

   manufacturers Fatima Fertilizer Company Limited (“Fatima”) and Pakarab Fertilizers Limited

   (“Pakarab”). The following 24 paragraphs of this Complaint provide relevant historical context.

          345.    Pakarab was a fully integrated producer, manufacturer, and distributor of CAN

   fertilizer and subsidiary of Fatima. Like Pakarab, Fatima was a fully integrated producer,

   manufacturer, and distributor of CAN fertilizer. Plaintiffs collectively refer to any CAN




   188
      C. Todd Lopez, JIEDDO Working to Reverse Trend for Larger IEDs in Afghanistan, Army
   News Service (Nov. 10, 2011) (emphasis added). The casualty percentage (90%) is higher than
   the IED percentage (80%) because fertilizer bombs derived from CAN fertilizer were the most
   devastating weapon in the Syndicate’s arsenal, and uniquely capable of countering American
   protective measures, even the most heavily armored U.S. vehicles.
   189
     Asian News International, US Look to Crackdown Source of Pakistani Fertilizer CAN
   Explosive (Jan. 11, 2012), 2012 WLNR 665399.


                                                  109
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 125 of 606 PageID #: 125




   fertilizers manufactured, sold, and/or distributed by Fatima and/or Pakarab from 2001 through

   2016 as “Fatima Group CAN Fertilizer.”190

          346.    Both companies were in high-risk Haqqani Network geographies in Pakistan.

   Pakarab was headquartered in Multan, Pakistan, in Punjab Province, a Syndicate stronghold

   effectively controlled or contested by al-Qaeda, the Afghan Taliban, and the Haqqani Network.

   Fatima was headquartered in Lahore, Pakistan, which has at all times been widely understood as

   a notorious Syndicate area of operations in Punjab Province that was contested by elements of al-

   Qaeda, the Afghan Taliban, and the Haqqani Network.

          347.    At all relevant times, Fatima and Pakarab had an effective monopoly on the

   supply of CAN fertilizer to the Syndicate.

          348.    Fatima and Pakarab were not normal companies whose goods were unforeseeably

   diverted by terrorists. Instead, they were the Haqqani Network’s open corporate co-conspirators,

   and were widely understood to have joined rogue ISI’s conspiracy to help the Haqqani Network

   commit attacks against Americans in Afghanistan.

          349.    Fatima and Pakarab regularly sold large amounts of fertilizer to known Haqqani

   Network fronts, including bulk purchases of Fatima Group CAN fertilizer financed from

   Syndicate fronts from the U.A.E. As a result, across their transactions, Fatima and Pakarab

   facilitated the sale of Fatima Group CAN Fertilizer to Haqqani Network agents and operatives



   190
      Fatima and Pakarab are widely understood to be part of the same corporate family, known as
   the “Fatima Group” and for good reason: Fatima and Pakarab share common management,
   supply chains, sales channels, customer bases, and back-office functions. At all relevant times,
   Fatima Group has portrayed Pakarab as one of the “star performers” of the Group, and Fatima
   Group explicitly modeled Fatima CAN fertilizer practices, strategies, and products off what
   Pakarab did. If Pakarab engaged in a practice or relationship, one can assume Fatima did as
   well, and the flip side is also correct: if Fatima had a practice or relationship, one can assume
   Pakarab engaged in the same.


                                                  110
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 126 of 606 PageID #: 126




   worth more than one million U.S. Dollars each year from 2008 through 2016, which supplied the

   precursor explosives for between 100,000 to 300,000 al-Qaeda CAN fertilizer bombs used to kill

   or injure thousands of Americans in Afghanistan per year.

          350.    Fatima and Pakarab supplied thousands of pounds of Fatima Group CAN

   Fertilizer to Haqqani Network agents, operatives, and fronts each month from 2001 through

   2016. At the prevailing rate of Syndicate logistics flow – i.e., that the Haqqani Network

   accounted for about one percent (1%) of all Fatima and Pakarab sales of Fatima Group CAN

   Fertilizer – Fatima and Pakarab collectively supplied thousands of tons of fertilizer each year to

   the Haqqani Network for the Syndicate’s use in its bombing campaign against Americans in

   Afghanistan, and at least several hundred pounds each day.

          351.    For example, at the 1% Syndicate use rate, in 2013 and 2014, Fatima and Pakarab

   collectively supplied more than 4,000 tons of Fatima Group CAN fertilizer to Haqqani Network

   agents, operatives, or fronts each year. Pakarab supplied roughly comparable volumes of Fatima

   Group CAN Fertilizer every year from 2001 through 2011 (when Pakarab had a monopoly on the

   manufacture of CAN fertilizer in Afghanistan), and Fatima and Pakarab collectively supplied

   roughly comparable volumes of Fatima Group CAN Fertilizer every year from 2010 (when

   Fatima’s CAN fertilizer facility came online) through 2016.

          352.    Fatima’s and Pakarab’s open support for the Haqqani Network alarmed the entire

   U.S. government. From 2010 through 2013, a series of high-profile U.S. government-related

   events confirmed the U.S. government’s deep concerns about Fatima’s and Pakarab’s deliberate

   support for the Haqqani Network’s CAN fertilizer bomb pipeline.

          353.    In August 2011, a major international incident between Afghanistan and Pakistan,

   which garnered widespread media coverage, highlighted both the key role played by Fatima




                                                   111
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 127 of 606 PageID #: 127




   Group CAN Fertilizer in Syndicate bomb attacks and Pakarab’s and Fatima’s complete refusal to

   do anything about it. In sum and substance, Coalition forces seized a large cache of indisputable

   evidence of Fatima and Pakarab CAN fertilizer supply to Syndicate bombmakers, Afghan

   officials demanded Fatima and Pakarab do more to halt the flow of explosives to terrorists, and

   the latter publicly refused to do so.

          354.    On November 26, 2011, a NATO strike against a Pakistani outpost (inside the

   Pakistani side of the border) killed 24 Pakistani soldiers; in response, Pakistani fertilizer

   companies Fatima and Pakarab cut-off even their lip service claims of opposing the Syndicate

   and ceased engaging with the U.S. government. Fatima’s and Pakarab’s decision to do so was

   promptly reported by the media.

          355.    Within days of November 26, 2011, Fatima and Pakarab entered rogue ISI’s

   conspiracy with the Haqqani Network by, among other things, cutting off all direct contact with

   the U.S. government, including JIEDDO, and all efforts to prevent terrorist interdiction, which

   Fatima and Pakarab were widely understood to have done to curry favor with rogue ISI. When

   they did so, Fatima and Pakarab relayed the message to the U.S. government that all future

   communications with Fatima or Pakarab must be routed through the Pakistani Foreign Ministry.

   Both developments were promptly reported by the media.

          356.    The deterioration of U.S.-Pakistan military and intelligence relations after the

   November 2011 border incident continued at all relevant times to this case, and as a result, “the

   U.S. [] found it more difficult to get Pakistan to better control the fertilizer shipments that flow

   illegally into Afghanistan.”191 Specifically, Fatima and Pakarab refused to do anything positive,



   191
      Jen Judson, Official: Pakistani Border Incident has Deterred Progress on Countering IEDs,
   Inside the Army (Jan. 28, 2013), 2013 WLNR 2201966.


                                                    112
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 128 of 606 PageID #: 128




   or even merely mimicked the “cooperation lip service” they had previously performed before

   JIEDDO prior to November 26, 2011.

               357.   Throughout 2012, a series of high-profile U.S. government-related events,

   including Congressional testimony and JIEDDO statements, regularly emphasized that Fatima

   and Pakarab continued to provide the key explosives for nearly all Syndicate IEDs and suicide

   bombs in Afghanistan and had refused to do – literally – anything about it.192

               358.   On January 27, 2013, the Washington Times reported that Fatima was seeking to

   “expand in [the] U.S., but balk[ing] on controlling bomb materials”:

               Fatima’s fertilizer components are used by terrorists in Pakistan and
               Afghanistan to build homemade bombs -- the No. 1 killer of American service
               members in Afghanistan. Fatima’s corporate leaders know this is happening,
               based on communications with [] administration officials and military leaders, but
               they have refused pleas to control the flow, according to [Barbero].193

   In the same article, the Washington Times reported that, “[a]s Fatima stiff-arm[ed] the U.S.

   military, it [was] eyeing a chunk of the American fertilizer market,” and simultaneously planned

   a new investment in an American fertilizer plant in Indiana through a new Fatima Group

   subsidiary called Midwest Fertilizer Corporation.194

               359.   On January 29, 2013, the Washington Times reported that American officials who

   focused on the IED threat had concluded that: (1) Fatima’s and Pakarab’s deliberate practices




   192
       From November 26, 2011, through on or about at least the Spring of 2014, Fatima and
   Pakarab (a) refused to take any material steps to prevent logistics flow while (b) refusing to even
   speak with the U.S. or even (c) publicly acknowledge the key role that their own products played
   in the bombing. During this time, the only thing they did was continue to deliberately supply the
   Syndicate with nearly all its explosives, openly defying the United States while doing so. For
   this reason, Plaintiffs use the word “literally.”
   193
     Rowan Scarborough, Pakistani Fertilizer Firm to Expand in U.S., But Balks on Controlling
   Bomb Materials, Washington Times (Jan. 27, 2013) (emphasis added), 2013 WLNR 2165350.
   194
         Id.


                                                      113
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 129 of 606 PageID #: 129




   relating to Fatima Group CAN Fertilizer were indispensable to the Haqqani Network’s ability to

   commit CAN fertilizer bomb attacks at scale against Americans in Afghanistan; and (2) Fatima

   and Pakarab were intentionally aiding the Haqqani Network by obstructing U.S. efforts to reduce

   the CAN fertilizer bomb threat in order to side with rogue ISI, who opposed any changes to

   Fatima’s and Pakarab’s CAN fertilizer practices:

               [Former Congressman Duncan Hunter] served as Marine officer in Iraq and
               Afghanistan says “it’s crazy” that [Fatima] is being allowed to build a plant in the
               U.S. while it rejects Pentagon pleas to control its products that end up in
               homemade bombs that kill American troops, adding that Fatima was a “pseudo-
               terrorist organization that won’t comply with any of our requests.”
               “We’re not asking them to curtail production,” said Mr. Hunter, who has been a
               leading voice in Congress in urging the Pentagon to come up with ways to defeat
               homemade bombs. “At the very least, they should have to comply with our
               requests for them to manage their [CAN] better. Fatima controls it all,” Mr.
               Hunter said, adding that Fatima’s assistance could drastically reduce the number
               of homemade bombs in Afghanistan. … Mr. Hunter also said that Fatima is
               influenced by “bad actors in Pakistan who want to create havoc and chaos in
               Afghanistan and thwart the U.S. efforts there…”195

               360.   The Washington Times corroborated Congressman Hunter’s Fatima allegations

   and reported that “a government source who was informed of the congressman’s comments said

   there is evidence that Pakistan’s [ISI] is influencing Fatima,” “[e]lements of ISI helped establish

   the Taliban in Afghanistan as an ally on its western front, and U.S. intelligence sources say ISI

   continues to help the insurgents to this day in their war with the elected government in Kabul,”

   and that American efforts to get Fatima to reduce the Syndicate’s CAN fertilizer bomb supply

   had been “cut off by the Pakistan government.”196 On information and belief, every Defendant

   was aware of the above Washington Times reporting.



   195
      Rowen Scarborough, Subsidy for Fertilizer Company ‘Crazy’; Marine Vet Can’t Fathom a
   Deal with Pakistanis Tied to Roadside Bombs, Washington Times (Jan. 29, 2013) (emphasis
   added), 2013 WLNR 2278333.
   196
         Id.


                                                       114
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 130 of 606 PageID #: 130




          361.    Rogue elements of the Pakistani ISI participated in the Haqqani Network’s

   conspiracy to attack Americans in Afghanistan in violation of Pakistani law and policy. Fatima

   and Pakarab obeyed a request from rogue ISI to obstruct the U.S. efforts to change Fatima’s and

   Pakarab’s deliberate support of the Haqqani Network’s CAN fertilizer bomb infrastructure,

   including Fatima’s and Pakarab’s multi-year refusal to use any colorful dyes, in order to support

   rogue ISI’s objectives in Afghanistan, which included maximizing the flow of CAN fertilizer

   bombs to Syndicate terrorists targeting Americans there.

          362.    Fatima and Pakarab joined a conspiracy to commit terrorist attacks against

   Americans. Fatima’s and Pakarab’s terrorist customers from the Haqqani Network were

   engaged in an ongoing conspiracy with rogue ISI, and carried out through the Syndicate, to

   commit CAN fertilizer bomb attacks against Americans. This conspiracy was purposely directed

   at the United States because the Haqqani Network sought to kill Americans specifically, and to

   undermine U.S. foreign policy interests by targeting U.S. soldiers and civilians abroad. Indeed,

   U.S. officials have long accused rogue ISI of supporting terrorist groups in Afghanistan.

          363.    To achieve the objective of that conspiracy, the conspirators sought to ensure that

   the Haqqani Network maintained a reliable pipeline of Fatima Group CAN Fertilizer that it could

   then provide to the joint Haqqani/al-Qaeda bomb factories in Pakistan (where al-Qaeda

   bombmakers manufactured the Syndicate’s CAN fertilizer bombs) could arm al-Qaeda’s

   nationwide CAN fertilizer bomb campaign targeting Americans in Afghanistan.

          364.    Fatima’s and Pakarab’s terrorist customers and enablers were themselves

   members of the conspiracy because they were either members of the Syndicate (as in the case of

   the Haqqani Network agents, operatives, and fronts who purchased Fatima Group CAN

   Fertilizer) or rogue ISI officials who conspired with the Haqqani Network to support its logistics,




                                                  115
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 131 of 606 PageID #: 131




   operations, and objective (as in the case of rogue ISI operatives who encouraged Fatima and

   Pakarab to refuse to substantially change their intentional sales and product practices in order to

   maintain the free flowing supply of Fatima Group CAN Fertilizer to the Syndicate). By agreeing

   to help these conspirators acquire bomb parts and ensure stable bomb component logistics flow

   for the Haqqani Network by supplying Fatima Group CAN Fertilizer while knowing that al-

   Qaeda and Haqqani Network terrorists would use the goods and services to prepare the CAN

   fertilizer bombs, Fatima and Pakarab joined the Haqqani Network’s conspiracy with rogue ISI.

          365.    Plaintiffs’ allegations track the contemporaneous views of U.S. government

   personnel familiar with Fatima and Pakarab. U.S. government officials, including American

   military personnel, have concluded that, when Fatima and Pakarab refused to make the

   reasonable product integrity and security reforms, including changing product color, requested

   by JIEDDO, Fatima and Pakarab entered the Haqqani Network’s conspiracy by supporting rogue

   ISI’s efforts to help Haqqani Network to target Americans in Afghanistan with CAN fertilizer

   bomb attacks. This conclusion was widely shared within the U.S. government, including by

   JIEDDO leadership, and intelligence professionals in the Executive and Legislative branches.

          366.    Moreover, Members of Congress, along with U.S. military personnel, repeatedly,

   and publicly, expressed their real-time conclusions that: (1) Fatima and Pakarab understood that

   Taliban and Haqqani Network operatives, agents, and/or fronts were purchasing Fatima Group

   CAN Fertilizer; and (2) Fatima and Pakarab recklessly supplied the Syndicate’s CAN fertilizer

   pipeline specifically to curry favor with rogue elements of Pakistani ISI by joining the terrorists’

   conspiracy and facilitating the uninterrupted flow of weapons to the rogue ISI’s preferred

   terrorists, the Taliban and the Haqqani Network.




                                                   116
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 132 of 606 PageID #: 132




          367.    A September 21, 2012 exchange between LTG Barbero and a Member reflected

   the widespread U.S. government view at the time that Fatima and Pakarab had joined rogue ISI’s

   conspiracy with the Haqqani Network to support CAN fertilizer bomb attacks against Americans

   in Afghanistan, including the specific view that Fatima’s and Pakarab’s refusal to dye their

   Fatima Group CAN Fertilizer was the give-away that Fatima and Pakarab intended to support

   rogue ISI’s conspiracy to aid Haqqani Network CAN fertilizer bomb attacks:

          MEMBER: … [W]e’re all extremely frustrated … this has been going on for
          years… we [] keep going back to Pakistan, our supposed ally …what kind of ally
          would allow for this type of activity to continue? … [I]f we had two major
          fertilizer plants in Mexico and people were smuggling across … a small amount
          of fertilizer and killing five U.S. citizens a week, … we’d do something about it
          pretty quickly. And here we are today losing approximately five U.S. servicemen
          a week or having horrific injuries, and it seems that we’re unable to do anything
          with our supposed ally in Pakistan. … The Haqqani Network continues to
          operate with impunity … especially in some of the border regions … Without any
          assistance with the Pakistanis at all, how are we going to deal with this?
          BARBERO: Congressman, I can’t argue with anything you said. …
          MEMBER: … [A]ny aid and assistance that we have to Pakistan should be
          directly tied to their assistance to us to help us deal with these fertilizer plants in
          Pakistan and especially something as simple as adding a color or an odor to the
          production of this fertilizer. And I know those offers have been made. Those
          offers have been made to cover the cost of it and they’re not interested in doing it
          because I’m sure the ISI finds it convenient to continue to be able to work with
          the Haqqani Network to smuggle this across the border. Let’s just call it the way
          it is. They like to destabilize the Afghan government, destabilize the NATO
          allies. They’re fighting in Afghanistan and the Pakistanis continue to deal with
          these people […] to kill American soldier[s] every day.197

          368.    Terrorism experts also noted the nexus between rogue ISI hostility towards the

   United States and Fatima’s and Pakarab’s refusal to change their intentional practices relating to

   Fatima Group CAN Fertilizer. For example, in September 2012, Daniel Goure of the Lexington

   Institute, explained that the “green on blue problem” – i.e., a terrorist threat from an ally –


   197
      Rep. C.W. Bill Young Holds a Hearing on Joint IED Defeat Organization, CQ-RollCall
   Political Transcriptions (Sept. 21, 2012) (emphasis added), 2012 WLNR 30213606.


                                                    117
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 133 of 606 PageID #: 133




   involves not just individuals or small groups but also rogue actors of national governments,

   which was a “problem that has confronted the U.S. vis-à-vis Pakistan for most of the last

   decade,” and had been demonstrated by the fact, among other things, that “[m]ost of the [CAN]

   that goes into Taliban IEDs that kill Americans in Afghanistan comes from two Pakistani [i.e.,

   Fatima- and Pakarab-owned] factories.”198

          369.    Prominent retired American General Officers have reached the same conclusion

   about Fatima’s and Pakarab’s willingness to conspire with rogue ISI to provide direct operational

   support for the Taliban, including the Haqqani Network. For example, in 2020, former Vice

   Chief of Staff of the U.S. Army General Jack Keane publicly stated, in sum and substance, that

   rogue ISI supported the Taliban and had “built two chemical fertilizer factories for them,”

   referencing the Fatima and Pakarab factories that supplied Fatima Group CAN Fertilizer to the

   Syndicate. In the same statement, GEN Keane identified rogue ISI’s relationship with Fatima

   and Pakarab, and the resulting supply of Fatima Group CAN Fertilizer to Syndicate terrorists

   targeting Americans in Afghanistan, as an example of “support” for the Taliban.

          370.    The conclusions drawn by U.S. military personnel and Members of Congress

   were corroborated by the Department of Justice when it pursued at least one criminal prosecution

   based, in part, of the conduct of a rogue ISI operative named Major Iqbal who helped facilitate

   the Syndicate’s infamous mass casualty terrorist attack in Mumbai, India.

   III.   AL-QAEDA AND THE HAQQANI NETWORK RELIED UPON A GLOBAL
          NETWORK OF AGENTS, OPERATIVES, FRONTS, CELLS, AND BUSINESS




   198
     Daniel Goure, Ph.D., Lexington Institute, What are the Rules of Engagement in a World of
   Green on Blue Violence?, States News Service (Sept. 24, 2012).

                                                  118
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 134 of 606 PageID #: 134




          PARTNERS TO HELP FUND, ARM, AND LOGISTICALLY SUPPORT
          SYNDICATE ATTACKS AGAINST AMERICANS IN AFGHANISTAN

          A.      Altaf Khanani and the Khanani Money Laundering Organization

          371.    Altaf Khanani and his laundering empire, the Khanani MLO, were vital to the al-

   Qaeda’s efforts to raise hundreds of millions annually through the illicit overseas income

   generated by al-Qaeda and its affiliates, like the Haqqani Network.199

          372.    From 2008 through 2016, Khanani and the Khanani MLO used companies,

   including Al Zarooni Exchange and Mazaka General Trading, that were created and operated

   for the sole purpose of carrying out Khanani’s terrorist finance activities on behalf of his clients,

   al-Qaeda, the Haqqani Network (and through them, the Taliban), Lashkar-e-Taiba, Jaish-e-

   Mohammed, and D-Company.

          373.    The Khanani MLO’s operations were based in Pakistan from 2001 to 2008, when

   the Khanani MLO was known as Khanani and Kalia International (or “KKI”), and then Dubai

   from 2008 until 2016, when the Khanani MLO operated through Al Zarooni Exchange, Mazaka

   General Trading, and other companies known to be affiliated with Khanani.

          374.    Through a combination of witness intimidation, bribery, and potentially murder,

   Khanani ultimately escaped justice in Pakistan.

          375.    After the FIA’s case against him in Pakistan collapsed in 2008, Khanani moved

   his terrorist finance operation to Dubai. This was the logical move for Khanani because Dubai

   was a recognized terrorist finance hub for both the Syndicate – whose every member used Dubai

   as a financial and logistical hub. From a Dubai corporate office, Khanani laundered terrorist

   funds from 2008 until he was arrested again in 2015.



   199
     Plaintiffs refer to Altaf Khanani, the Khanani MLO, Mazaka Trading LLC, and Al Zarooni
   Exchange collectively as “Khanani.”


                                                    119
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 135 of 606 PageID #: 135




                  1.      Khanani And The Khanani MLO Were Agents For Al-Qaeda, The
                          Taliban (Including Its Haqqani Network), Lashkar-E-Taiba, Jaish-E-
                          Mohammed And Khanani Was Also A D-Company Operative

          376.    The Khanani MLO was a purpose-built narco-terrorist finance Laundromat for

   providing a full spectrum of illicit financial services to Khanani’s original core customer base in

   from the early 1990s through the late 2000s: al-Qaeda, the Taliban (including its Haqqani

   Network), Lashkar-e-Taiba, Jaish-e-Mohammed, and D-Company, all of whom Khanani had

   long served in his role as the world’s leading opium-related money launderer.

          377.    Khanani and the entities he controlled were agents and fronts for the Syndicate

   through Khanani’s service as the lead transnational banker for al-Qaeda, the Taliban (including

   its Haqqani Network), Lashkar-e-Taiba, Jaish-e-Mohammed, and D-Company, all of which were

   members of the Syndicate and all of which used Khanani to repatriate overseas income back to

   Afghanistan and Pakistan to support Syndicate attacks against Americans.

          378.    Khanani was also himself a Syndicate operative through his membership in one

   or more constituent members of the Syndicate, including, but not limited to, his status as a

   member of al-Qaeda affiliate, D-Company. In this way, Khanani demonstrated how the

   Syndicate grew its ranks after 9/11 to include Pashtuns, like Khanani, who may not agree on

   every issue but share a desire to expel Americans from Afghanistan, as well as another instance

   in which a key Syndicate operative supported the Syndicate through membership and activities

   on behalf of more than one affiliate.

          379.    Altaf Khanani and the Khanani MLO also served as a personal financier and

   agent to numerous notable Syndicate leaders including, but not limited to: (1) Sirajuddin

   Haqqani (from at least 2008 through 2016); and (2) Dawood Ibrahim (from the 1990s through

   2016). In such capacity, Khanani and the Khanani MLO managed, moved, protected, invested,

   and concealed funds controlled by, among others, Sirajuddin Haqqani and Dawood Ibrahim.


                                                   120
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 136 of 606 PageID #: 136




                  2.     Khanani And The Khanani MLO Transferred, Managed, Invested,
                         And Protected Al-Qaeda And Its Allies’ U.S. Dollars Worldwide And
                         Financed Attacks Against Americans In Afghanistan

          380.    On November 12, 2015, the Treasury Department sanctioned Khanani and the

   Khanani MLO after finding that Khanani “laundered funds for designated terrorist

   organizations,” was “involved in the movement of funds for the Taliban,” including its Haqqani

   Network,200 and maintained “relationships with Lashkar-e-Tayyiba, Dawood Ibrahim, al-Qa’ida,

   and Jaish-e-Mohammed,”201 each of which funded and resourced attacks against Americans in

   Afghanistan through their membership in the Syndicate.

          381.    Khanani was one of the most prominent and effective money launderers in the

   world. His operations were based in Pakistan from 2001 to 2008, and then Dubai from 2008

   until 2015. For that entire period, his influence stretched across the globe. Khanani’s reach has

   been recognized by U.S. government officials, the media, and knowledgeable commentators.

          382.    The Syndicate was earning money from criminal operations worldwide, including

   but not limited to narco-trafficking, fraud, and other rackets. Khanani enabled al-Qaeda and the

   Haqqani Network to manager their finances, launder their illicit income, and then repatriate it

   back to al-Qaeda or Haqqani Network-controlled accounts to be shared with the other members

   of the Syndicate for use in their joint terrorist campaign against the U.S. in Afghanistan. From

   2000 through 2016, the Khanani MLO played a key role operationalizing much of the

   transnational terrorist finance architecture used by Al-Qaeda, the Taliban (including its Haqqani

   Network), Lashkar-e-Taiba, Jaish-e-Mohammed, and D-Company to transfer the U.S. Dollars


   200
      The Taliban was inclusive of the Haqqani Network. Moreover, Khanani and the Khanani
   MLO were specifically notorious for their long-standing service to both Sirajuddin Haqqani
   personally and the Haqqani Network organizationally.
   201
     U.S. Department of the Treasury, Press Center, Treasury Sanctions The Khanani Money
   Laundering Organization (Nov. 12, 2015), tinyurl.com/qkhn42es.


                                                  121
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 137 of 606 PageID #: 137




   they all earned (often working together as allies) through USD-dependent transnational criminal

   operations. The Khanani MLO was essential to this shared terrorist finance enterprise because it

   relied heavily on the movement of U.S. Dollars between countries and banks that financed

   Syndicate activities in Afghanistan through criminal schemes inside of Afghanistan (such as the

   Haqqani Network’s protection money rackets) and worldwide (such as al-Qaeda’s VAT fraud

   rackets in Europe). The Khanani MLO helped each Syndicate member manage much of its

   global criminal income, including but not limited to, the U.S. Dollars each group earned through

   terrorist finance schemes such as protection payments, narco-trafficking, large-scale VAT fraud,

   and other core criminal rackets upon which al-Qaeda and the Haqqani Network notoriously

   relied after 9/11 to finance attacks against Americans in Afghanistan.

          383.    Khanani and the Khanani MLO enabled each of the above al-Qaeda affiliates and

   Syndicate members to seamlessly transfer their worldwide criminal income streams to terrorist

   operatives – also around the world – who directly supported attacks against Americans in

   Afghanistan. For example, through the terrorist finance that each Defendant routed to al-Qaeda,

   the Haqqani Network, and other Syndicate members through the Khanani MLO, al-Qaeda could

   use the Khanani MLO to convert the Russian Rubles and European Euros into U.S. Dollars

   (which greatly improved al-Qaeda’s killing power). Thereafter, the Khanani MLO discretely

   transferred al-Qaeda’s and the Haqqani Network’s U.S. Dollars to another country in Europe or

   the Middle East, where al-Qaeda and Haqqani Network finance and logistics cells supported the

   terrorist campaign against Americans, such as an al-Qaeda finance cell in Europe that sent

   regular payments to senior Haqqani Network commanders, or a Haqqani Network logistics cell

   in the U.A.E. that purchased Fatima Group CAN Fertilizer or other key bomb parts needed to

   maximize the lethality of the Syndicate’s terrorist campaign against Americans in Afghanistan.




                                                  122
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 138 of 606 PageID #: 138




                384.   In 2018, the Financial Action Task Force (“FATF”) issued a public report that

   was “the first time the FATF” “under[took] a project which concentrate[d] on professional

   money launderers (“PMLs”) that specialise[d] in enabling criminals to evade anti-money

   laundering and counter terrorist financing safeguards and sanctions in order to enjoy the profits

   from illegal activities” (the “2018 FATF Report”).202

                385.   With respect to the general features of Professional Money Launderers, the 2018

   FATF Report noted that:

         (i)       “[Professional Money Launderers] operate under a number of business models and
                   may be individuals; criminal organisations with a clear structure and hierarchy; or
                   networks of loosely affiliated members” (FATF Report at 6);

         (ii)      “[Professional Money Launderers] may provide the entire infrastructure for complex
                   money laundering schemes (e.g.. a ‘full service’) or construct a unique scheme
                   tailored to the specific needs of a client that wishes to launder the proceeds of crime.”
                   (Id.)

         (iii)     “These [Professional Money Launderers] provide a menu of generally applicable
                   services, with the result that the same laundering techniques (and potentially the same
                   financial channels and routes) may be used for the benefit of multiple organised crime
                   groups. As such, professional money laundering networks may act transnationally in
                   order to exploit vulnerabilities in countries and particular businesses, financial
                   institutions, or designated non-financial businesses or professions.” (Id.)

         (iv)      “[Professional Money Launderers], themselves,” like the Khanani MLO, “pose[d] a
                   threat to the financial system, as they facilitate[d] money laundering and criminality
                   more broadly” (id.), and for the Khanani MLO, terrorism.

         (v)       “In general,” under the second step of “a cross-border [money laundering] scheme
                   arranged by a proxy network,” like the Khanani MLO, “[f]unds [were] moved
                   through a complex chain of accounts established by domestic shell companies under
                   fictitious contracts. The funds from different clients [were] mixed within the same
                   accounts, which [made] it difficult for [government] investigators to trace the funds
                   coming from a particular client.” (Id. at 26.)




   202
      Financial Action Task Force, FATF Report: Professional Money Laundering, at 6 (July
   2018), https://www.fatf-gafi.org/media/fatf/documents/Professional-Money-Laundering.pdf.


                                                        123
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 139 of 606 PageID #: 139




                386.   The 2018 FATF Report outlined the Khanani MLO’s operations and reported,

   among other things, that:

         (i)       “The Khanani MLO was an [Organized Crime Group203] composed of individuals
                   and entities operating under the supervision of Pakistani national, Altaf Khanani,
                   whom the US Drug Enforcement Administration (DEA) arrested in 2015.” (Id. at
                   13.)

         (ii)      “The Khanani MLO facilitated illicit money movements between Pakistan, the United
                   Arab Emirates (UAE), the United States, the United Kingdom, Canada, Australia and
                   other countries. It was responsible for laundering billions of dollars in criminal
                   proceeds annually.” (Id.)

         (iii)     “Khanani was responsible for depositing drug proceeds via bank wires from a foreign
                   business account in an effort to conceal and disguise the nature, source, ownership
                   and control of the funds.” (Id. at 14.)

         (iv)      “Khanani conducted transactions, which involved multiple wire transfers from a
                   number of general trading companies.” (Id.)

         (v)       “Khanani’s commission to launder funds was 3% of the total value of funds
                   laundered.” (Id.)

                387.   The FATF team “examined potential links between [professional money

   launderers] and terrorist financing,” and concluded that “[t]he Khanani [MLO] provide[d] the

   clearest example of a professional money laundering organisation, providing services to a UN

   designated terrorist organisation.”204 The FATF concluded that “terrorists use[d] the services

   of” the Khanani MLO “to move funds.” (Id. at 7.)

                388.   The FATF also documented the “Moldovan Laundromat”: “[t]here [were] also

   indications that clients from other countries used” the Moldovan Laundromat and “[i]n a

   demonstration of the interconnectedness of [Professional Money Laundering], some companies




   203
     An “Organised Crime Group” was “synonymous” with a “Transnational Criminal
   Organisation (TCO)” as “used in the US designation process.” 2018 FATF Report at 14.
   204
         2018 FATF Report at 7 (emphasis added).


                                                      124
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 140 of 606 PageID #: 140




   involved in [the Moldovan Laundromat] scheme ha[d] financial links with a UAE company

   designated by the US in relation to the [Khanani MLO].” (Id. at 29.)

          389.    The FATF also documented how “In one case, funds were channelled to accounts

   of companies registered in the Middle East, with subsequent cash withdrawals via exchange

   houses. Cash was then transported back to the country of origin and declared on the border as

   profits from legitimate business activities in the Middle East, which were intended to be used for

   the purchase of real estate.” (Id. at 29-30.) The Khanani MLO was the only group referenced in

   the FATF report that had a substantial nexus to the Middle East, and on information and belief,

   the FATF’s quote described the Khanani MLO’s movement of cash on behalf of one or more

   Syndicate terrorist groups from the U.A.E. to Pakistan (the “country of origin”).

                  3.       The Khanani MLO’s Transactions Funded Khanani’s Profit-Sharing
                           With Syndicate Members Who Financed, Armed, And Conducted
                           Attacks, Including D-Company And The Haqqani Network

          390.    Defendants’ provision of financial services to the Khanani MLO aided al-Qaeda,

   Haqqani Network, and their allies’ attacks for a separate reason wholly apart from any specific

   transaction. The Defendants enabled the Khanani MLO’s success as a privately-held terrorist

   corporation, thus allowing the MLO to pay al-Qaeda, the Haqqani Network, and D-Company a

   cut of the Khanani MLO’s profits.

          391.    From 2008 through 2016, the Khanani MLO laundered between $13 billion and

   $16 billion per year.

          392.    Khanani, through the Khanani MLO, charged a three percent (3%) commission on

   every trade the Khanani MLO conducted at every step in the chain. As a result, the Khanani

   MLO earned hundreds of millions of U.S. Dollars per year in income.

          393.    Khanani had direct personal relationships with, and served as the personal

   financier for, among others: (1) Dawood Ibrahim, the Specially Designated Global Terrorist


                                                  125
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 141 of 606 PageID #: 141




   leader of D-Company who was a key ally of al-Qaeda, the Haqqani Network, and Lashkar-e-

   Taiba, all of whom he funded and logistically supported; and (2) Sirajuddin Haqqani, the

   polyterrorist leader of al-Qaeda, the Haqqani Network, and the Taliban.

          394.    From 2001 through 2016, Khanani served as a personal financier to Dawood

   Ibrahim and, in effect, CFO of D-Company. On information and belief, Khanani transferred a

   percentage of the Khanani MLO’s net income each year to Dawood Ibrahim and D-Company in

   Khanani’s capacity as a caporegime to Ibrahim’s role as don of D-Company, and Khanani

   transferred at least ten percent (10%) of the Khanani MLO’s total net income each year to D-

   Company.205 At such rate, the Khanani MLO directly transferred tens of millions of U.S. Dollars

   to D-Company each year from 2008 through 2016 that was in addition to the vast sums of

   terrorist finance that the Khanani MLO managed, moved, and concealed on D-Company’s

   behalf. Given D-Company’s substantial annual financial support for al-Qaeda, the Haqqani

   Network, and Lashkar-e-Taiba, some of the money that Khanani kicked back to D-Company also

   flowed onto those groups.

          395.    From 2001 through 2016, Khanani served as a personal financier to Sirajuddin

   Haqqani and a key terrorist finance agent for the Haqqani Network, which, in turn, managed the

   flow of its own, and the Taliban’s, opium money as a key shareholder of the Khanani MLO. As

   a matter of terrorist tradecraft (and self-dealing that benefited the Haqqani Network), Sirajuddin

   Haqqani and the Haqqani Network did not entrust any terrorist financier or logistician with the



   205
      Plaintiffs’ belief that Khanani’s kickback percentage to Dawood Ibrahim was most likely 10
   percent is based upon prevailing practices of every Syndicate member from 2008 through 2016,
   each of whom followed a similar mafia-like playbook, under which 10-20 percent of a terrorist
   cell leader’s net income was transferred to the person on top of them in the organization. Here,
   Ibrahim was the only person who outranked Khanani in D-Company and therefore the person
   Khanani had to pay.


                                                  126
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 142 of 606 PageID #: 142




   Haqqani Network’s precious U.S. Dollars, shell companies, or finances unless such person was

   either a member of the Haqqani Network or made regular payments to the Haqqani Network to

   show their respect.206 On information and belief, Khanani transferred at least two-point-five

   percent (2.5%) of the total income of the Khanani MLO each year to the Haqqani Network, and

   at such rate, the Khanani MLO directly transferred at least several million U.S. Dollars in

   “donations” each year to the Haqqani Network from 2008 through 2016. At such rate, the

   Khanani MLO directly transferred at least several million U.S. Dollars to the Haqqani Network

   each year from 2008 through 2016 that was in addition to the vast sums of terrorist finance that

   the Khanani MLO managed, moved, and concealed on the Haqqani Network’s behalf.

          396.    As a result, every Khanani MLO transaction with each Defendant caused a three

   percent (3%) “commission” to flow to Khanani as the Khanani MLO’s profit for conducting the

   terrorist finance transaction at issue. As a result, every Khanani MLO transaction directly

   enabled a second potent stream of terrorist finance that flowed to D-Company (and through it, to

   al-Qaeda and Lashkar-e-Taiba, which D-Company funded as an ally), and the Haqqani Network

   (and through it, the Taliban, of which the Haqqani Network was a part).

          397.    Aside from their knowledge that Khanani and the Khanani MLO acted as agent

   for al-Qaeda, the Haqqani Network, and other Syndicate members, Defendants also knew that

   their financial dealings with Khanani funded Khanani’s own substantial personal “tax”

   contributions to the Syndicate. On information and belief, Khanani regularly transferred a

   percentage of the Khanani MLO’s income to al-Qaeda and the Haqqani Network as a “tax”


   206
      To avoid confusion, such “donations,” “respect payments,” or Zakat from terrorist financers
   like Khanani to the Haqqani Network were different from the “protection payments” that the
   Haqqani Network charged western contractors and the like. On information and belief, the
   Haqqani Network’s rate assessed to people like Khanani was 2.5%, while the Haqqani
   Network’s “protection payments” rates ranged from 10%-20% and were often more.


                                                  127
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 143 of 606 PageID #: 143




   payment to the Syndicate to show respect to the Syndicate, including its Haqqani Network’s

   domination of the segments of the Afghani, Pakistani, and Emirati criminal underworlds relevant

   to Khanani’s business.

                  4.      Khanani MLO Transactions Relating To Russia, Europe, The U.A.E.,
                          Pakistan, Or Afghanistan Ordinarily Financed Al-Qaeda, The
                          Taliban (Including Its Haqqani Network), Lashkar-E-Taiba, Jaish-E-
                          Mohammed, And/Or D-Company

          398.    From 2008 through 2016, Khanani and the Khanani MLO exclusively served a

   narco-terrorist clientele. The members of the Syndicate, collectively, comprised Khanani’s

   largest group of clients. On information and belief, Syndicate members also collectively

   accounted for most of the Khanani MLO’s transactions relating to the U.A.E., Afghanistan,

   Pakistan, the U.A.E., Russia, Estonia, and other geographies in which al-Qaeda and the Haqqani

   Network managed the Syndicate’s transnational terrorist finance and logistics architecture from

   2008 through 2016.

          399.    Given the complete control of the Pakistani underworld by Syndicate members

   like the Haqqani Network, Lashkar-e-Taiba, and D-Company, and the fact that no other

   organized crime group would ever want to secure its money in Pakistan, Defendants knew that

   the money laundering operations conducted by sophisticated transnational Pakistan-linked

   criminal organizations typically financed al-Qaeda, the Haqqani Network, Lashkar-e-Taiba, and

   D-Company, rather than non-terrorist-finance explanations. As one analyst explained:

          [M]echanisms in place [] trace the origins of transactions so that you cannot
          simply evade the rules by going through a third country, though as the fines on …
          Standard Chartered Bank in New York … illustrated, there are clearly ways to get
          around those … Bear in mind that the reason Pakistan was placed on the grey list
          due to its failure to take sufficient steps to curb terrorist financing, not specifically
          anti-money laundering. No international criminal gangs use Pakistani banks to




                                                    128
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 144 of 606 PageID #: 144




          launder their money, certainly not the kind that the rest of the world would care
          about. But funds for terrorism do flow through Pakistani banks.207

          400.    While the Khanani MLO also serviced narco-terrorists operating in Mexico,

   Colombia, and China, their transaction activity for such customers generally took place in their

   own spheres of influence – not Europe, Russia, the Middle East, or South Asia.

          401.    Khanani and the Khanani MLO ordinarily used banks within the relevant region

   to launder narcotics money for a particular narco-terrorist group as a strategy to better conceal

   their terrorist finance activities. This meant that when Defendants’ employees understood that

   Khanani or the Khanani MLO was engaged in finance activity, the likely identity of the Khanani

   MLO’s narco-terrorist client (or clients, in the case of the Syndicate) was obvious from the

   geographies of the banks upon which the Khanani MLO relied to conduct the transaction.

          402.    From 2001 through 2016, al-Qaeda, the Haqqani Network (representing the

   Taliban), Lashkar-e-Taiba, and D-Company, in combination with their Russian Mafia Opium JV

   partners, collectively controlled the narcotics markets in Europe, the Middle East, Central Asia,

   Afghanistan, and Pakistan: Syndicate members controlled both opium supply and the key

   smuggling route chokepoints from Afghanistan and Pakistan necessary to travel on to Central

   Asia, the Middle East, and Europe, while their Russian Mafia JV partners managed transnational

   aspects throughout Central Asia and Europe, in coordination with overseas al-Qaeda and

   Haqqani Network cells operating in those same European and Central Asian geographies.

   Mexican, Colombian, and Chinese narco-terrorists largely focused on their own spheres of

   influence (the Americas for the first two, East Asia for the third).



   207
      Farooq Tirmizi, The FATF ‘Grey List’ Means More Trouble For Pakistan Than You Think,
   Daily Pakistan Today (Mar. 5, 2018) (emphasis added), 2018 WLNR 6953120. (emphasis
   added).


                                                   129
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 145 of 606 PageID #: 145




          403.    As a result, any time that Khanani or the Khanani MLO conducted transactions

   through banks or remitters in Europe, Russia, Central Asia, the Middle East, Afghanistan, or

   Pakistan, al-Qaeda and the Haqqani Network were more likely than not the beneficiary because

   the Khanani MLO’s other (non-Syndicate) narco-terrorists clients ordinarily laundered their

   money in the Americas (for the Mexican and Colombian cartels) or East Asia (for the Chinese

   cartels), and it would have been contrary to the operational security of such non-Syndicate narco-

   terrorists’ laundering efforts for the non-Syndicate terrorists to use European, Middle Eastern,

   Russian, or Pakistani banks in connection with drug transactions in geographies like Mexico

   City, Medellin, or Hong Kong.

                  5.     The Khanani MLO Required Complicit Banks And Money Remitters

          404.    From 2001 through 2016, Khanani used long-standing financial partnerships with

   an array of complicit financial institutions and money remitters, including every Defendant, to

   collectively repatriate hundreds of millions of U.S. Dollars earned by al-Qaeda and its allies back

   to accounts controlled by Syndicate agents and operatives to finance attacks in Afghanistan.

          405.    To accomplish this, Khanani built his own Laundromat – i.e., the Khanani MLO –

   which, in turn, he caused to be embedded within other Laundromats run by Defendants.

          406.    Khanani and the Khanani MLO used companies, including Al Zarooni Exchange

   and Mazaka General Trading, that were created and operated for the sole purpose of carrying

   out Khanani’s terrorist finance activities on behalf of his clients, al-Qaeda, the Haqqani Network

   (and through them, the Taliban), Lashkar-e-Taiba, Jaish-e-Mohammed, and D-Company.

          407.    Khanani and the entities he controlled were agents and fronts for the Syndicate

   through Khanani’s service as the lead transnational banker for al-Qaeda, the Taliban (including

   its Haqqani Network), Lashkar-e-Taiba, Jaish-e-Mohammed, and D-Company, all of which were




                                                  130
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 146 of 606 PageID #: 146




   members of the Syndicate and all of which used Khanani to repatriate the Syndicate’s illicit

   income back to al-Qaeda, the Haqqani Network, and their allies.

          408.    Khanani was also himself a Syndicate operative through his membership in one

   or more constituent members of the Syndicate, including, but not limited to, his status as a

   member of al-Qaeda affiliate, D-Company.At all relevant times, Khanani’s activities on behalf of

   his al-Qaeda, Taliban, and Haqqani Network clients relied upon the use of accounts associated

   with fronts in the U.A.E., including Al Zarooni Exchange and Mazaka General Trading. Given

   his status as one of the world’s most notorious suspected terrorist financiers, who had a particular

   need for U.S. Dollars given the currency of the criminal enterprises for which he was laundering

   (e.g.., narcotics), Khanani required financial institution partners located in permissive

   jurisdictions, through which he could use a local branch to access U.S. Dollars to launder the

   Syndicate’s money.

          409.    One reason the Khanani MLO depended upon complicit banks and remitters as

   that Khanani, unlike other professional money launderers, generally only laundered narco-

   terrorist client money after he relocated from Pakistan to Dubai in 2008. As a result, the

   Khanani MLO did not have many (or any) of the quasi-legitimate customers (e.g.., corrupt

   oligarch seeking to illicitly transfer money out of a country) who turned to professional money

   launderers like him. This matters because the Khanani MLO served as a transnational criminal

   terrorist finance organization that helped its narco-terrorist customers, like al-Qaeda, move their

   money. As a result, when the Khanani MLO transferred funds to geographies in which al-Qaeda,

   the Haqqani Network, or another Khanani Syndicate terrorist client did business – such as

   Europe, Russia, the U.A.E., and Pakistan, to name four examples – the most likely explanation

   for the transaction in question is that the Khanani MLO was engaged in terrorist finance and




                                                   131
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 147 of 606 PageID #: 147




   transferred funds to a cell operated by one or more of the above Syndicate-related terrorist

   customers whom the Khanani MLO had served for decades: al-Qaeda, the Haqqani Network

   (and through them, the Taliban), Lashkar-e-Taiba, Jaish-e-Mohammed, or D-Company.

          410.    To enable the Khanani MLO’s activities, Khanani chose three global financial

   institution partners: Defendants Deutsche Bank, Standard Chartered Bank, and Danske Bank, all

   of which matched the Syndicate’s terrorist finance needs because each was (a) willing to serve as

   a Laundromat and (b) had access to the U.S. financial system and U.S. Dollars. Khanani also

   relied upon two global money remitter services, Defendants Placid Express and Wall Street

   Exchange. Defendants perfectly fit the bill and fulfilled the Khanani MLO’s operational needs

   as Khanani and the Khanani MLO used Defendants’ accounts to collectively repatriate hundreds

   of millions of illicit al-Qaeda and Haqqani Network U.S. Dollars back to accounts controlled by

   Syndicate agents or operatives to finance attacks in Afghanistan.

          411.    The Khanani MLO operated as a full-spectrum terrorist finance vehicle for al-

   Qaeda, the Haqqani Network (and though them, the Taliban), and their ally, D-Company.

          412.    First, the Khanani MLO was originally purpose-built specifically to serve as an

   agent for al-Qaeda, the Haqqani Network (and though them, the Taliban), and their ally, D-

   Company, to manage every financial aspect of their coordinated transnational opium enterprise.

   Every aspect of the Khanani MLO’s structure and operation was designed to enable the

   Syndicate’s terrorist finance. While the Khanani MLO also later grew to service narco-terrorists,

   it was created to service al-Qaeda and its affiliates.

          413.    Second, one key feature of the Khanani MLO’s strategy was that it did not

   segregate terrorist customers’ money but, instead, co-mingled the funds into one pot of money,

   for the benefit of all Khanani MLO’s customers. Because money is fungible, and the Khanani




                                                    132
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 148 of 606 PageID #: 148




   MLO regularly made payments to each Syndicate member, every time any Defendant aided

   Khanani or the Khanani MLO it was, by definition, aiding the Syndicate because it was helping

   their agent manage their money.

          414.    Third, the Khanani MLO provided a comprehensive suite of financial services to

   al-Qaeda, the Haqqani Network (and through them, the Taliban), Lashkar-e-Taiba, and D-

   Company, including, but not limited to: (1) laundering their opium money; (2) converting their

   opium money from an array of local currencies, such as Russian Rubles, into U.S. Dollars, which

   al-Qaeda and the Haqqani Network insisted upon as the specific currency of choice to maximize

   the lethality of their terrorist campaign in Afghanistan; (3) moving their opium money through

   the global financial system, including extracting it from countries like Russia; (4) investing their

   opium money into commercial ventures in order to launder it; (5) protecting their opium money

   by serving, in effect, as a transnational bank for it; and (6) transferring their cleansed profits back

   to Syndicate agents and operatives. Each of these functions independently aided al-Qaeda and

   the Haqqani Network (and the Taliban through it), as well as Lashkar-e-Taiba and D-Company.

          415.    Fourth, because the Khanani MLO comingled the money of al-Qaeda, the

   Haqqani Network, Lashkar-e-Taiba, and its other terrorist customers, and then reinvested such

   commingled funds through commercial and real estate ventures to “clean” the money, protect the

   money, and grow the money, the Khanani MLO effectively functioned as a terrorist finance

   investment vehicle, through which each terrorist customer was paid shares of Khanani MLO

   “clean” money in proportion to the money they put into the Khanani MLO. As a result, every

   Khanani MLO-related transaction aided the flow of terrorist finance to al-Qaeda and the Haqqani

   Network (and the Taliban through it), as well as Lashkar-e-Taiba and D-Company, based on

   their respective “shares” of the Khanani MLO’s commingled, reinvested funds.




                                                    133
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 149 of 606 PageID #: 149




          416.    Fifth, the Khanani MLO helped al-Qaeda, the Haqqani Network (and through it,

   the Taliban), Lashkar-e-Taiba, and D-Company manage and diversify their vast narco-terrorist-

   related financial operations and income streams through a number of means including, but not

   limited to, facilitating each group’s ability to: (1) diversify the geographies in which they

   operated, which provided operational and law enforcement risk diversity; (2) diversify the

   strategies they deployed to conceal their terrorist finance amongst a range of vehicles, including

   real estate and commercial services; and (3) diversify their financial partners, by maintaining a

   mix of global financial institutions (the Standard Chartered Bank, Deutsche Bank, and Danske

   Bank Defendants) and money remitters (Placid Express and Wall Street Exchange). This

   diversification aided each group’s and the Syndicate’s ability to raise and protect its money.

          417.    Thus, even for Khanani-related transactions that did not directly or indirectly

   touch on Afghanistan, Pakistan, or the U.A.E., Defendants’ provision of financial services to

   Khanani still aided al-Qaeda’s and the Haqqani Network’s terrorist campaign against Americans

   in Afghanistan by aiding both group’s broader management of their (and the Taliban’s) finances,

   which allowed the Syndicate, like any other transnational organization, to spend more money on

   what it prized most: attacking Americans in Afghanistan. At the scale at which Khanani

   operated, even marginal improvements in the Syndicate’s financial portfolio promised enormous

   resources to attack Americans in Afghanistan. For example, even if the Syndicate’s financial

   diversification through Khanani only improved its overall portfolio performance by one-tenth-of-

   one percent (0.1%) – which is a fraction of what is ordinarily accomplished by diversification

   and was likely much less than the results Khanani produced – such an outcome helped the

   Syndicate repatriate at least several hundred thousand additional U.S. Dollars per year.




                                                   134
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 150 of 606 PageID #: 150




             418.   Simply put, any time a bank or money transmitter helped Khanani engage in any

   transaction anywhere in the world it was directly or indirectly aiding-and-abetting terrorist

   attacks against Americans in Afghanistan because al-Qaeda, the Haqqani Network (and through

   them, the Taliban), Lashkar-e-Taiba, and D-Company all were “shareholders” of the Khanani

   MLO and received a percentage of every Khanani MLO dollar.

             419.   “In general,” under the second step of “a cross-border [money laundering] scheme

   arranged by a proxy network,” like the Khanani MLO, “[f]unds [were] moved through a complex

   chain of accounts established by domestic shell companies under fictitious contracts. The funds

   from different clients [were] mixed within the same accounts, which [made] it difficult for

   [government] investigators to trace the funds coming from a particular client.” In the 2018

   FATF Report, the FATF stated, among other things:

      (i)       “[Professional Money Launderers] may occupy positions within the financial services
                industry (e.g.. bankers and [remitters])” as well as “lawyers, accountants and real
                estate professionals) and use their occupation, business infrastructure and knowledge
                to facilitate [money laundering] for criminal clients.” (Id. at 35.)

      (ii)      “Criminals will actively seek to recruit complicit insiders within existing institutions
                or businesses, since these individuals have insider access and may be able to falsify
                records or initiate transactions in a manner, which bypasses AML/CFT regulations or
                institutional practices.” (Id. at 36.)

      (iii)     “In rare circumstances, criminals may be able to compromise entire institutions or
                businesses, including by acquiring ownership or control of the institution and
                appointing their own criminal management.” (Id.)

      (iv)      “A reputation for weak compliance, however, may make the institution more
                attractive for an [Organized Crime Group,” like the Khanani MLO, “seeking out a
                corrupt insider.” (Id.)

      (v)       “The use of the international financial system has been instrumental in facilitating
                large-scale [Professional Money Laundering] schemes.” (Id. at 38.)

      (vi)      “Investigative authorities have been able to detect patterns in how PMLs choose
                certain jurisdictions and banks that are used to move illicit proceeds. For example,




                                                    135
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 151 of 606 PageID #: 151




                 some criminals seek to use banks that operate in lax regulatory environments or have
                 reputations for non-compliance with AML/CFT regulations.” (Id. at 38-39.)

         (vii)   “Bank insiders generally do not communicate openly about their criminal conduct
                 and may be able to leverage their insider status to conceal misdeeds. This can make it
                 difficult to detect and prosecute wilful misconduct by complicit financial services
                 professionals. A range of employees within financial institutions (from lower-level
                 tellers to higher-level management) pose a significant vulnerability that can be
                 exploited by money launderers, but also senior insiders who knowingly assist in ML
                 may cause more damage.” (Id. at 39.)

         (viii) “Complicit bank employees may perform functions such as:”
                    “Creating counterfeit checks;”
                    “Monitoring (or not appropriately monitoring) money flows between accounts
                     controlled by the co-conspirators;”
                    “Co-ordinating financial transactions to avoid [Suspicious Transaction
                     Report] reporting;”
                    “Accepting fictitious documents provided by clients as a basis for
                     transactions, without asking any additional questions;” and
                    “Performing ‘virtual transactions’ on the accounts of their clients – numerous
                     transactions conducted, without an essential change of the net balance at the
                     beginning and end of a working day.” (Id.)

         (ix)    “An investigation by Russian authorities, conducted in co-operation with foreign
                 FIUs, uncovered an ML and tax evasion scheme that was arranged by complicit bank
                 employees and brokers” “via mirror trading.” (Id. at 40.)208

         (x)     “The cases analysed and information received also demonstrated that private banking
                 advisors may act as PMLs and provide services to conceal the nature, source,
                 ownership and control of the funds in order to avoid scrutiny, by employing various
                 techniques, including:”
                      “Opening and transferring money to and from bank accounts held in the
                        names of individuals or offshore entities, other than the true beneficial owners
                        of the accounts;”
                      “Making false statements on bank documents required by the bank to identify
                        customers and disclose the true beneficial owners of the accounts;”
                      “Using “consulting services” agreements and other similar types of contracts
                        to create an appearance of legitimacy for illicit wire transfers;”
                      “Maintaining and using multiple accounts at the same bank so that funds
                        transfers between those accounts can be managed internally, without reliance
                        on international clearing mechanisms that are more visible to law enforcement
                        authorities;” and
   208
      On information and belief, this was a reference to Deutsche Bank’s Russian Laundromat, and
   the “complicit bank employees and brokers” included one or more Deutsche Bank and/or DB
   Moscow employees or agents, including, but not limited to, Tim Wiswell.


                                                     136
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 152 of 606 PageID #: 152




                    “Opening multiple bank accounts in the names of similarly-named companies
                     at the same, or different, institutions so wires do not appear to be coming from
                     third parties.” (Id. at 40-41.)

          420.    In 2015, the Treasury Department sanctioned Khanani and the Khanani MLO, and

   Khanani himself was arrested. Thereafter, however, the Khanani MLO continued to use banks

   and money remitters. On information and belief, the Khanani MLO continued routing funds

   through Defendants to al-Qaeda, the Taliban (including its Haqqani Network), Lashkar-e-Taiba,

   Jaish-e-Mohammed, D-Company, Sirajuddin Haqqani, and Dawood Ibrahim until at least 2016.

          421.    In 2016, the UAE’s Central Bank revoked the license of Al Zarooni Exchange due

   to terrorist finance and anti-money laundering violations.

          422.    On October 26, 2016, Khanani pleaded guilty to federal money laundering

   charges. In 2017, he was sentenced to 68 months in prison.

          B.      Samir Azizi and the Azizi Cell

          423.    Since the 2000s, al-Qaeda and the Taliban have raised funds to finance terrorist

   attacks through European tax fraud schemes, usually seeking to fraudulently obtain VAT

   refunds, and such trends have continued through the present.

          424.    By 2006, the Syndicate had developed a sophisticated infrastructure to train up

   VAT fraudsters to create a new stream of terrorist finance. Al-Qaeda and the Taliban maintained

   “research departments” to identify the best strategies and organized “VAT fraud boot camps” to

   train a younger generation of terrorists in Afghanistan and Pakistan, who subsequently set up

   fundraising cells in Europe for the express purpose of sending money back to the Syndicate to

   attack and kill Americans in Afghanistan.

          425.    These trends continued through the present day. In 2019, for example, Spanish

   police arrested ten members of a transnational al-Qaeda fundraising cell that committed “tax

   fraud,” which sums it then “laundered” and used for the “financing of terrorism” committed by


                                                  137
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 153 of 606 PageID #: 153




   “Al Qaeda,” through the transfer of the fraudulently obtained tax funds “to [al-Qaeda to] provide

   sustenance and economic support to [its] terrorist militias” as part of the tax fraud cell’s

   “support” of “Al-Qaeda” and “related” “jihadist terrorist organizations.”209

          426.    While every al-Qaeda and Haqqani Network financier who raised funds through

   VAT fraud schemes repatriated a substantial portion of the monies back to accounts controlled

   by al-Qaeda and Haqqani Network agents and operatives and used to finance attacks by al-Qaeda

   and its allies against Americans in Afghanistan, the percentage they repatriated to the al-Qaeda

   and/or the Haqqani Network – whether a 10-20% cut, or a 100% transfer – varied (upward) from

   financier to financier. Some VAT fraudsters repatriated all or nearly all their fraudulently

   obtained VAT refunds to these groups based on the theological logic that any VAT was un-

   Islamic and therefore a pious al-Qaeda terrorist must divert essentially all the resulting money to

   the jihad. The rest followed the Haqqani Network’s more traditional, mafia-style approach,

   under which each member was required to kick back at least ten percent (10%) of their VAT

   fraud profit, and often much more, to the Syndicate. Under every scenario, however, any VAT

   fraudster working for the al-Qaeda or the Haqqani Network necessarily repatriated at least ten

   percent (10%) of their fraudulently obtained VAT income to al-Qaeda and Haqqani Network

   agents and operatives to finance attacks against Americans in Afghanistan.

          427.    Samir Azizi, a German citizen who was born in Afghanistan, was the ringleader

   of a Syndicate VAT fraud fundraising cell.

          428.    Azizi was an operative or agent for al-Qaeda and the Taliban, including its

   Haqqani Network, whom he began serving as a teenager. On information and belief, Azizi


   209
      Euclid Infotech: Banks and Financial Institution News, Spain: Disarticulated a Criminal
   Organization Dedicated Allegedly to the Financing of Terrorism and Money Laundering (June
   19, 2019).


                                                    138
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 154 of 606 PageID #: 154




   received specialized training from al-Qaeda and the Taliban, including its Haqqani Network,

   concerning how to: (1) operate a VAT fraud scheme; (2) use global financial institutions to

   convert the euros obtained through the VAT fraud into U.S. Dollars, which the Syndicate greatly

   preferred; and (3) transfer the resulting U.S. Dollars back to the Syndicate in Afghanistan,

   Pakistan, and the U.A.E. to support attacks against Americans in Afghanistan.

          429.    By the time he was sixteen, Azizi led a Syndicate finance cell operating out of

   Europe and the U.A.E. whose purpose was to generate cash flow for al-Qaeda and the Taliban,

   including its Haqqani Network, through financial crime schemes involving global financial

   institutions. Plaintiffs refer to Azizi and the European and U.A.E. associates who directly

   participated in his frauds collectively as the “Azizi Cell.”

          430.    The Azizi Cell relied upon Deutsche Bank to execute a series of frauds relating to

   Value Added Tax (“VAT”) refunds arising out of certain transactions purportedly between arms-

   length counterparties that were, in fact, part of a fraud scheme to generate funds to finance al-

   Qaeda and Taliban (including Haqqani Network) operations in Afghanistan and Pakistan.

   Plaintiffs refer to the Azizi Cell’s schemes, collectively, as the “Azizi VAT Scheme.”

          431.    Deutsche Bank intentionally financed the Syndicate, through the Ahmed Cell’s

   scheme to defraud European governments by obtaining fraudulent refunds relating to European

   value added taxes (or “VAT taxes”). Deutsche Bank employees directly assisted the Ahmed

   Cell’s VAT fraud terrorist finance scheme by, among other things, facilitating transactions they

   knew to pose an extreme risk for Syndicate terrorist fundraising and finance. As Mr. Laabs

   explained, “Traders at [Deutsche Bank] in London and Frankfurt had helped a network of




                                                    139
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 155 of 606 PageID #: 155




   international gangsters” – including the Azizi Cell and the Ahmed Cell, see infra Part III.C – “to

   swindle back VAT payments by faking the sale of CO2 emission rights.”210

             432.   The Azizi Cell’s use of fraud schemes to fund al-Qaeda and the Haqqani Network

   comported with long-standing al-Qaeda and Haqqani Network strategy, including, but not

   limited to, both groups’ well-documented tactic of financing terrorism through tax frauds.

             433.   From the mid-2000s through 2015, the Azizi Cell raised millions of dollars

   through financial crimes executed with the direct assistance of complicit financial institutions.

             434.   While Azizi had a talent for terrorist finance, he sometimes displayed a teenager’s

   indiscretion in ways that made it spectacularly obvious, when combined with the millions of U.S.

   Dollars and Euros that Azizi was raising and moving through his schemes, all while Azizi was a

   teenager with no advanced education and no obvious (or even plausible) explanation for the

   millions sloshing around in his accounts.

             435.   For example, Azizi openly discussed fraudulent activities, regularly used aliases

   that indicated criminal action was afoot, like when Azizi called himself “Al Capone” – the iconic

   murderous gangster known to criminals around the world as the patron saint of money launderers

   based on his reputation for having invented the crime.

             436.   The German government concluded that Azizi was a Syndicate operative who

   raised money to support terrorist attacks in Afghanistan. When Germany requested Azizi’s

   extradition, German prosecutors represented to the U.S. government, in support of Azizi’s

   extradition, that “[t]here [were] numerous indications here that the cash flows” generated by the

   Azizi Cell “[were] used to finance terrorism.”211


   210
         Laabs, Bad Bank, at 451 (translated by Plaintiffs) (emphasis added).
   211
      In re Extradition of Samir Azizi, Formal Request for Extradition, No. 5:14-xr-90282 PSG, at
   11 (N.D. Cal. Mar. 20, 2015).


                                                    140
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 156 of 606 PageID #: 156




             437.     On March 20, 2015, United States Magistrate Judge Howard R. Lloyd granted the

   U.S. government’s motion for a certificate of extraditability concerning Azizi, to extradite him

   from California to Germany to stand trial for criminal charges arising out of his participation in

   the Syndicate’s VAT Finance Scheme.212 In his Order, Judge Lloyd found that the German

   government had represented to the United States that “there were also indicators that [Azizi and

   the Azizi Cell] were using the VAT [money] procured through such fraud, not only for personal

   enrichment, but also to finance terrorism.”213

             438.     U.S. and European counter-terrorist-finance-facing regulators regularly emphasize

   the direct link between sophisticated tax fraud schemes and terrorist finance, including VAT

   frauds, and terrorist violence, including, but not limited to: (1) the FBI’s statement that “criminal

   organizations engaged in tax fraud schemes that may be tied to” “terrorism”214; (2) Pierre

   Moscovici, the EU’s Economic and Financial Affairs Commissioner, statement that “cross-

   border [VAT] fraud ‘carousel[s]’ … serve[d] to finance criminal activities, including, no doubt,

   terrorist activities”215; (3) the European Commission’s statement that “VAT fraud schemes can

   be used to finance … terrorists”216; and (4) the European Parliament’s findings that “Europol

   estimate[d] that around EUR 60 billion of VAT fraud [was] linked to organised crime and

   terrorism financing” and that “money laundering … assume[d] various forms, and that the

   money laundered [could] have its origin in various illicit activities, such … tax evasion and


   212
      In re Extradition of Samir Azizi, Dkt. 60, No. 5:14-xr-90282 PSG (N.D. Cal. Mar. 20, 2015)
   (Order granting U.S. government’s motion for certificate of extraditability concerning Azizi).
   213
         Id. at 22.
   214
         FBI, Investigating Tax Refund Fraud, Press Release, States News Service (Mar. 18, 2014).
   215
     MENA Report, Belgium: Opening Remarks by Commissioner Moscovici on the
   Commission’s Proposal on the Import and Trafficking of Cultural Goods (Aug. 17, 2017), 2017
   WLNR 21814135.
   216
         European Commission, Press Release, Fair Taxation, States News Service (Nov. 30, 2017).


                                                     141
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 157 of 606 PageID #: 157




   fraud,” which could foreseeably “be used to finance terrorism.”217 Tom Kirchmaier, a professor

   and researcher of financial crime at the Copenhagen Business School and the London School of

   Economics, confirmed the recognized fact that “VAT Money for Jihadists” aided al-Qaeda

   attacks: “If you are to stop [al-Qaeda] jihadists, you have to stop their financing and this starts

   with stopping the [VAT fraud] scams.”218

               439.   A broad array of scholars documented how al-Qaeda and Haqqani Network VAT

   fraud schemes directly finance and resource both groups’ terrorist operations in Afghanistan.

   For example, Tom Kirchmaier, a professor who studies financial crime at the Copenhagen

   Business School and the London School of Economics, explained that “VAT Money for

   Jihadists” directly aided attacks by al-Qaeda and its allies and thus “[i]f you are to stop jihadists,

   you have to stop their financing and this starts with stopping the [VAT fraud] scams.”219

               440.   The linkage between the Azizi and Ahmed VAT fraud schemes in Europe and

   anti-American terrorist violence in Afghanistan is irrefutable—one can draw a straight line from

   the VAT fraud funds obtained by the Azizi Cell and the cell led by Yakub Imran Ahmed (infra

   Part III.C.) and the terrorist attacks executed by joint al-Qaeda/Haqqani Network cells against

   Americans in Afghanistan because Coalition special forces recovered direct evidence

   establishing that both Cells had been funding al-Qaeda and the Haqqani Network when they




   217
      European Parliament Special Committee on Financial Crimes, Tax Evasion and Tax
   Avoidance, Report on Financial Crimes, Tax Evasion and Tax Avoidance (2018/2121(INI)), Co-
   Rapporteurs Jeppe Kofod and Luděk Niedermayer (Mar. 8, 2019),
   https://www.europarl.europa.eu/doceo/document/A-8-2019-0170_EN.html (“European
   Parliament Report”).
   218
      Yerepouni Daily News (Lebanon), Danish VAT Money for Jihadists in Syria (Sept. 12, 2019),
   2019 WLNR 27689949.
   219
         Id.


                                                    142
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 158 of 606 PageID #: 158




   raided what was the cave hideout of a joint al-Qaeda/Haqqani Network cell operating near the

   Afghan/Pakistan border in 2010.

          441.    After years of investigation and trials, Deutsche Bank repaid €145 million (about

   $165 million) of stolen VAT to the German state, and one or more Deutsche Bank employees or

   agents were jailed for their involvement in the Azizi and Ahmed VAT frauds.

          C.      Imran Yakub Ahmed and the Ahmed Cell

          442.    Imran Yakub Ahmed, a British-Pakistani citizen, was the ringleader of one such

   Syndicate VAT fraud fundraising and finance cell.

          443.    Ahmed was, and is, an operative or agent for al-Qaeda and the Taliban, including

   its Haqqani Network. On information and belief, Ahmed received specialized training from al-

   Qaeda and the Taliban, including its Haqqani Network, concerning how to: (1) operate a VAT

   fraud scheme; (2) use global financial institutions to convert the euros obtained through the VAT

   fraud into U.S. Dollars, which the Syndicate greatly preferred; and (3) transfer the resulting U.S.

   Dollars back to the Syndicate in Afghanistan, Pakistan, and the U.A.E. to support attacks against

   Americans in Afghanistan.

          444.    From the mid-2000s through 2010, Ahmed led a Syndicate fundraising and

   finance cell operating out of Europe and the U.A.E. whose purpose was to generate cash flow for

   al-Qaeda and the Taliban, including its Haqqani Network, through financial crime schemes

   involving global financial institutions. Plaintiffs refer to Ahmed and the European and U.A.E.

   associates who directly participated in his frauds, collectively as the “Ahmed Cell.”

          445.    From the mid-2000s through 2010, the Ahmed Cell raised more than a 1.15

   billion euros through VAT fraud schemes aided by complicit financial institutions.

          446.    In 2017, Ahmed was convicted by a court in Italy for conspiracy to steal VAT.




                                                   143
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 159 of 606 PageID #: 159




          D.      Mustafa Ahmed al-Hisawi

          447.    Mustafa Ahmed al-Hisawi (“Hisawi”) was al-Qaeda’s paymaster, and a key

   lieutenant of 9/11 mastermind Khalid Shaikh Mohammed. Before helping plan and pay for 9/11,

   Hisawi served as bin Laden’s CFO when al-Qaeda was based in Sudan from 1991 through 1996.

          448.    After 9/11, Hisawi continued to play a key leadership role at al-Qaeda. Among

   other things, Hisawi helped bin Laden plan for al-Qaeda’s immediate survival needs after 9/11,

   when bin Laden anticipated (correctly) that he and his leadership team would have to go

   underground and needed money to do so.

          449.    Hisawi was captured in March 2003 and is currently a detainee at Gitmo.

          E.      Mamoun Darkazanli and the Hamburg Cell

          450.    Mamoun Darkazanli (“Darkazanli”) and Mamdouh Mahmud Salim (“Salim”)

   were al-Qaeda supporters, operatives, and fundraisers who were each a member of al-Qaeda’s

   notorious cell in Hamburg, Germany (the “Hamburg Cell”).

          451.    Darkazanli was a key al-Qaeda fundraiser, financier, and logistician based in

   Europe. Among other things, he raised millions of U.S. Dollars for al-Qaeda and helped source

   communications technologies from Europe for use by al-Qaeda cells around the world.

          452.    Salim was a senior al-Qaeda operative based in Europe and Africa. U.S.

   government officials publicly described as “a right-hand man to bin Laden.”

          453.    Darkazanli, Salim, and al-Qaeda’s Hamburg Cell grew notorious for their ties to

   terrorism beginning in late 1998, when they were directly and indirectly linked to the terrorist

   attacks that al-Qaeda cells executed against American embassies in Kenya and Tanzania earlier




                                                   144
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 160 of 606 PageID #: 160




   that year. According to Professor Gurulé, “Mamoun Derkanzali had close ties to the members of

   the Hamburg cell and helped to fund their activities.”220

             454.      After 9/11, Darkazanli continued to provide financial and fundraising support to

   al-Qaeda until 2003, and he was outed for doing so by Salim after the latter had been detained.

             F.        Viktor Bout

             455.      “Viktor Bout, the ‘Merchant of Death’” “reigned as the world’s most notorious

   arms merchant for nearly two decades.”221 From the 1990s through his detention in 2008, Viktor

   Anatolyevich Bout (“Bout”) served as a known agent and facilitator for al-Qaeda and the

   Taliban, whom he served as a client from the 1990s through 2008.

             456.      From before 9/11 through his capture in 2008, Bout provided key logistical

   assistance to al-Qaeda and the Taliban and was widely known to serve as an agent for them, on

   whose behalf he sourced weapons, explosives, and other key items for their terrorist enterprise.

             457.      According to Mr. Zarate, “in the world of international criminality[,]” “Bout”

   “represented” the “all-purpose force multiplier for international conflict” “who was willing to

   play with anyone willing to pay his price” and “had also been untouchable.”222

             458.      According to Mr. Zarate, “Bout’s network was unique in that it took care of all

   aspects of the illicit arms process for the customer: the weapons themselves, transportation of

   the cargo, regardless of location or international restrictions on arms transfers, and money-

   laundering mechanisms to disguise the purchases. If a customer could pay, Bout would deliver

   arms of any sort” “without care for international restrictions or moral boundaries.”223


   220
         Gurulé, Unfunding Terror, at 80.
   221
         Zarate, Treasury’s War, at 119.
   222
         Id. at 122.
   223
         Id. at 119.


                                                       145
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 161 of 606 PageID #: 161




          459.    In 2006, a U.S. investigator testified that Bout “and his numerous shell companies

   … were [] identified as significant participants in providing weapons to … [t]he Taliban.”

   Bout’s fusion with terrorism was so strong that, after 9/11, Bout and his network were the U.S.

   government’s second overall terrorism-related target, behind only bin Laden and his inner circle.

          460.    From the late 1990s until November 2002, Bout used his aviation company in the

   U.A.E., San Air General Trading (“SAGT”) to move weapons and explosives to Syndicate

   operatives in Afghanistan and Pakistan, and to facilitate Syndicate finance by transporting

   Syndicate gold and opium. Both services helped the Syndicate survive in the key period as it

   was reeling from the U.S. counterattack after 9/11 by resupplying al-Qaeda and the Taliban with

   regular shipments of weapons and explosives, stabilizing Syndicate finances by facilitating

   millions in gold and opium sales, and ensuring the Syndicate’s logistics pipeline remained

   effective during the key months after 9/11 when the Syndicate was fighting for its very survival

   by, effectively, providing an aviation service for the terrorists through his SAGT front.

          461.    Bout and his front companies (including, but not limited to SAGT) provided more

   than $50 million, collectively, in terrorist finance, logistical support, and/or weapons to al-Qaeda

   and the Taliban after 9/11 through 2008, and Bout and his network regularly provided 7-figure

   terrorist support to the Syndicate each year through 2008.

          462.    From the late 1990s through his capture in 2008, Bout was aided by Defendants’

   reckless commercial practices while he was running guns, bombs, gold, cash, and drugs for al-

   Qaeda and the Taliban.

          463.    Bout was an expert terrorist financier and logistician and, as such, his choice of

   Defendants is revealing. Aside from Bout’s key role supporting the Syndicate in its most

   desperate hour after 9/11, Bout’s decision to rely upon Defendants also reflects Bout’s “seal of




                                                   146
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 162 of 606 PageID #: 162




   approval” on Defendants as reliable and loyal partners for terrorist financiers and logisticians,

   like Bout, who needed to move large amounts of money or terrorist material across international

   borders to support operations in Afghanistan and Pakistan.

          464.    In February 2002, Belgian authorities issued an international arrest warrant for

   Bout, who was later arrested on an American warrant in Thailand in 2008 and extradited to the

   U.S. in 2010. After Bout was indicted for providing material support to terrorist organizations,

   Senator Carl Levin publicly stated that Bout was an “example [of] how our corporations are

   being misused by terrorists,” because Bout “carried out his activities in part by using shell

   companies … right here in the United States.”224

          465.    According to Mr. Zarate, Bout’s arrest in 2008 demonstrated to the “international

   scofflaws who served as an operational nexus for terrorist [] networks” – like the banks that

   operated as Laundromat for terrorists – that the Treasury Department “had focused on the nexus

   between organized criminal activity and terrorism for years” and responsible banks and money

   remitters needed to cease doing business with the other “international scofflaws who served as an

   operational nexus for terrorist [] networks,” e.g.., customers like Altaf Khanani.

          466.    On November 2, 2011, Bout was convicted for providing material support to

   terrorists. Commenting on the conviction, Congressman Ed Royce stated that Bout had “done

   irreparable damage across the world - arming insurgents, militias and terrorists,” whose




   224
      Senator Carl Levin in Federal News Service Transcripts, Hearing of the Senate Homeland
   Security and Governmental Affairs Committee Subject: “Nine Years After 9/11” (Sept. 22,
   2010), 2010 WLNR 27825155.


                                                   147
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 163 of 606 PageID #: 163




   “‘Merchant of Death’ moniker was well-earned” on account of, among other things, the fact that

   Bout “armed the Taliban.”225 Bout is currently serving his 25-year sentence in federal prison.

          G.      Abdul Baqi Bari

          467.    Abdul Baqi Bari (“Bari”) was a member of al-Qaeda, the Taliban, and the

   Haqqani Network who also worked directly for Jalaluddin Haqqani as a “right hand” man.

          468.    By 2001, Bari was an internationally notorious al-Qaeda and Taliban (including

   Haqqani Network) money launderer and financial manager, who used Pakistani banks to secure

   and manage millions of U.S. Dollars given to hm by the Taliban and distribute the Taliban’s

   money to al-Qaeda and Taliban terrorists to attack Americans in Afghanistan.

          469.    Among other things, Bari was openly associated with Taliban-linked businesses

   and accounts that were, on paper, connected to Mullah Omar, and his terrorist connections were

   open and notorious to anyone with whom he or his associated interacted, including the financial

   institutions that serviced him until 2006.

          470.    After 9/11, Bari played a key role as al-Qaeda guided the Taliban in its post-9/11

   transformation from failed illegitimate regime to key cog in al-Qaeda’s terrorist Syndicate. Bari

   was directly tasked by Mullah Omar and the Haqqanis with managing a network of businesses in

   Afghanistan, Pakistan, the U.A.E., and Europe that existed for the sole purpose of financing,

   funding, and logistically supporting terrorist attacks against Americans in Afghanistan.

          471.    Between 2001 and 2006, Bari regularly used bank accounts associated with his

   business to finance al-Qaeda and Talban (including Haqqani Network) operations in Afghanistan




   225
      States News Service, Press Release from Congressman Ed Royce, Royce Commends Guilty
   Verdict in Trial of International Arms Dealer Viktor Bout “Justice Served,” Says Terrorism
   Chair (Nov. 2, 2011).


                                                  148
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 164 of 606 PageID #: 164




   and Pakistan by moving millions of U.S. Dollars to al-Qaeda and Taliban (including Haqqani

   Network) terrorists in both countries.

           472.    Bari’s ability to access financial institutions in the U.S. and Europe was essential

   to his ability to finance, fund, and logistically support al-Qaeda and Taliban (including Haqqani

   Network) operations in Afghanistan and Pakistan.

           473.    From 2001 through 2006, Bari effectively served as a personal banker to top

   Syndicate leaders, including al-Qaeda commanders, the Haqqanis, and Mullah Omar himself. To

   do so, Bari used complicit financial institutions, to help him directly or indirectly transfer at least

   $2.8 million, in U.S. Dollars, from accounts maintained by U.S. and/or European financial

   institutions to Syndicate-controlled accounts in Pakistan to support Syndicate operations,

   including, but not limited to, a $400,000 transfer for the direct benefit of Mullah Omar.

           474.    In addition to his financial role, Bari also supplied al-Qaeda and Taliban

   (including Haqqani Network) terrorists with weapons to attack Americans in Afghanistan.

           475.    In 2006, Pakistani authorities seized more than $5 million in al-Qaeda and

   Taliban (including Haqqani Network) funds contained in dozens of bank accounts controlled by

   Bari, citing their conclusion that the Syndicate had used the financial services provided by the

   banks in question to finance, fund, and arm terrorists in Afghanistan and Pakistan.

           476.    On May 17, 2012, the Treasury Department sanctioned Bari based on findings

   that substantially track Plaintiffs’ allegations.226




   226
      U.S. Department of the Treasury, Press Release, Treasury Imposes Sanctions on Individuals
   Linked to the Taliban and Haqqani Network (May 17, 2012).


                                                     149
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 165 of 606 PageID #: 165




          H.      Hikmatullah Shadman

          477.    From the 2000s through at least 2013, Hikmatullah Shadman (“Shadman”) was a

   notorious Taliban-adjacent warlord in Afghanistan who was known to provide, and did in fact

   provide, financial and logistical support to the Taliban, including its Haqqani Network. As such,

   Shadman fit the classic high-threat terrorist finance profile of someone who, while not a member

   of the Syndicate himself, had direct and notorious connections to the Taliban (including its

   Haqqani Network).

          478.    Shadman’s criminal enterprise relied on USD transactions. Shadman was paid in

   USD, Shadman relied upon USD-denominated financial services, and Shadman regularly made

   bulk USD cash payments in amounts of at least $30,000, usually denominated in $100 bills.

          479.    Shadman’s criminal enterprise depended upon regular bulk cash payments to the

   Taliban and Haqqani Network, including direct cash “tax” payments to the Taliban and the

   Haqqani Network, which were enforced as part of the Syndicate’s monopoly on the criminal

   activity, including protection rackets and money laundering enterprises, upon which Shadman’s

   business depended.

          480.    Shadman’s ability to access and distribute monies from his accounts with

   financial institutions like Defendants was critical to Shadman’s ability to fund Taliban and

   Haqqani Network operations. As a former forensic accountant from Task Force 2010 explained:

          The greater impact was civil forfeiture – taking the money away. Attack the
          money of aiders and abettors, not just beneficiaries, along the lines of the chain.
          Petraeus’ “money as a weapons system” was right; it’s also a weapon if you take it
          away. … An example was Hikmatullah Shadman, who was criminally indicted in
          2015. … We attacked 2 accounts that added up to $70 million.… That’s using
          money as a weapon. Follow and attack the money.227


   227
      Office of the Special Inspector General for Afghanistan Reconstruction, LL-03 – U.S.
   Perception and Responses to Corruption in Afghanistan, Lessons Learned Record of Interview,



                                                  150
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 166 of 606 PageID #: 166




          481.    U.S. government investigators found that Shadman transferred money to a

   notorious Taliban money launderer who had been linked to one or more suicide bombings

   committed by the Syndicate.

          482.    The U.S. government also determined that Shadman made regular “tax” payments

   of his Afghanistan-related income to the Taliban, including its Haqqani Network, as part of the

   Taliban’s extortion rackets in Afghanistan and Pakistan.

   IV.    DEFENDANTS EACH PLAYED A ROLE IN THE SYNDICATE’S CAMPAIGN
          OF TERROR AGAINST AMERICANS IN AFGHANISTAN

          A.      Deutsche Bank Enabled Syndicate Terrorist Finance

          483.    From 2009 through 2016, Deutsche Bank Defendants knowingly and directly

   transmitted at least $59,326,477 to Syndicate agents and operatives. Indeed, during this time,

   Deutsche Bank transferred at least $49,787,832 to Khanani and the Khanani MLO, at least

   $8,568,060 to Samir Azizi and the Azizi Cell, likely at least $10,000,000 to Imran Yakub Ahmed

   and the Ahmed Cell, and at least $970,585 to Mamoun Darkazanli and Mamdouh Mahmud

   Salim (The Hamburg Cell). See Table supra [pp. 5-6]. Even this, however, is just the tip of the

   iceberg, as discovery is likely to reveal Deutsche Bank transferred hundreds of millions of U.S.

   Dollars to the Syndicate during this time. For decades, Deutsche Bank deliberately served as a

   terrorist financier for al-Qaeda. While Plaintiffs allege that Deutsche Bank aided a litany of

   terrorist financiers, that is a separate point. Deutsche Bank itself was a financier for al-Qaeda

   and the Taliban. Even against the depraved conduct exhibited by the other Defendants in this

   case, Deutsche Bank’s stands out for one reason: Deutsche Bank affirmatively executed every




   Interview with Thomas Creal, Former Forensic Accountant on Task Force 2010, at 1 (Mar. 23,
   2016).


                                                  151
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 167 of 606 PageID #: 167




   key component of the Syndicate’s end-to-end finance needs for two of its most important income

   streams.

          484.    First, from 2000 through 2016, Deutsche Bank brazenly operated its own

   “Russian Laundromat” alongside a series of other Deutsche Bank-managed or aided

   Laundromats in Russia and eastern Europe, including, but not limited to, the “Moldovan

   Laundromat” and the “Azeri Laundromat.” Deutsche Bank’s “Russian Laundromat” used

   illicit transactions like “mirror trades” while providing purpose-built, bespoke, end-to-end

   terrorist finance and fundraising service to the Syndicate, through al-Qaeda and the Taliban via

   their agents Khanani and the Russian Mafia.228 Deutsche Bank’s personnel directly conspired

   with known Russian Mafia money launderers to custom build a Laundromat that Khanani and

   the Russian Mafia then used to convert al-Qaeda’s and the Taliban’s sea of rubles from their

   Russian opium sales, which were nearly worthless as an instrument of terrorist finance in

   Afghanistan, into U.S. Dollars, which directly resulted in more Syndicate terrorist attacks and

   more dead and injured Americans in Afghanistan by leveraging the purchasing power and

   stability afforded by the U.S. Dollar, the “gold standard” of Syndicate terrorist finance.229

          485.    “[T]he Deutsche Bank ‘mirror trading’ scheme … used Western banks” to move

   illicit income “out of Russia.”230 According to Mr. Enrich’s summary of the scheme, the




   228
     On information and belief, the lead DB Moscow architect of the Russian Laundromat, Mr.
   Wiswell, is currently evading his widely anticipated arrest and extradition to the United States.
   229
      Plaintiffs believe discovery is likely to reveal that Khanani directly or indirectly, aided the
   creation, operation, or refinement, of one or more of Deutsche Bank’s Laundromats, including,
   but not limited to, the Bank’s “Russian Laundromat.” Thus, for the avoidance of all doubt,
   Plaintiffs do not mean to imply that Khanani was uninvolved in the creation of the Russian
   Laundromat.
   230
      Anne Applebaum, A KGB Man to the End, The Atlantic (July 27, 2020), 2020 WLNR
   22507368.


                                                   152
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 168 of 606 PageID #: 168




   “customer [] participat[ed] in mirror trades with Deutsche to extract rubles from Russia and

   convert them into dollars, using Deutsche’s U.S. Operations—DBTCA—as a Laundromat,”

   after which Deutsche Bank wired the Syndicate’s freshly converted and cleansed U.S. Dollars to

   another high-risk jurisdiction where the “beneficiary” did “with the money as he pleased.”231

             486.   Deutsche Bank’s services were essential to the Russian Laundromat. The

   Syndicate, through Khanani and the Russian Mafia, needed to clean an avalanche of opium

   dollars, which grew larger as the Syndicate’s terrorist campaign intensified. Given the sheer

   volume of its opium cash flow, the Syndicate (through Khanani and the Russian Mafia) desired a

   custom-built Laundromat designed to conceal the Syndicate’s torrent of cash during the key

   Russian and eastern European legs of its journey to market before profits (and weapons) could

   flow back to the Syndicate in Afghanistan and Pakistan.

             487.   Second, from the mid-2000s through at least 2015, Deutsche Bank affirmatively

   assumed a second direct role as a Syndicate financier and fundraiser through the activities of

   Deutsche Bank’s German Laundromat, which the Bank operated through DB Frankfurt, and

   supported through DB London and DB New York (including DBTCA).

             488.   Deutsche Bank’s German Laundromat provided end-to-end terrorist finance

   services to the Syndicate like its Russian Laundromat counterpart. While the Russian

   Laundromat was all about al-Qaeda and Taliban opium, the German Laundromat was about

   specially trained al-Qaeda and Haqqani Network fundraising cells who raised tens of millions of

   U.S. Dollars for the Syndicate through a VAT fraud-based terrorist fundraising and finance

   scheme. This scheme involved al-Qaeda and Haqqani Network operatives working hand-in-hand

   with Deutsche Bank personnel to defraud European governments.


   231
         Enrich, Dark Towers, at 232 (emphasis added).


                                                  153
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 169 of 606 PageID #: 169




          489.    Like the Russian Laundromat, Deutsche Bank’s financial services were also

   essential to both sides of the terrorist finance equation: (1) Deutsche Bank helped the Syndicate

   illicitly fundraise through the scheme when it cloaked the Syndicate’s fraudulent transactions

   with the legitimacy of a global financial institution; and (2) thereafter, Deutsche Bank helped the

   Syndicate illicitly convert the fruit of their theft (denominated in euros) into the precious U.S.

   Dollars that the Syndicate required in Afghanistan, Pakistan, and the U.A.E. to support attacks

   against Americans in Afghanistan.

          490.    When Deutsche Bank helped its Syndicate customers raise, wash, and transfer

   tens of millions of U.S. Dollars through its Russian Laundromat and German Laundromat,

   Deutsche Bank assumed an active operational role in al-Qaeda and its Syndicate affiliates. It

   was Deutsche Bank – not the Syndicate – who took two key affirmative steps that enabled the

   Syndicate to raise and then move their U.S. Dollars back to the Syndicate to be used in

   Afghanistan, Pakistan, and the U.A.E. to attack Americans in Afghanistan.

          491.    With respect to the Syndicate’s illicit U.S. Dollar fundraising, it was Deutsche

   Bank, not Khanani, who conducted the coordinated “mirror trades” through the Russian

   Laundromat that functioned as fundraising by moving the Syndicate’s money (through Khanani)

   out of Russia so that the Syndicate (through Khanani) could then convert their largely worthless

   (for their purposes) Russian rubles into precious U.S. Dollars to fund attacks against Americans.

   And it was Deutsche Bank, not Azizi or Ahmed, who prepared key documentation that enabled

   the Syndicate to execute its VAT fraud to raise their desired terrorist funds.

          492.    With respect to the Syndicate’s illicit U.S. Dollar transfers, it was Deutsche Bank,

   not Khanani, who provided the key non-public information concerning the Bank’s own controls

   against terrorist finance, which the Bank deliberately did to make even more money from its




                                                    154
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 170 of 606 PageID #: 170




   Russian Laundromat by making it easier for the terrorist financiers using it to cover their tracks –

   and thereby win a larger share of the global “dirty money” business. And it was Deutsche Bank,

   not Azizi or Ahmed, who approved a host of transactions, as well as overrode the concerns of

   whistleblowers, to maintain the secrecy of the Syndicate’s VAT fraud schemes for years.

               493.    In two separate multi-year, 9-figure Syndicate terrorist finance schemes, Deutsche

   Bank twice chose to directly partner with the terrorists by helping them (through their agents and

   operatives) design and execute both the Syndicate’s illicit fundraising schemes and their

   associated illicit transfer schemes as well – the two sides of the terrorist finance coin.

               494.    As Mr. Enrich explained, “Deutsche’s embrace of a profits-at-any-price approach,

   its extreme tolerance for risks that were unbearable for most banks, had real-world

   consequences.”232 Because local currencies were notoriously unstable, violent actors needed “an

   international currency” to reliably source weapons, and “[t]he U.S. dollar [was] the closest thing

   to a globally accepted form of money—and Deutsche started helping” terrorist facilitators “get

   access to gobs of American currency.”233

               495.    A broad consensus of independent observers have concluded that Deutsche Bank

   operated as a Laundromat and was notorious for such conduct amongst the financial services

   marketplace, media, and its former employees: (1) David Enrich (New York Times): “Deutsche

   Bank” “got in” “trouble for being essentially a laundromat for Russian money”; (2) Philadelphia

   Inquirer: “Deutsche Bank” “developed a reputation as a laundromat”; (3) New Yorker:

   “Deutsche Bank helped” “[t]he Moscow Laundromat”; (4) Evening Standard: “Deutsche Bank”

   “process[ed] the cash in” “the UK end of the so-called Laundromat[,]” “[its] Russian money-



   232
         Id. at 103.
   233
         Id.


                                                      155
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 171 of 606 PageID #: 171




   laundering scam”; (5) Associated Press: “Between 2011 and 2014,” “21 shell companies[‘]”

   “funds were transferred worldwide via 112 bank accounts” “including” “Deutsche Bank” via “a

   scheme, dubbed Laundromat”; (6) Newsweek: “[T]he Global Laundromat” “scheme” “cleaned at

   least $20 billion,” and “[m]ost U.S. banks” “refused to offer banking services[,]” but “Deutsche

   Bank” “agreed” so “[o]nce again, Deutsche was the entry point for criminal Russian money into

   the global financial system”; (7) Bloomberg: “More than $889 million” was “transferred from

   Deutsche Bank accounts” “in the” “Troika Laundromat between 2003 and 2017”; and (8) Luke

   Harding (Guardian): “A group of Moscow bankers” “sen[t] cash out of [Russia] via a different

   route, nicknamed the Global Laundromat[,]” which was “another Russian money-laundering

   scheme” that “also involve[ed] Deutsche Bank.”234

          496.    U.S. law enforcement personnel have similarly excoriated Deutsche Bank for its

   role as one of the world’s worst criminal banks. For example, on May 4, 2015, Securities and

   Exchange Commission Kara M. Stein publicly stated:

          Deutsche Bank’s illegal conduct involved nearly a decade of lying, cheating, and
          stealing. This criminal conduct was pervasive and widespread, involving dozens
          of employees from Deutsche Bank offices including New York, Frankfurt, []
          and London. Deutsche Bank’s traders engaged in a brazen scheme …The
          conduct is appalling. It was a complete criminal fraud upon the worldwide
          marketplace. … the egregious criminal nature of the conduct and the duration of
          the manipulation (almost a decade) weigh heavily in my mind … Additionally,
          Deutsche Bank is a recidivist, and its past conduct undermines its current

   234
      David Enrich, quoted in Hardball with Chris Matthews for March 15, 2019, MSNBC,
   MSNBC: Hardball with Chris Matthews (Mar. 19, 2019), 2019 WLNR 8784955; Philadelphia
   Inquirer, Risky Debtedness (Sept. 30, 2020), 2020 WLNR 27621985; Caesar, Moscow
   Laundromat; Simon English, Banking Controls Over ‘Dirty Money’ Laundering Slammed,
   Evening Standard Online (Mar. 21, 2017), 2017 WLNR 8783127; Matti Huuhtanen, Report
   Reveals $21b Money-Laundering Plan; Scheme Allegedly Linked 21 Firms To 96 Countries,
   Associated Press, republished by Boston Globe (Mar. 22, 2017), 2017 WLNR 8845066; Luke
   Harding, Is Donald Trump's Dark Russian Secret Hiding in Deutsche Bank's Vaults?, Newsweek
   (Dec. 29, 2017), 2017 WLNR 39561107; Bloomberg, The Banks That Are Involved In The
   Russian Money Laundering Scandal, Republished by NoticiasFinancieras - English (Mar. 6,
   2019), 2019 WLNR 7192074; Luke Harding, Collusion 316 (Vintage Books 2017) (“Harding”).


                                                 156
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 172 of 606 PageID #: 172




             promise of future good conduct … many aspects of Deutsche Bank’s disclosures
             … to clients and the public also were clearly false. Based on this conduct, I do not
             find any basis to support the assertion that Deutsche Bank’s culture of
             compliance is dependable, or that its future disclosures will be accurate and
             reliable. … As the U.S. Commodity Futures Trading Commission’s (“CFTC”)
             Director of Enforcement noted: “Deutsche Bank’s culture allowed such
             egregious and pervasive misconduct to thrive.”235

             497.      “For over a decade, Deutsche has been part of almost every high-profile banking

   scandal.”236 Properly understood, Deutsche Bank’s “rampant misconduct was not an accident

   but the inevitable consequence of the culture, incentives, and neglect emanating from the top of

   Deutsche.”237 Deutsche Bank followed a “typical plan” whenever one of its criminal schemes

   was discovered: “Keep quiet, downplay the severity of the problem, and hope everyone gets

   distracted and moves on.”238

             498.      According to Ulrich Thielemann, a German business ethicist who studied

   Deutsche Bank’s conduct, it was reasonable to conclude that Deutsche Bank was “actually close

   to a criminal organization” because “[t]here [were] employees who [said] that the bank [was]

   designed in a way to make sure employees cheat[ed] and carr[ied] out fraudulent acts” with the

   understanding that “when this bec[ame] public,” the Bank could “always” (falsely) “say [that]

   these [were] isolated cases” of misconduct committed by “rogue employees,” rather than what




   235
     U.S. Securities and Exchange Commission, Dissenting Statement in the Matter of Deutsche
   Bank AG, Regarding WKSI (May 4, 2015) (emphasis added).
   236
     New Europe, Germany Probes Deutsche Bank’s Role in Danske-Laundromat Scandal
   (October 16, 2019), 2019 WLNR 31204583.
   237
         Enrich, Dark Towers, at 263.
   238
         Id. at 318.


                                                      157
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 173 of 606 PageID #: 173




   was, in fact, Deutsche Bank’s systematic Bank-wide operation as a Laundromat for Syndicate

   terrorist financiers through 2016.239

               499.   Wall Street analysts also branded “Serial Offender Status” upon Deutsche Bank.

   For example, in 2018, TheStreet.com reported that “Deutsche Bank’s Serial Offender Status” had

   “[d]raw[n] [c]riticism of” the Bank’s “Executives” and that “Deutsche Bank’s inability to learn

   from its checkered past has many market watchers questioning [] [Deutsche Bank] bigwigs” in

   light of the Bank’s “Laundromat” scandals, which had “drag[ed] Deutsche further into disrepute

   as well as the still churning Russian laundry.”240 Moreover, TheStreet.com reported that a

   prominent American CEO who was familiar with the allegations against Deutsche Bank

   concluded that the transactions in question “raise[d] red flags” of “criminal” activity, and,

   referencing Deutsche Bank, assessed that “[o]ver the next five to ten years we are going to

   discover that a number of prestigious banks,” including Deutsche Bank, “have been essentially

   laundering money for the Russian mafia.”241

               500.   Newsweek’s deep-dive investigation also concluded that Deutsche Bank’s

   Laundromat behavior was the product of broader criminality running throughout the Bank,

   including DB New York (including DBTCA), DB London, and DB Frankfurt:

               Between 2010 and 2014, Moscow bankers were sending cash out of the country
               through something called the Global Laundromat—a scheme that cleaned at least
               $20 billion, according to investigators in Moldova and the Balkans, though the
               true figure may be much greater. … According to one senior ex-employee, who
               worked in equities in Asia and New York, the bank’s problems went way beyond

   239
      Deutschlandfunk Kultur, Enthüllungen um die Deutsche Bank: In der Nähe einer kriminellen
   Vereinigung, Ulrich Thielemann im Gespräch mit Ute Welty (Sept. 22, 2020) (translated by
   Plaintiffs).
   240
      Kevin Curran, Deutsche Bank’s Serial Offender Status Draws Criticism of Executives,
   Regulators; The Hot Seat Atop Deutsche Bank Got a Bit Hotter After Thursday Morning’s Raid
   on the Company’s Frankfurt Headquarters, TheStreet.com (Nov.29, 2018) (Westlaw).
   241
         Id.


                                                    158
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 174 of 606 PageID #: 174




          these [Laundromat] scams. The 2008 crash hit Deutsche Bank hard, the
          employee said. In order to cover up holes in the balance sheet, a few members of
          staff took part in risky, complex and possibly illegitimate forms of finance. These
          practices were extensive, the person alleged. They might have involved
          innovative and opaque ways of getting outside parties to underwrite risky loans,
          the banker added, using structures to disguise who ultimately are the lenders and
          the beneficiaries.242

          501.    Members of Congress from both parties have also recognized that Deutsche Bank

   has operated as a rogue institution and direct threat to the safety of Americans. For example,

   Senator Ben Sasse stated that “Deutsche Bank turned a blind eye to blatant misdealing and

   suspicious transactions from a known” violent criminal who regularly attacked young American

   victims. Similarly, Senator Chris Van Hollen and Senator Elizabeth Warren excoriated Deutsche

   Bank for its systemic provision of financial services to terrorists: “[t]he compliance history of

   [Deutsche Bank] raises serious questions about the national security and criminal risks posed

   by its U.S. operations. This is particularly so, given its history of inadequate risk management

   and compliance policies and controls [and] poor corporate culture.”243 After Representative

   Maxine Waters, Chairwoman of the House Committee on Financial Services, investigated

   Deutsche Bank, she concluded it was “the biggest money laundering bank in the world.”

          502.    The common thread tying all the Deutsche Bank Defendants’ misconduct was

   their pursuit of their Laundromat business model. This model, which posed an extreme risk for

   terrorist finance, necessarily involved accepting the inevitable flow of vast sums of terrorist

   finance through Deutsche Bank accounts to Syndicate fronts, operatives, agents, and customers

   as Deutsche Bank’s necessary “cost of doing business” in “emerging markets.”



   242
     Luke Harding, Is Donald Trump’s Dark Russian Secret Hiding in Deutsche Bank’s Vaults?,
   Newsweek (Dec. 29, 2017) (emphasis added), 2017 WLNR 39561107.
   243
     Senator Chris Van Hollen and Senator Elizabeth Warren, Letter to the Honorable Mike Crapo
   (Dec. 13, 2018).


                                                   159
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 175 of 606 PageID #: 175




          503.    It was not a coincidence that the Syndicate’s overseas top money men and groups

   like Altaf Khanani, Imran Ahmed, Samir Azizi, and the Russian Mafia turned to Deutsche Bank.

   It was the foreseeable, inevitable – and desired – result of Deutsche Bank’s deliberate

   Laundromat strategy to maximize profits by recklessly facilitating illicit USD-denominated

   transactions in high-terrorist finance risk jurisdictions like Russia, Pakistan, and the U.A.E.

          504.    Deutsche Bank’s unlawful acts were not “one-off” instances of Syndicate

   operatives slipping through the cracks of a bank’s otherwise rigorous counter-terrorist finance

   practices. Rather, they were symptoms of pervasive money laundering, terrorist fundraising, and

   terrorist finance tolerated at Deutsche Bank, and aggressively practiced by DB New York, DB

   Moscow, and DB Dubai if the customer relationships were sufficiently lucrative.

          505.    Plaintiffs’ allegations concerning Deutsche Bank’s facilitation of Syndicate

   finance and logistics are most likely the “tip of the iceberg.” Discovery would likely identify

   additional relationships between Deutsche Bank and other Syndicate financiers or logisticians

   from 2001 through 2016 in addition to those set forth herein.

                  1.      Altaf Khanani and the Khanani MLO

          506.    Altaf Khanani was a Syndicate operative who also served as an agent and front

   for the Syndicate, including al-Qaeda, the Taliban (together with the Haqqani Network),

   Lashkar-e-Taiba, Jaish-e-Mohammed, and D-Company. Supra Part III.A.1.

          507.    Deutsche Bank served as a key financial partner for Khanani and, through its

   transactions with the Khanani MLO, enabled vast amounts of terrorist finance to flow through to

   the Syndicate’s members to support attacks against Americans in Afghanistan.

          508.    As context for Plaintiffs’ Khanani allegations, Plaintiffs first briefly outline the

   history of Deutsche Bank’s “Russian Laundromat” and mirror trades scheme, which was one of




                                                   160
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 176 of 606 PageID #: 176




   (but not the only) Deutsche Bank Laundromats that serviced al-Qaeda, the Haqqani Network,

   Lashkar-e-Taiba, and D-Company through the Khanani MLO.

          509.    In 2011, DB Moscow’s head equities trader, Tim Wiswell, met with two known

   launderers who were notoriously associated with the Russian Mafia. Infra Part V.A.2. During

   the meeting, Mr. Wiswell acted as an agent for Deutsche Bank, DB New York (including

   DBTCA), and DB London. Infra Part V.A.2. Mr. Wiswell and agreed to an expansive scheme

   during the meeting to launder “dirty money” through the use of illicit trades, such as “mirror

   trades,” whose only purpose was to facilitate financial crime, including terrorist finance. Infra

   Part V.A.2. After this meeting with the Russian Mafia, Deutsche Bank helped the Russian Mafia

   establish and operate the terrorist finance facility that Deutsche Bank itself internally described

   as its “Russian Laundromat” or “Laundromat.” Infra Part V.A.2.

          510.     When it created, operated, and serviced its criminal clients through the Russian

   Laundromat, Deutsche Bank, and each DB Defendant, understood that the Russian Laundromat

   was serving al-Qaeda, Haqqani Network, Lashkar-e-Taiba, and D-Company terrorist financiers

   as well. Among other reasons, Deutsche Bank knew that: (1) each such Syndicate member had

   a long-standing money-laundering relationship with the same Russian Mafia organization that

   Deutsche Bank partnered with to operate its Russian Laundromat; (2) the Russian Laundromat

   was, by design, meant to service not just the Russian Mafia, but also the Russian Mafia’s

   transnational criminal joint venture partners, most of all, the Syndicate members who supplied

   the opium that served as one of the Russian Mafia’s top income streams; and therefore (3) any

   Laundromat in such circumstances would – and did – inevitably be used by agents, operatives, or

   fronts for al-Qaeda, the Haqqani Network (and through it, the Taliban), Lashkar-e-Taiba, and D-

   Company to enable terrorist finance activities through the Russian Laundromat.




                                                   161
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 177 of 606 PageID #: 177




             511.   Once Deutsche Bank’s Russian Laundromat was fully operational, the Russian

   Mafia quickly put the word out to the terrorist financier community – chief among them, the

   world’s most notorious financer of them all, Altaf Khanani – who in turn flocked to Deutsche

   Bank. This was exactly what Deutsche Bank intended when it created its “Russian Laundromat”

   in the first instance. Soon thereafter, according to Guardian investigative journalist and best-

   selling author Luke Harding, “[DB Moscow] began notching up profits of $500 million to $1

   billion a year.”244

             512.   Mr. Enrich reported that “[a]s word spread about” Deutsche Bank’s “valuable

   money-laundering service” through the Bank’s mirror trading scheme, “Deutsche’s Moscow

   offices became a go-to destination for shadowy Russians.”245

             513.   Khanani and the Khanani MLO knew of, and were a key customer in, the Russian

   Laundromat, and every other Europe-related Laundromat exposed since 2015.

             514.   Khanani and the Khanani MLO controlled every bank account and corporate form

   operated on behalf of Al Zarooni Exchange, Mazaka General Trading and other Khanani MLO

   entities in the U.A.E., Europe, and Asia.

             515.   From 2001 through 2016, Khanani and the Khanani MLO notoriously operated as

   an operative for D-Company, and personal financier agent for D-Company head (and SDGT)

   Dawood Ibrahim, was always allied with, funded, and logistically supported al-Qaeda, Lashkar-

   e-Taiba, and other Syndicate members while Khanani served as its agent.

             516.   From 2001 through 2016, Khanani and the Khanani MLO also notoriously

   operated, among other roles for them, as a terrorist finance agent for: (1) al-Qaeda; (2) Sirajuddin



   244
         Harding at 310.
   245
         Enrich, Dark Towers, at 198.


                                                   162
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 178 of 606 PageID #: 178




   Haqqani personally; (3) the Haqqani Network (who represented the Taliban’s interests); (4)

   Lashkar-e-Taiba; and (5) and Jaish-e-Mohammed.

          517.     Thus, when Deutsche Bank transferred U.S. Dollars from New York to any

   account controlled by Khanani or the Khanani MLO, Deutsche Bank aided the terrorist finance

   activities and strategies of, and caused terrorist finance to flow to, al-Qaeda, the Taliban

   (including its Haqqani Network), Lashkar-e-Taiba, and/or Jaish-e-Mohammed.

          518.     From 2011 through 2016,246 and likely since after 9/11,247 Deutsche Bank

   provided financial services to Khanani and the Khanani MLO. During this period, Deutsche

   Bank transferred at least $50,507,832 U.S. Dollars from DBTCA accounts in New York to

   accounts operated on the Syndicate’s behalf by Khanani as the Syndicate’s agent. On

   information and belief, these numbers are the “tip of the iceberg.” Deutsche Bank’s true amount

   of Syndicate terrorist finance routed through Khanani from 2011 through 2016 likely exceeded

   $100 million.

          519.     As a top terrorist financier for al-Qaeda, the Taliban (including its Haqqani

   Network), Lashkar-e-Taiba, Jaish-e-Mohammed, and D-Company, Khanani regularly sent large

   U.S. Dollar sums to each Syndicate member through a combination of global financial

   institutions, money remitters, and regional banks. At all times, Khanani commingled the terrorist

   finance strategies he deployed jointly on behalf of his entire roster of Syndicate clients.




   246
      On information and belief, Deutsche Bank, DB London, DB Moscow, and DB New York
   (including DBTCA) continued providing financial services to Khanani and his front companies
   until on or about 2016, when regulators in the U.A.E. moved against him.
   247
       On information and belief, Khanani used Deutsche Bank, including DB London, DB New
   York (including DBTCA), and/or DB Moscow, collectively, for most of the “30 years” in the
   terrorist finance “market” that Khanani described during a secretly recorded Skype call.


                                                   163
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 179 of 606 PageID #: 179




          520.    On information and belief, after Khanani received Deutsche Bank’s U.S. Dollar

   transfers of at least $50,507,832, Khanani transferred at least $48,992,597 (the sum less the

   Khanani MLO’s 3% commission) to his Syndicate confederates and clients including al-Qaeda,

   the Taliban (including its Haqqani Network), Lashkar-e-Taiba, Jaish-e-Mohammed, and D-

   Company to support terrorist attacks against Americans in Afghanistan.

          521.    From 2008 through 2016, and most likely since 2001, Khanani, acting as al-

   Qaeda’s, the Taliban’s, and the Haqqani Network’s agent, regularly laundered the Syndicate’s

   overseas income, including opium-related profits, through Deutsche Bank, DB Frankfurt, DB

   New York, DB Dubai, and DB Moscow accounts. The Khanani MLO used such Deutsche Bank

   accounts to repatriate more than $100,000 per month, each year from 2008 through 2016, in

   laundered al-Qaeda and Taliban (including Haqqani Network) funds back to accounts controlled

   by agents or operatives for al-Qaeda, the Haqqani Network, or another Syndicate group to

   finance attacks against Americans in Afghanistan. These USD-denominated transactions

   originated in locations that included, but were not limited to, Europe, the former Soviet Union,

   and the Middle East, Hong Kong, Australia, and the United States, but were ordinarily routed

   through DB New York accounts held in the name of Al Zarooni Exchange, Mazaka General

   Trading, or other Khanani-related accounts.

          522.    Each Khanani MLO transaction with each Defendant caused a three percent (3%)

   “commission” to flow to Khanani as the Khanani MLO’s profit for conducting the terrorist

   finance transaction at issue. As a result, every Khanani MLO transaction directly enabled a

   second potent stream of terrorist finance that flowed to D-Company (and through it, to al-Qaeda

   and Lashkar-e-Taiba, which D-Company funded as an ally), and the Haqqani Network (and

   through it, the Taliban, of which the Haqqani Network was a part). In short, through Khanani’s




                                                  164
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 180 of 606 PageID #: 180




   own profit-sharing with D-Company and the Haqqani Network, the latter two terrorist groups

   directly profited every time the Khanani MLO earned its 3% commission from any Deutsche

   Bank-related transaction. This stream of terrorist finance alone caused the Syndicate to realize,

   at least, hundreds of thousands of U.S. Dollars each year through the profits shared by Khanani.

          523.    At the Khanani MLO’s standard three percent (3%) commission, Deutsche

   Bank’s $50,507,832 transactions for the Khanani MLO generated a profit of $1,515,234. On

   information and belief, based on these transactions alone, Khanani transferred ten percent (10%)

   or more of this profit (i.e., $150,000 or more) to D-Company and Khanani transferred 2.5% of

   this profit (i.e., approximately $38,000) to the Haqqani Network.

          524.    Given the volume of business that Khanani did through Deutsche Bank, on

   information and belief, Khanani’s collective U.S. Dollar profit-transfers to Dawood Ibrahim and

   the Haqqani Network, which were directly attributable to commissions the Khanani MLO earned

   on its transactions through Deutsche Bank exceeded at least $100,000 per year to the Haqqani

   Network and at least $500,000 per year to Dawood Ibrahim. These are the numbers one may

   reasonably infer on the mere assumption that Deutsche Bank only did $100 million in

   transactions per year with the Khanani MLO. This, however, is not plausible given the scale of

   Deutsche Bank’s Laundromats, which collectively moved tens of billions, and the Khanani

   MLO’s operations, which moved billions annually.

          525.    Deutsche Bank used multiple separate terrorist finance Laundromats to send U.S.

   Dollars to the Syndicate via Khanani, including, but not limited to, through Deutsche Bank’s

   Russian Laundromat and Moldovan Laundromat.

          526.    Deutsche Bank financed the Syndicate through the transactions it executed

   on behalf of Khanani though the Russian Laundromat. Through Mazaka General Trading




                                                  165
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 181 of 606 PageID #: 181




   and Al Zarooni Exchange, Khanani helped repatriate enormous sums for each member of the

   Syndicate. On information and belief, the Syndicate customers were, collectively, the largest

   part of Khanani’s customer base. Khanani collectively helped finance terrorism in vast sums

   denominated in U.S. Dollars per year, for al-Qaeda, the Taliban (including its Haqqani Network),

   Lashkar-e-Taiba, Jaish-e-Mohammed, and D-Company.

          527.    For example, over a little more than a year between 2013 and 2014, the Khanani

   MLO, acting through Mazaka General Trading, partnered with Deutsche Bank, through DB

   Moscow, DB London, and DB New York (including DBTCA), to repatriate at least $49,787,832

   from overseas accounts to its clients, al-Qaeda, the Taliban (including its Haqqani Network),

   Lashkar-e-Taiba, Jaish-e-Mohammed, and D-Company, through Deutsche Bank-designed and-

   executed mirror trades and/or one-legged trades on behalf of Mazaka General Trading. These

   transactions facilitated the Syndicate repatriating tens of millions of precious U.S. Dollars – its

   gold standard currency – from narcotics sales back to al-Qaeda and the Haqqani Network for use

   by Syndicate terrorists to attack Americans in Afghanistan.

          528.    DB Moscow managers, employees, and agents regularly colluded with terrorist

   financiers, including on information and belief the Khanani MLO and one or more other

   Syndicate fronts, operatives, or agents, to help Khanani and other Syndicate financiers evade

   U.S. and U.K. anti-money-laundering/counter-terrorist-finance controls in order to specifically

   route U.S. Dollars from DBTCA in New York to terrorists through DB Moscow and DB

   London. In so doing, these DB Moscow personnel crafted bespoke “mirror trades” and “one-

   legged trades” that were specifically designed to enable U.S. Dollars to flow through DBTCA to

   known or suspected terrorist agents, operatives, and fronts without detection by investigators.




                                                   166
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 182 of 606 PageID #: 182




          529.    On information and belief, the Syndicate repatriated at least tens of millions of

   illicit U.S. Dollars each year from 2011 through 2016 via Deutsche Bank’s mirror trades and

   one-legged trades on behalf of Mazaka General Trading, including but not limited to, trades

   executed for Khanani by DB Moscow, DB New York (including DBTCA), and DB London.

          530.    Deutsche Bank, through DB Moscow acting on behalf of DB New York

   (including DBTCA) and DB London as their agent, therefore fulfilled Khanani’s operational

   needs. Khanani used Deutsche Bank accounts to repatriate tens of millions (if not hundreds of

   millions) of illicit Syndicate USD-related income back to accounts controlled by agents or

   operatives of al-Qaeda, the Haqqani Network, or another Syndicate ally, to finance attacks

   against Americans in Afghanistan annually between 2011 and 2016.

          531.    From 2011 through 2015, Deutsche Bank, DB Moscow, DB London, and DB

   New York (including DBTCA), regularly engaged in multi-million-dollar “mirror trades” with

   Khanani through Deutsche Bank’s “Russian Laundromat.”

          532.    Deutsche Bank knew of the terrorist finance flowing to the Syndicate through

   DBTCA’s Laundromat-related transactions based upon the data it possessed. NYDFS, for

   example, caught Deutsche Bank by using simple data analysis techniques. The data and

   analytical tools available to each DB Defendant was far greater than the comparable data

   available to NYDFS, and therefore each DB Defendant knew of the terrorist finance risks of

   Deutsche Bank’s Syndicate-related transactions.

          533.    From 2011 through 2015, Deutsche Bank’s mirror trading scheme directly

   enabled Khanani’s repatriation of at least several million dollars per year from illicit al-Qaeda

   and Taliban (including Haqqani Network) profits in Russia and the Former Soviet Union,

   through other Khanani-controlled accounts, and ultimately landing back at accounts controlled




                                                   167
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 183 of 606 PageID #: 183




   by Syndicate agents or operatives, where the U.S. Dollars illicitly provided by Deutsche Bank to

   al-Qaeda and its allies through its mirror trading scheme could be used – and were used – to

   support terrorist attacks against Americans in Afghanistan.

          534.    Like many terrorist financiers, Khanani generally divided his activities among

   more than one front. To service the Syndicate’s U.S. Dollar cash flow needs, Khanani relied

   relatively equally upon Al Zarooni Exchange and Mazaka General Trading. As a result, if one

   entity engaged in a transaction, ordinarily one would expect to learn that the other entity engaged

   in a similar transaction, near in time, and in a similar amount.

          535.    On information and belief, al-Qaeda, the Haqqani Network, and other Syndicate

   members repatriated at least tens of millions of illicit U.S. Dollar income each year from 2011

   through 2016 via Deutsche Bank’s mirror trades and one-legged trades on behalf of Al Zarooni

   Exchange, including but not limited to, such trades executed for the Khanani MLO by DB

   Moscow, DB New York (including DBTCA), and DB London.

          536.    On information and belief, Khanani and his related entities constituted one or

   more of the specific entities described by NYDFS as having used Deutsche Bank’s mirror

   trading scheme to be “paid … in U.S. dollars” through “trades” that did not “demonstrate[] any

   legitimate economic rationale.”

          537.    Deutsche Bank’s assistance to al-Qaeda and its franchises through the Russian

   Laundromat aided al-Qaeda and its allies by helping conceal the terrorist finance enterprise itself.

   This extended the value of the enterprise and the Khanani MLO’s ability to extract more money

   from it. Indeed, this is a well-recognized – and critical – value-add from terrorist finance

   separate and apart from the money itself.




                                                   168
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 184 of 606 PageID #: 184




          538.     Deutsche Bank also financed the Syndicate through the transactions it

   executed on behalf of Khanani though the Bank’s Moldovan Laundromat. Deutsche Bank

   also aided and abetted Syndicate fundraising and finance through the financial services it

   provided to Khanani via the Bank’s “Moldovan Laundromat,” which continued to operate until

   2016, running even after the Bank began shutting down its “Russian Laundromat.”

          539.     For example, in just one four-month period alone in 2014, Deutsche Bank

   processed $720,000 in U.S. Dollar-denominated transactions on behalf of al-Qaeda and the

   Haqqani Network through their agent, the Khanani MLO, via Mazaka General Trading.

          540.     On information and belief, Khanani used Deutsche Bank to conduct the trades

   necessary for the Khanani MLO to collectively repatriate at least $100,000 per month to al-

   Qaeda, the Haqqani Network (and, through it, the Taliban), Lashkar-e-Taiba, Jaish-e-

   Mohammed, and D-Company throughout the duration of the Moldovan Laundromat from 2008

   through 2016.

          541.     Deutsche Bank’s transactions with Khanani through its Russian and

   Moldovan Laundromats directly aided Syndicate attacks against Americans in

   Afghanistan. The Deutsche Bank Defendants’ provision of financial services to Khanani

   funded Syndicate terrorists in Afghanistan and Pakistan from 2011 through 2016, though likely

   the Deutsche Bank Defendants were doing so since the early 2000s.

          542.     Deutsche Bank occupied a market position that was uniquely valuable to the

   Syndicate, as DB was the only major global financial institution with a robust presence in both

   Russia (through DB Moscow) – vital to the Syndicate’s overseas drug income – and the U.A.E.

   (through DB Dubai) – the Syndicate’s finance and logistics headquarters for the Middle East. As

   a result, Deutsche Bank was essential to the Syndicate’s ability to move money out of Russia




                                                  169
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 185 of 606 PageID #: 185




   through its allies in Russian organized crime and agents like Khanani, because no other major

   global financial institution would willingly do so.

               543.   Aside from the purchasing power afforded to the Syndicate by Deutsche Bank’s

   provision of U.S. Dollars to it through its mirror trades on behalf of Khanani, Deutsche Bank’s

   scheme to route terrorist finance to the Syndicate through its Laundromats also afforded crucial

   tactical advantages for the Syndicate’s lead drug financier: Khanani’s trades through his

   Deutsche Bank Laundromat accounts evaded terrorism-related sanctions and repatriated funds

   back to al-Qaeda and the Haqqani Network, which they used to attack Americans in Afghanistan.

               544.   Deutsche Bank’s Laundromat schemes directly undermined the U.S. anti-terror

   regime after 9/11. According to Ms. Belton, “[i]n the wake of the Bank of New York scandal

   and September 11 terror attacks, the US introduced tougher baking regulations that at first glance

   made the path for Russian black cash into American more difficult,” which required “more

   sophisticated schemes” so that “routes in” to the U.S. financial system can be “found” by

   criminals working with banks like Deutsche Bank.248 “In London, the doors were being opened

   ever wider to Russian cash,” such as through “the Deutsche mirror trade … scam,” which

   “showed that [] Russian shadow bankers took particular advantage” of UK banking rules to

   illicitly obtain U.S. Dollars through Deutsche Bank’s Russian Laundromat.249

               545.   Deutsche Bank’s provision of “mirror trading” services to the Syndicate through

   its relationship with Khanani had a devastating impact: it provided the Syndicate with the global

   financial institution analogue to hawala trading, backstopped by the legitimacy of Deutsche

   Bank. From the Syndicate’s terrorist finance perspective, “mirror trading” through Deutsche


   248
     Catherine Belton, Putin’s People: How the KGB Took Back Russia and Then Took On the
   West 416 (Macmillan 2020) (“Belton”).
   249
         Id.


                                                     170
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 186 of 606 PageID #: 186




   Bank offered much of the same upside as it obtained by moving terrorist funds through the

   hawala system. “Mirror trades” and hawala trades share the same hallmark: both facilitate the

   potentially concealed movement of funds between jurisdictions in a manner designed to evade

   ordinary course counter-terrorist finance scrutiny. Thus, when Deutsche Bank helped the

   Khanani MLO move millions of U.S. Dollars back to al-Qaeda and its allies, it facilitated cash

   flows that were harder to scrutinize and therefore easier for the terrorists to use, which enabled

   Khanani’s repatriation of the Syndicate’s opium money back to al-Qaeda and the Taliban.

          546.    Deutsche Bank knew its Laundromat transactions with Khanani aided the

   Syndicate. In addition to Plaintiffs’ general knowledge allegations concerning Khanani, supra

   Part V.F, a litany of additional factors specific to Deutsche Bank show each Deutsche Bank

   Defendant knew that Khanani was a Syndicate operative (through Khanani’s relationship with D-

   Company) who also served as an agent for every constituent member of the Syndicate (for whom

   Khanani laundered much of their overseas income, including their narcotics income), and whose

   entities served as a front for every constituent member of the Syndicate.

          547.    Deutsche Bank, DB Moscow, DB London, and DB New York (including

   DBTCA) knew about Khanani’s identity. Deutsche Bank followed counter-terrorist-finance

   policies that were designed to facilitate the Bank’s activities as a Laundromat while creating the

   veneer of legality through sham diligence processes in which the Bank deliberately avoided

   creating a paper trail when it provided services to customers, like Khanani, whom it suspected as

   terrorist financiers. Under this approach, each Deutsche Bank Defendant continually reviewed

   its business and individual relationships to ensure that Deutsche Bank provided the highest

   possible client service to its criminal/terrorist customers while hewing to Deutsche Bank’s




                                                   171
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 187 of 606 PageID #: 187




   reckless “risk appetite,” pursued until at least 2016, to facilitate U.S. Dollar transactions

   regardless of the level of terrorist finance risk.

               548.   Media reports at the time alerted Deutsche Bank to the extreme risk of processing

   any “mirror trades” or “one-legged trades.” For example, on August 1, 2011, the independent

   Russian news website Novaya Gazeta reported – in an article that the BBC translated into

   English and re-distributed throughout the world – that “illegal banking operations” were

   universal in Russia, that “the flows of ‘grey money’ and ‘black money’ for ultimate beneficiaries

   who” ranked in “the top [Russian Mafia] criminal hierarchy” were “fully comparable in []

   overall amount with the [Russian government’s official] budget.”250

               549.   Moreover, Novaya Gazeta reported (and BBC re-reported) that “[a]n entire

   industry of illegal banking operations [was] engaged in legitimizing, withdrawing, and ‘cashing

   out’ of funds” through financial crime schemes executed with the complicity of global financial

   institutions “[u]nder the pretext of some kind of contract” that “used” “overseas companies in

   off-shore zones” “where it [was] very difficult” for someone outside of the transaction “to locate

   the ultimate beneficiary, i.e., the actual owner of the money.”251

               550.   Further, Novaya Gazeta reported (and BBC re-reported) that Russian investigators

   familiar with the “industry” of financial crime in Russia had “specifically investigated banks

   through which special schemes (that involved both cashless as well as cash transactions)

   financed” “terrorism.”252




   250
      Leonid Nikitinskiy, Who is Mister Dvoskin?, Novaya Gazeta translated and re-published by
   BBC International Reports (Former Soviet Union), Russian Secret Service, Ministry said Vying
   to Control “Illegal” Banking Sector (Aug. 1, 2011).
   251
         Id.
   252
         Id.


                                                        172
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 188 of 606 PageID #: 188




               551.   The Novaya Gazeta reported (and BBC re-reported) that one of the persons who

   met with Deutsche Bank (via Mr. Wiswell) in Deutsche Bank’s 2011 Mafia Meeting was most

   likely acting as an agent of Vyacheslav Ivankov, the decades-long notorious Russian mobster

   who belonged to the same Russian Mafia organization as Semyon Mogilevich.

               552.   Other media reports in 2011 further contextualized Deutsche Bank’s earlier

   interactions with Cypriot Bank A as raising the extreme terrorist finance red flags they did.

   NYDFS documented that, after Deutsche Bank’s communications with Cypriot Bank A, “[a]

   second and strikingly clear warning arose shortly thereafter in November 2011, when a

   mainstream Russian-language business journal noted that the [Russian Federal Service for

   Financial Markets (or “FSFM”)] had suspended the operating licenses of several financial firms

   for engaging in suspicious trading” (the “November 2011 Article”).253

               553.   As recounted by NYDFS, the November 2011 Article “described an artifice very

   similar to the instant [Deutsche Bank] mirror trade scheme:

               According to an intelligence officer, the scheme operated as follows: a client
               wishing to move the money transferred the funds to a brokerage firm which then
               bought blue chips … Then the shares were sold in favor of a company-
               nonresident … which then sold the securities on the market and transferred the
               money minus the commission fee to the client abroad. The law enforcement
               authorities believe that approximately 100 billion rubles were siphoned abroad
               in this manner this year.

   “Notably,” according to NYDFS, “[Cyprus Bank A] was identified in the article.”254

               554.   According to NYDFS, “[t]he [November 2011 Article] led to an e-mail circulated

   to several members of management, in both Moscow and London, requesting that certain trading

   accounts be suspended. The e-mail also contained a link to the article, and its recipients included


   253
      NYDFS, In re Standard Chartered Bank, New York Branch, Consent Order, ¶ 35 (Apr. 21,
   2017) (emphasis added) (“2017 Consent Order”).
   254
         Id.


                                                     173
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 189 of 606 PageID #: 189




   a senior compliance staffer in London, along with several chief operating officers for various

   interested divisions. Numerous responsible managers were thus on notice of” the risk that

   “mirror trades” and “one-legged trades” could be used to facilitate terrorist finance through

   transactions that violated core anti-money-laundering and counter-terrorist-finance principles.

   Exactly what happened.

             555.   Even after Deutsche Bank knew that DB Moscow had engaged in mirror trades on

   behalf of a suspicious customer and knew that such trades posed an elevated risk of terrorist

   finance, “senior Deutsche Bank employees continued to discuss, for several months, how to

   obtain payment for the failed trades involving the suspended counterparty, which apparently cost

   the bank about $1.5 million in profit.”255

             556.   Deutsche Bank knew that Khanani did not have any “legitimate” Deutsche Bank

   customers, accounts and/or trades.

             557.   Deutsche Bank “ignored their own red flags” when executing their mirror trades

   for the Syndicate (through Khanani) while operating the Bank’s “Russian Laundromat.”256 Each

   Deutsche Bank Defendant’s officers, employees, and agents also understood that Deutsche Bank

   was helping Khanani regularly launder money between 2008 and 2016, and most likely going

   back to 2001. Data available to DB Moscow, DB London, DB New York, and DB Dubai

   regularly revealed suspicious USD-denominated transactions involving Russia, Pakistan,

   Afghanistan, and/or the U.A.E. that would have generated substantial discussion at each

   Deutsche Bank branch given the volume of account activity and corresponding DB profits. As a

   result, Khanani’s laundering activities would have been widely known throughout Deutsche


   255
         2017 Consent Order ¶ 37.
   256
     Equities.com, Deutsche Bank Ignored Their Own Red Flags Over Russia ‘Mirror-Trading’
   (Apr. 16, 2016), 2016 WLNR 11556118.


                                                  174
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 190 of 606 PageID #: 190




   Bank under its integrated approach to banking, including at the DB Defendants, because Khanani

   laundered, on information and belief, at least tens of millions of USD each year from 2001

   through 2016 through DB Frankfurt, DB New York, DB Dubai, and DB Moscow. The volume

   of his activity – and Deutsche Bank’s associated profits – was such that Khanani’s use of

   Deutsche Bank would have been widely known throughout Deutsche Bank.

          558.    The Deutsche Bank Defendants also knew that Khanani was engaged in

   inherently suspicious “mirror trading” activity using DB Frankfurt, DB New York, DB Dubai,

   and/or DB Moscow accounts, and that such mirror trading, in context of other red flags relating

   to Khanani, was highly indicative of potential terrorist finance.

          559.    The Deutsche Bank Defendants knew that Khanani regularly engaged in “mirror

   trading” strategies to launder money, and “mirror trading” was a common Khanani MLO

   strategy when repatriating Syndicate opium income from Europe and the former Soviet Union.

          560.    By early 2014, Deutsche Bank personnel began openly discussing “red flags”

   relating to one or more Khanani mirror trades through Deutsche Bank, including, but not limited

   to, through DB Moscow and DB New York. Deutsche Bank personnel understood that such

   Khanani mirror trades aided and abetted a violent life-endangering enterprise that, among other

   things, funded the Syndicate.

          561.    Deutsche Bank knew that it was unable to prevent any terrorist finance from

   flowing through its Laundromats. Indeed, even after learning that DB Moscow knew there was

   an active money laundering scheme using Deutsche Bank accounts, Deutsche Bank’s anti-money

   laundering and counter-terrorist finance team consciously disregarded the need to eliminate the

   ongoing terrorist finance flowing through Deutsche Bank at the time. Among other red flags

   they knew of and disregarded, Deutsche Bank’s counter-terrorist finance team ignored the




                                                   175
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 191 of 606 PageID #: 191




   crimson terrorist finance red flags present when they were told, by the Bank’s operations

   personnel that: “providing a spread-sheet [was] not [] possible as this [was] done manually by a

   team member and capturing so many records [would] be painful.” (Emphasis added.)

          562.    Deutsche Bank’s knowledge of the terrorist finance coursing through its branches

   via the Russian Laundromat was not limited to DB Moscow. Based on all the data, as Martin

   Flanagan explained, one may infer that DB London and DB New York (including DBTCA)

   knew of the USD-denominated terrorist finance that DB Moscow was enabling on behalf of the

   Syndicate through Deutsche Bank’s Russian Laundromat:

          It is strange Deutsche Bank did not realise it was on uneven terrain … [Russia’s]
          recent economic problems and the ‘cultural’ repercussions were [] well-known.
          … Russia [] gained a reputation in the City of London as the ‘wild East’ as crime
          in that country became virtually institutionalised, with public assets worth billions
          of dollars being sold for hundreds of millions of dollars. At one stage, Iceland
          was rumoured to be venue of choice for washing the rotten roubles. But Deutsche
          Bank in the regulatory dock shows the web went wider. … The rap sheet for the
          banking giant … clearly cannot be all laid at the door of the DB Moscow
          subsidiary. There were systemic failings here, not just a rogue Russo offshoot.257

          563.    Deutsche Bank, including DB Moscow, DB London, and DB New York, knew of

   the foreseeable terrorism risk when it processed Khanani’s transactions in though the Russian,

   Moldovan, and/or New York Laundromats. On information and belief, each such mirror trade

   that involved U.S. Dollars, or otherwise required the use of the U.S. financial system, was

   reviewed by compliance personnel in DB Moscow, DB London, and/or DB New York. In such

   reviews, the relevant Deutsche Bank personnel would have learned, among other things, that

   Deutsche Bank was facilitating obvious money laundering transactions (mirror trading) in huge

   volumes on behalf of the world’s most notorious terrorist money launderer (Khanani).



   257
     Martin Flanagan, Deutsche Bemused by Russian Deception, Scotsman (Feb. 1, 2017), 2017
   WLNR 3328390.


                                                  176
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 192 of 606 PageID #: 192




          564.    On information and belief, Deutsche Bank, including DB Moscow, DB London,

   and/or DB New York knew of such specific terrorist finance risks attendant to the Khanani-

   related mirror trades processed by Deutsche Bank and consciously disregarded such risks as the

   price of doing business with Khanani.

          565.    Deutsche Bank knew that the use of “mirror trades” and “one-legged trades” was

   always notorious as an age-old Russian technique for covertly financing violent transnational

   activities and laundering money.

          566.    On information and belief, Deutsche Bank, including DB Moscow, DB London,

   and DB New York, also subjected Khanani to scrutiny specifically because Khanani was a

   Pakistani national who, on information and belief, was known by Deutsche Bank to move money

   to Pakistan. Deutsche Bank, like Standard Chartered Bank, subjected transactions that had a

   Pakistani nexus to heightened scrutiny.

          567.    On information and belief, Deutsche Bank, including DB Moscow, DB London,

   and DB New York, knew that the Khanani-related mirror transactions processed by Deutsche

   Bank bore numerous red flags for terrorist finance, including, but not limited to: (1) that DB

   Moscow’s U.S. Dollar mirror trades were with Khanani, whom the Deutsche Bank Defendants

   knew to be a wanted terrorist financier with a specific reputation for enabling terrorist finance by

   al-Qaeda, the Taliban, and Lebanese Hezbollah; (2) that DB Moscow’s U.S. Dollar mirror trades

   for Khanani regularly resulted in unprofitable or minimally profitable (on paper) outcomes for

   Khanani, and therefore were not to generate income but to move money out of Russia, an

   indicator of illicit activity; (3) that DB Moscow’s U.S. Dollar mirror trades for Khanani were so

   egregious as to lack any plausible innocent explanation; and (4) that Khanani’s accounts

   experienced high turnover, but low beginning and ending daily balances, which was a signature




                                                   177
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 193 of 606 PageID #: 193




   terrorist finance and money laundering red flag that Khanani was specifically known for based

   on his KKI-related history, which the media extensively covered after 9/11.

             568.   Deutsche Bank knew that the Bank’s mirror trades, as practiced by DB Moscow,

   were inherently suspect for money laundering and terrorist finance. This was obvious to the

   Deutsche Bank personnel at DB London and DB New York who facilitated DB Moscow’s

   execution of the mirror trading scheme. Indeed, Deutsche Bank traders admitted to NYDFS that

   they knowingly conducted mirror trades they understood to be wrongful because such trades

   generated “good commission[s].”258

             569.   On information and belief, Deutsche Bank’s internal investigations, including but

   not limited to Project Square, determined that, among other things: (1) Deutsche Bank engaged

   in one or more illegal U.S. Dollar trades on behalf of Khanani, including front entities affiliated

   with Khanani, between 2011 and 2014; and (2) Deutsche Bank had no reason to contest the

   conclusion that Deutsche Bank engaged in systemic terrorist-finance-related misconduct in

   connection with Deutsche Bank activity at DB Moscow, DB London, and DB New York.

   According to Mr. Laabs, the Project “Square audit” “delivered clear results: Deutsche Bank

   employees in Moscow had helped Russian clients smuggle money, via London and the DBTCA

   in New York, into offshore accounts that were registered in Cyprus, among other places.”259

             570.   During a presentation in 2017, Deutsche Bank’s senior executives were advised

   that the Bank’s investigators had concluded that Deutsche’s “Russian Laundromat” was illegal

   and exposed the Bank’s senior executives to significant legal risk. On information and belief,

   Deutsche Bank’s investigators specifically determined that the Bank broke one or more laws



   258
         2017 Consent Order ¶ 26.
   259
         Laabs, Bad Bank, at 517 (translated by Plaintiffs) (emphasis added).


                                                    178
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 194 of 606 PageID #: 194




   when Deutsche Bank, DB Moscow, DB London, and/or DB New York (including DBTCA)

   conducted transactions with Altaf Khanani, the Khanani MLO, Mazaka General Trading, Al

   Zarooni Exchange, Wadi al Afrah, and/or other Khanani-related parties.

          571.    Deutsche Bank’s “mirror trades” and “one-legged” trades were deliberately

   pursued by DB Moscow managers, employees, and agents with the actual knowledge that they

   were helping terrorists, including but not limited to Altaf Khanani, obtain U.S. Dollars through

   Deutsche Bank’s financial services.

          572.    Deutsche Bank has publicly admitted that DB Moscow engaged in a multi-year

   criminal scheme and has effectively admitted that DB Moscow deliberately aided Khanani’s

   terrorist finance efforts on behalf of the Syndicate. For example, during a hearing in Russian

   court on February 1, 2016, a Deutsche Bank lawyer admitted that DB Moscow had been the site

   of a “scheme for the withdrawal of billions of dollars from [Russia]” and that such “scheme” had

   been “mastermind[ed]” by a senior DB Moscow manager, and American national, Tim Wiswell.

          573.    Deutsche Bank’s attempt to paint Mr. Wiswell as a “rogue employee” reflected

   Deutsche Bank’s consciousness of guilt concerning the Khanani- and Russian Mafia-related

   Syndicate finance enabled by the Bank. This was a strategy by Deutsche Bank to deflect

   attention from the much broader Laundromat it operated for decades, as well as to conceal the

   extent of the involvement of its executives, DB New York (including DBTCA), and DB London.

          574.    Aside from Deutsche Bank’s “mirror trade” schemes under its “Russian

   Laundromat,” Deutsche Bank, DB London, DB New York (including DBTCA), and DB

   Moscow also knew that Khanani’s other account activity at the DB Defendants, including but not

   limited to activity by Al Zarooni Exchange and Mazaka General Trading, manifested clear “red

   flags” of terrorist finance including, but not limited to: (1) substantial, regular USD-




                                                   179
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 195 of 606 PageID #: 195




   denominated cash transfers between and amongst Russia, Pakistan, the U.S., and/or the U.A.E.;

   (2) direct or indirect affiliations with Khanani; (3) strong indicia of Syndicate narcotics-related

   laundering activity, including the large volume of cash, and geographies, associated with

   Syndicate narcotics trafficking; and (4) an inability to explain the enormous volume of activity

   through any legitimate business. Simply put, the Deutsche Bank Defendants knew there was no

   plausible explanation for the scale of financial activity associated with Khanani’s companies, and

   therefore they knew the specific risks that these two entities were laundering money for terrorists

   like the Syndicate, as they were.

          575.    Deutsche Bank has also admitted its culpability through its subsequent conduct.

   For example, on or about November 2015, Deutsche Bank announced that it would cease

   accepting new clients in what Deutsche Bank understood to be high-risk markets. On

   information and belief, Deutsche Bank made this announcement, at least in part, because

   Deutsche Bank understood that its mirror trades on behalf of Khanani were illegal, which

   Deutsche Bank knew had aided and abetted anti-American terrorism.

          576.    On information and belief, Deutsche Bank managers, employees, and agents,

   including but not limited to, those at DB Moscow and DBTCA, identified Khanani as a

   “priority” client based upon the volume of business Khanani sent to Deutsche Bank and, as such

   a “prioritized client,” Deutsche Bank affirmatively sought to ease Khanani’s transactions.

          577.    Deutsche Bank knew that the Khanani MLO’s use of Deutsche Bank accounts to

   finance attacks by al-Qaeda, the Taliban (including the Haqqani Network), Lashkar-e-Taiba,

   Jaish-e-Mohammed, and D-Company was a foreseeable consequence of DB London’s, DB

   Frankfurt’s, DB New York’s, DB Dubai’s continued use of DB Moscow as agent for their trades.




                                                   180
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 196 of 606 PageID #: 196




          578.    Deutsche Bank and each Deutsche Bank Defendant knew that the Khanani

   MLO’s terrorist clients, including al-Qaeda and its affiliates, attempts to access the U.S. financial

   system through its Laundromats depended upon the involvement of DB London, DB Frankfurt,

   and DB New York and each DB Defendant understood that its role was directly necessary to

   enabling the terrorists’ desired U.S. Dollar transactions.

          579.    Deutsche Bank knew that Deutsche Bank, DB London, DB New York (including

   DBTCA), and DB Moscow, were, collectively, one of the Russian Mafia’s preferred banks, and

   had been for decades. According to investigative journalist David Cay Johnston, “Deutsche

   Bank [was] a preferred bank for Russian criminal money laundering” since the 1990s;260

   commentator Deborah Long noted that “Deutsche Bank [was] known as the go-to bank for

   international money laundering, particularly for the Russian Mob.”261

          580.    Deutsche Bank also knew of the specific threat that serving its Russian Mafia-

   affiliated customers posed to the physical safety of Deutsche Bank personnel. For example, in

   1999, the Evening Standard reported that “life in a city in the grip of the Russian mafia,” i.e.,

   Moscow, could “be dangerous so” Deutsche Bank offered generous “life insurance” benefits to

   its DB Moscow executives.262 Such knowledge, among other things, alerted Deutsche Bank to

   the foreseeable risk that its provision of financial services to customers could lead to acts of

   terrorism.




   260
      Quoted in CNN: Anderson Cooper 360, 11/22/18 CNN: Anderson Cooper 360 (Nov. 22,
   2018), 2018 WLNR 37373021.
   261
     Deborah Long (Development Management Group, Inc.), In Flagrante Delicto, The Moderate
   Voice (Dec. 9, 2019), 2019 WLNR 36911935.
   262
     Melanie Tringham, Spilling the Beans on How the Highflier’s Pay Package Stacks Up,
   Evening Standard (Feb. 26, 1999), 1999 WLNR 9175501.


                                                    181
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 197 of 606 PageID #: 197




               581.   DB London and DB New York (including DBTCA) knew that any U.S. Dollar

   correspondent bank in New York would quickly become a bank of choice for terrorist financiers

   and money launderers, including the Russian Mafia, if the American bank did not maintain a

   robust system of internal controls. DB New York knew so because it publicly mocked other

   banks in New York (before its’ own criminality was exposed) for disregarding such risks. In

   1999, for example, Deutsche Bank mocked Bank of New York Co. (or “BNY”) – a staunch rival

   of DB New York – for conduct that was eerily like Deutsche Bank’s own conduct at the time

   (and later). “A massive investigation into potential money laundering at Bank of New York

   Co.,” in which “federal authorities … investigat[ed] thousands of transactions” relating to

   allegations that “up to $10 billion may have passed through a series of accounts with possible

   links to Russian organized crime.”263 On these allegations, Deutsche Bank commented in an on-

   the-record interview with American Banker that the allegations that BNY helped wash the

   Russian Mafia’s money “raises the question of whether there were lax controls,” concluding:

   “[m]aybe they need to do things differently.”264 Moreover, Deutsche Bank’s awareness of the

   Russian Mafia’s U.S. Dollar Laundromat at BNY also prompted the Bank to acknowledge, as

   then-CEO Rolf Breuer admitted, “It is possible that we were misused as intermediaries” by the

   same Russian Mafia group that had executed the Laundromat at BNY.

               582.   Deutsche Bank knew of the terrorist finance risk attendant to its Laundromat

   business model based upon Bankers Trust’s extensive business and negotiations history with

   notorious terrorist aider-and-abettor BCCI. Among other things, Bankers Trust knew that BCCI

   had contemplated acquiring Bankers Trust, but that BCCI’s management had specifically walked


   263
     Liz Moyer, Laundering Probe Not Expected to Harm Business at Bank of N.Y., American
   Banker (August 20, 1999), 1999 WLNR 2772716.
   264
         Id.


                                                     182
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 198 of 606 PageID #: 198




   away from the negotiations because doing so would have made New York BCCI’s “home state,”

   subjecting BCCI to New York’s aggressive regulators, and reduced BCCI’s profits by making it

   harder for BCCI to operate as a Laundromat that aided (and profited from) customers’ financial

   crimes, including terrorist finance. Indeed, “Deutsche Bank” has “steadily [been] revealed to be

   the greatest repository of corporate corruption since BCCI.”265

          583.    Each Deutsche Bank Defendant also knew the violent consequences of its

   provision of banking services to fronts, operatives, and/or agents of al-Qaeda and the Haqqani

   Network, among other designated terrorists, because Deutsche Bank was charged with, and

   admitted to, knowledge of United States laws that prohibited material support to, aiding and

   abetting of, and conspiracy with terrorist groups. Deutsche Bank submitted responses to a

   questionnaire from the Wolfsberg Group and represented that DB maintained “documented

   policies and procedures consistent with applicable AML [anti-money laundering], CTF [counter-

   terrorist finance] & Sanctions regulations to reasonably prevent, detect, and report: Money

   laundering[;] Terrorist financing[;] [and] “Sanctions violations.” (or “CTF”), and “policies and

   practices” were “being applied to all branches and subsidiaries of [Deutsche Bank] both in the

   home country and in locations outside of that jurisdiction.” Each DB Defendant knew such rules

   and regulations in order to comply with them. Accordingly, the DB Defendants, including DB

   New York, should be charged with knowledge of U.S. banking rules and regulations in

   connection with each DB Defendant’s involvement of DB New York in any transactions.

          584.    Deutsche Bank knew that terrorists from outside of Russia – precisely like the

   Syndicate, through Khanani – would foreseeably take advantage of the “Russian Laundromat”



   265
      Marshall Auerback, Recession Signs Are Hitting Europe; Is Lagarde Up For The Challenge?,
   Phil's Stock World (Aug. 4, 2019), 2019 WLNR 23807442.


                                                  183
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 199 of 606 PageID #: 199




   that it built with the Russian Mafia. For example, according to Ms. Belton, one of the primary

   lessons that observers, like Deutsche Bank, took from the BNY scandal in the late 1990s was that

   “the architecture of the [BNY Laundromat]” did not just benefit Russian interests: “those who

   used [the Laundromat] included anyone who wanted to move money out of Russia into a safe

   haven in the West.” 266 According to Ms. Belton, “Just as with the later Russian black-cash

   schemes, such as the Moldovan Laundromat and the Deutsche Bank mirror trades,” “the

   beneficiaries … included mobsters” from other countries.267 As a result, “[t]he way was being

   paved for the later schemes, including the … Deutsche Bank mirror trades that would funnel …

   billions of dollars in Russian black cash into the West.”268

               585.    Deutsche Bank understood, and publicly explained to others, the tight fusion

   between providing banking services to terrorist agents, operatives, and fronts, one the one hand,

   and anti-American terrorist violence, on the other. For example, Deutsche Bank hosted a large

   public forum in 2010 in which the keynote speaker discussed the size of the terrorist economy.

   The speaker explained that terrorist groups require money to conduct attacks and therefore

   halting the flow of funds to groups through the financial system is necessary to preventing

   terrorist violence, among other things.

               586.    Deutsche Bank closely monitored terrorist finance and operational risk around the

   world as part of its normal business operations and regularly issued public statements reflecting

   its close observation of terrorism-related trends. For example, in separate public comments in

   2004, Deutsche Bank analysts discussed the economic “implications of further terrorism” in the




   266
         Belton at 414.
   267
         Id.
   268
         Id. at 415.


                                                      184
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 200 of 606 PageID #: 200




   Middle East in one analysis and the investment risks attendant to the U.S. government’s

   “ongoing terrorist concerns” in another.269 Similar Deutsche Bank public reports and comments

   demonstrated scrutiny of terrorism-related trends followed every year thereafter until 2016.

             587.     Ever since 9/11, Deutsche Bank has maintained a corporate security program to

   carefully stay abreast of terrorism-related trends. In the aptly entitled article “Bank Security

   Sees Threats Everywhere,” the Australian Financial Review reported that “[t]he rising tide of

   terrorism … has also forced banks to cast their net for security experts more widely. The

   managing director of Deutsche Bank’s global cash and trade operations, Lester Owens, said it

   was now routine for banks to hire experts from government intelligence agencies, the military

   and even the medical sector to staff their risk management practices.”270

             588.     In his detailed book studying Deutsche Bank, titled Bad Bank, Dirk Laabs

   reported that Deutsche Bank’s conscious decision to literally place profits above terrorist finance

   risk in its decision-calculus reflected the recognition by the Bank’s executive leadership and

   Board that “[t]he bank unabashedly benefited from deliberately letting dirty money flow through

   its official channels.”271 “In order to do so,” according to Mr. Laabs, “Deutsche Bank employees

   have regularly broken US laws since 1999,” including counter-terrorism laws specifically

   prohibiting financial services and/or transactions with counter-parties who were “suspected of

   directly financing and supporting terrorists.”272




   269
       Agence France Presse English Wire, Oil Prices Slip, Supply Fears Linger (May 25, 2004);
   Fleur Leyden with Bloomberg, Metal Rises Boost Aussie, Sunday Age (May 30, 2004), 2004
   WLNR 24055766.
   270
       Julian Bajkowski, Bank Security Sees Threats Everywhere, Australian Financial Review (Oct.
   13, 2006), 2006 WLNR 26979526.
   271
         Laabs, Bad Bank, at 154-55 (translated by Plaintiffs).
   272
         Id. (translated by Plaintiffs).


                                                     185
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 201 of 606 PageID #: 201




             589.    Deutsche Bank understood, and accepted, that it would specifically aid al-Qaeda

   and its affiliates through its provision of banking services. For example, according to Mr. Laabs,

   even though the U.S. government requested that global financial institutions cease doing

   business with Sudanese customers whom the U.S. government determined posed a high risk of

   serving as terrorist fronts for “financing al-Qaeda,” “the responsible employees of Deutsche

   Bank did not care” about the specific al-Qaeda terrorist finance risk – “they did not want to

   forego” what one Deutsche Bank employee described as the Bank’s “very lucrative business”

   notwithstanding the specific U.S. government concern about the risk that such business would

   aid-and-abet al-Qaeda.273

             590.    Deutsche Bank’s knowing tolerance of the high risk its transactions would benefit

   al-Qaeda was also demonstrated by the Bank’s willingness to continue servicing bin Laden’s

   family company, the Saudi Binladen Group, even after U.S. counter-terrorism experts warned

   (correctly) that at least some of the money sent to the Saudi Binladen Group was flowing through

   to Osama bin Laden and/or the numerous other bin Laden family members who actively

   supported al-Qaeda. By doing so, Deutsche Bank demonstrated that it was willing to, in effect,

   blindly bank with potential customers who had as direct a relationship with bin Laden as

   possible. Deutsche Bank did so even though it was widely reported in the media at the time that

   bin Laden remained in touch with, and received financial support from, certain members of his

   family. As Steven A. Cook, an Arab policy specialist at the Council on Foreign Relations,

   explained at the time, “[t]he [bin Laden] family ha[d] said they’ve cut [Osama bin Laden] off,

   but [that was] a fiction. He’[d] been in constant touch with some family members – their




   273
         Laabs, Bad Bank, at 155-56 (translated by Plaintiffs).


                                                     186
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 202 of 606 PageID #: 202




   situation [was] very murky. You [could not] separate the [bin Laden] family from the [Saudi

   Binladen Group].”274

          591.    Deutsche Bank also specifically understood the extreme risk that its financial

   services could aid-and-abet al-Qaeda terror attacks against Americans because Deutsche Bank

   knew that numerous Deutsche Bank accounts had done exactly that prior to 9/11. Indeed, after

   9/11, Deutsche Bank finally acted against ten customer accounts associated with individuals

   (whom Deutsche Bank on information and belief knew prior to 9/11) were affiliated with al-

   Qaeda, which contained currencies valued at more than one million U.S. Dollars. On

   information and belief, however, Deutsche Bank only did this after the 9/11 attack had revealed

   the linkage to the Deutsche Bank customers in question and after the U.S. government

   specifically identified the al-Qaeda customers in question.

          592.    Deutsche Bank also had a uniquely up-front-and-personal vantage point in

   Pakistan from which to watch the Taliban rebuild after 9/11: the Talban’s public, post-9/11

   headquarters in Pakistan was mere blocks from Deutsche Bank’s then-existing branch in

   Islamabad. As a result, Deutsche Bank’s personnel in Pakistan regularly witnessed, or were

   otherwise aware of, Taliban-related traffic, activity, and events in Pakistan.

          593.    Each Deutsche Bank Defendant closely monitored al-Qaeda, Taliban, and

   Haqqani Network activity in Afghanistan and Pakistan, as Deutsche Bank tracked the level of

   violence in Afghanistan to project economic growth trends in key markets like Asia.

          594.    Deutsche Bank also specifically understood that al-Qaeda and the Taliban posed a

   terrorist threat to Americans after 9/11, and that Americans in Afghanistan remained under



   274
      Quoted in Jennifer Gould Keil, In Bad Company – U.S. Firms Still Working With Bin Laden’s
   Relatives, N.Y. Post (June 13, 2004), 2004 WLNR 19625177.


                                                   187
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 203 of 606 PageID #: 203




   significant threat of terrorist attack from al-Qaeda and the Taliban. For example, as a Deutsche

   Bank currency strategist stated in a research note published after 9/11, “[t]he hard work of

   finding [al-Qaeda and Taliban] terrorists and ferreting them out from caves still remain[ed].”

   Similarly, after bin Laden was killed in 2011, a Deutsche Bank analyst publicly stated that

   “[t]here [was] still some follow-through from Osama bin Laden’s ending,” and “it [was] hard do

   see how [it] really [was] the case” that bin Laden’s death would “remove” “geopolitical risk.”

          595.    Deutsche Bank also publicly admitted that the Bank foresaw that it was possible

   that Deutsche Bank could refuse to take acts requested by the U.S. government specifically to

   reduce the threat of terrorist attacks by al-Qaeda and the Taliban. For example, in October 2001,

   Rolf Breuer, Deutsche Bank’s then-CEO, stated that while the Bank had already provided all or

   nearly all the assistance necessary to interdict al-Qaeda and Taliban finance flowing through its

   branches – another lie by Mr. Breuer – Deutsche Bank’s support for the U.S. counterterrorism

   agenda was limited. “So far,” Mr. Breuer warned, Deutsche Bank “fully [stood] behind

   everything President Bush has ordered” with respect to al-Qaeda, the Taliban, and terrorist

   finance after 9/11. Mr. Breuer’s statement necessarily admitted that Deutsche Bank reserved the

   right to disregard U.S. counter-terrorism requests relating to al-Qaeda and the Taliban.

          596.    Deutsche Bank’s willingness to profit from serving the Syndicate through its al-

   Qaeda terrorist customers was not out of place for Deutsche Bank: from the 1990s through

   November 2001, Deutsche Bank also directly serviced Taliban accounts at Bank Millie Afghan

   that Deutsche Bank knew helped the Taliban launder money, including on information and

   belief, opium-related money.

          597.    Deutsche Bank knew that large volumes of “mirror trades” foreseeably raised red

   flags for terrorist finance operations. In a public research report published by DB London on




                                                  188
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 204 of 606 PageID #: 204




   March 9, 2015, for example, Deutsche Bank “[a]nalyz[ed] data from other countries, [and]

   deduced where the vast majority of unrecorded capital flowing into the U.K. was coming

   from.”275 As reported by The New Yorker:

               Since 2010, [DB London] wrote, about a billion and a half dollars had arrived,
               unrecorded, in London every month; “a good chunk” of it was from Russia. “At
               its most extreme,” the [DB London] authors explained, the unrecorded capital
               flight from Moscow included “criminal activity such as tax evasion and money
               laundering.” In a connected and digitized financial system, how could such
               capital flight happen? … [DB London] did not have to wait long, or look far, to
               learn the shameful answer: of the eighteen billion dollars that [DB London] had
               estimated was flowing into the U.K. each year, about twenty per cent had arrived
               there as the result of trades made at their own bank 276

               598.   Deutsche Bank knew that Khanani’s transactions through Deutsche Bank raised

   red flags: on information and belief, Khanani consistently lost money on every trade. As The

   New Yorker reported, Deutsche Bank’s:

               mirror trades[] on behalf of other counterparties … were supposedly subjected to
               a rigorous “client review” process, and all of them were deemed satisfactory by a
               Deutsche Bank compliance team. But there was a pattern suggesting
               malfeasance. Clients of the scheme consistently lost small amounts of money: the
               differences between Moscow and London prices of a stock often worked against
               them, and clients had to pay Deutsche Bank a commission for every transaction—
               between ten hundredths and fifteen hundredths of a percentage point per trade.
               The apparent willingness of counterparties to lose money again and again, a
               former manager at Deutsche Bank told me, should have “sounded an air-raid
               alarm” that the true purpose of the mirror trades was to facilitate capital flight.277

               599.   From 2008 through 2016, and most likely since 2001, each Deutsche Bank

   Defendant knew that Deutsche Bank was facilitating laundering efforts by Khanani that

   benefited, among others, al-Qaeda and the Taliban (including its Haqqani Network), but the DB

   Defendants declined to take any meaningful steps to interdict the Syndicate’s recycling of



   275
         Caesar, Moscow Laundromat.
   276
         Id.
   277
         Caesar, Moscow Laundromat.


                                                        189
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 205 of 606 PageID #: 205




   overseas profits back into terrorist operations through Deutsche Bank accounts, including DB

   Frankfurt, DB New York, DB Dubai, and DB Moscow accounts.

             600.   On information and belief, DB Moscow and DB Dubai only stopped providing

   financial services to Al Zarooni Exchange after the UAE’s Central Bank revoked its license in

   2016, which rendered Deutsche Bank’s earlier posture no longer tenable.

             601.   On or about 2017, after every Plaintiff was injured, Deutsche Bank fully ended

   every Russian Mafia- and Khanani-Related Laundromat. As Ms. Belton reported, “[t]hough all

   of the [Deutsche Bank Laundromat] schemes were eventually shut down after they attracted too

   much scrutiny, each time it was too little too late. By the time Russian regulators moved in on

   them, tens of billions of dollars had already moved illegally into the West.”278

                    2.     Samir Azizi and the Azizi Cell

             602.   Samir Azizi was a dual-hatted operative of Al-Qaeda and the Haqqani Network.

   He led the Azizi Cell, which functioned as an al-Qaeda and Haqqani Network front that was

   created to raise funds through financial crimes, convert such funds to U.S. Dollars, and repatriate

   such freshly laundered dollars back to accounts controlled by Syndicate agents or operatives to

   finance attacks against Americans in Afghanistan. Supra Part III.B.

             603.   The Azizi Cell relied upon Deutsche Bank to execute a series of frauds relating to

   Value Added Tax (“VAT”) refunds arising out of certain transactions purportedly between arms-

   length counterparties that were, in fact, part of a fraud scheme to generate funds to finance

   Syndicate operations in Afghanistan and Pakistan. Plaintiffs refer to the Azizi Cell’s schemes,

   collectively, as the “Syndicate’s VAT Finance Scheme.”




   278
         Belton at 411.


                                                   190
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 206 of 606 PageID #: 206




          604.    Deutsche Bank intentionally aided the Azizi Cell’s terrorist finance for the al-

   Qaeda and the Haqqani Network through fraud relating to European VAT. At least seven (7)

   Deutsche Bank employees, and on information and belief more, directly assisted the Syndicate’s

   VAT Finance Scheme. They did so by, among other things, facilitating transactions they knew

   to pose an extreme risk for Syndicate terrorist fundraising and finance.

          605.    From about a decade from the mid-2000s through 2015, Deutsche Bank, DB

   Frankfurt, DB London, and DB New York (including DBTCA), knowingly or recklessly aided

   Azizi and the Azizi Cell, enabling them to execute upon their al-Qaeda-designed terrorist finance

   scheme, which: (1) funded al-Qaeda and the Haqqani Network (and, through it, the Taliban) by

   extracting Euros through fraudulent transactions conducted by Deutsche Bank; (2) improved the

   purchasing power of al-Qaeda and the Haqqani Network (and, through it, the Taliban) by

   upgrading the currency of the terrorists’ profits from Euros to U.S. Dollars through currency

   conversions executed by Deutsche Bank; and (3) repatriated such U.S. Dollars to accounts

   controlled by agents or operatives for al-Qaeda and its allies to finance their groups. Each type

   of aid directly supported Syndicate attacks against Americans in Afghanistan.

          606.    Azizi used Deutsche Bank accounts at DB Frankfurt, DB London, and DB New

   York (including DBTCA) to enable the Syndicate’s VAT Finance Scheme.

          607.    In a post-arrest interview, Azizi directly admitted to using Deutsche Bank as his

   willing financial partner in the Syndicate’s VAT Finance Scheme.

          608.    Deutsche Bank’s financial services to al-Qaeda and the Taliban, through Azizi,

   were essential to realizing both the terrorist finance and terrorist fundraising benefits that al-

   Qaeda and the Taliban derived from the Syndicate’s VAT Finance Scheme.




                                                    191
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 207 of 606 PageID #: 207




          609.    With respect to al-Qaeda and Haqqani Network terrorist fundraising, Deutsche

   Bank and DB Frankfurt directly enabled the underlying fraudulent trades, and their conduct was

   a proximate and but-for cause of the terrorist fundraising that flowed through the Syndicate’s

   VAT Fraud Scheme.

          610.    With respect to al-Qaeda and Haqqani Network terrorist finance, Deutsche Bank,

   DB Frankfurt, DB London, and DB New York (including DBTCA) directly enabled the

   Syndicate’s: (1) execution of the trades that formed the basis for the VAT fraud in a

   professional, and therefore more discreet, manner for years, which concealed the terrorists’

   fundraising activities and the operatives, including Azizi, who conducted them; (2) Euro-to-U.S.-

   Dollar conversion of the millions in income Azizi and other al-Qaeda/Haqqani Network

   operatives regularly fraudulently extracted from the German government through the VAT fraud

   that was enabled by Deutsche Bank, which maximized al-Qaeda and the Haqqani Network’s

   purchasing power, and therefore logistical impact, from the income flowing to al-Qaeda and the

   Haqqani Network (and, through it, the Taliban) through illicit trades with Deutsche Bank; and

   (3) repatriation of the income realized through the al-Qaeda/Haqqani Network VAT Finance

   Scheme from Azizi to accounts controlled by other Syndicate agents or operatives to finance

   their groups. Each manner of aid by Deutsche Bank directly aided the Syndicate’s ability to

   attack Americans in Afghanistan by concealing al-Qaeda/Haqqani Network operatives and

   conduct, improving al-Qaeda/Haqqani Network purchasing power, and covertly routing funds

   back to Syndicate agents and operatives for deployment against Americans.

          611.    Through its support for the Azizi Cell, Deutsche Bank was the but-for cause of al-

   Qaeda’s and the Haqqani Network’s ability to realize terrorist finance through the Azizi Cell’s

   VAT fraud scheme. For example, according to the German media outlet Handelsblatt (as




                                                  192
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 208 of 606 PageID #: 208




   translated by Plaintiffs), al-Qaeda’s “illegal sales tax carousel” “would not have worked without

   the involvement of a bank.”279 According to the German magazine Spiegel, Deutsche Bank’s

   involvement afforded key operational benefits to the terrorists’ VAT fraud schemes:

          Several witnesses testified that [the fraudster’s] relations with Deutsche Bank
          had proven to be particularly helpful. [Deutsche Bank’s] role … was to buy up
          the certificates from various front companies, export them, and put them back into
          the system. Deutsche Bank made the accounts available to the fraudulent
          companies and made sure that there were no indications of suspected money
          laundering. Deutsche Bank gave the dealings a serious demeanor … [and] used
          a special Deutsche Bank program that enabled super-fast transfers. In just a few
          minutes, the transactions were run across multiple accounts. This allowed the
          carousel to turn faster and generate even more profit.280

          612.    Consistent with Syndicate training, the Azizi Cell always promptly transferred to

   the Syndicate, as its share of the “loot,” ten percent (10%) or more of the Azizi Cell’s

   fraudulently obtained VAT within a month or so after receiving the funds from the relevant

   European government.

          613.    On information and belief, from 2007 through 2012, the Azizi Cell transferred

   more than $8.6 million to al-Qaeda and the Haqqani Network and regularly repatriated illicit

   income to al-Qaeda and Haqqani Network-controlled accounts in Afghanistan, Pakistan, the

   U.A.E., Germany, and elsewhere to directly finance operations by joint cells operated by al-

   Qaeda, the Haqqani Network, and their allies in Afghanistan and Pakistan.




   279
      Yasmin Osman and René Bender, Staatsanwaltschaft Erhebt Anklage Gegen Hochrangigen
   Ex-Deutschbanker, Handelsblatt (Aug. 8, 2019) (translated by Plaintiffs),
   https://www.handelsblatt.com/finanzen/banken-versicherungen/banken/umsatzsteuerkarussell-
   staatsanwaltschaft-erhebt-anklage-gegen-hochrangigen-ex-
   deutschbanker/24883420.html?ticket=ST-1320507-gU7JbkSULqmb0ejP7krR-ap4.
   280
      Martin Hesse and Andreas Ulrich, Batman vor Gericht, Spiegel (Mar. 30, 2017) (translated by
   Plaintiffs), https://www.spiegel.de/wirtschaft/unternehmen/co2-betrug-urteil-gegen-peter-virdee-
   singh-erwartet-a-1140945.html.


                                                   193
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 209 of 606 PageID #: 209




          614.    and elsewhere to support attacks against Americans in Afghanistan, and regularly

   transferred U.S. Dollars back to al-Qaeda and the Haqqani Network as set forth in the table

   below. Plaintiffs set forth the Azizi Cell’s total estimated transfers to al-Qaeda and the Haqqani

   Network, which Plaintiffs identify by VAT scheme and approximate amounts and dates:281

    No.   Estimated Date U.S. Dollars        Estimated Amount             Related VAT Fraud
          Repatriated to al-Qaeda and        Repatriated (USD)               by Azizi Cell
               Haqqani Network
     1     On or about December 2007               $21,000                    WOG GmbH
     2       On or about March 2008                 $6,000                    WOG GmbH
     3       On or about April 2008                 $8,000                    WOG GmbH
     4        On or about May 2008                 $11,000                    WOG GmbH
     5        On or about June 2008                 $7,000                    WOG GmbH
     6        On or about July 2008                $21,000                    WOG GmbH
     7      On or about August 2008                $43,000                    WOG GmbH
     8     On or about September 2008              $56,000                    WOG GmbH
     9      On or about January 2009               $12,000                Wega Mobile GmbH
    10      On or about February 2009              $37,000                Wega Mobile GmbH
    11       On or about March 2009                $41,000                Wega Mobile GmbH
    12       On or about April 2009                $38,000                Wega Mobile GmbH
    13        On or about May 2009                 $46,000                Wega Mobile GmbH
    14        On or about June 2009                $80,000                Wega Mobile GmbH
    15        On or about July 2009                $51,000                Wega Mobile GmbH
    16      On or about August 2009                 $1,000                  Ferrograph GmbH
    17      On or about August 2009                $81,000                Wega Mobile GmbH

   281
      Deutsche Bank enabled a broad array of the Azizi Cell’s VAT Frauds; Plaintiffs identify the
   various schemes by the company used by the Azizi Cell in furtherance of the scheme. With
   respect to the amounts, plaintiffs have rounded to the nearest thousand dollars for all estimated
   sums above $500 and to the nearest $10 for all estimated sums below $500.


                                                  194
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 210 of 606 PageID #: 210




   No.   Estimated Date U.S. Dollars   Estimated Amount    Related VAT Fraud
         Repatriated to al-Qaeda and   Repatriated (USD)      by Azizi Cell
              Haqqani Network
    18   On or about September 2009         $27,000          Ferrograph GmbH
    19   On or about September 2009         $21,000         Wega Mobile GmbH
    20    On or about October 2009          $6,000          Wega Mobile GmbH
    21    On or about October 2009          $31,000        Hamster Mobile GmbH
    22   On or about November 2009          $16,000           iTrading GmbH
    23   On or about November 2009           $60               iCell GmbH
    24   On or about November 2009          $19,000        Hamster Mobile GmbH
    25   On or about December 2009          $19,000           iTrading GmbH
    26   On or about December 2009          $8,000             iCell GmbH
    27   On or about December 2009          $22,000        Hamster Mobile GmbH
    28     On or about January 2010         $2,000            iTrading GmbH
    29     On or about January 2010         $31,000            iCell GmbH
    30     On or about January 2010         $33,000        Hamster Mobile GmbH
    31    On or about February 2010        $945,000           iTrading GmbH
    32    On or about February 2010        $231,000            iCell GmbH
    33    On or about February 2010        $197,000         Nexo Chafka GmbH
    34    On or about February 2010         $19,000        Hamster Mobile GmbH
    35     On or about March 2010          $234,000           iTrading GmbH
    36     On or about March 2010          $358,000            iCell GmbH
    37     On or about March 2010           $51,000         Nexo Chafka GmbH
    38     On or about March 2010           $40,000        Hamster Mobile GmbH
    39      On or about April 2010         $314,000            iCell GmbH
    40      On or about April 2010          $96,000         Nexo Chafka GmbH
    41      On or about April 2010          $7,000         Hamster Mobile GmbH




                                           195
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 211 of 606 PageID #: 211




   No.   Estimated Date U.S. Dollars   Estimated Amount     Related VAT Fraud
         Repatriated to al-Qaeda and   Repatriated (USD)       by Azizi Cell
              Haqqani Network
    42      On or about May 2010           $323,000           iTrading GmbH
    43      On or about May 2010           $130,000             iCell GmbH
    44      On or about May 2010           $467,000          AS Handel GmbH
    45      On or about May 2010            $93,000          Nexo Chafka GmbH
    46      On or about May 2010            $91,000        Amaan Enterprise GmbH
    47      On or about June 2010          $323,000             iCell GmbH
    48      On or about June 2010           $49,000        Amaan Enterprise GmbH
    49      On or about July 2010           $25,000             iCell GmbH
    50      On or about July 2010           $5,000           Nexo Chafka GmbH
    51      On or about July 2010          $127,000        Amaan Enterprise GmbH
    52     On or about August 2010          $38,000             iCell GmbH
    53     On or about August 2010          $77,000          Nexo Chafka GmbH
    54     On or about August 2010          $81,000        Amaan Enterprise GmbH
    55   On or about September 2010         $46,000             iCell GmbH
    56   On or about September 2010        $284,000          AS Handel GmbH
    57   On or about September 2010         $46,000          Nexo Chafka GmbH
    58   On or about September 2010        $100,000        Hamster Mobile GmbH
    59   On or about September 2010        $186,000        Amaan Enterprise GmbH
    60    On or about October 2010         $104,000             iCell GmbH
    61    On or about October 2010          $75,000          Nexo Chafka GmbH
    62    On or about October 2010         $500,000        Hamster Mobile GmbH
    63    On or about October 2010         $231,000        Amaan Enterprise GmbH
    64   On or about November 2010          $41,000             iCell GmbH
    65   On or about November 2010         $210,000          AS Handel GmbH




                                           196
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 212 of 606 PageID #: 212




   No.   Estimated Date U.S. Dollars   Estimated Amount     Related VAT Fraud
         Repatriated to al-Qaeda and   Repatriated (USD)       by Azizi Cell
              Haqqani Network
    66   On or about November 2010          $9,000           Nexo Chafka GmbH
    67   On or about November 2010         $110,000        Hamster Mobile GmbH
    68   On or about November 2010         $118,000        Amaan Enterprise GmbH
    69   On or about December 2010          $62,000             iCell GmbH
    70   On or about December 2010          $55,000          Nexo Chafka GmbH
    71   On or about December 2010         $110,000        Amaan Enterprise GmbH
    72     On or about January 2011         $48,000             iCell GmbH
    73     On or about January 2011         $32,000          Nexo Chafka GmbH
    74     On or about January 2011        $138,000        Amaan Enterprise GmbH
    75    On or about February 2011         $68,000        Amaan Enterprise GmbH
    76     On or about March 2011           $57,000          AS Handel GmbH
    77     On or about March 2011           $63,000        Amaan Enterprise GmbH
    78      On or about April 2011          $21,000        Amaan Enterprise GmbH
    79      On or about May 2011            $10,000        Amaan Enterprise GmbH
    80      On or about June 2011           $53,000        Amaan Enterprise GmbH
    81      On or about July 2011           $82,000        Amaan Enterprise GmbH
    82      On or about July 2011           $5,000            My iCell GmbH
    83     On or about August 2011          $22,000        Amaan Enterprise GmbH
    84     On or about August 2011          $32,000           My iCell GmbH
    85   On or about September 2011         $32,000           My iCell GmbH
    86    On or about October 2011          $3,000            My iCell GmbH
    87   On or about November 2011          $4,000         BAK Enterprise GmbH
    88    On or about February 2012        $303,000        BAK Enterprise GmbH
    89      On or about May 2012           $192,000        BAK Enterprise GmbH




                                           197
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 213 of 606 PageID #: 213




          615.    Deutsche Bank’s illicit transactions directly aided Syndicate cells operating in the

   Afghanistan and Pakistan border regions, including on information and belief, joint cells

   comprised of al-Qaeda and Taliban (including Haqqani Network) fighters in the al-Qaeda

   strongholds known as P2K and N2KL. Supra Part III.B.

          616.    The nexus between Deutsche Bank’s conduct and terrorist attacks committed by

   joint Syndicate cells against Americans in Afghanistan was tight. For example, evidence of

   Azizi’s financial support for the Syndicate includes “documents found by British special forces

   in a cave on the Afghan-Pakistan border,” from which the Independent “traced the proceeds”

   from Deutsche Bank’s trades “to Middle Eastern terror groups” operating “in a cave on the

   Afghan-Pakistan border”—i.e., al-Qaeda and the Taliban, including its Haqqani Network.282

          617.    Deutsche Bank knew that Azizi was using DB London, DB Frankfurt, and DB

   New York (including DBTCA) to operationalize a sophisticated, and criminal VAT fraud

   scheme. Deutsche Bank’s own role in the fraud was enabling Azizi to: (1) regularly extract

   millions of euros, through DB Frankfurt, which (2) Azizi then caused to be converted into U.S.

   Dollars through transactions routed through DB London and DB New York (including DBTCA)

   and ultimately returning to Azizi, after which (3) Azizi contributed a substantial percentage to

   the Syndicate for operations against Americans in Afghanistan in accordance with Azizi’s status

   as a member of al-Qaeda and the Taliban (including its Haqqani Network).

          618.    Deutsche Bank’s employees also knowingly ignored direct warnings that

   Deutsche Bank was aiding an obvious VAT fraud scheme being carried out by the Azizi Cell,

   just as it did with Ahmed Cell.



   282
     Jim Armitage, Life Is A Carousel Of Fraud And The People Involved Can Be Clever And Very
   Dangerous, Independent (Aug. 14, 2015), 2015 WLNR 24079306.


                                                  198
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 214 of 606 PageID #: 214




          619.    The U.S. government concluded that Deutsche Bank knowingly aided the

   transactions with Azizi and the Azizi Cell that enabled the Syndicate’s VAT Finance Scheme.

          620.    The U.S. government concluded that Deutsche Bank and Azizi understood that

   the Syndicate’s VAT Finance Scheme depended on transactions flowing through Deutsche Bank.

          621.    Deutsche Bank knew that one or more current or former Deutsche Bank

   executives, managers, employees, or agents had raised substantial allegations that Deutsche Bank

   personnel were intentionally helping customers commit financial crimes that raised specific “red

   flags” for al-Qaeda and Haqqani Network terrorist finance.

          622.    From the face of the transaction data before Deutsche Bank alone, Deutsche Bank

   knew that Azizi was likely engaged in terrorist finance and money laundering for reasons

   including, but not limited to: (1) substantial indicia of terrorist finance on the face of the

   transaction, e.g.., financial activity that was inconceivable given the purported businesses; (2)

   Azizi’s biographical, personal and professional history, including his connections to

   Afghanistan, the U.A.E., and Germany, which were three known al-Qaeda terrorist finance hubs;

   (3) the nature of the scheme, which tracked warnings of potential al-Qaeda and Haqqani

   Network strategies to raise money through fraud; (4) Azizi’s course of dealings throughout the

   scheme, which underscored the criminal nature of the acts that Deutsche Bank was enabling; and

   (5) the basic economic data associated with the transactions, which alerted one or more

   whistleblowers to the strong possibility (which proved correct) that Deutsche Bank was enabling

   systemic VAT fraud, which Deutsche Bank knew to be a terrorist finance “red flag” generally,

   and a specific terrorist finance “red flag” for al-Qaeda and Haqqani Network activities.

          623.    On information and belief, Deutsche Bank managers, employees, and agents,

   including but not limited to, those at DB London, DB Frankfurt, and DB New York (including




                                                    199
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 215 of 606 PageID #: 215




   DBTCA), identified Azizi as a “priority” client based upon the volume of business Azizi sent to

   Deutsche Bank and, as such a “prioritized client,” Deutsche Bank affirmatively sought to ease

   the Azizi Cell’s transactions.

          624.    Deutsche Bank’s senior management, including, but not limited to, Mr.

   Ackermann and Mr. Jain, knew that Deutsche Bank’s deliberate facilitation of VAT fraud

   enabled Syndicate fundraising by no later than April 2010, when German law enforcement

   searched Deutsche Bank’s offices in Frankfurt based upon German law enforcement’s belief that

   Deutsche Bank had been “aiding and abetting VAT fraud” relating to, among other things,

   Deutsche Bank’s carbon-related trades on behalf of the Azizi Cell (supra Part IV.A.2) and the

   Ahmed Cell (supra Part IV.A.3).

          625.    After the German raid in late December 2012, Jürgen Fitschen, Deutsche Bank’s

   co-CEO at the time, manifested his (and the Bank’s) consciousness of guilt over the Bank’s

   Syndicate terrorist finance through the VAT fraud schemes the Bank enabled when he called a

   senior German official to lodge a complaint on Deutsche Bank’s behalf about the audacity

   German prosecutors had displayed by even suggesting that Deutsche Bank could have

   deliberately enabled the VAT fraud schemes that Deutsche Bank had, in fact, enabled on behalf

   of its VAT fraudster customer base. This customer base included the Syndicate’s Ahmed Cell

   and Azizi Cell (the “December 2012 Fitschen Call”). According to Mr. Laabs:

          The many hunters, prosecutors, and banking authorities were closing in,
          especially the EU investigators were making progress … The managers of
          Deutsche Bank could decide how to deal with the situation: Either act as if they
          were above the law or they take the questions and deep suspicions to heart.
          Jürgen Fitschen, the bank’s Co-CEO, had already made a decision. He seemed to
          believe that his employer was above the law. In December 2012, when the public
          prosecutor went with various police officers to secure evidence in the bank that
          could prove that traders had participated in the CO2 emissions trading fraud,
          Fitschen picked up the phone to complain to the Hessian Prime Minister.




                                                 200
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 216 of 606 PageID #: 216




             Apparently, [Fitschen] had forgotten that the [German] judiciary should and must
             be independent.283

             626.   The December 2012 Fitschen Call reflected Mr. Fitschen’s, and Deutsche Bank’s,

   consciousness of guilt relating to the Bank’s substantial assistance to the VAT fraudsters whom

   Deutsche Bank serviced, including the Ahmed Cell and the Azizi Cell.

                    3.      Imran Yakub Ahmed and the Ahmed Cell

             627.   Imran Yakub Ahmed was a dual-hatted operative of Al-Qaeda and the Haqqani

   Network. He led the Ahmed Cell, which functioned as an al-Qaeda and Haqqani Network front

   that was created to raise funds through financial crimes, convert such funds to U.S. Dollars, and

   repatriate such freshly laundered dollars back to accounts controlled by al-Qaeda and Haqqani

   Network agents and operatives to finance attacks against Americans in Afghanistan.

             628.   The Ahmed Cell relied upon Deutsche Bank to execute a series of frauds relating

   to VAT refunds arising out of certain transactions purportedly between arms-length

   counterparties that were, in fact, part of a fraud scheme to generate funds to finance al-Qaeda and

   Taliban (including Haqqani Network) operations in Afghanistan and Pakistan. Plaintiffs refer to

   the Ahmed Cell’s schemes, collectively, as the “Ahmed VAT Scheme.”

             629.   Deutsche Bank intentionally financed the Syndicate, through the Ahmed Cell’s

   scheme to defraud European governments by obtaining fraudulent refunds relating to European

   VAT taxes. Deutsche Bank employees directly assisted the Ahmed Cell’s VAT fraud terrorist

   finance scheme by, among other things, facilitating transactions they knew to pose an extreme

   risk for Syndicate terrorist fundraising and finance. As Mr. Laabs explained, “Traders at

   [Deutsche Bank] in London and Frankfurt had helped a network of international gangsters” –




   283
         Laabs, Bad Bank, at 476 (translated by Plaintiffs) (emphasis added).


                                                    201
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 217 of 606 PageID #: 217




   including the Ahmed Cell and the Azizi Cell, supra Part IV.A.2. – “to swindle back VAT

   payments by faking the sale of CO2 emission rights.”284

             630.    From the mid-2000s through 2010, Deutsche Bank, DB Frankfurt, DB London,

   and DB New York (including DBTCA), knowingly or recklessly aided Ahmed and the Ahmed

   Cell, enabling them to execute upon their al-Qaeda-designed terrorist finance scheme, which:

   (1) funded the Syndicate by extracting Euros through fraudulent transactions conducted by

   Deutsche Bank; (2) improved the Syndicate’s purchasing power by upgrading the currency of the

   terrorists’ profits from Euros to U.S. Dollars through currency conversions executed by Deutsche

   Bank; and (3) repatriated such freshly laundered dollars back to accounts controlled by al-Qaeda

   and Haqqani Network agents and operatives. Each type of aid directly supported Syndicate

   attacks against Americans in Afghanistan.

             631.    In some instances, Deutsche Bank provided “end-to-end” support for the Ahmed

   Cell’s transactions. In other instances, the Bank only served in the final, essential role of

   completing the transaction. In every instance, however, “Deutsche Bank acted as the last link in

   the chain,”285 and was the but-for and proximate cause of every VAT fraud that the Ahmed Cell

   executed in order to raise money for the Syndicate.

             632.    Ahmed used Deutsche Bank accounts at DB Frankfurt, DB London, and DB New

   York (including DBTCA) to enable the Syndicate’s VAT Finance Scheme.

             633.    Through its support for the Ahmed Cell, Deutsche Bank was the but-for cause of

   al-Qaeda’s and the Haqqani Network’s ability to realize terrorist finance through the Ahmed

   Cell’s VAT fraud scheme, just as the Bank was for the Azizi Cell.


   284
         Id. at 451 (translated by Plaintiffs) (emphasis added).
   285
     SeeNews Banking, Prosecutors Charge Deutsche Bank Employees in Carbon Tax Fraud
   Case (Aug.13, 2015).


                                                      202
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 218 of 606 PageID #: 218




          634.    Deutsche Bank’s financial services to al-Qaeda and the Taliban, through Ahmed,

   were essential to realizing both the terrorist finance and terrorist fundraising benefits that al-

   Qaeda and the Taliban derived from the Syndicate’s VAT Finance Scheme.

          635.    With respect to Syndicate terrorist fundraising, Deutsche Bank, DB Frankfurt, and

   DB London directly enabled the underlying fraudulent trades, and their conduct was a proximate

   and but-for cause of the terrorist fundraising that flowed through the Syndicate’s VAT Fraud

   Scheme.

          636.    With respect to Syndicate terrorist finance, Deutsche Bank, DB Frankfurt, DB

   London, and DB New York (including DBTCA) directly enabled the Syndicate’s: (1) execution

   of the trades that formed the basis for the Ahmed VAT Scheme in a professional, and therefore

   more discreet, manner for years, which concealed the Syndicate’s fundraising activities and the

   operatives, including Ahmed, who conducted them; (2) Euro-to-U.S.-Dollar conversion of the

   millions in income Ahmed and other Syndicate operatives regularly fraudulently extracted from

   the German government through the VAT fraud that was enabled by Deutsche Bank, which

   maximized the Syndicate’s purchasing power, and therefore logistical impact, from the income

   flowing to the Syndicate through illicit trades with Deutsche Bank; and (3)

          637.    Repatriation of the income realized through the Syndicate’s VAT Finance Scheme

   from Ahmed to accounts controlled by al-Qaeda and Haqqani Network agents and operatives to

   finance attacks against Americans in Afghanistan. Each manner of support by Deutsche Bank

   directly aided the Syndicate’s ability to attack Americans in Afghanistan by concealing

   Syndicate operatives and conduct, improving Syndicate purchasing power, and covertly routing

   funds back to Syndicate operatives for deployment against Americans.




                                                    203
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 219 of 606 PageID #: 219




          638.    Deutsche Bank’s illicit transactions directly aided Syndicate cells operating in the

   Afghanistan and Pakistan border regions, including on information and belief, joint cells

   comprised of al-Qaeda and Taliban (including Haqqani Network) fighters in the al-Qaeda

   strongholds known as P2K and N2KL.

          639.    Consistent with al-Qaeda and Taliban practice, and the Ahmed Cell’s purpose, the

   Ahmed Cell ordinarily transferred ten percent (10%) or more of the Cell’s profit from every

   fraudulent transaction executed with the aid of Deutsche Bank back to their al-Qaeda and

   Taliban (including Haqqani Network) confederates in Afghanistan and Pakistan to support

   attacks against Americans in Afghanistan.

          640.    The nexus between Deutsche Bank’s conduct and terrorist attacks committed by

   joint Syndicate cells against Americans in Afghanistan was tight. In 2015, the Independent

   reported that the “proceeds” generated by Deutsche Bank’s “carbon fraud” – which applies to

   both Ahmed and Azizi – flowed through “to Middle-Eastern terror groups” as a direct

   “consequence[]” of Deutsche Bank’s conduct and transactions, and “seven Deutsche Bank

   employees” who had “been indicted in Germany for their alleged part in a carbon credit

   carousel,” i.e., the Syndicate’s VAT Finance Scheme.286

          641.    Noting that “Deutsche has already paid fines of $2.5bn (£1.6bn) in association

   with the Libor-rigging investigation,” the Independent ruefully observed that news of Deutsche

   Bank’s direct financial assistance to al-Qaeda and Taliban (including Haqqani Network)

   terrorists operating out of caves in al-Qaeda’s sanctuary on the Afghanistan-Pakistan border was




   286
     Jim Armitage, Life Is A Carousel Of Fraud And The People Involved Can Be Clever And Very
   Dangerous, Independent (Aug. 14, 2015), 2015 WLNR 24079306.


                                                  204
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 220 of 606 PageID #: 220




   just the latest financial crime by Deutsche because, given recent history, “it was only a matter of

   time before banks started dipping their beaks.”287

             642.   Deutsche Bank knew that Ahmed was using DB London, DB Frankfurt, and DB

   New York (including DBTCA) to operationalize a sophisticated, and criminal, VAT fraud

   scheme through which Deutsche Bank’s own role in the fraud was enabling Ahmed to: (1)

   regularly extract millions of euros, through DB Frankfurt, which (2) Azizi then caused to be

   converted into U.S. Dollars through transactions routed through DB London and DB New York

   (including DBTCA) and ultimately returning to Ahmed, after which (3) Ahmed contributed a

   substantial percentage to the Syndicate for operations against Americans in Afghanistan in

   accordance with Ahmed’s status as a member of al-Qaeda and the Taliban (including its Haqqani

   Network).

             643.   Deutsche Bank’s employees also knowingly ignored direct warnings that

   Deutsche Bank was aiding an obvious VAT fraud scheme being carried out by Ahmed.

             644.   “Early on,” according to Mr. Enrich, a financial crimes investigator “warned

   Deutsche in writing that its traders appeared to be partaking in tax fraud. But the Deutsche

   traders … kept doing it.”288 “In November 2009,” Mr. Enrich reported, the same investigator

   “marched into [DB London’s] offices and told its lawyers that Deutsche had already been put on

   written notice that it was likely engaged in fraud and that the consequences for the continued




   287
      Id. In context, “dipping their beaks” was an obvious parallel between Deutsche Bank’s
   mafioso conduct and that of Don Fanucci, the local Italian mafia boss in The Godfather Part
   Two, who thrice implores an up-and-coming gangster, Vito Corleone, to let the Don “dip my
   beak” or “wet my beak” “just a little,” meaning, the regional organized crime boss (in the movie,
   Don Fanucci, here Deutsche Bank) was extracting profit from the organized criminal activities of
   an up-and-coming criminal linked to violence (in the movie, Vito Corleone; here, Azizi).
   288
         Enrich, Dark Towers, at 150.


                                                   205
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 221 of 606 PageID #: 221




   misbehavior could be severe.”289 “[T]he following month,” according to Mr. Enrich, the same

   investigator “paid another visit … and read [Deutsche Bank’s] lawyer the riot act. … When a

   Deutsche employee asked a colleague why [Deutsche Bank] was willing to take such a large

   legal risk, the response came back: ‘Because we’re that greedy.’”290

             645.      On information and belief, the U.S. government concluded that Deutsche Bank

   knowingly aided the transactions with Ahmed and the Ahmed Cell that enabled the Syndicate’s

   VAT Finance Scheme.

             646.      On information and belief, the U.S. government concluded that Deutsche Bank

   and Ahmed understood that the Syndicate’s VAT Finance Scheme depended on transactions

   flowing through Deutsche Bank.

             647.      From the face of the transaction data before Deutsche Bank alone, Deutsche Bank

   knew that Ahmed was likely engaged in terrorist finance and money laundering for reasons

   including, but not limited to: (1) substantial indicia of terrorist finance on the face of the

   transaction, e.g.., financial activity that was inconceivable given the purported businesses; (2)

   Ahmed’s biographical, personal and professional history, including his status as a Pakistani

   citizen, which placed him in an elevated risk category; (3) the nature of the scheme, which

   tracked warnings of potential Syndicate strategies to raise money through fraud; and (4)

   Ahmed’s course of dealings throughout the scheme, which underscored the criminal nature of the

   activities that Deutsche Bank was enabling.

             648.      On information and belief, Deutsche Bank also knew that Ahmed was the subject

   of one or more law enforcement investigations, and that law enforcement had “[l]ong-held



   289
         Id. at 150-151.
   290
         Id. at 151.


                                                     206
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 222 of 606 PageID #: 222




   concerns” about Ahmed given his notorious reputation for brazen financial crime from the late

   1990s until 2017.291

             649.     Deutsche Bank also knew that the U.S. government had long been suspicious of

   the Bank’s long history of recklessly enabling the tax-related crimes of the Bank’s customers

   which was “one of the reasons why the US authorities ha[d] been after the US subsidiary of

   Deutsche Bank since the late 1990s.”292 “Despite the investigations,” however, “and even

   though the US Senate intervened, Deutsche Bank never completely ceased” the Bank’s pursuit of

   profits through assistance to its clients’ tax crimes.293

             650.     On information and belief, Deutsche Bank managers, employees, and agents,

   including but not limited to, those at DB London, DB Frankfurt, and DB New York (including

   DBTCA), identified Ahmed as a “priority” client based upon the volume of business Ahmed sent

   to Deutsche Bank and, as such a “prioritized client,” Deutsche Bank affirmatively sought to ease

   the Ahmed Cell’s transactions.

             651.     On information and belief, from the mid-2000s through 2010, Ahmed and the

   Ahmed Cell converted millions of Euros obtained through the Ahmed VAT Scheme into U.S.

   Dollars through transactions processed through DB London, DB Frankfurt, and DB New York

   (including DBTCA), which repatriated millions of U.S. Dollars each year, and at least several

   hundred thousand dollars per month, from Europe into Syndicate accounts in Afghanistan,




   291
      Mark Ford, European Investigators Too Slow to Spot Carbon Credit Trading Scam, Coastline
   Solutions: Trade Based Financial Crime News From Around The Globe (June 28, 2019),
   https://amlnewsflow.coastlinesolutions.com/2019/06/28/european-investigators-too-slow-to-
   spot-carbon-credit-trading-scam/.
   292
         Laabs, Bad Bank, at 380 (translated by Plaintiffs).
   293
         Id. (translated by Plaintiffs).


                                                     207
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 223 of 606 PageID #: 223




   Pakistan, and the U.A.E. to support attacks against Americans in Afghanistan, and such

   repatriated VAT monies did, in fact, support such attacks.

                  4.      Mamoun Darkazanli and the Hamburg Cell

          652.    Mamoun Darkazanli (“Darkazanli”) and Mamdouh Mahmud Salim (“Salim”)

   were al-Qaeda supporters, operatives, and fundraisers who were each a member of al-Qaeda’s

   notorious cell in Hamburg, Germany.

          653.    On March 6, 1995, Darkazanli and Salim jointly traveled to a Hamburg branch of

   Deutsche Bank and opened an account in a manner that raised substantial red flags for terrorist

   finance even under pre-9/11 practices. This included, but were not limited to, indicia that

   Darkazanli and Salim: (1) were involved in transnational financial crime; (2) engaged in a

   pattern of transactions and travel that lacked a legitimate business purpose; (3) expressed

   hostility towards modernity (e.g.., refusing to shake the hands of a woman); and (4) had

   substantial connections to, and financial interests in, ultra-high-risk geographies for terrorist

   finance. Deutsche Bank, DB New York, and DB Frankfurt ignored these red flags because they

   did not care about such risks.

          654.    From 1995 through at least 2001, Deutsche Bank, including DB Frankfurt and DB

   New York (including DBTCA), provided financial services to al-Qaeda’s Hamburg Cell through

   its services to Darkazanli and Salim. On information and belief, Deutsche Bank, through these

   branches, facilitated more than $100,000 in U.S. Dollar-related financing activities for al-Qaeda

   each year from June 1995 through at least September 2003, and such Deutsche Bank-enabled

   transactions permitted the Hamburg Cell to repatriate hundreds of thousands of U.S. Dollars

   even while raising clear red flags for terrorist finance even under pre-9/11 standards.

          655.    For example, between 1994 and 1998, Deutsche Bank, DB Frankfurt, and DB

   London processed more than $600,000 into Darkazanli-controlled accounts through transactions


                                                    208
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 224 of 606 PageID #: 224




   that, on their face, raised obvious terrorist finance red flags, including, but not limited to, the red

   flags raised by: (1) transactions with a radical Islamist preacher who called for attacks against

   America; (2) transactions with a bank known to be owned by Middle Eastern nationals suspected

   of being directly linked to terrorist groups; and (3) transactions with a company that had already

   been publicly linked to al-Qaeda operations in Europe before 9/11.

           656.    On information and belief, Deutsche Bank facilitated at least $370,585 in other

   U.S. Dollar-denominated transactions, which benefited the Hamburg Cell, including, but not

   limited to, Syndicate-related transactions enabled by Deutsche Bank that included transactions in

   the exact amounts of $171,085, $100,000, $57,000, $30,000, $10,000, $1,700, and $800.

           657.    In September 1998, global media outlets reported that German authorities in

   Bavaria had arrested Salim to extradite him to the U.S. on terrorism charges.294

           658.    Thereafter, Deutsche Bank continued providing financial services to al-Qaeda’s

   Hamburg Cell even after one of its members, Salim, was publicly reported to have been arrested

   by German authorities in order to be extradited to the United States on terrorism charges – one of

   the reddest possible red flags imaginable for Deutsche Bank when it came to the Bank’s

   continued services to Darkazanli. Deutsche Bank knew that Salim and Darkazanli were, in

   effect, partners, and Deutsche Bank knew that Darkazanli was likely an al-Qaeda operative after

   his co-account holder (Salim) was arrested.

           659.    After Deutsche Bank closed the Bankers Trust acquisition in June 1999, the

   Bank’s financial services to al-Qaeda’s Hamburg cell, through Darkazanli and Salim, began


   294
      See, e.g., Reuters, Press Digest – Germany – September 21, 1998 (Sept. 21, 1998) (“main
   stories from [previous day’s] German newspapers” included Sueddutsche Zeitung’s story that
   “Bavarian authorities [said] they aim[ed] to get suspected Bin Laden associate Mamdouh
   Mahmud Salim deported to the United States as quickly as possible following his arrest by
   German police.”).


                                                     209
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 225 of 606 PageID #: 225




   involving DBTCA. On information and belief, DB Frankfurt and DB London served as an agent

   for DB New York (including DBTCA), under the Bank’s “hub-and-spokes model,” and drove

   substantial U.S. Dollar-denominated transaction business relating to the Hamburg Cell after June

   1999 through at least September 2003.

             660.   On information and belief, from 1995 through at least September 2003, al-Qaeda

   routed more than one million U.S. Dollars (inclusive of transactions in other currencies) to the

   Hamburg cell through financial transactions with Darkazanli and/or Salim, routing more than

   $100,000 to the Hamburg Cell each year from 1995 through 2002.

             B.     Standard Chartered Bank Enabled Syndicate Terrorist Finance

             661.   While “Deutsche might have been the industry’s worst offender,” according to

   Mr. Enrich, “it was hardly the only criminal entity. Just about every scandal that engulfed

   [Deutsche Bank] during the past two decades also swept over at least one or two other

   rivals.”295 Such is the case here: Standard Chartered Bank (alongside Danske Bank, infra)

   joined Deutsche Bank as global financial institutions that consciously chose to operate

   Laundromats for al-Qaeda, Haqqani Network, and Lashkar-e-Taiba agents, operatives, fronts,

   and partners From 2001 through 2016.

             662.   From 2001 through 2016, Standard Chartered Bank knowingly and directly

   transmitted at least $13,066,300 to al-Qaeda, Haqqani Network, and Lashkar-e-Taiba agents and

   operatives. Indeed, during this timeframe, the Standard Chartered Bank Defendants knowingly

   transmitted at least $5,350,000 to Khanani and the Khanani MLO, $116,300 to Mustafa Ahmed

   al-Hisawi, at least $2,600,000 to Abdul Baqi Bari, and at least $5,000,000 to Fatima and

   Pakarab. See Table supra [p. 9-10]. Even this, however, is just the tip of the iceberg, as


   295
         Enrich, Dark Towers, at 360.


                                                  210
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 226 of 606 PageID #: 226




   discovery is likely to reveal Standard Chartered Bank facilitated more than $100 million of al-

   Qaeda, Haqqani Network, and Lashkar-e-Taiba-related terrorist finance, which funded attacks by

   those groups and their Syndicate allies, including the Taliban.

             663.   The Standard Chartered Bank Defendants maintained a general policy of

   knowingly or recklessly providing USD financial services to suspected fronts for terrorist

   groups, money laundering enterprises, and criminal syndicates, while refusing to cooperate with

   most U.S. government terrorism-related requests if doing so would reduce Standard Chartered

   Bank’s profits from a customer relationship. That policy applied to each of the transactions

   between the U.S., Pakistan, and the U.A.E. pursued by Defendants. Standard Chartered Bank’s

   practice was to commit egregious violations of U.S. counter-terrorist finance laws, regulations,

   and norms if it thought it could avoid detection. Plaintiffs refer to this practice as Standard

   Chartered Bank’s “Laundromat Strategy” or “Laundromat.”

             664.   In 2012, NYDFS confirmed Standard Chartered Bank’s Laundromat status when

   it publicly concluded that “Standard Chartered Bank operated as a rogue institution” that “left

   the U.S. financial system vulnerable to terrorists” through its “programmatic[]” “misconduct”

   that lasted “nearly a decade” and “move[d] at least $250 billion through [SCB New York].”296

             665.   Standard Chartered Bank operated its Laundromat for terrorist financiers to

   maximize the Bank’s profits, including those of SCB New York, by winning as much business as

   possible in high-volume USD-denominated financial services “dirty money” markets. Each

   Standard Chartered Bank Defendant knew these markets necessarily included vast amounts of

   terrorist finance flowing to al-Qaeda, the Haqqani Network, and their allies. Standard Chartered

   Bank thus knowingly or recklessly enabled terrorist finance activity. As one Standard Chartered


   296
         2012 Consent Order at 1, 2, 4 (emphasis added).


                                                   211
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 227 of 606 PageID #: 227




   Bank executive has explained, Standard Chartered Bank’s philosophy in conflict zones can be

   summed up as: “We make money because of the risk.”297

          666.    When Standard Chartered Bank directed its Laundromat towards Afghanistan,

   Pakistan, and the U.A.E. after 9/11, each Standard Chartered Bank Defendant knew, or was

   generally aware, that it would play a key operational role in al-Qaeda’s and the Haqqani

   Network’s transnational terrorist finance and logistics enterprises, which the SCB Defendants

   knew was oriented towards one objective above all: detonating al-Qaeda-designed and -built

   CAN fertilizer bombs against Americans in Afghanistan.

          667.    From 2001 through 2016, Standard Chartered Bank provided essential USD-

   related terrorist finance services to al-Qaeda, the Haqqani Network, and Lashkar-e-Taiba and,

   through those groups, the Taliban. Standard Chartered Bank’s assistance to the Syndicate’s

   terrorist enterprise was accomplished through both their facilitation of Fatima and Pakarab

   transactions and by the SCB Defendants’ own independent facilitation of Syndicate bomb

   logistics and/or fundraising transactions. In all instances, al-Qaeda’s CAN fertilizer bomb

   campaign was the intended beneficiary of the transactions at issue, which facilitated bomb

   attacks against Americans in Afghanistan from 2008 through 2016, including Plaintiffs.

          668.    With knowledge that they were helping anti-American terrorists, the Standard

   Chartered Bank Defendants relied upon SCB New York to: (1) facilitate the Haqqani Network’s

   CAN fertilizer bomb logistics by providing the U.S. Dollars that lubricated illicit Fatima and

   Pakarab transactions related to Fatima Group CAN Fertilizer, with al-Qaeda and Taliban

   (including Haqqani Network) fronts, operatives, or agents from 2009 through 2016; and (2)



   297
     Chris Cockerill, Big Risk, Big Profit, Euromoney (Sept. 1, 2000) (emphasis added), 2000
   WLNR 10574765.


                                                  212
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 228 of 606 PageID #: 228




   facilitate al-Qaeda, Taliban (including Haqqani Network), Lashkar-e-Taiba, and their Syndicate

   allies’ terrorist finance, by enabling the laundering of tens of millions USD in overseas al-Qaeda

   and Taliban (including Haqqani Network) income, and repatriation of this money back into al-

   Qaeda and Taliban (including Haqqani Network) accounts to fund the Syndicate’s terrorist

   attacks against Americans in Afghanistan, including al-Qaeda’s CAN fertilizer bombing

   campaign, from 2001 through 2016. Simply put, while knowingly helping provide the terrorists

   their deadliest, most reliable, and most-used, explosive, Standard Chartered Bank also helped

   launder the Syndicate’s funds to pay for attacks which used the materials Standard Chartered

   Bank helped them acquire. Every Plaintiff in this case was killed or injured by Syndicate CAN

   fertilizer bombs, for which the Standard Chartered Bank Defendants were both a but-for and

   proximate cause.

          669.    During only a few months in 2012, Standard Chartered Bank, including SCB New

   York, facilitated approximately $2 million in suspicious Pakistan-related transactions involving

   SCB Dubai, SCB Pakistan, or a third-party bank, which transactions, SCB New York, SCB

   Pakistan, and SCB Dubai knew would likely benefit the Syndicate’s terrorist campaign targeting

   Americans in Afghanistan. These transactions did, in fact, benefit the Syndicate by helping it

   source and pay for bomb components.

          670.    This example above was not a “one-off” instance of Syndicate operatives slipping

   through the cracks of a bank’s otherwise rigorous counter-terrorist finance practices. Rather,

   they were symptoms of pervasive terrorist fundraising and terrorist finance tolerated by SCB

   Dubai, and facilitated by SCB London, SCB New York, and SCB Pakistan when the customer

   relationships were sufficiently lucrative.




                                                  213
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 229 of 606 PageID #: 229




           671.    Given American regulators’ findings concerning Standard Chartered Bank’s

   systemic misconduct, Plaintiffs’ allegations concerning Standard Chartered Bank’s facilitation of

   Syndicate finance and logistics are most likely the “tip of the iceberg,” and discovery would

   identify additional relationships between Standard Chartered Bank, including each SCB

   Defendant, and other Syndicate financiers or logisticians from 2001 through 2016 in addition to

   those set forth herein.

           672.    From 2001 through 2016, the Standard Chartered Bank Defendants knowingly or

   recklessly: (1) pursued a general policy of providing financial services to customers in

   Afghanistan, Pakistan, and the U.A.E. who posed a high risk for terrorist logistics, fundraising,

   and/or finance in most instances; (2) enabled Syndicate CAN fertilizer bomb logistics flow

   through their facilitation of USD-denominated Fatima and Pakarab transactions relating to

   Fatima Group CAN Fertilizer; and (3) facilitated transactions involving known or suspected

   Syndicate fronts, operatives, and/or agents in Afghanistan, Pakistan, or the U.A.E. to facilitate

   Syndicate terrorist logistics, terrorist finance, or terrorist fundraising.

           673.    Although they used different verbiage, NYDFS and DOJ both concluded, in

   effect, that Standard Chartered Bank operated as a Laundromat that willingly serviced terrorist

   financiers. NYDFS concluded that Standard Chartered Bank was a “rogue institution” and U.S.

   Attorney Liu concluded that the SCB Defendants were “repeat corporate offenders.”

           674.    Regardless of the nomenclature – “rogue institution,” “repeat corporate

   offender[],” or Laundromat – a broad consensus of independent observers concluded that

   Standard Chartered Bank’s conduct was deliberate: (1) Daily Mail: “[SCB] showed an

   astonishing lack of scruples about who it did business with”; (2) Professor of Law and

   Economics Scholar): “Standard Chartered was a massive money launderer,” and “[l]ike fish,




                                                     214
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 230 of 606 PageID #: 230




   Standard Chartered rotted from the head”; (3) Global Financial Integrity (watchdog group): the

   “Standard Chartered allegations” were “emblematic of systemic money laundering” and

   “demonstrate[d] a systemic, widespread pattern of disregard for anti-money laundering policies

   at one of the world’s biggest banks”; (4) Finanser: “Standard Chartered’s Money Laundering

   [was] Standard Bank Business”; (5) DealBreaker: “StanChart’s time honored money-

   laundering tradition”; (6) Sense on Cents: “the Standard Chartered laundromat” “launder[ed]

   money for entities” “engaged in international terrorist activities,” “the laundromat operated by

   Standard Chartered” “[constituted] years of racketeering” and made SCB an “institution that

   pretended to be a bank but was really running a laundromat” that aided terrorism as “a cost of

   doing business,” and “the ongoing ‘wash, rinse, repeat’ cycle of money laundering activities at

   the laundromat heretofore known as Standard Chartered Bank” “indicate[d] that the Standard

   Chartered Laundromat has been open 24/7/365”; (7) Reuters: “a Moldovan ‘Laundromat’ probe

   into an alleged Russian-led money laundering scheme” began “after newspaper reports said that

   UK banks including” “Standard Chartered were named as being among those that did not turn

   away suspicious money transfers”298



   298
      James Salmon, Greed Was Not Good For UK banks; Britain’s Masters of Disaster Have Been
   Forced to Hand Over Billions in Retribution, Daily Mail (UK), (Jan. 8, 2013), 2013 WLNR
   517581; Yves Smith, Bill Black: How Dare DOJ Insult HSBC’s Crooks as Less “Professional”
   than Liberty Reserve’s Crooks?, Naked Capitalism (Oct. 6, 2014), 2013 WLNR 13316090;
   Global Financial Integrity, Press Release, Standard Chartered Allegations Emblematic of
   Systemic Money Laundering Orchestrated by International Banking Community (Aug. 7, 2012);
   Chris Skinner, Standard Chartered’s Money Laundering is Standard Bank Business, Finanser by
   Chris Skinner (Blog) (Aug. 7, 2012), 2012 WLNR 16599095; Bess Levin, Standard Chartered
   CEO’s Crack Down On Badly Behaving Bankers Has Reached Hashtag-Level Serious,
   DealBreaker (June 13, 2016) (emphasis added), 2016 WLNR 18187600; Larry Doyle, Standard
   Chartered Scandal: “Asian Regulators Had Lost Faith in American Regulators”, Sense on Cents
   (Aug. 13, 2012), 2012 WLNR 17161569 (emphasis added); Larry Doyle, LIBOR Scandal: NY
   AG Takes Center Stage, Sense on Cents (Aug. 16, 2012), 2012 WLNR 17353304 (emphasis
   added); Larry Doyle, HSBC Money Laundering Scandal: More Racketeering, Sense on Cents



                                                  215
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 231 of 606 PageID #: 231




          675.    Indeed, as the Daily Mail observed in 2012, allegations that U.K. banks engaged

   in flagrant financial misconduct were plausible even at the time:

          A detailed review in the summer of 2011 by the Financial Services Authority
          found that around a third of banks appeared willing to accept very high levels of
          money laundering risk if the price was right. … So it is not as though the idea
          London banks double up as laundromats is entirely without foundation. … Peter
          Sands, Standard Chartered’s chief executive, … argues his bank’s dealings were
          an innocent matter of enabling Tehran cashew nut salesmen to sell their wares
          to overseas clients … It all sounds very plausible, until you reflect that the banks
          have hair-splitting, side-tracking and bamboozling down to a fine art.299

          676.    In addition to NYDFS and DOJ, third party observers also concluded that

   Standard Chartered Bank’s operation as a “rogue institution” continued through at least 2016.

   Examples include when a former federal prosecutor explained that Standard Chartered Bank was

   “[a]t the top of the heap” of “[g]lobal banks” that “[were] the poster children” for “the

   importance of [] compliance”300; an analyst noted that “[i]t wasn’t just the reputational hit of

   having broken rules; it was the garishness of the details” which shocked even those who “[felt]

   the US over-reache[d] in its penalties…, [] [SCB]’s conduct frequently appeared brazen”301; and

   a third headline proclaimed that “[SCB] let a customer open a bank account using a suitcase

   stuffed with … cash in a shocking money laundering breach.”302



   (Dec. 11, 2012), 2012 WLNR 26330270 (emphasis added); Larry Doyle, Standard Chartered
   Money Laundering: Wash, Rinse, Repeat, Sense on Cents (Oct. 6, 2014), 2014 WLNR 22786177
   (emphasis added); Reuters News, UPDATE 2-UK To Investigate Any UK Banking Involvement
   In “Laundromat” Case (Mar. 21, 2017) (emphasis added).
   299
      Ruth Sunderland, Spin Cycle, Daily Mail (Aug. 11, 2012), 2012 WLNR 17042212 (emphasis
   added).
   300
      Michael Volkov, Standard Chartered Pays Over $1 Billion for Continuing Sanctions
   Violations (Part I of III), JD Supra (Blog) (Apr. 16, 2019), 2019 WLNR 11911799.
   301
     Chris Wright, Standard Chartered’s $1 Billion Fine Draws Line Under Iran Breaches,
   Euromoney (Apr. 10, 2019), 2019 WLNR 13256728.
   302
     James Burton, Standard Chartered Fined for Breaking Iran Sanctions After Letting a
   Customer Open an Account with Suitcase of Cash, Daily Mail Online (UK) (Apr. 9, 2019).


                                                   216
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 232 of 606 PageID #: 232




          677.    From 2001 through 2016, Standard Chartered Bank regularly, and knowingly or

   recklessly, facilitated al-Qaeda, Taliban, and Haqqani Network terrorist finance and fundraising

   activities, indeed millions in USD activity through SCB accounts each year, that were operated

   by agents or operatives for al-Qaeda, the Haqqani Network, and Lashkar-e-Taiba, among other

   Syndicate members.

          678.    From 2001 through 2016, Standard Chartered Bank was willfully blind to

   counter-terrorist finance standards when USD transactions involving any SCB Defendant was at

   issue. At all times, the SCB Defendants knew that their policy would directly facilitate attacks

   that were committed by al-Qaeda, the Haqqani Network, and their Syndicate allies given the

   central roles that: (1) the U.S. Dollar played to the terrorist finance needs of al-Qaeda, the

   Haqqani Network, Lashkar-e-Taiba, and others; and (2) Afghanistan, Pakistan, the U.A.E.,

   Russia, Cyprus, and Germany, among other locations, played a key role the Syndicate’s

   fundraising and operational networks that supported attacks against Americans in Afghanistan.

   Defendants’ policy of willful blindness towards all counter-terrorism risk was documented by

   the NYDFS in 2019. This policy was a core component of Standard Chartered Bank’s

   Laundromat Strategy, as SCB London deliberately designed a system to create “plausible

   deniability” for SCB London and SCB New York by offloading the terrorist finance risk to

   SCB’s overseas outposts, like SCB Dubai, SCB Pakistan, and, before it was sold in September

   2012, SCB Afghanistan.

          679.    Keeping with its practice, Standard Chartered Bank also knowingly, or recklessly,

   facilitated terrorist finance activities by the Syndicate’s known agents, operatives, and fronts.

   SCB New York, SCB Dubai, and SCB Pakistan regularly processed transactions on behalf of

   fronts, operatives or agents of the Syndicate, including the Taliban and the Haqqani Network,




                                                    217
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 233 of 606 PageID #: 233




   which were ordinarily routed through SCB New York because the transactions were either USD-

   denominated or USD-backstopped under a currency pairing.

           680.    The Standard Chartered Bank Defendants thus collectively enabled, from 2001

   through 2016, more than $100 million in al-Qaeda, Haqqani Network, and other Syndicate allies’

   illicit transactions that directly or indirectly facilitated the logistics or financial efforts of its

   fronts, operatives, and/or agents. On information and belief, each Standard Chartered Bank

   Defendant individually directly facilitated millions of U.S. Dollars of Syndicate finance.

           681.    Standard Chartered Bank’s operations under the U.K.’s combined anti-money-

   laundering/counter-terrorist-finance scheme, which the U.K. government collectively describes

   as the U.K.’s “financial crime controls,” were critical because SCB operated in the most

   important global hubs for financial crime, most of all, terrorist finance. As a result of SCB’s

   geography and its focus on facilitating transactions in the gold standard currency for terrorists

   worldwide (the U.S. Dollar), Standard Chartered Bank knew that its operation as a Laundromat

   would be emulated by every SCB branch. When they did so, SCB New York, SCB London,

   SCB Dubai, SCB Pakistan, and SCB Afghanistan were all simply helping Standard Chartered

   Bank operate its Laundromat as “One Bank.”

           682.    One of the common threads tying all the Standard Chartered Bank Defendants’

   terrorist finance was their pursuit of a “One Bank approach” that emphasized a business model

   centered on the knowing or reckless facilitation of USD-related financial crimes in “emerging

   markets” often posing a high-risk for terrorist finance. It was not a coincidence that al-Qaeda

   and Taliban (including Haqqani Network) agents, operatives, and fronts turned to Standard

   Chartered Bank branches again and again, in country after country, to satisfy their USD-related

   terrorist finance needs. The Syndicate’s repeat business was the foreseeable, inevitable result of




                                                       218
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 234 of 606 PageID #: 234




   Standard Chartered Bank’s deliberate strategy to maximize profits by recklessly facilitating illicit

   USD-denominated transactions in high terrorist finance risk jurisdictions like Afghanistan,

   Pakistan, and the U.A.E.

          683.    In addition to specific customer-related red flags for each customer below, infra,

   each SCB Defendant also knew al-Qaeda- and Haqqani Network-specific terrorist finance risks

   attendant to their transaction activity. Each SCB Defendant regularly participated in

   international conferences and symposia concerning anti-counter-terrorist finance, which

   routinely discussed the same risk criteria and were held for the purpose of sharing information

   between regulators and market participants, like Standard Chartered Bank. As part of their

   scheme to maintain their image as responsible corporate citizens, the SCB Defendants sometimes

   organized and hosted conferences and workshops concerning counter-terrorist finance. For

   example, in September 2009 and September 2010, SCB Dubai hosted an annual “Thought

   Leadership MENA Bankers Conference” in Beirut, Lebanon, attended by more than 75 senior

   bankers from Pakistan, Morocco, Algeria, Egypt, Lebanon, Jordan, and Gulf countries.303

          684.    Plaintiffs’ allegations concerning Standard Chartered Bank’s facilitation of al-

   Qaeda, Haqqani Network, and Lashkar-e-Taiba terrorist finance and logistics directly supporting

   Syndicate attacks in Afghanistan are most likely the “tip of the iceberg,” and discovery would

   identify additional relationships between Standard Chartered Bank and other al-Qaeda, Haqqani

   Network, and Lashkar-e-Taiba terrorist agents, operatives, fronts, or partners from 2001 through

   2016 in addition to those set forth herein.




   303
     SCB, Press Release, Standard Chartered to Hold Thought Leadership MENA Bankers
   Conference, Islamic Finance News (Sept. 20, 2010), 2010 WLNR 18711281.


                                                   219
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 235 of 606 PageID #: 235




                  1.      Altaf Khanani and the Khanani MLO

          685.    From 2008 through 2016, and probably since 2001, Standard Chartered Bank

   provided financial services to Khanani, who used companies in the U.A.E., including Al Zarooni

   Exchange and Mazaka General Trading, to launder at least hundreds of millions annually for al-

   Qaeda, the Haqqani Network, Lashkar-e-Taiba, and their Syndicate allies to pay for the

   Syndicate’s terrorist campaign against Americans in Afghanistan.

          686.    On information and belief, Khanani used Standard Chartered Bank, including

   SCB London, SCB New York, SCB Dubai, and SCB Pakistan, collectively, for most of the “30

   years” in the terrorist finance “market” that Khanani described during a secretly call.

          687.    Each Standard Chartered Bank Defendant knew that Khanani was a Syndicate

   operative (through Khanani’s relationship with D-Company) who also served as an agent for

   every constituent member of the Syndicate (for whom Khanani laundered much of their overseas

   income, including their narcotics income). Supra Part V.F.

          688.    Each Standard Chartered Bank Defendant knew that Khanani’s reputation

   specifically, and inextricably, concerned terrorist finance and fundraising activities, including

   activities specifically on behalf of al-Qaeda, the Haqqani Network, and other members of the

   Syndicate. Infra Part V.F.

          689.    Khanani used accounts at SCB New York and SCB Dubai on behalf of Al

   Zarooni Exchange, a notorious Khanani-affiliated money changer based in Dubai, to conduct

   transactions on behalf of al-Qaeda, the Haqqani Network, and their allies repatriating money

   back to accounts controlled by al-Qaeda and Haqqani Network agents and operatives to finance

   attacks against Americans in Afghanistan.

          690.    On information and belief, Khanani also maintained one or more accounts at SCB

   London and SCB Pakistan, including but not limited to, one or more accounts on behalf of, or


                                                   220
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 236 of 606 PageID #: 236




   used to facilitate USD-denominated transactions by, Al Zarooni Exchange, enabling it to access

   U.S. Dollars through SCB New York via SCB London or SCB Pakistan.

          691.    Khanani also maintained accounts at SCB New York and SCB Dubai on behalf of

   Mazaka General Trading, which was another notorious Khanani-affiliated laundering front in

   Dubai, to conduct transactions on behalf of al-Qaeda, the Haqqani Network, and their allies

   repatriating money back to accounts controlled by al-Qaeda and Haqqani Network agents and

   operatives to finance attacks against Americans in Afghanistan. On information and belief, SCB

   London and SCB Pakistan also maintained one or more accounts for Mazaka General Trading,

   and/or facilitated one or more USD-denominated transactions between Mazaka General Trading

   and SCB New York or SCB Dubai.

          692.    Each Standard Chartered Bank Defendant’s officers, employees, and agents

   understood that Standard Chartered Bank was helping Khanani regularly launder money between

   2008 and 2016, and most likely going back to 2001. Data available to SCB London, SCB New

   York, SCB Dubai, and SCB Pakistan regularly revealed suspicious USD-denominated

   transactions involving Pakistan, Afghanistan, and/or the U.A.E. Due to the number, frequency,

   and volume of Khanani’s transactions, his laundering activities, due to the associated profits,

   would have been widely known throughout Standard Chartered Bank. Khanani’s use of

   Standard Chartered Bank would also have been widely known throughout Standard Chartered

   Bank due to its “One Bank” policy.

          693.    By 2008, the Standard Chartered Bank Defendants understood that Khanani had a

   global reputation as a suspected money launderer and terrorist financier who worked for al-

   Qaeda and the Taliban (including its Haqqani Network). This was based upon Khanani’s well-

   known reputation for such conduct in Pakistan, among financial services compliance




                                                  221
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 237 of 606 PageID #: 237




   professionals throughout the world, and regular reporting by major media outlets. Infra Part V.F.

   At all relevant times, the Standard Chartered Bank Defendants knew that because Khanani was

   an agent of al-Qaeda and the Haqqani Network, and was laundering their money, transactions

   associated with the Al Zarooni Exchange or Mazaka General Trading were likely related to

   Syndicate terrorist logistics or finance.

           694.   Khanani was subject to one or more arrest warrants, “red notices,” and/or similar

   indicia of law enforcement interest from the U.S., Pakistan, the U.A.E., Afghanistan, and/or

   Australia, between 2008 and 2015. This was known to the Standard Chartered Bank Defendants,

   so they knew or were generally aware that Khanani was a terrorist financier.

           695.   For example, in 2012, a senior compliance employee at SCB Dubai (“SCB Dubai

   Employee 1”) learned that SCB Dubai had been using SCB New York to carry out USD money-

   laundering transactions for the Khanani MLO. SCB Dubai Employee 1 further understood that

   Khanani was a suspected agent of terrorist organizations, such as al-Qaeda and the Haqqani

   Network because he/she uncovered Standard Chartered Bank’s provision of financial services to

   Khanani during the course of a terrorism-related audit concerning suspected terrorist finance

   activity facilitated by SCB Dubai. By the spring 2013, SCB Dubai Employee 1 had determined

   that:

          SCB New York and SCB Dubai had been facilitating significant transactions with one or
           more known Khanani fronts;

          Khanani was a suspected terrorist money launderer who laundered overseas funds on
           behalf of anti-American terrorist groups;

          Revenues derived from SCB New York’s and SCB Dubai’s scheme contributed to funds
           used to support terrorist activities that killed and wounded American service members;

          SCB New York played an important role in the terrorist finance scheme, because some
           transactions were USD-denominated and/or used U.S. Dollars in currency-pairing, and
           that the transactions likely violated American law; and


                                                  222
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 238 of 606 PageID #: 238




            SCB Dubai’s activity was part of a much broader practice of SCB New York and SCB
             Dubai facilitating high-terrorist-finance-risk USD-denominated transactions.

             696.   SCB Dubai Employee 1 rightfully concluded that Standard Chartered Bank’s

   relationship with Khanani risked terrorism because the SCB Defendants’ provision of financial

   services to Khanani did, in fact, fund Syndicate terrorists in Afghanistan and Pakistan through

   2016, and likely had been doing so since 2001. When it sanctioned him in 2015, the Treasury

   Department found that Khanani “laundered funds for designated terrorist organizations,” was

   “involved in the movement of funds for the Taliban,” and maintained “relationships with

   Lashkar-e-Tayyiba, Dawood Ibrahim, al-Qa’ida, and Jaish-e-Mohammed,”304 each of whom is a

   also a member of the Syndicate.

             697.   Even though each Standard Chartered Bank Defendant knew of SCB’s role in

   facilitating Syndicate terrorist finance by providing financial services to Syndicate agents,

   operatives, and fronts such as Khanani by no later than 2008, and SCB Dubai had actual

   knowledge of the same when SCB Dubai Employee 1 uncovered SCB Dubai’s role in fall 2012,

   SCB allowed Khanani to continue using SCB accounts, including those at SCB New York, to

   launder at least tens of millions of USD annually on behalf of al-Qaeda and the Haqqani

   Network until Khanani was arrested in 2015 At that time, SCB had facilitated Khanani’s terror

   finance for approximately a decade.

             698.   Rather than stop Khanani’s money laundering, Standard Chartered Bank

   attempted to punish people who raised concerns about Standard Chartered Bank’s reckless




   304
      U.S. Department of the Treasury, Press Center, Treasury Sanctions The Khanani Money
   Laundering Organization (Nov. 12, 2015), https://www.treasury.gov/press-center/press-
   releases/Pages/jl0265.aspx.


                                                   223
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 239 of 606 PageID #: 239




   practices. SCB Dubai, for example, retaliated against one or more persons who questioned the

   foreseeable terrorism risks raised by SCB Dubai’s and SCB New York’s practices.

          699.    On information and belief, Khanani did not have any “legitimate” Standard

   Chartered Bank customers and/or accounts.

          700.    From 2008, and most likely since 2001, and through 2016, Khanani and the

   Khanani MLO, acting as al-Qaeda’s and the Haqqani Network’s agent, regularly laundering the

   Syndicate’s overseas income. To do this, Khanani used Standard Chartered Bank, SCB Dubai,

   SCB Pakistan, and SCB New York accounts to repatriate more than $1 million per month in

   laundered Syndicate U.S. Dollars back to accounts controlled by al-Qaeda and Haqqani Network

   agents and operatives to finance attacks against Americans in Afghanistan, through USD-

   denominated transactions that originated in Europe, Russia, the Middle East, Hong Kong,

   Australia, and the U.S., but were ordinarily routed through SCB New York accounts held in the

   name of Al Zarooni Exchange, Mazaka General Trading, or other Khanani-related accounts.

          701.    From 2008, and most likely since 2001, and through 2016, each Standard

   Chartered Bank Defendant knew that Standard Chartered Bank was facilitating money

   laundering by Khanani and the Khanani MLO that benefited, among others, al-Qaeda and the

   Taliban (including its Haqqani Network), but took no meaningful steps to interdict al-Qaeda and

   the Haqqani Network’s recycling of overseas profits back into terrorist operations through SCB

   accounts, including at SCB London, SCB New York, SCB Dubai, and SCB Pakistan.

          702.    Each Standard Chartered Bank Defendant knew that Khanani’s account activity at

   the Defendants, including but not limited to, activity by Al Zarooni Exchange and Mazaka

   General Trading, manifested clear “red flags” of terrorist finance including, but not limited to:

   (1) substantial, regular USD-denominated cash transfers between and amongst Afghanistan,




                                                   224
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 240 of 606 PageID #: 240




   Pakistan, the U.S., and/or the U.A.E.; (2) direct or indirect affiliations with Khanani; (3) strong

   indicia of Taliban narcotics-related laundering activity, including the large volume of cash, and

   geographies, associated with Syndicate narcotics trafficking; (4) the use of obvious terrorist

   finance strategies, such as “mirror trading,” which would have triggered red flags under ordinary

   Standard Chartered Bank diligence standards; and (5) an inability to explain the enormous

   volume of activity for any legitimate business purpose.

          703.    Each Standard Chartered Bank Defendant knew there was no plausible

   explanation for the scope and scale of Khanani’s financial activity and therefore knew that

   Khanani’s entities were likely laundering money for terrorists.

          704.    On information and belief, by 2013, each SCB Defendant knew that one or more

   current or former Standard Chartered Bank managers, employees, or agents had become a

   whistleblower and had raised concerns that, in sum and substance, SCB London, SCB New

   York, SCB Dubai, and/or SCB Pakistan had facilitated terrorist finance activity by Khanani,

   whom each SCB Defendant knew to be a notorious terrorist financier for al-Qaeda, the Haqqani

   Network, Lashkar-e-Taiba, and other anti-American terrorists. Among other things, each SCB

   Defendant knew, in sum and substance, that: (1) a whistleblower determined that Standard

   Chartered Bank “ha[d] blood on its hands” and that “based on SCB’s own records[,] … there

   were many SCB transactions post-2008 on behalf of … Al Zarooni Exchange,” which was a

   Khanani front used to repatriate overseas al-Qaeda and Taliban income back to accounts

   controlled by al-Qaeda and Haqqani Network agents and operatives to finance attacks against

   Americans in Afghanistan; and (2) another whistleblower concluded that Standard Chartered

   Bank’s reckless banking practices “contributed to funds … ultimately used to support terrorist

   activities that killed and wounded [American] soldiers.”




                                                   225
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 241 of 606 PageID #: 241




          705.    Each Standard Chartered Bank Defendant also knew of the violent consequences

   of SCB’s provision of banking services to agents, operatives, or fronts for al-Qaeda and the

   Haqqani Network on behalf of the Syndicate because Standard Chartered Bank was charged

   with, and admitted to, knowledge of United States laws that prohibited material support to,

   aiding and abetting of, and conspiracy with terrorist groups. In September 2016, Standard

   Chartered Bank submitted responses to a questionnaire from the Wolfsberg Group and

   represented that SCB’s anti-money laundering “policies and practices” were “being applied to all

   branches and subsidiaries of [SCB] both in the home country and in locations outside of that

   jurisdiction.” Each SCB Defendant knew such rules and regulations in order to comply with

   them. Accordingly, the SCB Defendants, including SCB New York, should be charged with

   knowledge of U.S. banking rules and regulations in connection with each Defendants’

   involvement of SCB New York in any transactions.

          706.    Standard Chartered Bank, including SCB New York, SCB London, SCB Dubai,

   and SCB Pakistan, also knew that highly suspicious cash activity involving hundreds of millions

   of U.S. Dollars (or equivalent value in other currency) flowed through banks in Haqqani

   Network-controlled geographies in Pakistan from 2009 through 2012, which each SCB

   Defendant knew strongly indicated that al-Qaeda and the Haqqani Network were using banks to

   illicitly transfer funds from al-Qaeda and/or Haqqani Network cells in Europe, the Former Soviet

   Union, the Middle East, and Pakistan to fund al-Qaeda, Haqqani Network, and Taliban attacks

   against Americans in Afghanistan.305



   305
      At all relevant times, al-Qaeda and the Haqqani Network’s cells and operations were
   routinely integrated into a single command structure (with al-Qaeda in charge). Examples of al-
   Qaeda’s and the Haqqani Network’s fusion approach include, but are not limited to, in Pakistan
   (e.g., their joint training camps and IED production factories), Afghanistan (e.g., their joint cells



                                                    226
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 242 of 606 PageID #: 242




             707.   On information and belief, from 2009 through 2012, a substantial volume of the

   activity was routed through SCB Pakistan, and/or involved correspondent services provided by

   SCB New York, and SCB Pakistan, and SCB New York knew that the large, unexplained, cash

   transactions they regularly processed in and out of Pakistan accounts at branches in Haqqani-

   controlled and contested geographies in Pakistan were likely related to al-Qaeda and Haqqani

   Network finance.

             708.   Each SCB Defendant knew that there was no other plausible explanation for this

   volume of financial activity other than illicit activity, which, the Haqqani Network monopolized

   in the geographies they controlled or contested to benefit themselves as well as al-Qaeda, the

   Taliban, and other Syndicate affiliates. As Haqqani expert Gretchen Peters documented in 2012,

             Pakistani bankers and regulatory authorities have [] quietly begun to investigate
             large and unexplained cash deposits that are entering Pakistani banks and
             financial institutions and which likely relate to the enormous illicit trade in
             narcotics and other smuggled goods coming in and out of Afghanistan. While not
             all of the money moving through the banks is related to the Haqqani network,
             several banking and regulatory officials in Pakistan described accounts in Miran
             Shah that were receiving routine and large cash deposits, most but not all of
             which derived from Saudi Arabia. Five bank accounts in Mir Ali and 11 accounts
             in Miran Shah, which are believed to be connected to the network, had total
             transactions in the past four years that totaled more than $27 Billion Pakistani
             Rupees, or about $300 million. 306

   On information and belief, many of these transactions (1) related to monies that Khanani

   repatriated to al-Qaeda and the Haqqani Network, including the sums Khanani owed other

   Syndicate fronts, operatives, or agents; and (2) were processed, directly or indirectly, by SCB

   London, SCB New York, SCB Dubai, and/or SCB Pakistan.




   in P2K), Dubai (e.g., dual-hatted fundraisers and joint front companies), and Europe (e.g., dual-
   hatted VAT fraudsters).
   306
         Peters, Haqqani Network Financing, at 32.


                                                     227
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 243 of 606 PageID #: 243




             709.     Regardless of whether Standard Chartered Bank knew that a particular customer

   was a known or suspected Haqqani Network-operative, the Bank also knew that their

   transactions would foreseeably aid the Haqqani Network because the Bank processed

   transactions that bore the collective characteristics of Haqqani Network activity, regardless of the

   customer identity. In 2011, Gretchen Peters confirmed the existence of a massive Haqqani

   Network financial operation in Pakistan, Afghanistan, the U.A.E., and elsewhere based on far

   less information than that which was available to Standard Chartered Bank. Even from her

   limited data, it was clear to Ms. Peters in 2011 (as she memorialized one year later) that “[i]t

   [was] apparent that the [Haqqani] [N]etwork [was] taking the trouble to disguise the movement

   of large sums of cash in its area of operations, and this laundering activity suggest[ed] it [was]

   destined for the global financial system.”307 According to Ms. Peters, “[d]ata” regarding “the

   Haqqani [N]etwork’s financial empire” and the banks who serviced it, was vital to “commanders

   and intelligence analysts” responsible for protecting the lives of Americans in future

   “engagements” in Afghanistan because they needed to “develop an understanding of the

   economic terrain—alongside the physical and human terrain—in the region where they are

   deployed[,]” e.g.., the Haqqani Network stronghold known as “P2K.”308

             710.     Khanani’s use of Standard Chartered Bank accounts to support Syndicate

   operations was a foreseeable consequence of SCB London’s, SCB Dubai’s, SCB Pakistan’s, and

   SCB New York’s embrace of Standard Chartered Bank’s Laundromat Strategy, and Khanani

   would not have been able to use SCB London, SCB New York, SCB Dubai, and SCB Pakistan




   307
         Id. at 13.
   308
         Peters, Haqqani Network Financing, at 13-14.


                                                    228
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 244 of 606 PageID #: 244




   accounts to support Syndicate operations if the Defendants had not facilitated SCB Dubai’s

   practice of the Strategy.

            711.   On information and belief, SCB Dubai only stopped providing financial services

   to Al Zarooni Exchange after the UAE’s Central Bank revoked its license in 2016.

                   2.     Mustafa Ahmed al-Hisawi

            712.   Hisawi served as al-Qaeda’s paymaster and key financial planner. Supra Part

   III.D. Hisawi chose Standard Chartered Bank as his banking partner and relied upon his SCB

   Dubai account to distribute funds for 9/11 through SCB New York. As the Independent put it,

   “Standard Chartered [was] used to finance [the] 11 September attacks.”309

            713.   Hisawi’s choice of Standard Chartered Bank is a telling indicator of the potency

   of the Bank’s Laundromat. As “[a]l Qaeda’s Money Man,” “[f]ew people kn[e]w more about the

   cash end of the business than al-Hawsawi.”310 The fact that Hisawi surveyed the financial

   universe in Dubai – with its dozens of banking options – and choose Standard Chartered Bank

   demonstrates al-Qaeda financiers’ perception of the value offered by SCB’s Laundromat.

            714.   SCB Dubai knew of the terrorist finance-related “red flags” associated with

   Hisawi’s transactions. While nothing the 9/11 hijackers did in their interactions with American

   banks inside the United States would have led the banks to suspect criminal behavior, the same

   cannot be said for Hisawi’s interactions with SCB Dubai. As Hisawi helped plot 9/11, SCB

   Dubai recklessly provided banking services to him while disregarding multiple obvious “red

   flags” even under pre-9/11 standards. First, SCB Dubai recklessly permitted Hisawi to open an

   account in the first instance while knowing that Hisawi had supplied a fictitious employer in his


   309
     Chris Hughes, Standard Chartered ‘Used to Finance 11 September Attacks’, Independent
   (Dec. 14, 2001), 2001 WLNR 7397401.
   310
         Newsweek, Al Qaeda’s Money Man (Mar. 24, 2003), 2003 WLNR 10694399.


                                                  229
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 245 of 606 PageID #: 245




   SCB Dubai account application, using a fake, non-existent company called Al Khata Alumi.

   Second, SCB Dubai permitted Hisawi to use a pseudonym, Hashim Abdulrahman, instead of his

   real name. Third, in the context of these red flags, SCB Dubai ignored the terrorist finance risk

   associated with round-figure USD transfers from the U.A.E. to the United States, when Hisawi

   initiated one or more transfers of totaling $16,500 to Ramzi Binalshibh before 9/11.

           715.   Hisawi used his account at SCB Dubai to facilitate more than $100,000 in USD

   transfers from Hisawi to 9/11 hijackers, including Marwan al-Shehhi and Mohammad Atta,

   which transactions were routed through SCB New York.

           716.   After 9/11, al-Qaeda desperately needed to move its money and, once more, it

   relied on Hisawi’s SCB Dubai account, which Hisawi used to receive about $16,300 of unused

   funds from the 9/11 hijackers, returned to him through SCB New York, to be shared with al-

   Qaeda leadership to help the group survive after 9/11.

           717.   On information and belief, Hisawi used his Standard Chartered Bank accounts to

   repatriate at least $100,000 back to al-Qaeda leadership from after 9/11 through his detention in

   2003.

           718.   Hisawi’s use of Standard Chartered Bank accounts to support Syndicate

   operations was a foreseeable consequence of SCB New York’s and SCB Dubai’s embrace of

   Standard Chartered Bank’s Laundromat Strategy, and Hisawi would not have been able to use

   Standard Chartered Bank accounts to support Syndicate operations if SCB London and SCB

   New York had not facilitated SCB Dubai’s practice of the Strategy.

                  3.     Viktor Bout

           719.   From the 1990s through his detention in 2008, Viktor Bout, was an internationally

   notorious terrorist financier, nicknamed the “Merchant of Death,” and specifically known by

   reputation to be a long-standing agent for al-Qaeda and the Taliban.


                                                  230
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 246 of 606 PageID #: 246




           720.    “Standard Chartered … had [a] relationship[] with a company controlled by

   notorious Russian arms dealer Victor Bout.”311

           721.    From the late 1990s through his capture in 2008, Bout was aided by the SCB

   Defendants’ reckless commercial practices, including but not limited to, SCB Dubai’s and SCB

   New York’s provision of financial services to Bout and/or fronts that SCB Dubai and SCB New

   York knew were linked to Bout, including but not limited to SAGT.312 These services aided

   Bout’s ability to run guns, bombs, gold, cash, and drugs for al-Qaeda and the Taliban, which

   directly aided the terrorists’ ability to regroup from 9/11 through 2008.

           722.    Each Standard Chartered Bank Defendant knew that Bout’s and/or Bout’s front

   company account activities, including but not limited to SAGT activity, manifested clear “red

   flags” of terrorist finance and terrorist logistics including, but not limited to: (1) substantial,

   regular USD-denominated cash transfers between and amongst Afghanistan, Pakistan, the United

   States, and/or the U.A.E.; (2) potential Taliban and Haqqani Network-related parties and

   counterparties whom Standard Chartered Bank could not identify; (3) round lump sum

   transactions; and (4) highly irregular SAGT commercial and flight activity in the months after

   9/11 consistent with supply efforts for al-Qaeda and the Taliban. With respect to the latter, U.S.

   government intelligence reports – based upon publicly available data of the sort also available to

   Defendants, including but not limited to data relating to Bout and the travel activities of SAGT-

   related aircraft – caused the U.S. government to conclude that Bout (including SAGT) was likely



   311
     Jason Nisse, UK Banks Admit to Links with Russian Gun Runner, Independent on Sunday
   (UK) (Oct. 5, 2003), 2003 WLNR 13909331.
   312
      In November 2002, the U.A.E. government kicked Bout and his operation out of the Emirates.
   On information and belief, Bout and/or one or more front companies associated with Bout
   continued using one or more SCB accounts to support Bout’s operations on behalf of al-Qaeda
   and/or the Taliban after Bout’s exit from the U.A.E. until Bout was arrested in 2008.


                                                     231
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 247 of 606 PageID #: 247




   providing arms to al-Qaeda and the Taliban before and after 9/11. SCB Dubai knew similar

   public data concerning Bout (including SAGT) based on SCB Dubai’s own diligence regarding

   Bout and/or SAGT.

           723.    Standard Chartered Bank, including SCB Dubai and SCB New York, knew of,

   Bout’s (including SAGT’s) terrorist finance red flags after 9/11 due to the increased global

   attention devoted to aircraft flights, logistics, and terrorism after 9/11.

           724.    Bout’s use of Standard Chartered Bank accounts to support Syndicate operations

   was a foreseeable consequence of SCB’s embrace of SCB’s Laundromat Strategy, and Bout

   would not have been able to use SCB accounts to support Syndicate operations if SCB London

   and SCB New York had not facilitated SCB Dubai’s practice of the Strategy.

           725.    On information and belief, from the late 1990s through 2008, Standard Chartered

   Bank, SCB Dubai, and SCB New York collectively directly or indirectly facilitated activity by

   Bout that resulted in at least several million dollars per year in value transfer to the Syndicate,

   which the Syndicate used to fund and arm terrorists targeting Americans in Afghanistan.

                   4.      Abdul Baqi Bari

           726.    Abdul Baqi Bari was a dual-hatted al-Qaeda/Haqqani Network terrorist who,

   among other roles, served as the “right hand” of Jalaluddin Haqqani. Supra Part III.G. He was

   also a Standard Chartered Bank customer for years.

           727.    Bari maintained accounts at Standard Chartered Bank for specific purpose of

   funding Haqqani Network operations, including Jalaluddin’s leadership activities. Jalaluddin

   was also the beneficiary of accounts maintained by Bari at SCB Pakistan after 9/11 through at

   least 2006.

           728.    On February 27, 2006, Pakistan’s FIA froze one or more SCB Pakistan USD-

   related accounts controlled by Bari (or an entity he controlled) as part of an attempt to interdict


                                                     232
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 248 of 606 PageID #: 248




   Haqqani Network efforts to use Pakistani banks to transfer overseas funds from accounts in

   Dubai and elsewhere into terrorist accounts in Pakistan to use against Americans.

           729.   Bari’s frozen Standard Chartered Bank accounts included, but were not limited to,

   accounts at SCB Pakistan’s branch in Peshawar, a notorious Syndicate stronghold. The accounts

   were in Bari’s name and/or companies traced to Bari’s name and contained at least several

   hundred thousand USD that Bari used to fund Jalaluddin Haqqani’s terrorist enterprise. The FIA

   account freezes related to several million dollars in total account activity including more than $2

   million in USD-related transfers to Syndicate operatives enabled by SCB Pakistan and SCB New

   York.

           730.   When the Treasury Department imposed sanctions on Bari on May 17, 2012,

   supra Part III.G, Bari-controlled accounts at Standard Chartered Bank, including on information

   and belief SCB Pakistan, SCB London, SCB Dubai, and SCB New York, were among the “bank

   accounts” referenced by the Treasury Department.

           731.   Bari’s use of Standard Chartered Bank accounts to support Syndicate operations

   was a foreseeable consequence of SCB London’s, SCB New York’s, SCB Dubai’s, and SCB

   Pakistan’s embrace of Standard Chartered Bank’s Laundromat Strategy. Bari would not have

   been able to use SCB accounts to support Syndicate operations if SCB London had not

   facilitated SCB New York’s, SCB Dubai’s and SCB Pakistan’s practice of the Strategy.

           732.   Each Standard Chartered Bank Defendant knew that Bari’s account activity at the

   Bank manifested clear “red flags” of terrorist finance including, but not limited to: (1)

   substantial, regular USD-denominated cash transfers between and amongst Afghanistan,

   Pakistan, the United States, and/or the U.A.E.; (2) Taliban- and Haqqani Network-related parties

   as well as counterparties whom Standard Chartered Bank could not identify; (3) round lump sum




                                                   233
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 249 of 606 PageID #: 249




   transactions; and (4) demonstrable links between Standard Chartered Bank’s customer and

   known Taliban- and Haqqani Network operatives, including Mullah Omar.

          733.    From after 9/11 through at least February 2006, Bari used Standard Chartered

   Bank, including SCB London, SCB Dubai, and/or SCB Pakistan accounts, to access U.S. Dollars

   through SCB New York to transfer at least several million USD to operatives from al-Qaeda and

   the Taliban, including its Haqqani Network, in Pakistan and Afghanistan to support Syndicate

   terrorist attacks against Americans.

                  5.      Hikmatullah Shadman

          734.    From the 2000s through at least 2013, Hikmatullah Shadman was a notorious

   Haqqani Network-aligned warlord in Afghanistan who had a specific reputation, known to the

   SCB Defendants, of providing financial and logistical support to the Haqqani Network. Supra

   Infra Part III.H. While Shadman funded the Taliban (including Haqqani Network) attacks he

   was known for supporting, Standard Chartered Bank provided him the bundles of U.S. Dollars

   he passed along to the terrorists.

          735.    From 2008 through November 2012, Shadman used SCB New York, SCB

   Afghanistan, and SCB Pakistan accounts in furtherance of his criminal enterprise in Afghanistan

   and related Syndicate finance activities.

          736.    Shadman used SCB New York accounts to facilitate at least several hundred

   thousand USD, annually, in cash payments to the Taliban, including its Haqqani Network.

          737.    After the U.S. government determined that Shadman had aided the Syndicate,

   supra Part III.H, it instituted proceedings against Shadman’s account on November 20, 2012.

   One of the motivations that compelled the U.S. government to seize Shadman’s correspondent

   bank accounts at SCB New York, through AIB (which acquired SCB Afghanistan earlier in

   2012), was its finding that Shadman aided Haqqani Network attacks.


                                                 234
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 250 of 606 PageID #: 250




          738.    The U.S. government initiated the asset seizure against Shadman for more than

   $10,100,000 at a correspondent USD account at SCB New York maintained in connection with a

   Shadman-related USD account at AIB. Shadman’s AIB account had been at SCB Afghanistan

   from 2009 through September 2012, when AIB acquired SCB Afghanistan and its Shadman

   customer relationship. Shadman’s SCB New York’s accounts included, but were not limited to,

   account numbers 050210000527810, 050210001288613, and 05021020014251115.

          739.    Seven years later, the matter settled with the U.S. government imposing a fine and

   retaining a substantial amount of the money.313

          740.    Shadman’s use of SCB New York accounts to support Syndicate operations was a

   foreseeable consequence of SCB Dubai’s and SCB Afghanistan’s embrace of SCB’s Laundromat

   Strategy. Shadman would not have been able to use Standard Chartered Bank accounts to

   support Syndicate operations if SCB London and SCB New York had not facilitated SCB

   Dubai’s and SCB Afghanistan’s practice of the Strategy.

          741.    Each Standard Chartered Bank Defendant knew that Shadman’s account activity

   at Standard Chartered Bank manifested clear “red flags” of terrorist finance including, but not

   limited to: (1) substantial, regular, and highly suspicious USD-denominated cash transfers

   between and amongst Afghanistan, Pakistan, the United States, and/or the U.A.E.; (2) Taliban-

   and Haqqani Network-related parties and counterparties whom Standard Chartered Bank could

   not identify; and (3) Shadman’s status as a Politically Exposed Person, which mandated

   Enhanced Due Diligence under normal Standard Chartered Bank policy, through which Standard

   Chartered Bank could not “clear” Shadman.



   313
      See Stipulation and Settlement Agreement Between the United States of America and
   Hikmatullah Shadman, Rohullah Faizy, and Najibullah Sadullah (Feb. 22, 2019).


                                                  235
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 251 of 606 PageID #: 251




          742.    From 2009 through at least 2012, Shadman used SCB New York accounts to

   facilitate regular bulk cash USD payments, denominated in $100 bills, as “taxes” paid to the

   Taliban and Haqqani Network, with each such regular payment totaling tens thousands of dollars

   per payment. On information and belief, Shadman used SCB New York accounts to facilitate

   the transfer hundreds of thousands of U.S. Dollars per year to the Taliban (including its Haqqani

   Network), and, collectively, at least several million U.S. Dollars to the Taliban and Haqqani

   Network from 2008 through 2012.

          743.    From 2008 through at least 2012, Shadman used Standard Chartered Bank

   accounts, including accounts at SCB New York, to facilitate USD-denominated laundering

   activities in support of Syndicate suicide bombings. Among other things, Shadman used

   Standard Chartered Bank accounts to process at least several hundred thousand dollars of

   funding for the Syndicate’s suicide bombing network targeting Americans in Afghanistan.

          C.      Standard Chartered Bank Enabled Syndicate CAN Fertilizer Bomb Logistics

          744.    In addition to its systemic terrorist finance, Standard Chartered Bank also

   knowingly assumed an operational role in the al-Qaeda’s CAN fertilizer bomb campaign,

   including its Haqqani Network’s related logistics pipeline.

          745.    Each Standard Chartered Bank Defendant facilitated Fatima’s and Pakarab’s

   USD-denominated commercial sales, operations, and financing, and thereby enabled Fatima’s

   and Pakarab’s unlimited supply of Fatima Group CAN Fertilizer to the Haqqani Network.

          746.    Fatima has publicly identified “Standard Chartered Bank” as one of the “MAJOR

   BANKERS OF THE COMPANY,”314 and Fatima and Pakarab ordinarily follow the same




   314
      Fatima Fertilizer Company Ltd., Prospectus at 67 (Jan. 18, 2010) (emphasis in original).
   Fatima and Pakarab generally follow the same practices. Supra Part II(D)(2).


                                                  236
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 252 of 606 PageID #: 252




   practices, supra Part II.D.2. Each SCB Defendant, by providing financial services to Fatima and

   Pakarab while knowing that Fatima and Pakarab were supplying the Haqqani Network Fatima

   Group CAN Fertilizer – which was used to cause ninety percent (90%) of all American

   casualties in Afghanistan, supra Part II.D.1 – each Defendant assumed a role in al-Qaeda’s CAN

   fertilizer bomb campaign and the Haqqani Network’s CAN fertilizer bomb pipeline.

          747.    Standard Chartered Bank’s financial services to Fatima and Pakarab directly

   supported Fatima’s and/or Pakarab’s use of SCB New York’s USD-denominated foreign

   exchange, correspondent account, and letter-of-credit services in connection with the sale of

   Fatima Group CAN Fertilizer. This is because: (1) Fatima and Pakarab regularly engaged in

   cross-border transactions in which the use of USD accounts at SCB New York was involved,

   directly or indirectly, in enabling the transaction to occur; and (2) Fatima and Pakarab ordinarily

   priced their goods in U.S. Dollars, and, as a consequence, needed a robust USD facility with

   SCB New York to hedge their credit risk and enable the smooth operation – and regular supply

   to the Syndicate – of Fatima Group CAN Fertilizer manufacturing and sales.

          748.    Each Defendant regularly processed suspicious transactions involving Fatima

   and/or Pakarab, and other customers in Pakistan, Afghanistan, and the U.A.E., while knowing of

   “red flags” indicating a high risk of Syndicate terrorist bomb logistics activity, including, but not

   limited to instances when the transaction: (1) related to known bomb components, CAN

   fertilizer, and other weapons; (2) contained obscured, incomplete, incredible, or anonymous

   party information; and (3) involved the transfer of money between one or more legs of the

   Syndicate’s hubs in Pakistan, Afghanistan, and the U.A.E. (in any direction involving any

   combination of the three), involved a large volume of cash, and/or was otherwise suspicious

   based on amount, pattern, timing, or history.




                                                   237
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 253 of 606 PageID #: 253




           749.    At all relevant times, CAN fertilizer was well-known as a component that

   terrorists used to make massive bombs. For example, domestic terrorist Timothy McVeigh – to

   build a massive truck bomb, which he used to attack the Alfred P. Murrah Federal Building in

   Oklahoma City on April 19, 1995, killing 168 Americans in the deadliest terrorist attack on U.S.

   soil prior to 9/11.

           750.    In the fifteen years after Oklahoma City, a broad international consensus emerged

   that recognized the need for strict safeguards and controls in connection with any manufacture,

   sale, or distribution of CAN fertilizer given CAN’s inherent danger of being converted into

   terrorist bombs. As the AP reported in 1998, because “[a] practical means of removing the

   explosive potential from [CAN fertilizer] … has not been found,” it was important to “toughen

   controls on the sale and distribution of … [CAN fertilizer],” including requiring “[p]eople

   buying [CAN] fertilizers in bulk … to produce identification” and “keep[ing] sales records.”315

           751.    In recognition of the significant risk that terrorists could repurpose CAN fertilizer

   into CAN fertilizer bombs, governments around the world ordinarily heavily regulate – and

   sometimes flatly prohibit – the sale of CAN fertilizer. After Oklahoma City, for example, the

   U.S. government instituted an array of regulations designed to prevent terrorist production of

   fertilizer-based bombs. Then, after 9/11, Congress authorized the Department of Homeland

   Security to oversee the sale and transfer of high-risk fertilizers.

           752.    At all relevant times, there was “a worldwide effort to ban the use of pure [CAN]

   in fertilizer” that some companies, like Fatima and Pakarab, ignored even though “the




   315
     Paul Recer, Tough Regulations Best Protection From Illegal Bombs, Report Says, AP Online
   (Mar. 5, 1998).


                                                    238
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 254 of 606 PageID #: 254




   Department of Defense encourage[d] foreign governments to police their fertilizer products after

   [CAN] from Pakistan’s Fatima Group [was] found in [IEDs] in Iraq.”316

             753.   By 2007, it was widely recognized around the world that CAN was regularly

   “used to kill, to mass murder” and was “one of the weapons of choice for Al Qaida.”317

             754.   On December 27, 2007, the 2008 Consolidated Appropriations Act, Public Law

   110-161, was signed into law; Section 563 enacted the Secure Handling of Ammonium Nitrate

   Act (as an amendment) to require the Department of Homeland Security (“DHS”) to “regulate

   the sale and transfer of ammonium nitrate by an ammonium nitrate facility … [and] to prevent

   the misappropriation or use of ammonium nitrate in an act of terrorism,” which DHS has done

   ever since. In so doing, the U.S. government statutorily recognized the close, direct, and

   foreseeable risk that the unregulated “sale and transfer” of “ammonium nitrate” could cause “an

   act of terrorism” directed against Americans.318 Additionally, the act signaled the U.S.

   government’s consensus view that CAN fertilizer sales inherently risk terrorist diversion if the

   “ammonium nitrate facility” does not “record the sale and transfer of possession of ammonium

   nitrate” and is not subject to strong “oversight of the ammonium nitrate transactions to ensure

   that this product stays out of the hands of terrorists.”319 On information and belief, Defendants

   knew of these changes through media monitoring efforts.




   316
     Gregg P. Macey, The Slow-Moving Aftermath, PrawfsBlawg (Blog) (July 19, 2013), 2013
   WLNR 17668282.
   317
     Rep. Bennie Thompson, quoted in CQ-RollCall Political Transcriptions, Rep. Bennie
   Thompson Holds a Markup of H.R. 1680, the Secure Handling of Ammonium Nitrate Act of 2007
   (Apr. 18, 2007), 2007 WLNR 30462827.
   318
         Section 563 of the 2008 Consolidated Appropriations Act, Public Law 110-161.
   319
     Paul Recer, Tough Regulations Best Protection From Illegal Bombs, Report Says, AP Online
   (Mar. 5, 1998) (emphasis added).


                                                  239
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 255 of 606 PageID #: 255




          755.    In November 2009, the Afghan Government, along with Coalition forces, adopted

   a new policy towards CAN fertilizer. Under this policy, American service members, Afghan

   police and military, and other Coalition members, were entitled to presume that all CAN

   fertilizer was potentially aiding and abetting al-Qaeda’s CAN fertilizer bomb campaign in

   Afghanistan, and to seize all CAN fertilizer – regardless of the owner’s identity or explanation

   for possessing the product. Simply put, the U.S. military concluded that CAN fertilizer in the

   region posed an inherent risk to American lives given the probability of its use by al-Qaeda, the

   Haqqani Network, and their allies. After the announcement, the U.S. government publicly and

   privately communicated its new “zero tolerance” CAN fertilizer policy to participants in the

   Afghanistan and Pakistan marketplace. Among other techniques, U.S. government officials

   helped raise awareness of the new policy through a series of interviews in international news

   outlets, like the New York Times, that Defendants closely monitored. For example, on November

   12, 2009, the Times’ award-winning war correspondent, Dexter Filkins, reported that the new

   policy was “aimed at taking the fertilizer out of the hands of Taliban insurgents,” and permitted

   NATO forces to seize fertilizer “regardless” of the specific on-paper connection between the

   owner and insurgents.320

          756.    In January 2010, Afghan President Hamid Karzai banned possession, production,

   and importation of CAN fertilizer in Afghanistan because of its demonstrated, and critical, role

   in the production of IEDs and suicide bombs used to perpetrate attacks in Afghanistan by al-

   Qaeda and its Taliban ally.




   320
     Dexter Filkins, Afghan Bomb Cache Found; Huge Stash of Fertilizer had Potential to Create
   Thousands of Explosives, N.Y. Times (Nov. 12, 2009), 2009 WLNR 22615622.


                                                  240
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 256 of 606 PageID #: 256




          757.    On information and belief, each Defendant knew the U.S. and Afghanistan

   governments’ viewpoints, communicated no later than November 2009 and January 2010,

   respectively, that CAN fertilizer sales in the Afghanistan/Pakistan theater carried such a high risk

   of use in al-Qaeda CAN fertilizer bombs as to be inherently dangerous and worthy of

   prohibition.

          758.    In September 2010, the European Union (“E.U.”) announced its intent to “crack

   down on terrorists” by “limit[ing] access to chemicals which can be used to develop home-made

   bombs, … [including CAN] fertilizer,” which had “featured in a string of terrorist plots.”321 As

   later adopted, the EU’s regulation “ban[ned] members of the general public from acquiring,

   possessing or using high concentrations” of CAN fertilizer and was “a measure meant to curb

   terrorism.”322 On information and belief, Defendants knew of the E.U.’s perspective on CAN

   fertilizer based on their own media monitoring and market analysis efforts.

          759.    In December 2011, a high-profile bipartisan Congressional effort pressured

   Fatima and Pakarab to do more to interdict the CAN fertilizer bombs targeting Americans in

   Afghanistan and deliberately supplied to the Syndicate by Fatima and Pakarab.

          760.    At all relevant times, as sophisticated corporations and banks doing business in

   the Afghani and Pakistani markets, each Standard Chartered Bank Defendant understood that al-

   Qaeda affiliates, including the Taliban and Haqqani Network, regularly used fronts in

   Afghanistan and Pakistan to purchase bomb components, including CAN fertilizer.




   321
      Deutsche Presse-Agentur, Brussels Looks to Crack Down on Bomb-Making Ingredients (Sept.
   20, 2010).
   322
      Alexandra Mayer-Hohdahl, EU Tightens Access to Bomb-Making Ingredients, Deutsche
   Presse-Agentur International Services in English (Dec. 11, 2012).


                                                   241
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 257 of 606 PageID #: 257




          761.    By 2010, each Standard Chartered Bank Defendant knew that it was providing

   essential financial services to Fatima and Pakarab, which directly facilitated Fatima’s and

   Pakarab’s supply of Fatima Group CAN Fertilizer to Syndicate agents, operatives, and fronts.

   Therefore, each Standard Chartered Defendant was playing an ongoing, key role in enabling the

   Syndicate’s CAN fertilizer bomb campaign, which was targeting Americans in Afghanistan.

   Each SCB Defendant knew this based upon a consistent stream of international media coverage

   beginning no later than 2010. Each SCB Defendant was aware of media stories from 2010

   through 2016 discussing: (1) the CAN fertilizer bomb threat in Afghanistan, including the role

   played by Fatima and Pakarab, supra Part II.D; (2) endemic terrorist finance and logistics risk in

   all the geographies in Afghanistan, Pakistan, the U.A.E., and other geographies in which the

   Haqqani Network financed or logistically supported the CAN fertilizer bomb campaign, such as

   by routing a significant Fatima Group CAN Fertilizer purchase through a Haqqani Network front

   company in the U.A.E. or Europe supra Part II.B,; (3) the specific extreme terrorist-diversion

   risk by the Haqqani Networkin the Pakistani geographies in which Fatima and Pakarab did

   business supra Part II.B.1.ii.; and (4) the U.S. government’s campaign to highlight these issues

   and reduce the Syndicate’s ability to raise money and buy components to build explosives.

   Supra Part II.D.2.

          762.    On September 1, 2011, the Associated Press published a long report regarding

   Fatima’s and Pakarab’s key role in the Syndicate’s fertilizer bomb campaign (“AP Report”):

          The main ingredient in most of the homemade bombs that have killed hundreds
          of American troops … is fertilizer produced by a single company in Pakistan …
          Enough [CAN] fertilizer for at least 140,000 bombs was legally produced last
          year by Pakarab Fertilizers Ltd., then smuggled by militants and their suppliers
          across the porous border into … Afghanistan, according to U.S. officials. The
          U.S. military says around 80 percent of Afghan bombs are made with the
          fertilizer … The [U.S.] began talks a year and a half ago with Pakistani officials
          and Pakarab … But there is still no regulation of distribution and sale of [CAN]



                                                  242
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 258 of 606 PageID #: 258




            fertilizer. … Around Multan, dealers … say they are aware [CAN] can be used as
            an explosive, but none has been told to report suspicious purchases.
                     Pakistani fertilizer producers are not permitted to export to Afghanistan …
            But the low price of fertilizer in Pakistan … has meant that smuggling has long
            been rife. The chemical, known as CAN, is often trucked into southern
            Afghanistan … One dealer … told [the AP] wealthy people with links to the
            insurgents placed orders for all three fertilizers produced by Pakarab. They sold
            the two safer varieties domestically, then trucked the [CAN] across the border. …
                     Explosives can be made from a range of fertilizers, but it is easy to turn
            CAN into a bomb. … The fertilizer is sold in 110-pound [] sacks, which can be
            used to make between two and four bombs depending on whether they are
            targeting vehicles or foot patrols, said … an expert at [JIEDDO], who visited the
            Multan factory… Such bombs …have killed more than 719 Americans … since
            the conflict began … Last year’s U.S. death toll – 252 – was as high as the two
            previous years combined, and 2011 is shaping up to be just as bloody.323

            763.   On information and belief, each Standard Chartered Bank Defendant reviewed the

   AP Report, which: (1) made major international news, including in the United States, United

   Kingdom, Pakistan, and other South Asian media outlets, that no Defendant could have missed;

   and (2) was sufficiently detailed and specific such that each would be discovered in ordinary

   customer due diligence or risk analysis by each Defendant, including SCB New York and SCB

   Dubai.

            764.   By 2011, each Standard Chartered Bank Defendant knew that Fatima and Pakarab

   had joined the Taliban’s terrorist conspiracy targeting Americans in Afghanistan. Each

   Defendant had such knowledge based upon an array of data sources including, but not limited to,

   extensive coverage of the issue in local, regional, and national media coverage, Standard

   Chartered Bank’s own customer due diligence, and SCB Pakistan’s on-the-ground knowledge,

   which, on information and belief, was shared with every Defendant under Standard Chartered

   Bank’s “One Bank approach.”



   323
      Chris Brummitt, AP Asia, AP Impact: Pakistani Fertilizer Fuels Afghan Bombs (Sept. 1,
   2011) (emphasis added).


                                                    243
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 259 of 606 PageID #: 259




             765.   On information and belief, each SCB Defendant was aware of these reports or

   similar ones, and their substance, which documented how terrorist finance activities facilitated

   by banks and corporations in Pakistan enabled the Syndicate’s terrorist attacks. Defendants are

   sophisticated companies with a long-standing presence on the ground in Pakistan.

             766.   It was widely understood that Afghanistan’s and Pakistan’s well-known

   permissive environment for the Syndicate’s CAN fertilizer bomb infrastructure was essential to

   the Syndicate’s access to this prized bombmaking ingredient. This ensured that market

   participants, including Defendants, understood that they were playing a role in carrying out the

   Syndicate’s bomb attacks. As one complicit Pakistani admitted in an interview, “I know that it’s

   used to kill American soldiers … [b]ut people in the tribal areas [in Pakistan] don’t have any

   choice” other than deliberately sell CAN fertilizer to terrorists.324

             767.   By 2011, each Defendant also specifically knew that: (1) JIEDDO and other

   western counter-IED experts had concluded that the insertion of a colorful dye into Fatima

   Group CAN Fertilizer was critical to preventing its conversion by the Syndicate into CAN

   fertilizer bombs; (2) JIEDDO had repeatedly asked Fatima and Pakarab to change their practices

   relating to Fatima Group CAN Fertilizer; (3) Fatima and Pakarab had repeatedly refused; and (4)

   JIEDDO believed Fatima’s and Pakarab’s practices were deliberately endangering American

   lives, and that Fatima and Pakarab “can and must do more.” The dye-related dispute involving

   JIEDDO, Fatima, and Pakarab was the subject of significant media scrutiny from 2011 through

   2016, including, but not limited to:

            Inside the Army, September 2012: “Barbero told lawmakers that in order to better track
             the flow of [CAN] across the border into Afghanistan, JIEDDO has offered to pay to dye
             the factories’ fertilizer. However, PakArab … has refused JIEDDO’s offer. The dye

   324
      Alex Rodriguez, Bribes Keep Taliban Flush with Explosives, L.A. Times (May 8, 2010)
   (emphasis added), 2010 WLNR 9039604.


                                                    244
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 260 of 606 PageID #: 260




             would help to more easily identify what is normally a nondescript, white powder… When
             smuggled it is often repackaged to resemble … detergents, which makes it especially
             hard for sometimes illiterate border guards to detect… [A] government official [stated
             that]… [Pakarab] did not want JIEDDO to dye its [Fatima Group CAN Fertilizer]
             because it didn’t want to be singled out.”325

            Washington Times/National Herald Tribune (Pakistan), February 2013: “Gen. Barbero
             … testified that he had asked a Fatima official to begin dyeing its [CAN] so it could be
             picked out at border crossings. He said smugglers mask the compound as detergent. …
             The general called Fatima ‘less than cooperative.’ ‘We’ve been told ‘no’ on the dye. I
             believe Pakistani-based [CAN] producers can and must do more,’ he testified.”326

             768.   U.S. officials concluded that the Syndicate’s CAN fertilizer bomb infrastructure

   relied upon dependable commercial arrangements with American entities who facilitate the sale

   of Fatima Group CAN Fertilizer, since sales regularly required USD transactions to execute the

   purchases by Syndicate agents, operatives, and fronts. Thus, U.S. officials determined that

   “stop[ping] U.S. companies” – including SCB New York – “from trading with IED-connected

   entities” was an essential part of the American strategy of “going after these nefarious actors and

   effectively countering the networks that use IEDs.”327

             769.   By 2012, U.S. officials had concluded that Fatima and Pakarab were no longer

   good corporate citizens but, rather, had become deliberate enablers of the Syndicate’s CAN

   fertilizer bomb campaign against Americans in Afghanistan. Among other things, U.S. officials

   specifically concluded that rogue ISI elements had “gotten to” Fatima and Pakarab, and

   persuaded Fatima and Pakarab to continue producing large quantities of fertilizer in a color and

   texture format that would continue to facilitate diversion by Syndicate terrorists into CAN



   325
      Jen Judson, U.S. Frustrated by Pakistan’s Lack of Help in Combating Fertilizer Smuggling,
   Inside the Army (Sept. 24, 2012) (emphasis added), 2012 WLNR 20303217.
   326
     Rowan Scarborough, Indiana Governor Halts Deal with Bomb Supplier in Pakistan, National
   Herald Tribune (Pakistan) (Feb. 2, 2013) (emphasis added), 2013 WLNR 2710202.
   327
     Rowan Scarborough, Army’s Vehicles Not Enough; Taliban Just Build Bigger Bombs,
   Washington Times (Aug. 6, 2012), 2012 WLNR 16538203.


                                                    245
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 261 of 606 PageID #: 261




   fertilizer bombs. Supra Part II.C.2. Each Defendant was aware of the U.S. government’s view

   that the Fatima and Pakarab had been “gotten to” by rogue ISI and were therefore complicit in

   rogue ISI’s support of the Taliban and the Haqqani Network. Among other sources, the U.S.

   government’s views concerning rogue ISI’s involvement were broadly reported in international

   media outlets, which Defendants could not have ignored in good faith.

             770.   In fall of 2012, JIEDDO leadership, including LTG Barbero, began an effort to

   complement their attempts to persuade Fatima and Pakarab to cease supplying the Syndicate

   with easy-to-divert fertilizer by identifying corporations and banks that, directly or indirectly,

   facilitated the Syndicate’s CAN fertilizer bomb pipeline through Fatima and Pakarab. Once

   identified, senior JIEDDO personnel, including but not limited to LTG Barbero, contacted the

   identified complicit entity to encourage them to change their practices in order to interdict the

   flow of Fatima and Pakarab fertilizer to Syndicate terrorists to save American lives.

             771.   In January 2013, JIEDDO leadership, led by LTG Barbero, met in person with

   senior executives at SCB New York’s office (“New York Meeting”). The purpose of the New

   York Meeting was for LTG Barbero to communicate to Standard Chartered Bank’s “One Bank,”

   through the assembled SCB New York executives, how the SCB Defendants were directly

   facilitating CAN fertilizer bomb attacks against Americans in Afghanistan.

             772.   During the New York Meeting:

      (i)       LTG Barbero told SCB executives that Fatima and Pakarab were the exclusive source
                of the CAN fertilizer which was a vital ingredient in the CAN fertilizer bombs that
                accounted for approximately 80% of all American bomb casualties in Afghanistan.

      (ii)      LTG Barbero presented SCB executives detailed data showing the key role that
                Fatima and Pakarab supply of Fatima Group CAN Fertilizer played in enabling anti-
                American terrorism in Afghanistan, including, but not limited to, charts and quotes
                concerning the same.




                                                    246
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 262 of 606 PageID #: 262




      (iii)     LTG Barbero explained to SCB executives that Fatima and Pakarab had repeatedly
                refused to cooperate with American efforts to stop, or even reduce, the unfettered
                flow of Fatima Group CAN Fertilizer into Afghanistan for use by al-Qaeda affiliated
                terrorists by doing things such as applying a colorful dye to the fertilizer so that it
                would be harder for Haqqani Network operatives to smuggle.

      (iv)      LTG Barbero showed SCB executives detailed American casualty figures from
                Afghanistan – including specific categories of injuries, such as death or loss of limb –
                that LTG Barbero believed were attributable to the Fatima and Pakarab transactions
                relating to Fatima Group CAN Fertilizer that were facilitated by SCB New York’s
                provision of financial services to Fatima and Pakarab.

      (v)       LTG Barbero showed SCB executives a map of the state-of-the-art facilities that
                Fatima and Pakarab used to manufacture Fatima Group CAN Fertilizer as they relate
                to the Haqqani Network’s logistics ratlines, to further show the key, and unique,
                geographic role that Fatima and Pakarab supply of Fatima Group CAN Fertilizer
                played in the Haqqani Network’s CAN fertilizer bomb logistics infrastructure.

      (vi)      LTG Barbero showed SCB executives photos of evidence derived from terrorist
                detentions in Afghanistan, which showed bags of Fatima Group CAN Fertilizer that
                had been seized from Taliban (including Haqqani Network) terrorists.

      (vii)     LTG Barbero told SCB executives that SCB New York provided irreplaceable
                foreign exchange and export finance services to Fatima and Pakarab, that Fatima and
                Pakarab would not be able to supply terrorists in Afghanistan with Fatima Group
                CAN Fertilizer at the scale necessary to sustain the Syndicate’s nationwide CAN
                fertilizer bomb campaign without SCB New York’s provision of financial services to
                Fatima and Pakarab, and that JIEDDO was urging SCB New York to cease its
                provision of financial services to Fatima and Pakarab to save American lives by
                preventing future CAN fertilizer bomb attacks against Americans in Afghanistan.

      (viii) Alluding to Standard Chartered Bank’s notorious reputation for deliberately
             facilitating Iranian proxy-related terrorist finance (which had been in the news only
             about a month prior), LTG Barbero told Standard Chartered Bank executives that
             SCB’s track record was cause for additional concern, and LTG Barbero implored
             SCB New York to change its practices and end relationships, like those with Fatima
             and Pakarab, that played a role in aiding terrorist attacks against Americans.

      (ix)      SCB New York communicated to LTG Barbero, in sum and substance, that Standard
                Chartered Bank would consider the points made by LTG Barbero during the meeting,
                falsely implying that SCB took JIEDDO’s terrorism-related concerns seriously.

             773.   Each Standard Chartered Bank Defendant already knew the key role its provision

   of financial services to Fatima and Pakarab played in the Syndicate’s CAN fertilizer bomb




                                                    247
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 263 of 606 PageID #: 263




   campaign prior to the New York Meeting, no later than September 1, 2011, when the Associated

   Press broadly published the AP Report. Additionally, each Defendant also directly learned of the

   sum and substance of LTG Barbero’s points as presented to Standard Chartered Bank, including

   SCB New York, soon after the New York Meeting. Plaintiffs’ belief is based upon, among other

   things, Defendants’ closely integrated banking operations and “One Bank approach,” the unusual

   nature of the meeting between LTG Barbero and Standard Chartered Bank executives, the

   gravity of LTG Barbero’s allegations at the meeting, and each Defendants’ pre-existing

   compliance and terrorist finance risk profile. On information and belief, each Defendant was a

   “target” and/or “subject” in one or more then-ongoing federal or state law enforcement

   investigations in the United States concerning potential terrorist finance-related violations, and

   information like that relayed in the New York Meeting would ordinarily be shared with relevant

   branches and subsidiaries under Standard Chartered Bank’s “One Bank approach.”

          774.    Standard Chartered Bank never followed up with LTG Barbero or did anything

   positive – they blew JIEDDO off. Standard Chartered Bank’s deliberate silence reflected its

   consciousness of guilt and awareness, by each SCB Defendant, that Standard Chartered Bank

   had enabled terrorist violence against Americans in Afghanistan.

          775.    Rather than ending their role in the Syndicate’s CAN fertilizer bomb campaign in

   Afghanistan and exiting the terrorist enterprise, each Standard Chartered Bank Defendant

   continued providing financial services to Fatima and Pakarab until at least 2015.

          776.    LTG Barbero’s conclusion – that Fatima’s and Pakarab’s commercial transactions

   were suspicious enough, and their support of the Haqqani Network open enough, that Standard

   Chartered Bank’s transactions with Fatima and Pakarab foreseeably and directly aided the

   Haqqani Network’s CAN fertilizer bomb pipeline – forecloses any suggestion that Standard




                                                   248
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 264 of 606 PageID #: 264




   Chartered Bank did not fully appreciate SCB’s role in the then-FTO-designated Haqqani

   Network’s fertilizer bomb pipeline when SCB executives met with LTG Barbero in 2013.

               777.   LTG Barbero lacked Standard Chartered Bank’s transaction data, customer due

   diligence, and related materials and yet he was still able to identify SCB’s assistance to the

   Haqqani Network’s CAN fertilizer bomb supply chain. With complete access to the account

   data, SCB Defendants had far greater real-time and historic visibility into the transaction data

   than did LTG Barbero and JIEDDO. If the U.S. government could figure out, lacking that key

   information, the Haqqani Network terrorist finance and diversion risks attendant to SCB’s

   financial services to an then-open co-conspirator of the Haqqani Network, the Standard

   Chartered Defendants of course knew their transactions with Fatima and Pakarab directly

   facilitated the Haqqani Network’s CAN fertilizer bomb pipeline.

               778.   Indeed, on February 2, 2013, the Indiana Economic Development Corporation

   (“IEDC”) publicly concluded that Fatima’s and Pakarab’s CAN fertilizer practices “sent up red

   flags” that Fatima and Pakarab were facilitating anti-American terrorists’ supplies of CAN

   fertilizers to be used in CAN fertilizer bomb attacks against Americans in Afghanistan. This

   conclusion was published agents, operatives, and fronts by an Indiana newspaper headline.328

   Notably, the IEDC acted “after Pentagon officials flagged [Fatima] in December.”329 Explaining

   the common sense rationale that Defendants ignored: while “this would be a lucrative project for

   Posey County,… for now, and especially given the sensitivity of Americans to the violence done




   328
         Id.
   329
         Id.


                                                    249
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 265 of 606 PageID #: 265




   with IEDs to our military personnel, the correct course is to continue holding up this project until

   all are satisfied that the dots do not connect.”330

           779.    On May 17, 2013, then-Governor Mike Pence terminated the potential IEDC-

   Fatima deal because Fatima’s CAN fertilizer had been reported to be used by “the enemy in

   Afghanistan” and therefore he could not “in good conscience tell our soldiers and their families

   that this deal should move forward.”

           780.    On information and belief, each Standard Chartered Bank Defendant knew of the

   IEDC’s and then-Governor Pence’s announcements in February 2013 and May 2013,

   respectively, and was presented with the same information as the IEDC.

           781.    From 2008 through 2016, Standard Chartered Bank compliance personnel raised

   terrorist finance and/or logistics “red flags” concerning Fatima- and/or Pakarab -related

   transactions routed through SCB New York, believing they were suspicious under Standard

   Chartered Bank’s customer due diligence (“CDD”) and know your customer (“KYC”) rules.

           782.    Standard Chartered Bank’s CDD and KYC rules, including its enhanced due

   diligence and ongoing customer monitoring measures, were specifically designed to reduce the

   risk that Standard Chartered Bank, or an SCB branch like the other SCB Defendants, would

   transact business with terrorists.

           783.    On information and belief, the “red flags” raised by SCB New York personnel

   included open and obvious terrorist finance and/or terrorist logistics risks based upon the

   transaction-related data for each such suspicious transaction, through which Standard Chartered

   Bank knew that SCB New York was likely facilitating: (1) the bulk purchase (suspicious



   330
      Evansville Courier & Press, State Justified in Suspending Fertilizer Deal (February 6, 2013),
   2013 WLNR 33587382.


                                                     250
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 266 of 606 PageID #: 266




   amount) of Fatima Group CAN Fertilizer (since after Oklahoma City, CAN fertilizer was known

   as an extremely high risk product for terrorist bomb logistics) that was (2) being bought by an

   unidentifiable shell company (suspicious counterparty) (3) in a known Taliban fund-raising

   center such as Afghanistan, Pakistan, or the U.A.E. (ultra-high-risk geographies, all). Therefore,

   Standard Chartered Bank personnel knew that such Fatima Group CAN Fertilizer-related

   transaction activity raised serious terrorism red flags indicating a high probability that one party

   to the purchase was most likely a Syndicate front, operative, or agent acquiring bomb-making

   materials, rather than a legitimate customer.

          784.    On information and belief, by 2013, each SCB Defendant also knew that one or

   more current or former Standard Chartered Bank managers, employees, or agents had become a

   whistleblower and had raised concerns that, in sum and substance, SCB London, SCB New

   York, SCB Dubai, and/or SCB Pakistan had facilitated a deliberate supply of CAN fertilizer by

   Fatima and Pakarab to al-Qaeda and Haqqani Network agents, operatives, or fronts for use in

   CAN fertilizer bomb attacks against Americans.

          785.    By 2013, Standard Chartered Bank knew, in sum and substance, that one or more

   whistleblowers had raised credible terrorist finance and terrorist logistics concerns regarding

   USD-related practices pursued by SCB London, SCB New York, and SCB Dubai that could

   specifically endanger American lives. Among other things, each SCB Defendant knew, in sum

   and substance, that at least three people had blown the whistle on Standard Chartered Bank’s

   assistance to al-Qaeda and the Haqqani Network, including through its services to the Khanani

   MLO as well as to Fatima and Pakarab. On information and belief, by the beginning of 2013,

   each SCB Defendant knew that:




                                                   251
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 267 of 606 PageID #: 267




      (i)       a whistleblower concluded that Standard Chartered Bank’s illicit banking practices
                contributed to funds which were ultimately used to support terrorist activities that
                killed and wounded American service members;

      (ii)      a second whistleblower concluded that Standard Chartered Bank’s misconduct
                generated cash flow to finance terrorist activities that were killing and injuring
                American service members; and

      (iii)     a third whistleblower concluded that Standard Chartered Bank had blood on its hands
                because it had enabled terrorist finance, including U.S. Dollar related terrorist finance
                transactions executed by Al Zarooni Exchange, which Standard Chartered Bank knew
                at the time to be a notorious Khanani MLO-related terrorist finance vehicle used by
                anti-American terrorists to finance their operations.

             786.   The SCB Defendants, including SCB New York, enabled at least several million

   dollars of Fatima and Pakarab fertilizer sales to al-Qaeda and Haqqani Network agents,

   operatives, and fronts during the period after the IEDC paused its own financial relationship with

   Fatima Group in February 2013. As a result, the SCB Defendants, including SCB New York,

   played a direct role in the Syndicate’s CAN fertilizer bombmaking enterprise even after knowing

   that another similarly-situated American financial services market participant had withdrawn

   from a financial services arrangement with the same customer based on the direct risk that the

   commercial relationship could aid terrorist attacks against Americans.

             787.   In the years since 2014, LTG Barbero continued to monitor Fatima’s and

   Pakarab’s corporate and financial relationships, and LTG Barbero did not become aware of any

   fact suggesting that any SCB Defendants took any meaningful action to disrupt the Syndicate’s

   CAN fertilizer bomb supply chain even after he had personally told Standard Chartered Bank

   executives at the New York Meeting that the terrorist’s supply chain depended upon Standard

   Chartered Bank’s provision of financial services to Fatima and Pakarab. In 2019, LTG Barbero

   reflected upon the tragic consequences of Defendants’ decision to prioritize their profits above

   Coalition lives and stated that SCB was “utterly useless” in the U.S. military’s desperate effort to




                                                     252
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 268 of 606 PageID #: 268




   prevent Syndicate terrorists from converting Fatima and Pakarab fertilizer into bombs to kill and

   maim Americans in Afghanistan. Referring to Standard Chartered Bank, he concluded:

          Anybody wounded or who lost a relative as a result of IEDs in Afghanistan
          should be angry especially with any British or US entity that enabled or at least
          looked the other way and did not care enough when presented with the evidence.
          It is shameful.331

          788.    At all relevant times from 2009 through 2016, the Standard Chartered Bank

   Defendants’ transactions, including USD-denominated transactions routed through or

   backstopped by SCB New York, did, in fact, help the Syndicate directly source millions of

   dollars worth of Fatima Group CAN Fertilizer per year for use in the Syndicate’s bomb

   campaign targeting Americans in Afghanistan. Standard Chartered Bank, through SCB New

   York, directly processed at least more than $5 million in Syndicate-related purchases, and on

   information and belief discovery will reveal the full number is much greater.

          789.    From 2009 through 2016, Standard Chartered Bank knew that by providing

   accounts to, and performing financial transactions for, the Syndicate’s CAN fertilizer bomb

   campaign, including Fatima Group CAN Fertilizer, it was playing a substantial role in their

   terrorist activities. Defendants, including SCB New York, maintained a general policy of

   willfully financing known terrorist fronts while refusing to cooperate with any counter-terrorism-

   related requests by the U.S. government if doing so would prevent Standard Chartered Bank

   from profiting from a customer relationship. Supra Part IV.B. That policy applied to each of the

   Fatima and Pakarab transactions enabled by Defendants and was consistent with Standard




   331
      Adam Luck, US General Claims He Told Standard Chartered its Client Helped the Taliban -
   But the Bank Did Nothing, Mail on Sunday (Dec. 7, 2019),
   https://www.thisismoney.co.uk/money/news/article-7767683/US-general-told-Standard-
   Chartered-client-helped-Taliban-did-nothing.html.


                                                  253
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 269 of 606 PageID #: 269




   Chartered Bank’s willingness to commit egregious violations of U.S. terrorist finance laws if

   SCB thought it could get away with it.

           790.   Standard Chartered Bank’s (and each Defendant’s) participation in the

   Syndicate’s bombmaking logistics and enterprise was a manifestation of their reckless approach

   to risky terrorist-related transactions more generally. In following that standard practice, each

   year from 2009 through 2016, Standard Chartered Bank, including SCB New York, facilitated

   transactions that caused Fatima and Pakarab fertilizer sales, including sales of Fatima Group

   CAN Fertilizer, to Syndicate agents, operatives, and fronts totaling at least one hundred thousand

   dollars per month, and at least $1 million or more each year, every year. Defendants processed

   these transactions under circumstances making it clear to Standard Chartered Bank that the

   transactions in question were likely directly or indirectly related to Syndicate terrorist finance or

   logistics.

           791.   As a result, from 2009 through 2016, the SCB Defendants collectively facilitated

   at least several million in USD transactions routed through SCB New York that directly enabled

   the Syndicate’s regular logistics flow of Fatima Group CAN Fertilizer through transactions

   involving Fatima and/or Pakarab. By doing so, each Defendant assumed a key operational role

   in the Syndicate’s CAN fertilizer bomb campaign from 2009 through 2016 and supported the

   acquisition of Fatima Group CAN Fertilizer to kill or injure every Plaintiff in this case.

           792.   Plaintiffs’ belief is supported by, among other things: (1) Standard Chartered

   Bank’s key role underwriting and facilitating Fatima and Pakarab dollar transfers, letters of

   credit, and sales; (2) the U.S. government’s conclusion that Syndicate fronts acquired, directly

   and indirectly, approximately one percent (1%) of all Fatima and Pakarab fertilizer sold for




                                                    254
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 270 of 606 PageID #: 270




   conversion into bombs; (3) historical Fatima and Pakarab Group sales, manufacturing, and

   financial data; and (4) Standard Chartered Bank transaction data.

          793.    Defendants profited from their substantial assistance to the Syndicate’s CAN

   fertilizer bomb campaign. Defendants’ commercial relationships with Fatima and Pakarab, as

   well as the Syndicate fronts who bought Fatima Group CAN Fertilizer, were highly lucrative.

   Defendants collectively earned millions USD in fees based upon their long-standing provision of

   financial services to Fatima and Pakarab, including millions in fees after learning, by no later

   than September 2011, of the role Standard Chartered Bank played in facilitating the Syndicate’s

   CAN fertilizer bomb network.

          794.    Standard Chartered Bank’s (and each Defendant’s) assistance to the Syndicate’s

   CAN fertilizer bomb logistics extended beyond Standard Chartered Bank’s financial services to

   Fatima and Pakarab. From 2001 through 2016, Defendants regularly, and knowingly or

   recklessly, facilitated Syndicate bomb logistics, including through sales to al-Qaeda, Taliban,

   and Haqqani Network purchasers of bomb components (including Fatima Group CAN

   Fertilizer), and movement of funds so Syndicate operatives could make the purchases. Plaintiffs’

   belief is also based upon, among other things, more than a dozen enforcement actions brought by

   American, Pakistani, and other regulators, media reports, and statements by Standard Chartered

   Bank employees. These sources identify at least several occasions that contain clear red flags,

   considering the transaction data and public data of which the SCB Defendants knew, indicating

   likely Taliban and/or Haqqani Network terrorist finance or bomb-related acquisition or

   laundering activity through Standard Chartered Bank accounts.

          795.    SCB New York regularly processed USD transactions on behalf of SCB Pakistan,

   SCB Dubai, or another non-SCB bank in Pakistan or Dubai, where the face of the transaction




                                                   255
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 271 of 606 PageID #: 271




   itself contained substantial indicia that the transaction was related to logistical support for al-

   Qaeda and the Haqqani Network’s bomb pipeline, such as the acquisition of chemical precursors

   for bombs by a Haqqani Network agent in the U.A.E.

          796.    Between 2009 and 2016, SCB New York, SCB Dubai, and SCB Pakistan

   regularly processed transactions on behalf of Syndicate fronts, operatives, or agents in which the

   surface information available to Standard Chartered Bank, and each SCB Defendants, on its own

   raised extreme terrorist finance or logistics risk.

          797.    Examples include, but are not limited to, Standard Chartered Bank’s Pakistan-

   and Dubai-linked transactions, routed through SCB New York, on behalf of obvious terrorist

   fronts for transactions such as: (1) the “purchase of seismic explosives”; (2) regular large

   transactions involving Fatima and Pakarab with unidentifiable counterparties in circumstances

   raising an overwhelming inference of Syndicate logistical activity (i.e., a Syndicate front,

   operative, or agent making a large purchase of Fatima or Pakarab CAN fertilizer); and (3)

   transactions with a Syndicate front companies, including one or more companies controlled by

   the Haqqani Network, which had publicly-reported links to smuggling activities that were known

   to, and disregarded by, SCB New York, SCB Pakistan, and SCB Dubai.

          798.    SCB New York served as the correspondent bank that recklessly processed each

   suspicious Pakistan-related USD-denominated transaction described above, which collectively

   totaled millions of dollars between 2009 and 2016. On information and belief, SCB New York

   facilitated each transaction with a counterparty that was a front, operative, and/or agent for the

   Taliban, including its Haqqani Network, while knowing of the transaction’s high terrorist finance

   and/or logistics risk, and each transaction aided the Syndicate’s CAN fertilizer bomb campaign

   against Americans.




                                                    256
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 272 of 606 PageID #: 272




          799.    By the middle of 2011, “90 percent of casualties in Afghanistan [came] from

   ammonium nitrate explosive,”332 which the Syndicate sourced from Fatima and Pakarab sales of

   Fatima Group CAN Fertilizer. Supra Part II.D.1. Additionally, Fatima Group CAN Fertilizer

   accounted for more than 95 percent of all American casualties that were specifically related to

   Syndicate IED- and suicide bomb-attacks, and Fatima’s and Pakarab’s intentional transfer of

   Fatima Group CAN Fertilizer to the Haqqani Network ensured that these casualty percentages

   persisted each year from 201 through 2016.

          800.    In Afghanistan and Pakistan, al-Qaeda and the Taliban (including its Haqqani

   Network) sourced one hundred percent (100%) of their CAN fertilizer from Fatima and Pakarab

   sales of Fatima Group CAN Fertilizer between 2011 and 2016, and sourced nearly all of their

   CAN fertilizer from Pakarab sales before then as well. From 2011 through 2016, every CAN

   fertilizer bomb that the Syndicate detonated to kill or injure Americans in Afghanistan was

   directly or indirectly sourced from Fatima Group CAN Fertilizer sold by Fatima or Pakarab.

          801.    From 2011 through 2016, Fatima Group CAN Fertilizer accounted for

   approximately eighty percent (80%) of all IED and suicide bomb attacks, and approximately

   ninety percent (90%) of all American casualties, in Afghanistan. Thousands of Americans,

   including Plaintiffs, were killed or maimed as a direct result.

          802.    JIEDDO concluded that, in 2011 alone, Syndicate bombs derived from Fatima

   Group CAN Fertilizer killed or injured 10,840 Americans serving in Afghanistan.




   332
      Id. The casualty percentage (90%) is higher than the IED percentage (80%) because fertilizer
   bombs derived from CAN fertilizer were the most devastating weapon in the Syndicate’s arsenal,
   and were uniquely capable of countering American protective measures, including even the most
   heavily armored U.S. vehicles. Supra Part II.D.1.


                                                   257
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 273 of 606 PageID #: 273




          803.    From 2010 through 2016, al-Qaeda bombmakers required about eight pounds of

   Fatima Group CAN Fertilizer to produce an IED capable of killing Americans in Afghanistan.

   Given how efficiently al-Qaeda bombmakers could convert Fatima Group CAN Fertilizer into

   ammonium nitrate, on information and belief, al-Qaeda bombmakers could – and did – convert a

   standard 110-pound bag of Fatima Group CAN Fertilizer into approximately 2-4 powerful IEDs,

   several suicide vests, or a single suicide VBIED, depending upon the bomb design.

          804.    Between 2011 and 2016 – when every attack in this case transpired – nothing was

   more important to al-Qaeda’s CAN fertilizer bomb attack tempo than the Haqqani Network’s

   well-established Fatima Group CAN Fertilizer supply chain, in which each Standard Chartered

   Bank Defendant played a key operational role. Specifically, each SCB Defendant ensured the

   Haqqani Network could regularly purchase what it needed to supply the al-Qaeda bombmakers

   who, at the al-Qaeda/Haqqani Network camps in Pakistan, were key to the industrial supply of

   CAN fertilizer bombs to every member of the Syndicate.

          805.    Terrorism experts who studied the Syndicate’s CAN fertilizer bomb infrastructure

   confirmed the close nexus between acts that facilitate Syndicate acquisition of Fatima Group

   CAN Fertilizer, on the one hand, and CAN fertilizer bomb attacks targeting Americans in

   Afghanistan, on the other. For example, Dr. Daniel Goure, of the Lexington Institute, has

   explained that, because “IED’s in Afghanistan are relatively simple devices made from [CAN]

   fertilizer with few metal parts and simple triggers,”

          [t]he real key to truly defeating the IED threat in Afghanistan rest[ed]
          …ultimately on the effort to dismantle the network. This network consist[ed] of
          suppliers of bomb-making materials, financiers, bomb-designers, Taliban
          commanders, and local bomb-emplacement teams. This involve[ed], in part,
          exquisite intelligence to identify and take out Taliban commanders and senior
          leaders that enable[d] the IED networks. But it also involve[d] interdicting the
          flow of materials and money coming across the border from Pakistan. In this
          respect, the battle against the IED network resemble[d] this nation’s war on drugs.



                                                   258
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 274 of 606 PageID #: 274




          Rather than busting drug dealers on the street corners of American cities, winning
          the war on drugs must successfully interdict the movement of drugs into the
          country as well as the sources of supply. Fortunately, unlike fighting the drug
          trade, demand play[ed] less of a role in the overall dynamics of the IED network.
          Thus, interdicting supply [could] have a decisive effect … against IEDs.333

          806.    The Syndicate’s use of CAN fertilizer bombs sourced from Fatima and Pakarab

   products was also key to its ability to maximize the lethality of its bombing campaign and the

   attendant carnage inflicted upon Americans in Afghanistan. By 2009, the Syndicate’s ability to

   create bombs from legacy munitions discovered from earlier, had essentially ended. For

   example, as the Daily Telegraph reported in July 2009:

          As the supply of military explosives dries up, the Taliban are building large
          fertiliser vehicle bombs to attack members of the US-led International Security
          Assistance Force. Fertiliser is the explosive of choice for terrorists seeking
          maximum impact. Senior coalition sources based in the Middle East told The
          Daily Telegraph the Afghan insurgents were rapidly running out of ordnance such
          as land mines and artillery shells left behind by Russians in the 1980s. Bigger
          bombs uncovered by forces are now being made using up to 250kg of fertilizer.334

          807.    As a result, the Taliban needed to purchase, build for itself, or receive from a

   terrorist ally (e.g.., al-Qaeda), most of the explosives it used to attack Americans between 2009

   and 2016. This trend was particularly pronounced by 2011, when the U.S. military “Surge” had

   largely routed the Taliban’s indigenous weapons-creation capabilities, and the terrorists

   depended upon external bomb logistics pipelines. For their CAN fertilizer bomb infrastructure,

   that pipeline depended on Fatima’s and Pakarab’s choice to join the Syndicate’s conspiracy. No

   other explosives precursor was supported by such a ready-made industrial support base as that

   behind Fatima Fertilizers and Pakarab, and if the Syndicate had been forced to rely on materials



   333
     Daniel Goure, Ph.D., Lexington Institute, Comprehensive Approach Needed to Stem Flow of
   IED Material, States New Service (May 26, 2011).
   334
     Ian McPhedran, Maximum Carnage – Taliban Switches Tactics to Bali-Style Booby Traps,
   Daily Telegraph (Sydney, Australia) (July 29, 2009), 2009 WLNR 14485302.


                                                   259
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 275 of 606 PageID #: 275




   other than Fatima Group CAN Fertilizer, the Taliban’s effective attack rate, and the lethality of

   its bombs, would have both dramatically declined, and Plaintiffs likely would have been spared.

           808.   If Standard Chartered Bank had chosen to heed the U.S. government requests in

   2007/2008, 2009/2010 and 2013, the Syndicate’s CAN fertilizer bomb supply chain would have

   collapsed, and its ability to conduct al-Qaeda’s CAN fertilizer bomb campaign against

   Americans in Afghanistan would have been vastly diminished.

           809.   Moreover, a nationwide bombing campaign seeking to cause hundreds of

   thousands of potentially lethal explosions every year is only as good as the logistics chain behind

   it. Only Standard Chartered Bank, through its deliberate facilitation of the Fatima and Pakarab

   pipeline via sales of Fatima Group CAN Fertilizer to Syndicate agents, operatives, and fronts,

   offered the Syndicate a viable, fully built-out, large, industrial-scale explosive component

   manufacturing and distribution infrastructure in Pakistan. No other company – aside from

   Fatima and Pakarab – and no other precursor ingredient – aside from Fatima Group CAN

   Fertilizer – would have been nearly as effective as an explosive ingredient for widespread

   application by the insurgency, or as easy to smuggle over the border. Fatima Group CAN

   Fertilizer made and sold by Fatima and Pakarab therefore played a unique and irreplaceable role

   in Syndicate CAN fertilizer bomb attacks against Americans in Afghanistan from 2011 through

   2016.

           810.   It was this recognition of the unique – and irreplaceable – role played by Standard

   Chartered Bank in the Syndicate’s CAN fertilizer bomb infrastructure that compelled JIEDDO

   leadership to pressure Standard Chartered Bank to stop aiding the Syndicate. JIEDDO

   leadership was seasoned, intelligent, experienced, and motivated by a desire to save American

   lives. It is not plausible JIEDDO would have devoted so much time and attention relating to




                                                   260
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 276 of 606 PageID #: 276




   Standard Chartered Bank on this issue unless doing so plausibly save American lives.

   Describing urgent need to interfere with the terrorists’ CAN fertilizer pipeline, one journalist

   explained: “[m]ilitary commanders are convinced that if the insurgents are robbed of one of their

   main bomb-making tools, the death toll will drop.”335

          811.    For these reasons, LTG Barbero concluded that the best way to reduce American

   deaths from al-Qaeda CAN fertilizer bombs was to make it more difficult for the Haqqani

   Network to obtain the Fatima and Pakarab fertilizer that was required by al-Qaeda’s

   bombmakers. America’s coalition partners concurred. As one former British Army officer

   explained, “[a]mmonia nitrate [was] the key component of the fertiliser bombs … in Afghanistan

   [] favoured by the Taliban and other terrorist groups.”336

          812.    American military strategy during the “Surge” confirmed the foreseeably close

   nexus between the Syndicate’s CAN fertilizer bomb infrastructure and bomb attacks targeting

   Americans in Afghanistan. For example, in October 2010, two General Officers acting at the

   request of General David H. Petraeus, who commanded NATO forces in Afghanistan at the time,

   traveled to Pakistan to share U.S. government intelligence concerning the Syndicate’s CAN

   fertilizer bomb infrastructure pipeline with Pakistani military and civilian leadership. On

   information and belief, this information included detailed information concerning the Haqqani

   Network’s strategies for acquiring and distributing Fatima Group CAN Fertilizer for use in CAN

   fertilizer bombs targeting Americans in Afghanistan.




   335
     Sonia Verma, Farmers Resent Fertilizer Ban to Thwart Taliban Bombmaking, Globe and
   Mail (Jan. 27, 2010), 2010 WLNR 1701673.
   336
      Simon Speakman Cordall, Failed London Bomb Plot Exposes Hezbollah’s Criminal Activities
   in Europe, Al-Arab (June 16, 2019), 2019 WLNR 18446600.


                                                   261
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 277 of 606 PageID #: 277




          813.    Standard Chartered Bank’s reckless support for Fatima’s and Pakarab’s continued

   supply of the Haqqani Network’s CAN fertilizer bomb pipeline occurred in a context in which it

   was foreseeable, and inevitable, that the SCB Defendants’ practices would facilitate al-Qaeda

   and Haqqani Network-related CAN fertilizer logistics and fundraising for at least two reasons.

   First, al-Qaeda, the Taliban, and the Haqqani Network had intertwined funding and logistics

   streams under which their money moved between key network actors connecting them, e.g..,

   Sirajuddin Haqqani. Supra Part II.A. Second, in high-risk terrorist finance geographies, a

   bank’s widespread facilitation of money laundering inevitably results in significant terrorist

   finance. Infra Part II.B.

          814.    Defendants’ provision of financial services to Fatima, Pakarab, and Syndicate

   agents, operatives, and fronts, was essential to the Syndicate’s ability to maintain the massive

   supply of CAN fertilizer bombs necessary to wage its nationwide terrorist campaign against

   Americans in Afghanistan from 2010 through 2016. Standard Chartered Bank was the only

   major bank that had a history of doing business in Afghanistan supported by branches in the

   United States, China, Pakistan, the U.A.E., Qatar, and the former Soviet Union. While certain

   other banks in the financial services marketplace overlapped with some of these geographies,

   only Standard Chartered Bank offered full spectrum financial services in all of them and

   Standard Chartered Bank’s presence in all those markets was necessary for the Syndicate to

   leverage all its foreign funding sources to regularly purchase significant volumes of fertilizer

   from Fatima and Pakarab.

          815.    Like other customers who received financial services through Standard Chartered

   Bank, al-Qaeda and the Haqqani Network derived unique operational benefits for their terrorist

   enterprises (and the Syndicate) from being able to rely upon Standard Chartered Bank’s global




                                                   262
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 278 of 606 PageID #: 278




   financial network, which al-Qaeda and the Haqqani Network accessed through SCB London,

   SCB New York, SCB Dubai, SCB Pakistan, and SCB Afghanistan. Standard Chartered Bank’s

   CEO’s own statements about the unique value-add provided by Standard Chartered Bank’s

   banking services throughout the developing world show as much. As Euromoney declared when

   naming Standard Chartered Bank its “Best Emerging Markets Bank” in 2007:

          [Standard Chartered Bank] claims a unique focus on Asia … and the Middle
          East. It’s a justified boast, particularly now that the bank is exploring linkages
          between these regions as well as expanding in individual countries. Almost every
          leading bank in the world claims to have a big presence in the emerging markets.
          In truth few actually do. But one bank whose emerging markets credentials
          cannot be questioned is [SCB]. [SCB] is headquartered in the UK but its heart
          lies very much in the developing world, specifically … Asia and the Middle East.
          …For [the] chief executive of [SCB], the bank’s success lies in what he claims is
          its unique character. “No other bank is as focused on Asia … and the Middle
          East in the way that we are…”337

          816.    SCB Pakistan’s CEO has also publicly touted how Standard Chartered Bank was

   unique amongst global financial institutions in having a long-standing presence in Pakistan. For

   example, SCB Pakistan’s CEO stated in 2013 that Standard Chartered Bank’s “bond with the

   Indo-Pak subcontinent is 150 years old,” that “we fully understand how banking plays a crucial

   role in the functioning of the economy,” and “[w]e are aware of our responsibility towards the

   community” in Pakistan.338 Standard Chartered Bank’s unique platforms and capabilities helped

   the Syndicate’s agents, operatives, and fronts better supervise their various financial activities,

   becoming more efficient and therefore repatriating more money back to accounts controlled by

   al-Qaeda and Haqqani Network agents and operatives to finance attacks against Americans in

   Afghanistan. Indeed, this was a core benefit SCB Pakistan itself touted. As one senior SCB


   337
      Euromoney, Best Emerging Markets Bank: Standard Chartered (July 1, 2007) (emphasis
   added), 2007 WLNR 28153615.
   338
     Pakistan and Gulf Economist, Standard Chartered Launches 2012 Pakistan Sustainability
   Review, Volume 32; Issue 21 (May 26, 2013), 2013 WLNR 13006660.


                                                    263
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 279 of 606 PageID #: 279




   Pakistan executive stated in 2016, “[a]t Standard Chartered, we bring world class working capital

   solutions for our clients that helps them achieve optimal efficiency, by providing better control,

   transparency and visibility to their transactions.”339

          817.    Even after being confronted with clear basis for actual knowledge of its role in the

   terrorist enterprise, the SCB Defendants continued providing the same financial services to

   Fatima and Pakarab for at least two years after the January 2013 meeting with JIEDDO

   leadership, doing so through 2016. On information and belief, SCB New York processed at least

   several million dollars of Fatima and Pakarab fertilizer sales that deliberately benefited al-

   Qaeda’s and the Haqqani Network’s pipeline during the period from January 2013 through

   December 2014, and these transactions enabled the Syndicate to create thousands of IEDs and/or

   suicide bombs from ammonium nitrate derived from Fatima Group CAN Fertilizer purchased

   from Fatima or Pakarab during these 24 months. On information and belief, each primary victim

   who was killed or injured by an al-Qaeda CAN fertilizer bomb during this period was

   specifically killed or injured due to the explosion caused by a CAN fertilizer bomb prepared

   specifically with Fatima Group CAN Fertilizer purchased by al-Qaeda and/or Haqqani Network

   fronts, operatives, or agents from Fatima or Pakarab between January 2013 and December 2014.

          818.    Standard Chartered Bank’s continued provision of financial services to Fatima

   and Pakarab after SCB’s New York Meeting in January 2013 with JIEDDO leadership facilitated

   Fatima’s and Pakarab’s continued deliberate supply of at least several million dollars of Fatima

   Group CAN Fertilizer to al-Qaeda and the Haqqani Network from January 2013 through, at least,

   December 2014. As a result, Standard Chartered Bank, SCB New York, SCB Dubai, and SCB



   339
      Pakistan Observer, Standard Chartered Showcases Transaction Banking Capabilities (Feb.
   26, 2015), 2015 WLNR 5797818.


                                                    264
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 280 of 606 PageID #: 280




   Pakistan directly aided al-Qaeda’s CAN fertilizer bomb campaign by knowingly enabling

   enough Fatima and Pakarab sourcing of Fatima Group CAN Fertilizer to the Haqqani Network’s

   to create tens of thousands of CAN fertilizer bombs each year.

          819.    Conversely, if each SCB Defendant had stopped providing financial services to

   Fatima and Pakarab after JIEDDO leadership implored Standard Chartered Bank to do so during

   their New York Meeting in January 2013, the Syndicate’s bombmaking campaign would have

   been substantially degraded, thousands fewer bombs would have been created, and thousands of

   Americans would have been spared injury or death, including Plaintiffs. Indeed, the critical

   nexus between SCB New York and the Syndicate’s CAN fertilizer bombmaking infrastructure

   was the reason why JIEDDO leadership attempted to persuade SCB New York to stop

   facilitating Fatima and Pakarab sales in the first instance.

          820.    Fatima’s and Pakarab’s sales of Fatima Group CAN Fertilizer via Standard

   Chartered Bank accounts, including SCB New York, were significant enough, and close enough

   in time to the attacks on Plaintiffs, to have been a substantial factor in both strengthening the

   Syndicate’s terrorist enterprise and causing (factually and legally) the attacks on Plaintiffs.

          821.    On information and belief, the Syndicate executed every IED and suicide bomb

   attack in this case by detonating an CAN fertilizer bomb that was sourced from Fatima Group

   CAN Fertilizer, planted by the Taliban (including its Haqqani Network), and derived from al-

   Qaeda schematics and training. This belief is based on, among other things, government

   statements and records concerning the specific attacks, media accounts and witness descriptions

   of the attacks, and Plaintiffs’ own recollections.

          822.    On information and belief, SCB New York directly facilitated at least several

   million dollars per year in sales of Fatima Group CAN Fertilizer to al-Qaeda, Taliban, and




                                                    265
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 281 of 606 PageID #: 281




   Haqqani Network fronts, operatives, and/or agents, and supplied the Syndicate with the key

   precursor ingredient – ammonium nitrate via Fatima Group CAN Fertilizer – to manufacture

   thousands of CAN fertilizer bombs per year, including the bombs used to attack Plaintiffs.

          823.    Further, Defendants lent their good names, legitimacy, and financial services to a

   specific and deadly component of the Syndicate’s CAN fertilizer bomb enterprise, by using

   accounts controlled by the Defendants, including SCB New York, to facilitate sales of Fatima

   Group CAN Fertilizer by Fatima and Pakarab, knowing that such sales played an essential, and

   irreplaceable, role in the Syndicate’s CAN fertilizer bomb attack campaign targeting Americans

   in Afghanistan. The legitimacy afforded by the Defendants’ willingness to facilitate Fatima and

   Pakarab sales strengthened the effectiveness of the Syndicate’s CAN fertilizer bomb campaign

   by providing the “cover” of a purportedly reputable international bank, Standard Chartered Bank.

          824.    Al-Qaeda’s and the Haqqani Network’s agents’, operatives’, and fronts’

   purchases of bombmaking components via Standard Chartered Bank accounts, including SCB

   New York, were significant enough, and close enough in time to the attacks on Plaintiffs, to have

   been a substantial factor in both strengthening al-Qaeda’s and the Haqqani Network’s terrorist

   enterprise, and causing (factually and legally) the attacks on Plaintiffs.

          825.    Because the Haqqani Network was a part of the Taliban and sourced all the

   Fatima Group CAN Fertilizer for al-Qaeda and the Taliban both, the Standard Chartered Bank

   Defendants’ transactions were a substantial factor in strengthening the Taliban’s terrorist

   enterprise and causing (factually and legally) the Taliban’s attacks on Plaintiffs.

          826.    By knowingly engaging in transactions for, and providing financial services to,

   Fatima and/or Pakarab while knowing that Fatima and/or Pakarab were deliberately facilitating

   al-Qaeda’s and the Haqqani Network’s (and through them, the Taliban’s) CAN fertilizer bomb




                                                    266
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 282 of 606 PageID #: 282




   attacks against Americans in Afghanistan, the Standard Chartered Bank Defendants provided

   substantial assistance to those groups and caused the terror attacks that injured Plaintiffs.

          D.      Danske Bank Enabled Syndicate Terrorist Finance

          827.    Danske Bank directly routed millions of U.S. Dollars to al-Qaeda, the Taliban

   (including its Haqqani Network), Lashkar-e-Taiba, Jaish-e-Mohammed, and D-Company.

   Among its other terrorist finance schemes, Danske Bank: (1) operated its own Laundromat that

   was also purpose-built, like the Russian Laundromat, to enable narcotics-related terrorist finance,

   including al-Qaeda and Haqqani Network finance; and (2) facilitated large-scale VAT fraud by

   al-Qaeda operatives in Europe. Both schemes routed millions of U.S. Dollars to terrorist agents,

   operatives, and fronts acting for al-Qaeda, the Taliban (including its Haqqani Network), Lashkar-

   e-Taiba, Jaish-e-Mohammed, and D-Company. Plaintiffs outline each below.

                  1.      Danske Bank Enabled Syndicate Terrorist Finance Through Its
                          Laundromat

          828.    From 2007 through 2016, Danske Bank operated a laundromat out of its Estonia

   branch, and laundered substantial sums for Khanani, the Russian Mob, the leadership of

   Azerbaijan, the Syndicate, and others.340

          829.    Reportedly, Danske Bank’s Estonian laundromat made over $233 billion dollars

   in suspicious transactions during that time period. Danske Bank’s laundromat has been called

   the “Global Laundromat” due to its magnitude and geographic reach.

          830.    A huge proportion of the money that transferred via these transactions were

   denominated in U.S. Dollars.




   340
     SNL European Financials Daily, Danske Bank expands Estonia branch probe over potential
   money laundering (September 25, 2017), 2017 WLNR 29604102.


                                                    267
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 283 of 606 PageID #: 283




          831.    It was reported in 2017 that Danske Bank’s violation of money-laundering rules,

   failure to monitor transactions, and failure to adequately identify clients had been “extensive and

   systematic and took place over a long time.” Larse Krull of the Danish Aalborg University was

   quoted as saying: “It concerns transactions to such a degree that all the alarm bells should go off

   in the banks.”341

          832.    Danske Bank’s now-defunct Estonian branch moved funds to a company

   belonging to a network linked to Khanani.

          833.    Khanani was able to “exchange large and suspicious amounts for accounts in

   [Danske Bank’s] name.”342 A customer of Danske Bank’s Estonia branch, which purportedly

   had “hidden owners,” exchanged millions with the Dubai-registered company Mazaka General

   Trading, an entity notoriously linked to Khanani.

          834.    On information and belief, the Khanani MLO used Danske Bank’s Laundromat to

   source millions of U.S. Dollars for al-Qaeda and the Haqqani Network. For example, during a

   single four-month period on 2014, the Khanani MLO obtained more than $700,000 through

   Danske’s Global Laundromat. Since Danske did not have a U.S. branch, Deutsche Bank’s

   branch in New York (DBTCA) worked with Danske to complete the transaction.

          835.    Investigative reports by respected media outlets confirmed that Danske Bank

   likely financed al-Qaeda and its allies through the Khanani MLO. For example, the German

   newspaper Süddeutsche Zeitung reported that Danske enabled U.S. Dollar cash flow to the

   Khanani MLO through its front, Mazaka General Trading, and reported: (1) “Mazaka was a


   341
      Arutz Sheva (Israel), Danish Anti-Israel Moralizers in Huge Corruption Scandal (Sept. 8,
   2017), 2017 WLNR 27750168.
   342
      Pak Revenue, Pakistan’s Altaf Khanani Got Huge Sums from Account in Danske Bank (Sept.
   22, 2020), http://pakrevenue.com/pakistans-altaf-khanani-got-huge-sums-from-account-in-
   danske-bank/.


                                                   268
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 284 of 606 PageID #: 284




   company used by one of the most wanted money launderers at the time, Pakistani Altaf

   Khanani,” (2) Mazaka’s “customers” included “[t]errorist organizations such as al-Qaeda” “and

   the Taliban”; and (3) “[b]etween April and August 2014” “a total of $720,000 flowed into

   [Mazaka’s] account at Danske Bank.”343

          836.    Richard Grant, the former head of the Australian intelligence service was quoted

   as saying “[t]here can only be one reason why money has been moved out of Danske Bank and

   into [Khanani’s] trading companies - and that is money laundering. Because that was the only

   thing that happened in those companies.”344

          837.    As the Economist pointed out in 2018, “Danske missed chance after chance to

   stop the sluice.”345 It was not until 2015 that Danske Bank began addressing the issue, and not

   until 2016 that the subject accounts at the Estonia branch were all finally closed.

          838.    After its Global Laundromat was exposed, Danske Bank conducted its own

   internal investigation which found “major deficiencies in controls and governance that made it

   possible to use Danske Bank’s branch in Estonia for criminal activities such as money

   laundering.” The CEO of Danske Bank then resigned, reportedly due to the scandal related to

   uncovering the Danske Bank laundromat.

          839.    Danske Bank publicly stated that it has “taken a number of measures against

   current and former employees” “in the form … of warnings, dismissals, loss of bonus payments

   and reporting to the authorities,” in response to its own investigation of its Laundromat.


   343
       Frederik Obermaier, Mauritius Much, Hannes Munzinger, Meike Schreiber, Dänische
   Waschmaschine, Süddeutsche Zeitung (Sept. 23, 2020),
   https://www.sueddeutsche.de/wirtschaft/finanzskandal-daenische-waschmaschine-1.5042107.
   344
       Business Recorder, FinCEN Files: Pakistan's Altaf Khanani got huge sums from account in
   Danske Bank (September 21, 2020), https://www.brecorder.com/news/40020006.
   345
      The Economist, Money-laundering: Questionable shape (September 22, 2018), 2018 WLNR
   29196326.


                                                   269
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 285 of 606 PageID #: 285




          840.    The Organized Crime and Corruption Reporting Project concluded that Danske

   Bank had violated at least 47 different anti-money laundering regulations. Danske Bank was

   subject to a control action in 2015 concerning compliance with measures of anti-money

   laundering and terrorist financing prevention, due to these money-laundering financial

   transactions. Danske Bank recently announced that “Danske Bank has been preliminarily

   charged by the Danish State Prosecutor for Serious Economic and International Crime with

   violating the Danish Anti-Money Laundering Act on four counts all relating to Danske Bank’s

   Estonian branch in the period from 1 February 2007 to the end of January 2016.”346 U.S.

   financial crime authorities continue to investigate.

                  2.      Danske Bank Enabled Syndicate Terrorist Finance Through Its VAT
                          Fraud Schemes

          841.    It has been reported that in 2009 and 2010, the treasuries of Germany, Italy, and

   Spain were victims of VAT fraud, which was perpetrated using a Danske Bank account in the

   name of a company called Swefin.

          842.    Finans and the daily newspaper Information gained access to documents via the

   German research organization Correctiv showing that Danske Bank set up an account for other

   later convicted VAT fraudsters at a time when several major European banks had dropped

   trading in CO2 quotas—the scheme here—due to revelations of extensive fraud in the area.347

          843.    In 2009, Danske Bank, via one of its branches in Denmark, allowed accounts

   controlled by the Danish-owned company Swefin to conduct VAT fraud of over $100 million.


   346
      Professional Wealth Management (PWM), Danske Scandal Should Lead to Renewed Scrutiny
   of New Clients (Feb. 27, 2019), 2019 WLNR 6352499.
   347
      Jette Aagaard, Niels Sandøe, and Matias Seidelin, 1 Mia. Kr Fra Svindelsager i Flere
   Europæiske Lande Kørte Gennem Danske Bank, Finans.dk (May 26, 2019) (translated by
   Plaintiffs), https://finans.dk/finans2/ECE11392127/1-mia-kr-fra-svindelsager-i-flere-
   europaeiske-lande-koerte-gennem-danske-bank/?ctxref=ext.


                                                   270
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 286 of 606 PageID #: 286




            844.   Over the course of five months in 2009, a fraudster named Mohammad Safdar

   Gohir, along with others, sent DKK 830 million through the Danske Bank account in Hørsholm,

   via an account which belonged to Swefin.

            845.   Swefin was a payment platform, but it operated as a way to avoid regulation for

   criminal enterprises, and allowed VAT fraudsters to hide their cash flows from the authorities.

            846.   Danske Bank thereby became a tool to hide the cash flows from the perpetrators’

   crime.

            847.   Richard Ainsworth, adjunct professor at Boston University and a lawyer,

   explained that “[g]etting the money transferred to Swefin is like going through the gateway to

   the legitimate banking world. Then Swefin moved the money through several banks before they

   eventually ended up in a personally owned account or were simply reinvested in a new trip

   around a VAT carousel in the EU.

            848.   In 2010 the same account in Danske Bank was used in another case of VAT fraud.

   This time, Spain was defrauded of approximately $40 million. Here, again, the Swefin account

   was used. It was reported by the Italian daily Corriere Della Sera that this VAT fraud had been

   used, among other things, to finance al-Qaeda in Afghanistan.

            849.   According to the newspaper, the Italian authorities were warned by the United

   States after U.S. and British troops found documents from the scam during an operation in the

   mountains between Afghanistan and Pakistan in 2010.

            850.   Again, in 2016, while Danske Bank was dealing with the fallout from the Estonia

   branch money laundering fraud, millions of kroner flowed from suspected VAT fraud through a

   director’s company account at Danske Bank in Denmark.




                                                  271
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 287 of 606 PageID #: 287




          851.    Danske Bank, who allowed a 23-year-old Lithuanian man set up the account

   without ever showing up at the bank, has been critized for its lack of control, particularly where

   management of the bank resides at its main branches in Denmark.

          852.    Finanswatch reported on the fraud scheme in 2019:

          After its money laundering scandal in Estonia, Danske Bank is now criticised for
          connections to a suspected VAT fraud after DKK 51mn (EUR 6.83mn USD
          7.88mn) was moved through a Lithuanian director’s Danish Danske Bank
          account. The account had been created without the account’s owner ever having
          appeared at the bank. The money went from the account to an exchange agency
          and disappeared thereafter. The company, to which the Lithuanian director is
          connected, has become part of Operation Greed, which has so far led to appeals
          against 17 people for extensive VAT fraud. Independent consultant Graham
          Barrow said that Danske Bank should have noticed the suspicious transactions,
          while he added that it nonsense to claim that money laundering was an issue only
          in Estonia when suspicious transactions have taken place in the company’s
          homeland Denmark.348

          853.    These types of VAT fraud schemes have been linked to terrorist finance. For

   example it has been reported that Abdessamad Fateh, also known as Abu Hamzah, a Specially

   Designated Global Terrorist, pursued these VAT-fraud enterprises in Denmark. Fateh is known

   to have ties to al-Qaeda.

          854.    The proceeds from VAT fraud are diverted, typically through a series of shell

   companies, to fund terrorism, including by al-Qaeda.

          855.    Published reports indicate that VAT fraud in Denmark accounted for

   approximately $12 million in terrorist finance.

          856.    In 2019, it was reported that fourteen businessmen had defrauded the Danish

   Treasury for years, raking in some $120 million through VAT fraud. Two of the businessmen

   were reported to be suspected of direct ties with the Islamic State and al-Qaeda. At the time,


   348
      Finanswatch (via M-Brain Industry Insight (Denmark)), Denmark: Danske Bank Criticised
   for Connections to Suspected VAT Fraud (May 27, 2019).


                                                     272
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 288 of 606 PageID #: 288




   money laundering expert and senior adviser at Aalborg University, Lars Krull, reportedly

   commented that he feared that part of the money was used to finance terrorism.

             E.     Placid Express Enabled Syndicate Terrorist Finance

             857.   Defendant Placid Express is an international money remitter.

             858.   Placid Express knowingly assumed a role in the Syndicate’s terrorist fundraising

   and finance activities by directly aiding al-Qaeda’s and the Haqqani Network’s terrorist finance

   activities supporting attacks against Americans in Afghanistan.

             859.   From 2001 through 2016, Placid Express knew, or was generally aware, that it

   was reckless to allow hundreds of thousands of U.S. Dollars in terrorist transactions by or on

   behalf of agents or operatives of al-Qaeda and the Haqqani Network – and did so anyway.

             860.   Placid Express allowed Altaf Khanani, the Syndicate’s leading money launderer

   and financier, who was at all relevant times the world’s most notorious terrorist controller, to

   transfer funds using Placed Express’s facilities.

             861.   Placid Express knew the widespread view, prevalent throughout the financial

   services industry between 2001 and 2016, that “real estate projects” regularly served as

   “Laundromats for illicit funds,” and the reputation that “[e]veryone in the real estate business

   was involved in ‘flight capital.’”349

             862.   Placid Express laundered money for Khanani through his Khanani money

   laundering organization. Khanani’s organization used Placid Express to transfer funds as part of

   its money laundering operations.




   349
         Enrich, Dark Towers, at 118.


                                                   273
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 289 of 606 PageID #: 289




           863.    At all relevant times, Khanani laundered money for the Syndicate. On

   information and belief, Khanani laundered hundreds of millions if not billions of dollars for the

   Syndicate each year, including the years preceding the attacks at issue in this Complaint.

           864.    On information and belief, Placid Express at all relevant times facilitated

   transactions involving known or suspected Syndicate fronts, operatives, and/or agents in

   Afghanistan, Pakistan, or the U.A.E., which in turn facilitated Syndicate terrorist logistics,

   terrorist finance, or terrorist fundraising.

           865.    When Placid Express helped Khanani wash and transfer hundreds of thousands of

   U.S. Dollars to the Syndicate, Placid Express assumed a role in al-Qaeda and its Syndicate

   affiliates’ operations.

           866.    Placid Express knowingly provided substantial assistance to the Syndicate, by

   allowing the Khanani MLO to transfer and wash U.S. Dollars for the Syndicate’s benefit. Placid

   Express knew it was facilitating criminal activity by allowing the Khanani MLO to use Placid

   Express to transfer U.S. Dollars worldwide, and Placid Express knew that the Syndicate and the

   Syndicate’s terrorist acts would benefit thereby.

           867.    The Syndicate went on to commit wrongful acts, including the attacks outlined in

   this Complaint, in part facilitated and aided by Placid Express allowing the Khanani MLO to

   transfer U.S. Dollars.

           868.    The funds that Placid Express transferred for the Khanani MLO went to the

   Syndicate and were used to perpetrate terrorist acts.

           869.    Placid Express knew that the money transferred via its facilities would be

   received by the Syndicate and used to perpetrate terrorist acts.




                                                   274
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 290 of 606 PageID #: 290




          870.    Placid Express thereby accepted fees and facilitated vast sums of terrorist finance

   through transfers to Syndicate agents, operatives, and fronts.

          871.    Placid Express’s unlawful acts were not “one-off” instances of Khanani and

   Syndicate operatives slipping through the cracks of Placid Express’s otherwise rigorous counter-

   terrorist finance practices. Rather, the nature, counterparties, and sheer volume of transactions

   Placid Express allowed The Khanani MLO to execute demonstrate that Placid Express pursued

   this business because it was lucrative.

          872.    Discovery will likely reveal significant additional relationships between Placid

   Express, on the one hand, and Khanani, the Khanani money laundering organization, and the

   Syndicate, on the other.

          F.      Wall Street Exchange Enabled Syndicate Terrorist Finance

          873.    Defendant Wall Street Exchange knowingly assumed a role in the Syndicate’s

   terrorist fundraising and finance activities by directly aiding the Syndicate’s efforts to repatriate

   illicit U.S. Dollars back to accounts controlled by al-Qaeda and Haqqani Network agents and

   operatives to finance attacks against Americans in Afghanistan.

          874.    Wall Street Exchange is one of the largest remitters in the Middle East and wholly

   owned by the UAE government and headquartered in Dubai. A money remitter is a payment

   service provider that accepts funds from a payer for the purpose of making them available to a

   payee, without necessarily maintaining an account relationship with the payer or payee.

          875.    Wall Street Exchange provided essential financial services which directly

   benefited the Syndicate from at least 1995 through 2016. Wall Street Exchange substantially

   assisted the Syndicate’s terrorist enterprise by facilitating a massive number and total amount of

   U.S. Dollar fund transfers. This is why Wall Street Exchange has been identified by law




                                                    275
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 291 of 606 PageID #: 291




   enforcement agencies as a conduit for money laundering and financial transactions related to

   illicit, illegal, and terrorist acts.

           876.     Wall Street Exchange knew that it was reckless to allow millions if not billions of

   U.S. Dollars in terrorist transactions for the Syndicate – and did so anyway.

           877.     Wall Street Exchange allowed Altaf Khanani, the Syndicate’s leading money

   launderer and financier, who was at all relevant times the world’s most notorious terrorist

   controller, to transfer funds using Wall Street Exchange’s facilities.

           878.     Wall Street Exchange laundered money for Khanani through his Khanani money

   laundering organization. Khanani’s organization used Wall Street Exchange to transfer funds as

   part of its money laundering operations. Wall Street Exchange has been reported to be a “key

   conduit” for the billion-dollar money laundering operation run by Khanani.

           879.     At all relevant times, and on information and belief from 1995 through 2015, the

   Khanani network laundered between $14 billion and $16 billion per year for organized crime

   syndicates across the world. At all relevant times, Khanani laundered money for the Syndicate.

   On information and belief, Khanani laundered hundreds of millions if not billions of dollars for

   the Syndicate each year, including the years preceding the attacks at issue in this Complaint.

           880.     On information and belief, Wall Street Exchange at all relevant times facilitated

   transactions involving known or suspected Syndicate fronts, operatives, and/or agents in

   Afghanistan, Pakistan, or the U.A.E., which in turn facilitated Syndicate terrorist logistics,

   terrorist finance, or terrorist fundraising.

           881.     An Assistant Commissioner of the Australian Federal Police told an Australian

   investigative journalism television program that Khanani’s money laundering operation was run




                                                    276
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 292 of 606 PageID #: 292




   through currency exchanges, and Wall Street Exchange was one that Khanani used for that

   purpose.

          882.      That same government official told reporters that Wall Street Exchange knew it

   was evading anti-money laundering rules and supporting illicit groups, stating that the Khanani

   network was laundering between $14 billion and $16 billion a year for organized crime

   syndicates across the world.

          883.      When Wall Street Exchange helped Khanani wash and transfer millions if not

   billions of U.S. Dollars to the Syndicate, Wall Street Exchange assumed a role in al-Qaeda and

   its Syndicate affiliates’ operations.

          884.      Wall Street Exchange knowingly provided substantial assistance to the Syndicate,

   by allowing the Khanani MLO to transfer and wash U.S. Dollars for the Syndicate’s benefit.

   Wall Street Exchange knew it was facilitating criminal activity by allowing the Khanani MLO to

   use Wall Street Exchange to transfer U.S. Dollars worldwide, and Wall Street Exchange knew

   that the Syndicate and the Syndicate’s terrorist acts would benefit thereby.

          885.      The Syndicate went on to commit wrongful acts, including the attacks outlined in

   this Complaint, in part facilitated and aided by Wall Street Exchange allowing the Khanani MLO

   to transfer U.S. Dollars.

          886.      By 2008, Wall Street Exchange understood that Khanani had a global reputation

   as a suspected money launderer and terrorist financier who worked for al-Qaeda and the Taliban

   based upon Khanani’s well-known reputation for such conduct in Pakistan, among financial

   services compliance professionals throughout the world, and regularly reported on by major

   media outlets.




                                                   277
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 293 of 606 PageID #: 293




          887.    The amount and longevity of Wall Street Exchange’s assistance to the Syndicate

   cannot be overstated. Over the course of years, Wall Street Exchange allowed the Khanani MLO

   to transfer funds hundreds if not thousands of times, in amounts that total hundreds of millions if

   not billions of U.S. Dollars.

          888.    The funds that Wall Street Exchange transferred for the Khanani MLO went to

   the Syndicate and were used to perpetrate terrorist acts.

          889.    Wall Street Exchange knew that the money transferred via its facilities would be

   received by the Syndicate and used to perpetrate terrorist acts.

          890.    Wall Street Exchange thereby accepted fees and facilitated vast sums of terrorist

   finance through transfers to Syndicate agents, operatives, and fronts.

          891.    Wall Street Exchange’s unlawful acts were not “one-off” instances of Khanani

   and Syndicate operatives slipping through the cracks of Wall Street Exchange’s otherwise

   rigorous counter-terrorist finance practices. Rather, the nature, counterparties, and sheer volume

   of transactions Wall Street Exchange allowed the Khanani MLO to execute demonstrate that

   Wall Street Exchange pursued this business because it was lucrative.

          892.    Discovery will likely reveal significant additional relationships between Wall

   Street Exchange, on the one hand, and Khanani, the Khanani money laundering organization,

   and the Syndicate, on the other.

   V.     DEFENDANTS WERE GENERALLY AWARE OF THE ROLE THEY PLAYED
          IN ILLEGAL ACTIVITY BECAUSE ANY REASONABLE FINANCIAL
          INSTITUTION WOULD KNOW ITS CONDUCT WAS ADVANCING AL-
          QAEDA’S AND THE HAQQANI NETWORK’S TERRORIST CAMPAIGN
          TARGETING AMERICANS IN AFGHANISTAN

          893.    At all relevant times, the Syndicate’s terrorist campaign, including its CAN

   fertilizer bomb strategy, was one of the most pervasive examples of the fusion between illicit

   finance, cross-border money laundering, and terrorist attacks against Americas in Afghanistan


                                                   278
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 294 of 606 PageID #: 294




   because it depended upon the willingness of complicit banks and remitters to serve as

   Laundromats for al-Qaeda and Haqqani Network agents, operatives, and fronts, who were

   Syndicate operations, purchasing acquiring bomb components, or moving money to Syndicate

   terrorist operatives overseeing its CAN fertilizer bomb network. Such illicit financial and

   commercial relationships helped the Syndicate acquire the resources and weapons, including

   CAN fertilizer bomb precursor ingredients; recruit and pay al-Qaeda and the Haqqani Network’s

   terrorist bombmakers, trainers, and smugglers; and maintain the vast infrastructure in

   Afghanistan and Pakistan needed to maintain the CAN fertilizer bombing campaign.

          894.    Defendants’ conduct aided the Syndicate’s terrorist enterprise. Given the

   interlocking, transnational nature of al-Qaeda’s and the Haqqani Network’s terrorist enterprises,

   the very nature of facilitating terrorist finance activities by cells of al-Qaeda and Haqqani

   Network agents, operatives, and fronts in Afghanistan, Pakistan, the U.A.E., Russia, and Europe

   ensured a close connection between the transactions and subsequent Syndicate attacks on

   American forces in Afghanistan because al-Qaeda and the Haqqani Network organized their

   entire transnational infrastructure to support their jihad against America which, from 2008

   through 2016, centered on attacking Americans in Afghanistan. Such attacks were a necessary

   consequence of Defendants’ transactions. When they knowingly transferred, stored, laundered,

   or converted funds for al-Qaeda, Taliban (including its Haqqani Network), Lashkar-e-Taiba, and

   D-Company agents, operatives, and fronts, Defendants were assuming a role in their terrorist

   enterprise and enabling the Syndicate’s attacks throughout Afghanistan by enabling al-Qaeda

   and Haqqani Network terrorist finance and logistics.

          895.    The Syndicate, including the Taliban and its affiliates, institutionalized control of

   its laundered revenue to ensure that such monies were recycled into the terrorist campaign




                                                   279
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 295 of 606 PageID #: 295




   against Americans. The laundering of money occurred via a highly regulated process designed

   to ensure that such efforts would benefit the broader insurgency. The Taliban’s 2009 Code of

   Conduct, for example, contained extensive regulations governing the distribution of illicit funds.

   As Ms. Peters explained, those regulations “literally institutionaliz[ed] how profits earned from

   organized crime are to be distributed within the command chain.”350 The money flowed both

   ways – from local commanders up to the Financial Commission for use by the Taliban’s central

   leadership, and conversely from the leadership back down to local commanders for use in the

   field. In all cases, the Quetta Shura maintained the last word on all matters concerning the

   disposition of criminal earnings and laundered Taliban funds. That discipline allowed overseas

   terrorist finance to be effectively recycled back to the Taliban’s leadership to finance the

   Taliban’s terrorist machine around the country.

             896.   The terrorist finance and logistical support that Defendants routed to the Haqqani

   Network also funded Taliban attacks, and vice versa. The Haqqani Network was part of the

   Taliban and operationally intertwined with Taliban leadership. See infra Part I.A.2. For that

   reason, according to a declassified 2009 DIA cable, “a large majority of the Haqqani Network

   (HQN) funding comes from the Quetta . . . , Pakistan-based Taliban leadership.”351 As Ms.

   Peters concluded, the Haqqani Network relied on the Taliban organization to “cover operational

   costs,” with the amount of financing depending on “the funding capacity of the Taliban

   leadership.”352 The financial and logistical flow went both ways: funding for the Taliban

   supported Haqqani attacks, and funding for the Haqqani Network supported Taliban attacks;



   350
     Gretchen Peters, Crime & Insurgency In The Tribal Areas Of Afghanistan & Pakistan at 16,
   Combatting Terrorism Ctr. (Oct. 15, 2010) (“Peters, Crime & Insurgency”).
   351
         Def. Intelligence Agency, Afghanistan – Haqqani Network Finances (Sept. 24, 2009).
   352
         Peters, Haqqani Network Financing, at 23.


                                                     280
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 296 of 606 PageID #: 296




   similarly, explosives obtained by the Haqqanis supported Taliban attacks, and explosives

   obtained by the Taliban supported Haqqani Network attacks.353

           897.    The Taliban’s top-down organizational hierarchy ensured that recycled criminal

   proceeds from its terrorist finance operations collected in one province, or by Syndicate

   leadership, helped to finance Taliban operations throughout Afghanistan – including in provinces

   miles away from the site of the criminal activity.

           898.    Defendants knew that their transactions aided-and-abetted Syndicate terrorist

   attacks against Americans in Afghanistan. In this section Plaintiffs outline scienter allegations

   common to all Defendants.

           899.    On information and belief, Defendants knew of all the publicly available

   information cited herein promptly upon publication of such information given, among other

   things, Defendants’ approach to information sharing, media monitoring and strategic

   communications efforts, and collective knowledge imputed to it by the thousands of employees

   and agents who work for every Defendant (other than Placid Express).354

           A.      Defendants Knew That Their Provision Of U.S.-Linked Financial Services
                   To Syndicate Fronts, Operatives, Agents, And Partners Had A Close Link To
                   Syndicate Terrorism

           900.    Defendants knew that their provision of financial or money remitter services to

   Syndicate operatives, agents, fronts, and partners had a foreseeably close link to enabling

   terrorist attacks.



   353
      Peters, Crime & Insurgency, at 33 (Quetta Shura agreed with the Haqqani Network “to
   operate alongside each other and to divide the proceeds they earn in some zones where more than
   one faction operates.”).
   354
      For purpose of efficiency, this allegation applies to every public document cited herein. See
   Kaplan v. Lebanese Canadian Bank, SAL, 999 F.3d 842, 862-63 (2d Cir. 2021) (plaintiffs are
   permitted to allege bank’s awareness of media reports on information and belief).


                                                   281
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 297 of 606 PageID #: 297




               901.   In “the post 9/11 world,” “banks” universally understood that the U.S. strategy to

   protect Americans from al-Qaeda and Taliban terrorist attacks after 9/11 was premised upon

   “[r]eliance on the anti-money-laundering regime” and an “all-out campaign” to promote counter-

   terrorism “to ensure that funds intended for terrorist groups, such as Al Qaeda, were not coursing

   through the veins of the international financial system.”355 “This focus reshaped the international

   landscape forever,” according to Mr. Zarate, and “governments implemented and expanded

   global anti-money-laundering regulations and practices based on principles of financial

   transparency, information sharing, and due diligence” which reduced the threat from al-Qaeda

   and Taliban terrorist finance “by focusing squarely on the behavior of financial institutions.”356

               902.   After 9/11, the Financial Action Task Force promulgated terrorist finance best

   practices that served as the starting point for any bank’s analysis of the potential red flags before

   it. According to Professor Gurulé, “The [FATF] Nine Special Recommendations on Terrorist

   Financing, combined with the Forty Recommendations on Money Laundering, represent the

   international standard for preventing and suppressing the financing of terrorism.”357 Moreover,

   “[i]mplementation of the Nine Special Recommendations is essential to establishing an effective

   counter-terrorist financing regime.”358 By 2011, according to Dr. Jodi Vittori, “international

   financial institutions” had “endorsed” “international regimes” like the “standards proposed by

   the Financial Action Task Force,” and understood that the FATF’s terrorist finance rules “play”




   355
         Zarate, Treasury’s War, at 8.
   356
         Id.
   357
         Gurulé, Unfunding Terror, at 155.
   358
         Id.


                                                      282
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 298 of 606 PageID #: 298




   “an important role”: “[b]y setting common standards and best practices, they put ‘sand in the

   wheels’ of terrorist organizations.”359

             903.    Defendants knew that counter-terrorist finance strategies that were necessary to

   degrade al-Qaeda’s economic infrastructure were an important preventative tool for keeping

   Americans safe, and therefore that their own conduct put American lives in danger. According

   to Professor Gurulé, “Attacking the financial infrastructure of al Qaeda is fundamentally a

   preventative strategy. That is, starving the terrorists of funding worldwide is critical to

   preventing terrorist acts. The ultimate goal is to save lives by preventing the use of funds to fuel

   terrorist attacks.”360

             904.    Defendants knew of the key role they played in helping transnational criminal

   organizations – like the Syndicate and its joint venture partner, the Russian Mafia – effectively

   conduct the finance activities necessary to sustain and grow their organizations. As one analyst

   explained the landscape, “[f]or [] master[s] of money laundering,” “banks were essential”

   because transnational criminal organizations that required large amounts of U.S. Dollars – like

   the Syndicate and JV partner, the Russian Mafia – could only avail themselves of regular and

   reliable access to American currency and U.S.-backed financial instruments and trades through

   “corporate world” “bankers” in the U.S. and Europe, “who made it possible to launder money on

   a multibillion-dollar level on an ongoing basis.”361

             905.    Defendants knew that the financial services they provided to terrorists were

   tantamount to arming them. For example, Professor Mark Pieth, who served in multiple




   359
         Vittori, Terrorist Financing, at 165.
   360
         Gurulé, Unfunding Terror, at 21.
   361
         Unger at 87-87.


                                                     283
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 299 of 606 PageID #: 299




   international bodies dedicated to rooting out terrorist finance, explained (as quoted and

   paraphrased by Ms. Van Vuuren), that banks understood that “[f]or a bank to be one of the

   cornerstones of undermining the sanctions” designed to prevent a violent actor from acquiring

   funds or moving money, “such behavior [was] tantamount to the sale of weapons.”362

             906.   Defendants also knew that from the 1990s through present, the U.S. Dollar has

   been the “gold standard” currency of choice for al-Qaeda, the Taliban (including its Haqqani

   Network), Lashkar-e-Taiba, Jaish-e-Mohammed, D-Company, and the Russian Mafia, therefore

   that their regular provision of U.S. Dollar-related services to such groups improved their

   purchasing power and allowed them to kill more Americans.363

             907.   As former assistant secretary of the Treasury for terrorist finance Mr. Zarate

   explained in 2013, “[t]he United States has remained the world’s primary financial hub, with

   inherent value embedded in access to and the imprimatur from the American financial

   system.”364 According to Mr. Zarate, because “[t]he dollar serves as the global reserve currency

   and the currency of choice for international trade, and New York has remained a core financial

   capital and hub for dollar-clearing transactions,” al-Qaeda and the Taliban’s ability to “access




   362
      Hennie Van Vuuren, Apartheid Guns and Money: A Tale of Profit 201-02 (Hurst & Co.
   2018).
   363
       These terrorist groups’ decades-long reliance on the U.S. Dollar as the currency of choice to
   finance their illicit transactions was the result of a number of factors including, but not limited
   to: (1) the primacy of the U.S. Dollar as the world’s reserve currency, which affords the
   terrorists the same purchasing power as any other commercial enterprise; (2) the specific
   economic contexts of the geographies in which the groups operates, all of which had a long-
   standing history of prioritizing dollars as the currency of choice for criminal transactions; and (3)
   the nearly-universal reliance on the U.S. Dollar in countries in which the United States has
   deployed large numbers of personnel who are being attacked by a terrorist campaign, such as
   Afghanistan and Iraq.
   364
         Zarate, Treasury’s War, at 9.


                                                    284
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 300 of 606 PageID #: 300




   American markets, American banks, and American dollars” operated “as financial weapons” in

   the struggle between the Syndicate and the United States.365

               908.   Defendants knew that Brigadier General Phillip E. McGhee, Director of Resource

   Management for U.S. Army Forces, U.S. Central Command, stated that al-Qaeda and Taliban

   terrorists in Afghanistan and Pakistan “especially” “like[d] to work with … American currency”

   because “U.S. currency [was] the currency of choice for Al-Qaeda and [Syndicate] insurgents

   because [Syndicate terrorists could] use those U.S. Dollars anywhere in the world.”366 Thus,

   Defendants knew that the U.S. military prioritized reducing the flow of U.S. Dollars to

   Afghanistan as one strategy to weaken the Syndicate by “reducing that source of funds,” i.e.,

   access to U.S. Dollars, “for Al-Qaeda.”367

               909.   From 2001 through 2016, Defendants knew that the Syndicate’s leadership

   specifically believed (correctly) that al-Qaeda’s ability to access U.S. currency itself foreseeably

   risked terrorist violence against Americans in Afghanistan. As the Army News Service reported

   in 2009, “U.S. currency floating around” Afghanistan risked “providing cash to facilitate

   insurgent operations” because “U.S. currency is the currency of choice for Al-Qaeda and

   insurgents because you can use those U.S. dollars anywhere in the world. We are reducing

   that source of funds for Al-Qaeda.’”368

               910.   Defendants also knew that the U.S. Dollar was specifically the currency of choice

   for narco-terrorists around the world, including, but not limited to, each member of the Syndicate



   365
         Id.
   366
      C. Todd Lopez, Army Aims to Stop Flow of Paper Money to Iraq, Afghanistan, Army News
   Service, Defense Department Documents (Aug. 25, 2009), 2009 WLNR 16658037.
   367
         Id.
   368
         Id. (emphasis added).


                                                     285
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 301 of 606 PageID #: 301




   as well as the Russian Mafia. As one analyst noted, “[a]ccording to the Financial Crimes

   Enforcement Network, the U.S. dollar in cash is the preferred currency of transaction for drug

   traffickers and terrorists globally” and “[m]ore than $100 billion a year in drug trafficking cash

   moves through the U.S. financial system alone.”369

               911.   Defendants knew that from 2000 through present, the media regularly reported on

   the broad preference for U.S. Dollars shared by nearly all actors in Afghanistan, Pakistan,

   Russia, and the U.A.E. – the Syndicate’s four most important points of entry to the U.S. financial

   system since 9/11.

               912.   Defendants knew of statements by Members of Congress from both political

   parties that further alerted Defendants to the key role that access to the U.S. financial system and

   U.S. shell companies ordinarily played in complex trans-national Laundromats. For example,

   Senator Sheldon Whitehouse explained that “[t]he Azerbaijani Laundromat [was] not a unique

   scheme” and merely “exposed what many” “already knew: that … terrorists” “routinely use[d]

   shell companies to hide assets and obscure illegal activities” and that “the United States” was

   “a favorite destination for money laundering.”370 He concluded: “Make no mistake, we [were] a

   facilitator, as well as a target, in this racket.”371

               913.   Nick Kochan studied how al-Qaeda and its allies used agents to finance and arm

   their operations through transactions with complicit banks, money remitters and corporations. In

   his 2005 book, Mr. Kochan explained that “[t]here [were] four key groups” “in our society who




   369
     Alon Goren, Brad Sherman Is Wrong About Bitcoin, San Fernando Valley Business Journal
   (Aug. 6, 2018), 2018 WLNR 25445188.
   370
     Sen. Sheldon Whitehouse, Whitehouse Leads Helsinki Commission Hearing On Shell
   Corporations And Authoritarian Regimes, States News Service (Oct. 3, 2017) (emphasis added).
   371
         Id.


                                                      286
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 302 of 606 PageID #: 302




   close[d] their eyes to” terrorist finance: “They are global corporations engaged in fraud; corrupt

   governments; organized criminals who trade in drugs; and terrorists.”372

          B.      Defendants Knew That Operating Laundromats For Customers In High-
                  Risk Terrorist Finance Jurisdictions Foreseeably Aided Terrorism

          914.    Each Defendant chose to serve as a “Laundromat” for Syndicate terrorist

   financiers and money launderers. When doing so, Defendants were not acting as responsible

   global financial institutions or money remitters, but rather, aiders and abettors of terror.

          915.    The basic divide between legitimate banks, on the one hand, and “Laundromats,”

   on the other, has been well-recognized for decades, and industry participants, including

   Defendants, understood that any financial institution or money remitter who served as a

   “Laundromat” would inevitably route substantial sums of U.S. Dollars to terrorist financiers

   seeking to raise and move money to support anti-American terrorist attacks. This “Laundromat”

   concept – criminal terrorists using commercial activities to cleanse their money and fund their

   violent operations – first began with Al Capone.

          916.    Beginning in the 1980s, and continuing ever since, financial industry and money

   remitter professionals, law enforcement officials, and media around the world have documented

   the regular pattern whereby some large financial institutions and money remitters evolve into

   Laundromats purpose-built to serve terrorist financiers, fundraisers, and logisticians, including,

   but not limited to, those associated with notorious designated international terrorist groups,

   recognized terrorist/crime “fusion” groups, and narco-terrorist groups, and such terrorists, in

   turn, use their financial partner’s services to enable terrorist attacks. U.S. and European officials

   have also publicly echoed the same warnings.



   372
      Nick Kochan, The Washing Machine: How Money Laundering and Terrorist Financing Soils
   Us ix (Thomson 2005) (“Kochan, The Washing Machine”).

                                                    287
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 303 of 606 PageID #: 303




          917.    Defendants knew that their Laundromat was wrongful because Defendants

   understood that the “[f]low of illicit funds” accomplished through their transactions “[were]

   illegal movements of money or capital from one country to another, usually associated with

   money laundering and financing of terrorism.”373 Simply put, Defendants knew, or were

   generally aware, that their Laundromat-related transactions ordinarily aided and abetted money

   laundering and terrorist finance, which was the point of the transaction in the first place.

          918.    As a result, Defendants were doing the exact opposite of what they needed to do

   after 9/11 – instead of serving as the “first line of defense” in a “quasi-law enforcement role,”

   Defendants helped the terrorists defeat law enforcement.374

          919.    Defendants knew that al-Qaeda and the Taliban managed a sophisticated

   international network of terrorist financiers, who were constantly on the hunt for the next

   potential Laundromat in which to wash their “dirty” opium rubles and convert them into “clean”

   U.S. Dollars that could be used – and were used – to fund Syndicate attacks against Americans in

   Afghanistan. Thus, Defendants knew that when a bank or money remitter with access to the U.S.

   financial system operated as a Laundromat in any high-terrorist-finance risk jurisdiction, such

   choice reflected the most culpable and blameworthy intent possible for any bank or money



   373
      Raymon Ram, Unmasking Beneficiaries in Corporate World, New Straits Times (March 2,
   2021), 2021 WLNR 6812142.
   374
       According to Professor Gurulé, “the FATF Special Recommendations recognize that financial
   institutions represent the first line of defense to prevent funds being used by terrorist money
   transfers. Domestic laws and regulations have been adopted by States to comply with the legal
   obligations imposed by the Terrorist Financing Convention and international anti-terrorist
   financing standards. These new measures have forced financial institutions to assume quasi-law
   enforcement responsibilities to prevent terrorist financing … Almost seven years after the
   September 11, 2001 terrorist attacks, al Qaeda, the Taliban, and their terrorist affiliates continue
   to pose a serious threat to international peace and security. … As long as the threat of terrorism
   persists, the quasi-law enforcement role financial institutions have been forced to play since 9/11
   is likely to continue.” Gurulé, Unfunding Terror, at 181.


                                                   288
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 304 of 606 PageID #: 304




   remitter other than that entity being a direct participant in the terrorist attack itself. Defendants

   knew that any bank or money remitter that understood it was acting as a Laundromat also

   necessarily understood – and accepted as the cost of doing business – that a vast sum of U.S.

   Dollar-denominated terrorist finance would inevitably flow through U.S.-based accounts to

   overseas accounts foreseeably controlled by al-Qaeda and the Haqqani Network.

          920.    Defendants’ motivation to grow and sustain their Laundromat was rooted, in

   substantial part, in their specific desire to directly or indirectly profit from hundreds of millions

   of dirty money – mostly U.S. Dollars – that they knew was flowing out of Afghanistan, Pakistan,

   the U.A.E., and Russia after 9/11 through 2016 as a result of the Syndicate’s booming

   transnational criminal activities, including but not limited to, its need to wash the enormous cash

   flows resulting from its protection money rackets, profits from the Afghanistan-to-Russia Opium

   Pipeline, and other income sources. According to a Credit Control report in May 2006:

          It [was] plain from studying the statistics of significant fraud and corruption that
          the geographic scale and limitations [] changed dramatically [in the years
          following 9/11]. This [was] the ‘flip-side’ … of globalisation, instantaneous
          communication, uninterrupted market activity and … ever quicker travel. Off-
          shore havens and Special Purpose Entities (SPEs), urgent calls for dirty money
          (and for laundering it) for Islam extremists, poppy farmers in Afghanistan …
          have added to the motives for corruption and provided a monster Laundromat
          for circulating and bleaching it. Not only that: … conflicts over extradition and
          money-laundering rules, regulatory arbitrage and political indignation kick up
          thick dust-clouds behind which it has proved increasingly easy to hide money,
          identities, Semtex [i.e., explosives], cadavers, tracks and trails.375

          921.    Defendants knew that a bank’s or money remitter’s operation as a Laundromat in

   a high-risk terrorist finance jurisdiction will inevitably cause terrorist violence because

   transnational terrorist networks are smart, communicate with one another, and have historically



   375
      Jamie Stewart, White Collar Crime: Fraud, Bribery And Corruption - All Alive And Well?,
   Credit Control, Volume 27; Issue 4/5 (May 20, 2006), 2006 WLNR 27626635 (emphasis added).


                                                    289
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 305 of 606 PageID #: 305




   flocked to Laundromats when they learn of them, as Defendants knew they inevitably would.

   For example, on February 5, 2013, E.C. Commissioner Cecilia Malmström stated that “banks

   should never function as laundromats” because deliberately helping move “[d]irty money” in the

   markets in which large European banks ordinarily competed foreseeably helped “organised

   crime or [al-Qaeda or Taliban] terrorists to slip through” the post-9/11 counter-terrorist-finance

   safeguards that were specifically designed to prevent efforts to “launder” money or “enable the

   funding of [al-Qaeda and Taliban] terrorism.”

               922.   Defendants knew that their deliberate decision to disregard core counter-terrorist-

   finance norms in high-risk terrorist finance jurisdictions would inevitably result in Defendants

   becoming Laundromats for terrorist financiers. As Giles Edwards, a credit analyst at S&P,

   explained, “when it comes to financial crime risk” (meaning risk that a bank’s or money

   remitter’s financial services will enable terrorism finance, money laundering, and organized

   crime activity), “a business model based on servicing clients that other banks will not touch” –

   like that practiced by all Defendants under their New York Laundromat Strategies – “is not a

   business model,” and is contrary to the core rule of counter-terrorist finance that “places the onus

   on credit and financial institutions to have anti-money laundering and countering financing of

   terrorism preventive measures in place, including policies, procedures and processes.”376

   Alluding to, among others, Deutsche Bank, Mr. Edwards further noted that “[m]any of the

   companies involved in the various identified Laundromat cases are domiciled far from the

   original locations of the funds: in offshore centres, but also in key European financial centres,

   such as the UK, particularly when they allow opaque beneficial ownership structures.”377


   376
     David Chance, Banks Face Rising Threat Over Links To Financial Crime, Irish Independent
   (Apr. 22, 2019), 2019 WLNR 12537413.
   377
         Id.


                                                     290
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 306 of 606 PageID #: 306




          923.    Defendants knew that Defendants’ terrorist finance services were provided to the

   Syndicate on a bespoke basis, routed through purpose-built Laundromats each Defendant

   operated for the express purpose of profiting from terrorist finance and money laundering.

          924.    Defendants knew that financial institutions and money remitters around the world,

   including in the U.S., were often willing to deliberately service suspected terrorist agents,

   operatives, and fronts. For example, terrorist finance expert Raymond Baker conducted a broad

   study of the attitude of global financial institutions towards terrorist finance and money

   laundering.378 Thereafter, he publicly explained the basic knowledge and approach taken by

   unethical financial institutions with branches in the U.S., like Defendants, to profit from

   providing banking services that enabled terrorist finance and violent crime:

          Whether the individual behind these ill-gotten gains is a murderous “godfather,” a
          corrupt government official, or a tax-evading but respectable executive, it's
          important to understand that they all use the same process to launder their
          money. … When it comes to large deposits from overseas, far too often
          American banks assume a “don’t ask, don’t tell” philosophy. In fact, the
          Treasury Department estimates that 99.9 percent of the criminal money presented
          for deposit in the United States is accepted into secure accounts. It’s a sad fact,
          but American banks … will accept money from overseas even if they suspect that
          it has been illegally obtained. Outside the financial institutions, recent cases
          involving a range of products — such as appliances, helicopters, and gems —
          demonstrate that a variety of companies aren’t vigilant enough when dirty money
          is used to purchase legitimate merchandise, even though suspicious buying-
          patterns should set off alarms.379


   378
      Harvard Business School, Q&A – Dirty Money: Raymond Baker Explores the Free Market’s
   Demimonde (Feb. 1, 2001) ([Q:] What evidence do you have for your observations? [A:] In the
   course of investigating the mispricing of trade as a means of moving tax-evading money across
   borders, I conducted a highly structured research project involving 550 business owners and
   managers in 12 countries. Later, when I came to the Brookings Institution, I traveled to 23
   countries and talked with bankers, economists, lawyers, sociologists, and law-enforcement
   personnel about criminal, corrupt, and commercially tax-evading flows. U.S. and international
   agencies, such as the World Bank and the United Nations, are also important sources of
   information on these matters, as are a number of private and nonprofit organizations.”).
   379
     Harvard Business School, Q&A – Dirty Money: Raymond Baker Explores the Free Market’s
   Demimonde (Feb. 1, 2001).


                                                   291
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 307 of 606 PageID #: 307




   While most American-headquartered financial institutions greatly improved their conduct after

   9/11, Mr. Baker’s above-description accurately described the attitude of each Defendant as it

   executed its Laundromat from 2001 through 2016.

          925.    Defendants knew that the Syndicate-related funds (including those managed by

   the Russian Mafia) that moved through Defendants’ Laundromats directly funded terrorist

   attacks. At all times, it has been widely recognized that “money laundering linked to UK

   companies … [was] used by … terrorists to move funds and pay for assets … [through] services

   paid for with ‘laundromat’ money.”380

          926.    Defendants knew that the “open door approach” followed by the British branches

   of global financial institutions and money remitters were the ideal vehicle for Laundromat

   activities. On July 21, 2020, for example, the Intelligence and Security Committee of the U.K.

   Parliament published the Russia Report, which detailed Russian activities in the United Kingdom

   and concluded, among other things, that the “open door approach,” followed by certain

   Defendants and others like them, “provided ideal mechanisms by which illicit finance could be

   recycled through the London ‘laundromat.’”381

          927.    Plaintiffs’ allegations focusing on the combination of red flags raised by

   Defendants’ processes, transaction types, transaction geographies, and other “red flags” separate

   from customer identity comports with core post-9/11 counter-terrorist finance principles, which

   always emphasized the need to carefully consider whether the transaction raises financial crime



   380
       Michael Goodier, Laundromat Britain; The Billions of Pounds of Dirty Money that has Made
   Its Way Into the UK Economy, Huddersfield Daily Examiner (Nov. 7, 2019), 2019 WLNR
   33610453.
   381
      U.K. Parliament, Intelligence and Security Committee of Parliament, Russia Report at 3 (July
   21, 2020) (emphasis added), https://isc.independent.gov.uk/wp-
   content/uploads/2021/01/20200721_Russia_Press_Notice.pdf.


                                                  292
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 308 of 606 PageID #: 308




   concerns while overlayed against a high-terrorist-finance risk geography, rather than a pre-9/11-

   style “check-the-box” exercise that focuses primarily on the identity of the customer, whereby

   the bank or money remitter simply confirmed the customer’s purported identity was not on a

   watch list and, if not, rubber-stamped the transaction without anything more. For example,

   Heather A. Conley, formerly the Deputy Assistant Secretary of State for Eurasian Affairs,

   emphasized that FinCEN’s post-9/11 counter-terrorist-finance doctrine treating “terrorism

   financing as illicit financing” – i.e., the post-9/11 approach described in this paragraph – was key

   to reducing the terrorist threat posed by “the Russian laundromat and its affiliated enabling

   services that operate[d] within and outside the U.S. financial system.”382

          928.    Overall, Plaintiffs’ Laundromat allegations accord with the mine run of recent

   scandals involving European banks, nearly all of which involved Defendants Deutsche Bank and

   Standard Chartered Bank. As Euromoney ruefully noted in 2020, the most recent scandal at the

   time was “just the latest in a long and sorry list of mirror trades and laundromats.”383

          929.    Defendants knew that post-9/11 banking and money remitter industry participants

   have universally understood that the deliberate failure to operate an effective counter-terrorist-

   finance policy is, itself, an affirmative choice to aid terrorists because such groups are dynamic,

   seek out weaknesses in the financial system, and can be expected to take advantage, and do take

   advantage, of any financial institutions that lack effective AML/CTF policies and procedures.

   For example, according to Timur Mussin, the Chief Compliance Officer of a bank, the



   382
      Testimony of Heather A. Conley, Former Deputy Assistant Secretary of State for Eurasian
   Affairs and Senior Vice President for Europe and Eurasia in the Center for Strategic and
   International Studies, Senate Banking, Housing and Urban Affairs Committee Hearing on Russia
   Sanctions, Financial Markets Regulation Wire (Sept. 6, 2018).
   383
     Peter Lee, Santander Uses ThetaRay’s Artificial Intuition to Bolster its AML Defences,
   Euromoney (June 16, 2020), 2020 WLNR 18728434.


                                                   293
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 309 of 606 PageID #: 309




   prevalence of terrorist finance risk after 9/11 meant that any bank or money remitter that chose to

   “[b]ecom[e] a ‘Laundromat’” assumed a role in the terrorist enterprise at great peril to the public:

               [9/11] marked the beginning of global efforts to counter and prevent … money
               laundering and the financing of terrorism. International organizations and
               lawmakers … have been tightening their policies on AML/CFT issues. … The
               absence of effective processes can introduce criminals to the organization’s
               client base – and with that, all the ensuing negative consequences, including the
               organization becoming part of “the laundromat.” The same applies to
               counterparties of the organization.384

               930.   Defendants also knew that their failure to rigorously follow universally practiced

   post-9/11 counter-terrorist-finance norms itself directly aided the Syndicate’s efforts to infiltrate

   the U.S. financial system after 9/11. As former assistant secretary of the Treasury for terrorist

   financing Mr. Zarate explained, stakeholders like Defendants “knew the effectiveness of

   Treasury tools depended first and foremost on the ability of the private sector—most

   importantly, the banks—to serve as the gatekeepers of the financial system.”385 “It was not

   enough,” according to Mr. Zarate, “for American or Western European banks to have

   compliance systems and enhanced due diligence procedures” – such banks needed to practice

   “good corporate citizenship” and be “willing to protect the system.”386

               931.   Defendants knew that transnational criminal organizations, including the

   Syndicate and its JV partner, the Russian Mafia, actively sought to partner with corrupt financial

   institutions, rather than merely “trick” them. According to Jeffrey Robinson, an author who

   specializes in financial crime, a customer like Semyon Mogilevich – the Russian Mafia leader

   whose organization served as an agent for al-Qaeda and the Taliban (including its Haqqani



   384
     Timur Mussin, The Trouble with Weak AML & CFT Compliance Programs, Corporate
   Compliance Insights (Dec. 1, 2020), 2020 WLNR 34238484.
   385
         Zarate, Treasury’s War, at 165.
   386
         Id.


                                                      294
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 310 of 606 PageID #: 310




   Network) and was known, for decades, to help conduct al-Qaeda’s and its affiliates’

   transnational narcotics laundering activities (supra Part II.B.2.i), – “typifie[d] the new global

   criminal” who relied upon Defendants: “These men [did not] rob banks. They [bought] them.”387

               932.   Syndicate agents, operatives, and fronts did so by leveraging corrupt relationships

   with criminal financial institutions – like Defendants – to “tak[e] full advantage of ill-equipped

   law enforcement and lax money laundering laws” and the resulting stream of dirty money that

   flowed through the financial institutions like Defendants was so severe that, by the early 2000s,

   it “ha[d] become, the FBI [said], a strategic level threat on the geopolitical playing field.”388

               933.   Defendants also knew that “[f]or cartels,” including the Syndicate and the Russian

   Mafia, “countries with weak institutions make ideal places to set up shop” and, in this context,

   Defendants also understood that narco-terrorists proactively assess the corporate landscape in the

   countries in which they do business seeking to determine whom in “the business community”

   will be willing to “launder their cash.”389

               934.   Defendants knew that the Russian Mafia always “maintained” the ability to

   “move money through Russian banks” with ease.390

               935.   Defendants knew that the U.K. had a long-standing problem with terrorist finance

   associated with a range of transnational criminal groups, including but not limited to, the Russian

   Mafia. Surveying the wreckage in 2020, Anupreet Amole analyzed the prevalence of

   Laundromat activity in the U.K. and explained that the U.K. “parliamentary report on Russian



   387
         Unger at 56.
   388
         Id.
   389
      Tom Wainwright, Narco-Nomics: How to Run a Drug Cartel 118-19 (Public Affairs Press
   2016).
   390
         Zarate, Treasury’s War, at 161.


                                                      295
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 311 of 606 PageID #: 311




   influence note[d] the gradual development of ‘the London laundromat,’” which only confirmed

   what “many legal and compliance professionals knew already,” including the managers,

   employees, and agents of Defendants, that “the UK has a long-standing problem with illicit

   finance, whether or not connected to Russia.”391

             936.   Defendants knew of the terrorist finance scandal surrounding the 1991 collapse of

   the Bank of Credit & Commerce International (“BCCI”), which informed Defendants’ own

   history, as well as Defendants’ understanding of the inherent risks of operating a Laundromat in

   connection with high-terrorist-finance-risk jurisdictions. “‘BCCI did dirty work for every major

   terrorist service in the world,’ said Jack Blum,” “who” “investigated the case.”392

             937.   Defendants knew that their decision to serve as Laundromats in the same markets

   in which BCCI had previously done so would inevitably result in vast flows of terrorist finance

   flowing from the United States to al-Qaeda and the Taliban (including its Haqqani Network) in

   Afghanistan, Pakistan, the U.A.E., and Russia, given that BCCI’s prior Laundromat focusing on

   the Middle East and Central Asia was also specifically, and widely, known to have been used by

   both terrorist groups.

             938.   Defendants knew that the core lesson that observers, including banks and money

   remitters, learned from BCCI’s own Laundromat for terrorists was that Islamist terrorists

   specifically, and most of all those focusing on Afghanistan, were keenly aware of the nuances of

   the global financial and money remitting system, understood the reputations of the industry

   participants, paid attention to trends, and acted like any other rational actor in their shoes would

   be expected to once they learned BCCI was open for business as a Laundromat—they flocked to


   391
      Anupreet Amole, Trying to End the Illicit Laundromat Cycle, FTAdviser.com (August 6,
   2020), 2020 WLNR 22850806.
   392
         Id. (emphasis added).


                                                   296
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 312 of 606 PageID #: 312




   BCCI and used it to finance their terrorist operations. Defendants intended to achieve the same

   profit through their own Laundromats that BCCI obtained, albeit in a more careful manner

   designed to avoid a repeat of BCCI’s fate.

               939.   Defendants knew that their conduct, including that relating to Khanani, modeled

   the key themes of the BCCI scandal. As the Pakistani media noted, “[w]hat reflect[ed] poorly

   on Pakistan [was] that Khanani’s entire organisation had been shut down and its key players had

   been arrested in 2008,” and yet the scheme continued.393 In sum, “[t]he entire [Khanani] affair

   [was] a reminder of the 1991 BCCI scandal,” and “[i]t seem[ed] we [had not] learn[ed] much

   since that time.”394

               940.   Defendants knew that robust anti-money-laundering compliance by financial

   institutions serving high-terrorist-finance-risk customers was essential to protecting Americans

   specifically from al-Qaeda and Taliban attacks after 9/11. Mr. Zarate, the first assistant secretary

   of the Treasury dedicated to terrorist finance, recalled that “the classic financial weaponry of

   anti-money-laundering strategies” formed the core “set of tools that could disrupt Al Qaeda’s

   operations” and keyed Treasury’s “campaign to combat terrorist financing” after 9/11.395

               941.   Defendants knew that any distinction between “money laundering” risk and

   “terrorist finance” risk was obliterated after 9/11 when analyzing terrorist finance risk attendant

   to the provision of financial or money remitter services to persons, entities, or accounts related to

   a high-risk terrorist finance jurisdiction.




   393
         The News Int’l (Pakistan), The Khanani Affair (April 9, 2017), 2017 WLNR 11090249.
   394
         Id.
   395
         Zarate, Treasury’s War, at 21.


                                                     297
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 313 of 606 PageID #: 313




           942.    Defendants knew that after 9/11, there was broad international consensus that

   terrorist financing shared the identical methods as money laundering and therefore that AML

   violations relating to transactions connected to high-risk terrorist finance jurisdictions – without

   more – demonstrated significant terrorist finance risk.

           943.    Defendants knew that U.S. and European financial institutions, including each

   Defendant, consistently pursued a unified anti-money-laundering/counter-terrorist-finance

   agenda – often abbreviated “AML/CTF” – after 9/11.

           944.    Defendants knew that the post-9/11 counter-terrorist-finance regime rejected

   attempts by banks and money remitters to categorize suspected financial crimes in high-terrorist-

   finance-risk jurisdictions as merely presenting “money laundering” concern generally rather than

   “terrorist finance” risk specifically. Instead, the universally recognized counter-terrorist-finance

   best practice after 9/11 recognized that, with respect to transactions relating to a high-terrorist-

   finance-risk jurisdiction, terrorist financiers often laundered money and therefore, ex ante from

   the view of a responsible bank or money remitter, when customer activity raised money

   laundering “red flags” in a high-risk jurisdiction for terrorist-finance, that same conduct also

   necessarily raised “red flags” for terrorist finance risk.

           945.    Defendants knew that at all relevant times, banks and money remitters in the U.S.

   and Europe followed the same unified approach to anti-money-laundering and counter-terrorist-

   finance. Thus, Defendants knew that a bank’s or money remitter’s deliberate financial crime

   activities in high-risk terrorist finance jurisdictions definitionally enabled terrorist finance and

   inevitably caused terrorist finance to flow through the bank or money remitter, because illicit

   actors use the same mechanisms to accomplish both money laundering and terrorist finance.




                                                     298
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 314 of 606 PageID #: 314




            946.   Defendants knew that the European Union officially extended the ordinary scope

   of anti-money-laundering (or “AML”) to include counter-terrorist-finance (or “CTF”) in 2005,

   and in so doing, adopted a risk-based approach that assumed the worst if a transaction, customer,

   or counterparty raised financial-crime-related red flags in a geographic, industry, or customer

   context that also carried elevated terrorist finance risk, e.g.., a transaction involving a company

   in Pakistan that included indicators of money laundering. According to Dr. Thomas Voller, Esq.

   and Matthew Wales, Esq., “[w]ithin the European Union, the fight against money laundering and

   terrorist financing is more or less unified.”396

            947.   Defendants knew that their Laundromats – by design – fostered a complete

   overlap between AML and CTF violations, and that such intentional opacity only magnified their

   malign intent given the Laundromat setting. According to Michelle Thorp, CEO of a financial

   services association, “reports that three key European banks” (including Deutsche Bank) “fac[ed]

   allegations over handling suspicious money” which came “after the 2010-2014 Global

   Laundromat scheme” reinforced the importance of banks following the universal understanding

   in the financial services that “AML compliance extend[ed] to terrorist financing, which [was]

   facilitated through money laundering.”397

            948.   Defendants’ awareness of the extreme terrorist finance risks attendant to the

   operation of their Laundromats was heightened by their related knowledge concerning the

   elevated terrorist finance risks of their customers’ geographies. Defendants were sophisticated

   financial institutions and/or money remitters. As such, Defendants knew: (a) that geography-



   396
      Dr. Thomas Voller, Esq. and Matthew Wales, Esq., Prevention of Money Laundering:
   European Approach, Business Credit, Volume 120; Issue 5 (May 1, 2018), 2018 WLNR
   14325050.
   397
         Michelle Thorp, Dirty Laundry, Credit Management (Nov. 1, 2019), 2019 WLNR 34501789.


                                                      299
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 315 of 606 PageID #: 315




   related “red flags” were critical to the effectiveness of counter-terrorist-finance practices at banks

   and money remitters like them; and (b) that Afghanistan, Pakistan, the U.A.E., and Russia were

   “high risk” terrorist finance jurisdictions for al-Qaeda, the Taliban (including its Haqqani

   Network), Lashkar-e-Taiba, Jaish-e-Mohammed, and D-Company, which Defendants all knew

   relied upon all four geographies as the main arteries of their terrorist fundraising, finance, and

   logistics activities in support of Syndicate terrorist attacks against Americans in Afghanistan.

             949.     Defendants knew that al-Qaeda had a significant presence throughout Europe, and

   that, according to Professor Gurulé, “Al Qaeda has been extremely active in Italy and

   Germany.”398 Moreover, “Al Qaeda considers Europe a central arena for the promotion of global

   jihad and the realization of its vision of an Islamic caliphate.”399

             950.     Defendants knew of regular, and substantial, U.S. Dollar-related cash flows

   between and among the U.S., U.K. and/or European countries, on the one hand, and Afghanistan,

   Pakistan, the U.A.E., and/or Russia, on the other, were often, on their own, powerful indicia of

   terrorist finance given Defendants’ knowledge of the Syndicate’s widely reported financial

   strategies (e.g.., the Joint Venture). According to Dr. Rollie Lal, banks and money remitters

   understood that “[i]llicit activities of both the criminal and terrorist type require access to

   financial support”; as a result, Defendants knew how to track “the flow of money through both

   legal and illegal means into terrorist-held territory [such as Afghanistan and Pakistan], and out of

   countries that have a historical or political connection with [Syndicate terrorist] groups [such as

   Russia and the U.A.E.],”400 which Defendants knew raised red flags for Syndicate activity.




   398
         Gurulé, Unfunding Terror, at 79.
   399
         Id. at 77.
   400
         Lal, Terrorist Criminal Enterprises, at 191-92.


                                                     300
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 316 of 606 PageID #: 316




             951.     By no later than 2002, Defendants knew that responsible global financial

   institutions and money remitters terminated customer relationships, or even withdrew entirely

   from geographies, if the bank or money remitter could not regularly and reliably review and

   assess the terrorist finance risk posed by their customers. As Mr. Zarate recalled, Citibank

   famously changed the scope of its customer relationship to eliminate the identified terrorist

   finance risk.401

             952.     Defendants knew that the Financial Action Task Force deemed Pakistan to pose

   the highest possible risk of terrorist finance when it deemed Pakistan both “high-risk and

   noncooperative” in February 2012, and that Pakistan was specifically identified for its extreme

   “terrorist finance” risk.

             953.     Defendants knew that there was a widespread negative “perception” of the

   Pakistani financial services industry in the international business community that was “rooted in

   the international reputation that Pakistan … ha[d] as a country with … widespread money

   laundering practices.”402 Moreover, “[t]his [was] not just an anecdotal perspective,” because

   “[t]he global money laundering and terrorist financing watchdog,” the FATF, “publicised the

   shortcomings of the Pakistan anti-money laundering regime.”403

             954.     Based upon their branches and employees’ connections to Afghan- and Pakistani-

   diaspora communities across Europe and Asia, Defendants knew that al-Qaeda and the Haqqani

   Network used transnational criminal activities in Europe, the Middle East, and Asia to directly




   401
         Zarate, Treasury’s War, at 87-89.
   402
      Business Recorder, Why is Pakistan’s Money Laundering Problem so Persistent?, (Jan. 2,
   2021), 2021 WLNR 89674.
   403
      Business Recorder, Why is Pakistan’s Money Laundering Problem so Persistent?, (Jan. 2,
   2021), 2021 WLNR 89674.


                                                     301
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 317 of 606 PageID #: 317




   support attacks against Americans in Afghanistan. For example, according to Dr. Rollie Lal, “in

   diaspora communities across Europe and Asia” – precisely the communities in which each

   Defendant focused much of its U.S. Dollar-related business and from which Defendants drew

   much of their employee pools – “it [was] clear that terrorist criminal enterprise [was] a venture

   for” “extensive” transnational activities by al-Qaeda and the Taliban, including its Haqqani

   Network, to sustain the terrorists’ own surge in Afghanistan by using the opportunities afforded

   by “globalization” to create and sustain a network of cells in Europe, Asia, and the Middle East

   to fund, finance, and arm terrorists to attack Americans in Afghanistan.404

           955.    Defendants knew that otherwise suspicious financial transactions involving

   members of the Pakistani diaspora in Europe, the Middle East, Russia, and Asia after 9/11 bore

   an extreme risk of terrorist fundraising, finance, and logistics activity. When Defendants

   processed suspicious transactions that already raised financial crime red-flags, Defendants’

   additional knowledge that their customers were Pakistani nationals living or conducting

   suspicious transactions outside of Pakistan was an additional red flag that Defendants knew

   indicated the suspicious transaction in question foreseeably aided Syndicate terrorist finance,

   fundraising, and logistics, and Defendants.

           956.    As sophisticated, long-time participants in the Afghanistan and Pakistan

   economies, Defendant knew that Afghanistan- and Pakistan-related transactions from 2001

   through 2016 that raised suspicion of, or appeared related to, front company activity, money

   laundering, narcotics trafficking, terrorist logistics, or other indicia of criminal activity was likely




   404
      Dr. Rollie Lal, Terrorist Criminal Enterprises: Financing Terrorism through Organized
   Crime 193 (Praeger 2018; Kimberly L. Thachuk and Rollie Lal, eds.).


                                                     302
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 318 of 606 PageID #: 318




   to aid, and did in fact regularly aid, Syndicate attacks against Americans in Afghanistan by

   financing al-Qaeda, Taliban, and/or Haqqani Network activities.

          957.    From 2001 through 2016, Defendants knew that regular public reports alerted

   banks and money remitters to the fact that companies, banks, and money remitters linked to

   Afghanistan, Pakistan, the U.A.E., and Russia were regularly funneling funding and

   bombmaking supply to the Syndicate through terrorist finance activities and illicit transactions

   related to criminal activity in Afghanistan, Pakistan, the U.A.E., Russia, and Europe and that the

   Syndicate was using such activities to support Syndicate attacks against Americans in

   Afghanistan.

          C.      Defendants Knew The U.S. and U.K. Governments Opposed Conduct Like
                  Their Own

          958.    Defendants knew of the potential terrorist finance risk created by their reckless

   practices based upon direct communications from the U.S. government. From 2007 through

   2010, the Treasury Department’s Undersecretary for Terrorism and Financial Intelligence, Stuart

   Levey, visited with financial institutions, money remitters, and corporations around the world in

   order to inform them about the terrorist finance risks associated with permissive financial and

   commercial practices, including, but not limited to, the risks that al-Qaeda, Taliban, Haqqani

   Network, and IRGC fronts were using, or could use, the financial, money remitter, or

   commercial system to support anti-American terrorist attacks. On information and belief, in

   2007 and/or 2008, and again in 2009 and/or 2010, Undersecretary Levey specifically provided

   such warnings concerning al-Qaeda, Taliban, and Haqqani Network fronts’ use of banks to one

   or more executives, managers, employees, or agents representing each Defendant.

          959.    Defendants knew of the potential terrorist finance risk created by their reckless

   practices based upon direct communications from the U.K. government. In 2006, the U.K.



                                                  303
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 319 of 606 PageID #: 319




   government prepared a list of thousands of suspected terrorist operatives, agents, fronts, and

   partners, which it then widely shared with financial institutions operating in the United Kingdom

   including, on information and belief, with one or more representatives of each Defendant’s U.K.

   branch (the “2006 U.K. Government Terrorist Suspects List”). On information and belief: (1) a

   substantial number of the terrorists named in this Complaint were also identified in the 2006

   U.K. Government Terrorist Suspects List shared with Defendants and reviewed by Defendants,

   including, but not limited to: (a) Khanani; (b) Darkazanli; (c) Bari; (d) Bout; and (e) Mogilevich;

   and (2) on or after 2006, the U.K. government provided the 2006 U.K. Government Terrorist

   Suspects List, and issued a warning concerning al-Qaeda, Taliban, and Haqqani Network fronts’

   use of banks, money remitters, and corporations, to one or more executives, managers,

   employees, or agents representing each Defendant.

          D.      Defendants Possessed Sufficient Data To Prevent The Syndicate From Using
                  Their Services For Terrorist Fundraising, Finance, and Logistics Operations

          960.    Defendants’ customer diligence was both like and unlike the diligence conducted

   by responsible banks and remitters. Defendants’ own diligence was similar in that Defendants

   ordinarily acquired the information necessary to know the identity of their counterparties and to

   know the terrorist finance risk. As a result, Defendants knew of enough merely from their

   “window-dressing” diligence to know that their transactions foreseeably aided terrorists—

   Defendants just did not care. As one economic analyst reported, for example, “[t]he level of due

   diligence by [Standard Chartered Bank and Deutsche Bank] is already high in … Pakistan.”405

   “Since 9/11,” according to Professor Gurulé, “a significant shift has taken place in banks and

   other financial institutions with respect to monitoring financial transactions. Banks are now


   405
     Dipanjan Roy Chaudhury, FATF Grey Listing to Take its Toll on Pak Economy, Economic
   Times (Feb. 26, 2018), 2018 WLNR 5894450.


                                                  304
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 320 of 606 PageID #: 320




   scrutinizing accounts and transactions for possible links to terrorists and terrorist organizations,

   making it more difficult for terrorists to move money through the financial sector.’”406

             961.   At all relevant times, Defendants’ sophisticated software proactively identified the

   sorts of financial crimes executed by the Syndicate’s agents. By 2005, Mr. Kochan documented

   at the time, global financial institutions and money remitters, like Defendants, operated the

   equivalent of “Computerized Sherlock Holmes” platforms that identified ongoing financial

   crimes at their branches “each business day”:

             Banks have used artificial intelligence as fraud detectives since the mid-1980’s
             when credit card fraud losses started to escalate. Computerized fraud detection
             systems take in huge volumes of transaction data and look for tell-tale patterns to
             identify possible cases of fraud.

                     The latest advance involves developing high tech “transaction sniffing
             systems” that make use of a body of rules that define the way that money
             launderers typically carry out their activities. These rules are founded on the three
             “Vs” of profiling – the volume, value, and velocity (timing) of transactions. If the
             rules are triggered, then the activity can be deemed “suspicious” and worthy of
             further investigation.

                     David Porter, director for risk at the Detica consultancy, says: “They work
             in the same way that we pick out constellations in a starry sky. These
             technologies sift through a huge amount of data to work out for themselves what
             is suspicious without having to refer to a checklist of rules.”407

             962.   Each Defendant was keenly aware of the foreseeable risk that their facilitation of

   USD-denominated transactions for terrorist operatives, agents, fronts, or partners foreseeably

   risked terrorist violence against Americans because each Defendant was a member of an

   integrated global bank or money remitter subject to common rules relating to anti-money-

   laundering/counter-terrorist finance (or “AML-CTF”), including know-your-customer (“KYC”)

   and customer due diligence (“CDD”) requirements, and each Defendant operated under policies


   406
         Gurulé, Unfunding Terror, at 376.
   407
         Kochan, The Washing Machine, at 280-81.

                                                     305
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 321 of 606 PageID #: 321




   and procedures that alerted them to the extreme terrorist finance risks posed by their transactions

   and customer relationships.

           963.    Each Defendant used sophisticated compliance, anti-money laundering, and

   counter-terrorist finance software designed to monitor, in real-time, sanctions lists, watch lists,

   transaction data, media reports, enforcement actions, and more, for the understood purpose of

   identifying and preventing suspicious transactions that foreseeably could aid terrorists. Plaintiffs

   do not allege that Defendants did not know about Syndicate terrorist finance risks; Plaintiffs

   allege that Defendants did not care about Syndicate terrorist finance risks.

           964.    From here, however, Defendants’s diligence practices sharply diverged from

   those of law-abiding banks and remitters: when Defendants conducted their diligence, the point

   of the exercise was to conceal their terrorist clients’ and potential terrorist clients’ terrorist

   finance through the “window dressing” afforded by their diligence—the exact opposite purpose

   of diligence when conducted by ethical banks and remitters, which is to reveal potential financial

   crimes as part of the banks’ and remitters’ widely-recognized post-9/11 role as America’s first,

   and most important, line of defense against terror by al-Qaeda and its affiliates.

           965.    As sophisticated banks and money remitters, each Defendant knew the purpose of

   the criminal law prohibitions on material support to terrorists. As the U.S. Supreme Court has

   explained, “Congress has prohibited the provision of ‘material support or resources’ to certain

   foreign organizations that engage in terrorist activity. 18 U.S.C. § 2339B(a)(1). That prohibition

   is based on a finding that the specified organizations ‘are so tainted by their criminal conduct that

   any contribution to such an organization facilitates that conduct.’ Antiterrorism and Effective

   Death Penalty Act of 1996 (AEDPA), §301(a)(7), 110 Stat. 1247, note following 18 U.S.C. §




                                                     306
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 322 of 606 PageID #: 322




   2339B (Findings and Purpose).”408 Accordingly, Defendants understood that “any contribution”

   it made to members of the Syndicate would illegally facilitate their terrorist activity, and

   Defendants further understood that this prohibition against such contributions extended to the

   agents, operatives, and fronts of al-Qaeda, the Taliban, and the Haqqani Network.

             966.   Defendants knew that Defendants regularly processed suspicious transactions

   while knowing of “red flags” indicating a high risk of Syndicate terrorist finance operations,

   including, but not limited to, instances when the transaction: (1) was on behalf of a suspected

   terrorist financier; (2) related to violent actors or criminal behavior like money laundering that

   Defendants understood to be directly correlated with terrorist finance risk; (3) had the effect of

   moving a large amount of U.S. Dollars from the Europe and the former Soviet Union, including

   Russia, to the Middle East, which Defendants understood to be a significant terrorist finance red

   flag; and/or (4) involved the transfer of large amounts of money between one or more legs of the

   Syndicate’s hubs in Pakistan and/or the U.A.E. (in any direction involving any combination of

   the three), involved a large volume of cash, or was otherwise suspicious based on amount,

   pattern, timing, or history.

             967.   At all relevant times, each Defendant acted while knowing of the risk that one,

   several, or all the Afghanistan-, Pakistan-, U.A.E.-, Russia-, or Cyprus-related parties to their

   transactions, as applicable, were Syndicate agents, operatives, and/or fronts, and that the deal

   was in fact part of the Syndicate’s terrorist finance activities and repatriation of overseas profits.

   A rule of thumb in Afghanistan, Pakistan, the U.A.E., and Russia since 9/11 has been: if it was

   dirty money, it foreseeably benefited al-Qaeda, the Taliban, and the Haqqani Network’s

   logistical or financial efforts, and a responsible bank, money remitter, or corporation exits the


   408
         Holder v. Humanitarian Law Project, 561 U.S. 1, 7 (2010).


                                                    307
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 323 of 606 PageID #: 323




   transaction. As long-standing, and sophisticated, participants in the Afghanistan, Pakistan,

   U.A.E., Russia, and Cyprus markets, each Defendant knew of this reality at all relevant times.

          968.    Defendants knew of the terrorist finance risks attendant to their transaction

   activity relating to Khanani, Darkazanli, Azizi, Ahmed, and the Russian Mafia because

   Defendants regularly participated in international conferences and symposia concerning anti-

   money-laundering/counter-terrorist-finance that routinely shared information that alerted

   Defendants to the Syndicate’s terrorist finance schemes alleged herein.

          E.      Defendants Knew Transactions In High-Terrorist-Finance-Risk Jurisdictions
                  That Used “Buffers,” “Shell Companies,” Or “Intermediaries” Foreseeably
                  Aided Syndicate Terrorist Fundraising, Finance, And Logistics Operations

          969.    Defendants knew that their reliance on “buffers,” “shell companies,”

   “intermediaries,” and the opacity created by transactions that involve multiple links in chain

   intentionally made it harder for their own financial professionals, as well as those of U.S. and

   European regulators, to prevent transactions that could aid terrorists. Indeed, a core theme of

   nearly every Laundromat in the past has been that the accused bank or money remitter – once

   caught – proclaimed that their transactions were incredibly complicated, the opacity and

   insufficient paperwork, while regrettable, proves they could not have known, and the existence

   of the multiple links, buffers, intermediaries or other similar artifices – which the bank or money

   remitter itself often created or improved – absolved the accused of responsibility for the terrorist

   finance that flowed through their Laundromat.

          970.    Moreover, Defendants also knew that a substantial percentage of their executives,

   officers, employees, and agents recklessly disregarded obvious terrorist finance risk because the

   money pouring in was too great, and therefore were more likely to potentially attempt to conceal

   their terrorist finance by relying on such buffers, intermediaries, and the like. After 2007,

   according to Ms. Belton, “Western bankers” had “been blinded by the flood of cash flowing into


                                                   308
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 324 of 606 PageID #: 324




   the City of London from the former Soviet Union, and increasingly they’d come to depend on it,

   especially as the Western banking system hurtled towards the 2008 financial crisis.”409 Each

   Defendant promoted the use of buffers, intermediaries, layers, and multi-link-transaction-chains

   precisely because doing so would afford them plausible deniability if their conduct was ever

   exposed. This strategy only magnified Defendants’ culpability.

             971.   Defendants’ practices of knowingly facilitating al-Qaeda and Taliban (including

   Haqqani Network) transactions through their Laundromats, only heightens their culpability.

   Defendants intentionally used the opaque financing process with an actual understanding that the

   al-Qaeda and its allies relied on such opacity to enable their terrorist finance strategies.

   Defendants’ terrorist finance may have been routed to al-Qaeda through an agent, like the

   Khanani MLO, and the SCB-supplied CAN fertilizer bomb components may have been refined

   after Standard Chartered Bank enabled the sale, but in every instance, Defendants knew they

   were occurring and purposefully orchestrated them. That is because Defendants made it a

   business to earn money from illicit enterprise.

             972.   Defendants knew that suspicious transactions in high-risk jurisdictions that relied

   on front companies or shell companies and raised concerns about “Mafia”-like activity were a

   known red flag for al-Qaeda specifically because bin Laden consciously emulated many

   organized crime finance strategies. Thus, any bank or money remitter’s transaction in a high-risk

   jurisdiction that “relied on front companies—much like the Mafia” raised specific red flags for

   “Al Qaeda” involvement.”410




   409
         Belton at 363.
   410
         Zarate, Treasury’s War, at 36.


                                                     309
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 325 of 606 PageID #: 325




             F.     Defendants Knew Altaf Khanani Was A Notorious Terrorist Financier Of,
                    And Agent For, Al-Qaeda, The Taliban, The Haqqani Network, Lashkar-E-
                    Taiba, Jaish-E-Mohammed, And D-Company

             973.   From 2001 through 2016, Defendants knew that Altaf Khanani – through the

   Khanani MLO and associated fronts like Al Zarooni Exchange and Mazaka General Trading –

   was notorious as “a key financier for terrorists” who “king pinned a flourishing money

   laundering network involving … terror organizations like al-Qaeda, Hezbollah, and even the

   Taliban.”411 Defendants knew that Khanani was always notorious specifically for helping the

   Syndicate to launder money in support of terrorist operations targeting Americans in Afghanistan

   and Pakistan.

             974.   Defendants knew that Khanani’s decades-long practice – and al-Qaeda- and

   Taliban-specific reputation – centered upon his role helping terrorists move their drug money,

   especially terrorists moving opium-related money in and/or out of Afghanistan, Pakistan, the

   U.A.E., and Russia, to name four of Khanani’s most important Syndicate-related markets.

             975.   Defendants knew that even before 9/11, Khanani was a notorious money

   launderer in Pakistan. “[I]n Karachi,” where he was based before 2008, Khanani and his family

   had long been notorious for money laundering. Unsurprisingly, within weeks of 9/11, major

   media reports directly connected Khanani to suspected al-Qaeda and Taliban terrorist finance.

             976.   Defendants knew that on September 30, 2001, USA Today identified Khanani and

   his company called Khanani & Khalia International (“KKI”), as an example of a Pakistani

   money changer suspected of aiding al-Qaeda and Taliban finance.412



   411
      The World is One News (Indian TV News Show), Pak National Altaf Khanani’s Financial
   Relationship with Terror Organisations (Sept. 21, 2020),
   https://www.youtube.com/watch?v=BHqa05FUbT4.
   412
         James Cox, ‘Hundi’ System May Foil Investigators, USA Today (Sept. 30, 2001).


                                                  310
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 326 of 606 PageID #: 326




          977.    Defendants knew that similar reports followed. On October 5, 2003, The New

   York Times reported that Khanani’s then-company, KKI, was under investigation for transferring

   funds to al-Qaeda-affiliated terrorists in Afghanistan and Pakistan.

          “Hawalas are the 1,000-pound beasts in this whole terrorist financial system,”
          said a senior American counterterrorism official []. … Dubai, along with Pakistan
          and India, forms the backbone of a system that abets terrorism. … “It’s
          convenient and cheap for [] bin Laden to transfer cash from accounts in Pakistan
          and southwest Asia through Dubai,” said Moyara Ruehsen, an international policy
          professor … One of the largest exchange houses and hawala dealers in the
          Muslim world, [KKI] … is now being investigated … on suspicion of having
          transferred money to militant groups, American and Pakistani officials said. The
          authorities in the [U.A.E.] also investigated [KKI] …413

          978.    Defendants knew that in November 2008, Pakistan’s Federal Investigation

   Agency (“FIA”) “raided the offices of money-changers and … arrested [] top [foreign exchange]

   trader Altaf Khanani,” as part of what the Pakistani media reported was the FIA’s “intensified

   crackdown against money-changers” involved in the “scam of money laundering.”414 The FIA’s

   investigation of Khanani in 2008 prompted another wave of media coverage documenting his

   suspected laundering for terrorists. For example, on November 10, 2008, the Pakistani news

   outlet Ummat reported that “[t]he American officials are keeping an eye on the Pakistan’s

   biggest foreign currency scandal. … Khanani … Sources to a private TV channel have disclosed

   that American officials suspected that foreign money changers companies may have provided

   money to extremist militant groups.”

          979.    Defendants knew that Khanani also had an (accurate) reputation for laundering

   funds for Sirajuddin Haqqani and other members of the Haqqani family to support Haqqani



   413
     Timothy L. O’Brien, U.S. Focusing on Dubai as a Terrorist Financial Center, New York
   Times (Oct. 5, 2003).
   414
      Mansoor Khan and Amraiz Khan, FIA Intensifies Crackdown, The Nation (Pakistan) (Nov.
   10, 2008).


                                                  311
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 327 of 606 PageID #: 327




   Network operations in Pakistan and Afghanistan. For example, as one analyst explained,

   “Sirajuddin Haqqani, who in 2016 was appointed as deputy leader of the Taliban, was designated

   as a terrorist by the U.S. for his role as leader of the Haqqani network. The network … has been

   known to work closely with transnational criminal organizations like … the Altaf Khanani

   [Money Laundering Organization]. Given that these groups have been known to funnel billions

   of dollars through the global financial system … the financial community will likely exercise

   extreme caution in order to manage exposure to activities with a nexus to illicit finance.”415

          980.    From 2008 until 2015, Defendants knew that Khanani was a wanted man who was

   notorious around the world for laundering massive amounts of U.S. Dollars for the world’s worst

   terrorist groups, including al-Qaeda, the Taliban (including its Haqqani Network, Lashkar-e-

   Taiba, Jaish-e-Mohammed, D-Company, and Lebanese Hezbollah.

          981.    Defendants knew that Khanani was a criminal terrorist – not a legitimate

   businessman – who had the reputation since 9/11 as a transnational criminal and terrorist who

   ran a “major international money-laundering organisation [i.e., the Khanani MLO] that

   count[ed], al-Qa'ida, Hezbollah, [and] the Taliban” amongst “its customers” and “used major

   international banks to ‘wash’ illicit funds” for its Syndicate customers.416

          982.    Defendants knew about Khanani’s identity. Among other reasons, when

   Defendants’ implicated executives, managers, employees, and agents consciously serviced the

   “dirty money” needs of suspicious customers from the countries that they understood to be the

   most important markets for the river of dirty money flowing out of al-Qaeda, the Taliban, and



   415
      Hamad Alhelal, Sigma Ratings, Kabul via Khartoum (Mar. 6, 2020) (emphasis added),
   https://www.sigmaratings.com/knowledge-center/insights/kabul-via-khartoum-11180.
   416
     Mark Schliebs, Launderer for Terror Cartels at Work Here, Australian (Jan. 25, 2016), 2016
   WLNR 231.7203.


                                                   312
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 328 of 606 PageID #: 328




   their Russian Mafia Opium JV partner, they inverted the normal incentive structure that compels

   criminals to be willfully blind. The reason is simple: any banker who considered moving dirty

   money for the Russian Mafia at scale could ordinarily be expected to insist – for personal safety

   reasons – on knowing the identity of the true beneficiary and such person’s associated murderous

   group because it was widely understood that the Russian Mafia controlled the money laundering

   business in, and relating to, Russia.

             983.   Defendants knew that an attack in London in March 2012 reinforced the

   importance to always know one’s customers if there was any chance they could include members

   of the Russian Mafia and that gunmen shot German Gorbuntsov, a Russian banker who had been

   involved in the “Moldovan Laundromat” and gotten himself “caught in the crossfire” involving

   “organised-crime groups warring over cash.”417

             984.   Defendants and their personnel knew that the attack on Mr. Gorbuntsov

   highlighted the extreme risks taken by bankers and money remitters who operated Laundromats

   that could potentially implicate the Russian Mafia’s “dirty money,” and Defendants and their

   personnel knew that the attack on Mr. Gorbuntsov highlighted the personal safety reasons

   necessitating that bankers and money remitters in their position know the precise identities of

   their customers in order to avoid Mr. Gorbuntsov’s fate.

             985.   Defendants knew that Khanani did not “trick” any Laundromat that serviced the

   Syndicate through him. With respect to Khanani’s business bona fides, Defendants knew that:

   (1) Khanani was an internationally notorious terrorist financier, not a legitimate businessman

   who sometimes dabbled in terrorist finance; (2) Khanani and the entities he controlled had a

   singular purpose of laundering narcotics proceeds for terrorist groups; (3) everything Khanani


   417
         Belton at 402.


                                                  313
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 329 of 606 PageID #: 329




   and his entities did was designed to enable terrorists to profit from drug sales; and (4) Khanani

   and his entities did not engage in any “legitimate” business.

          986.    With respect to Al Zarooni Exchange, Mazaka General Trading, and the other

   Khanani MLO entities, Defendants knew that: (1) each such entity was controlled by Khanani

   and used exclusively for terrorist finance; (2) each such entity did not conduct any legitimate

   business; (3) each such entity was a shell company that did not have a real corporate presence

   anywhere and raised a litany of obvious counter-terrorist finance red flags; and (4) the trading

   history of each such entity strongly indicated it was engaged in capital flight, laundering, or other

   financial crimes in high-risk-terrorist-finance jurisdictions, and thus that such transactions

   foreseeably risked aiding terrorists. Moreover, Defendants’ knowledge of Khanani’s affiliation

   with, and control of, the shell companies used by the Khanani MLO, was amply demonstrated by

   how quickly each Defendant was able to determine that it had committed serious crimes when it

   dealt with Khanani specifically once people began asking questions.

          987.    After 9/11, and by no later than 2003 at the latest, Defendants knew that Khanani

   and the Khanani MLO were internationally notorious as a suspected financier and fundraiser for

   al-Qaeda and the Taliban. As the Australian explained in 2016, “Khanani was a partner in a

   Karachi-based foreign exchange company,” which “had long been suspected of ties to terrorist

   groups, with investigations … as long ago as 2003.”418

          988.    Defendants knew that Khanani was a notorious Pakistani terrorist financier who

   had evaded capture for decades. From 2008 through 2015, Khanani was also subject to one or




   418
     Mark Schliebs, Launderer for Terror Cartels at Work Here, Australian (Jan. 25, 2016), 2016
   WLNR 231.7203.


                                                   314
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 330 of 606 PageID #: 330




   more arrest warrants, “red notices,” and/or similar indicia of law enforcement interest from the

   U.S., Pakistan, the U.A.E., Afghanistan, and/or Australia that were known to the Defendants.

          989.    Defendants knew that Khanani’s reputation for laundering money for al-Qaeda

   and the Taliban never changed because he never stopped representing them. By 2009,

   Defendants knew that Khanani had achieved a “James Bond Villain” level of global infamy as

   one of the world’s most notorious terrorist financiers. According to Robert Cassita, a DEA agent

   who investigated Khanani:

          [J]ust by the sheer … amount of money he was able to move, the network that he
          built on six different continents, created an air … that he was an untouchable … I
          always [] likened him to a James Bond villain. He fit[] the mold. He ha[d] a
          worldwide network. Move[d] billions of dollars, … [led] a transnational
          organization, and [was] someone that the world look[ed] [at] as a target.

   According to David Stewart, of the Australian Federal Police, who also investigated Khanani,

   with respect to “high volume, very serious, transnational organized crime networks. … Khanani

   was the number 1 international controller as far as … terrorist funding was in the world and …

   was causing a significant impact on multiple countries throughout the world.”

          990.    Defendants’ understanding was cemented in the seven years from 9/11 through

   2008, when Khanani was the subject of regular international media coverage concerning his

   fusion with al-Qaeda, the Taliban, and other extremists in Pakistan, and locked in Khanani’s

   reputation as a suspected money launderer and terrorist amongst banks and money remitters

   around the world, as well as in the media and in government circles.

          991.    Defendants knew that Khanani also served as a personal agent for Sirajuddin

   Haqqani (designated as an SDGT in 2008) and the Haqqani Network (designated as an FTO in

   2012). For example, as one regional analyst explained, that “Sirajuddin Haqqani” and the

   “Haqqani [N]etwork” have “been known to work closely with” “the Altaf Khanani [MLO]” and,




                                                  315
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 331 of 606 PageID #: 331




   “[g]iven that these groups have been known to funnel billions of dollars through the global

   financial system,” banks and money remitters needed to “exercise extreme caution” “to manage

   exposure to activities with a nexus to illicit finance,” i.e., Syndicate terrorism funded by

   Laundromats like Defendants.419

             992.   Defendants knew that Khanani’s relationships with his shell companies were open

   and notorious to the banks and money remitters that services the Syndicate through Khanani.

   Defendants knew that Al Zarooni Exchange and Mazaka General Trading were controlled by

   Khanani and used by Khanani for the specific purpose of executing illicit transactions designed

   to support the terrorist attacks of his terrorist clients, al-Qaeda, the Taliban (including its

   Haqqani Network), Lashkar-e-Taiba, Jaish-e-Mohammed, and D-Company, by helping them

   finance their networks, including by converting their illicit income into usable U.S. Dollars and

   repatriating such freshly laundered U.S. Dollars back to accounts controlled by al-Qaeda and

   Haqqani Network agents and operatives to finance attacks against Americans in Afghanistan.

             993.   Defendants knew that Khanani did not have any legitimate business and therefore

   that they had to end all their relationships with him, which, on information and belief, most

   Defendants did not do even once they started reviewing their Khanani-related transactions.

   According to Professor Gurulé, “[t]errorist organisations’ diverse requirement for financing

   creates a strong logic for seeking to disrupt terrorism by choking off funding flows to all

   terrorist-linked activities.”420




   419
      Hamad Alhelal, Sigma Ratings, Kabul via Khartoum (Mar. 6, 2020) (emphasis added),
   https://www.sigmaratings.com/knowledge-center/insights/kabul-via-khartoum-11180.
   420
         Gurulé, Unfunding Terror, at 21.


                                                     316
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 332 of 606 PageID #: 332




             G.     Defendants Knew Terrorists Regularly Used Tax Fraud, Including VAT
                    Fraud, Schemes To Finance Attacks

             994.   By no later than 2005, each Defendant knew that organized financial crime

   activities in Europe were red flags for terrorist finance. As Mr. Kochan documented at the time:

             Western governments and multilateral bodies have understood these dangers and
             sought to introduce some standards into bank’s relationships… [I]n recent years,
             the financial police have turned their attention to … Financial police – tax
             officials, police detectives, customs agents, bank money laundering reporting
             officers and the like – have been charged with examining suspicious money
             movements for terrorist links. This new dimension has dramatically raised the
             profile of economic crime and investigation… Money laundering rules are their
             constant concern. … The trail between a terrorist and his backer may be cracked
             by investigation of a company involved in commercial illegality, such as tax
             evasion…may reveal links to terrorists. When organized crime groups involved
             in the Colombian drugs trade…links to terrorist groups have been unearthed.421

             995.   Defendants knew that because: (a) substantial numbers of al-Qaeda cells were

   present all throughout Europe, including Germany, Italy, Spain, the U.K., and elsewhere; and (b)

   terrorist cells in Europe had, for decades-long, relied upon large-scale tax fraud schemes,

   including VAT fraud schemes, as a powerful form of terrorist finance, then necessarily (c) any

   red flags suggesting large-scale VAT fraud aided by a bank foreseeably suggested the possibility

   of al-Qaeda activity.

             996.   According to Dr. Jodi Vittori, Europe’s thicket of tax laws has long made tax-

   related issues attractive to terrorist financiers operating there, who have long recognized that

   “[d]efrauding governments” on funds flowing from things like “tax exemption certificates” were

   examples of “lucrative” “schemes” operated by the cells of “terrorist organizations” in Europe.422

             997.   Defendants knew that Syndicate fundraising, finance, and logistics cells regularly

   used tax fraud schemes, including VAT fraud schemes, to fund Syndicate operations, and that


   421
         Kochan, The Washing Machine, at xvi, 66.
   422
         Vittori, Terrorist Financing, at 33.


                                                    317
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 333 of 606 PageID #: 333




   such techniques were a time-honored tool of terrorist finance. In 2003, Steven Emerson testified

   that “[a] familiar pattern among fundraisers for terrorism [was] their sophisticated use of tax laws

   to maximize funds for terrorist operations.”423

             998.   Defendants knew that large-scale VAT fraud, in particular, was a screaming red

   flag that specifically indicated foreseeable al-Qaeda and Taliban (including Haqqani Network)

   terrorist finance and fundraising activity because both groups were known for being early

   adopters of VAT fraud as a funding strategy, befitting their demonstrated business acumen and

   transnational terrorist finance orientation.

             999.   Defendants knew that in 2005, the FATF, a leading global organization designed

   to prevent money laundering, publicly warned financial institutions that VATrelated frauds in the

   EU could foreseeably finance terrorists and published several “case examples” that documented

   how EU-based VAT fraud schemes had funded terror.

             1000. By 2007, two additional public events alerted Defendants to the extreme risk that

   European tax frauds, most of all VAT frauds, were “red flags” specifically denoting foreseeable

   al-Qaeda and/or Taliban (including Haqqani Network) terrorist finance activity. First, on

   February 23, 2007, the Financial Action Task Force publicly issued its report, Laundering the

   Proceeds of VAT Carousel Fraud, which warned Defendants, among other things, that:

            “VAT carousel fraud involves organised [] groups attacking tax systems to generate
             substantial profit … as a vehicle to launder and raise funds … to fund terrorism”;

            “[T]o prevent … this [VAT] fraud, it [was] imperative that financial institutions
             fulfil[led] their obligations under the FATF recommendations to know their customers,
             and operate[d] due diligence,” which “idea [was] supported in the FATF’s Money
             Laundering and Terrorist Financing Typologies 2004-2005 report, which note[d] … VAT
             carousel fraud that uses an Alternative Remittance System to move funds”; and



   423
         Quoted in D’Souza, Terrorist Financing, at 44.


                                                     318
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 334 of 606 PageID #: 334




            “There need[ed] to be an increase[ed] global awareness of the use of carousel style frauds
             as a vehicle for raising funds for … terrorism,” and was “a serious crime. 424

             1001. Defendants knew that the FATF was an unquestioned, universally recognized

   standard setter for the combined world of anti-money-laundering/counter-terrorist-finance (or

   “AML/CTF”) around the world. Defendants, including their executives, managers, and

   employee in the U.S., U.K., Germany, Russia, U.A.E., Pakistan, Afghanistan, and elsewhere,

   knew that FATF guidance was an authoritative source and that deliberately departing from FATF

   practices foreseeably aided terrorist finance. The FATF’s 2005 and 2007 reports were circulated

   widely amongst each Defendant’s executives, officers, employees, and agents, including, on

   information and belief, each Defendant’s specific personnel responsible for managing

   Defendants’ customer relationships, legal, compliance, marketing, sales, finance, and accounting.

             1002. Second, beginning in the summer of 2007, Imran Hussain, a Scottish-Pakistani

   Syndicate operative who raised millions for al-Qaeda, was the subject of international media

   coverage for the carousel fraud that he masterminded to execute a massive VAT scam that

   generated hundreds of millions in profits.

             1003. Defendants knew that tax frauds in Europe were a decades-long, notorious, red

   flag for terrorist finance based on a constant stream of reports since the 1980s, which alerted

   Defendants to the widespread strategy of terrorist groups around the world, including the

   Syndicate, to fund operations through tax fraud schemes, often European VAT fraud schemes

   specifically. Such reports included, but were not limited to:

            Associated Press, February 1987: “[Irish] Judge James Nicholson” “said [] that terrorist
             groups in Northern Ireland are financed by funds they obtain by … tax fraud … at the
             end of a trial that convicted three men of funnelling tax fraud money to the outlawed Irish
             National Liberation Army.”425

   424
         FATF, Laundering the Proceeds of VAT Carousel Fraud, at 2, 8, and 19 (Feb. 23, 2007).
   425
         AP Online, Judge Says Tax Fraud Finances Terrorism (Feb. 11, 1987).


                                                    319
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 335 of 606 PageID #: 335




            EurActiv, October 2006: “Interior ministers from Germany, France, Spain, Italy and
             Poland … attended a two-day UK meeting … [and] were told by UK Home Secretary
             and MI5 chief John Reid that terrorism [was] the ‘biggest threat to all European nations’
             [and that] … Reid want[ed] Europe to fight VAT fraud linked to terror funds.”426

            Financial Action Task Force, February 2007: “VAT carousel fraud” “generate[d]
             substantial profit [for terrorist groups]” “as a vehicle to launder and raise funds … to fund
             terrorism” … “[T]o prevent … this[,] [it was] imperative that financial institutions
             fulfil[led] their obligations under the FATF recommendations to know their customers,
             and operate[d] due diligence” …“[T]he use of carousel style frauds [was] a vehicle for
             raising funds for … terrorism … [and was] a serious crime.”427

            El Pais, January 2009: “Police in Barcelona … arrested six Pakistani citizens on tax
             fraud charges amid suspicions that the group may have been sending money abroad to
             finance Islamist terrorism. … According to investigators, the group ran legitimate
             telephone call shops and internet cafes, but had failed to pay the correct amounts of VAT.
             … investigators suspect that the six Pakistanis may have been using their businesses and
             their illicit gains from tax fraud to raise funds to finance terrorism in Pakistan and other
             countries.”428

            Tampa Tribune, September 2011: “[D]ollars investigators [said were] being stolen
             through tax fraud might [have been] funneled to terrorists who [used] taxpayer money to
             hurt American troops or allies. …. ‘When you look[ed] at the dollars and how [they
             were] being money-laundered, … it [brought] up another concern, particularly when you
             hear[d] about the businesses that [were] doing the money laundering and the folks that
             [were] behind it. You ha[d] to wonder where [was] that money going besides to a
             criminal enterprise,’ [Rep. Rich] Nugen [stated]. … ‘Here [we were] fighting terrorism
             across the board, we ha[d] troops engaged, and here we ha[d] a very profitable crime
             [that was] going on,’ he said.”429

            Jayesh D’Souza, 2012: “Tax evasion is related to terrorist financing … The government
             and the courts have attempted to clamp down on” “Tax Evasion/Fraud” “schemes used to
             support terrorist networks. …In the United States, a number of branches of the [IRS] are
             assigned to counter tax evasion related to terrorist financing and money laundering.”430

   426
      EurActiv (English), Security & Defence - Call For G6 To Unite Against Terror (Oct. 26,
   2006).
   427
         FATF, Laundering the Proceeds of VAT Carousel Fraud, at 2, 8 and X (Feb. 23, 2007).
   428
      EurActiv (English), EU Targets Terror Financing with VAT Fraud Crackdown (June 12,
   2017).
   429
     Elaine Silvestrini, Tax Fraud Loot Funds Terrorism?, Tampa Tribune (Sept. 20, 2011), 2011
   WLNR 19580302.
   430
         D’Souza, Terrorist Financing, at 41-43.


                                                     320
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 336 of 606 PageID #: 336




               H.     Defendants Knew Terrorists Regularly Used Capital Flight Schemes To
                      Finance Attacks

               1004. Defendants also knew that they were aiding Syndicate terrorism when they

   facilitated unlawful capital flight from customers posing a high risk of terrorist finance,

   especially when connected to Afghanistan, Pakistan, the U.A.E., or Russia. Deutsche Bank’s

   “mirror trades,” for example, were a form of capital flight.

               1005. According to Raymond Baker, whenever a “European” or “North American

   “bank[]” or “corporation[]” “aggressively compet[ed] to service illegal capital flight,” it

   confirmed the “widespread” “perception” that “the West [was] not serious about its anti-money

   laundering programs, preferring instead to” “profit from the combined flows” of dirty money

   cycling through it.431 “Thus,” according to Mr. Baker, “illegal capital flight” aided by European

   and American banks or money remitters “remove[d] anti-money-laundering efforts as an

   effective instrument in the fight against … terrorism” and “thereby weaken[ed] the ability to

   prevail” against the “perilous threat[]” posted by terrorism “to our societies.”432

               I.     Defendants Knew Of The Close Link Between Narcotics-Related
                      Transactions And Syndicate Violence

               1006. Based on all the media reports cited herein, Defendants knew of the close linkage

   between their narcotics-related transactions and Syndicate violence.

               1007. Defendants knew that Congress statutorily codified its recognition of the close

   linkage between narco-trafficking and terrorism committed by al-Qaeda in 2006, when Congress




   431
      Raymond W. Baker, Illegal Flight Capital Dangers for Global Stability, International Politik,
   no. 6 (2000), translated and quoted in D’Souza, Terrorist Financing, at 42.
   432
         Id.


                                                     321
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 337 of 606 PageID #: 337




   amended the Patriot Act to create a new felony offense for aiding the narcotics trafficking

   activities of an FTO.433

             1008. Moreover, in February 2011, the U.S. government publicly announced that the

   terrorist organization Lebanese Hezbollah had masterminded a long-term money laundering

   scheme that leveraged a foreign bank (Lebanese Canadian Bank) that used its New York branch

   to help a terrorist group launder drug money to support terrorist operations in the Middle East.

   This garnered major international media coverage and further alerted each Defendant to the

   foreseeable link between their provision of U.S.-linked financial services to a narco-terrorist and

   anti-American violence.

             1009. The Russian Mafia nexus further alerted Defendants to the violent nature for the

   crimes they were aiding. Defendants knew of the widespread understanding in the business,

   financial, diplomatic, media, and academic communities, of the fusion between illicit activities in

   the Russian financial services marketplace and Syndicate terrorist attacks against Americans in

   Afghanistan. For example, as Ms. Belton recounted, “in the wake of the [9/11] attacks, the focus

   was on counter-terrorism[,] … especially now that Russia [began] to convince the West of the

   links between Chechen rebels and [al-Qaeda],” which highlighted the fusion between Russian-

   related “counter-terrorism” and the Syndicate terrorist threat to Americans “in Afghanistan.”434

             1010. From 2001 through 2016, Defendants knew that widely reported public

   statements by Pakistani and Russian officials confirmed the inseparable link between

   transnational crime, including the Afghanistan-to-Russia opium pipeline, and terrorist attacks.




   433
      USA PATRIOT Improvement and Reauthorization Act of 2005 § 122, 21 U.S.C. § 960a
   (2006).
   434
         Belton at 278.


                                                   322
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 338 of 606 PageID #: 338




             1011. From the late 1990s through 2016, Defendants knew that the Russian Mafia were

   notorious for their opium joint venture with, and weapons sales to, al-Qaeda and the Taliban

   (including its Haqqani Network). For example, Defendants knew that a member of the Russian

   Duma publicly accused Mogilevich of selling tanks, armored personnel carriers, and light aircraft

   to Taliban terrorists in Afghanistan and al-Qaeda terrorists in Chechnya, which generated a wave

   of media coverage a few months after 9/11. Similarly, Defendants knew that Mogilevich and the

   Russian Mafia organized and hosted a secret summit in 2004 with al-Qaeda in eastern Europe,

   which leaked to the media and produced another wave of stories documenting al-Qaeda’s close

   partnership with the Russian Mafia.

             1012. When Defendants deliberately enabled transactions that they knew directly or

   indirectly aided the Syndicate-Russian Mafia Opium Joint Venture, Defendants assumed a role

   in an enterprise they understood to be laced with violence. As Tom Wainwright explained in his

   book analyzing narco-terrorist cartel theory and practice, because cartels like the Syndicate and

   Russian Mafia cannot take their breach of contract claims to court, “[t]he one way that criminal

   organizations can enforce contracts is with violence, which is why a capacity to intimidate and

   kill is at the heart of any drug cartel’s success.”435 Defendants therefore knew that the narcotics-

   related transactions they directly or indirectly aided went “hand in hand” with “violence”

   “because the use of force, or at least the threat of it, is the only way that drug cartels have of

   enforcing contracts.”436




   435
         Tom Wainwright, Narco-Nomics: How to Run a Drug Cartel 55 (Public Affairs Press 2016).
   436
         Tom Wainwright, Narco-Nomics: How to Run a Drug Cartel 70 (Public Affairs Press 2016).


                                                    323
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 339 of 606 PageID #: 339




             J.     Defendants Knew Of Al-Qaeda’s Role

             1013. In addition to Defendants’ general knowledge that al-Qaeda sponsored CAN

   fertilizer bomb attacks against Americans, Defendants also knew of al-Qaeda’s role in Taliban

   (including Haqqani Network) attacks in Afghanistan, given the topic’s wide coverage in

   mainstream media outlets. For example:

        On September 26, 2005, Newsweek reported that al-Qaeda was bringing instructors from Iraq
         to train the Taliban how to commit terrorist attacks against Americans.437
        On November 29, 2009, the Associated Press reported that a Pakistani official believed that
         al-Qaeda was likely providing the Taliban with “[t]he training to make, place and detonate”
         IEDs used to kill U.S. troops.438
        On April 30, 2012, the Guardian reported: “Anyone who follows the wars in Afghanistan
         and Pakistan closely knows that, despite the talk of diminished al-Qaida numbers on the
         ground, its activists and affiliates are heavily involved in the Taliban military campaign.”439

             1014. Given Defendants’ sophistication, they were aware of reports like these, and their

   substance, which documented that the Taliban (including Haqqani Network) attacks Defendants

   were funding was supported in substantial part by al-Qaeda.

   VI.       EACH DEFENDANT KNEW THEY WERE AIDING THE SYNDICATE’S
             CAMPAIGN OF TERROR IN AFGHANISTAN

             A.     Deutsche Bank Knew It Was Aiding Terrorists

                    1.      Deutsche Bank Knew It Operated As A Criminal Enterprise And
                            Laundromat Until 2016

             1015. Deutsche Bank committed financial crime, facilitated terrorist finance, and

   laundered money consistently from the late 1980s through 2017.




   437
         Unholy Allies.
   438
      Kathy Gannon, Taliban Gains Money, al-Qaida Finances Recovering, Assoc. Press (June 20,
   2009).
   439
      Michael Semple, The Taliban Need Help to Break Their Al-Qaida Ties, The Guardian (Apr.
   30, 2012).


                                                     324
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 340 of 606 PageID #: 340




             1016. Former Deutsche Bank bankers have confirmed Deutsche Bank’s deliberate,

   massive criminality at the heart of the Bank’s “Russian Laundromat.” For example, “former

   Deutsche banker Roman Borisovich” stated on-the-record that Deutsche Bank’s Laundromat

   “was an industrial-scale operation.”440 The former Deutsche Bank banker said that Deutsche

   Bank’s financial services were designed for criminal use:

             To the former senior Deutsche banker, the mirror-trade scheme … did not look
             like an operation aimed at avoiding taxes or customs, but like a scheme to create
             stashes of black cash … By means of a process known as obnalichivaniye, cash
             from company books was converted into untraceable black cash. … [S]aid the
             [former Deutsche] banker, ‘obnalichivaniye … is only needed by criminals …441

             1017. “Deutsche Bank is a symbol of corporate recidivism: It has paid more than $9

   billion in fines since 2008 related to a litany of alleged and admitted financial crimes and other

   transgressions, including manipulating interest rates, failing to prevent money laundering,

   evading sanctions on Iran … and engaging in fraud in the run-up to the financial crisis.”442

             1018. Mr. Enrich concluded that “Deutsche’s mile-long rap sheet” “reflect[ed]” “on the

   institution and” “its endless cutting of corners and hostility to the rule of law.”443 Since 2010:

   Date             Regulator DB              Quote from Regulator
                              Payment
   1/8/2021         DOJ       $130M           “Deutsche Bank engaged in a criminal scheme to
                                              conceal payments444 to so-called consultants worldwide
                                              who served as conduits for bribes to foreign officials …
                                              so that they could unfairly obtain and retain lucrative
                                              business projects[.]”




   440
         Belton at 407.
   441
         Id. at 407-08.
   442
     James B. Stewart, These Are the Deutsche Bank Executives Responsible for Serving Jeffrey
   Epstein, International New York Times (July 20, 2020), 2020 WLNR 20112125.
   443
         Enrich, Dark Towers, at 360.
   444
         All emphases in this table are supplied.


                                                    325
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 341 of 606 PageID #: 341




   Date        Regulator DB         Quote from Regulator
                         Payment
   1/8/2021    SEC       $120M      “Deutsche Bank [made]” “approximately $7 million in
                                    bribe payments or payments for unknown,
                                    undocumented, or unauthorized services” “[that]
                                    involved invoices and documentation falsified by
                                    Deutsche Bank employees.”
   9/9/2020    OFAC      $583,100   “DBTCA” “agreed to pay $157,500 for processing a
                                    large payment ... through the United States that involved
                                    a property interest of a designated oil company in
                                    Cyprus” and” “agreed to remit $425,600 for processing
                                    payments destined for accounts at a designated
                                    financial institution.”
   7/7/2020    NYDFS     $150M      “Deutsche Bank failed to adequately monitor the
                                    activity of customers that the Bank itself deemed to be
                                    high risk. In the case of Jeffrey Epstein in particular,
                                    despite knowing Mr. Epstein’s terrible criminal history,
                                    the Bank inexcusably failed to detect or prevent
                                    millions of dollars of suspicious transactions.”
   8/22/2019   SEC       $16M       “Deutsche Bank employees created false books and
                                    records that concealed corrupt hiring practices and
                                    failed to accurately document and record certain related
                                    expenses.”
   6/20/2018   NYDFS     $205M      “[I]n some instances, [Deutsche Bank] supervisors
                                    engag[ed] in improper activity, [and] certain traders and
                                    salespeople repeatedly abused the trust of their
                                    customers and violated New York State law over the
                                    course of many years[.]”
   5/26/2017   Federal   $41M       “Deficiencies in [DBTCA’s] transaction monitoring
               Reserve              capabilities prevented DBTCA from properly assessing
                                    BSA/AML risk for billions of dollars in potentially
                                    suspicious transactions processed between 2011 and
                                    2015 for certain DBTCA affiliates in Europe for which
                                    the affiliates failed to provide sufficiently accurate and
                                    complete information.”
   1/30/2017   NYDFS     $425M      “The evidence is clear that DB-Moscow traders
                                    knowingly and actively facilitated both of these [i.e.,
                                    “mirror trade” and “one-legged trade”] trading
                                    schemes.”
   1/17/2017   DOJ       $7.2B      “Deutsche Bank did not merely mislead investors: it
                                    contributed directly to an international financial
                                    crisis.”



                                           326
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 342 of 606 PageID #: 342




   Date           Regulator DB              Quote from Regulator
                            Payment
   1/4/2017       DOJ       $95M            “Using a web of shell companies and series of
                                            calculated transactions, Deutsche Bank sought to escape
                                            liability for tens of millions of dollars in taxes.”
   10/12/2016     SEC          $9.5M        “Deutsche Bank … failed to properly preserve and
                                            provide certain electronic records sought by the SEC
                                            during its investigation.”
   11/24/2015     DOJ          $31M         “Deutsche Bank Suisse offered a variety of services and
                                            permitted some practices that it knew could and did
                                            assist U.S. taxpayers in concealing assets and income
                                            from the IRS.”
   11/4/2015      Federal      $58M         “[Deutsche Bank AG] did not have sufficient policies
                  Reserve                   and procedures to ensure that activities conducted at its
                                            offices outside of the United States complied with U.S.
                                            sanctions laws.”
   11/4/2015      NYDFS        $258M        “Deutsche Bank used non-transparent methods and
                                            practices to conduct more than 27,200 U.S. dollar
                                            clearing transactions valued at over $10.86 billion on
                                            behalf of Iranian, Libyan, Syrian, Burmese, and
                                            Sudanese financial institutions and other entities subject
                                            to U.S. economic sanctions, including entities on the
                                            [SDN List].”
   4/23/2015      CFTC         $800M        “Deutsche Bank routinely engaged in acts of …
                                            attempted manipulation and, at times, succeeded in
                                            manipulating” “interest rate benchmarks critical to the
                                            U.S. and global financial markets.”
   4/23/2015      DOJ          $775M        “Deutsche Bank [...] admitted its role in manipulating
                                            LIBOR and participating in a price-fixing conspiracy
                                            … by rigging [] LIBOR contributions with other banks.”
   12/21/2010     DOJ          $550M        “Deutsche Bank AG” “admitted criminal wrongdoing
                                            [and] its participation in financial transactions which
                                            furthered fraudulent tax shelters that generated billions
                                            of dollars in U.S. tax losses.”

          1019. Indeed, in 2017 NYDFS entered a Consent Order which noted Deutsche Bank’s

   “substantial history of regulatory violations over the last decade - one that placed it squarely on

   notice of the need to address potential compliance issues” and stated that Deutsche Bank’s then-




                                                   327
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 343 of 606 PageID #: 343




   relevant criminal acts from 2011 to 2015, “occurred after the Bank was on clear notice of

   serious and widespread compliance issues dating back a decade.”445

            1020. On or about February 2019, two FBI agents met with a witness in DOJ’s ongoing

   criminal investigation of Deutsche Bank. As recounted by Mr. Enrich,

            [The FBI] … had started out investigating Deutsche’s money laundering in
            Russia—the notorious mirror trades—but they had widened their scope to focus
            on an array of potential criminality at the bank. … The [FBI] agents didn’t think
            the crimes that occurred throughout the bank were the work of lone low-level
            employees—they suspected that this was a product of a culture of criminality
            that pervaded Deutsche. Tim Wiswell—Wiz, the supposed mastermind of the
            mirror trades—appeared to be a “fall guy,” a “scapegoat,” they explained. …
            “What we’ve been up against is stonewalling,” [an agent told the witness].
            “Clearly things went on in Deutsche Bank which weren’t kosher. What we’re up
            against is all those bad acts are being pushed down on the little people on the
            bottom.” … “And the larger bank in its entirety is claiming ignorance and that it’s
            one bad player. But we know what we’ve seen, it’s a culture. …”446

   On information and belief, the FBI concluded that Deutsche Bank had engaged in pervasive

   criminality, enabled by a culture of willful blindness and criminality throughout all elements of

   the institution, including its leadership ranks.

            1021. On information and belief, the Department of Justice’s criminal investigation of

   Deutsche Bank remains ongoing and has expanded far beyond the Bank’s “Russian Laundromat”

   to include a broader investigation of Deutsche Bank’s programmatic terrorist finance and money

   laundering, among other crimes.

            1022. Deutsche Bank knew, as it is commonly understood, that a financial institution

   could not serve as a Laundromat without inevitably enabling terrorist finance. As Deutsche

   Bank’s former CEO, Josef Ackermann, previously admitted, the Bank understood at all relevant

   times that “[i]f we even begin to allow gray zones” – e.g., by providing Laundromat services in


   445
         NYDFS 2017 Consent Order ¶¶ 61, 65 (emphasis supplied)
   446
         Enrich, Dark Towers, at 358-59 (emphasis added).


                                                      328
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 344 of 606 PageID #: 344




   high-terrorist-finance-risk jurisdictions – the consequences from the foreseeable crimes that

   would follow, e.g., Syndicate terrorist finance, would “all become[] uncontrollable.”

             1023. Deutsche Bank and DB Moscow reportedly used corrupt means to win business

   after its revenues dropped in the aftermath of the 2008 financial crisis. Corrupt practices were at

   times “blessed by top executives in Moscow and London.”447

             1024. In a stark admission, as the term itself connotes criminality in the financial

   services industry, Deutsche Bank has described its practices as a “Laundromat” and a “Russian

   Laundromat.” A broad array of independent observers agreed with Deutsche Bank’s self-

   evaluation.

             1025. On or about February 2019, two FBI agents met with a witness in DOJ’s ongoing

   criminal investigation of Deutsche Bank. As recounted by Mr. Enrich,

             [The FBI] … had started out investigating Deutsche’s money laundering in
             Russia—the notorious mirror trades—but they had widened their scope to focus
             on an array of potential criminality at the bank. … The [FBI] agents didn’t think
             the crimes that occurred throughout the bank were the work of lone low-level
             employees—they suspected that this was a product of a culture of criminality
             that pervaded Deutsche. Tim Wiswell—Wiz, the supposed mastermind of the
             mirror trades—appeared to be a “fall guy,” a “scapegoat,” they explained. …
             “What we’ve been up against is stonewalling,” [an agent told the witness].
             “Clearly things went on in Deutsche Bank which weren’t kosher. What we’re up
             against is all those bad acts are being pushed down on the little people on the
             bottom.” … “And the larger bank in its entirety is claiming ignorance and that it’s
             one bad player. But we know what we’ve seen, it’s a culture. …”448

   On information and belief, the FBI concluded that Deutsche Bank had engaged in pervasive

   criminality, enabled by a culture of willful blindness and criminality throughout all elements of

   the institution, including its leadership ranks.




   447
         Enrich, Dark Towers, at 196.
   448
         Enrich, Dark Towers, at 358-59 (emphasis added).


                                                      329
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 345 of 606 PageID #: 345




             1026. On information and belief, the Department of Justice’s criminal investigation of

   Deutsche Bank remains ongoing and has expanded far beyond the Bank’s “Russian

   Laundromat,” to include a broader investigation of Deutsche Bank’s programmatic terrorist

   finance and money laundering, among other crimes.

             1027. Deutsche Bank knew, as it is commonly understood, that a financial institution

   could not serve as a Laundromat without inevitably enabling terrorist finance. As Deutsche

   Bank’s former CEO, Josef Ackermann, previously admitted, the Bank understood at all relevant

   times that “[i]f we even begin to allow gray zones” – e.g., by providing Laundromat services in

   high-terrorist-finance-risk jurisdictions – the consequences from the foreseeable crimes that

   would follow, e.g., Syndicate terrorist finance, would “all become[] uncontrollable.”

             1028. Deutsche Bank and DB Moscow reportedly used corrupt means to win business

   after its revenues dropped in the aftermath of the 2008 financial crisis. Corrupt practices were at

   times “blessed by top executives in Moscow and London.”449

             1029. In a stark admission, as the term itself connotes criminality in the financial

   services industry, Deutsche Bank has described its practices as a “Laundromat” and a “Russian

   Laundromat.” An array of independent observers agree with Deutsche Bank’s self-evaluation.

             1030. Deutsche Bank also regularly acted in a manner consistent with its illicit

   Laundromat scheme. Deutsche Bank therefore consciously chose to serve as a Laundromat for

   terrorist financiers and money launderers and knew that it played that role for terrorists.

             1031. Deutsche Bank’s Strategy to Solicit “Damaged Clients.” Deutsche Bank

   historically solicited business from clients that it believed to pose an elevated risk of financial

   crime, including terrorist finance. It therefore consciously chose to serve a Laundromat to such



   449
         Enrich, Dark Towers, at 196.


                                                     330
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 346 of 606 PageID #: 346




   customers. “To differentiate itself from a crowded field of competitors,” Mr. Enrich reported,

   “Deutsche planned to do deals that were too risky … for rival banks to stomach. ‘Deutsche

   needs damaged clients,’ one [Bank employee] would explain.”450

             1032. On information and belief, Deutsche Bank rarely, if ever, proactively terminated

   any then-existing lucrative customer relationship – even for its “damaged clients” – based on

   terrorist finance and money laundering risk at any point in time without some external prompt

   from a government or the media prior to on or about 2016. Simply put, before 2016, Deutsche

   Bank would deliberately bank with anyone and everyone – including terrorists – and continue

   doing so until they got caught, after which time the Bank would cut ties, feign ignorance, and

   thereby sustain its Laundromat scheme.

             1033. Deutsche Bank’s Correspondent Account Revenue Decline. After every

   Plaintiff was injured, Deutsche Bank started taking counter-terrorist finance seriously, and its

   correspondent account business rapidly fell apart, plunging by approximately forty percent

   (40%) over only a few years. Prior to 2016, a substantial portion of Deutsche Bank’s

   correspondent banking services was used by criminals and money launderers and facilitated

   terrorist finance. Once Deutsche Bank began ending customer relationships with suspected

   terrorist financiers and money launderers, it became substantially less profitable – which

   demonstrates what Deutsche Bank was profiting from previously. Deutsche Bank knows why

   the revenue declined once they acted responsibly and knew it would so decline. Like an inside

   trader whose portfolio plummeted once he decides to play by the rules, one may infer from the

   change that a large percentage of Deutsche Bank’s customers were suspect. While that 40%




   450
         Enrich, Dark Towers, at 170 (emphasis added).


                                                   331
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 347 of 606 PageID #: 347




   figure would be shocking for a respectable global financial institution, for a Laundromat like

   Deutsche Bank, it merely reflected that it had washed money well for a very long time.

          1034. Deutsche Bank’s Coordination with VTB. The “frequent consultations”

   between Deutsche Bank’s CEO and the Russian financial institution VTB’s CEO from the early

   2000s through at least 2012 is another strong indicator that Deutsche Bank operated as a

   Laundromat rather than a responsible global financial institution. According to Ms. Belton, by

   2011, “Mr. Ackermann, “the then Deutsche Bank chief,” “frequently consulted” the CEO of

   VTB.451 VTB was, and is, an infamous front for terrorist finance and money laundering, and

   “VTB’s Cyprus subsidiary was notorious among bankers for being a funnel for kickbacks.”452

   VTB’s reputation,” however, “did little to dampen” Deutsche Bank’s “enthusiasm” for doing

   business with it because Deutsche Bank was “[e]nticed by the billions of dollars in deals that

   were sloshing around … [in] Moscow.”453 Deutsche Bank knew what it was doing: It was

   operating a Laundromat. And consultations with VTB were just part and parcel to that business.

          1035. Deutsche Bank Routinely Retaliated Against Whistleblowers. Deutsche

   Bank’s pattern and practice of using intimidation and retaliation tactics to deter and defeat

   whistleblowers is further indication of its status as a Laundromat, not a responsible global

   financial institution, and that Deutsche Bank understood its role in transnational crime. For

   example, on or about 2016, Deutsche Bank retaliated against a DBTCA employee who raised

   compliance concerns relating to a transaction involving Russians (“Deutsche Bank

   Whistleblower 1”). Deutsche Bank retaliated against Deutsche Bank Whistleblower 1 and

   ignored the (correct) compliance advice she/he had provided.


   451
       Belton, Putin’s People, at 479.
   452
       Belton, Putin’s People, at 398.
   453
       Belton, Putin’s People, at 360.


                                                   332
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 348 of 606 PageID #: 348




             1036. Deutsche Bank’s pervasive retaliation against terrorist finance whistleblowers is a

   powerful indicator of its deliberate and knowing aid to terrorist financiers like Altaf Khanani.

   For example, in a 2019 report, the European Parliament stated that “[t]he European Parliament

   … [w]orrie[d] that whistle-blowers [were] often discouraged from reporting their [terrorist

   finance] concerns for fear of retaliation and that if retaliation [was] not discouraged and

   remain[ed] unpunished, potential whistle-blowers [could] be dissuaded from reporting their …

   suspicions of money laundering or terrorist financing internally within the company or to

   [relevant financial crime law enforcement regulator].”454

             1037. Deutsche Bank’s Efforts to Deter Frank Discussions in Writing. The evidence

   that Deutsche Bank tried to intimidate employees into not memorializing certain of their business

   practices further evidences that Deutsche Bank knew it was operating a Laundromat rather than a

   legitimate global financial institution. For example, in May 2014, Deutsche Bank executive

   Colin Fan filmed a video,455 that offered an “implicit admission that misconduct was rampant

   inside [Deutsche Bank].”456 In the video, Mr. Fan stated:

             This is an important message. You need to pay close attention. It’s about how
             you communicate in this company. You may not realize it, but right now,
             because of regulatory scrutiny, all your communications may be reviewed. This
             includes your emails, your conversations and your conduct. All of this is open to
             scrutiny. [After the camera zoomed in for a tighter shot of Mr. Fan’s face and
             shoulders] Some of you are falling waaaaaaay short of our established standards.
             Let’s be clear: Our reputation is everything. Being boastful, indiscreet, and
             vulgar is not okay. It will have serious consequences for your career. And I have
             lost patience on this issue. Communications that run even a small risk of being
             seen as unprofessional must stop. Right now. I need you to exercise good sense




   454
         European Parliament Report.
   455
       The video remains online at https://www.mirror.co.uk/news/world-news/video-watch-top-
   bank-boss-3551810.
   456
       Enrich, Dark Towers, at 239-40.


                                                    333
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 349 of 606 PageID #: 349




             and sound judgment. Think carefully about what you say and how you say it. If
             not, it will have serious consequences for you personally.457

             1038. Mr. Fan’s video was an attempt by Deutsche Bank to protect its Laundromat

   which, because it was used by criminals for money laundering and assisted those who wanted to

   commit financial crimes, Deutsche Bank knew and understood required secrecy. As Mr. Enrich

   reported, the most plausible interpretation of Mr. Fan’s message is that he wanted his

   subordinates to stop memorializing Deutsche Bank’s Laundromat activities in writing.458

             1039. Deutsche Bank’s Built-to-Fail Compliance System. Deutsche Bank’s

   deliberately “built-to-fail” compliance system further corroborates its operation as a Laundromat

   rather than a legitimate global bank, and Deutsche Bank’s knowledge that it was doing so. As

   Mr. Enrich noted, “[a] German judge would later find that” financial crimes at Deutsche Bank

   were “enabled by the ‘risk-affirming climate’ that dominated Deutsche. Internal safeguards,

   such as a tough compliance squad … were strangely absent.”459

             1040. Indeed, Deutsche Bank regularly instructed its American compliance personnel in

   Jacksonville to stop highlighting obvious instances of potential terrorist finance and money

   laundering. As Mr. Enrich recounted, “[o]ne employee would recount how she was instructed to

   stop highlighting transactions involving companies exposed in the massive leak known as the

   Panama Papers. Another was told to pipe down when protesting a transaction in which money

   was wired to a prominent sanctioned Russian.”460 Because Deutsche Bank minimized if not


   457
         Enrich, Dark Towers, at 239-40.
   458
       Enrich, Dark Towers, at 239-40. Moreover, as Mr. Enrich recounted, Mr. Fan’s “deadpan
   delivery” was notable, it appeared he was “barely managing to suppress a smirk,” and his “focus
   on addressing communications about bad behavior, rather than the bad behavior itself,” was also
   highly telling. Id. at 240.
   459
       Id. at 151 (emphasis added).
   460
         Id. at 341.


                                                  334
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 350 of 606 PageID #: 350




   avoided compliance, it knew it was operating an illicit Laundromat, and it knew that it was

   laundering money for criminals and terrorists.

             1041. Deutsche Bank’s Practice of Obstruction. To further conceal its Laundromat

   activities, Deutsche Bank and its personnel regularly followed the same obstruction playbook,

   even when Bank personnel were “considered incriminated,” such as the notorious time that a

   senior Bank executive, when being interviewed by German regulators, “did not deviate an inch

   from the line that Anshu Jain and all the others had toed for years: if there was trouble with

   authorities, do not admit to anything, and if in doubt, do not remember anything.”

             1042. Deutsche Bank’s Practice of Obstruction. To further conceal its Laundromat

   activities, Deutsche Bank and its personnel regularly followed the same obstruction playbook,

   even when Bank personnel were “considered incriminated,” such as the notorious time that a

   senior Bank executive, when being interviewed by German regulators, “did not deviate an inch

   from the line that Anshu Jain and all the others had toed for years: if there was trouble with

   authorities, do not admit to anything, and if in doubt, do not remember anything.”461 Under this

   coached strategy of obstruction, according to Mr. Laabs, Deutsche Bank and its personnel could

   always claim that “[t]here would be a lot to do, a lot to read, a lot to write, one was too important

   to take care of every detail, and so on and so forth” as a means of creating the plausible

   deniability that facilitated the operation of the Laundromat in the first instance.462




   461
         Laabs, Bad Bank, at 506 (translated by Plaintiffs) (emphasis added).
   462
         Id. (translated by Plaintiffs) (emphasis added).


                                                      335
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 351 of 606 PageID #: 351




                  2.     Deutsche Bank Knew Terrorists Could Foreseeably Benefit From Its
                         Russian Laundromat Because It Knew The Laundromat Was
                         Designed By The Same Russian Mafia Organization That Notoriously
                         Laundered Opium Money For Al-Qaeda And Its Allies

          1043. While it was “based in Germany, … Deutsche Bank” had substantial “ties to” “the

   Russian mob.”463 Deutsche Bank knew both that it serviced the Russian Mafia and that it was

   known for doing so. Deutsche Bank shared the Russian Mafia’s view that their partnership was

   financially worthwhile and has knowingly, or with general awareness, served as the Russian

   Mafia’s preferred global financial institution for decades, doing so until on or about 2018, when

   Deutsche Bank finally committed to abandoning its Laundromat model and willingness to serve

   suspected Russian Mafia-affiliated customers.

          1044. In February 2011, Russian police raided DB Moscow’s offices based upon

   information that DB Moscow facilitated Russian-Mafia-related transactions. This didn’t deter

   Deutsche Bank. By 2011, Deutsche Bank’s criminal partnership with the Russian Mafia was in

   full bloom: within weeks of the Russian police raid on DB Moscow’s office on suspicions it was

   serving the Russian Mafia, events proved them correct. At an in-person meeting, DB Moscow,

   through Mr. Wiswell, planned the Russian Laundromat with two or more persons whom DB

   Moscow knew, or was generally aware, attended in their capacities as operatives and/or agent for

   Semyon Mogilevich and the Russian Mafia;464 DB Moscow also knew, or was generally aware,

   that Mogilevich and his Russian Mafia organization were responsible for executing an infamous


   463
     Wade Sikorski, Guest Post: Making Russia Great Again, Montana Post (Feb. 12, 2017), 2017
   WLNR 4537693.
   464
      According to Ms. Belton, the Russian “shadow bankers” who “invented the Moldovan
   Laundromat and [Deutsche Bank’s] mirror trade schemes” were “linked to the same [Russian]
   mob” network that was behind the Bank of New York Laundromat, i.e., Semyon Mogilevich.
   Belton at 459. According to Juan C. Zarate, “[t]he business of money was a serious and
   dangerous game in Russia, and it needed to be handled by someone with access and credibility.”
   Zarate, Treasury’s War, at 160.


                                                   336
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 352 of 606 PageID #: 352




   prior $10 billion U.S. Dollar Laundromat scheme that the Russian Mafia and the BNY jointly

   operated in the late 1990s. Plaintiffs refer to this as the “2011 Meeting.”

          1045. During the 2011 Meeting, the Russian Mafia advised Deutsche Bank, through Mr.

   Wiswell, that a group of Russian businessmen – whom Deutsche Bank, through Mr. Wiswell,

   knew to be associated with the Russian Mafia – wanted to use Deutsche Bank to execute so-

   called “envelope” trades, sometimes called “Konvert” trades in Russian, which was a form of

   “mirror trade” and would become the root of Deutsche Bank’s Russian Laundromat.

          1046. During the 2011 Meeting, the Russian Mafia advised Deutsche Bank, through Mr.

   Wiswell, that the purpose of the proposed scheme was criminal in nature, as the scheme was

   purpose-built to appeal to Russian customers – whom Deutsche Bank knew already posed an

   exceptional terrorist finance risk – who sought to evade the then-recent Russian government

   crackdown on money launderers by moving income earned inside of Russia out of the country,

   usually changing the currency to U.S. Dollars, through “mirror trades.”

          1047. During the 2011 Meeting, the Russian Mafia advised Deutsche Bank, through Mr.

   Wiswell, that the Bank could seize an enormous new, and lucrative, market in Russia by

   servicing Russian money launderer customers who sought to illicitly move money outside of

   Russia through “mirror trades” in response to the new market for such services that was created

   by the Russian government’s crackdown.

          1048. During the 2011 Meeting, the Russian Mafia advised Deutsche Bank that its

   proposed scheme was based on a similar approach the Russian Mafia had used in the past with

   Bank of New York and other financial institutions and represented a “well established” financial

   crime strategy that had “proven itself over the years.”




                                                   337
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 353 of 606 PageID #: 353




          1049. During the 2011 Meeting, the Russian Mafia advised Deutsche Bank, through Mr.

   Wiswell, that it would be preferable if DB Moscow could serve as an agent for DB New York

   (including DBTCA) and DB London, to execute U.S.-linked “mirror trades” pursuant to the

   scheme and ensure Deutsche Bank’s full support through every necessary international branch,

   including in the United States.

          1050. During the 2011 Meeting, Deutsche Bank (via Mr. Wiswell) advised the Russian

   Mafia that Deutsche Bank agreed to provide the services requested by the Russian Mafia,

   including the “mirror trade” outlined in the meeting, and including using DB Moscow as an

   agent to complete the trades and route them through DBTCA and DB London.

          1051. After the 2011 Meeting, Deutsche Bank, led by DB Moscow and Mr. Wiswell,

   created and deployed the Russian Laundromat, per the directions of the Russian Mafia. When

   Deutsche Bank dealt with the Russian Mafia and built and deployed the Russian Laundromat, it

   knew that it was participating in a criminal enterprise. Deutsche Bank also knew it was aiding

   terrorists because it knew the Russian Mafia laundered money for al-Qaeda and its Syndicate,

   and because it knew laundering money on massive scale will inevitably finance terrorism.

          1052. Deutsche Bank, DBTCA, and DB London, through DB Moscow as their agent,

   also provided the Russian Mafia information concerning Deutsche Bank’s anti-money-

   laundering and counter-terrorist-finance controls. This was done to enable terrorists to better

   conceal the millions of U.S. Dollar-denominated terrorist funds Syndicate operatives and agents,

   including Khanani and the Russian Mafia, transferred via Deutsche Bank’s Laundromat from

   New York to Syndicate-controlled accounts.

          1053. During the 2011 Meeting, DB Moscow represented Deutsche Bank, DB London,

   and DB New York (including DBTCA) as their agent. As agent, DB Moscow’s actions and




                                                  338
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 354 of 606 PageID #: 354




   knowledge were imputed to Deutsche Bank, DB London, and DB New York (including

   DBTCA), which were at all times the principal in their relationship with DB Moscow.

             1054. After the 2011 Meeting, DB Moscow continued representing Deutsche Bank, DB

   London, and DB New York (including DBTCA) as their agent and executed every Syndicate

   terrorist finance transaction through Deutsche Bank’s “Russian Laundromat.”

             1055. DB Moscow served as an agent for each identified Deutsche Bank entity and had

   the authority to execute agreements and trades on behalf of each of them. Mr. Wiswell’s

   conduct, though criminal and wrongful, was entirely consistent with what Deutsche Bank wanted

   and expected from Mr. Wiswell, and they encouraged him because Mr. Wiswell generated

   enormous profits for Deutsche Bank through the criminal scheme. Deutsche Bank only had a

   problem with Mr. Wiswell after the Bank’s “Russian Laundromat” was exposed and it could no

   longer deny or downplay the potential transnational criminal investigation and liability for it and

   its executives and employees.

             1056. NYDFS concluded that DB Moscow was Deutsche Bank’s agent. NYDFS

   concluded that the Deutsche Bank traders who operated the Bank’s Russian Laundromat had

   been authorized by DB London and DB New York (including DBTCA) to use a Deutsche

   Bank’s “remote booking” function to execute the mirror trades on behalf of DB London and DB

   New York (including DBTCA) and “[t]he evidence is clear that DB-Moscow traders knowingly

   and actively facilitated both of these trading schemes:”465

             [M]ost of the subject trades were placed by a single trader representing both sides
             of the transaction. The DB-Moscow trader would execute the sell side of the
             trade, helping the suspicious Russian counterparty acquire Russian securities,
             settled in rubles. The same DB-Moscow trader then would buy the identical
             quantity of the same stock from DB-London's customer as an over-the-counter
             trade, settled in U.S. dollars. The DB-Moscow trader would directly book the

   465
         2017 Consent Order ¶ 20.


                                                    339
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 355 of 606 PageID #: 355




             trade to the DB-London trading book via a remote booking function. This
             “remote-booking” feature was central to the scheme, permitting the Moscow
             traders to carry out the mirror trades without any effective supervision or
             compliance review in London. This way, the scheme stayed under the radar.466

             1057. Deutsche Bank was the but-for and proximate cause of the Russian Laundromat

   and all the resulting terrorist finance that coursed through Deutsche Bank’s Russian Laundromat

   to its Syndicate clients through their agents, including, but not limited to, Khanani and the

   Russian Mafia. As Mr. Enrich reported, Deutsche Bank, through DB Moscow, knew that

   “Deutsche was a crucial cog in the Laundromat.”467

             1058. While they were executing the trades that routed tens of millions of U.S. Dollars

   to al-Qaeda and the Taliban, through their agents (Khanani and the Russian Mafia), Deutsche

   Bank’s personnel internally described their terrorist finance scheme with the Russian Mafia as

   the Bank’s “Russian Laundromat” or its “Laundromat.”

             1059. While Deutsche Bank operated its Russian Laundromat, through DB Moscow,

   and permitted the Russian Mafia to capture a branch of a large global financial institution for

   years, “[O]rganized crime elements in Russia [] compromise[d] Deutsche Bank,” even though

   the Bank was “one of the largest financial institutions in the world.”468 When that happened,

   Deutsche Bank and DB Moscow transformed into a “sympathetic financial institution” – a

   terrorist finance concept referring to when a “financial institution” “[was] owned and operated

   by the terrorist organization or its closest supporters,” and was therefore “considered a form of



   466
         Id. ¶¶ 20-24.
   467
      Enrich, Dark Towers, at 197. Deutsche Bank pursued a Laundromat strategy, in which it
   willingly operated as a Laundromat for terrorist financiers. Deutsche Bank also purpose-built the
   Russian Laundromat, while serving as one of the key global financial institutions in every other
   Russian Mafia-related Laundromat, e.g.., the “Global Laundromat.”
   468
      Leon Wolf, quoted in ALL IN for July 19, 2017, MSNBC, MSNBC: All In with Chris Hayes
   (July 20, 2017), 2017 WLNR 22092010.


                                                   340
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 356 of 606 PageID #: 356




   internal resourcing” for the terrorists and/or their closest supporters. 469 Deutsche Bank knew it

   was a “sympathetic financial institution,” and knew that meant that its facilities were being used

   to launder money for terrorists and other criminals.

             1060. After the 2011 Meeting, DB Moscow continued to work closely with notorious

   Russian organized crime figures as they collaborated to it operationalize their shared “Russian

   Laundromat.” According to Ms. Belton, Ivan Myazin, a notorious Russian organized crime

   figure, “was the real mastermind of both the Moldovan Laundromat and the Deutsche Bank

   mirror-trading scheme. … Behind Myazin, however, there was another level that went” “to the

   top of … Russian organized crime,” i.e., Mogilevich and the Russian Mafia.470

             1061. Witnesses who attempted to expose Deutsche Bank’s “Russian Laundromat” were

   murdered. As Ms. Belton reported, “[t]he number of common denominators between all the

   schemes – [including] the Moldovan Laundromat and the mirror trades – were astonishing, and

   for one banker in the middle of it, they proved deadly. Alexander Perepelichny was [related to] a

   large placer of orders with Deutsche Bank Moscow in the mirror-trade scam. After he began

   sharing information with investigators about some of the transfers …, which he’d also

   participated in, he died of a heart attack in suspicious circumstances while jogging in a park near

   London.”471 On information and belief, Mr. Perepelichny was murdered to obstruct

   investigations seeking to expose Deutsche Bank’s “Russian Laundromat.”

             1062. From the moment Deutsche Bank, through DB Moscow, first co-designed the

   Russian Laundromat alongside its Russian Mafia customers, Deutsche Bank knew that vast




   469
         Vittori, Terrorist Financing, at 42.
   470
         Belton at 408.
   471
         Id. at 411.


                                                   341
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 357 of 606 PageID #: 357




   Russian Mafia-related financial crime was afoot through Deutsche’s Russian Laundromat, and

   necessarily, terrorist finance would flood through the Russian Mafia to its clients and decades-

   long Joint Venture partners: al-Qaeda and the Taliban.

             1063. When it operated its Russian Laundromat from 2011 through 2016, Deutsche

   Bank replicated substantial aspects of the same terrorist finance and money laundering scheme

   that the same Russian Mafia actors executed through Bank of New York in the late 1990s,

   which, on information and belief, also helped launder al-Qaeda and/or Taliban money.

             1064. As Mr. Laabs recounted, “[t]he two largest financial hubs in the West – New

   York and London – played an important role in the flow of [dirty] money [outside of Russia].”472

   “At the end of the 1990s, the Bank of New York … was one of the main channels” for flowing

   dirty money out of Russia.473 “From 2011 onwards, its neighbors, Deutsche Bank” “and its

   subsidiary Deutsche Bank Trust Company Americas, took over this task and pumped laundered,

   Russian money into the international financial cycle.”474

             1065. Semyon Mogilevich and the Russian Mafia have served as notorious agents for al-

   Qaeda and the Taliban since the 1990s. During that time, Mogilevich and the Russian Mafia

   helped to manage the financial system for the Syndicate and helped to launder al-Qaeda’s heroin

   revenue. Al-Qaeda and the Syndicate, in turn, used the much-needed U.S. Dollars laundered

   through Mogilevich and the Russian Mafia’s to commit acts of terrorism. Supra Part II.B.2.

             1066. Deutsche Bank and its personnel knew: (1) how money laundering schemes

   worked in general; (2) how the Russian Mafia’s laundering schemes worked in particular; and




   472
         Laabs, Bad Bank, at 462 (translated by Plaintiffs) (emphasis added).
   473
         Id. (translated by Plaintiffs) (emphasis added).
   474
         Id. (translated by Plaintiffs) (emphasis added).


                                                      342
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 358 of 606 PageID #: 358




   (3) the Russian Mafia’s general reputed relationships and sources of income—plainly, Deutsche

   Bank knew that the Russian Mafia partnered with al-Qaeda and the Taliban. Indeed, according

   to the Independent in 2008, “Taliban drug lords [were] using cash from Afghanistan’s bumper

   heroin crop to … to buy better anti-aircraft weapons” from “mafia networks in Russia” “to

   undermine [NATO’s] military advantage.”475

          1067. Deutsche Bank knew that the Russian Mafia would ordinarily integrate all the

   “dirty money” into common pools to make the scheme easier to execute, and as a consequence,

   Deutsche Bank knew that whenever it helped the Russian Mafia launder money, move money

   outside of Russia, or convert currency from Rubles to Dollars, it was directly doing the same for

   the Syndicate, because the Russian Mafia was acting as the Syndicate’s agent and was

   laundering the Syndicate’s money.

          1068. On information and belief, an internal Deutsche Bank report concluded, among

   other things, that: (1) Deutsche Bank operated as a “Laundromat” while servicing Russian Mafia,

   including Semyon Mogilevich, between 2011 and 2014; and (2) Deutsche Bank processed “at

   least €175 million” of “dirty money” for customers specifically affiliated with Semyon

   Mogilevich and/or the Russian Mafia between 2011 and 2014.

                  3.     Deutsche Bank Knew Its Clients Were Engaged In Money
                         Laundering, VAT Fraud, And Capital Flight, Which Deutsche Bank
                         Knew Were Red Flags For Terrorist Finance

          1069. Deutsche Bank knew its clients were engaged conduct that raised terrorist finance

   red flags because Deutsche Bank knew that its clients were engaged in in money laundering,

   VAT fraud, and capital flight, while operating out of, or otherwise related to, one or more




   475
     Jerome Starkey, Warlords Using Heroin Cash To Buy Surface-To-Air Missiles, Independent
   (April 4, 2008), 2008 WLNR 6353571.


                                                  343
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 359 of 606 PageID #: 359




   jurisdictions that Deutsche Bank knew to be a high risk for al-Qaeda and/or Haqqani Network

   terrorist finance activity.

             1070. Deutsche Bank’s knew that potential terrorist finance was afoot when it executed

   Azizi’s and Ahmed’s VAT fraud schemes. When a Deutsche Bank employee emailed a

   compliance officer to alert the Bank that its “[t]he CO2 market” “[was] showing typical

   characteristics of a sales tax carousel,” a bright red flag for al-Qaeda and Haqqani Network

   terrorist finance. When Deutsche Bank’s compliance officer replied that “[t]he measures taken”

   to paper over the trades were “sufficient to document our duty of care in the event of a claim.”

             1071. Many Deutsche Bank executives and employees, including personnel at DB

   London and DB New York (including DBTCA) knew that Deutsche Bank’s Russian Laundromat

   executed many transactions that made no economic sense, which is a terrorist finance red flag.

   As Mr. Laabs recounted, “[i]n principle,” “the transactions were not illegal, provided they served

   an economic purpose and the customers had a sound reputation.”476

             But the men who had approached Tim Wiswell made a small loss on every
             transaction, as they had to pay a fee to the bank for buying and selling shares.
             Consequently, the deal made no economic sense. In addition, the new customers
             did not correspond at all to what a bank generally imagines a solid business
             partner to be. At the Moscow branch, Wiswell was tasked with overseeing the
             stock deals of the unusual customers, keeping his superiors happy, and making
             sure that, on paper, it seemed like the new Russian customers had been
             thoroughly scrutinized.477

             1072. Chris Barter served as the CEO of Goldman Sachs Moscow when Deutsche Bank

   operated its Russian Laundromat and publicly confirmed Deutsche Bank’s prior knowledge of

   likely criminal activity when Deutsche Bank partnered with the Russian Mafia to create the

   Russian Laundromat. As investigative journalist Luke Harding summarized:


   476
         Laabs, Bad Bank, at 464 (translated by Plaintiffs) (emphasis added).
   477
         Id. (translated by Plaintiffs) (emphasis added).


                                                      344
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 360 of 606 PageID #: 360




             Barter recalled how he was approached by “broker types, not very senior,”
             seeking to do large, unexplained volumes of trade with Goldman Sachs. These
             were on behalf of major Russian clients. The brokers declined to identify their
             counterparties. Their names were concealed beneath “shell company after shell
             company,” Barter said, making a due diligence process impossible. He turned
             this business down “in five seconds.” Seemingly, the same entities approached
             Wiswell. There they got better results.478

             1073. Mr. Barter’s experience as CEO of Goldman Sachs Moscow also confirmed that

   Deutsche Bank, DB London, and DB New York (including DBTCA) knew, or were generally

   aware, that crime was afoot at DB Moscow. As Mr. Barter recalled of DB Moscow, it was clear

   at the time, even from Goldman’s outsider view, that: (1) “[DB Moscow traders] were doing

   some very curious things”; (2) “[n]obody could make sense of their business”; and (3) from this

   information, Mr. Barter concluded that “‘something nefarious’ was going on at Deutsche Bank

   during the Wiswell period” when Deutsche Bank operated its Russian Laundromat.479

             1074. On or about January 2014, DB Moscow personnel confronted another threat to

   Deutsche Bank’s scheme: another Cypriot bank, Hellenic Bank, sent a Request for Assistance

   (“RFA”) to DB London based on the Hellenic Bank’s perception that a pattern of transactions

   from Deutsche Bank suggested potential terrorist finance and money laundering activity by

   Deutsche Bank. This was notable because, as Mr. Enrich recounted, Cyprus’s financial system

   was, “[b]y design, … a go-to destination for Russians and others searching for somewhere to

   hide ill-gotten cash. … [T]he laxity of its financial system” was among “Cyprus’s biggest selling

   points.” As a result, “[i]t took a lot to make a Cypriot banker queasy, but [the] nearly $700




   478
         Harding at 312-13.
   479
         Id. at 311.


                                                    345
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 361 of 606 PageID #: 361




   million [that] had flooded into [Hellenic Bank accounts]” through DB Moscow’s mirror trading

   scheme “did the trick.”480

             1075. Seeking more information, Hellenic Bank “specifically asked whether DB-

   London had ‘any reason to believe that the transactions [with Counterparty B] are in any way

   of a suspicious nature.’”481

             1076. “Eventually,” Mr. Wiswell, “responded by reassuring the European Bank that

   Counterparty B ‘ha[s] passed through our KYC [know-your-customer] procedures’ and that

   Deutsche Bank ‘see[s] no reason for concern here.’”482 DB Moscow’s statement was a lie told

   to conceal and sustain Deutsche Bank’s mirror trading scheme and the Russian Laundromat.

   “Not a single Deutsche Bank compliance staffer was ever involved in the response to this

   [Request For Assistance] provided by the corrupt supervisor,” on information and belief, “The

   Wiz,” Tim Wiswell.483

             1077. Even this limited window into how the Russian Laundromat worked made clear

   the link and the use of the U.S. financial system. As Mr. Enrich reported:

             Wiz knew all about these transactions. The Russian customer was participating
             in mirror trades with Deutsche to extract rubles from Russia and convert them
             into dollars, using Deutsche’s U.S. Operations—DBTCA—as a Laundromat.
             Then the dollars were being zapped over to Cyprus, where the Russian
             beneficiary could do with the money as he pleased.484

             1078. When Hellenic Bank escalated its inquiry to a senior Anti-Financial Crime

   employee at DBTCA who supervised special investigations, in an attempt to reconcile these



   480
         Enrich, Dark Towers, at 231.
   481
         2017 Consent Order ¶ 38 (emphasis in original).
   482
         Id. ¶ 39 (emphasis in original).
   483
         Id. ¶ 39.
   484
         Enrich, Dark Towers, at 232 (emphasis added).


                                                   346
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 362 of 606 PageID #: 362




   concerns, the “senior [DBTCA] compliance employee [in New York] never responded to

   [Hellenic Bank]. Nor did the employee take any steps to investigate the basis for [Hellenic

   Bank’s] inquiry, later explaining this omission on the ground that the employee had ‘too many

   jobs’ and ‘had to deal with many things and had to prioritize.’”485

             1079. The senior DBTCA compliance employee’s explanation was a false attempt to

   exculpate the senior employee and DBTCA. Rather, the DBTCA employee declined to review

   the financial crime red flags raised by Hellenic Bank because the employee understood that

   his/her role at DBTCA was to facilitate its activities as a Laundromat, which necessarily entailed

   ignoring information requests that could expose the pervasive laundering happening throughout

   Deutsche Bank branches.

             1080. Deutsche Bank did not merely confine its Syndicate-related financial services to

   the helping launder the terrorists’ money. Deutsche Bank personnel, consistent with their

   activities as a Laundromat, leaked terrorist finance-related inquiries on one or more occasions to

   criminal suspects whom Deutsche Bank knew were connected to violence. According to

   NYDFS, Deutsche Bank committed a “serious breach of anti-money laundering and corruption

   policies and practices,” when Deutsche Bank told its likely criminal client that Hellenic Bank

   had sought information about the client. And, even more troubling, “when the leak came to the

   attention of senior DB-Moscow management, no action to investigate the leak was taken.”486

             1081. NYDFS noted that in another instance, “despite the emergence of an unmistakable

   pattern of suspicious trading at the securities desk at DB-Moscow,” Deutsche Bank apparently




   485
         Id. (emphasis in original).
   486
         2017 Consent Order ¶ 42.


                                                   347
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 363 of 606 PageID #: 363




   did not investigate.487 Deutsche Bank knew that its clients were engaging in financial crimes,

   and it helped facilitate those crimes and, when confronted with evidence that the crime was

   occurring, Deutsche Bank did not investigate.

               1082. According to NYDFS, Deutsche Bank’s “onboarding staff experienced hostility

   and threats from the [DB Moscow] supervisor,” on information and belief Mr. Wiswell, “on

   several occasions when it appeared they had not moved quickly enough to facilitate

   transactions.”488 Each time this happened, DB Moscow, through Mr. Wiswell, deliberately

   facilitated transactions that it knew could finance terrorists, including specifically with Khanani.

               1083. “Distressingly,” according to NYDFS, “this was a fact about which senior

   management at DB-Moscow was aware, yet management’s response was inadequate. Indeed,

   although deficiencies in KYC policies and procedures were well known for many years,

   Deutsche Bank did not take sufficient action to implement genuine reform until 2016.” 489

               1084. According to NYDFS, Deutsche Bank’s approach recklessly deviated from how

   responsible global financial institutions dealt with Russia, which was universally viewed as

   “high risk” by essentially everyone else but Deutsche Bank.490

               1085. NYDFS determined that DB Moscow often refused to even near universal

   counter-terrorist-finance practices, such as when Deutsche Bank refused to treat Russian-related

   clients as “high-risk” even though all its peers did for obvious reasons. DB Moscow even

   refused to do this because DB Moscow knew that if it chose to do so, most of its clients would be

   reclassified as high risk (whom DB Moscow knew to be terrorists and mobsters) and DB


   487
         Id. ¶ 43.
   488
         Id.
   489
         Id.
   490
         Id. ¶ 50.


                                                    348
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 364 of 606 PageID #: 364




   Moscow would have to end its enormously profitable mirror trade and one-legged trade scheme.

   Prior to 2016, DB Moscow refused to do anything that could stop terrorist financiers like Altaf

   Khanani executing terrorist finance transaction through DB Moscow and DB London, including

   obtaining U.S. Dollars through DBTCA via DB Moscow’s criminal schemes.

             1086. Rather than punish Mr. Wiswell, as NYDFS observed, Deutsche Bank praised

   him and –thereby created “the pernicious culture that gave rise to the improper trading scheme

   and permitted it to continue uninterrupted for a five-year stretch.”491

             1087. In 2015, the Russian authorities began investigating Deutsche Bank’s Russian

   Laundromat.492

             1088. Soon thereafter, Deutsche Bank placed Mr. Wiswell on leave while it

   “investigated” Deutsche Bank’s “Russian Laundromat.” On information and belief, Mr. Wiswell

   left Deutsche Bank on or about August 2015.

             1089. Even after Mr. Wiswell left, however, Deutsche Bank continued laundering

   money through DB Moscow, DB London, and DB New York (including DBTCA) for the

   Russian Mafia and Khanani through, among others, the Moldovan Laundromat.

             1090. Deutsche Bank’s attempt, through its 2015 internal investigation, to pin the blame

   on Mr. Wiswell was factually wrong, and only proved the Bank remained committed to its

   Laundromat ways. As Ms. Beltron reported,

             Some of Wiswell’s colleagues were aghast [at the Bank’s attempt to blame him].
             Of course more senior executives had been aware of the trades. “You can’t just
             move $10 billion offshore without someone knowing it was going on. And over
             four years,” said one. “Tim had plenty of conversations about these guys [i.e., the
             people benefiting from Deutsche Bank’s Russian Laundromat] with London [i.e.,
             DB London]. Everyone knew these guys would call, and they would buy and sell
             every day for four years. It’s pretty hard to keep that a secret. The guy in [DB

   491
         Id. ¶ 60.
   492
         Belton at 406-07.


                                                    349
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 365 of 606 PageID #: 365




             London] – even if he claims to know nothing about it – had to know who the
             clients were when for four years they were a top-five client.”493

             1091. NYDFS squarely rejected Deutsche Bank’s attempt to paint Mr. Wiswell as a

   rogue employee. “In short,” NYDFS concluded, “Deutsche Bank’s [anti-money-laundering and

   counter-terrorist finance] control failures were longstanding and enterprise-wide, enabling the

   mirror trade scheme to flourish and persist.”494

             1092. Moreover, on or about October 2015, Mr. Wiswell issued public statements,

   through Russian counsel, in which Mr. Wiswell declared that: (1) Mr. Wiswell believed that

   Deutsche Bank’s “compliance department” “must have known” about the illegal mirror trades

   that he conducted – including, but not limited to, those for the Syndicate through Khanani and

   the Russian Mafia – when operating the Bank’s “Russian Laundromat”; (2) Mr. Wiswell

   believed that he “simply followed” Deutsche Bank’s “instructions” and the Bank knew of, and

   approved, all the trades he executed while operating its “Russian Laundromat”; and (3) Mr.

   Wiswell informed, and received approvals and ratification from, at least twenty Deutsche Bank

   colleagues, including two senior Deutsche Bank managers at DB London, and based upon such

   discussions, Mr. Wiswell believed that the foregoing Deutsche Bank managers and employees

   knew of, approved, and ratified, DB Moscow’s operation of the Russian Laundromat on behalf

   of DB London and DB New York (including DBTCA).

             1093. Mr. Wiswell’s claim to have informed DB London management is plausible.

   Among other reasons, DB London, and DB New York (including DBTCA) were making

   enormous profits from the Russian Laundromat, which Deutsche Bank management known for



   493
     Belton at 407. As Ms. Belton reported, “[w]hen Moscow regulators finally clamped down on
   [Deutsche Bank’s “Russian Laundromat”] scheme, they too settled on lower-level players.” Id.
   494
         2017 Consent Order ¶ 60 (emphasis added).


                                                  350
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 366 of 606 PageID #: 366




   their obsession over profits noticed. Indeed, as investigative journalist Luke Harding reported,

   “Deutsche Bank’s London and New York divisions were economic beneficiaries of this [Russian

   Laundromat] arrangement” that “captured Deutsche Bank’s Moscow outpost.”495 Deutsche

   Bank knew they operated the Russian Laundromat, and it therefore knew that its clients were

   engaged in financial crime, including laundering money for criminals and terrorists.

                    4.      Deutsche Bank Knew It Was A Preferred Bank For Terrorist
                            Financiers Based On Its History Of Enabling “Dirty Money”
                            Transactions

             1094. According to Mr. Laabs, “Deutsche Bank had everything to offer that facilitated a

   money launderer’s work: lousy internal controls, a company culture in which everything

   seemed to be allowed, ruthless employees, and sufficient opportunity, despite numerous

   warnings, to do business in controversial places around the world.”496

             1095. From 2001 through 2017, Deutsche Bank regularly facilitated transactions for

   anti-American terrorists around the world, supporting terrorists or other criminal syndicates that

   deployed violence at scale, doing so on multiple continents and often being fined by

   governments in response:

            Palestinian Terrorists in Israel. On information and belief, Deutsche Bank knowingly
             or recklessly operated bank accounts for years on behalf of U.S. government-designated
             Palestinian terrorist groups, and such conduct remains under investigation by NYDFS.

            Russian Narco-Terrorists in Europe and the Former Soviet Union. Deutsche Bank
             facilitated the terrorist finance and fundraising efforts of Russian terrorists operating in
             Ukraine by providing banking services to them.

            Italian Mafia Narco-Terrorists in Europe. Deutsche Bank has a long history of
             knowingly, or recklessly, providing financial services to violent Italian mafia families
             operating throughout Europe. For example, Deutsche Bank provided 900 million euros
             in loans to an Italian confectioner owned by the business partner of a reputed member of


   495
         Harding at 316.
   496
         Laabs, Bad Bank, at 462 (translated by Plaintiffs) (emphasis added).


                                                      351
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 367 of 606 PageID #: 367




               the Italian mafia,497 while knowing, and not caring, that its counterparty, as Mr. Laabs put
               it, “had a sketchy past, present, and possibly future” in connection with its potential
               connection to the Italian mafia’s money laundering activities, and the consequences of
               the deal did not matter to Deutsche Bank’s personnel “because they received their bonus
               when the deal was closed.”498

              Jeffrey Epstein Sex Trafficking Organization Rapists in the U.S. Deutsche Bank
               directly enabled Jeffrey Epstein’s sex trafficking.499 “Compliance officers reportedly
               flagged the transactions of Epstein’s company at one point, but bank managers are said to
               have dismissed their concerns because nothing illegal happened and he was a ‘lucrative
               client.’”500 As a New York Times columnist explained, “Jeffrey Epstein … didn’t act
               alone. Now we know in vivid detail who some of his financial enablers were: executives
               and bankers at Deutsche Bank.”501

               1096. Deutsche Bank’s deliberate processing of transactions on behalf of known or

   suspected Iranian terrorist agents, operatives, and fronts illustrates DB’s institutional effort to

   profit from anti-American terrorist finance. As previously described, the DB Defendants flouted

   the U.S. government’s requests that they avoid doing business with Syndicate fronts. They also,

   however, flouted a similar U.S. request concerning business with IRGC fronts that advanced the

   Iranian terrorist project through the IRGC-QF and Iranian terrorist proxies like Lebanese

   Hezbollah, which was designated as an FTO in 1997. Through its Iran-related misbehavior from

   2001 through 2016, Deutsche Bank reveals how far its senior management was willing to go to

   maximize DB profits from USD services to the highest-risk customers in the Former Soviet

   Union and the Middle East, regardless of the terrorist finance risk.




   497
         Laabs, Bad Bank, at 236-38 (translated by Plaintiffs).
   498
         Id. (translated by Plaintiffs).
   499
     Paul Campos, Massage at Epstein’s, Lawyers, Guns, and Money (Blog) (July 11, 2019), 2019
   WLNR 21287461.
   500
         Id.
   501
     James B. Stewart, These Are the Deutsche Bank Executives Responsible for Serving Jeffrey
   Epstein, International New York Times (July 20, 2020), 2020 WLNR 20112125.


                                                       352
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 368 of 606 PageID #: 368




             1097. “By 2006,” according to Mr. Enrich, “Deutsche had zapped nearly $1.1 billion

   into Iran, Burma, Syria, Libya, and the Sudan, providing desperately needed hard currency to the

   world’s outlaw regimes and single-handedly eroding the effectiveness of peaceful efforts to

   defuse international crises,” and as a result:

             The hundreds of millions of dollars that Deutsche wired to Iranian banks provided
             vital funding … to pay for its terrorism. Soon Iraq was being ripped apart by
             violence. Roadside bombs detonated all over the country, targeting … the U.S.
             military forces that were trying to keep the peace. Much of the violence was the
             work of a terrorist group, Jaysh al-Mahdi, which had been armed and trained by
             Hezbollah, which had been bankrolled by Iran’s Revolutionary Guard, which had
             been financed by Deutsche.502

             1098. Each Deutsche Bank Defendant had the same knowledge of the nexus between

   Iranian activity in Dubai and anti-American terror that was known to the DB Defendants, and

   therefore, Deutsche Bank’s long-standing support for IRGC terrorist strategy is revealing

   because Deutsche Bank aided the IRGC and IRGC-QF despite knowing the above context and

   that the IRGC and IRGC-QF were at all times described (correctly) by the U.S. government as

   the world’s worst sponsor of anti-American terrorism.

             B.     Standard Chartered Bank Knew It Was Aiding Terrorists

                    1.     Standard Chartered Bank Knew That It Operated As A Criminal
                           Enterprise And Laundromat Until 2016

             1099. Since the 1980s, Standard Chartered Bank’s core business model has been to

   serve as the correspondent bank and clearing bank for USD-denominated transactions in high-

   risk emerging markets, with a particular emphasis on facilitating cross-border transactions in the

   Middle East and Asia. As the Economist explained in 2012, “[a]lthough its purely American

   operations are negligible, Standard Chartered’s wholesale franchise rests on providing a




   502
         Enrich, Dark Towers, at 104-105.


                                                    353
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 369 of 606 PageID #: 369




   financial bridge between the 70 countries in which it does operate, much of it denominated in

   dollars that must pass through America’s financial system.”503

             1100. This business strategy required that Standard Chartered Bank branches,

   subsidiaries, and affiliates work closely with, and ordinarily seek to route transactions through,

   SCB New York. Standard Chartered Bank specialized as a USD-focused bank that emphasizes

   cross-border trade finance504 work in “emerging markets” in the Middle East and Asia. As an

   “emerging-markets specialist” bank, Standard Chartered Bank’s core business is processing

   USD-denominated transactions because the U.S. Dollar is the currency of choice, or otherwise

   used to backstop transactions, in most emerging markets around the world, most of all those in

   the Middle East and Asia with a long history of trade in goods where the markets are

   traditionally USD-denominated, e.g., petroleum-based products.

             1101. Since the 1980s, Standard Chartered Bank viewed conflict zones as business

   opportunities for its business model, which differentiated the Bank from nearly every other

   global financial institution. For example, Standard Chartered Bank was willing to operate in

   Sierra Leone. As Euromoney put it: “Courage is definitely called for when operating in some

   countries. [Standard Chartered Bank] in Sierra Leone is a good example. It is the only

   international bank there and adds positively to the group’s bottom line.”505 A Standard

   Chartered Bank executive explained that SCB makes money because of risky environments:




   503
      Economist, Standard Chartered: My Dollar, My Rules (Aug. 11, 2012) (emphasis added),
   2012 WLNR 16987066.
   504
       “Trade finance” refers to products and financial instruments offered by banks that companies
   use to support international trade and commerce, which enable importers and exporters to
   conduct business through trade by making transactions feasible. The role of trade finance is to
   introduce a third-party, like SCB, to a transaction to eliminate the payment risk and supply risk.
   505
         Chris Cockerill, Big Risk, Big Profit, Euromoney (Sept. 1, 2000), 2000 WLNR 10574765.


                                                   354
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 370 of 606 PageID #: 370




               “We make money because of the risk,” explain[ed the SCB executive] – that’s
               risk with a capital R, “We used to have 13 branches, now we’ve only one left.
               Twelve have been bombed and shot to pieces and are of no use to anyone, but
               that’s the cost we've taken on board. We’re still on the ground. With a quick lick
               of paint, people put money with us and we make a profit.”506

               1102. As one industry observer explained, Standard Chartered Bank’s “considerable

   interest” in “searching out opportunities in Afghanistan” accords with SCB’s “history of showing

   interest in countries that are experiencing upheaval and reconstruction” as shown by its status as

   “the only foreign bank to continue operations in Sierra Leone throughout its civil war.”507 At all

   relevant times, Standard Chartered Bank has viewed conflict zones as uniquely strong market

   opportunities, since the U.S. Dollar is typically the currency of choice in conflict zones, and SCB

   is the world leader in facilitating USD-denominated transactions in such environments.

               1103. According to Dr. Kimberley L. Thachuk, “[c]onflict and postconflict zones []

   serve as locales for the cross-pollination of extremist groups and organized crime.”508 Thus, “[i]t

   is no coincidence that a wide range of terrorist sympathizers, criminals, veterans of conflicts, and

   adventure seekers flock to conflict zones” such as “Afghanistan and Iraq” to seek to profit from

   “booming war economies” often controlled by “nimble strongmen” and “[i]nfamous gangsters

   such as … Sirajuddin [Haqqani].”509

               1104. From the late 1980s through 2016, under Standard Chartered Bank’s strategy to

   facilitate bulk USD activity regardless of the terrorist finance risk, SCB’s constant proximity to



   506
         Id. (emphasis added).
   507
      Fiona Haddock, The Central Banker with a US$300 Budget, Asiamoney (May 2, 2003), 2003
   WLNR 18368142. In 1998, the Sierra Leone government seized the accounts of certain
   foreigners who had provided critical support to the prior military junta, some at SCB. See
   Reuters, S. Leone Freezes Bank Accounts of “Collaborators” (Apr. 21, 1998).
   508
         Thachuk, Terrorist Criminal Enterprises, at 15.
   509
         Id.


                                                       355
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 371 of 606 PageID #: 371




   reckless financial transactions was not a fortuity; it was the entire point. As each SCB Defendant

   knew, and the World Bank noted in 2009, it was an elementary fact of the global financial

   system that “[b]ecause of their crucial role in the financial system, any banks not having

   effective [counter-terrorist finance] programs are the ones most likely to be exposed to [terrorist

   finance] risks and hence can most easily be exploited by domestic and international

   criminals.”510 By recklessly providing essentially unregulated bulk U.S. Dollar services in

   terrorist hot zones around the world, often being in a near monopoly in such role, while

   deliberately taking steps to make life easier for money launderers, each Standard Chartered Bank

   Defendant knew its conduct would cause SCB accounts to regularly be used by money

   launderers working for terrorist organizations seeking to kill and maim. Standard Chartered

   Bank knew this risk and, until 2016, did not care. Plaintiffs suffered for their indifference.

          1105. Standard Chartered Bank’s enforcement history demonstrates its long-standing

   practice of operating as a Laundromat for anti-American terrorist financiers and logisticians. On

   December 10, 2012, Standard Chartered Bank entered a deferred prosecution agreement (or

   “DPA”) with the United States Attorney’s Office for the District of Columbia in connection with

   SCB’s admitted terrorist finance activities in support of known and suspected fronts for Iranian

   terrorist groups such as Hezbollah and the IRGC-QF. Standard Chartered Bank did so as part of

   a global resolution that also resolved potential charges brought by New York regulators.

          1106. NYDFS concluded that Standard Chartered Bank’s identity as a “rogue

   institution” directly reflected the views of its leadership, which was openly contemptuous of the

   U.S. government’s efforts to prevent terrorist finance:


   510
      Pierre-Laurent Chatain, John McDowell, Cėdric Mousset, Paul Allan Schott, & Emile van der
   Does de Willebois, The World Bank, Preventing Money Laundering and Terrorist Financing; A
   Practical Guide for Bank Supervisors at 7 (2009).


                                                   356
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 372 of 606 PageID #: 372




             In short, [Standard Chartered Bank] operated as a rogue institution. By 2006,
             even the New York branch was acutely concerned about the bank’s [misconduct].
             In October 2006, SCB’s CEO for the Americas sent a panicked message to the
             Group Executive Director in London. “Firstly,” he wrote, “we believe [the Iranian
             business] needs urgent reviewing at the Group level to evaluate if its returns and
             strategic benefits are ... still commensurate with the potential to cause very serious
             or even catastrophic reputational damage to the Group.” His plea to the home
             office continued: “[s]econdly, there is equally importantly potential of risk of
             subjecting management in US and London (e.g.. you and I) and elsewhere to
             personal reputational damages and/or serious criminal liability.”

             Lest there be any doubt, SCB’s obvious contempt for U.S. banking regulations
             was succinctly and unambiguously communicated by SCB’s Group Executive
             Director in response. As quoted by an SCB New York branch officer, the Group
             Director caustically replied: “You fucking Americans. Who are you to tell us,
             the rest of the world, that we’re not going to deal with Iranians.”511

             1107. Standard Chartered Bank’s Group Executive Director was a long-standing key

   player at SCB, having served as SCB’s head of Finance, Corporate Treasury and Corporate

   Development, Head of Growth and Governance across Africa, Middle East, Pakistan, United

   Kingdom, Europe and the Americas, as well as SCB’s Head of Risk, Group Special Asset

   Management, Legal and Compliance. From 2001 through 2016, SCB’s “You F---ing

   Americans” mentality reflected the views of SCB management responsible for U.S., U.K.,

   U.A.E., and Pakistan, and explained SCB’s willingness to deal with other known enablers of

   anti-American terror, like the al-Qaeda, Haqqani Network, and Lashkar-e-Taiba agents and

   operatives favored by the Syndicate.

             1108. Observers concluded that the “regulatory investigations” in 2012 collectively

   showed that “Standard Chartered [had] financed terrorism and laundered money.”512 NYDFS




   511
         Id. at 4-5 (emphasis added).
   512
      Jonathan Shapiro, Wall Street Deserves Some Slack, Financial Review Capital (Aug. 8, 2012),
   2012 WLNR 16603546.


                                                      357
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 373 of 606 PageID #: 373




   agreed: as recounted by its head two years later, when NYDFS fined Standard Chartered Bank

   the second of several times:

               “Money is the oxygen feeding the fire that is terrorism … Without moving
               massive amounts of money around the globe, international terrorism cannot
               thrive,” [Lawsky said.] Yet … some banks don’t take monitoring of financial
               transactions seriously. Indeed, Lawsky accused [SCB] … of ignoring money
               laundering, and [] the bank agreed to pay more than $300 million.513

               1109. In 2019, Standard Chartered Bank admitted, in effect, that it was a terrorist

   finance recidivist when it resolved additional parallel charges brought by the Justice Department,

   NYDFS, and the Manhattan DA. As summarized by Treasury, “[f]rom June 2009 until May

   2014, SCB processed 9,335 transactions totaling $437,553,380 that were processed to or through

   the United States,” “[a]ll of these transactions involved persons or countries subject to

   comprehensive sanctions programs administered by” OFAC, and “SCB Dubai processed USD

   transactions to or through [SCB New York] or other U.S. financial institutions on behalf of

   customers that sent payment instructions to SCB Dubai.”514 To resolve these allegations,

   Standard Chartered Bank paid $639 million as part of a federal settlement,515 and $463.4 million

   as part of a parallel settlement with New York regulators,516 or approximately $1.1 billion total.

               1110. U.S. Attorney Jessie K. Liu of the District of Columbia announced the resolution

   with the United States, and publicly stated that: (1)“SCB undermined the integrity of our

   financial system and harmed our national security by deliberately providing” anti-American


   513
      Kaja Whitehouse, Banks May Pay Price for Hacks, The Post-Crescent (May 23, 2015)
   (emphasis added), 2015 WLNR 15349257.
   514
      U.S. Department of the Treasury, Press Release, U.S. Treasury Department Announces
   Settlement with Standard Chartered Bank (Apr. 9, 2019).
   515
         Id.
   516
      NYDFS, Press Release, Department of Financial Services and Manhattan District Attorney
   Fine Standard Chartered $463.4 Million for U.S. Sanctions Violations (Apr. 9, 2019) (“2019
   NYDFS Press Release”).


                                                      358
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 374 of 606 PageID #: 374




   terrorist funders and supporters “with coveted access to the U.S. economy”; and (2) there was

   “no doubt” that Standard Chartered Bank, SCB New York, SCB London, and SCB Dubai were

   “repeat corporate offenders with deficient compliance programs” that “subvert[ed] our national

   security” and deserved to pay the “steep price” represented by “[t]he financial penalty” against

   SCB of “[m]ore [t]han $1 Billion.”

           1111. When Standard Chartered Bank did the business that was eventually prosecuted in

   these regulatory actions, Standard Chartered Bank knew it was aiding fronts and operatives

   supporting Iran’s Shiite terrorist proxies in Iraq, and Standard Chartered Bank knew it was

   aiding similar agents and fronts who acted on behalf of al-Qaeda, the Haqqani Network, and

   Lashkar-e-Taiba.

           1112. In 2019, NYDFS concluded that the practices pursued by SCB New York, SCB

   London, and SCB Dubai foreseeably risked Standard Chartered Bank assuming a role in terrorist

   finance activities by terrorist organizations.517 Standard Chartered Bank therefore knew, at the

   time, that its actions risked assuming a role in terrorist finance activities.

           1113. NYDFS also found that the SCB London, SCB Dubai, and SCB New York

   followed reckless counter-terrorist finance compliance and risk management practices relating to

   USD-denominated transactions carried out in Dubai or on behalf of companies in Dubai.518

           1114. NYDFS also found that numerous SCB Dubai personnel knowingly undertook

   reckless financial practices while knowing that the transactions risked financing terrorism and


   517
      See, e.g., id. (NYDFS criticized SCB’s “egregious activities,” that “concealed illegal financial
   transactions,” and stated that “[g]lobal financial institutions serve as the first line of defense
   against … the financing of terrorist activities and those that fail to foster a strong compliance
   culture [like SCB New York and SCB Dubai] will be held accountable”).
   518
     See, e.g., id. (NYDFS found that their “investigation further revealed that the bank’s
   compliance infrastructure in the UAE region was woefully inadequate” and “[c]ompliance staff
   were … unconcerned with U.S. sanctions regulations”).


                                                     359
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 375 of 606 PageID #: 375




   did, in fact, potentially help terrorists. NYDFS found that SCB Dubai employees regularly

   helped customers process financial transactions even while the SCB Dubai employees knew the

   customers were engaged in criminal activities and using their Standard Chartered Bank accounts

   to further their criminal enterprise. 519

           1115. NYDFS found further that Standard Chartered Bank continued to pursue its

   reckless provision of financial services through SCB Dubai even after regularly learning of

   specific counter-terrorist finance “red flags” between 2009 and 2014. Instead of rigorously

   investigating the counter-terrorist finance implications, Standard Chartered Bank did nothing

   other than try to punish people who raised concerns about its ongoing crimes.

           1116. By the 1980s, Standard Chartered Bank was a notorious Laundromat for terrorist

   financiers and logisticians, which reputation the Bank retained through 2016. Standard

   Chartered Bank knew it had this reputation.

           1117. From the late 1980s through 2016, Standard Chartered Bank and its subsidiaries

   and affiliates ordinarily disregarded red flags and provided financial services to customers,

   including obvious shell companies, as long as: (1) the customer initially routed their relationship

   through SCB Dubai, SCB Pakistan, or SCB Afghanistan; (2) the product offering concerned

   USD-denominated financial services to be provided from SCB New York under from SCB’s

   commercial banking, wholesale banking, trade finance, correspondent banking, or other

   offerings; (3) Standard Chartered Bank had any way to maintain plausible deniability; and (4) the

   American, British, Emirati, and Pakistani government had not specifically instructed Standard




   519
      Id. (NYDFS and Manhattan DA found that a “manager in [SCB] … advised [a] front
   company located in Dubai how to evade detection by changing its corporate name and then
   opening a new account”).


                                                  360
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 376 of 606 PageID #: 376




   Chartered Bank to end its relationship with the specific customer at issue (even then, SCB often

   refused to comply).

               1118. On information and belief, prior to at least 2016, Standard Chartered Bank never

   once ended any financial relationship with any al-Qaeda, Taliban (including Haqqani Network),

   Lashkar-e-Taiba, Jaish-e-Mohammed, or D-Company operative on its own accord based on

   terrorist finance risk without prompting from a government first.

               1119. When the Bank of Credit and Commerce International (“BCCI”) was publicly

   exposed in 1991 for operating a Laundromat catering to terrorist finance, and subsequently

   collapsed, “Standard Chartered Bank” was among the “international banks,” who – “while

   stunned at the seizure of [BCCI]” – quickly began “eyeballing its carcass” less than one month

   later “as a chance to strengthen their own positions.”520

               1120. As a self-proclaimed heir to BCCI’s business and customer base in the Middle

   East,521 Standard Chartered Bank, like BCCI, focused its laundering activities on emerging

   markets like Pakistan and the U.A.E., and committed much of the worst behavior in Dubai

   through its local branch, SCB Dubai. Indeed, this is another indication of SCB’s operation as a

   Laundromat, as it assumed the mantle from BCCI, which had been notorious for, as the

   Economist put it, being the “laundromat of choice for” “terrorists” “for years.”522

               1121. As Standard Chartered Bank expanded its international operations throughout the

   1990s, it consciously emulated BCCI’s strategies as it sought to win as much U.S. Dollar-related




   520
     Cotten Timberlake, Associated Press, Banks Go After BCCI’s Market Share, Daily News
   (Aug. 2, 1991), 1991 WLNR 1152558 (“Timberlake, Banks Go After BCCI’s Market Share”).
   521
         Id.
   522
      The Economist, Robert Morgenthau: The Long Arm of the Law (Aug. 3, 2019), 2019 WLNR
   23554946 (“Economist, Robert Morgenthau”).


                                                     361
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 377 of 606 PageID #: 377




   business as possible from BCCI’s customers even though Standard Chartered Bank understood

   that many of BCCI’s customers were terrorists.

          1122. In the early 2000s, Standard Chartered Bank intensified its commitment to acting

   as a U.S. Dollar Laundromat. While most global financial institutions with a significant

   presence in the U.S. – even the ones that had previously looked the other way towards suspicious

   activity – changed their ways and adopted rigorous measures to prevent terrorist finance from

   flowing through their accounts after 9/11, Standard Chartered Bank took a very different course.

   Even as most of their peers with large American presences had largely at least committed (in

   principle) to cleaning up their acts by 2009, Standard Chartered Bank’s enforcement history

   shows that SCB calculated that the general trend towards better counter-terrorist finance at large

   global banks offered a business opportunity for SCB to seize more USD market share by

   doubling-down on its Laundromat Strategy.

          1123. Standard Chartered Bank brazenly broke the law even while publicly lecturing

   other companies on the importance of ethics. After Enron collapsed in 2002, for example,

   Standards Chartered Bank’s “[G]roup [CEO] … [stated] there are moral lessons to be learned.

   ‘Basically, you must ensure that your values and ethics are clear and stick to them even when

   you are under revenue pressure.’”523

          1124. From the late 1980s through 2016, Standard Chartered Bank pursued an

   integrated global business model consistent with its “One Bank” operational strategy. As

   Standard Chartered Bank itself touted in its 2012 Annual Report, “[w]e think and operate as

   ‘One Bank’, supporting clients and customers by collaborating and creating synergies across our


   523
     Karina Robinson, Cover Story: The Importance Of Being Good - The Enron Scandal Has Put
   The Spotlight Back On Ethics. Banks Can No Longer Ignore The Issue Of Social Responsibility
   And Those Which Do May Not Survive, The Banker (Apr. 1, 2002), 2002 WLNR 4160010.


                                                  362
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 378 of 606 PageID #: 378




   international network, businesses and functions.”524 As part of this approach Standard Chartered

   Bank “provide[d] seamless international service and offer[ed] a full suite of products” to

   corporate clients and SCB’s “One Bank approach” was able to “draw[] on the full complement

   of [SCB’s global] resources and capabilities.”525

               1125. “[T]hink[ing] and operat[ing] as ‘One Bank,’”526 SCB London worked intimately

   with regional headquarters – like SCB Dubai for Pakistan, Afghanistan and the Middle East –

   and direct local branches, like SCB New York, or subsidiaries, like SCB Pakistan. At all times

   SCB London’s strategy, as pursued by SCB Dubai, SCB Pakistan, SCB Afghanistan, and SCB

   New York, was to drive USD-denominated business activity towards SCB New York.

               1126. Standard Chartered Bank pursued the Laundromat Strategy led by SCB’s

   management in SCB London, but also vigorously supported and followed by SCB New York,

   SCB Dubai, SCB Pakistan and SCB Afghanistan. In doing so, it was following its “One Bank”

   approach, under which SCB made foreign branches of SCB, including SCB Dubai, SCB

   Pakistan, and SCB Afghanistan, follow the same set of global rules.

               1127. Standard Chartered Bank’s “One Bank approach” extended to their compliance

   and regulatory commitments. On October 7, 2004, Standard Chartered PLC, SCB London, and

   SCB New York executed a written agreement with the Federal Reserve Bank of New York (the

   “Reserve”) and the New York State Banking Department (which subsequently became

   NYDFS),527 “which identified several compliance and risk management deficiencies in the anti-



   524
         SCB Annual Report 2012 at 4.
   525
         Id.
   526
         Id.
   527
      Written Agreement by and among Standard Chartered PLC, Standard Chartered Bank,
   Standard Chartered Bank New York Branch, Federal Reserve Bank of New York, and New York



                                                   363
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 379 of 606 PageID #: 379




   money laundering and Bank Secrecy Act controls at SCB’s New York Branch.”528 “The

   agreement required SCB to complete certain remedial actions, among them retaining a qualified

   independent consulting firm acceptable to the Reserve and [NYDFS] to conduct an historical

   review of account and transaction activity.”529 “The purpose of the review was to determine

   whether suspicious activity involving accounts or transactions at, by, or through [SCB New

   York] was properly identified and reported in accordance with applicable suspicious activity

   reporting regulations (“Transaction Review”).”530

               1128. From the late 1980s through 2016, Standard Chartered Bank’s deliberate support

   of terrorist finance relied upon the various Standard Chartered Bank branches, subsidiaries, and

   affiliates generally following the same deliberately deficient Standard Chartered Bank policies

   and procedures with respect to combatting terrorist finance, and similar financial crime risks.

               1129. Because Standard Chartered Bank’s anti-money-laundering/counter-terrorist-

   finance controls in the United Kingdom set global standards across all of Standard Chartered

   Bank, including SCB New York, SCB Dubai, SCB Pakistan, and SCB Afghanistan, deliberate

   facilitation of terrorist finance and money laundering by through the conscious creation of SCB’s

   Laundromat by the U.K. caused SCB New York, SCB Dubai, SCB Pakistan, and SCB

   Afghanistan to fall in line and knowingly or recklessly assume a role in the terrorist finance

   scheme at Standard Chartered Bank. And they did.




   State Banking Department (Oct. 7, 2004),
   https://www.federalreserve.gov/boarddocs/press/enforcement/2004/20041008/attachment.pdf.
   528
      NYDFS, In re Deloitte Financial Advisory Services LLP, Agreement, Factual Background ¶ 1
   (June 18, 2013).
   529
         Id.
   530
         Id.


                                                    364
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 380 of 606 PageID #: 380




          1130. From the late 1980s through 2016, Standard Chartered Bank’s deliberate support

   of terrorist finance relied upon the use of local Standard Chartered Bank branches in high-risk

   jurisdictions, like SCB Dubai, SCB Pakistan, and SCB Afghanistan, serving as Standard

   Chartered Bank’s point of entry for most high-risk customer relationships. This enhanced the

   plausible deniability for all Standard Chartered Bank parties, most importantly SCB London and

   SCB New York, by leveraging the intentionally deficient Standard Chartered Bank practices in

   local branches, most of all, at SCB Dubai, which at all relevant times served as Standard

   Chartered Bank’s regional headquarters for the Middle East, Africa, and South Asia, including

   the U.A.E., Pakistan, and Afghanistan.

          1131. From the late 1980s through 2016, Standard Chartered Bank’s scheme would not

   have been successful without the willing participation of SCB London and SCB New York. As

   set forth below, SCB London and SCB New York management and personnel regularly enabled

   obvious terrorist finance activities, and their failures – and practice of disregarding clear red

   flags – were the “secret sauce” to keeping the Strategy effective until 2016.

          1132. At all relevant times, Standard Chartered Bank’s senior management regularly

   complained about the supposed burden imposed by even Standard Chartered Bank’s then-

   minimal window-dressing counter-terrorist finance efforts. For example, nearly two years after

   Standard Chartered Bank admitted it had engaged in serial criminal behavior that aided

   America’s enemies, on August 6, 2014, the Bank’s Asia CEO revealed Standard Chartered

   Bank’s true attitude towards counter-terrorist finance in an interview with Reuters, complaining

   about the burden that counter-terrorist finance imposed on Standard Chartered Bank:

          Banks have been asked to play the role of policing anti money laundering. That’s
          the real purpose of all these sanctions and surveillance systems and all that … We
          are supposed to police that our counterparties and clients are not money




                                                    365
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 381 of 606 PageID #: 381




           laundering, and if when we are policing we have a lapse, we don’t get treated like
           a policeman who’s had a lapse, we are treated like a criminal.531

           1133. Standard Chartered Bank was “treated like a criminal” because it was a criminal.

   From the late 1980s through 2016, Standard Chartered Bank was a “rogue institution” that

   engaged in “programmatic[]” crimes (as NYDFS said in 2012) and a “repeat corporate offender”

   (as DOJ said in 2019)—not a good corporate citizen or a responsible global bank.

           1134. Given Standard Chartered Bank’s history as a “recidivist rule-breaker,”532 one

   may infer that SCB concluded it was profitable to continue enabling terrorist finance through

   2016, even after being partially exposed in 2012. As an industry analyst following Standard

   Chartered Bank concluded, “CRIME PAYS”:

           There are [] $250 billion worth of transactions … in this [SCB] scandal. A slap
           on the wrist of $700 million would equate to less than .3 of 1% (.003) for dealing
           with the crowd that would like to see Israel obliterated. Are you kidding me? Is
           this a joke or what? What do you think the profit margins were in the business
           transacted by [SCB] with their friends in Iran? Certainly a LOT more than
           .003.533

           1135. Each of the SCB Defendants therefore knew that they operated a Laundromat,

   that they were facilitating criminal activity, and that terrorist finance was a likely result.

           1136. SCB Pakistan. From 2001 through 2016, SCB Pakistan’s core line of business

   was facilitating USD-denominated transactions involving parties in Pakistan and/or the U.A.E.,




   531
      Lawrence White, Edwina Gibbs, Tom Pfeiffer, & Steve Slate, Reuters News, UPDATE 1-
   StanChart Exec: Banks Treated like ‘Criminals’ for Anti-Money Laundering Lapses (Aug. 7,
   2014). Though SCB subsequently attempted to clean up the SCB Asia CEO’s statement, the
   original statement accurately reflects each SCB Defendant’s attitude towards counter-terrorist
   finance at all relevant times.
   532
     Yves Smith, New York’s Benjamin Lawsky Collects Scalps, Showing Regulators Can *Gasp*
   Regulate, Naked Capitalism (October 7, 2014), 2013 WLNR 15172530.
   533
     Larry Doyle, Standard Chartered Scandal: Crime Pays, Sense on Cents (Aug. 8, 2012), 2012
   WLNR 16791952.


                                                     366
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 382 of 606 PageID #: 382




   as backstopped by the USD clearing services provided by SCB New York. SCB Pakistan did so

   through both traditional conventional commercial banking as well as Islamic banking to offer

   Sharia-complaint products. During this time, SCB Pakistan occupied a dominant position in the

   Pakistani financial marketplace with respect to clearing USD transactions with “correspondent

   accounts” and other financial vehicles, by leveraging its relationship with the other Defendants,

   including SCB New York, and its self-proclaimed (and correct) status as Pakistan’s one only

   ‘local foreign’ bank.”534

            1137. Consistent with Pakistan’s status as a key emerging market for Standard

   Chartered Bank, in 2006, Standard Chartered Bank acquired control of Union Bank, which was

   one of Pakistan’s largest commercial banks at the time. Union Bank shared similar ownership as

   the notorious international money launderer bank, BCCI, and on information and belief,

   followed BCCI-like practices when SCB Pakistan acquired it. After its purchase of Union Bank,

   Standard Chartered Bank became “Pakistan’s sixth largest banking group,”535 and cemented its

   role as the dominant player in facilitating USD-denominated transactions and/or deals

   underpinned by a USD-denominated currency pair. Thereafter, SCB Pakistan became SCB’s

   “10th largest profit contributor.”536

            1138. By 2008, SCB Pakistan had 174 branches in 39 cities, having grown from 115

   branches in 22 cities the year prior. As a result, SCB Pakistan branded itself, and was known in




   534
      Farooq Tirmizi and Farooq Baloch, The Cluelessness of Standard Chartered’s Pakistan
   Strategy, Daily Pakistan Today (Oct. 9, 2017) (emphasis added), 2017 WLNR 31097483.
   535
         Daily Mail (UK), Standard’s Union (Aug. 10, 2006), 2006 WLNR 13818473.
   536
      The Banker, Standard Chartered Bank: The World’s Most Desirable Player? (Sept. 1, 2006),
   2006 WLNR 16731979.


                                                  367
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 383 of 606 PageID #: 383




   the Pakistani marketplace, as “the country’s only ‘local foreign’ bank.”537 By 2012, as

   Pakistan’s The Nation declared that, “[a]s the largest international bank in the country,”

   “Standard Chartered [was] now truly a part of the social fabric of [Pakistan].”538

               1139. SCB Dubai controlled SCB Pakistan. As two analysts explained, in Pakistan,

   “[t]he central problem with [SCB’s “One Bank”] approach [was] that even as it market[ed] itself

   as the ‘local’ global bank in the markets it serves in, it appear[ed] to have shied away from

   developing a truly localized institutional infrastructure.”539 “In Pakistan,” Standard Chartered

   Bank’s “One Bank approach” was “most sharply visible through what can only be described as

   the ‘Dubai problem’ … Instead of allowing each individual country division to do their own risk

   management, [SCB] adhere[d] to a single global set of risk management rules that - by definition

   – rel[ied] on a macroscopic view of the world that, too often, [did] not allow much room for

   discretion.”540 As a consequence, local decisions in one Standard Chartered Bank branch, e.g.,

   SCB Pakistan, often went “to the company’s regional headquarters in Dubai for approval.”541

               1140. SCB Pakistan management and employees were keenly aware of the potential

   terrorist finance risk related to the USD transactions they facilitated, and often discussed it

   amongst themselves and with third parties. In early 2008, SCB Pakistan representatives attended

   a business conference in Karachi that was attended by U.S. government officials and

   representatives of other companies, where the group discussed the need for corporations to work



   537
      Farooq Tirmizi and Farooq Baloch, The Cluelessness of Standard Chartered’s Pakistan
   Strategy, Daily Pakistan Today (Oct. 9, 2017), 2017 WLNR 31097483 (“Tirmizi and Baloch”).
   538
      The Nation (Pakistan), SCB Part of Country’s Social Fabric (Aug. 1, 2012), 2012 WLNR
   16156614.
   539
         Tirmizi and Baloch.
   540
         Id.
   541
         Id.


                                                    368
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 384 of 606 PageID #: 384




   with each other and the U.S. and Pakistani governments to reduce the risk of violence being

   aided by banks.

          1141. On information and belief, from 2001 through 2016, SCB Pakistan also regularly

   conducted “sustainability reviews,” in which SCB Pakistan closely examined the social,

   economic, and political trends impacting Pakistan. As part of this review process, SCB Pakistan

   regularly learned of the threat posed by Syndicate terrorist finance and logistics.

          1142. From 2001 through 2016, SCB Pakistan consistently maintained branches and

   offered the full complement of Standard Chartered Bank financial services to customers

   throughout Syndicate-controlled and contested areas of Pakistan, including Syndicate

   strongholds like Peshawar, Multan, Quetta, and Rawalpindi. SCB Pakistan’s presence

   throughout Pakistan gave the Defendants the benefit of deep local knowledge on-the-ground in

   Pakistan combined with Standard Chartered Bank’s capabilities and expertise as a global bank.

   According to SCB Pakistan, Standard Chartered Bank offered a unique value proposition that no

   other bank in Pakistan could match: SCB Pakistan’s “nationwide” footprint effectively

   “combine[d] the Bank’s deep local knowledge with its global expertise” to give Standard

   Chartered Bank an advantage over its competitors in Pakistan’s financial services market.542

          1143. Standard Chartered Bank relied upon its “deep local knowledge” of Pakistan to

   regularly issue reports concerning the effects of Syndicate activities on the Pakistani economy,

   including the ongoing threat of terrorist violence. For example, in July 2009, SCB Pakistan

   issued a public report that stated, in sum and substance, that the conflict with the Taliban had had

   a “devastating impact” on parts of Pakistan, and in May 2010, Standard Chartered PLC issued a


   542
      Standard Chartered Bank (Pakistan) Limited, Press Release, Pakistan Business News,
   Standard Chartered Saadiq Wins Islamic Bank of the Year in Pakistan Award by The Banker, an
   Affiliate of Financial Times - Press Release (June 19, 2013).


                                                   369
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 385 of 606 PageID #: 385




   report stating, in sum and substance, that foreign investment would decline in Pakistan because

   of the deteriorating security situation caused by the Taliban.

               1144. SCB Pakistan also differentiated itself as the only global financial institution that

   offered Sharia-compliant banking services in the Pakistani market. As SCB Pakistan’s CEO

   touted in 2013, “[SCB] Saadiq has retained a leadership position since 2004, as the only foreign

   bank in Pakistan that offers … sharia- compliant Islamic banking … services.”543 Because SCB

   Pakistan employed Sharia law Pakistani expert employees, SCB Pakistan had a detailed

   understanding of the Syndicate, al-Qaeda, and the Taliban, including its Haqqani Network.

               1145. SCB Pakistan knew that it and Standard Chartered Bank were operating a

   laundromat that was facilitating terrorist finance.

               1146. SCB Dubai. In 2006, the head of SCB Dubai’s Compliance Office told a senior

   U.S. official in the U.A.E. that Standard Chartered Bank’s compliance office vigorously reviews

   of all SCB Dubai transactions in the U.A.E. SCB Dubai thus facilitated Syndicate financial

   activity even though Standard Chartered Bank’s personnel in the U.A.E. were keenly aware of

   the elevated terrorist finance risk in the U.A.E.

               1147. In 2019, American and British regulators documented SCB Dubai’s reckless

   counter-terrorist finance practices through 2016 when they announced a new round of penalties

   against Standard Chartered Bank. As NYDFS found, “[i]n light of these supposed enhancements

   [to SCB’s compliance policies], the Bank determined that it would continue servicing customers

   in jurisdictions that posed substantial risks for ensuring compliance with U.S. sanctions laws,




   543
         Id.


                                                       370
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 386 of 606 PageID #: 386




   including the UAE.”544 Standard Chartered Bank did so, even though, “as a general matter, the

   Bank’s compliance infrastructure in the UAE region was woefully inadequate.”545 “Client-

   facing and compliance staff were … unconcerned with complex U.S. sanctions regulations.”546

   “Thus, the Bank’s [] controls at the Dubai branch were no match for even unsophisticated

   evasion efforts.”547

              1148. Standard Chartered Bank paid lip service to counter-terrorist finance practices

   while continuing “business as usual” at SCB Dubai. As NYDFS determined, “[a]dditional

   investigation undertaken by [NYDFS] since 2013 … has determined that, from 2008 through

   2014, a still notably inadequate [] compliance function, both at the Bank’s Home Office and its

   Dubai branch, allowed for the processing of an additional $600 million in USD payments that

   violated regulations issued by” the Treasury Department’s Office of Foreign Assets Control

   (“OFAC”), “and thus resulted in violations of New York laws and regulations as well.”548

   NYDFS’s investigation showed that “[a] large majority of these $600 million in illegal USD

   payments transited through the New York Branch – several dozen occurring as late as 2014.”549

              1149. SCB Dubai managers, employees, and agents regularly colluded with terrorist

   financiers, including on information and belief one or more of the Syndicate fronts, operatives,

   or agents identified in this Complaint, to help terrorist financiers evade U.S. and U.K. anti-




   544
      NYDFS, In re Standard Chartered Bank, and Standard Chartered Bank, New York Branch,
   Consent Order Under New York Banking Law §§ 39 and 44, at ¶ 41 (Apr. 9, 2019) (emphasis
   added) (“2019 Consent Order”).
   545
         Id. at ¶ 42 (emphasis added).
   546
         Id. (emphasis added).
   547
         Id. at ¶ 43 (emphasis added).
   548
         Id. at ¶ 5.
   549
         Id. at ¶ 6 (emphasis added).


                                                     371
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 387 of 606 PageID #: 387




   money-laundering/counter-terrorist-finance controls in order to specifically route U.S. Dollars

   from SCB New York to terrorists through SCB Dubai and SCB Pakistan through transaction that

   were specifically designed to enable U.S. Dollars to flow from SCB New York to known or

   suspected terrorist agents, operatives, and fronts without detection by U.S. and U.K.

   investigators.

          1150. SCB Dubai’s systemic terrorist finance was directly enabled by the knowing or

   reckless conduct of Standard Chartered Bank, including SCB London and SCB New York, both

   of which knew of, or were willfully blind to, years of obviously suspect transactions flowing

   through SCB Dubai and yet continued to process SCB Dubai’s transactions for terrorists.

          1151. Standard Chartered Bank, including SCB New York and SCB London, enabled

   SCB Dubai’s systemic, and vast, terrorist finance activities through 2015 with actual knowledge

   of what was happening at SCB Dubai. For example, from 2009 through 2015, Standard

   Chartered Bank’s own compliance monitoring reviews of SCB Dubai repeatedly flagged the

   extreme terrorist finance risk posed by SCB Dubai’s activities.

          1152. Consistent with their status as “repeat corporate offenders” who were part of a

   “rogue institution,” Standard Chartered Bank entities, including nearly all the SCB Defendants,

   played a role in many of the largest laundering and financial scandals:

         DOJ (Swiss Bank Tax Scandal). In 2015, DOJ settled with Standard Chartered Bank
          (Switzerland) SA in connection with DOJ’s Swiss Bank Program; SCB Switzerland
          “agree[d] to pay the sum of $6,337,000 as a penalty to [DOJ]” based on DOJ’s findings
          that “[b]y establishing and maintaining [] accounts, [SCB] provided assistance to certain
          U.S. Persons in evading their U.S. tax obligations,” and “provided account statements
          and other documentation to the account holder which contained only the account number
          in order to further insure the secrecy of the identity of the account holder.”

         NYDFS (ForEx Scandal). In 2019, NYDFS “fined [SCB] $40 million for attempting to
          rig transactions in foreign exchange markets between 2007 and 2013”; “the investigation
          by [NYDFS], as well as an internal review by [SCB], found that bank traders used a
          range of illegal tactics to maximize profits,” and “[SCB] admitted that it failed to


                                                  372
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 388 of 606 PageID #: 388




             implement effective controls over its foreign exchange business, which is conducted at
             [SCB London] and in other global financial centers, including at [SCB New York].”550

            India. In 1994, India fined SCB 342 million rupees (about $11 million then), for its
             involvement in a money laundering scheme that was the then-largest financial scandal in
             Indian history; one observer called SCB’s misconduct “reckless in the extreme.”551 In
             2020, “India’s anti-money laundering [] agency Enforcement Directorate (ED) … fined
             [SCB] INR1bn ($13.6m) for foreign exchange rule breaches during a local bank deal,”552
             which “mark[ed] one of the [India’s] biggest penalties slapped on an overseas lender.”553

            Japan. In 2004, Japan’s Financial Services Agency (“FSA”) announced that it would
             “punish [SCB’s] Tokyo branch for Banking Law violations that helped a criminal group
             launder funds” by SCB’s failure “to properly check customer identification and to
             produce transaction records,” and the FSA found that SCB “management did not respond
             appropriately to voluntarily improve compliance.”554

            Singapore. In 2017, Singapore fined SCB’s Singapore branch $5.2 million for playing a
             key role in facilitating the money laundering at issue in the 1MDB scandal, which was
             the largest financial scandal in Malaysian and Singaporean history and one of the largest
             criminal money laundering scandal in world history.

            Nigeria. In 2018, Nigeria’s central bank fined [SCB] 2.4 billion naira ($7.8 million) in
             connection with SCB’s role in a disputed $8.1 billion on behalf of the notorious South
             African telecom company, MTN Group, which was recklessly aiding the Nigerian
             terrorist group Boko Haram while SCB was helping MTN.

            Kenya. In 2019, Kenya announced that SCB was under investigation for helping aid the
             laundering of at least $10 million that was looted from Kenya’s National Youth Service
             over a two-year period. As was reported at the time, Kenyan investigators “believe[d]
             senior officials at [SCB] … quietly allowed some of the key suspects in the … looting …




   550
      NYDFS, Press Release, DFS Fines Standard Chartered Bank $40 Million For Attempting To
   Rig Foreign Exchange Transactions (Jan. 29, 2019).
   551
      Swamy Aiyar, How Greedy Bankers Fuelled a Bull Run that Couldn’t Last, Australian
   Financial Review (June 9, 1992), 1992 WLNR 5461605.
   552
      Retail Banker International, Standard Chartered Hit with $13.6m Fine for Lapses in 2007
   India Deal (Sept. 9, 2020).
   553
      United News of India, ED Slaps Rs 100 Fine on Standard Chartered Bank for FEMA
   Violations (Sept. 11, 2020).
   554
     Xinhua Economic News, Japan to Punish Standard Chartered for Involvement in Money
   Laundering (Feb. 20, 2004).


                                                    373
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 389 of 606 PageID #: 389




             to move large sums of money undetected.”555 In February 2020, SCB resolved the matter
             and paid a fine to the Kenyan government.

             1153. Moreover, Standard Chartered Bank is also directly involved in several of the

   other largest “dirty money” cases ever, continuing SCB’s pattern of being close to nearly every

   major USD-related financial scandal in emerging markets since the 1990s, including:

            Angolan Kleptocracy. In the 1990s and 2000s corrupt leaders of the Angolan
             government looted billions from the Angolan treasury, behavior for which “Standard
             Chartered [was] making itself part of the problem” by “helping the notoriously corrupt
             Angolan government,” and being “complicit[] in corruption.”556

            Odebrecht. Standard Chartered Bank played a central role in facilitating the money
             laundering activity at the heart of the Odebrecht scandal, which DOJ called “the largest
             foreign bribery case in history.” In the scandal, criminals used foreign bank accounts,
             including SCB accounts, to move hundreds of millions of dollars to pay bribes to
             government officials on behalf of the Brazilian construction company Odebrecht.

            World Cup. In 2015, the U.S. government alleged that Standard Chartered Bank
             accounts were used to launder some of the key bribes paid in connection with the FIFA
             bribery scandal concerning the World Cup, the largest scandal in sports history.

            Gupta. On information and belief, Standard Chartered Bank is currently under
             investigation relating to the Gupta money laundering and bribery scandal in South Africa,
             one of the largest financial scandals in South African history, in which SCB accounts
             were used, in part, to help facilitate hundreds of millions of alleged bribes to South
             African officials by a family of oligarchs, the Guptas. In 2019, U.K. lawmaker Lord
             Peter Hain alleged that Standard Chartered Bank is “directly culpable” for helping the
             Guptas conceal their illicit activities through a network of bank accounts and shell
             companies, stated that SCB is “up to their neck in this,” and explained that SCB
             facilitated Gupta’s money laundering scheme “because of course the corporates
             concerned, including the banks, were making money out of it.”557 Like it did with the
             Syndicate terrorists, SCB helped administer a “laundromat” for Gupta.558


   555
       Brian Wasuna, How Five Banks in Kenya Cleaned Dirty Money, East African (Kenya) (Feb.
   8, 2019), 2019 WLNR 4105196.
   556
     David Pallister, Alarm Bells Sound Over Massive Loans Bankrolling Oil-Rich, Graft-Tainted
   Angola; UK’s Standard Chartered Bank Criticised for its Leading Role in $2.35bn Deal,
   Guardian (June 1, 2005), 2005 WLNR 27534760.
   557
      BBC, Banks Facilitated South Africa Corruption Under Zuma, Says Peter Hain (Nov. 18,
   2019).
   558
         Financial Mail (South Africa), The Enablers (Feb. 6, 2020), 2020 WLNR 3665081.


                                                    374
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 390 of 606 PageID #: 390




          1154. Like most of the al-Qaeda- and Haqqani Network-related transactions here, the

   scandals at issue in the preceding paragraphs often involved the same SCB London, SCB Dubai,

   and/or SCB New York management teams, whom in nearly all instances enabled massive

   criminal schemes involving hundreds of millions, if not billions, of U.S. Dollars being moved in

   an open and egregious manner that would have been obvious to Standard Chartered Bank with

   the account data to which it had access. Simply put, the pattern is indicative of Standard

   Chartered Bank’s Laundromat Strategy.

          1155. Standard Chartered Bank has regularly acted in a manner consistent with its

   Laundromat scheme. The totality of Standard Chartered Bank’s conduct compels the conclusion

   that SCB consciously chose to serve as a Laundromat for terrorist financiers. In addition to the

   allegations above, Plaintiffs offer the following cross-cutting examples that corroborate activity

   as a Laundromat rather than a responsible financial institution:

          1156. SCB’s Enforcement History. A litany of terrorist finance-related enforcement

   matters resulted in Standard Chartered Bank paying nearly $3 billion to regulators on several

   continents. Such matters include, but are not limited to, those in the chart below and show that

   SCB’s “One Bank approach” included a decades-long institutional commitment to facilitating

   terrorist finance as a part of the Standard Chartered Bank business model:




                                                   375
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 391 of 606 PageID #: 391




            Date      Regulator       SCB                      Quote from Regulator
                                    Payment
         8/6/2012 -   NYDFS         $340M       “[SCB’s] willful and egregious violations of the law
         8/14/2012                              … left the U.S. financial system vulnerable to
                                                terrorists.559 … For nearly a decade, SCB
                                                programmatically engaged in deceptive and
                                                fraudulent misconduct in order to move at least
                                                $250 billion through its New York branch…
                                                Motivated by greed, SCB acted for at least ten years
                                                without any regard for the legal … and national
                                                security consequences of its … actions.”
         12/10/2012 DOJ, FBI        $227M       “For years, [SCB] deliberately violated U.S. laws.
                                                The [U.S.] expects a minimum standard of behavior
                                                from all … that enjoy the benefits of the U.S.
                                                financial system. [SCB]’s conduct was flagrant and
                                                unacceptable.”
         12/10/2012 OFAC            $132M       “We remain committed to … ensur[ing] that the
                                                U.S. financial system is protected from … this type
                                                of illicit financial behavior.”
         12/10/2012 Federal         $100M       “The orders address unsafe and unsound practices
                    Reserve                     … as well as insufficient oversight of its compliance
                                                program….”
         12/10/2012 Manhattan       $113.5M     “[SCB’s] case[] … send[s] a strong message about
                    DA                          the need for transparency in international banking,
                                                and ultimately contribute to the fight against …
                                                terror financing.”
         8/19/2014    NYDFS         $300M       “If a bank fails to live up to its commitments, there
                                                should be consequences. That is particularly true in
                                                an area as serious as anti-money-laundering
                                                compliance, which is vital to helping prevent
                                                terrorism.”
         8/5/2016     South         R30         “Spot inspections revealed weak measures to
                      African       million,    combat money laundering and the financing of
                      Central       equal to    terrorism.”
                      Bank          $220,000
         3/19/2018    Monetary      S$5.2       “The penalties were for breaches of MAS’ anti-
                      Authority     million,    money laundering and countering the financing of
                      of            equal to    terrorism (AML/CFT) requirements.”
                      Singapore     $3.95M
         4/9/2019     NYDFS         $180M       “Global financial institutions serve as the first line of
                                                defense against … the financing of terrorist


   559
         All emphases in this table are supplied.

                                                     376
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 392 of 606 PageID #: 392




           Date         Regulator      SCB                      Quote from Regulator
                                     Payment
                                                 activities and those that fail to foster a strong
                                                 compliance culture will be held accountable.”
         4/9/2019      Manhattan     $292M       “The investigation … showed that high-level SCB
                       DA                        officials knew of specific compliance deficiencies
                                                 and risks that allowed the criminal conduct to occur,
                                                 but were slow to address these issues.”
         4/9/2019      OFAC          $639M       “Today’s settlement resolves OFAC’s investigation
                                                 into apparent violations of a number of U.S
                                                 sanctions programs, including those relating to
                                                 Burma, Cuba, Iran, Sudan, and Syria.”
         4/9/2019      DOJ, FBI      $292M       “SCB and the individuals whose charges were
                                                 unsealed today undermined the integrity of our
                                                 financial system and harmed our national security.
                                                 … The financial penalty announced today leaves no
                                                 doubt that repeat corporate offenders with deficient
                                                 compliance programs will pay a steep price. When
                                                 bank employees and customers conspire to …
                                                 subvert our national security, we will bring them to
                                                 justice no matter where they reside or operate.”
         4/9/2019      Federal       $164M       “[F]rom December 2012 to December 2014, while
                       Reserve                   subject to the [Reserve’s] Orders, [SCB] personnel
                                                 engaged in unsafe and unsound practices.”

               1157. “But for a bank, regulatory fines are simply a cost of doing business.”560 “If the

   anticipated profits exceed the likely costs, the bank will continue to break the rules.”561 “And

   this is exactly what SCB has done.”562

               1158. Standard Chartered Bank’s 2012 resolutions with NYDFS, DOJ, and the

   Manhattan DA were widely understood as being a response to SCB’s deliberate facilitation of

   terrorist finance. As one British financial publication described, Standard Chartered Bank was



   560
      Frances Coppola, Standard Chartered Bank’s Long History Of Financial Crime, Forbes (Apr.
   10, 2019).
   561
         Id.
   562
         Id.


                                                      377
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 393 of 606 PageID #: 393




   “accused by US authorities of breaking money laundering rules … [relating to] Iranian

   ‘terrorists.’”563 The Telegraph reported with the two-part headline: “Standard Chartered was

   ‘Rogue Bank that Aided Terrorism’” and “Shock Money-Laundering Allegation by US

   Regulator Involves $250bn for Iran.”564 The Daily Mail concurred with the headline: “British

   Bank’s Links to Global Terror; US Accuses Standard Chartered of Laundering Billions for Iran

   and Hezbollah” and reported that “US authorities suspect the Iranian banks [aided by Standard

   Chartered Bank] also funded terrorist and militant groups, including Hezbollah, Hamas and the

   Palestinian Islamic Jihad.”565

          1159. Indeed, Standard Chartered Bank’s anti-American intent was so blatant that when

   an SCB executive later asserted that it “had no willful act to avoid sanctions,” DOJ forced

   Standard Chartered Bank to confirm, again, that it had willfully committed crimes, and SCB

   apologized for the executive’s contrary statement.

          1160. SCB’s Disregard of Treasury Department Warnings. Standard Chartered

   Bank operated its Laundromat from 9/11 through at least 2016 even while knowing that the U.S.

   government was concerned that SCB’s reckless practices could enable anti-American terrorists,

   including al-Qaeda, the Taliban, and the Haqqani Network. A few weeks after 9/11, the Daily

   Mail reported that “[a]ccounts at British bank[] … Standard Chartered [were] believed to be




   563
     Jonathan Russell, ‘The City Welcomes Foreign Investment Like No Other Place on Earth.
   Unfortunately, It is Also Threatening to Bring London Down’, Financial Management (London,
   UK) (Oct. 1, 2012), 2012 WLNR 23156178.
   564
     Louise Armitstead, Standard Chartered was ‘Rogue Bank that Aided Terrorism’; Shock
   Money-Laundering Allegation by US Regulator Involves $250bn for Iran, Telegraph Online
   (UK) (Aug. 13, 2012), 2012 WLNR 18261654.
   565
      James Salmon, British Bank’s Links to Global Terror; US Accuses Standard Chartered of
   Laundering Billions for Iran and Hezbollah, Daily Mail (UK) (Aug. 7, 2012), 2012 WLNR
   16714292.


                                                  378
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 394 of 606 PageID #: 394




   coming under scrutiny by US authorities for possible links to Osama Bin Laden and other

   terrorists.”566

           1161. From 2007 through 2010, the Treasury Department’s Undersecretary for

   Terrorism and Financial Intelligence, Stuart Levey, visited with global financial institutions to

   inform them about the terrorist finance risks associated with permissive banking practices. On

   information and belief, in 2007 and/or 2008, and again in 2009 and/or 2010, Undersecretary

   Levey advised Defendants, including but not limited to, SCB New York, SCB London, and SCB

   Dubai, of the risk that agents, operatives, and/or fronts acting on behalf of al-Qaeda, the Haqqani

   Network, and other al-Qaeda affiliate members of the Syndicate were using, or could use, banks

   to support anti-American terrorist attacks.

           1162. SCB’s Implicated In-House Attorneys and Compliance Officers. From 2001

   through 2016, Standard Chartered Bank’s systemic terrorist finance was enabled by crooked in-

   house attorneys and compliance officers at SCB London, SCB New York, and SCB Dubai. As

   one law professor wrote, Standard Chartered Bank’s behavior represented “[y]et another

   Shakespearean banking tragedy opened [], with [SCB] starring … as the villainous rogue,” in

   which NYDFS’s “order put[] [SCB]’s senior attorneys and compliance officers at the heart of the

   … scheme, even when outside counsel advised otherwise.”567

           1163. At global banks, “today’s in-house counsel are often profit centres, fonts of

   wisdom on how to avoid accounting rules, cut taxes and maintain the secrecy of dubious

   practices. One reason for the recent wave of abuses at big banks is that their in-house lawyers



   566
      Daily Mail, Bush Terror Cash Probe Includes UK Banks (Sept. 25, 2001), 2001 WLNR
   2648143.
   567
       Frank Partnoy (Professor of Law and Finance at the University of San Diego), True Villains
   of the StanChart Tragedy, Business Spectator (Aug. 9, 2012).


                                                   379
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 395 of 606 PageID #: 395




   have been more focused on speed and profit than on right and wrong.”568 “As recent debacles at

   … [Standard Chartered Bank] demonstrate, employees of big global banks increasingly lack a

   moral compass. Some general counsels and compliance officers do provide ethical guidance. But

   many are facilitators or loophole instructors, there to show employees the best way to avoid the

   law. Not even mafia lawyers go that far; unlike many bankers, mobsters understand the value of

   an impartial consigliere who will tell them when to stop.”569

               1164. SCB’s Intentionally Deficient Counter-Terrorist-Finance Compliance

   Policies and Programs. As a global bank headquartered in the United Kingdom, Standard

   Chartered Bank was required under U.K. law to establish and maintain appropriate and risk

   sensitive policies to minimize the risk of SCB being used by those seeking to finance terrorism

   or launder money.

               1165.   From 2001 through 2016, under Standard Chartered Bank’s Laundromat

   Strategy, SCB London deliberately designed SCB’s anti-money laundering (or “AML”) and

   counter-terrorist finance (or “CTF”) policies to promote the reckless processing of USD

   transactions in most instances regardless of the terrorist finance risk. SCB London enabled the

   Strategy by setting all AML and CTF policy for every Standard Chartered Bank branch, affiliate,

   and subsidiary, including SCB Dubai, SCB New York, SCB Pakistan, and SCB Afghanistan, and

   by regularly causing practices, decisions, and relationships that facilitated laundering.

               1166. SCB London has previously admitted that it is responsible for the terrorist finance

   violations at, among other places, SCB New York and SCB Dubai. For example, after NYDFS

   fined Standard Chartered Bank the second of four times (in August 2014), SCB London admitted



   568
         Id.
   569
         Id. (emphasis added).


                                                      380
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 396 of 606 PageID #: 396




   that it “accept[ed] responsibility for and regret[ted] the deficiencies in the anti-money laundering

   transaction surveillance system at its New York branch” and its “high-risk small- and medium-

   business clients in its UAE divisions.”570

          1167. SCB’s Practice of Ignoring, and Retaliating Against, Terrorist Finance

   Whistleblowers. From 2012 through 2016, Standard Chartered Bank was also aware of credible

   terrorist finance allegations by whistleblowers, which further alerted each SCB Defendant to its

   role in al-Qaeda’s and the Haqqani Network’s transnational terrorist enterprises, and their

   response pattern corroborates the SCB Defendants’ continued operation as a Laundromat for

   terrorist financiers through 2016.

          1168. The Standard Chartered Bank Defendants shared any terrorism-related allegations

   brought by any such whistleblowers amongst each other pursuant to SCB’s “One Bank

   approach,” and, by 2013, the SCB Defendants shared information with one another concerning

   of one or more whistleblowers whom: (1) were current and/or former SCB executives, managers,

   employees, or agents; and (2) had raised one or more concerns that SCB’s practices risked

   enabling anti-American terrorism.

          1169. Standard Chartered Bank had a policy of punishing those who raised questions

   and retaliating against anyone who was undeterred by such tactics, and employees of the SCB

   Defendants were threatened, harassed, and subjected to adverse employment consequences,

   including termination, when they raised concerns about potential terrorist finance at the bank. In

   at least several instances, one or more SCB Defendants retaliated against an SCB employee or




   570
      Ben Protess and Chad Bray, Caught Backsliding, British Bank is Fined; Standard Chartered
   Faces $300 Million Penalty for Falling Foul of 2012 Deal, International New York Times (Aug.
   20, 2014), 2014 WLNR 22902512.


                                                   381
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 397 of 606 PageID #: 397




   agent who had raised terrorist finance concerns. In both instances, Standard Chartered Bank

   failed to act on the terrorist finance concern but did punish the person asking questions.

              1170. SCB’s Use of Promontory to Conceal its Laundromat. As further indication of

   the egregious nature of Standard Chartered Bank’s misconduct, SCB even implicated

   Promontory Financial Group, LLC (“Promontory”) in SCB’s misconduct through acts that were

   designed to further conceal the operation of its Laundromat at SCB Dubai.

              1171. On August 3, 2015, NYDFS issued a scathing report concerning its investigation

   of Promontory Financial Group, LLC (“Promontory”), a supposedly independent consultant

   retained by Standard Chartered Bank purportedly to help SCB reduce the risk of terrorist

   finance.571 Among other things, NYDFS’s investigation found that:

             “Promontory exhibited a lack of independent judgment in the preparation and submission
              of certain reports [relating to SCB] to [NYDFS] in 2010-2011.”572
             A Senior Analyst at Promontory wrote that “[t]he most important thing is that we get to
              the end of the project without jeopardizing our relationship with [SCB] as a whole.”573
             “There [were] numerous instances where Promontory, at the direction of [SCB] or its
              counsel, or at its own initiative, made changes to ‘soften’ and ‘tone down’ the language
              used in its reports, avoid additional questions from regulators, omit red flag terms, or
              otherwise make the reports more favorable to [SCB],” and more than one “instance of
              Promontory’s efforts to remove red flags highlighting [SCB’s] misconduct.”574
             Promontory selectively emphasized a timeline that misleadingly suggested a trend of
              declining violations over time, while understanding that doing so makes it “appear[] to be
              a positive trend over time,” which would “not be true with Dubai,” and Promontory
              suspected that Standard Chartered Bank would “not want to show the timelines for
              Dubai,” as SCB and SCB’s counsel would view it as “painful information” for which
              Promontory could “expect strong pushback” from SCB and its counsel.575
             Standard Chartered Bank and Promontory took a cavalier view throughout, with
              Promontory personnel plotting to “make[] the Bank’s case look better” in one instance,

   571
         NYDFS, Report on Investigation of Promontory Financial Group, LLC (Aug. 3, 2015).
   572
         Id. at 15.
   573
         Id. at 6.
   574
         Id. at 6-7.
   575
         Id. at 9.


                                                     382
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 398 of 606 PageID #: 398




             looking for “[b]ig wins” for SCB in another, working to “[s]often the language a bit” in
             another, and, when yielding to another substantive edit from SCB, “ultimately decided,
             ‘[l]et’s do it. We’ve come this far, we might as well go for the three pointer.’”576

             1172. On August 18, 2015, Promontory resolved the matter with NYDFS.577 Under the

   agreement, Promontory: (1) acknowledged that “Promontory’s actions in [its engagement for

   SCB] did not meet [NYDFS’s] current requirements for consultants performing regulatory

   compliance work”; (2) made a $15 million “monetary payment” to NYDFS; and (3) promised to

   voluntarily abstain for six months from “any new engagements” that would require NYDFS to

   authorize the disclosure of certain confidential information.578

                     2.      Standard Chartered Bank Knew That Its Clients Were Engaged In
                             Money Laundering And Contributing To Bombmaking

             1173. Standard Chartered Bank knew its clients were engaged in money laundering.

   For example, SCB Dubai personnel affirmatively helped clients defeat anti-money-laundering

   safeguards designed to prevent terrorist finance. Supra Part IV.B.

             1174. Standard Chartered Bank knew Fatima and Pakarab supplied CAN fertilizer to the

   Haqqani Network for its bomb pipeline and relied upon SCB accounts to do so. Supra Part IV.C.

                     3.      Standard Chartered Bank Knew It Was A Preferred Bank For
                             Terrorist Financiers Based On Its History Of Enabling “Dirty
                             Money” Transactions

             1175. Standard Chartered Bank’s knowing terrorist finance and facilitation of al-

   Qaeda’s and the Haqqani Network’s CAN fertilizer bomb campaign comports with similar

   decisions made by the same SCB global leadership, regional and country managers during the

   same time at issue in this case. As NYDFS concluded in 2012, through its “programmatic”



   576
         Id. at 11-13.
   577
         See generally NYDFS, In re Promontory Financial Group, LLC, Agreement (Aug. 18, 2015).
   578
         See generally id.


                                                    383
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 399 of 606 PageID #: 399




   misconduct, “[i]n short, Standard Chartered Bank operated as a rogue institution,” and “left the

   U.S. financial system vulnerable to terrorists.” Seven years later, U.S. Attorney Liu branded the

   SCB Defendants “repeat corporate offenders.”

             1176. Consistent with Standard Chartered Bank’s “You F----ing Americans” attitude

   towards counter-terrorist finance from 2001 through 2016, Standard Chartered Bank executives

   prioritized Standard Chartered Bank’s profits over all else and pursued revenue regardless of

   terrorist finance risk and routinely facilitated anti-American terrorists’ transactions worldwide

   since the 1990s, and aided terrorists on four continents:

            The Americas. Standard Chartered Bank International (Americas) Ltd. and StanChart
             Securities International Inc. provided substantial financial services to key narcoterrorist
             operatives acting on behalf of the designated Colombian terrorist group, the “FARC.”579

            Europe/Former Soviet Union. Standard Chartered Bank facilitated transactions with
             Russian bank Sberbank, doing so even after Ukraine credibly accused Sberbank of
             “funding terrorism in … Ukraine” based upon “evidence for the accusation of sponsoring
             terrorism [that was] convincing,” including that Sberbank had “launder[ed] money for
             separatists.”580 In 2020, the U.K. “Office of Financial Sanctions [] imposed on [SCB] its
             largest ever fine of £20.4 million in a ‘most serious case’” based upon Standard
             Chartered Bank’s violations of Russian sanctions over “an extended period of time,
             leading to [SCB] repeatedly” breaking U.K. law.

            Africa. In 2016, South Africa’s central bank fined Standard Chartered Bank’s branch in
             South Africa “after spot inspections revealed weak measures to combat … the financing
             of terrorism.”581

            The Middle East. In at least thirteen (13) separate instances, American or British
             regulators and/or prosecutors determined that SCB London, SCB New York, and/or SCB


   579
      See generally Stansell et al. v. Revolutionary Armed Forces of Colombia (FARC), et al., No.:
   8:09–CV–2308–RAL–MAP, 2011 WL 13176719 (M.D. Fla. Sept. 19, 2011) (order permitting
   ATA plaintiffs who were injured in terrorist attacks by FARC to collect on FARC assets in
   accounts at the identified SCB entities).
   580
     Martin Nunn, Could the City Become an Unwitting Funder of Putin’s Terror?, Independent
   Online (UK) (Apr. 18, 2014), 2014 WLNR 10524602.
   581
     Reuters, UPDATE 1-South Africa’s Central Bank Fines Banks $2.5 Mln for Weak Anti-
   Laundering Measures (Aug. 5, 2016).


                                                     384
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 400 of 606 PageID #: 400




             Dubai engaged in misconduct that facilitated terrorist finance activities in the Middle
             East, collectively fining Standard Chartered Bank nearly $3 billion.

            South Asia. Standard Chartered Bank accounts were used in 2006 earthquake relief
             fundraising by al-Qaeda affiliate, Lashkar-e-Taiba (“LT”), and on information and belief,
             SCB Pakistan and SCB London transacted more than $10,000 in USD currency
             exchanges on behalf of a sham charity established by LT.

            Southeast Asia. The Monetary Authority of Singapore (“MAS”) fined Standard
             Chartered Bank’s Singapore branch about $4 million, in March 2018, “for breaking …
             terrorism financing rules.”582

             1177. Standard Chartered Bank’s knowing and deliberate processing of transactions on

   behalf of known or suspected Iranian terrorist agents, operatives, and fronts illustrates Standard

   Chartered Bank’s institutional effort to profit from anti-American terrorist finance. For

   example, then-Representative (now Senator) Chris Van Hollen stated that “Standard Chartered

   Bank” was a global “financial institution[] that knowingly facilitate[d] transactions for the terror

   group Hezbollah” and had “knowingly help[ed] Hezbollah fund its terror operations by

   concealing billions of dollars in transactions with its Iranian sponsor.”583

             1178. Moreover, in providing USD services to Iranian terrorist fronts, including IRGC-

   QF and Hezbollah, “recidivist rule-breaker [SCB] … persisted … against the stern warnings of

   its outside counsel.”584 As an example of Standard Chartered Bank’s duplicity, NYDFS and the

   Manhattan DA found that SCB Dubai – enabled by other SCB London and SCB New York –

   continued egregious banking practices that facilitated terrorist finance through 2014. In so




   582
      James Booth, Standard Chartered Fined Over Terror Finance Breach, City AM (Mar. 20,
   2018), 2018 WLNR 8605412.
   583
      Robert Tilford, “Some of the World’s Most Powerful Banks are Knowingly Helping
   Hezbollah Fund its Terror Operations” Says Rep. Van Hollen, Ground Report (May 18, 2015),
   2015 WLNR 14539788.
   584
     Yves Smith, New York’s Benjamin Lawsky Collects Scalps, Showing Regulators Can *Gasp*
   Regulate, Naked Capitalism (October 7, 2014), 2013 WLNR 15172530.


                                                     385
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 401 of 606 PageID #: 401




   doing, NYDFS and the Manhattan DA “found that both a senior U.S. sanctions compliance

   officer, and a senior U.K. sanctions compliance officer utterly failed to take steps to ensure that

   transactions from Iran were blocked after bank staff discovered dozens of clients … Instead, the

   two executives proceeded in a ‘business-as-usual fashion.’”585

                    4.     Standard Chartered Bank Knew It Regularly Disregarded Terrorist
                           Finance Red Flags Recognized By Others

             1179. Standard Chartered Bank’s knowing intent to process transactions that it knew

   posed an extreme risk of routing terrorist finance or supplies to al-Qaeda and the Haqqani

   Network is demonstrated by its history of disregarding terrorism red flags noted by others.

             1180. Standard Chartered Bank also regularly facilitated USD transactions for high-

   terrorist-finance risk customers or counterparties even after: (1) the U.S. government asked

   Standard Chartered Bank to end its relationship; (2) an American jury determined the customer

   aided terrorist finance; and/or (3) Standard Chartered Bank learned that others in the financial

   services marketplace had ceased doing business with the same person based upon concern that

   the provision of financial services to the person could aid the person’s terrorist agenda:

            National Iranian Tanker Company. On information and belief, in 2007 or 2008,
             Undersecretary Levey specifically warned the Defendants not to provide financial
             services to potential IRGC fronts involved in the movement of supplies, dual-use goods,
             and petroleum products, including the National Iranian Tanker Company (“NITC”),
             which was at all times an IRGC-QF front. Even after the U.S. asked Standard Chartered
             Bank in 2007 or 2008 and SCB admitted wrongdoing in 2012, however, SCB Dubai
             continued to provide USD services to NITC through at least 2014, on information and
             belief processing millions in USD-denominated transactions for the IRGC-QF’s benefit
             through its front, NITC. On information and belief, when the U.S. designated the IRGC
             as an FTO in April 2019, NITC’s activities formed a substantial basis for the IRGC’s
             designation, as the U.S. government has concluded that “NITC has [] played a significant
             role in oil deals used to generate revenue for the IRGC-QF and Hizballah.”586


   585
         2019 NYDFS Press Release.
   586
      U.S. Department of the Treasury, Press Release, Treasury Sanctions Key Actors in Iran’s Oil
   Sector for Supporting Islamic Revolutionary Guard Corps-Qods Force (Oct. 26, 2020).


                                                   386
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 402 of 606 PageID #: 402




         Arab Bank. Even though SCB promised to stop doing business with high-risk terrorist
          finance customers, it continued processing tens of millions of dollars in Arab Bank
          transactions through 2014. Even after a federal jury in this District ruled for plaintiffs in
          their landmark ATA trial victory against Arab Bank, SCB continued funding millions of
          dollars’ worth of transactions with wire references including classic red flags raised in the
          trial such as “charities,” “donations,” “support” or “gifts.” In so doing, Standard
          Chartered Bank knew, as SCB itself documented, that terrorists’ “illicit activities” were
          foreseeably being financed “under the guise of charity.”

          1181. Just like with Fatima, with National Iranian Tanker Company and Arab Bank,

   Standard Chartered Bank was told one of its competitors declined a financial relationship with an

   SCB customer based upon terrorism red flags and SCB continued the suspect relationship.

          C.      Danske Bank Knew It Was Aiding Terrorists

                  1.      Danske Bank Knew That It Operated As A Criminal Enterprise And
                          Laundromat Until 2017

          1182. Danske Bank knew in 2007 that the Estonia branch was a laundromat. It was

   pointed out to Danske Bank by regulators, and Danske Bank investigated. Danske Bank chose to

   keep operating the laundromat, and to aggressively grow the laundromat, rather than to reform,

   in the face of being confronted with the evidence of its own ongoing bad acts.

          1183. Danske Bank knew it was operating a laundromat because the amount of money it

   laundered in Estonia was nearly 10 times Estonia’s gross domestic product.

          1184. Danske Bank knowingly operated the laundromat, and it knew that its banking

   practices in Estonia, and therefore its own banking practices there, were designed to facilitate

   financial crime and money laundering.

          1185. At all relevant times, when Danske Bank knowingly operated its laundromat,

   Danske Bank did so while knowing that criminals and terrorists would use the Danske Bank

   laundromat to perpetrate financial crime and to finance terrorism.




                                                   387
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 403 of 606 PageID #: 403




                  2.      Danske Bank Knew That Its Clients Were Engaged In Money
                          Laundering, VAT Fraud, And Capital Flight, Which Danske Bank
                          Knew Were Red Flags For Terrorist Finance

          1186. Danske Bank set up its Estonia branch to be separate from the rest of the bank, so

   that the Estonia branch would not receive adequate oversight. This was designed to provide

   Danske Bank plausible deniability with regard to Danske Bank Estonia’s actions.

          1187. But Danske Bank still knew that Danske Bank Estonia was criminally laundering

   money because (1) in 2007, the Russian Central Bank told the Danish Financial Services

   Authority that Danske Bank Estonia was facilitating crime and money laundering with

   significant magnitude and regularity, and the Danish authorities passed that message on to

   Danske Bank; (2) throughout the scheme, the Estonia branch had many of nonresident customers

   who carried out such large volumes of transactions that it should have flagged the problem for

   Danske Bank’s headquarters; (3) in 2012 Estonian regulator told Danske Bank “the relatively big

   concentration of the business relationships from risk countries in [the Estonia branch] is not

   accidental,” and Danske Bank’s board said that although the bank recognized there were “a

   number of high risk customers” the bank was confident in its controls;587 (4) in 2013, Danske

   Bank’s compliance group identified some of the Estonia branch clients as “our black-listed

   Russian customers;” (5) in 2013 a correspondence bank clearing dollar transactions for the

   Estonia branch ended its relationship with the branch; (6) in 2013, a whistleblower, an employee

   at the Estonia branch, reported to Danske Bank that Danske Bank knowingly continued to deal

   with a company that it knew had committed crime; (7) in 2014 Danske Bank’s own internal

   auditors had found branch staff to have deliberately concealed the identities of suspicious clients




   587
      Professional Wealth Management (PWM), Danske scandal should lead to renewed scrutiny
   of new clients (February 27, 2019), 2019 WLNR 6352499.


                                                   388
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 404 of 606 PageID #: 404




   from local authorities; (8) the massive profits Danske Bank generated out of the Estonia

   branch—10.7 percent of the overall Danske Bank profit—were not explainable, particularly in

   comparison to the overall allocation of assets to that branch—approximately 1 percent; and (9)

   throughout the scheme, the sheer number and volume of U.S. Dollar transactions flowing

   through Danske Bank New York should have raised red flags.

             1188. Danske Bank has admitted that it believes employees of the Estonia branch

   assisted clients circumvent money-laundering controls.

             1189. Additionally, a report by the firm hired by Danske Bank’s board disclosed that

   Danske Bank ignored years of signals about problematic transactions at its Estonia branch,

   including a warning in 2007 about criminal activity involving substantial sums on a monthly

   basis. Nienke Palstra, an anti-money-laundering campaigner for Global Witness, a London-

   based nonprofit organization was reported to have said “[t]here is no way that senior

   management would not have noticed” the “sheer volume of the transactions” which “should have

   sounded alarm bells.”588

             1190. When the Estonia employee of Danske Bank blew the whistle on Danske Bank,

   he said, in relevant part, that “[t]he bank may itself have committed a criminal offence; The bank

   can be seen as having aided a company that turned out to be doing suspicious transactions

   (helping to launder money?); The bank has likely breached numerous regulatory requirements.

   The bank has behaved unethically; and There has been a near total process failure.”

             1191. It has been reported that Kilvar Kessler, the head of the Finantsinspektsioon, or

   Estonian Financial Supervision Authority (FSA), met with Danske Bank Estonia’s CEO, Aivar

   Rehe, and when asked if Danske Bank’s management in Denmark knew of the Estonia branch’s


   588
         Wash. Post, CEO of Danish Bank Quits Amid Investigation (Sept. 20, 2018).


                                                    389
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 405 of 606 PageID #: 405




   facilitation of crime and money laundering, Rehe said “[o]f course they knew.”589 Rehe

   committed suicide in 2019.

           D.       Placid Express Knew It Was Aiding Terrorists

           1192. It is widely known, including, on information and belief, by Placid Express, that

   Khanani for over two decades laundered money for multiple terror and organized crime groups.

           1193. At all relevant times, Placid Express knowingly allowed the Khanani MLO to

   transfer hundreds of thousands of dollars using Placid Express’s facilities.

           1194. At all relevant times, when Placid Express knowingly allowed the Khanani MLO

   to launder money, Placid Express did so while knowing that the Khanani MLO was assisting and

   providing resources to the Syndicate.

           1195. By 2008, Placid Express understood that Khanani had a global reputation as a

   suspected money launderer and terrorist financier who worked for al-Qaeda and the Taliban

   based upon Khanani’s well-known reputation for such conduct in Pakistan, among financial

   services compliance professionals throughout the world, and regularly reported on by major

   media outlets.

           1196. The nature, counterparties, and sheer volume of transactions Placid Express

   allowed the Khanani MLO to complete provided Placid Express general awareness that Placid

   Express was playing a role in overall illegal or tortious activity at the time.

           1197. For example, the Khanani MLOs’ transfers of U.S. Dollars using Placid Express

   were inherently illegal in and of themselves, so Placid Express knew of its role in an illegal

   activity.




   589
     Organized Crime and Corruption Reporting Project, Newly Obtained Audit Report Details
   How Shady Clients from Around the World Moved Billions Through Estonia (March 12, 2021).


                                                    390
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 406 of 606 PageID #: 406




          1198. The nature, counterparties, and sheer volume of transactions Placid Express

   allowed the Khanani MLO to complete provided Placid Express general awareness that its

   customers were part of the Khanani money laundering organization.

          1199. On information and belief, Placid Express executives and middle management

   knew that Placid Express processed transactions that represented money laundering by fronts,

   operatives, or agents of the Syndicate.

          1200. Because Placid Express allowed notorious money launderers to use Placid

   Express to launder U.S. Dollars, it was foreseeable to Placid Express that Khanani would do so

   on behalf of and for the benefit of the Syndicate.

          1201. Because Placid Express allowed the Khanani money laundering organization to

   launder U.S. Dollars using Placid Express, and it was widely known that Khanani acted for the

   benefit of the Syndicate, Placid Express was generally aware of its role in an overall illegal

   activity from which acts of international terrorist was a foreseeable risk.

          1202. Khanani and the Khanani money laundering organization are closely intertwined

   with the Syndicate’s violent terrorist activities. As such, Placid Express was generally aware that

   by providing U.S. Dollar transfer services to Khanani and the Khanani money laundering

   organization Placid Express was playing a role in unlawful activities from which the Syndicate’s

   attacks were foreseeable.

          1203. Placid Express knew its customers, and therefore it knew that it was giving

   assistance, not in an innocent or inadvertent way, to Khanani and the Khanani MLO, which were

   in turn working as agents for the Syndicate.




                                                   391
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 407 of 606 PageID #: 407




           1204. At all relevant times, Placid Express knew, or was generally aware, that Khanani

   was a known agent of, and widely understood to launder money for, al-Qaeda, the Taliban, and

   the Haqqani Network.

           1205. At all relevant times, Placid Express knew, or was generally aware, that

   Khanani’s activities were likely related to Syndicate terrorist logistics or finance activity.

           1206. The nature, counterparties, and sheer volume of transactions Placid Express

   allowed the Khanani MLO to complete gave Placid Express knowledge that its clients were

   engaged in illegal activity, including but not limited to the illicit transfer of funds.

           E.      Wall Street Exchange Knew It Was Aiding Terrorists

           1207. It is widely known, including, on information and belief, by Wall Street

   Exchange, that Khanani for over two decades laundered money for al-Qaeda, the Taliban

   (including its Haqqani Network), and other terrorist groups, by helping them conduct terrorist

   finance-related transactions that moved their money and financed their operations.

           1208. In just one example, Farzam Mehdizadeh, a Canadian agent of Khanani and

   Khanani’s money-laundering organization, was arrested in 2016 by the Royal Canadian Mounted

   Police after a search of his car found hidden therein $1.3 million in cash. Thereafter, the

   authorities searched Mehdizadeh’s house and found evidence of international wire transfers via

   Wall Street Exchange. Mehdizadeh was charged in 2017 on accusations he laundered $100

   million in one year.

           1209. Prior to April 2016, the Royal Canadian Mounted Police tracked Mehdizedeh as

   he traveled from Toronto to Montreal eighty-one times. On information and belief, each of those

   trips was done to launder money for Khanani and Khanani’s money-laundering organization.

           1210. Wall Street Exchange knew that Mehdizedeh was laundering money, and used

   Wall Street Exchange to do so, for Khanani and the Khanani MLO.


                                                     392
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 408 of 606 PageID #: 408




           1211. Wall Street Exchange therefore intentionally facilitated money laundering,

   including for Khanani. A large volume of the money that Khanani was moving around the world

   was being run through Wall Street Exchange.

           1212. At all relevant times, Wall Street Exchange knowingly allowed the Khanani MLO

   to transfer millions if not billions of dollars using Wall Street Exchange’s facilities.

           1213. At all relevant times, when Wall Street Exchange knowingly allowed the Khanani

   MLO to launder money, Wall Street Exchange did so while knowing that the Khanani MLO was

   assisting and providing resources to the Syndicate.

           1214. The nature, counterparties, and sheer volume of transactions Wall Street

   Exchange allowed the Khanani MLO to complete provided Wall Street Exchange general

   awareness that Wall Street Exchange was playing a role in overall illegal or tortious activity at

   the time.

           1215. For example, the Khanani MLO’s transfers of U.S. Dollars using Wall Street

   Exchange were inherently illegal in and of themselves, so Wall Street Exchange knew of its role

   in an illegal activity.

           1216. The nature, counterparties, and sheer volume of transactions Wall Street

   Exchange allowed the Khanani MLO to complete provided Wall Street Exchange general

   awareness that its customers were part of the Khanani MLO.

           1217. On information and belief, Wall Street Exchange executives and middle

   management knew that Wall Street Exchange processed transactions that represented money

   laundering by fronts, operatives, or agents of the Syndicate.




                                                    393
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 409 of 606 PageID #: 409




           1218. Because Wall Street Exchange allowed notorious money launderers to use Wall

   Street Exchange to launder U.S. Dollars, it was foreseeable to Wall Street Exchange that

   Khanani would do so on behalf of and for the benefit of the Syndicate.

           1219. Because Wall Street Exchange allowed the Khanani money laundering

   organization to launder U.S. Dollars using Wall Street Exchange, and it was widely known that

   Khanani acted for the benefit of the Syndicate, Wall Street Exchange was generally aware of its

   role in an overall illegal activity from which acts of international terrorist was a foreseeable risk.

           1220. Khanani and the Khanani money laundering organization are closely intertwined

   with the Syndicate’s violent terrorist activities. As such, Wall Street Exchange was generally

   aware that by providing U.S. Dollar transfer services to Khanani and the Khanani money

   laundering organization Wall Street Exchange was playing a role in unlawful activities from

   which the Syndicate’s attacks were foreseeable.

           1221. Wall Street Exchange knew its customers, and therefore it knew that it was giving

   assistance, not in an innocent or inadvertent way, to Khanani and the Khanani MLO, which were

   in turn working as agents for the Syndicate.

           1222. At all relevant times, Wall Street Exchange knew, or were generally aware, that

   Khanani was a known agent of, and widely understood to launder money for, al-Qaeda, the

   Taliban, and the Haqqani Network.

           1223. At all relevant times, Wall Street Exchange knew, or were generally aware, that

   Khanani’s activities were likely related to Syndicate terrorist logistics or finance activity.

           1224. The nature, counterparties, and sheer volume of transactions Wall Street

   Exchange allowed the Khanani MLO to complete gave Wall Street Exchange knowledge that its

   clients were engaged in illegal activity, including but not limited to the illicit transfer of funds.




                                                     394
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 410 of 606 PageID #: 410




   VII.   DEFENDANTS’ FINANCIAL AND LOGISTICAL ASSISTANCE TO AL-
          QAEDA, THE HAQQANI NETWORK, AND THEIR ALLIES WAS
          SUBSTANTIAL, AND AIDED TERRORIST ATTACKS AGAINST AMERICANS
          IN AFGHANISTAN BETWEEN 2011 AND 2016

          1225. As set forth below, Defendants’ bombmaking assistance to the Syndicate was

   substantial and caused terror attacks. Defendants enabled al-Qaeda’s and the Haqqani Network’s

   transnational terrorist finance, and Standard Chartered Bank also aided the Haqqani Network’s

   sourcing of the al-Qaeda’s CAN fertilizer bomb supply pipeline. By aiding customers who were

   active terrorist operatives, agents, or fronts for al-Qaeda, the Haqqani Network, or another

   Syndicate member, Defendants supplied al-Qaeda, the Taliban (including its Haqqani Network),

   and Lashkar-e-Taiba financial and explosive resources that enabled Syndicate terrorists to

   conduct thousands of CAN fertilizer bomb attacks against Americans in Afghanistan each year

   from 2011 through 2016.

          A.      Defendants Provided Support Tailored To The Violence At Issue Here

          1226. Defendants’ assistance was tailored to the specific violence at issue: Defendants

   provided U.S. Dollars which al-Qaeda and the Haqqani Network required to finance their

   terrorist campaign in Afghanistan.

          1227. In addition to the above, Standard Chartered Bank also provided tailored aid to al-

   Qaeda and the Haqqani Network through the CAN fertilizer it helped them source.

          1228. Defendants’ Laundromat services were vital to enabling al-Qaeda and the

   Haqqani Network to convert their narcotics income into useable terrorist finance. For example,

   Rhoda Weeks-Brown, general counsel of the International Monetary Fund, explained the long-

   standing global recognition of the direct link between Laundromat activities in high-risk terrorist

   finance jurisdictions and “terrorism financing” needed for al-Qaeda to commit terrorist attacks:

          Money laundering is what enables criminals to reap the benefits of their crimes
          … dirty money … may be a source of funding for terrorism … Terrorist groups


                                                  395
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 411 of 606 PageID #: 411




             need money, lots of it, to compensate fighters and their families; buy weapons,
             food, and fuel; and bribe crooked officials … The IMF is committed to helping its
             members identify today’s dirty money laundromats—and close them down. The
             stakes have never been higher.590

             1229. Defendants’ assistance also provided the terrorists with critical diversification

   advantages. Money laundering and the use of a network of fronts, agents, and operatives also

   strengthened al-Qaeda and Haqqani Network (and, through it, the Taliban) by allowing each

   group to diversify its income. For terrorists subject to crippling international sanctions,

   diversification was critical: it offered each group a degree of financial resiliency that made it

   less susceptible to American counter-terrorist-finance and counterinsurgency efforts.

             1230. Defendants’ provision of banking and remitter services to agents, operatives, and

   fronts for al-Qaeda, the Taliban (including its Haqqani Network), Lashkar-e-Taiba, Jaish-e-

   Mohammed, and D-Company enabled the efficient operation of their shared transnational

   terrorist enterprise as a firm as bin Laden had always envisioned. By doing so, Defendants

   helped each member of the Syndicate unlock the “firm”-related efficiency advantages made

   classic by Ronald Coase’s theory of the firm. In their book, The Future of Terrorism, Walter

   Laquer and Christopher Wall explained:

             For terrorism to be a viable tactic, there needs to be an industrial effort behind the
             planning, recruiting, training, procurement of supplies and actual execution. This
             reality means that in many ways, groups like … [al-Qaeda] fall within the bounds
             of Ronald Coase’s theory of the firm. Coase’s theory, at its most basic level,
             argues that pricing in open markets rarely takes into account such transaction
             costs as information costs, trade, and enforcement of contracts that inflate the
             costs of trade. Coase argues that an entrepreneur who could organize a firm could
             reduce these costs. Terrorist organizations have an incentive for organizing along
             these lines for the reasons outlined above, with the added caveat that they
             manufacture political violence.591


   590
      Rhoda Weeks-Brown, Cleaning Up, Business and Financial Times (Ghana) (June 11, 2019),
   2019 WLNR 17821676 (emphasis added).
   591
         Laquer and Wall, Future of Terrorism, at 209-210.


                                                      396
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 412 of 606 PageID #: 412




             1231. The litany of U.S. government designations related to the terrorists in this

   Complaint also confirm that every transaction that Defendants has with such persons necessarily

   aided the Syndicate because every U.S. government designation of a Syndicate-related terrorist

   reflected the U.S. government’s official judgment that any transactions with the person aided the

   Syndicate’s terrorist enterprise, and it was therefore impossible to separate the “good” money

   from the “bad” money.

             1232. To ensure that al-Qaeda’s CAN fertilizer bombing campaign could be pursued at

   a nationwide scale, and aggressive attack tempo, the Syndicate sought to maximize its financial

   resources through every available channel. Transnational terrorist finance was a key financial

   force multiplier for the Syndicate, as it allowed Syndicate members to more efficiently, timely,

   and predictably move and redistribute the vast cash flows from the criminal proceeds amongst

   themselves. By strengthening the Syndicate’s financial logistics chain, terrorist finance activities

   directly supported a greater pace of successful attacks against Americans.

             1233. Defendants’ Laundromat transactions with the Syndicate enabled an especially

   potent form of terrorist finance for it because Defendants facilitated a stream of terrorist finance

   that was entirely amongst criminals – Defendants, Khanani, and their counterparties – and

   therefore was easier to conceal, which is a core objective of any terrorist finance scheme. In

   1999, Yossef Bodansky explained the enormous operational advantages such an outcome affords

   to Islamist terrorists like al-Qaeda and the Taliban:

             [al-Qaeda] networks locally obtain operational funds by selling drugs, [and]
             laundering money … The operations of these networks take place with extremely
             deep cover within the tangled web of organized crime, an environment that
             already goes out of its way to shield its activities from law enforcement []. This
             multiple-layered security significantly increases the likelihood that [al-Qaeda]
             will achieve surprise when they launch a … terrorist operation …592

   592
         Bodansky, Bin Laden, at 322.


                                                    397
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 413 of 606 PageID #: 413




             1234. The Syndicate’s ability to count on regular and predictable cash flow, as a result

   of its terrorist finance activities, increased the lethality of the CAN fertilizer bomb campaign. By

   ensuring the Syndicate’s ability to regularly pay fighters who joined for financial rather than

   ideological reasons, predictable cash flows from terrorist finance allowed the Syndicate to

   maintain the large numbers of fighters, smugglers, and factory workers necessary to the entire

   CAN fertilizer bomb campaign. Moreover, regularized cash flows from criminal activities and

   money laundering helped ensure that al-Qaeda, the Taliban, and the Haqqani Network could

   keep the peace amongst their affiliates, and each other, so they could all concentrate on their

   shared jihad against the United States. By preventing fissures amongst the members of the

   terrorist mafia cartel that is the Syndicate, which could threaten the viability of al-Qaeda’s joint

   venture in the first instance, terrorist finance activities were core to the Syndicate’s ability to

   function smoothly and without rancor.

             1235. The fusion of the Syndicate’s opium revenue recycling with its terrorist campaign

   was complete. In 2004, “the outgoing CIA station chief in Kabul dispatched a message home

   warning of the growing link between the Taliban and the drug trade. ‘His cable said there was a

   direct causal link between insurgent funding and the opium trade,’ according to a U.S. official

   who saw the document. ‘If we do not do something about this, he wrote, we will win the battle

   and lose the war.’”593 As Senator Mark Warner explained in 2008, “the revenues from …

   poppy” “are recycled directly to the Taliban,” who “then invests them in weapons and uses those

   weapons against our forces.”594



   593
         Peters, Seeds of Terror, at 191 (emphasis added).
   594
     CQ-RollCall Political Transcriptions, Senate Armed Services Committee Hearing on the
   Defense Authorization Request for Fiscal Year 2009 (Feb. 6, 2008), 2008 WLNR 32061678.


                                                     398
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 414 of 606 PageID #: 414




             1236. By 2009, there was a “consensus within the Pentagon and the US law

   enforcement community that fighting the opium trade would be critical to turning the tide in

   Afghanistan.”595 On February 3, 2009, Pentagon and NATO officials publicly recognized the

   fusion of terrorist finance, Taliban narcotics activity, and Syndicate attacks.596

             1237. Similarly, a Pakistani columnist explained, “[i]ndividuals and companies involved

   in the schemes like the Russian and Azerbaijani Laundromats” “relied on European banks to”

   “transfer illicit funds,” which likely enabled “serious crimes, including terrorism.”597

             1238. Former U.S. government officials also publicly testified as to the fusion of

   Russian Mafia-related Laundromat activities with anti-American terror. For example, Heather

   A. Conley, formerly the Deputy Assistant Secretary of State for Eurasian Affairs, testified that

   “anti-money laundering measures” with a “specific focus on Russia” were linked to the

   prevention of “terrorism financing,” and for that reason, “[i]t [was] time for the United States to

   close the Russian laundromat and its affiliated enabling services that operates within and outside

   the U.S. financial system.”598

             1239. In 2019, the European Parliament reiterated the widespread understanding in

   Europe that a bank’s decision to deliberately facilitate money laundering inextricably enables

   terrorist finance. Among other things, the “European Parliament … stresse[d] that”:



   595
         Peters, Seeds of Terror, at 236.
   596
      Gerry J. Gilmore, Afghan Drug Operations Come Under Intensified Scrutiny, Spokesman
   Says, American Forces Press Service (Feb. 3, 2009).
   597
      Columnists from India and Pakistan, World’s Biggest Money Laundering Market (Mar. 4,
   2019).
   598
      Testimony of Heather A. Conley, Former Deputy Assistant Secretary of State for Eurasian
   Affairs and Senior Vice President for Europe and Eurasia in the Center for Strategic and
   International Studies, Senate Banking, Housing and Urban Affairs Committee Hearing on Russia
   Sanctions, Financial Markets Regulation Wire (Sept. 6, 2018).


                                                    399
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 415 of 606 PageID #: 415




            “money laundering … assume[d] various forms, and that the money laundered [could]
             have its origin in various illicit activities, such as corruption, arms and human trafficking,
             drug dealing, tax evasion and fraud, and [could] be used to finance terrorism”;

            AML rules governing financial institutions directly “combat[ted] the laundering of
             money … to counter the financing of terrorist activities” and “note[d] that the [EU’s]
             AML framework chiefly relie[d] on a preventive approach to money laundering, with a
             focus on the detection and the reporting of suspicious transactions”;

            “tax haven regimes” that enabled terrorist finance “[were] also present in developing
             countries”; and

            the European Parliament “[r]eiterate[d] that intermediaries play[ed] a crucial role in
             facilitating … the financing of terrorism.”599

             1240.

             B.      The Amount Of Money, And Concealment Of The Same, Were Both
                     Significant

             1241. Al-Qaeda’s CAN fertilizer bomb campaign cost a substantial amount of money,

   and illicit streams of income from its global terrorist finance enterprise played a key role in

   funding every aspect of al-Qaeda’s overall bombing campaign, including the Haqqani Network’s

   CAN fertilizer bomb pipeline. Whenever the Syndicate killed or injured an American in

   Afghanistan by exploding a CAN fertilizer bomb, every part of that single attack chain cost al-

   Qaeda and its allies money: purchasing Fatima Group CAN Fertilizer and associated bomb

   component parts, converting Fatima Group CAN Fertilizer into ammonium nitrate in an al-

   Qaeda lab, turning the resulting ammonium nitrate into a CAN fertilizer bomb through an al-

   Qaeda bombmaker, smuggling the CAN fertilizer bomb to the relevant Syndicate attack cell,

   supporting that attack cell during the pendency of the attack, and providing specialized training

   for the attackers, including suicide bombers. As the United States explained in one criminal case




   599
         European Parliament Report.


                                                      400
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 416 of 606 PageID #: 416




   targeting a member of the Syndicate, “[n]etworks of violence and terror do not just require

   people willing to commit suicide attacks. They need people to provide money.”600

             1242. Each Defendant routed at least several million dollars in terrorist finance to al-

   Qaeda, the Haqqani Network, and other Syndicate members from 2008 through 2016.

             1243. Danske Bank likely routed tens of millions of U.S. Dollars to the Syndicate.

             1244. Deutsche Bank and Standard Chartered Bank each routed, at least, tens of

   millions of U.S. Dollars to the Syndicate, and each likely routed more than $100 million to the

   Syndicate.

             1245. Although al-Qaeda needed a large amount of money to sustain its terrorist

   campaign, even relatively small transactions had an outsized effect on the Syndicate’s terrorist

   capabilities. Although estimates vary, the Taliban paid many of its rank-and-file fighters about

   $100 per month, while mid-level commanders made upwards of $350 per month. As for many

   of the IEDs that the Syndicate used against Coalition troops, a Pakistani security official

   estimated that they cost a mere $100 to make.601

             1246. At those rates, even a single transaction that recycled $2,000 in laundered funds

   back to al-Qaeda or the Taliban (including its Haqqani Network) could finance substantial

   insurgent violence: it could put ten fighters and a commander in the field for a month, and

   supply them with five IEDs. Or the Haqqani Network could spend its $2,000 to purchase about

   65 bags of Fatima Group CAN Fertilizer, from which al-Qaeda bombmakers could convert

   enough of the fertilizer into ammonium nitrate to provide the explosive materials necessary for

   approximately 260 large CAN fertilizer bombs (designed by al-Qaeda to defeat an American


   600
         Tr. of Arraignment, United States v. Khan, No. 11-cr-20331, Doc. 31, at 19 (S.D. Fl. 2011).
   601
      See Kathy Gannon, Taliban Gains Money, al-Qaida Finances Recovering, Assoc. Press (June
   20, 2009).


                                                     401
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 417 of 606 PageID #: 417




   armored vehicle) or 650 smaller CAN fertilizer bombs (designed by al-Qaeda to defeat American

   body armor). And Defendants regularly facilitated deals that were many orders of magnitude

   higher, including deals for Fatima Group CAN Fertilizer. Those payments materially

   strengthened the ability of al-Qaeda and the Taliban (including its Haqqani Network) to finance

   and execute the attacks that killed and injured Plaintiffs.

             1247. From 2010 through 2016, the average cost of a Fatima- or Pakarab-based CAN

   fertilizer bomb IED was approximately $40, and the average cost of a suicide bomber detonating

   a CAN fertilizer bomb ranged from $100 to $2,000-$3,000 for the largest suicide VBIEDs. At

   such price points, the Defendants’ annual facilitation of al-Qaeda, Taliban, and Haqqani Network

   terrorist finance activities through SCB New York accounts would have funded every bomb used

   to attack Plaintiffs in this case many times over.

             1248. Aside from the amount of money transmitted to al-Qaeda and its allies,

   Defendants’ involvements in their respective Laundromats also secured al-Qaeda’s terrorist

   finance scheme by legitimating the Laundromat transactions and thereby better concealing the

   schemes from detection. For example, Deutsche Bank’s involvement ensured that its Russian

   Laundromat achieved scale and was concealed by the cover made possible by the Bank’s size

   and global presence. As Catherine Belton, an investigative correspondent for Reuters, explained:

   “These funds were funneled through what must have seemed the perfect cover: one of the West’s

   biggest financial institutions, Deutsche Bank.”602 Indeed, Deutsche Bank’s core value

   proposition to its Russian Laundromat-related customers, including the Syndicate, was the

   recognition by all to the transaction that the use of a “syndicate of banks led by Germany’s




   602
         Belton at 405.


                                                    402
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 418 of 606 PageID #: 418




   Deutsche Bank” to conduct Russia-related financial transactions was an “attempt[] to lend” the

   transaction “legitimacy through the participation of Western institutions.”603

             1249. Defendants’ massive money laundering operations also aided al-Qaeda and the

   Haqqani Network by obscuring their terrorist finance schemes. Simply put, Defendants engaged

   in so much financial crime, for so many criminals, that it made it harder for U.S. and European

   law enforcement to monitor the terrorist finance flowing through their Laundromats. As Mr.

   Kochan documented in 2005, a financial institution’s Laundromat reflected “economics” that

   “exist[ed] in a universe without morals” that created a “free-for-all” in which “[t]errorism has

   thrived.”604 He explained:

             The seeds of terrorism are to be found in the black markets where terrorists trade
             their wares. … Banks are equally dubious policemen of the systems of markets
             and cash transmission. They pursue bottom lines of profit, often teaming up with
             criminal and corrupt elements in developing countries. It is extraordinary that
             governments ask these institutions to manage ‘anti-money laundering systems’
             when the movement of money is a key profit center. …605

             C.        Defendants Had Culpable Mental States

             1250. Defendants behavior was especially culpable because Defendants occupied a

   sophisticated position in the international financial system and well knew that their operation as a

   Laundromat would attract terrorist financiers, including al-Qaeda agents, operatives, and fronts,

   as well as the Russian Mafia (which Defendants knew served as al-Qaeda’s agent for money

   laundering purposes). According to Ms. Belton, it was widely known in the banking industry

   that “organised-crime money men worked in loose affiliation: they created the schemes, and then




   603
         Id. at 289.
   604
         Kochan, The Washing Machine, at 285-86.
   605
         Kochan, The Washing Machine, at 285-86.

                                                    403
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 419 of 606 PageID #: 419




   they promoted it to everyone. ‘Once you have such a vehicle you market it,’ said Mark Galeotti,

   an expert on Russian black-cash schemes.”606

               1251. In 2019, the European Parliament issued a public report that “deplore[d] the fact

   that some [European] financial institutions and their related business models” – a direct reference

   to Defendants – “have actively facilitated money laundering” even though such European banks

   knew that the transactions contrary to the EU’s rules against money laundering could foreseeably

   directly aid the “financing of terrorist activities.”607

                      1.     Deutsche Bank Had A Culpable Mental State

               1252. In a rare instance of widespread honesty at Deutsche Bank, the Bank’s managers,

   employees, and agents regularly described DB Moscow’s activities as Deutsche Bank’s “Russian

   Laundromat” or Deutsche Bank’s “Laundromat.” For example, as reported by Mr. Enrich, when

   Deutsche Bank renewed its New York Laundromat in Russia in early 2011, “[p]articipants had

   uncreatively dubbed the latest arrangement the Laundromat, and Russian criminals … used it

   to wash their looted money out of Russia and into the European financial system.”608

               1253. One can draw a direct line between Deutsche Bank’s criminal Laundromat culture

   and Deutsche Bank’s mirror trades with Khanani that enabled Syndicate terrorist finance and

   logistics. As Ms. Belton reported: “The equities traders had few qualms … about carrying out

   the mirror trades. ‘Half of the daily trading volume was on the mirror trades,’ said one trader …

   ‘It wasn’t a big deal. It was something they openly talked about.’”609




   606
         Belton at 415.
   607
         Id.
   608
         Enrich, Dark Towers, at 197.
   609
         Belton at 406 (emphasis added).


                                                      404
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 420 of 606 PageID #: 420




             1254. Moreover, according to testimony in a Russian proceeding (as paraphrased by a

   journalist), “executives at Deutsche Bank in Moscow,” including on information and belief Mr.

   Wiswell, met with co-conspirators in the Russian Laundromat, including but not limited to,

   owners of Promsberbank, and agreed to “continue the [Laundromat] schemes”—doubling down

   on terrorist finance—even after its “Russian Laundromat” had come under scrutiny.610

             1255. Indeed, NYDFS Superintendent Maria T. Vullo determined that Deutsche Bank’s

   conduct was especially culpable considering, among other things:

            “In today’s interconnected financial network, global financial institutions must be
             ever vigilant in the war against money laundering and other activities that can
             contribute to” “international terrorism.”

            “[Deutsche Bank’s] Russian mirror-trading scheme occurred while [the Bank]
             was on clear notice of serious and widespread compliance issues dating back a
             decade. The offsetting trades here lacked economic purpose and could have been
             used to facilitate money laundering or enable other illicit conduct. …”

            “[DB Moscow and DB London] trades were routinely cleared through [DBTCA].
             The selling counterparty was typically registered in an offshore territory and
             would be paid for its shares in U.S. dollars. At least 12 entities were involved,
             and none of the trades demonstrated any legitimate economic rationale.”611

             1256. Deutsche Bank admitted it acted with a culpable mental state. For example,

   Deutsche Bank’s CEO admitted the Bank’s mirror trading conduct was wrongful. Among other

   things, he stated he would (paraphrased) personally oversee the Bank’s efforts to resolve the

   legal issues raised by the mirror trading scandal, and admitted, with respect to the mirror trading

   scandal: “It’s not our finest hour. We’ve clearly had a systems and control failure.”




   610
         Belton at 406.
   611
      NYDFS, Press Release, DFS Fines Deutsche Bank $425 Million for Russian Mirror-Trading
   Scheme; The Bank Allowed Traders to Engage in a Money-Laundering Scheme Using “Mirror
   Trades” That Improperly Shifted $10 Billion Out of Russia (Jan. 30, 2017).


                                                    405
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 421 of 606 PageID #: 421




          1257. The heavy involvement of Deutsche Bank’s top management throughout the

   Laundromat magnifies Deutsche Bank’s culpable mental state. Josef Ackermann, Hugo

   Bänziger, and Anshu Jain each played central roles in the development of, and operation of,

   Deutsche Bank’s various criminal schemes. For example, Mr. Jain played an important role

   enabling the Russian Laundromat. From the late 1990s through 2015, Deutsche Bank’s

   executive team led by Mr. Ackermann, Mr. Bänziger, and Mr. Jain followed mafia-like

   communications strategies that reflected their consciousness of guilt.

          1258. Multiple third parties who extensively investigated Deutsche Bank, including Mr.

   Enrich and Mr. Laabs, concluded that Deutsche Bank programmatically embraced a strategy to

   serve high-risk customers regardless of the terrorist finance risk during the Ackermann/

   Bänziger/Jain era from the late 1990s until 2015, when they encouraged knowing terrorist

   finance if the Bank’s executives, managers, and employees believed Deutsche Bank could: (a)

   earn a profit and (b) keep their terrorist finance a secret. According to Mr. Laabs, these Deutsche

   Bank executives promoted an excessive, “downright cult of risk” that “[u]ltimately” “was all

   about making a profit, [and] never letting a business opportunity go by.”612

          1259. Josef Ackermann assumed a leadership position at Deutsche Bank in the late

   1990s, as did two of his lieutenants, Mr. Bänziger and Mr. Jain. Working together, they formed

   an “iron triangle” of executive-level protection for the Laundromats terrorist financier customers,

   which facilitated the Laundromat’s explosive growth beginning in the late 1990s. [APPENDIX]




   612
     Dirk Laabs, Bad Bank: Aufstieg und Fall der Deutschen Bank 108 (Deutsche Verlags-Anstalt,
   German Kindle ed. 2018) (translated by Plaintiffs).

                                                  406
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 422 of 606 PageID #: 422




          1260. Indeed, throughout his time in the leadership ranks of Deutsche Bank, Mr.

   Ackermann adopted communications strategies more commonly associated with the Boss of a

   crime family than the CEO of a purportedly responsible good corporate citizen. Consider:

         Mr. Ackermann was notorious for what Deutsche Bank colleagues derisively called his
          “personal risk management” strategy, whereby he consciously avoided creating any
          contemporaneous written or electronic records of his conduct, decision-making, or
          communications, unless they were tightly scripted in a manner that permitted him to
          conceal what he wanted or delivered in a medium that he believed was not permanent
          (like a text message on his personal phone).

         Mr. Ackermann instructed his Deutsche Bank lieutenants that email discussions or other
          written memorialization of the Bank’s risky schemes were, in Mr. Ackermann’s words,
          “taboo,” and that they should emulate his personal practice of communicating “virtually
          nothing” in writing, instead insisting that nearly all communications be oral or in-person.

         On the rare occasions when circumstances required him to memorialize his
          communications in real time (which he viewed as a threat), Mr. Ackermann followed a
          carefully calibrated strategy of that relied upon cryptic text messages (the content of
          which, by remaining cryptic, afforded plausible deniability), which he ordinarily sent on
          his personal phone (which allowed Mr. Ackermann to delete incriminating messages
          believing they would not be backed up on any Deutsche Bank system while also reducing
          the chance he lost control of his incriminating messages (e.g.., through a nosy Deutsche
          Bank whistleblower poking around a server).

         Mr. Ackermann touted an upside-down “don’t shoot the messenger” policy to his
          lieutenants, which he made plain was not about constructively dealing with problems or
          rooting out wrongdoing, but instead, about giving Mr. Ackermann – who, by reputation,
          believed he could talk his way out of anything – enough information so that he could
          provide at least a “plausible” explanation and talk his way out of whichever scandal
          happened to be Deutsche Bank’s latest.

         Mr. Ackermann aggressively promoted the financial institution equivalent of “might
          makes right” to financial crime and corporate governance issues, which lesson he and his
          lieutenants drew from Mr. Ackermann’s own experience beating criminal charges as an
          individual defendant. As Mr. Ackermann stated at the time, “money means security and
          independence,” and gives a person – or an organization like Deutsche Bank – “an
          unbelievable amount of autonomy” to do whatever they want to do.

         Mr. Ackermann “promoted” and “exemplified” a “culture” throughout Deutsche Bank,
          according to Mr. Laabs, in which its executives were encouraged to actively “sh[y] away
          from taking on more responsibility” when they understood that crimes like terrorist
          finance were afoot, thereby “drawing a protective wall between [the executive] himself,



                                                  407
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 423 of 606 PageID #: 423




             the [potentially illegal] trades, and the decisions,” in order to leave “as few fingerprints as
             possible” “so as to not be held responsible in the end.”613

            Mr. Ackermann and Mr. Jain, his lieutenant (and later co-CEO), sometimes
             acknowledged the illicit nature of Deutsche Bank’s schemes through the euphemisms and
             nicknames they used. For example, in discussions involving Mr. Ackermann, Mr. Jain,
             and one or more other Deutsche Bank personnel, the group referred to one or more
             Deutsche Bank personnel engaged in financial crime as a “guaranteed money maker”
             who needed to be “allowed to continue doing his or her work” during Deutsche Bank’s
             “fight for survival” era from 2007 through 2012,614 the same period when Deutsche Bank
             provided much of its substantial assistance to the Syndicate.

            While led by Mr. Ackermann (and later Mr. Jain) from 2000 through 2015, according to
             Mr. Laabs, Deutsche Bank “was only concerned with exhausting the rules” and
             developed an institutional practice of enabling and then concealing its rampant financial
             crime under Mr. Ackermann’s simple embrace of willful blindness and corporate cover-
             up as a basic leadership strategy, in sum and substance: “If it was relatively easy to
             postpone problems … or to cover them up entirely, then that’s what was done.”615

             1261. Mr. Ackermann’s willingness to flaunt his tolerance for criminal risk was later

   demonstrated in 2002 – ironically in Germany and throughout the financial world – when

   Germany prosecutors charged him for criminal offenses relating to allegations that he approved

   bribes while serving on the supervisory board of a separate German company, Mannesmann

   (doing so less than a year after Deutsche Bank elevated Mr. Ackermann to CEO). “The case

   proved to be a public relations disaster for the bank and for Ackermann,” Deutsche Bank

   admitted (emphasis added), and “confirmed the German public’s suspicion of [him] as an

   arrogant foreigner when he flashed a two-finger Victory sign at the start of [his criminal] trial”:




   613
       Dirk Laabs, Bad Bank: Aufstieg und Fall der Deutschen Bank 135 (Deutsche Verlags-Anstalt,
   German Kindle ed. 2018) (translated by Plaintiffs).
   614
       Dirk Laabs, Bad Bank: Aufstieg und Fall der Deutschen Bank 410 (Deutsche Verlags-Anstalt,
   German Kindle ed. 2018) (translated by Plaintiffs).
   615
       Dirk Laabs, Bad Bank: Aufstieg und Fall der Deutschen Bank 107 (Deutsche Verlags-Anstalt,
   German Kindle ed. 2018) (translated by Plaintiffs) (emphasis added).

                                                      408
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 424 of 606 PageID #: 424




          1262. Mr. Ackermann beat his first trial, but that does not mean he was innocent.

   German prosecutors had a good faith basis to charge Mr. Ackermann for bribery and would not

   have done so unless there was substantial evidence he had aided and abetted financial crimes.

   Indeed, in his second trial, Mr. Ackermann once again adamantly insisted he had done nothing

   wrong. “However,” as Mr. Laabs noted, “when a witness who had previously supported the

   defendants began to falter, Ackermann and the others changed their minds,” “pulled the ripcord,”

   and “made an offer to the public prosecutor” to immediately settle the proceedings for a total of

   almost six million euros.616 After prosecutors agreed, Mr. Ackermann’s criminal case ended.

          1263. As. Mr. Laabs reported, Deutsche Bank, Mr. Ackermann, and his lieutenants

   learned a powerful lesson from Mr. Ackermann’s criminal litigation history, which they later

   “follow[ed] … many, many times” thereafter: pursue a lucrative, but illegal, scheme for as long

   as possible, protect the scheme by silencing whistleblowers and intimidating internal and

   external critics, deny any wrongdoing once allegations emerge, and continue doing so unless and

   until the evidence became so incontrovertible as to assure a likely disaster, when it would then




   616
     Dirk Laabs, Bad Bank: Aufstieg und Fall der Deutschen Bank 272-73 (Deutsche Verlags-
   Anstalt, German Kindle ed. 2018) (translated by Plaintiffs).

                                                  409
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 425 of 606 PageID #: 425




   guard maintain its overall Laundromat business model by simply “[p]aying a lot of money,

   making settlements, avoiding an admission of guilt” and moving onto the next scheme.617

             1264. Hugo Bänziger was a lieutenant of Mr. Ackermann’s who originally came over

   with him from Credit Suisse and served as Deutsche Bank’s Chief Risk Officer until March 19,

   2012. In that role, Mr. Bänziger had an exacting understanding of Deutsche Bank’s terrorist

   finance risks. His function at Deutsche Bank, however, was to protect the Laundromat(s) – and

   enable terrorism – by preventing ethical Bank personnel from discovering or disclosing its

   terrorist finance to outsiders—not to prevent terrorism by stopping the Bank’s personnel from

   serving terrorist customers in the first instance.

             1265. One way Mr. Bänziger operationalized Deutsche Bank’s Laundromat was by

   conducting a bizarre and cultish training program designed to break down the Bank’s compliance

   personnel and habituate them to being abused and following any command from their leaders

   (i.e., Mr. Bänziger and, ultimately, Mr. Ackermann), all for the purpose of enabling those

   engaging in misconduct at the Bank to run roughshod over any attempts to shut them down. For

   example, as Mr. Enrich’s investigation revealed,

             Bänziger was a risk expert, but he was out of control with his employees. Every
             executive who was in the running to become a managing director—a title awarded
             to thousands of employees—had to attend a weeklong Risk Academy, often held
             in dormitories in the German countryside. The goal was to instill military-style
             discipline … and it metastasized into a hazing ritual. … Attendees were subjected
             to sleep deprivation. Exercises were crafted to create informationsflut, or
             information overload, as Bänziger put it. One guest speaker arrived at a Risk
             Academy dinner expecting to encounter the testosterone-fueled antics of a typical
             banking retreat. Instead he saw row after row of sunken-eyed lawyers and risk
             managers. In many academy classes, pupils were reduced to tears. “We want
             people who can stand up and take abuse,” Bänziger explained to a colleague.618




   617
         Id. (translated by Plaintiffs).
   618
         Enrich, Dark Towers, at 107.

                                                    410
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 426 of 606 PageID #: 426




             1266. Mr. Bänziger ran Deutsche Bank’s “hazing” program to “abuse” the members of

   his compliance department not because he was sincerely trying (albeit through wildly improper

   means) to strengthen compliance at Deutsche Bank. Rather, Mr. Bänziger was using a classic

   strategy that is used by military organizations around the world to establish and enforce a chain

   of command – to “instill military-style discipline.” While chains-of-command are ideal for a

   military, they are antithetical to a functioning corporate compliance department, the entire point

   of which is to encourage people with concerns to escalate them, ordinarily going outside the

   chain of command in doing so.

             1267. Anshu Jain was a lieutenant of Mr. Ackermann who led a key division (Global

   Markets). Mr. Jain has admitted that Deutsche Bank had engaged in rampant misconduct while

   at the same time trying to deflect personal responsibility for the crimes that occurred at Deutsche

   Bank. For example, he said, in sum and substance, that he did not have anything to do with any

   of Deutsche Bank’s crimes, which he attempted to dismiss as the actions of a few rogue actors

   executing bad deals on Deutsche Bank’s “lower decks.”

             1268. Throughout his tenure, first as Mr. Ackermann’s lieutenant, then as co-CEO, Mr.

   Jain “simultaneously demanded more and more from the traders – more sales, more profit, more

   margin. That was hammered into them in meetings, at lectures, at weekend seminars.”619

   “However,” as Mr. Laabs explained, “more margin and more turnover [] also meant always more

   risk with riskier products in riskier markets - in Russia, for example.”620

             1269. As a leader, Mr. Jain followed a deliberate strategy of being willfully blind to all

   financial crime risk, including terrorist finance. “Above all else,” according to Mr. Laabs, “[Mr.]




   619
         Id. at 167-68 (translated by Plaintiffs).
   620
         Id. (translated by Plaintiffs).

                                                     411
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 427 of 606 PageID #: 427




   Jain was a shrewd politician, so it’s likely that he simply kept the inconvenient truth” of

   Deutsche Bank’s financial crimes “away from himself. [Mr. Jain] deliberately didn’t care about

   the details, because that’s what ends up causing the most trouble.”621

             1270. German regulators also confirmed Deutsche Bank’s culpable state of mind. On

   May 23, 2015, Frauke Menke, a top official at Germany’s lead financial regulator, BaFin, sent a

   letter to Deutsche Bank’s Management Board in which she castigated the Bank. BaFin’s

   investigation was prompted by, among other things Deutsche Bank’s VAT fraud and mirror trade

   schemes, and Ms. Menke wrote to Deutsche Bank to providing written confirmation of BaFin’s

   conclusion that Deutsche Bank (including Mr. Jain personally) deliberately presided over a built-

   to-fail compliance system that was designed to facilitate financial crime (the “May 23, 2015,

   BaFin Letter”). In the May 23, 2015, BaFin Letter, Ms. Menke informed Deutsche Bank:

            “[O]verall, the [Ernst & Young] report disclose[d] major misconduct by various traders
             of Deutsch Bank, and by at least one member of the management of [DB London], [and]
             … major failures by members of the Management Board or Group Executive
             Committee”;

            Deutsche Bank’s financial crimes were the direct result of “a business and organizational
             environment” at Deutsche Bank “which was favourable to [financial crimes] or even
             made [financial crimes] possible in the first place”;

            “[i]t appear[ed],” “that [Deutsche Bank’s misconduct was] a manifestation of part of the
             culture that [was] possibly still characteristic to [the Bank], i.e. to prefer hiding, covering
             up, or entirely negating problems instead of addressing them openly and actively in order
             to prevent similar issues in the future”;

            financial crimes regularly occurred at a Deutsche Bank division because “[t]he focus in
             the [] division was clearly on the business figures and not on compliance by the
             employees” and Deutsche Bank’s executives, including its co-CEO, “Mr. Jain,” “were
             aware of and tolerated the fact that [a Deutsche Bank trader] regularly” broke banking
             industry rules designed to prevent financial crimes;

            “the failures with which Mr. Jain [was] charged to be serious” because “[t]hey
             display[ed] improper management and organization of the business;”

   621
         Id. at 260-61 (translated by Plaintiffs).

                                                      412
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 428 of 606 PageID #: 428




            “two internal investigations” at Deutsche Bank that had been conducted by Bill
             Broeksmit and Deutsche Bank’s Business Integrity Review Group (“BIRG”), “were not
             completely independent, not comprehensive and did not go deep enough,” and that the
             “BIRG found nothing” even though it “was supposed to look for fraud” and there was
             fraud to be found anywhere one looked; and

            Deutsche Bank’s misconduct was long-standing and noted a June 2008 phone call
             between Mr. Ackermann (then-CEO) and Mr. Jain (then-head of Global Markets), in
             which Mr. Ackermann expressed “his anger about ‘cultural deficits’ in [Deutsche Bank’s
             Global Markets] divisions which he said he would no longer tolerate because this
             unnecessarily endangered the reputation of the bank.”

             1271. Deutsche Bank’s efforts to spin the media surrounding Ms. Menke’s investigation

   also showed their culpability. In her letter, Ms. Menke was also “enraged,” according to Mr.

   Laabs, by Deutsche Bank’s suggestion to the German press that the German investigations of the

   Bank had been completed and that BaFin had cleared the Bank’s management.622 As Mr. Laabs

   recounted: “That was a typical chess move by Deutsche Bank: control the narrative in the media,

   regardless of what the truth really looks like.”623

                     2.      Standard Chartered Bank Had A Culpable Mental State

             1272. Standard Chartered Bank had a culpable mental state. Among other things,

   Standard Chartered Bank acted as a “rogue institution,” got caught, and then broke the law for

   years thereafter, earning it the moniker of a “repeat corporate offender[]” by U.S. Attorney Liu.

             1273. Standard Charted Bank’s retaliation against whistleblowers also demonstrated its

   intent to seek profit rather than prevent terrorist finance or even follow basic compliance norms.

                     3.      Danske Bank Had A Culpable Mental State

             1274. Danske Bank had a culpable mental state because Danske Bank was told directly

   that its Estonian Laundromat was facilitating criminal activity, including money laundering, in



   622
         Id. at 510 (translated by Plaintiffs).
   623
         Id. (translated by Plaintiffs).

                                                    413
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 429 of 606 PageID #: 429




   2007, and rather than shut the Laundromat down, Danske Bank laundered at least another $233

   billion over the next nine years. The sheer magnitude of that money laundering leads to the

   inference that Danske Bank knew it was participating in criminal activity.

          1275. Danske Bank’s employees knew and participated in the criminal activity,

   including by helping criminal clients evade anti-money laundering and know your customer laws

   and regulations. Danske Bank thereby had a culpable mental state.

          1276. Because Danske Bank was told time and again, even after 2007, via regulators

   and whistleblowers, that it was facilitating and participating directly in financial crime, and

   because Danske Bank knew that facilitating money laundering on the scale that it did, over the

   time period that it did, and in the geographic areas in which it did, made it inevitable that Danske

   Bank was facilitating terrorist finance, leads to the inference that Danske Bank had a culpable

   mental state.

                   4.       Placid Express Had A Culpable Mental State

          1277. Placid Express had a culpable mental state because it knew that Khaani and the

   Khanani MLO was using Placid Express facilities to launder money, including for the Syndicate,

   and it allowed him to do so on a large scale and over a long period of time. Because Placid

   Express knew that it was facilitating money laundering, and deliberately did so anyway, it had a

   culpable mental state.

                   5.       Wall Street Exchange Chartered Bank Had A Culpable Mental State

          1278. Wall Street Exchange had a culpable mental state because it knew that Khaani

   and the Khanani MLO was using Wall Street Exchange facilities to launder money, including for

   the Syndicate, and it allowed him to do so on a massive scale and over a long period of time.

   Because Wall Street Exchange knew that it was facilitating money laundering, and deliberately

   did so anyway, it had a culpable mental state.


                                                    414
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 430 of 606 PageID #: 430




          D.      Defendants Had A Close Relationship To The Tortfeasors

          1279. Each Defendant had close customer relationships to the relevant tortfeasors.

          1280. Deutsche Bank, through DB Moscow, went even further and affirmatively helped

   its criminal customers set up their own bespoke terrorist finance/money laundering facilities,

   such as Deutsche Bank’s Russian Laundromat.

          1281. Standard Chartered also went even further and played an active role in the same

   logistical pipeline as the tortfeasor (i.e., the Haqqani Network’s CAN fertilizer sourcing).

          E.      The Duration Of Support Was Long

          1282. Deutsche Bank aided al-Qaeda, the Taliban (including its Haqqani Network),

   Lashkar-e-Taiba, Jaish-e-Mohammed, and D-Company for more than a decade.

          1283. Standard Chartered Bank aided al-Qaeda, the Taliban (including its Haqqani

   Network), Lashkar-e-Taiba, Jaish-e-Mohammed, and D-Company for nearly two decades.

          1284. Danske Bank aided al-Qaeda, the Taliban (including its Haqqani Network),

   Lashkar-e-Taiba, Jaish-e-Mohammed, and D-Company for nearly a decade.

          1285. Placid Express aided al-Qaeda, the Taliban (including its Haqqani Network),

   Lashkar-e-Taiba, Jaish-e-Mohammed, and D-Company since at least 2008.

          1286. Wall Street Exchange aided al-Qaeda, the Taliban (including its Haqqani

   Network), Lashkar-e-Taiba, Jaish-e-Mohammed, and D-Company since at least 2008.

          1287. In Russia, Afghanistan, and Pakistan, there was no meaningful distinction

   between organized crime activities and Syndicate funding. For example, in 2017, Professor Rob

   McCusker, who previously consulted with the FBI, explained (as paraphrased in a press release)

   that Russian organized crime groups and Syndicate terrorists shared “the functional

   interconnection” between them “in service of terrorism by engaging in criminal activity and

   financing terrorism from proceeds of organised crime in which convergence [was] facilitated by


                                                   415
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 431 of 606 PageID #: 431




   similar logistical and operational requirements and synergies produced by sharing common

   infrastructure, logistical corridors, safe havens and financial and money laundering networks.”624

               1288. Professor McCusker explained the close partnership between every Syndicate

   member and the Russian Mafia ensure a robust opium/terrorist finance pipeline flowing between

   Russia and Afghanistan, and emphasized that the “nexus between terrorism and organised crime

   flourish[ed] in failed states.”625 Alluding to the Taliban’s partnership with the Russian Mafia, he

   added there were “reports which indicate[d] how the Taliban maintain[ed] engagements in heroin

   trade for arms trade with members of the Russian organised crime,” including through “Haqqani

   Network … involve[ment] in [the] procurement of precursor chemicals [for opium

   manufacturing].”626

   VIII. DEFENDANTS’ ASSISTANCE TO THE SYNDICATE HAD A SUBSTANTIAL
         NEXUS TO THE UNITED STATES

               A.     Deutsche Bank’s Assistance To The Syndicate Had A Substantial Nexus To
                      The United States

               1289. The Deutsche Bank Defendants’ assistance to the Syndicate had a substantial

   nexus to the United States for at least two reasons: (1) the DB Defendants’ conduct involved

   sending dollars from or through DB New York to Deutsche Bank accounts in Germany, Russia,

   Pakistan, or Dubai, or USD-linked currency exchanges at DB New York, to facilitate Syndicate

   logistics flow or terrorist finance; and (2) the DB Defendants’ own acts were directed at the U.S.

   because they knew that their material support would aid terrorists targeting Americans.




   624
      European Foundation for S. Asian Studies, EFSAS Attends Side-Event on “Terrorism in South
   Asia” at UN HRC in Geneva, Kashmir News Service (India) (Sept. 20, 2017).
   625
         Id.
   626
         Id.


                                                    416
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 432 of 606 PageID #: 432




            1290. With respect to the first nexus to the United States, every Deutsche Bank

   Defendant relied upon DB New York to facilitate its illegal conduct, and no DB Defendant could

   have supported the Syndicate without the close involvement of, and millions in USD-

   denominated transactions each year by, DB New York.

            1291. Deutsche Bank was, and is, a tightly integrated global financial institution in

   which the various branches functionally serve the same role: promote U.S. Dollar transactions

   through DBTCA.

            1292. According to Deutsche Bank, the Bank operated under a “one firm concept”

   under which it promoted a “single culture” focused around an “investment banking ethos,” and

   the Bank followed a “matrix managerial structure” that was “deliberately built with overlapping

   constituencies and responsibilities with cross-cutting lines of business and control on a regional

   as well as functional basis.”

                   1.      Deutsche Bank’s Laundromat Terrorist Finance Transactions For Al-
                           Qaeda, The Haqqani Network, Lashkar-E-Taiba, And D-Company
                           Had A Substantial Nexus To The United States

            1293. Deutsche Bank’s nexus to America keyed the operation of each Deutsche Bank

   Laundromat, including, but not limited to, its Russian Laundromat, Moldovan Laundromat,

   German Laundromat, Azeri Laundromat, and so on. Deutsche Bank and the Syndicate benefited

   from DBTCA’s special leverage based upon its status as an American bank, connection to the

   U.S. financial system, strength of the U.S. Dollar, and use of U.S. personnel, entities, and

   functions, which maximized the terrorist finance that flowed to the Syndicate through Deutsche

   Bank’s Laundromat transactions with Khanani and the Russian Mafia.

      (i)      DBTCA converted the Syndicate’s opium rubles into the U.S. Dollars, which aided
               the Syndicate networks that supported attacks against Americans in Afghanistan by
               equipping them with the “gold standard” of Syndicate terrorist finance, which
               enhanced the Syndicate’s ability to conduct more attacks and kill more Americans.



                                                   417
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 433 of 606 PageID #: 433




         (ii)      DBTCA simplified the Russian Laundromat scheme by leveraging the unique-to-U.S.
                   benefit of currency pairing arrangements made possible only through the U.S.
                   Dollar’s status as the world’ reserve currency, which facilitated the Syndicate’s
                   movement of its terrorist finance between cells and provided critical operational and
                   logistical benefits that directly caused more terrorist attacks.

         (iii)     DBTCA’s connection to the U.S. financial system imbued the Syndicate’s terrorist
                   finance transactions through the Laundromat with the legitimacy of an American
                   financial institution, which aided the Syndicate’s ability to subsequently move its
                   money through the financial system by, in effect, affixing a Deutsche Bank “seal of
                   approval” on the U.S. Dollars that the Syndicate sources through Deutsche Bank’s
                   Laundromats.

         (iv)      DBTCA cleared the “good commission” payments upon which Deutsche Bank,
                   through DB Moscow, relied to incentivize the Deutsche Bank traders whose
                   enthusiasm bore a direct, linear relationship with Syndicate terrorist finance—the
                   more mirror trades through the Russian Laundromat, the more Syndicate terrorist
                   finance and the more profit for Deutsche Bank.

   Each U.S. link intensified the capabilities of al-Qaeda and its affiliates and aided the Syndicate’s

   terrorist campaign against Americans in Afghanistan.

                1294. First, Deutsche Bank relied upon DBTCA’s connection to New York to help the

   Syndicate (through Khanani and the Russian Mafia) illicitly transfer its Russian rubles outside of

   Russia, so that DBTCA could then upgrade the Syndicate’s terrorist finance from Russian Rubles

   to U.S. Dollars. The Syndicate’s ability to source precious U.S. Dollars from New York through

   DBTCA was the necessary step before the Syndicate could convert any of its Russian rubles into

   the U.S. Dollars it needed to fund its attacks in Afghanistan, as well as the transnational

   logistical and financial infrastructure and pipeline vital to the entire enterprise. DBTCA was

   essential to Deutsche Bank’s Laundromat, according to Mr. Enrich, because it served as the

   “crucial holding company, through which almost all of [Deutsche Bank’s] American businesses

   channeled their transactions.”627



   627
         Enrich, Dark Towers, at 187.


                                                      418
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 434 of 606 PageID #: 434




             1295. One hundred percent (100%) of Deutsche Bank’s U.S. Dollar-denominated mirror

   trades and one-legged trades were routed through DBTCA in New York. No such trades could

   have occurred without DB Moscow or DB London reaching into the United States, through

   DBTCA, to extract the U.S. Dollars whose acquisition by Khanani and others like him was the

   whole point of Deutsche Bank’s criminal scheme in the first instance. As NYDFS concluded:

             Every single one of the U.S. dollar payments involved in the mirror trading and
             one-legged trading activity discussed above flowed through DBTCA. In total,
             payments exceeding $10 billion were transmitted from London and through
             New York as a result of the trading conduct facilitated by the scheme. Deutsche
             Bank thus caused New Yark State to become a key conduit in a long-running
             artifice involving highly suspicious financial activity. Deutsche Bank has
             represented that it has been unable to identify the actual purpose behind this
             scheme. It is obvious, though, that the scheme could have facilitated …
             potentially illegal objectives.628

             1296. Deutsche Bank’s ability to access the U.S. Dollar through DB New York was

   essential to the operation of the Laundromat, including, but not limited to, every mirror trade

   scheme and every mirror trade made by Deutsche Bank, including, but not limited to, every

   Khanani-related mirror trade. Indeed, the entire point of the scheme was to acquire U.S. Dollars.

   As one commentator quipped, correctly, Deutsche Bank could have accurately advertised itself

   with the slogan: “Deutsche Bank Laundromat—Scrubbing Rubles Into Greenbacks.”629

             1297. Indeed, Deutsche Bank specifically understood – and publicly touted – that the

   U.S. Dollar was the proverbial “gold standard” currency for global financial transactions in

   uncertain times, including those relating to Russia. The Journal of Commerce, for example,

   reported on this recognized feature of the currency market, sourcing it to a senior currency




   628
         2017 Consent Order ¶¶ 31-32 (emphases altered).
   629
      Howie Klein, You Have To Go To A Dead Language To Find The Best Definition Of
   Trumpism, DownWithTyranny (July 31, 2017), 2017 WLNR 23572358.


                                                   419
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 435 of 606 PageID #: 435




   analyst for Deutsche Bank Securities in New York.630 Deutsche Bank was also correct: the U.S.

   Dollar was always the world’s reserve currency and the preferred currency during unstable times.

          1298. Moreover, when a wave of currency crises swept across the globe in the late

   1990s, Deutsche Bank’s chief economist, Dr. Ken Courtis, publicly lectured the American public

   (among other audiences) regarding how the U.S. financial system, U.S. Dollar, and perception of

   intrinsic American economic might was the key lubricant for financial transactions worldwide,

   telling the audience that the U.S. government – not Deutsche Bank – needed to start acting like a

   responsible stakeholder in the global community, and proclaimed that: “It [was] time for the

   Americans to stop telling us they [were] a superpower and start acting like one.”631

          1299. Second, DBTCA’s presence greatly simplified the Syndicate’s terrorist finance

   scheme. According to NYDFS, Deutsche Bank’s “‘mirror trading’ scheme” “was simple and

   effective” – “Deutsche Bank Trust Company of the Americas” “was the entity through which

   the U.S. dollar payments flowed to the suspicious entities involved here,”632 i.e., the Khanani

   MLO and the Russian Mafia. By simplifying the Syndicate’s terrorist finance scheme, Deutsche

   Bank concealed the Syndicate’s terrorist finance (a vital goal for terrorist financiers) while




   630
      Gordon Platt, Dollar to Take “Safe Haven” Role as Confidence in World Economies Dips,
   Journal of Commerce (August 24, 1998) (“With [] Russia’s financial meltdown spreading to
   markets around the world …, analysts say the U.S. dollar will assume its traditional role as a
   ‘safe haven’ currency. … [A] senior currency analyst for Deutsche Bank Securities in New York,
   said the most clear indication of the dollar's safe-haven role was Friday's inversion of the yield
   curve …’It shows the attractiveness of U.S. asset markets as being a refuge from the
   international environment, and the dollar benefits from this,’ [the Deutsche Bank currency
   analyst] said. ‘Investors are attracted to the depth, breadth and safety of the U.S. markets[,]’ [he
   added.]”), 1998 WLNR 1029946.
   631
      Quoted in Peter Hartcher, Who’s In Charge Around Here?, Australian Financial Review
   (Sept. 12, 1998) (emphasis added), 1998 WLNR 8230324.
   632
      2017 Consent Order ¶ 9. Khanani and the Khanani-related entities were one of the
   “suspicious entities” referenced in paragraph 9.


                                                   420
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 436 of 606 PageID #: 436




   simultaneously increasing the overall economic power of the Syndicate through the efficiency

   gains promoted by DBTCA’s involvement. Both amplified the Syndicate’s terrorist might.

          1300. Third, Deutsche Bank personnel and functions in the United States, including but

   not limited to, in New York City and Jacksonville, Florida, played a role in providing the

   deficient compliance approvals that permitted the Syndicate’s terrorist finance to flow

   unimpeded for years. Under Deutsche Bank policies and procedures, DB New York, including

   DBTCA, was responsible for independently verifying the bona fides of any transaction in which

   DB New York plays a role. On information and belief, from 2009 through 2016, DB New York

   personnel knew of terrorist finance “red flags” relating to Khanani, the Khanani MLO, Ahmed,

   the Ahmed Cell, Azizi, the Azizi Cell, and Russian Mafia-related transactions, and/or other

   activity by known or suspected fronts, agents, or operatives of al-Qaeda, the Taliban, the

   Haqqani Network, or their affiliates. Thus, DB New York not only facilitated the Fatima and

   Pakarab transactions and accounts for Syndicate agents, operatives, and fronts, which funded the

   Syndicate’s terrorist campaign, DB New York also subjected each transaction to scrutiny based

   on DB policy and procedure, New York, and federal law, including OFAC regulations and U.S.

   terrorist designations. DB New York therefore played an essential role in both triggering the red

   flags these transactions raised and knowingly ignoring them to allow the transactions to proceed.

          1301. On information and belief, every transaction described above was reviewed and

   approved by Deutsche Bank compliance personnel in Jacksonville, Florida. For example,

   “[Deutsche Bank] had assembled an army of not-very-well-paid employees and contractors to

   sift through thousands of transactions a day that the bank was doing for clients all over the world.




                                                   421
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 437 of 606 PageID #: 437




   The job of the workers was to sniff out potential money laundering or other financial crimes,”

   including terrorist finance.633 As Mr. Enrich recounted:

             Teams churned through dozens or case files a day, cross-checking client names
             against a series of databases to see if any obvious legal or reputational problems
             jumped out. Many did. “We had a ton of stuff that we knew was Russian,” one
             employee recalls. “They’d be incorporated in one country and banking in
             another, but their address would be Russian. It was crazy.” [Deutsche Bank] was
             moving many millions of dollars a day for these Russians, often via untraceable
             shell companies. … [M]any of Deutsche’s Jacksonville employees and
             contractors were young, often a year or two out of local colleges, and [had]
             received scant training. …

                     There were a couple of ways to handle [requests for the Jacksonville
             compliance department to approve transactions with a “risky client”]. One was to
             blacklist just about every murky client and to file a “suspicious activity report”
             with the Financial Crimes Enforcement Network, or FinCEN. That had the
             benefit of partly covering [Deutsche Bank’s] backside, but it didn’t stop the
             transactions from going through. Inside the Jacksonville offices’ cubicle farms,
             some teams filed dozens of reports every day. Then a month or two later, another
             transaction would land on an employee’s desk involving the same Russian-linked
             shell companies, and the employees would again file a suspicious activity report,
             and again nothing would happen. It was disheartening and confusing—why
             didn’t Deutsche just stop doing business with these shady clients? (The answer,
             employees recognized, was that handling the transactions was profitable.)

                     That was one approach. Other teams inside the Jacksonville complex
             adopted a different, simpler tactic: just wave everything through. That had the
             advantage of making it easier to meet the weekly and monthly quotas for clearing
             transactions through Deutsche’s pipes. “The culture was to just close [complete]
             the transaction,” another former employee explains.634

             1302. Deutsche Bank’s ability to effectively function as a Laundromat depended upon

   the regular support provided by Deutsche Bank managers, employees, agents, and lawyers who

   supported Deutsche Bank’s Laundromat from inside the United States. For example, Mr. Enrich

   concluded that Deutsche Bank’s activities in Jacksonville enabled the mirror scheme because the




   633
         Enrich, Dark Towers, at 200.
   634
         Id. at 200-01.


                                                    422
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 438 of 606 PageID #: 438




   approaches taken by the Jacksonville office, as described above, “meant there were few restraints

   on ambitious envelope-pushing traders like Wiswell.”635

             1303. Similarly, Deutsche Bank maintained an internal committee that was designed not

   to actually interdict terrorist finance and money laundering, but instead, to evaluate proposed

   transactions from a reputational risk-oriented perspective (hereinafter, the “Reputational Risk

   Committee”). Deutsche Bank’s Reputational Risk Committee met every few weeks and

   consisted of Deutsche Bank executives, risk managers, and lawyers in the United States.

             1304. Senior Deutsche Bank executives based in the U.S. played a vital role throughout

   Deutsche Bank’s provision of financial services to the Syndicate while Deutsche Bank was

   acting as a Laundromat for terrorist financiers. For example, senior DB New York and DBTCA

   executives regularly coordinated customer and market strategies with Deutsche Bank branches

   around the world by traveling to visit and direct customer-related decisions at local branches,

   including on information and belief, DB London, DB Moscow, and DB Dubai.

             1305. Close cooperation between DB New York, on the one hand, and Deutsche Bank,

   DB Dubai, and DB Moscow, on the other, was essential to the Syndicate’s ability to use

   Deutsche Bank accounts to repatriate tens of millions in USD-related illicit income back

   to accounts controlled by al-Qaeda and Haqqani Network agents and operatives to finance

   attacks against Americans in Afghanistan.

             1306. At all relevant times, Deutsche Bank was one of the only global financial

   institutions that offered USD-denominated financial services to customers in Russia and

   throughout the Former Soviet Union, as well as to those in the U.A.E. As a result of Deutsche

   Bank’s unique geographical footprint amongst global financial institutions, from 2001 through


   635
         Id. at 201-02.


                                                   423
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 439 of 606 PageID #: 439




   2016, it was only through DB New York (including DBTCA) that DB Moscow (and by

   extension, terrorist financiers like Khanani who needed to move money out of Russia) played an

   essential role in the Syndicate’s terrorist finance strategy, as Deutsche Bank was the Syndicate’s

   primary global financial institution partner for purposes of repatriating illicit income in the

   Former Soviet Union back to accounts controlled by al-Qaeda and Haqqani Network agents and

   operatives to finance attacks against Americans in Afghanistan.

             1307. Fourth, DBTCA’s connection to the U.S. financial system and status as a Wall

   Street bank imbued the Syndicate’s Laundromat terrorist finance schemes with greater

   legitimacy, which made them more lethal. Deutsche Bank’s connection to New York was

   essential to signifying its status as a major global player and thereby providing the legitimacy

   necessary to facilitate the terrorist finance in this case through DB New York’s invocation of the

   credibility lent by the U.S. financial system.

             1308. Fifth, the U.S. nexus was essential to Deutsche Bank’s ability to pay the “good

   commissions” that Deutsche Bank specifically intended to substantially increase the U.S. Dollar-

   denominated terrorist finance (and Deutsche Bank’s associated profits) that flowed from

   DBTCA in New York to the Syndicate in Afghanistan, Pakistan, and the U.A.E. through

   transactions with Syndicate agents like Khanani and the Russian Mafia that were routed through

   Deutsche Bank’s Russian Laundromat. Deutsche Bank relied upon DBTCA accounts in New

   York to clear the “good commissions” needed to incentivize its traders to maximize the volume

   of Syndicate terrorist finance coursing through the Laundromat. According to NYDFS, “[t]hese

   suspicious payments, too, were cleared through DBTCA in New York.”636




   636
         2017 Consent Order ¶ 28.


                                                    424
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 440 of 606 PageID #: 440




                    2.     Deutsche Bank’s VAT-Fraud Terrorist Finance Transactions For Al-
                           Qaeda And The Haqqani Network Had A Substantial Nexus To The
                           United States

             1309. The Azizi Cell and the Ahmed Cell. Deutsche Bank’s operation of its New

   York Laundromat was equally vital to the Syndicate’s ability to maximize the value its terrorists

   obtained through the terrorist finance generated by the Ahmed Cell and the Azizi Cell.

      (i)       DBTCA converted the hundreds of millions of euros that the Syndicate stole from
                European governments through its VAT finance scheme U.S. Dollars, which aided
                the Syndicate networks that supported attacks against Americans in Afghanistan by
                equipping them with the “gold standard” of Syndicate terrorist finance, which
                enhanced the Syndicate’s ability to conduct more attacks and kill more Americans.

      (ii)      DBTCA’s connection to the U.S. financial system imbued the Syndicate’s terrorist
                finance transactions conducted through the Azizi Cell and the Ahmed Cell with the
                legitimacy of an American financial institution, which aided the Syndicate’s ability to
                subsequently move its money through the financial system by, in effect, affixing a
                Deutsche Bank “seal of approval” on the U.S. Dollars that the Syndicate sources
                through Deutsche Bank’s Laundromats.

      (iii)     Deutsche Bank, the Azizi Cell, and the Ahmed Cell, repeatedly reached into the
                United States to advance the Syndicate’s VAT fraud terrorist finance schemes.

   Each U.S. link intensified the capabilities of al-Qaeda and its affiliates and aided the Syndicate’s

   terrorist campaign against Americans in Afghanistan.

             1310. First, DBTCA was key to the Syndicate’s ability to convert the VAT fraud-

   related euros stolen from European governments by the Azizi Cell and Ahmed Cell, into the U.S.

   Dollars that al-Qaeda and the Taliban (including its Haqqani Network) demanded from their

   transnational fundraising to maximize the lethality of the Syndicate’s terrorist campaign. The

   Azizi Cell and the Ahmed Cell both maximized the Syndicate’s purchasing power by

   specifically, and exclusively, choosing to use U.S. Dollars – obtained from New York and routed

   through DBTCA – as the currency of choice for their value transfers from Europe, the Middle

   East, and Asia back to the Syndicate to support attacks against Americans in Afghanistan. Azizi,

   for example, has directly admitted that his ability to access U.S. Dollars, which he did through


                                                    425
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 441 of 606 PageID #: 441




   DBTCA, was crucial to the Syndicate’s VAT Finance Scheme. In an interview with law

   enforcement, Azizi specifically admitted that the Azizi Cell accomplished its “sharing” of “all

   amounts” of “the loot” through “transfer[s] in [U.S. dollars]” while, in contrast, “the amounts

   transferred in [British pounds] or [euros] were amounts that flow[ed] back into the fraud chain,”

   e.g.., the funds needed to keep doing things like making the purchases in Europe that sustained

   the scheme.

            1311. Second, as with Deutsche Bank’s Laundromats, DBTCA’s U.S. nexus imbued the

   resulting U.S. Dollar transfers from Deutsche Bank to the Azizi Cell and Ahmed Cell with the

   legitimacy of an American financial institution, which enabled Syndicate terrorist finance by

   making it easier for Syndicate operatives to repatriate the U.S. Dollars that Deutsche Bank

   helped them source back to the Syndicate to use to attack Americans in Afghanistan.

            1312. Third, the Azizi Cell and the Ahmed Cell depended on the United States because

   both Cells used U.S. entities, persons, and official records to conceal the fraud and thereby

   enable them to obtain more reliably, and transfer to the Syndicate, the funds secured through

   Deutsche Bank’s aid. In furtherance of the Syndicate’s VAT finance efforts, Deutsche Bank, the

   Ahmed Cell, and the Azizi Cell reached into the United States to obtain additional aid for the

   Syndicate’s VAT Finance Scheme beyond the U.S. Dollars routed to the Syndicate through

   DBTCA, including, but not limited to, one or more instances when Deutsche Bank personnel in

   London and/or Germany and one or both Cells:

            leveraged one or more U.S. residents, including but not limited to, a resident of
             California, in order to provide legitimacy to the scheme by acting as a “stand-in” (for
             Azizi and/or Ahmed) during legs of the carousel, which achieved the intended effect by
             helping cloak the fraud with the sophistication suggested by having a trans-Atlantic
             counterparty;

            leveraged one or more U.S. corporate entities, including but not limited to, Zenith Ltd.
             USA, in order to imbue the transactions with the legitimacy attached to American


                                                   426
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 442 of 606 PageID #: 442




             companies overseas, which achieved the affect Cells intended by helping cloak their
             fraud with the legitimacy of the U.S. financial and legal system; and

            regularly sent and received communications to and from the United States, including,
             but not limited to, one or more occasions when he communicated with persons inside
             the United States to instruct such person send a mailing from within the United States to
             outside the United States, in order to execute transactions necessary to facilitate the
             Syndicate’s VAT Finance Scheme, which achieved the intended effect by allowing
             Azizi and/or Ahmed to execute the transactions necessary to the scheme.

            1313. Accordingly, the Deutsche Bank Defendants, through their use of DB New York,

   have purposefully availed themselves of (1) the United States’ dependable and transparent

   banking system (which allows the Syndicate to transfer funds without fear of loss); (2) the U.S.

   Dollar as a stable and fungible currency (which permits the exchange of currencies essential to

   terrorist fundraising and terrorist finance); and (3) the predictable jurisdictional and commercial

   law of New York and the United States.

            1314. The second substantial nexus between Deutsche Bank’s actions relevant to the

   claims herein and the United States is that the DB Defendants knew their actions targeted the

   United States by directly undermining U.S. foreign-policy interests in Afghanistan and

   jeopardizing the safety of American service members deployed there. When they decided to

   assist the Syndicate in repatriating millions of dollars in illicit criminal profits back to accounts

   controlled by al-Qaeda and Haqqani Network agents and operatives, or lend Syndicate agents,

   operatives, and fronts Deutsche Bank’s good name and legitimacy, the DB Defendants knew

   they were helping al-Qaeda, the Taliban, and the Haqqani Network conduct attacks designed

   specifically to influence U.S. policy by targeting American personnel.

            1315. By knowingly engaging in transactions for, and providing financial services to,

   members of the al-Qaeda Terror Syndicate, including the Taliban and the Haqqani Network, the




                                                    427
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 443 of 606 PageID #: 443




   Deutsche Bank Defendants provided substantial assistance to those groups, and caused the terror

   attacks that injured Plaintiffs.

           B.      Standard Chartered Bank’s Terrorist Finance Routed To Al-Qaeda, The
                   Haqqani Network, Lashkar-e-Taiba, and D-Company Through Its
                   Laundromat Had A Substantial Nexus To The United States

           1316. Defendants’ support for the Syndicate relied on significant contacts with the

   United States. Most of the Syndicate’s illicit activity, like the narcotics trade, was either USD-

   denominated, or dependent upon transactions backstopped by the U.S. Dollar as a currency pair

   or through a correspondent USD account. Thus, when the Syndicate made a concerted push to

   increase its use of sophisticated transnational terrorist finance strategies to fund its CAN

   fertilizer bombing campaign against Americans in Afghanistan, it required the willing support of

   a global financial institution with branches around the world and a demonstrated willingness to

   flout America’s anti-terrorism agenda. Enter, Standard Chartered Bank.

           1317. Defendants’ assistance to the Syndicate had a substantial nexus to the United

   States for at least two reasons: (1) the Defendants’ conduct involved sending dollars from or

   through SCB New York to Standard Chartered Bank (or another bank’s) accounts in Pakistan,

   Dubai, or Afghanistan, or USD-linked currency exchanges at SCB New York, to facilitate

   Syndicate logistics flow or terrorist finance; and (2) the Defendants’ own acts were directed at

   the U.S. because they knew that their material support would aid terrorists targeting Americans.

           1318. With respect to the first nexus to the United States, every Defendant relied upon

   SCB New York to facilitate its illegal conduct, and no Defendant could have supported the

   Syndicate without the close involvement of, and millions in USD-denominated transactions each

   year by, SCB New York.

           1319. Standard Chartered Bank’s official accounting currency was, and is, U.S. Dollars

   because most SCB business was, and is, USD-denominated and/or USD-linked.


                                                   428
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 444 of 606 PageID #: 444




          1320. Standard Chartered Bank’s policies and procedures in place from at least 2001

   through 2016, including those of SCB London, SCB New York, SCB Dubai, SCB Pakistan, and

   SCB Afghanistan, required that Standard Chartered Bank branches, subsidiaries, and affiliates

   route USD-denominated transaction through SCB New York in most instances. Plaintiffs’ belief

   is based upon, among other things: (1) Standard Chartered Bank documents that repeatedly

   reference routing business to SCB New York; (2) the standard practice in the financial services

   industry of routing USD-denominated transactions to the relevant bank’s U.S. branch to capture

   the related transaction fees; and (3) Standard Chartered Bank’ documented practice from 2001

   through 2016 of processing billions of USD-denominated transactions through SCB New York

   that directly or indirectly benefited Iranian terrorist fronts, and the Defendants were consistently

   unable to avoid using their New York branch during the terrorist finance scheme given the

   centrality of U.S. Dollars.

          1321. Under Standard Chartered Bank policies and procedures, SCB New York was

   responsible for independently verifying the bona fides of any transaction in which SCB New

   York plays a role. On information and belief, from 2009 through 2016, SCB New York

   personnel knew of terrorist finance “red flags” relating to Fatima, Pakarab, Hisawi, Bout,

   Khanani, Bari, and Shadman, and/or other activity by known or suspected fronts, agents, or

   operatives of al-Qaeda, the Taliban, the Haqqani Network, or their affiliates. Thus, SCB New

   York not only facilitated the Fatima and Pakarab transactions and accounts for Syndicate agents,

   operatives, and fronts, which armed and funded the Syndicate’s CAN fertilizer bomb campaign,

   SCB New York also subjected each transaction to scrutiny based on Standard Chartered Bank

   policy and procedure, New York, and federal law, including OFAC regulations and U.S. terrorist




                                                   429
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 445 of 606 PageID #: 445




   designations. SCB New York therefore played an essential role in both triggering the red flags

   these transactions raised and knowingly ignoring them to allow the transactions to proceed.

          1322. Regulators have concurred with this conclusion. For example, the “Hong Kong

   Monetary Authority [] blamed [SCB’s] anti-money laundering failures on the bank’s operations

   in New York,” and observed the NYDFS’s August 2014 Consent Order “reflect[ed] [SCB New

   York]’s failure in fully meeting the requirements imposed by the US authorities over transaction

   monitoring systems in the US.”637

          1323. Each Defendant outside of New York also regularly depended upon U.S.

   relationships to provide the infrastructure necessary to process Standard Chartered Bank

   transactions. For example, SCB Pakistan and SCB Dubai have relied upon cloud-based services

   in the U.S. from Google and other providers to conduct their day-to-day activities.

                  1.      Standard Chartered Bank’s Terrorist Finance Had A Substantial
                          Nexus To The United States

          1324. Standard Chartered Bank’s knowing or reckless support for the Syndicate’s

   terrorist finance activities bore an equally strong nexus to the U.S. Like its facilitation of the

   Syndicate’s CAN fertilizer bomb logistics, Standard Chartered Bank’s support for Syndicate

   terrorist finance depended upon the close involvement of SCB New York, which regularly

   facilitated USD-denominated transactions in support of each Defendant’s provision of financial

   services to, among other Syndicate assets, the world’s most notorious terrorist arms dealer (the

   “Merchant of Death” Victor Bout), al-Qaeda’s paymaster and 9/11 plotter (Mustafa Ahmed al-

   Hisawi), the “bank” for key Haqqani Network and Taliban leadership (Abdul Baqi Bari), a

   notorious Afghan warlord who was known for funding the Haqqani Network (Hikmatullah


   637
     Global Banking News, Hong Kong Monetary Authority Blames Standard Chartered’s Anti-
   Money Laundering Failures on NY Unit (Aug. 21, 2014).


                                                    430
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 446 of 606 PageID #: 446




   Shadman), and the Syndicate’s Number 1 USD financier, a “James Bond Villain” whom law

   enforcement considered “the number 1 international controller” for “terrorist funding … in the

   world” at the time (Altaf Khanani).

          1325. Standard Chartered Bank’s ability – including that of each SCB Defendant – to

   leverage the U.S. nexus afforded by SCB New York was key to maximizing the potency of al-

   Qaeda and the Haqqani Network’s transnational schemes to finance attacks against Americans

   because both groups’ access to New York banks was essential to their agents’ and operatives’

   abilities to clean illicit overseas terrorist income, e.g.., Taliban profits in Europe, so the money

   could be repatriated back to accounts controlled by al-Qaeda and Haqqani Network agents and

   operatives to finance attacks against Americans in Afghanistan.

          1326. Standard Chartered Bank’s connection to New York was essential to signifying its

   status as a major global player and thereby providing the legitimacy necessary to facilitate the

   terrorist finance in this case through SCB New York’s invocation of the credibility lent by the

   U.S. financial system. As one industry analyst explained, in the context of NYDFS’s 2012

   interactions with Standard Chartered Bank, “[NYDFS] filed a blistering order … and threatened

   yanking [SCB’s] New York license. That was a huge threat, since that would also mean [SCB]

   would lose direct access to dollar clearing services. It could in theory go through

   correspondents, but that would signal its end as an international player.”638

          1327. Close cooperation between SCB New York, on the one hand, and SCB London,

   SCB Dubai, SCB Pakistan, and SCB Afghanistan, on the other, was essential to al-Qaeda and the

   Haqqani Network’s ability to use Standard Chartered Bank accounts to repatriate tens of millions



   638
     Yves Smith, New York’s Benjamin Lawsky Collects Scalps, Showing Regulators Can *Gasp*
   Regulate, Naked Capitalism (October 7, 2014), 2013 WLNR 15172530.


                                                    431
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 447 of 606 PageID #: 447




   in USD-related overseas income back to accounts controlled by al-Qaeda and Haqqani Network

   agents and operatives to finance attacks against Americans in Afghanistan.

          1328. Even after Standard Chartered Bank exited Afghanistan in 2012, SCB New York

   continued to be the leading gateway for USD-denominated transactions in Afghanistan through

   SCB New York’s provision of USD correspondent services to SCB Afghanistan’s successor

   (AIB), and SCB Pakistan continued to service customers in the Afghan market, while Standard

   Chartered Bank retained its status as the only global bank with a robust presence in Pakistan, a

   status which SCB retains to this day.

          1329. Standard Chartered Bank management practices show the close connection

   between SCB New York and other Standard Chartered Bank branches in Standard Chartered

   Bank’s Laundromat Strategy. For example, on May 28, 2006, SCB Dubai announced the

   appointment of a new Senior Executive Officer for SCB Dubai, who had previously been “the

   Senior Group Representative at [SCB New York], where he was responsible for overseeing anti-

   money laundering strategy as [SCB] is a major USD clearer.”639

          1330. SCB New York played a key – and illegal – role in both facilitating the illegal

   USD transactions at issue and covering up the broader programmatic terrorist finance scheme.

   SCB New York’s interactions with Deloitte offer one example. After Standard Chartered Bank

   agreed with the Federal Reserve in 2004 to review its suspicious transactions, “[o]n October 27,

   2004, Standard Chartered Bank formally engaged the predecessor entity of Deloitte FAS as its

   qualified independent consulting firm to conduct the Transaction Review.”640 “In early October



   639
     AME Info - Company News, Standard Chartered Appoints Senior Executive Officer for
   Dubai International Financial Centre (May 28, 2006).
   640
      NYDFS, In re Deloitte Financial Advisory Services LLP, Agreement, Factual Background ¶ 2
   (June 18, 2013).


                                                  432
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 448 of 606 PageID #: 448




   2005, Deloitte FAS finalized the draft Transaction Review report.”641 “One or more drafts of the

   Transaction Review report included a recommendation generally explaining how certain wire

   messages or ‘cover payments’ used by the Society for Worldwide Interbank Financial

   Telecommunication [SWIFT] message system could be manipulated by banks to evade money

   laundering controls on USD clearing activities and suggesting the elimination or restriction of

   such payments.”642 “Based primarily on SCB’s objection, Deloitte FAS removed the

   recommendation from the written final report before the written report was submitted to

   [NYDFS].”643

               1331. Accordingly, the Defendants, through their use of SCB New York, have

   purposefully availed themselves of (1) the United States’ dependable and transparent banking

   system (which allows the Syndicate to transfer funds without fear of loss); (2) the U.S. Dollar as

   a stable and fungible currency (which permits the exchange of currencies essential to terrorist

   fundraising, terrorist finance, and logistics purchases, including Fatima Group CAN Fertilizer);

   and (3) the predictable jurisdictional and commercial law of New York and the United States.

                       2.   Standard Chartered Bank’s CAN Fertilizer Bomb Logistical Support
                            For The Syndicate Had A Substantial Nexus To The United States

               1332. From 2009 through 2016, Fatima and Pakarab depended upon their relationship

   with the Defendants, including SCB New York, to reliably access U.S. Dollar markets in New

   York to facilitate their operations and international transactions, such as when a U.A.E. company

   contracts with Fatima or Pakarab for a 6- or 7-figure bulk purchase of Fatima Group CAN

   Fertilizer.



   641
         Id. at ¶ 7.
   642
         Id.
   643
         Id. at ¶ 8 (emphasis added).


                                                   433
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 449 of 606 PageID #: 449




          1333. On information and belief, Fatima and Pakarab regularly denominated their

   Fatima Group CAN Fertilizer-related transactions in U.S. Dollars from 2001 through 2016.644

          1334. Fatima’s and Pakarab’s ability to price Fatima Group CAN Fertilizer in U.S.

   Dollars improved the effectiveness of the Syndicate’s CAN fertilizer bomb campaign by

   ensuring price stability and avoiding wild price fluctuations that would otherwise occur if Fatima

   and Pakarab were forced to rely on another currency because, in Pakistan, petrochemical-related

   transactions were traditionally USD-denominated, as were natural gas sales. At all relevant

   times, petrochemical inputs and natural gas supplies were two of the most important elements to

   Fatima’s and Pakarab’s CAN fertilizer pricing, and therefore Fatima and Pakarab had an

   overwhelming economic interest in pricing Fatima Group CAN Fertilizer, directly or indirectly,

   based upon the U.S. Dollar to de-risk the cost of two of their most important inputs. From 2008

   through 2016, the Syndicate was able to engage in “widespread smuggling” of the “Pakarab …

   fertilizer” for use in CAN fertilizer bombs “because of the low price of [Pakarab] fertilizer in

   Pakistan.”645 If Fatima and Pakarab had been unable to rely on the U.S. financial system, they

   could not have maintained their stable low-cost prices, and the Syndicate could not have

   acquired, smuggled, and detonated as many CAN fertilizer bombs against Americans.




   644
      Plaintiffs’ belief is based upon, among other things, that: (1) one or more Fatima documents
   shared with prospective investors in 2010 represented that the price of certain Fatima products
   was “fixed” at a certain USD ratio; (2) fertilizer prices worldwide, and in Pakistan, are ordinarily
   pegged to the U.S. Dollar because of fertilizer’s heritage in the petrochemicals family, which
   were ordinarily USD-denominated; and (3) Fatima and Pakarab specifically sourced their two
   greatest inputs – petrochemicals to convert into fertilizer, and natural gas to power their state-of-
   the-art facilities – in U.S. Dollars.
   645
     PTI - The Press Trust of India Ltd., Pak Accepts US Proposal to Dye Fertiliser Used in
   Making Bombs (Oct. 6, 2011) (emphasis added).



                                                   434
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 450 of 606 PageID #: 450




          1335. From 2009 through 2016, Fatima and Pakarab depended upon access to the USD

   markets in New York to facilitate their cross-border transactions, such as when a U.A.E.

   purchaser contracts with Fatima or Pakarab to purchase $1 million of CAN fertilizer in bulk.

   During this time, Syndicate fronts, agents, and/or operatives regularly acquired Fatima Group

   CAN Fertilizer, directly or indirectly, through transactions facilitated by SCB New York.

          1336. On information and belief, Fatima and Pakarab each maintained an 8-figure USD

   facility through Standard Chartered Bank, which was serviced by SCB New York from 2009

   through 2016. In January 2010, Fatima disclosed that it had an outstanding loan valued at 1.4

   billion Pakistani Rupees with “Standard Chartered,” which was approximately $16.5 million at

   then-existing exchange rates. On information and belief, this was a reference to Fatima and

   Pakarab accounts with SCB Pakistan, SCB Dubai, SCB London, and SCB New York, which

   Fatima and Pakarab maintained to facilitate USD-denominated transactions relating to Fatima

   Group CAN Fertilizer.

          1337. To facilitate Fatima’s and Pakarab’s deliberate supply of CAN fertilizer to

   Syndicate agents, operatives, and fronts from 2009 through 2016, Fatima and Pakarab depended

   upon USD correspondent accounts maintained by SCB New York to facilitate such purchases,

   including, but not limited to, foreign exchange and export finance. On information and belief,

   during this period, SCB New York facilitated at least $100,000 per month, and more than $1

   million per year, in Fatima and Pakarab fertilizer sales to Syndicate agents, operatives, and

   fronts. On information and belief, most of these transactions were either processed directly

   through SCB New York or, alternatively, relied upon SCB New York to provide U.S. Dollars in

   the context of currency pairing between another bank and SCB Pakistan or SCB Dubai.




                                                  435
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 451 of 606 PageID #: 451




          1338. On information and belief, Fatima and Pakarab also relied upon SCB New York

   to facilitate the USD-denominated letters of credit that were necessary to ensure the smooth

   operation of Fatima’s and Pakarab’s fertilizer sales. SCB New York, SCB Dubai, and SCB

   Pakistan regularly facilitated letters of credit that enabled Taliban and Haqqani Network

   purchases of Fatima Group CAN Fertilizer from 2008 through 2016.

          1339. Fatima and Pakarab would not have been able to support the “unending supply”

   of Fatima Group CAN Fertilizer to Syndicate agents, operatives, and fronts, without the reliable

   and dependable USD-denominated banking services provided by SCB New York, as facilitated

   by SCB London, SCB Dubai, and SCB Pakistan through “currency pairs” that relied upon the

   stable USD banking services provided by SCB New York. Commercial banks transacting in

   currency pairs—i.e., accepting funds in one currency and depositing them in another—typically

   choose a central currency to exchange into and out of. As Stanford Economics Professor Ronald

   McKinnon explained, “choosing one currency like the dollar to be the intermediary currency is

   the most natural way of economizing on foreign exchange transacting.646 That is because it is far

   easier and less expensive to use a single central currency than it is to set up bilateral currency

   exchange markets for every possible currency pair (the example Professor McKinnon gives is

   that if a bank wished to trade 150 currencies all against each other, it could set up 149 markets if

   it used a central currency, as opposed to 11,175 markets if it created a separate market for each

   currency pair). The U.S. Dollar is by far the most common central currency.

          1340. Because the U.S. Dollar is by far the most common central currency, many

   Standard Chartered Bank transactions on behalf of Fatima, Pakarab, and al-Qaeda or Taliban



   646
      Ronald McKinnon, The World Dollar Standard and Globalization: New Rules for the Game?,
   Stanford Ctr. for Int’l Dev., at 8-9 (Sept. 2003).


                                                    436
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 452 of 606 PageID #: 452




   (including Haqqani Network) fronts, agents and operatives, involved USD transactions routed

   through SCB New York, even when the underlying transaction did not have any other currency

   or geographic nexus to the United States.

          1341. When Syndicate fronts, agents, and/or operatives acquired Fatima Group CAN

   Fertilizer, directly or indirectly, through transactions with Fatima and/or Pakarab that were

   facilitated by the Defendants, SCB New York’s personnel, accounts, and funds were essential to

   the Defendants’ ability to service Fatima and Pakarab business and therefore, to the Syndicate’s

   continued operation of its CAN fertilizer bomb network.

          1342. From 2009 through 2016, SCB New York facilitated at least several million USD,

   per year, in Fatima and Pakarab sales of Fatima Group CAN Fertilizer to Syndicate fronts,

   operatives, and/or agents, which sales supplied the explosives for thousands of Syndicate CAN

   fertilizer bombs that were detonated in attacks against Americans in Afghanistan each year.

   Most of these transactions were either processed directly through SCB New York or,

   alternatively, relied upon SCB New York to provide U.S. Dollars in the context of currency

   pairing between another bank and SCB London, SCB Dubai, or SCB Pakistan.

          1343. From 2009 through 2016, SCB New York facilitated the USD-denominated

   letters of credit that were necessary to ensure the smooth operation of Fatima’s and Pakarab’s

   sales of Fatima Group CAN Fertilizer to Syndicate agents, operatives, and fronts. On

   information and belief, SCB New York regularly facilitated letters of credit that enabled Taliban

   and Haqqani Network purchases of Fatima Group CAN Fertilizer from Fatima and Pakarab.

          1344. Fatima and Pakarab would not have been able to serve as a reliable explosives

   supplier to the Syndicate or sell nearly as much Fatima Group CAN Fertilizer for as cheaply as it

   did to Syndicate agents, operatives, and fronts, without the reliable and dependable USD services




                                                   437
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 453 of 606 PageID #: 453




   provided by SCB New York, as facilitated by the other Defendants. By substantially reducing

   Fatima’s and Pakarab’s costs, access to SCB New York’s USD accounts allowed Fatima and

   Pakarab to maintain ultra-low Fatima Group CAN Fertilizer prices, causing more Syndicate

   CAN fertilizer bomb attacks against Americans.

           1345. The second substantial nexus between Standard Chartered Bank’s actions relevant

   to the claims herein and the United States is that the Defendants knew their actions targeted the

   United States by directly undermining U.S. foreign-policy interests in Afghanistan and

   jeopardizing the safety of American service members deployed there. When they decided to

   enable the Haqqani Network’s CAN fertilizer bomb logistics flow, permit the Haqqani

   Network’s corporate co-conspirators Fatima and Pakarab to continue to enable attacks, assist al-

   Qaeda in repatriating millions of dollars in illicit criminal profits back to accounts controlled by

   al-Qaeda and Haqqani Network agents and operatives and used to finance attacks against

   Americans in Afghanistan, or lend Fatima, Pakarab, and Haqqani Network agents, operatives,

   and fronts Standard Chartered Bank’s good name and legitimacy, the SCB Defendants knew they

   were helping al-Qaeda, the Haqqani Network, and their allies conduct attacks to influence U.S.

   policy by killing and injuring American personnel.

           1346. By knowingly engaging in transactions for, and providing financial services to,

   members of the al-Qaeda Terror Syndicate, including the Taliban and the Haqqani Network, the

   Defendants provided substantial assistance to those groups, and caused the terror attacks that

   injured Plaintiffs.

           C.      Danske Bank’s Assistance To The Syndicate Had A Substantial Nexus To
                   The United States

           1347. Almost all of the money that was laundered through the Danske Bank laundromat

   ended up denominated in dollars, via transactions with U.S. correspondence bank accounts.



                                                   438
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 454 of 606 PageID #: 454




          1348. Danske Bank used the United States financial system to transact in U.S. Dollars

   and to facilitate cross-border transactions, including the transactions that facilitated the money

   laundering done by the Danske Bank laundromat.

          1349. Danske Bank has a wholly-owned subsidiary in New York, Danske Bank New

   York, which acts as Danske Bank’s agent for foreign exchange transactions with non-U.S.

   customers of Danske Bank. Danske Bank New York maintains offices in New York, does

   business there, and did business there related to the Danske Bank laundromat, including helping

   Danske Bank Estonia launder money.

          1350. Close cooperation between Danske Bank New York, on the one hand, and Danske

   Bank Estonia, on the other, was essential to the Syndicate’s ability to use Danske Bank accounts

   to repatriate tens if not hundreds of millions in USD-related illicit income back to accounts

   controlled by al-Qaeda and Haqqani Network agents and operatives to finance attacks against

   Americans in Afghanistan from 2001 through 2016.

          1351. For transactions that were not fulfilled by Danske Bank New York, Danske Bank

   and Danske Banke Estonia both reached into the United States to transact illicit money

   laundering with other correspondent banks in the United States.

          1352. The Danske Bank Defendants’ assistance to the Syndicate had a substantial nexus

   to the United States because their acts to launder funds, which facilitated terrorist finance, were

   directed at the U.S because they knew that their material support would aid terrorists targeting

   Americans.

          1353. Employees from Danske Bank’s Estonia branch met in New York with Deutsche

   Bank employees regarding anti-money laundering issues. Danske Bank Estonia assured

   Deutsche Bank that it would be de-emphasizing its business with non-resident clients.




                                                   439
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 455 of 606 PageID #: 455




          D.      Placid Express’s Assistance To The Syndicate Had A Substantial Nexus To
                  The United States

          1354. Placid Express’s support for the Syndicate relied on significant contacts with the

   United States, including but not limited to the fact that most if not all transactions at issue were

   USD-denominated, or dependent upon transactions backstopped by the U.S. Dollar as a currency

   pair or through a correspondent USD account.

          1355. Placid Express’s conduct involved sending dollars from or through Placid

   Express’s facilities in New York, so that U.S. Dollars could be sent to Placid Express’s

   customers abroad.

          1356. Placid Express’s acts were also directed at the U.S. because they knew that their

   material support would aid terrorists targeting Americans.

          E.      Wall Street Exchange’s Assistance To The Syndicate Had A Substantial
                  Nexus To The United States

          1357. Wall Street Exchange’s support for the Syndicate relied on significant contacts

   with the United States, including but not limited to the fact that most if not all transactions at

   issue were USD-denominated, or dependent upon transactions backstopped by the U.S. Dollar as

   a currency pair or through a correspondent USD account.

          1358. Wall Street Exchange’s conduct involved sending dollars from or through Wall

   Street Exchange’s facilities in New York, so that U.S. Dollars could be sent to Wall Street

   Exchange’s customers in Dubai.

          1359. Wall Street Exchange’s acts were also directed at the U.S. because they knew that

   their material support would aid terrorists targeting Americans.




                                                    440
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 456 of 606 PageID #: 456




   IX.    THE SYNDICATE USED DEFENDANTS’ ASSISTANCE TO COMMIT
          ATTACKS THAT KILLED AND INJURED PLAINTIFFS THROUGH ACTS OF
          INTERNATIONAL TERRORISM THAT WERE COMMITTED, PLANNED,
          AND AUTHORIZED BY AL-QAEDA AND/OR THE HAQQANI NETWORK

          1360. The Syndicate’s terrorist campaign, for which Defendants provided material

   support, killed and injured Plaintiffs and their family members. Each of the acts of international

   terrorism described below was committed by the Taliban, including its Haqqani Network, or

   jointly committed by the Taliban and al-Qaeda. The express purpose of that terrorist campaign

   was to target U.S. citizens, like Plaintiffs and their deceased family members, to inflict injury felt

   in the United States and effect a change in U.S policy. In addition, al-Qaeda – a designated FTO

   at all relevant times – planned and authorized each of these attacks. See supra Part V.B.

          1361. The attacks that injured or killed Plaintiffs would have violated the laws of war if

   these terrorist groups were subject to it. The terrorists did not wear uniforms or otherwise

   distinguish themselves from civilians, conscripted children into committing attacks, targeted

   humanitarian workers, and engaged in widespread kidnapping and torture in order to intimidate

   their enemies.

          1362. A full list of the Plaintiffs, their nationality, and relationship to the injured persons

   below is attached hereto as Exhibit A. For those Plaintiffs below with family members who

   were injured or died as a result, each Plaintiff has experienced severe mental anguish, emotional

   pain and suffering, and the loss of their family member’s society, companionship, and counsel.

          The Joshua Ashley Family

          1363. Sergeant Joshua Ashley served in Afghanistan as a member of the U.S. Marine

   Corps. On July 19, 2012, Sgt Ashley was injured in an IED attack in Helmand Province,

   Afghanistan. Sgt Ashley died on July 19, 2012 as a result of injuries sustained during the attack.

          1364. The attack was committed by the Taliban.



                                                    441
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 457 of 606 PageID #: 457




            1365. On information and belief, the explosive used in the attack was a CAN fertilizer

   bomb sourced from Fatima Group CAN Fertilizer, which the Haqqani Network purchased from

   Fatima or Pakarab and then transported to al-Qaeda bombmakers operating out of joint al-

   Qaeda/Haqqani Network bomb factories in Pakistan, who converted such fertilizer into an al-

   Qaeda CAN fertilizer bomb derived from al-Qaeda schematics, which the Haqqani Network then

   distributed to the cell that helped commit the attack.

            1366. Sgt Ashley’s murder would have violated the laws of war if these terrorist groups

   were subject to them because, among other reasons, the terrorist(s) who committed the attack

   neither wore uniforms nor otherwise identified themselves as enemy combatants and the passive

   detonation system indiscriminately placed civilians at risk.

            1367. Sgt Ashley was a national of the United States at the time of the attack and his

   death.

            1368. As a result of the July 19, 2012 attack, Sgt Ashley was injured in his person

   and/or property. The Plaintiff members of the Ashley Family are the survivors and/or heirs of

   Sgt Ashley and are entitled to recover for the damages Sgt Ashley sustained.

            The Bradley Atwell Family

            1369. Sergeant Bradley Atwell served in Afghanistan as a member of the U.S. Marine

   Corps. On September 15, 2012, Sgt Atwell was injured in a complex attack involving small

   arms fire and rocket propelled grenades in Helmand Province, Afghanistan. Sgt Atwell died on

   September 15, 2012 as a result of injuries sustained during the attack.

            1370. The attack was committed by the Taliban.




                                                   442
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 458 of 606 PageID #: 458




            1371. Sgt Atwell’s murder would have violated the laws of war if these terrorist groups

   were subject to them because, among other reasons, the terrorist(s) who committed the attack

   was unlawfully wearing the uniform of his enemy.

            1372. Sgt Atwell was a national of the United States at the time of the attack and his

   death.

            1373. As a result of the September 15, 2012 attack, Sgt Atwell was injured in his person

   and/or property. The Plaintiff members of the Atwell Family are the survivors and/or heirs of

   Sgt Atwell and are entitled to recover for the damages Sgt Atwell sustained.

            The Thomas Baysore Jr. Family

            1374. Staff Sergeant Thomas Baysore Jr. served in Afghanistan as a member of the U.S.

   Army. On September 26, 2013, SSG Baysore was injured in an insider attack in Paktia Province,

   Afghanistan. SSG Baysore died on September 26, 2013 as a result of injuries sustained during

   the attack.

            1375. The attack was committed by the Haqqani Network (a designated FTO at the time

   of the attack and a part of the Taliban), al-Qaeda (a designated FTO at the time of the attack),

   and Lashkar-e-Taiba (a designated FTO at the time of the attack) acting together in a joint cell.

            1376. SSG Baysore’s murder would have violated the laws of war if these terrorist

   groups were subject to them because, among other reasons, the terrorist(s) who committed the

   attack was unlawfully wearing the uniform of his enemy.

            1377. SSG Baysore was a national of the United States at the time of the attack and his

   death.




                                                   443
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 459 of 606 PageID #: 459




            1378. As a result of the September 26, 2013 attack, SSG Baysore was injured in his

   person and/or property. The Plaintiff members of the Baysore Family are the survivors and/or

   heirs of SSG Baysore and are entitled to recover for the damages SSG Baysore sustained.

            The Vincent Bell Family

            1379. Staff Sergeant Vincent Bell served in Afghanistan as a member of the U.S.

   Marine Corps. On November 30, 2011, SSgt Bell was injured in an IED attack in Helmand

   Province, Afghanistan. SSgt Bell died on November 30, 2011 as a result of injuries sustained

   during the attack.

            1380. The attack was committed by the Taliban.

            1381. On information and belief, the explosive used in the attack was a CAN fertilizer

   bomb sourced from Fatima Group CAN Fertilizer, which the Haqqani Network purchased from

   Fatima or Pakarab and then transported to al-Qaeda bombmakers operating out of joint al-

   Qaeda/Haqqani Network bomb factories in Pakistan, who converted such fertilizer into an al-

   Qaeda CAN fertilizer bomb derived from al-Qaeda schematics, which the Haqqani Network then

   distributed to the cell that helped commit the attack.

            1382. SSgt Bell’s murder would have violated the laws of war if these terrorist groups

   were subject to them because, among other reasons, the terrorist(s) who committed the attack

   neither wore uniforms nor otherwise identified themselves as enemy combatants, and the passive

   detonation system indiscriminately placed civilians at risk.

            1383. SSgt Bell was a national of the United States at the time of the attack and his

   death.




                                                   444
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 460 of 606 PageID #: 460




           1384. As a result of the November 30, 2011 attack, SSgt Bell was injured in his person

   and/or property. The Plaintiff members of the Bell Family are the survivors and/or heirs of SSgt

   Bell and are entitled to recover for the damages SSgt Bell sustained.

           The Darrik Benson Family

           1385. Chief Petty Officer Darrik Benson served in Afghanistan as a member of the U.S.

   Navy. On August 6, 2011, SOC (SEAL) Benson was injured in an attack on a helicopter in

   Wardak Province, Afghanistan. SOC (SEAL) Benson died on August 6, 2011 as a result of

   injuries sustained during the attack.

           1386. The attack was committed by the Haqqani Network (a part of the Taliban) and al-

   Qaeda (a designated FTO at the time of the attack) acting together in a joint al-Qaeda-Taliban

   cell.

           1387. SOC (SEAL) Benson’s murder would have violated the laws of war if these

   terrorist groups were subject to them because, among other reasons, the terrorist(s) who

   committed the attack neither wore uniforms nor otherwise identified themselves as enemy

   combatants.

           1388. SOC (SEAL) Benson was a national of the United States at the time of the attack

   and his death.

           1389. As a result of the August 6, 2011 attack, SOC (SEAL) Benson was injured in his

   person and/or property. The Plaintiff members of the Benson Family are the survivors and/or

   heirs of SOC (SEAL) Benson and are entitled to recover for the damages SOC (SEAL) Benson

   sustained.




                                                  445
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 461 of 606 PageID #: 461




          Maggie Bilyeu

          1390. Plaintiff Specialist Maggie Bilyeu served in Afghanistan as a member of the U.S.

   Army. On November 12, 2016, SPC Bilyeu was injured in a suicide bombing attack in Parwan

   Province, Afghanistan. The attack severely wounded SPC Bilyeu, who suffers from injuries

   from shrapnel requiring 22 surgeries to her legs, breast and abdomen, an amputated left leg, and

   hearing loss requiring a hearing aid. As a result of the November 12, 2016 attack and her

   injuries, SPC Bilyeu has experienced severe physical and emotional pain and suffering.

          1391. The attack was committed by the Taliban and al-Qaeda (a designated FTO at the

   time of the attack) acting together in a joint al-Qaeda-Taliban cell with al-Qaeda providing and

   training the suicide bomber.

          1392. On information and belief, the explosive used in the attack was a CAN fertilizer

   bomb sourced from Fatima Group CAN Fertilizer, which the Haqqani Network purchased from

   Fatima or Pakarab and then transported to al-Qaeda bombmakers operating out of joint al-

   Qaeda/Haqqani Network bomb factories in Pakistan, who converted such fertilizer into an al-

   Qaeda CAN fertilizer bomb derived from al-Qaeda schematics, which the Haqqani Network then

   distributed to the cell that helped commit the attack.

          1393. The attack that injured SPC Bilyeu would have violated the laws of war if these

   terrorist groups were subject to them because, among other reasons, the terrorist(s) who

   committed the attack was unlawfully wearing the uniform of a base employee in order to gain

   access to the base and the attack indiscriminately placed civilians at risk, killing American

   contractors, because it occurred on a large base with civilians working there.

          1394. SPC Bilyeu was a national of the United States at the time of the attack, and

   remains one to this day.




                                                   446
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 462 of 606 PageID #: 462




            The Jeremie Border Family

            1395. Staff Sergeant Jeremie Border served in Afghanistan as a member of the U.S.

   Army. On September 1, 2012, SSG Border was injured in a complex attack involving small

   arms fire and grenades in Ghazni Province, Afghanistan. SSG Border died on September 1,

   2012 as a result of injuries sustained during the attack.

            1396. The attack was committed by the Haqqani Network, a part of the Taliban.

            1397. SSG Border’s murder would have violated the laws of war if these terrorist

   groups were subject to them because, among other reasons, the terrorist(s) who committed the

   attack neither wore uniforms nor otherwise identified themselves as enemy combatants.

            1398. SSG Border was a national of the United States at the time of the attack and his

   death.

            1399. As a result of the September 1, 2012 attack, SSG Border was injured in his person

   and/or property. The Plaintiff members of the Border Family are the survivors and/or heirs of

   SSG Border and are entitled to recover for the damages SSG Border sustained.

            The Francisco Briseño-Alvarez Jr. Family

            1400. Specialist Francisco Briseño-Alvarez Jr. served in Afghanistan as a member of the

   U.S. Army National Guard. On September 25, 2011, SPC Briseño-Alvarez was injured in an

   IED attack in Laghman Province, Afghanistan. SPC Briseño-Alvarez died on September 25,

   2011 as a result of injuries sustained during the attack.

            1401. The attack was committed by the the Taliban, al-Qaeda (a designated FTO at the

   time of the attack), and Lashkar-e-Taiba (a designated FTO at the time of the attack) acting

   together in a joint cell.




                                                    447
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 463 of 606 PageID #: 463




          1402. On information and belief, the explosive used in the attack was a CAN fertilizer

   bomb sourced from Fatima Group CAN Fertilizer, which the Haqqani Network purchased from

   Fatima or Pakarab and then transported to al-Qaeda bombmakers operating out of joint al-

   Qaeda/Haqqani Network bomb factories in Pakistan, who converted such fertilizer into an al-

   Qaeda CAN fertilizer bomb derived from al-Qaeda schematics, which the Haqqani Network then

   distributed to the cell that helped commit the attack.

          1403. SPC Briseño-Alvarez’s murder would have violated the laws of war if these

   terrorist groups were subject to them because, among other reasons, the terrorist(s) who

   committed the attack neither wore uniforms nor otherwise identified themselves as enemy

   combatants, and the passive detonation system indiscriminately placed civilians at risk.

          1404. SPC Briseño-Alvarez was a member of the U.S. Armed Forces at the time of the

   attack and his death.

          1405. As a result of the September 25, 2011 attack, SPC Briseño-Alvarez was injured in

   his person and/or property. The Plaintiff members of the Briseño-Alvarez Family are the

   survivors and/or heirs of SPC Briseño-Alvarez and are entitled to recover for the damages SPC

   Briseño-Alvarez sustained.

          The Allan Brown Family

          1406. Sergeant First Class Allan Brown served in Afghanistan as a member of the U.S.

   Army. On November 12, 2016, SFC Brown was injured in a suicide bombing attack in Parwan

   Province, Afghanistan. SFC Brown died on December 6, 2016 as a result of injuries sustained

   during the attack.




                                                   448
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 464 of 606 PageID #: 464




            1407. The attack was committed by the Taliban and al-Qaeda (a designated FTO at the

   time of the attack) acting together in a joint al-Qaeda-Taliban cell with al-Qaeda providing and

   training the suicide bomber.

            1408. On information and belief, the explosive used in the attack was a CAN fertilizer

   bomb sourced from Fatima Group CAN Fertilizer, which the Haqqani Network purchased from

   Fatima or Pakarab and then transported to al-Qaeda bombmakers operating out of joint al-

   Qaeda/Haqqani Network bomb factories in Pakistan, who converted such fertilizer into an al-

   Qaeda CAN fertilizer bomb derived from al-Qaeda schematics, which the Haqqani Network then

   distributed to the cell that helped commit the attack.

            1409. SFC Brown’s murder would have violated the laws of war if these terrorist groups

   were subject to them because, among other reasons, the terrorist(s) who committed the attack

   was unlawfully wearing the uniform of a base employee in order to gain access to the base and

   the attack indiscriminately placed civilians at risk, killing American contractors, because it

   occurred on a large base with civilians working there.

            1410. SFC Brown was a national of the United States at the time of the attack and his

   death.

            1411. As a result of the attack, SFC Brown was injured in his person and/or property.

   The Plaintiff members of the Brown Family are the survivors and/or heirs of SFC Brown and are

   entitled to recover for the damages SFC Brown sustained.

            1412. As a result of the November 12, 2016 attack and SFC Brown’s injuries and death,

   each member of the Brown Family has experienced severe mental anguish, emotional pain and

   suffering, and the loss of SFC Brown’s society, companionship, and counsel.




                                                   449
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 465 of 606 PageID #: 465




             The Christopher Brown Family

             1413. Staff Sergeant Christopher Brown served in Afghanistan as a member of the U.S.

   Army. On April 3, 2012, SSG Brown was injured in an IED attack in Kunar Province,

   Afghanistan. SSG Brown died on April 3, 2012 as a result of injuries sustained during the

   attack.

             1414. The attack was committed by the the Taliban, al-Qaeda (a designated FTO at the

   time of the attack), and Lashkar-e-Taiba (a designated FTO at the time of the attack) acting

   together in a joint cell.

             1415. On information and belief, the explosive used in the attack was a CAN fertilizer

   bomb sourced from Fatima Group CAN Fertilizer, which the Haqqani Network purchased from

   Fatima or Pakarab and then transported to al-Qaeda bombmakers operating out of joint al-

   Qaeda/Haqqani Network bomb factories in Pakistan, who converted such fertilizer into an al-

   Qaeda CAN fertilizer bomb derived from al-Qaeda schematics, which the Haqqani Network then

   distributed to the cell that helped commit the attack.

             1416. SSG Brown’s murder would have violated the laws of war if these terrorist groups

   were subject to them because, among other reasons, the terrorist(s) who committed the attack

   neither wore uniforms nor otherwise identified themselves as enemy combatants, and the passive

   detonation system indiscriminately placed civilians at risk.

             1417. SSG Brown was a national of the United States at the time of the attack and his

   death.

             1418. As a result of the April 3, 2012 attack, SSG Brown was injured in his person

   and/or property. The Plaintiff members of the Brown Family are the survivors and/or heirs of

   SSG Brown and are entitled to recover for the damages SSG Brown sustained.




                                                   450
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 466 of 606 PageID #: 466




             The Daniel Brown Family

             1419. Plaintiff Hospitalman Daniel Brown served in Afghanistan as a member of the

   U.S. Navy. On March 9, 2012, HM1 Brown was injured in an grenade launcher attack in

   Helmand Province, Afghanistan. The attack severely wounded HM1 Brown, who suffers from

   neurological issues causing difficulty breathing and a decrease in cognitive functions. As a result

   of the March 9, 2012 attack and his injuries, HM1 Brown has experienced severe physical and

   emotional pain and suffering.

             1420. The attack was committed by the Taliban.

             1421. The attack that injured HM1 Brown would have violated the laws of war if these

   terrorist groups were subject to them because, among other reasons, the terrorist(s) who

   committed the attack neither wore uniforms nor otherwise identified themselves as enemy

   combatants.

             1422. HM1 Brown was a national of the United States at the time of the attack, and

   remains one to this day.

             1423. As a result of the March 9, 2012 attack and HM1 Brown’s injuries, each member

   of the Brown Family has experienced severe mental anguish, emotional pain and suffering.

             The Nicholas Burley Family

             1424. Specialist Nicholas Burley served in Afghanistan as a member of the U.S. Army.

   On July 30, 2013, SPC Burley was injured in an indirect fire attack in Logar Province,

   Afghanistan. SPC Burley died on July 30, 2013 as a result of injuries sustained during the

   attack.

             1425. The attack was committed by the Haqqani Network, a designated FTO at the time

   of the attack and part of the Taliban.




                                                   451
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 467 of 606 PageID #: 467




            1426. SPC Burley’s murder would have violated the laws of war if these terrorist groups

   were subject to them because, among other reasons, the terrorist(s) who committed the attack

   neither wore uniforms nor otherwise identified themselves as enemy combatants, and

   indiscriminately placed civilians at risk.

            1427. SPC Burley was a national of the United States at the time of the attack and his

   death.

            1428. As a result of the July 30, 2013 attack, SPC Burley was injured in his person

   and/or property. The Plaintiff members of the Burley Family are the survivors and/or heirs of

   SPC Burley and are entitled to recover for the damages SPC Burley sustained.

            The David Cabrera Family

            1429. Lieutenant Colonel David Cabrera served in Afghanistan as a member of the U.S.

   Army. On October 29, 2011, LTC Cabrera was injured in a suicide bombing attack in Kabul

   Province, Afghanistan. LTC Cabrera died on October 29, 2011 as a result of injuries sustained

   during the attack.

            1430. The attack was committed by the Taliban (including the Haqqani Network), al-

   Qaeda (a designated FTO at the time of the attack), and Lashkar-e-Taiba (a designated FTO at

   the time of the attack) acting together as a joint cell in the Kabul Attack Network.

            1431. On information and belief, the explosive used in the attack was a CAN fertilizer

   bomb sourced from Fatima Group CAN Fertilizer, which the Haqqani Network purchased from

   Fatima or Pakarab and then transported to al-Qaeda bombmakers operating out of joint al-

   Qaeda/Haqqani Network bomb factories in Pakistan, who converted such fertilizer into an al-

   Qaeda CAN fertilizer bomb derived from al-Qaeda schematics, which the Haqqani Network then

   distributed to the cell that helped commit the attack.




                                                   452
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 468 of 606 PageID #: 468




            1432. LTC Cabrera’s murder would have violated the laws of war if these terrorist

   groups were subject to them because, among other reasons, the terrorist(s) who committed the

   attack neither wore uniforms nor otherwise identified themselves as enemy combatants, and the

   attack indiscriminately placed civilians at risk, killing multiple Afghan civilians, because it

   occurred on a busy road near a university.

            1433. LTC Cabrera was a national of the United States at the time of the attack and his

   death.

            1434. As a result of the October 29, 2011 attack, LTC Cabrera was injured in his person

   and/or property. The Plaintiff members of the Cabrera Family are the survivors and/or heirs of

   LTC Cabrera and are entitled to recover for the damages LTC Cabrera sustained.

            The Christopher Campbell Family

            1435. Chief Petty Officer Christopher Campbell served in Afghanistan as a member of

   the U.S. Navy. On August 6, 2011, CPO Campbell was injured in an attack on a helicopter in

   Wardak Province, Afghanistan. CPO Campbell died on August 6, 2011 as a result of injuries

   sustained during the attack.

            1436. The attack was committed by the Haqqani Network (a part of the Taliban) and al-

   Qaeda (a designated FTO at the time of the attack) acting together in a joint al-Qaeda-Taliban

   cell.

            1437. CPO Campbell’s murder would have violated the laws of war if these terrorist

   groups were subject to them because, among other reasons, the terrorist(s) who committed the

   attack neither wore uniforms nor otherwise identified themselves as enemy combatants.

            1438. CPO Campbell was a national of the United States at the time of the attack and his

   death.




                                                   453
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 469 of 606 PageID #: 469




            1439. As a result of the August 6, 2011 attack, CPO Campbell was injured in his person

   and/or property. The Plaintiff members of the Campbell Family are the survivors and/or heirs of

   CPO Campbell and are entitled to recover for the damages CPO Campbell sustained.

            The Kevin Cardoza Family

            1440. Specialist Kevin Cardoza served in Afghanistan as a member of the U.S. Army.

   On May 4, 2013, SPC Cardoza was injured in an IED attack in Kandahar Province, Afghanistan.

   SPC Cardoza died on May 4, 2013 as a result of injuries sustained during the attack.

            1441. The attack was committed by the Taliban.

            1442. On information and belief, the explosive used in the attack was a CAN fertilizer

   bomb sourced from Fatima Group CAN Fertilizer, which the Haqqani Network purchased from

   Fatima or Pakarab and then transported to al-Qaeda bombmakers operating out of joint al-

   Qaeda/Haqqani Network bomb factories in Pakistan, who converted such fertilizer into an al-

   Qaeda CAN fertilizer bomb derived from al-Qaeda schematics, which the Haqqani Network then

   distributed to the cell that helped commit the attack.

            1443. SPC Cardoza’s murder would have violated the laws of war if these terrorist

   groups were subject to them because, among other reasons, the terrorist(s) who committed the

   attack neither wore uniforms nor otherwise identified themselves as enemy combatants, and the

   passive detonation system indiscriminately placed civilians at risk.

            1444. SPC Cardoza was a national of the United States at the time of the attack and his

   death.

            1445. As a result of the May 4, 2013 attack, SPC Cardoza was injured in his person

   and/or property. The Plaintiff members of the Cardoza Family are the survivors and/or heirs of

   SPC Cardoza and are entitled to recover for the damages SPC Cardoza sustained.




                                                   454
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 470 of 606 PageID #: 470




          The Timothy Carner Family

          1446. Plaintiff Specialist Timothy Carner served in Afghanistan as a member of the U.S.

   Army. On December 13, 2011, SPC Carner was injured in an IED attack in Kandahar Province,

   Afghanistan. The attack severely wounded SPC Carner, who suffers from an amputation of his

   left leg below the knee, right thigh injuries, a concussion, traumatic brain injury, and post-

   traumatic stress disorder. As a result of the December 13, 2011 attack and his injuries, SPC

   Carner has experienced severe physical and emotional pain and suffering.

          1447. The attack was committed by the Taliban.

          1448. On information and belief, the explosive used in the attack was a CAN fertilizer

   bomb sourced from Fatima Group CAN Fertilizer, which the Haqqani Network purchased from

   Fatima or Pakarab and then transported to al-Qaeda bombmakers operating out of joint al-

   Qaeda/Haqqani Network bomb factories in Pakistan, who converted such fertilizer into an al-

   Qaeda CAN fertilizer bomb derived from al-Qaeda schematics, which the Haqqani Network then

   distributed to the cell that helped commit the attack.

          1449. The attack that injured SPC Carner would have violated the laws of war if these

   terrorist groups were subject to them because, among other reasons, the terrorist(s) who

   committed the attack neither wore uniforms nor otherwise identified themselves as enemy

   combatants, and the passive detonation system indiscriminately placed civilians at risk.

          1450. SPC Carner was a national of the United States at the time of the attack, and

   remains one to this day.

          1451. As a result of the December 13, 2011 attack and SPC Carner’s injuries, each

   member of the Carner Family has experienced severe mental anguish, emotional pain and

   suffering.




                                                   455
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 471 of 606 PageID #: 471




             The Chazray Clark Family

             1452. Specialist Chazray Clark served in Afghanistan as a member of the U.S. Army.

   On September 18, 2011, SPC Clark was injured in an IED attack in Kandahar Province,

   Afghanistan. SPC Clark died on September 18, 2011 as a result of injuries sustained during the

   attack.

             1453. The attack was committed by the Taliban.

             1454. On information and belief, the explosive used in the attack was a CAN fertilizer

   bomb sourced from Fatima Group CAN Fertilizer, which the Haqqani Network purchased from

   Fatima or Pakarab and then transported to al-Qaeda bombmakers operating out of joint al-

   Qaeda/Haqqani Network bomb factories in Pakistan, who converted such fertilizer into an al-

   Qaeda CAN fertilizer bomb derived from al-Qaeda schematics, which the Haqqani Network then

   distributed to the cell that helped commit the attack.

             1455. SPC Clark’s murder would have violated the laws of war if these terrorist groups

   were subject to them because, among other reasons, the terrorist(s) who committed the attack

   neither wore uniforms nor otherwise identified themselves as enemy combatants, and the passive

   detonation system indiscriminately placed civilians at risk.

             1456. SPC Clark was a national of the United States at the time of the attack and his

   death.

             1457. As a result of the September 18, 2011 attack, SPC Clark was injured in his person

   and/or property. The Plaintiff members of the Clark Family are the survivors and/or heirs of

   SPC Clark and are entitled to recover for the damages SPC Clark sustained.




                                                    456
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 472 of 606 PageID #: 472




           The Jonathan Cleary Family

           1458. Plaintiff Corporal Jonathan Cleary served in Afghanistan as a member of the U.S.

   Army. On May 6, 2012, CPL Cleary was injured in an IED attack in Paktia Province,

   Afghanistan. The attack severely wounded CPL Cleary, who suffers from an amputation of his

   right leg below the knee. As a result of the May 6, 2012 attack and his injuries, CPL Cleary has

   experienced severe physical and emotional pain and suffering.

           1459. The attack was committed by the Haqqani Network (a part of the Taliban), al-

   Qaeda (a designated FTO at the time of the attack), and Lashkar-e-Taiba (a designated FTO at

   the time of the attack) acting together in a joint cell.

           1460. On information and belief, the explosive used in the attack was a CAN fertilizer

   bomb sourced from Fatima Group CAN Fertilizer, which the Haqqani Network purchased from

   Fatima or Pakarab and then transported to al-Qaeda bombmakers operating out of joint al-

   Qaeda/Haqqani Network bomb factories in Pakistan, who converted such fertilizer into an al-

   Qaeda CAN fertilizer bomb derived from al-Qaeda schematics, which the Haqqani Network then

   distributed to the cell that helped commit the attack.

           1461. The attack that injured CPL Cleary would have violated the laws of war if these

   terrorist groups were subject to them because, among other reasons, the terrorist(s) who

   committed the attack neither wore uniforms nor otherwise identified themselves as enemy

   combatants, and the passive detonation system indiscriminately placed civilians at risk.

           1462. CPL Cleary was a national of the United States at the time of the attack, and

   remains one to this day.

           1463. As a result of the May 6, 2012 attack and CPL Cleary’s injuries, each member of

   the Cleary Family has experienced severe mental anguish, emotional pain and suffering.




                                                     457
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 473 of 606 PageID #: 473




            The Timothy Conrad Jr. Family

            1464. Sergeant Timothy Conrad Jr. served in Afghanistan as a member of the U.S.

   Army. On February 23, 2012, SGT Conrad was injured in an insider attack in Nangarhar

   Province, Afghanistan. SGT Conrad died on February 23, 2012 as a result of injuries sustained

   during the attack.

            1465. The attack was committed by the the Taliban, al-Qaeda (a designated FTO at the

   time of the attack), and Lashkar-e-Taiba (a designated FTO at the time of the attack) acting

   together in a joint cell.

            1466. SGT Conrad’s murder would have violated the laws of war if these terrorist

   groups were subject to them because, among other reasons, the terrorist(s) who committed the

   attack was unlawfully wearing the uniform of his enemy.

            1467. SGT Conrad was a national of the United States at the time of the attack and his

   death.

            1468. As a result of the February 23, 2012 attack, SGT Conrad was injured in his person

   and/or property. The Plaintiff members of the Conrad Family are the survivors and/or heirs of

   SGT Conrad and are entitled to recover for the damages SGT Conrad sustained.

            The Ross Cox Family

            1469. Plaintiff Staff Sergeant Ross Cox served in Afghanistan as a member of the U.S.

   Army. On November 15, 2011, SSG Cox was injured in an IED attack in Kandahar Province,

   Afghanistan. The attack severely wounded SSG Cox, who suffers from loss of his left leg and

   suffered a serious right leg injury, left arm nerve damage, and hearing loss. As a result of the

   November 15, 2011 attack and his injuries, SSG Cox has experienced severe physical and

   emotional pain and suffering.




                                                   458
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 474 of 606 PageID #: 474




             1470. The attack was committed by the Taliban.

             1471. On information and belief, the explosive used in the attack was a CAN fertilizer

   bomb sourced from Fatima Group CAN Fertilizer, which the Haqqani Network purchased from

   Fatima or Pakarab and then transported to al-Qaeda bombmakers operating out of joint al-

   Qaeda/Haqqani Network bomb factories in Pakistan, who converted such fertilizer into an al-

   Qaeda CAN fertilizer bomb derived from al-Qaeda schematics, which the Haqqani Network then

   distributed to the cell that helped commit the attack.

             1472. The attack that injured SSG Cox would have violated the laws of war if these

   terrorist groups were subject to them because, among other reasons, the terrorist(s) who

   committed the attack neither wore uniforms nor otherwise identified themselves as enemy

   combatants, and the passive detonation system indiscriminately placed civilians at risk.

             1473. SSG Cox was a national of the United States at the time of the attack, and remains

   one to this day.

             1474. As a result of the November 15, 2011 attack and SSG Cox’s injuries, each

   member of the Cox Family has experienced severe mental anguish, emotional pain and suffering.

             The Mitchell Daehling Family

             1475. Specialist Mitchell Daehling served in Afghanistan as a member of the U.S.

   Army. On May 14, 2013, SPC Daehling was injured in an IED attack in Kandahar Province,

   Afghanistan. SPC Daehling died on May 14, 2013 as a result of injuries sustained during the

   attack.

             1476. The attack was committed by the Taliban.

             1477. On information and belief, the explosive used in the attack was a CAN fertilizer

   bomb sourced from Fatima Group CAN Fertilizer, which the Haqqani Network purchased from




                                                   459
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 475 of 606 PageID #: 475




   Fatima or Pakarab and then transported to al-Qaeda bombmakers operating out of joint al-

   Qaeda/Haqqani Network bomb factories in Pakistan, who converted such fertilizer into an al-

   Qaeda CAN fertilizer bomb derived from al-Qaeda schematics, which the Haqqani Network then

   distributed to the cell that helped commit the attack.

            1478. SPC Daehling’s murder would have violated the laws of war if these terrorist

   groups were subject to them because, among other reasons, the terrorist(s) who committed the

   attack neither wore uniforms nor otherwise identified themselves as enemy combatants, and the

   passive detonation system indiscriminately placed civilians at risk.

            1479. SPC Daehling was a national of the United States at the time of the attack and his

   death.

            1480. As a result of the May 14, 2013 attack, SPC Daehling was injured in his person

   and/or property. The Plaintiff members of the Daehling Family are the survivors and/or heirs of

   SPC Daehling and are entitled to recover for the damages SPC Daehling sustained.

            The Devin Daniels Family

            1481. Sergeant Devin Daniels served in Afghanistan as a member of the U.S. Army. On

   August 25, 2011, SGT Daniels was injured in an IED attack in Helmand Province, Afghanistan.

   SGT Daniels died on August 25, 2011 as a result of injuries sustained during the attack.

            1482. The attack was committed by the Taliban.

            1483. On information and belief, the explosive used in the attack was a CAN fertilizer

   bomb sourced from Fatima Group CAN Fertilizer, which the Haqqani Network purchased from

   Fatima or Pakarab and then transported to al-Qaeda bombmakers operating out of joint al-

   Qaeda/Haqqani Network bomb factories in Pakistan, who converted such fertilizer into an al-




                                                   460
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 476 of 606 PageID #: 476




   Qaeda CAN fertilizer bomb derived from al-Qaeda schematics, which the Haqqani Network then

   distributed to the cell that helped commit the attack.

             1484. SGT Daniels’s murder would have violated the laws of war if these terrorist

   groups were subject to them because, among other reasons, the terrorist(s) who planted the IED

   neither wore uniforms nor otherwise identified themselves as enemy combatants, and the passive

   detonation system indiscriminately placed civilians at risk.

             1485. SGT Daniels was a national of the United States at the time of the attack and his

   death.

             1486. As a result of the August 25, 2011 attack, SGT Daniels was injured in his person

   and/or property. The Plaintiff members of the Daniels Family are the survivors and/or heirs of

   SGT Daniels and are entitled to recover for the damages SGT Daniels sustained.

             The James Darrough Family

             1487. Sergeant James Darrough served in Afghanistan as a member of the U.S. Army.

   On October 29, 2011, SGT Darrough was injured in a suicide bombing attack in Kabul Province,

   Afghanistan. SGT Darrough died on October 29, 2011 as a result of injuries sustained during the

   attack.

             1488. The attack was committed by the Taliban (including the Haqqani Network), al-

   Qaeda (a designated FTO at the time of the attack), and Lashkar-e-Taiba (a designated FTO at

   the time of the attack) acting together as a joint cell in the Kabul Attack Network.

             1489. On information and belief, the explosive used in the attack was a CAN fertilizer

   bomb sourced from Fatima Group CAN Fertilizer, which the Haqqani Network purchased from

   Fatima or Pakarab and then transported to al-Qaeda bombmakers operating out of joint al-

   Qaeda/Haqqani Network bomb factories in Pakistan, who converted such fertilizer into an al-




                                                    461
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 477 of 606 PageID #: 477




   Qaeda CAN fertilizer bomb derived from al-Qaeda schematics, which the Haqqani Network then

   distributed to the cell that helped commit the attack.

            1490. SGT Darrough’s murder would have violated the laws of war if these terrorist

   groups were subject to them because, among other reasons, the terrorist(s) who committed the

   attack neither wore uniforms nor otherwise identified themselves as enemy combatants, and the

   attack indiscriminately placed civilians at risk, killing multiple Afghan civilians, because it

   occurred on a busy road near a university.

            1491. SGT Darrough was a national of the United States at the time of the attack and his

   death.

            1492. As a result of the October 29, 2011 attack, SGT Darrough was injured in his

   person and/or property. The Plaintiff members of the Darrough Family are the survivors and/or

   heirs of SGT Darrough and are entitled to recover for the damages SGT Darrough sustained.

            The Joseph D'Augustine Family

            1493. Staff Sergeant Joseph D'Augustine served in Afghanistan as a member of the U.S.

   Marine Corps. On March 27, 2012, SSgt D'Augustine was injured in an IED attack in Helmand

   Province, Afghanistan. SSgt D'Augustine died on March 27, 2012 as a result of injuries

   sustained during the attack.

            1494. The attack was committed by the Taliban.

            1495. On information and belief, the explosive used in the attack was a CAN fertilizer

   bomb sourced from Fatima Group CAN Fertilizer, which the Haqqani Network purchased from

   Fatima or Pakarab and then transported to al-Qaeda bombmakers operating out of joint al-

   Qaeda/Haqqani Network bomb factories in Pakistan, who converted such fertilizer into an al-




                                                   462
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 478 of 606 PageID #: 478




   Qaeda CAN fertilizer bomb derived from al-Qaeda schematics, which the Haqqani Network then

   distributed to the cell that helped commit the attack.

          1496. SSgt D’Augustine’s murder would have violated the laws of war if these terrorist

   groups were subject to them because, among other reasons, the terrorist(s) who planted the IED

   neither wore uniforms nor otherwise identified themselves as enemy combatants, and the passive

   detonation system indiscriminately placed civilians at risk.

          1497. SSgt D'Augustine was a national of the United States at the time of the attack and

   his death.

          1498. As a result of the March 27, 2012 attack, SSgt D'Augustine was injured in his

   person and/or property. The Plaintiff members of the D'Augustine Family are the survivors

   and/or heirs of SSgt D'Augustine and are entitled to recover for the damages SSgt D'Augustine

   sustained.

          The Jonathan Davis Family

          1499. Staff Sergeant Jonathan Davis served in Afghanistan as a member of the U.S.

   Marine Corps. On February 22, 2013, SSgt Davis was injured in an IED attack in Helmand

   Province, Afghanistan. SSgt Davis died on February 22, 2013 as a result of injuries sustained

   during the attack.

          1500. The attack was committed by the Taliban.

          1501. On information and belief, the explosive used in the attack was a CAN fertilizer

   bomb sourced from Fatima Group CAN Fertilizer, which the Haqqani Network purchased from

   Fatima or Pakarab and then transported to al-Qaeda bombmakers operating out of joint al-

   Qaeda/Haqqani Network bomb factories in Pakistan, who converted such fertilizer into an al-




                                                   463
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 479 of 606 PageID #: 479




   Qaeda CAN fertilizer bomb derived from al-Qaeda schematics, which the Haqqani Network then

   distributed to the cell that helped commit the attack.

            1502. SSgt Davis’s murder would have violated the laws of war if these terrorist groups

   were subject to them because, among other reasons, the terrorist(s) who planted the IED neither

   wore uniforms nor otherwise identified themselves as enemy combatants, and the passive

   detonation system indiscriminately placed civilians at risk.

            1503. SSgt Davis was a national of the United States at the time of the attack and his

   death.

            1504. As a result of the February 22, 2013 attack, SSgt Davis was injured in his person

   and/or property. The Plaintiff members of the Davis Family are the survivors and/or heirs of

   SSgt Davis and are entitled to recover for the damages SSgt Davis sustained.

            The Joseph Deslauriers Family

            1505. Plaintiff Master Sergeant Joseph Deslauriers served in Afghanistan as a member

   of the U.S. Air Force. On September 23, 2011, MSgt Deslauriers was injured in an IED attack in

   Helmand Province, Afghanistan. The attack severely wounded MSgt Deslauriers, who suffers

   from the loss of both his legs above the knee and his left arm below the elbow. As a result of the

   September 23, 2011 attack and his injuries, MSgt Deslauriers has experienced severe physical

   and emotional pain and suffering.

            1506. The attack was committed by the Taliban.

            1507. On information and belief, the explosive used in the attack was a CAN fertilizer

   bomb sourced from Fatima Group CAN Fertilizer, which the Haqqani Network purchased from

   Fatima or Pakarab and then transported to al-Qaeda bombmakers operating out of joint al-

   Qaeda/Haqqani Network bomb factories in Pakistan, who converted such fertilizer into an al-




                                                   464
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 480 of 606 PageID #: 480




   Qaeda CAN fertilizer bomb derived from al-Qaeda schematics, which the Haqqani Network then

   distributed to the cell that helped commit the attack.

          1508. The attack that injured MSgt Deslauriers would have violated the laws of war if

   these terrorist groups were subject to them because, among other reasons, the terrorist(s) who

   planted the IED neither wore uniforms nor otherwise identified themselves as enemy combatants

   and the passive detonation system indiscriminately placed civilians at risk.

          1509. MSgt Deslauriers was a national of the United States at the time of the attack, and

   remains one to this day.

          1510. As a result of the September 23, 2011 attack and MSgt Deslauriers’s injuries,

   each member of the Deslauriers Family has experienced severe mental anguish, emotional pain

   and suffering.

          The Alberto Diaz Family

          1511. Specialist Alberto Diaz served in Afghanistan as a member of the U.S. Army. On

   August 12, 2014, SPC Diaz was injured in an IED attack in Kandahar Province, Afghanistan.

   The attack severely wounded SPC Diaz, who suffered severe brain injuries and facial damage

   requiring complete right-side facial reconstruction, and also suffers from post‑traumatic stress

   disorder, chronic fatigue syndrome, chronic pain, social anxiety, panic attacks, hearing loss and

   tremors. As a result of the August 12, 2014 attack and his injuries, SPC Diaz has experienced

   severe physical and emotional pain and suffering.

          1512. The attack was committed by the Taliban.

          1513. On information and belief, the explosive used in the attack was a CAN fertilizer

   bomb sourced from Fatima Group CAN Fertilizer, which the Haqqani Network purchased from

   Fatima or Pakarab and then transported to al-Qaeda bombmakers operating out of joint al-




                                                   465
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 481 of 606 PageID #: 481




   Qaeda/Haqqani Network bomb factories in Pakistan, who converted such fertilizer into an al-

   Qaeda CAN fertilizer bomb derived from al-Qaeda schematics, which the Haqqani Network then

   distributed to the cell that helped commit the attack.

          1514. The attack that injured SPC Diaz would have violated the laws of war if these

   terrorist groups were subject to them because, among other reasons, the terrorist(s) who

   committed the attack neither wore uniforms nor otherwise identified themselves as enemy

   combatants and the passive detonation system indiscriminately placed civilians at risk.

          1515. SPC Diaz was a national of the United States at the time of the attack, and

   remains one to this day.

          1516. As a result of the August 12, 2014 attack and SPC Diaz’s injuries, each member

   of the Diaz Family has experienced severe mental anguish, emotional pain and suffering.

          The Corey Dodge Family

          1517. Mr. Corey Dodge served in Afghanistan as a civilian government contractor

   working for DynCorp Free Zone. On August 22, 2015, Mr. Dodge was injured in a suicide

   bombing attack in Kabul Province, Afghanistan. Mr. Dodge died on August 22, 2015 as a result

   of injuries sustained during the attack.

          1518. The attack was committed by the Taliban (including the Haqqani Network, a

   designated FTO at the time of the attack), al-Qaeda (a designated FTO at the time of the attack),

   and Lashkar-e-Taiba (a designated FTO at the time of the attack) acting together as a joint cell in

   the Kabul Attack Network.

          1519. On information and belief, the explosive used in the attack was a CAN fertilizer

   bomb sourced from Fatima Group CAN Fertilizer, which the Haqqani Network purchased from

   Fatima or Pakarab and then transported to al-Qaeda bombmakers operating out of joint al-




                                                   466
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 482 of 606 PageID #: 482




   Qaeda/Haqqani Network bomb factories in Pakistan, who converted such fertilizer into an al-

   Qaeda CAN fertilizer bomb derived from al-Qaeda schematics, which the Haqqani Network then

   distributed to the cell that helped commit the attack.

            1520. Mr. Dodge’s murder would have violated the laws of war if these terrorist groups

   were subject to them because, among other reasons, he was a civilian not taking part in

   hostilities, the terrorist(s) who committed the attack neither wore uniforms nor otherwise

   identified themselves as enemy combatants, and the attack indiscriminately placed civilians at

   risk, killing multiple Afghan civilians, because it occurred on a public road in front of a private

   hospital.

            1521. Mr. Dodge was a national of the United States at the time of the attack and his

   death.

            1522. As a result of the August 22, 2015 attack, Mr. Dodge was injured in his person

   and/or property. The Plaintiff members of the Dodge Family are the survivors and/or heirs of

   Mr. Dodge and are entitled to recover for the damages Mr. Dodge sustained.

            The John Douangdara Family

            1523. Petty Officer 1st Class John Douangdara served in Afghanistan as a member of

   the U.S. Navy. On August 6, 2011, PO1 Douangdara was injured in an attack on a helicopter in

   Wardak Province, Afghanistan. PO1 Douangdara died on August 6, 2011 as a result of injuries

   sustained during the attack.

            1524. The attack was committed by the Haqqani Network (a part of the Taliban) and al-

   Qaeda (a designated FTO at the time of the attack) acting together in a joint al-Qaeda-Taliban

   cell.




                                                   467
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 483 of 606 PageID #: 483




          1525. PO1 Douangdara’s murder would have violated the laws of war if these terrorist

   groups were subject to them because, among other reasons, the terrorist(s) who committed the

   attack neither wore uniforms nor otherwise identified themselves as enemy combatants.

          1526. PO1 Douangdara was a national of the United States at the time of the attack and

   his death.

          1527. As a result of the August 6, 2011 attack, PO1 Douangdara was injured in his

   person and/or property. The Plaintiff members of the Douangdara Family are the survivors

   and/or heirs of PO1 Douangdara and are entitled to recover for the damages PO1 Douangdara

   sustained.

          Robert Dove

          1528. Plaintiff Staff Sergeant Robert Dove served in Afghanistan as a member of the

   U.S. Army. On June 9, 2012, SSG Dove was injured in an IED attack in Kandahar Province,

   Afghanistan. The attack severely wounded SSG Dove, who lost his right arm below the elbow

   and right leg above knee, and suffered a traumatic brain injury, crushed pelvis, numerous soft

   tissue and shrapnel injuries, hearing loss, and multiple fractures of the left hand requiring 38

   surgeries. As a result of the June 9, 2012 attack and his injuries, SSG Dove has experienced

   severe physical and emotional pain and suffering.

          1529. The attack was committed by the Taliban.

          1530. On information and belief, the explosive used in the attack was a CAN fertilizer

   bomb sourced from Fatima Group CAN Fertilizer, which the Haqqani Network purchased from

   Fatima or Pakarab and then transported to al-Qaeda bombmakers operating out of joint al-

   Qaeda/Haqqani Network bomb factories in Pakistan, who converted such fertilizer into an al-




                                                   468
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 484 of 606 PageID #: 484




   Qaeda CAN fertilizer bomb derived from al-Qaeda schematics, which the Haqqani Network then

   distributed to the cell that helped commit the attack.

          1531. The attack that injured SSG Dove would have violated the laws of war if these

   terrorist groups were subject to them because, among other reasons, the terrorist(s) who

   committed the attack neither wore uniforms nor otherwise identified themselves as enemy

   combatants and the passive detonation system indiscriminately placed civilians at risk.

          1532. SSG Dove was a national of the United States at the time of the attack, and

   remains one to this day.

          The Curtis Duarte Family

          1533. Lance Corporal Curtis Duarte served in Afghanistan as a member of the U.S.

   Marine Corps. On August 1, 2012, LCpl Duarte was injured in an IED attack in Helmand

   Province, Afghanistan. LCpl Duarte died on August 1, 2012 as a result of injuries sustained

   during the attack.

          1534. The attack was committed by the Taliban.

          1535. On information and belief, the explosive used in the attack was a CAN fertilizer

   bomb sourced from Fatima Group CAN Fertilizer, which the Haqqani Network purchased from

   Fatima or Pakarab and then transported to al-Qaeda bombmakers operating out of joint al-

   Qaeda/Haqqani Network bomb factories in Pakistan, who converted such fertilizer into an al-

   Qaeda CAN fertilizer bomb derived from al-Qaeda schematics, which the Haqqani Network then

   distributed to the cell that helped commit the attack.

          1536. LCpl Duarte’s murder would have violated the laws of war if these terrorist

   groups were subject to them because, among other reasons, the terrorist(s) who committed the




                                                   469
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 485 of 606 PageID #: 485




   attack neither wore uniforms nor otherwise identified themselves as enemy combatants and the

   passive detonation system indiscriminately placed civilians at risk.

            1537. LCpl Duarte was a national of the United States at the time of the attack and his

   death.

            1538. As a result of the August 1, 2012 attack, LCpl Duarte was injured in his person

   and/or property. The Plaintiff members of the Duarte Family are the survivors and/or heirs of

   LCpl Duarte and are entitled to recover for the damages LCpl Duarte sustained.

            The Stephen Dunning Family

            1539. Staff Sergeant Stephen Dunning served in Afghanistan as a member of the U.S.

   Marine Corps. On October 27, 2011, SSgt Dunning was injured in an IED attack in Helmand

   Province, Afghanistan. SSgt Dunning died on October 27, 2011 as a result of injuries sustained

   during the attack.

            1540. The attack was committed by the Taliban.

            1541. On information and belief, the explosive used in the attack was a CAN fertilizer

   bomb sourced from Fatima Group CAN Fertilizer, which the Haqqani Network purchased from

   Fatima or Pakarab and then transported to al-Qaeda bombmakers operating out of joint al-

   Qaeda/Haqqani Network bomb factories in Pakistan, who converted such fertilizer into an al-

   Qaeda CAN fertilizer bomb derived from al-Qaeda schematics, which the Haqqani Network then

   distributed to the cell that helped commit the attack.

            1542. SSgt Dunning’s murder would have violated the laws of war if these terrorist

   groups were subject to them because, among other reasons, the terrorist(s) who committed the

   attack neither wore uniforms nor otherwise identified themselves as enemy combatants, and the

   passive detonation system indiscriminately placed civilians at risk.




                                                   470
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 486 of 606 PageID #: 486




            1543. SSgt Dunning was a national of the United States at the time of the attack and his

   death.

            1544. As a result of the October 27, 2011 attack, SSgt Dunning was injured in his

   person and/or property. The Plaintiff members of the Dunning Family are the survivors and/or

   heirs of SSgt Dunning and are entitled to recover for the damages SSgt Dunning sustained.

            Carey DuVal

            1545. Plaintiff Captain Carey DuVal served in Afghanistan as a member of the U.S.

   Army. On August 24, 2014, CPT DuVal was injured in a suicide bombing IED attack in

   Nangarhar Province, Afghanistan. The attack severely wounded CPT DuVal, who suffered an

   amputation of his right hand, a broken right ulna, elbow, and humerus, a broken right femur, and

   loss of 20 percent of his right quadricep. As a result of the August 24, 2014 attack and his

   injuries, CPT DuVal has experienced severe physical and emotional pain and suffering.

            1546. The attack was committed by the the Taliban, al-Qaeda (a designated FTO at the

   time of the attack), and Lashkar-e-Taiba (a designated FTO at the time of the attack) acting

   together in a joint cell.

            1547. On information and belief, the explosive used in the attack was a CAN fertilizer

   bomb sourced from Fatima Group CAN Fertilizer, which the Haqqani Network purchased from

   Fatima or Pakarab and then transported to al-Qaeda bombmakers operating out of joint al-

   Qaeda/Haqqani Network bomb factories in Pakistan, who converted such fertilizer into an al-

   Qaeda CAN fertilizer bomb derived from al-Qaeda schematics, which the Haqqani Network then

   distributed to the cell that helped commit the attack.

            1548. The attack that injured CPT DuVal would have violated the laws of war if these

   terrorist groups were subject to them because, among other reasons, the terrorist(s) who




                                                   471
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 487 of 606 PageID #: 487




   committed the attack neither wore uniforms nor otherwise identified themselves as enemy

   combatants and the detonation of a vehicle indiscriminately placed civilians at risk.

          1549. CPT DuVal was a national of the United States at the time of the attack, and

   remains one to this day.

          The Erich Ellis Family

          1550. Plaintiff Sergeant Erich Ellis served in Afghanistan as a member of the U.S.

   Marine Corps. On June 12, 2012, Sgt Ellis was injured in an IED attack in Helmand Province,

   Afghanistan. The attack severely wounded Sgt Ellis, who lost his right leg and suffered

   extensive, permanent damage to his left leg, right arm, and upper right leg as well as a traumatic

   brain injury. As a result of the June 12, 2012 attack and his injuries, Sgt Ellis has experienced

   severe physical and emotional pain and suffering.

          1551. The attack was committed by the Taliban.

          1552. On information and belief, the explosive used in the attack was a CAN fertilizer

   bomb sourced from Fatima Group CAN Fertilizer, which the Haqqani Network purchased from

   Fatima or Pakarab and then transported to al-Qaeda bombmakers operating out of joint al-

   Qaeda/Haqqani Network bomb factories in Pakistan, who converted such fertilizer into an al-

   Qaeda CAN fertilizer bomb derived from al-Qaeda schematics, which the Haqqani Network then

   distributed to the cell that helped commit the attack.

          1553. The attack that injured Sgt Ellis would have violated the laws of war if these

   terrorist groups were subject to them because, among other reasons, the terrorist(s) who

   committed the attack neither wore uniforms nor otherwise identified themselves as enemy

   combatants and the passive detonation system indiscriminately placed civilians at risk.




                                                   472
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 488 of 606 PageID #: 488




            1554. Sgt Ellis was a national of the United States at the time of the attack, and remains

   one to this day.

            1555. As a result of the June 12, 2012 attack and Sgt Ellis’s injuries, each member of

   the Ellis Family has experienced severe mental anguish, emotional pain and suffering.

            The Robert Ellis Family

            1556. Specialist Robert Ellis served in Afghanistan as a member of the U.S. Army. On

   June 18, 2013, SPC Ellis was injured in a rocket attack in Parwan Province, Afghanistan. SPC

   Ellis died on June 18, 2013 as a result of injuries sustained during the attack.

            1557. The attack was committed by the Taliban.

            1558. SPC Ellis’s murder would have violated the laws of war if these terrorist groups

   were subject to them because, among other reasons, the terrorist(s) who committed the attack

   neither wore uniforms nor otherwise identified themselves as enemy combatants.

            1559. SPC Ellis was a national of the United States at the time of the attack and his

   death.

            1560. As a result of the June 18, 2013 attack, SPC Ellis was injured in his person and/or

   property. The Plaintiff members of the Ellis Family are the survivors and/or heirs of SPC Ellis

   and are entitled to recover for the damages SPC Ellis sustained.

            The Vincent Ellis Family

            1561. Private First Class Vincent Ellis served in Afghanistan as a member of the U.S.

   Army. On June 1, 2012, PFC Ellis was injured in a complex attack involving a suicide truck

   bomb, small arms fire, and rocket propelled and fragmentation grenades in Khost Province,

   Afghanistan. PFC Ellis died on June 4, 2012 as a result of injuries sustained during the attack.




                                                   473
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 489 of 606 PageID #: 489




            1562. The attack was committed by the Haqqani Network (a part of the Taliban), al-

   Qaeda (a designated FTO at the time of the attack), and Lashkar-e-Taiba (a designated FTO at

   the time of the attack) acting together in a joint cell.

            1563. On information and belief, the explosive used in the attack was a CAN fertilizer

   bomb sourced from Fatima Group CAN Fertilizer, which the Haqqani Network purchased from

   Fatima or Pakarab and then transported to al-Qaeda bombmakers operating out of joint al-

   Qaeda/Haqqani Network bomb factories in Pakistan, who converted such fertilizer into an al-

   Qaeda CAN fertilizer bomb derived from al-Qaeda schematics, which the Haqqani Network then

   distributed to the cell that helped commit the attack.

            1564. PFC Ellis’s murder would have violated the laws of war if these terrorist groups

   were subject to them because, among other reasons, the terrorist(s) who committed the attack

   neither wore uniforms nor otherwise identified themselves as enemy combatants.

            1565. PFC Ellis was a national of the United States at the time of the attack and his

   death.

            1566. As a result of the June 1, 2012 attack, PFC Ellis was injured in his person and/or

   property. The Plaintiff members of the Ellis Family are the survivors and/or heirs of PFC Ellis

   and are entitled to recover for the damages PFC Ellis sustained.

            The Michael Elm Family

            1567. Specialist Michael Elm served in Afghanistan as a member of the U.S. Army. On

   October 14, 2011, SPC Elm was injured in an IED attack in Khost Province, Afghanistan. SPC

   Elm died on October 14, 2011 as a result of injuries sustained during the attack.




                                                     474
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 490 of 606 PageID #: 490




             1568. The attack was committed by the Haqqani Network (a part of the Taliban), al-

   Qaeda (a designated FTO at the time of the attack), and Lashkar-e-Taiba (a designated FTO at

   the time of the attack) acting together in a joint cell.

             1569. On information and belief, the explosive used in the attack was a CAN fertilizer

   bomb sourced from Fatima Group CAN Fertilizer, which the Haqqani Network purchased from

   Fatima or Pakarab and then transported to al-Qaeda bombmakers operating out of joint al-

   Qaeda/Haqqani Network bomb factories in Pakistan, who converted such fertilizer into an al-

   Qaeda CAN fertilizer bomb derived from al-Qaeda schematics, which the Haqqani Network then

   distributed to the cell that helped commit the attack.

             1570. SPC Elm’s murder would have violated the laws of war if these terrorist groups

   were subject to them because, among other reasons, the terrorist(s) who committed the attack

   neither wore uniforms nor otherwise identified themselves as enemy combatants, and the passive

   detonation system indiscriminately placed civilians at risk.

             1571. SPC Elm was a national of the United States at the time of the attack and his

   death.

             1572. As a result of the October 14, 2011 attack, SPC Elm was injured in his person

   and/or property. The Plaintiff members of the Elm Family are the survivors and/or heirs of SPC

   Elm and are entitled to recover for the damages SPC Elm sustained.

             The Richard Essex Family

             1573. Sergeant Richard Essex served in Afghanistan as a member of the U.S. Army. On

   August 16, 2012, SGT Essex was injured in an attack on a helicopter in Kandahar Province,

   Afghanistan. SGT Essex died on August 16, 2012 as a result of injuries sustained during the

   attack.




                                                     475
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 491 of 606 PageID #: 491




            1574. The attack was committed by the Taliban.

            1575. SGT Essex’s murder would have violated the laws of war if these terrorist groups

   were subject to them because, among other reasons, the terrorist(s) who committed the attack

   neither wore uniforms nor otherwise identified themselves as enemy combatants.

            1576. SGT Essex was a national of the United States at the time of the attack and his

   death.

            1577. As a result of the August 16, 2012 attack, SGT Essex was injured in his person

   and/or property. The Plaintiff members of the Essex Family are the survivors and/or heirs of

   SGT Essex and are entitled to recover for the damages SGT Essex sustained.

            The Garrett Fant Family

            1578. Specialist Garrett Fant served in Afghanistan as a member of the U.S. Army. On

   September 26, 2011, SPC Fant was injured in an IED attack in Helmand Province, Afghanistan.

   SPC Fant died on September 26, 2011 as a result of injuries sustained during the attack.

            1579. The attack was committed by the Taliban.

            1580. On information and belief, the explosive used in the attack was a CAN fertilizer

   bomb sourced from Fatima Group CAN Fertilizer, which the Haqqani Network purchased from

   Fatima or Pakarab and then transported to al-Qaeda bombmakers operating out of joint al-

   Qaeda/Haqqani Network bomb factories in Pakistan, who converted such fertilizer into an al-

   Qaeda CAN fertilizer bomb derived from al-Qaeda schematics, which the Haqqani Network then

   distributed to the cell that helped commit the attack.

            1581. SPC Fant’s murder would have violated the laws of war if these terrorist groups

   were subject to them because, among other reasons, the terrorist(s) who committed the attack




                                                   476
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 492 of 606 PageID #: 492




   neither wore uniforms nor otherwise identified themselves as enemy combatants, and the passive

   detonation system indiscriminately placed civilians at risk.

             1582. SPC Fant was a national of the United States at the time of the attack and his

   death.

             1583. As a result of the September 26, 2011 attack, SPC Fant was injured in his person

   and/or property. The Plaintiff members of the Fant Family are the survivors and/or heirs of SPC

   Fant and are entitled to recover for the damages SPC Fant sustained.

             The Thomas Fogarty Family

             1584. Staff Sergeant Thomas Fogarty served in Afghanistan as a member of the U.S.

   Army. On May 6, 2012, SSG Fogarty was injured in an IED attack in Paktia Province,

   Afghanistan. SSG Fogarty died on May 6, 2012 as a result of injuries sustained during the

   attack.

             1585. The attack was committed by the Haqqani Network (a part of the Taliban), al-

   Qaeda (a designated FTO at the time of the attack), and Lashkar-e-Taiba (a designated FTO at

   the time of the attack) acting together in a joint cell.

             1586. On information and belief, the explosive used in the attack was a CAN fertilizer

   bomb sourced from Fatima Group CAN Fertilizer, which the Haqqani Network purchased from

   Fatima or Pakarab and then transported to al-Qaeda bombmakers operating out of joint al-

   Qaeda/Haqqani Network bomb factories in Pakistan, who converted such fertilizer into an al-

   Qaeda CAN fertilizer bomb derived from al-Qaeda schematics, which the Haqqani Network then

   distributed to the cell that helped commit the attack.

             1587. SSG Fogarty’s murder would have violated the laws of war if these terrorist

   groups were subject to them because, among other reasons, the terrorist(s) who committed the




                                                     477
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 493 of 606 PageID #: 493




   attack neither wore uniforms nor otherwise identified themselves as enemy combatants, and the

   passive detonation system indiscriminately placed civilians at risk.

            1588. SSG Fogarty was a national of the United States at the time of the attack and his

   death.

            1589. As a result of the May 6, 2012 attack, SSG Fogarty was injured in his person

   and/or property. The Plaintiff members of the Fogarty Family are the survivors and/or heirs of

   SSG Fogarty and are entitled to recover for the damages SSG Fogarty sustained.

            The Michael Fox Family

            1590. Plaintiff Corporal Michael Fox served in Afghanistan as a member of the U.S.

   Marine Corps. On November 15, 2011, Cpl Fox was injured in an IED attack in Helmand

   Province, Afghanistan. The attack severely wounded Cpl Fox, who suffered an amputation

   below the left knee, an amputation of the right leg through the knee, left arm, wrist, and hand

   fractures, and a perforated eardrum. As a result of the November 15, 2011 attack and his

   injuries, Cpl Fox has experienced severe physical and emotional pain and suffering.

            1591. On information and belief, the explosive used in the attack was a CAN fertilizer

   bomb sourced from Fatima Group CAN Fertilizer, which the Haqqani Network purchased from

   Fatima or Pakarab and then transported to al-Qaeda bombmakers operating out of joint al-

   Qaeda/Haqqani Network bomb factories in Pakistan, who converted such fertilizer into an al-

   Qaeda CAN fertilizer bomb derived from al-Qaeda schematics, which the Haqqani Network then

   distributed to the cell that helped commit the attack.

            1592. The attack was committed by the Taliban.

            1593. The attack that injured Cpl Fox would have violated the laws of war if these

   terrorist groups were subject to them because, among other reasons, the terrorist(s) who




                                                   478
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 494 of 606 PageID #: 494




   committed the attack neither wore uniforms nor otherwise identified themselves as enemy

   combatants, and the passive detonation system indiscriminately placed civilians at risk.

          1594. Cpl Fox was a national of the United States at the time of the attack, and remains

   one to this day.

          1595. As a result of the November 15, 2011 attack and Cpl Fox’s injuries, each member

   of the Fox Family has experienced severe mental anguish, emotional pain and suffering.

          The Jason Gibson Family

          1596. Plaintiff Staff Sergeant Jason Gibson served in Afghanistan as a member of the

   U.S. Army. On May 30, 2012, SSG Gibson was injured in an IED attack in Kandahar Province,

   Afghanistan. The attack severely wounded SSG Gibson, who suffered an amputation of the right

   index finger, a skin graft on the right forearm, and a bilateral hip disarticulation (amputated at

   hip on both sides lacking femurs). As a result of the May 30, 2012 attack and his injuries, SSG

   Gibson has experienced severe physical and emotional pain and suffering.

          1597. The attack was committed by the Taliban.

          1598. On information and belief, the explosive used in the attack was a CAN fertilizer

   bomb sourced from Fatima Group CAN Fertilizer, which the Haqqani Network purchased from

   Fatima or Pakarab and then transported to al-Qaeda bombmakers operating out of joint al-

   Qaeda/Haqqani Network bomb factories in Pakistan, who converted such fertilizer into an al-

   Qaeda CAN fertilizer bomb derived from al-Qaeda schematics, which the Haqqani Network then

   distributed to the cell that helped commit the attack.

          1599. The attack that injured SSG Gibson would have violated the laws of war if these

   terrorist groups were subject to them because, among other reasons, the terrorist(s) who




                                                   479
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 495 of 606 PageID #: 495




   committed the attack neither wore uniforms nor otherwise identified themselves as enemy

   combatants, and the passive detonation system indiscriminately placed civilians at risk.

            1600. SSG Gibson was a national of the United States at the time of the attack, and

   remains one to this day.

            1601. As a result of the May 30, 2012 attack and SSG Gibson’s injuries, each member

   of the Gibson Family has experienced severe mental anguish, emotional pain and suffering.

            The William Gilbert Family

            1602. Specialist William Gilbert served in Afghanistan as a member of the U.S. Army.

   On May 14, 2013, SPC Gilbert was injured in an IED attack in Kandahar Province, Afghanistan.

   SPC Gilbert died on May 14, 2013 as a result of injuries sustained during the attack.

            1603. The attack was committed by the Taliban.

            1604. On information and belief, the explosive used in the attack was a CAN fertilizer

   bomb sourced from Fatima Group CAN Fertilizer, which the Haqqani Network purchased from

   Fatima or Pakarab and then transported to al-Qaeda bombmakers operating out of joint al-

   Qaeda/Haqqani Network bomb factories in Pakistan, who converted such fertilizer into an al-

   Qaeda CAN fertilizer bomb derived from al-Qaeda schematics, which the Haqqani Network then

   distributed to the cell that helped commit the attack.

            1605. SPC Gilbert’s murder would have violated the laws of war if these terrorist

   groups were subject to them because, among other reasons, the terrorist(s) who committed the

   attack neither wore uniforms nor otherwise identified themselves as enemy combatants, and the

   passive detonation system indiscriminately placed civilians at risk.

            1606. SPC Gilbert was a national of the United States at the time of the attack and his

   death.




                                                   480
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 496 of 606 PageID #: 496




           1607. As a result of the May 14, 2013 attack, SPC Gilbert was injured in his person

   and/or property. The Plaintiff members of the Gilbert Family are the survivors and/or heirs of

   SPC Gilbert and are entitled to recover for the damages SPC Gilbert sustained.

           The Paul Goins Jr. Family

           1608. Mr. Paul Goins Jr. served in Afghanistan as a civilian government contractor

   working for DynCorp, Int'l. On February 10, 2014, Mr. Goins was injured in an IED attack in

   Kabul Province, Afghanistan. Mr. Goins died on February 10, 2014 as a result of injuries

   sustained during the attack.

           1609. The attack was committed by the Taliban (including the Haqqani Network, a

   designated FTO at the time of the attack), al-Qaeda (a designated FTO at the time of the attack),

   and Lashkar-e-Taiba (a designated FTO at the time of the attack) acting together as a joint cell in

   the Kabul Attack Network.

           1610. On information and belief, the explosive used in the attack was a CAN fertilizer

   bomb sourced from Fatima Group CAN Fertilizer, which the Haqqani Network purchased from

   Fatima or Pakarab and then transported to al-Qaeda bombmakers operating out of joint al-

   Qaeda/Haqqani Network bomb factories in Pakistan, who converted such fertilizer into an al-

   Qaeda CAN fertilizer bomb derived from al-Qaeda schematics, which the Haqqani Network then

   distributed to the cell that helped commit the attack.

           1611. Mr. Goins’s murder would have violated the laws of war if these terrorist groups

   were subject to them because, among other reasons, he was a civilian not taking part in

   hostilities, the terrorist(s) who planted the IED neither wore uniforms nor otherwise identified

   themselves as enemy combatants, and the passive detonation system indiscriminately placed

   civilians at risk.




                                                   481
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 497 of 606 PageID #: 497




            1612. Mr. Goins was a national of the United States at the time of the attack and his

   death.

            1613. As a result of the February 10, 2014 attack, Mr. Goins was injured in his person

   and/or property. The Plaintiff members of the Goins Family are the survivors and/or heirs of Mr.

   Goins and are entitled to recover for the damages Mr. Goins sustained.

            The Jonathan Gollnitz Family

            1614. Sergeant Jonathan Gollnitz served in Afghanistan as a member of the U.S. Army.

   On September 26, 2012, SGT Gollnitz was injured in a suicide bombing attack in Logar

   Province, Afghanistan. SGT Gollnitz died on September 26, 2012 as a result of injuries

   sustained during the attack.

            1615. The attack was committed by the Taliban (including the Haqqani Network, a

   designated FTO at the time of the attack), al-Qaeda (a designated FTO at the time of the attack),

   and Lashkar-e-Taiba (a designated FTO at the time of the attack) acting together as a joint cell in

   the Kabul Attack Network.

            1616. On information and belief, the explosive used in the attack was a CAN fertilizer

   bomb sourced from Fatima Group CAN Fertilizer, which the Haqqani Network purchased from

   Fatima or Pakarab and then transported to al-Qaeda bombmakers operating out of joint al-

   Qaeda/Haqqani Network bomb factories in Pakistan, who converted such fertilizer into an al-

   Qaeda CAN fertilizer bomb derived from al-Qaeda schematics, which the Haqqani Network then

   distributed to the cell that helped commit the attack.

            1617. SGT Gollnitz’s murder would have violated the laws of war if these terrorist

   groups were subject to them because, among other reasons, the terrorist(s) who committed the

   attack neither wore uniforms nor otherwise identified themselves as enemy combatants.




                                                   482
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 498 of 606 PageID #: 498




            1618. SGT Gollnitz was a national of the United States at the time of the attack and his

   death.

            1619. As a result of the September 26, 2012 attack, SGT Gollnitz was injured in his

   person and/or property. The Plaintiff members of the Gollnitz Family are the survivors and/or

   heirs of SGT Gollnitz and are entitled to recover for the damages SGT Gollnitz sustained.

            The Brittany Gordon Family

            1620. Specialist Brittany Gordon served in Afghanistan as a member of the U.S. Army.

   On October 13, 2012, SPC Gordon was injured in an IED attack in Zabul Province, Afghanistan.

   SPC Gordon died on October 13, 2012 as a result of injuries sustained during the attack.

            1621. The attack was committed by the Haqqani Network, a designated FTO at the time

   of the attack and part of the Taliban.

            1622. On information and belief, the explosive used in the attack was a CAN fertilizer

   bomb sourced from Fatima Group CAN Fertilizer, which the Haqqani Network purchased from

   Fatima or Pakarab and then transported to al-Qaeda bombmakers operating out of joint al-

   Qaeda/Haqqani Network bomb factories in Pakistan, who converted such fertilizer into an al-

   Qaeda CAN fertilizer bomb derived from al-Qaeda schematics, which the Haqqani Network then

   distributed to the cell that helped commit the attack.

            1623. SPC Gordon’s murder would have violated the laws of war if these terrorist

   groups were subject to them because, among other reasons, the terrorist(s) who committed the

   attack neither wore uniforms nor otherwise identified themselves as enemy combatants, and the

   passive detonation system indiscriminately placed civilians at risk.

            1624. SPC Gordon was a national of the United States at the time of the attack and her

   death.




                                                   483
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 499 of 606 PageID #: 499




             1625. As a result of the October 13, 2012 attack, SPC Gordon was injured in her person

   and/or property. The Plaintiff members of the Gordon Family are the survivors and/or heirs of

   SPC Gordon and are entitled to recover for the damages SPC Gordon sustained.

             The Douglas Green Family

             1626. Specialist Douglas Green served in Afghanistan as a member of the U.S. Army.

   On August 28, 2011, SPC Green was injured in an IED attack in Kandahar Province,

   Afghanistan. SPC Green died on August 28, 2011 as a result of injuries sustained during the

   attack.

             1627. The attack was committed by the Taliban.

             1628. On information and belief, the explosive used in the attack was a CAN fertilizer

   bomb sourced from Fatima Group CAN Fertilizer, which the Haqqani Network purchased from

   Fatima or Pakarab and then transported to al-Qaeda bombmakers operating out of joint al-

   Qaeda/Haqqani Network bomb factories in Pakistan, who converted such fertilizer into an al-

   Qaeda CAN fertilizer bomb derived from al-Qaeda schematics, which the Haqqani Network then

   distributed to the cell that helped commit the attack.

             1629. SPC Green’s murder would have violated the laws of war if these terrorist groups

   were subject to them because, among other reasons, the terrorist(s) who committed the attack

   neither wore uniforms nor otherwise identified themselves as enemy combatants, and the passive

   detonation system indiscriminately placed civilians at risk.

             1630. SPC Green was a national of the United States at the time of the attack and his

   death.




                                                   484
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 500 of 606 PageID #: 500




          1631. As a result of the August 28, 2011 attack, SPC Green was injured in his person

   and/or property. The Plaintiff members of the Green Family are the survivors and/or heirs of

   SPC Green and are entitled to recover for the damages SPC Green sustained.

          The Travis Green Family

          1632. Plaintiff Gunnery Sergeant Travis Green served in Afghanistan as a member of

   the U.S. Marine Corps. On September 15, 2011, GySgt Green was injured in an IED attack in

   Helmand Province, Afghanistan. The attack severely wounded GySgt Green, who lost both of

   his legs, suffered a traumatic brain injury and micro bleeds, and suffers from post-traumatic

   stress disorder. As a result of the September 15, 2011 attack and his injuries, GySgt Green has

   experienced severe physical and emotional pain and suffering.

          1633. The attack was committed by the Taliban.

          1634. On information and belief, the explosive used in the attack was a CAN fertilizer

   bomb sourced from Fatima Group CAN Fertilizer, which the Haqqani Network purchased from

   Fatima or Pakarab and then transported to al-Qaeda bombmakers operating out of joint al-

   Qaeda/Haqqani Network bomb factories in Pakistan, who converted such fertilizer into an al-

   Qaeda CAN fertilizer bomb derived from al-Qaeda schematics, which the Haqqani Network then

   distributed to the cell that helped commit the attack.

          1635. The attack that injured GySgt Green would have violated the laws of war if these

   terrorist groups were subject to them because, among other reasons, the terrorist(s) who

   committed the attack neither wore uniforms nor otherwise identified themselves as enemy

   combatants, and the passive detonation system indiscriminately placed civilians at risk.

          1636. GySgt Green was a national of the United States at the time of the attack, and

   remains one to this day.




                                                   485
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 501 of 606 PageID #: 501




            1637. As a result of the September 15, 2011 attack and GySgt Green’s injuries, each

   member of the Green Family has experienced severe mental anguish, emotional pain and

   suffering.

            The Kevin Griffin Family

            1638. Command Sergeant Major Kevin Griffin served in Afghanistan as a member of

   the U.S. Army. On August 8, 2012, CSM Griffin was injured in a suicide bombing attack in

   Kunar Province, Afghanistan. CSM Griffin died on August 8, 2012 as a result of injuries

   sustained during the attack.

            1639. The attack was committed by the the Taliban, al-Qaeda (a designated FTO at the

   time of the attack), and Lashkar-e-Taiba (a designated FTO at the time of the attack) acting

   together in a joint cell.

            1640. On information and belief, the explosive used in the attack was a CAN fertilizer

   bomb sourced from Fatima Group CAN Fertilizer, which the Haqqani Network purchased from

   Fatima or Pakarab and then transported to al-Qaeda bombmakers operating out of joint al-

   Qaeda/Haqqani Network bomb factories in Pakistan, who converted such fertilizer into an al-

   Qaeda CAN fertilizer bomb derived from al-Qaeda schematics, which the Haqqani Network then

   distributed to the cell that helped commit the attack.

            1641. CSM Griffin’s murder would have violated the laws of war if these terrorist

   groups were subject to them because, among other reasons, the terrorist(s) who committed the

   attack neither wore uniforms nor otherwise identified themselves as enemy combatants.

            1642. CSM Griffin was a national of the United States at the time of the attack and his

   death.




                                                   486
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 502 of 606 PageID #: 502




            1643. As a result of the August 8, 2012 attack, CSM Griffin was injured in his person

   and/or property. The Plaintiff members of the Griffin Family are the survivors and/or heirs of

   CSM Griffin and are entitled to recover for the damages CSM Griffin sustained.

            The Jeremy Hardison Family

            1644. Sergeant Jeremy Hardison served in Afghanistan as a member of the U.S. Army

   National Guard. On October 1, 2012, SGT Hardison was injured in a suicide bombing attack by

   an individual wearing an Afghan police uniform in Khost Province, Afghanistan. SGT Hardison

   died on October 1, 2012 as a result of injuries sustained during the attack.

            1645. The attack was committed by the Haqqani Network (a designated FTO at the time

   of the attack and a part of the Taliban), al-Qaeda (a designated FTO at the time of the attack),

   and Lashkar-e-Taiba (a designated FTO at the time of the attack) acting together in a joint cell.

            1646. On information and belief, the explosive used in the attack was a CAN fertilizer

   bomb sourced from Fatima Group CAN Fertilizer, which the Haqqani Network purchased from

   Fatima or Pakarab and then transported to al-Qaeda bombmakers operating out of joint al-

   Qaeda/Haqqani Network bomb factories in Pakistan, who converted such fertilizer into an al-

   Qaeda CAN fertilizer bomb derived from al-Qaeda schematics, which the Haqqani Network then

   distributed to the cell that helped commit the attack.

            1647. SGT Hardison’s murder would have violated the laws of war if these terrorist

   groups were subject to them because, among other reasons, the terrorist who committed the

   attack was improperly wearing the uniform of his enemy, and the attack indiscriminately placed

   civilians at risk, killing multiple Afghan civilians, because it occurred in a public market.

            1648. SGT Hardison was a national of the United States at the time of the attack and his

   death.




                                                   487
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 503 of 606 PageID #: 503




            1649. As a result of the October 1, 2012 attack, SGT Hardison was injured in his person

   and/or property. The Plaintiff members of the Hardison Family are the survivors and/or heirs of

   SGT Hardison and are entitled to recover for the damages SGT Hardison sustained.

            The Scott Harper Family

            1650. Lance Corporal Scott Harper served in Afghanistan as a member of the U.S.

   Marine Corps. On October 13, 2011, LCpl Harper was injured in an IED attack in Helmand

   Province, Afghanistan. LCpl Harper died on October 13, 2011 as a result of injuries sustained

   during the attack.

            1651. The attack was committed by the Taliban.

            1652. On information and belief, the explosive used in the attack was a CAN fertilizer

   bomb sourced from Fatima Group CAN Fertilizer, which the Haqqani Network purchased from

   Fatima or Pakarab and then transported to al-Qaeda bombmakers operating out of joint al-

   Qaeda/Haqqani Network bomb factories in Pakistan, who converted such fertilizer into an al-

   Qaeda CAN fertilizer bomb derived from al-Qaeda schematics, which the Haqqani Network then

   distributed to the cell that helped commit the attack.

            1653. LCpl Harper’s murder would have violated the laws of war if these terrorist

   groups were subject to them because, among other reasons, the terrorist(s) who committed the

   attack neither wore uniforms nor otherwise identified themselves as enemy combatants, and the

   passive detonation system indiscriminately placed civilians at risk.

            1654. LCpl Harper was a national of the United States at the time of the attack and his

   death.




                                                   488
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 504 of 606 PageID #: 504




          1655. As a result of the October 13, 2011 attack, LCpl Harper was injured in his person

   and/or property. The Plaintiff members of the Harper Family are the survivors and/or heirs of

   LCpl Harper and are entitled to recover for the damages LCpl Harper sustained.

          Adam Hartswick

          1656. Plaintiff Sergeant Adam Hartswick served in Afghanistan as a member of the U.S.

   Army. On May 14, 2013, SGT Hartswick was injured in an IED attack in Kandahar Province,

   Afghanistan. The attack severely wounded SGT Hartswick, who suffered a double amputation

   above the knee, a traumatic brain injury, perforated eardrums, a broken hip, an amputation of his

   right index finger, a partial amputation of his right thumb, and muscle avulsion of the right

   forearm. As a result of the May 14, 2013 attack and his injuries, SGT Hartswick has experienced

   severe physical and emotional pain and suffering.

          1657. The attack was committed by the Taliban.

          1658. On information and belief, the explosive used in the attack was a CAN fertilizer

   bomb sourced from Fatima Group CAN Fertilizer, which the Haqqani Network purchased from

   Fatima or Pakarab and then transported to al-Qaeda bombmakers operating out of joint al-

   Qaeda/Haqqani Network bomb factories in Pakistan, who converted such fertilizer into an al-

   Qaeda CAN fertilizer bomb derived from al-Qaeda schematics, which the Haqqani Network then

   distributed to the cell that helped commit the attack.

          1659. The attack that injured SGT Hartswick would have violated the laws of war if

   these terrorist groups were subject to them because, among other reasons, the terrorist(s) who

   committed the attack neither wore uniforms nor otherwise identified themselves as enemy

   combatants, and the passive detonation system indiscriminately placed civilians at risk.




                                                   489
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 505 of 606 PageID #: 505




            1660. SGT Hartswick was a national of the United States at the time of the attack, and

   remains one to this day.

            The Jay Henigan Family

            1661. Mr. Jay Henigan served in Afghanistan as a civilian government contractor

   working for the CIA. On September 25, 2011, Mr. Henigan was injured in an insider attack in

   Kabul Province, Afghanistan. Mr. Henigan died on September 25, 2011 as a result of injuries

   sustained during the attack.

            1662. The attack was committed by the Taliban (including the Haqqani Network, a

   designated FTO at the time of the attack), al-Qaeda (a designated FTO at the time of the attack),

   and Lashkar-e-Taiba (a designated FTO at the time of the attack) acting together as a joint cell in

   the Kabul Attack Network.

            1663. Mr. Henigan’s murder would have violated the laws of war if these terrorist

   groups were subject to them because, among other reasons, the terrorist(s) who committed the

   attack neither wore uniforms nor otherwise identified themselves as enemy combatants.

            1664. Mr. Henigan was a national of the United States at the time of the attack and his

   death.

            1665. As a result of the attack, Mr. Henigan was injured in his person and/or property.

   The Plaintiff members of the Henigan Family are the survivors and/or heirs of Mr. Henigan and

   are entitled to recover for the damages Mr. Henigan sustained.

            1666. As a result of the September 25, 2011 attack and Mr. Henigan’s injuries and

   death, each member of the Henigan Family has experienced severe mental anguish, emotional

   pain and suffering, and the loss of Mr. Henigan’s society, companionship, and counsel.




                                                   490
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 506 of 606 PageID #: 506




          Kevin Honaker

          1667. Plaintiff Lance Corporal Kevin Honaker served in Afghanistan as a member of

   the U.S. Marine Corps. On September 13, 2011, LCpl Honaker was injured in an IED attack in

   Helmand Province, Afghanistan. The attack severely wounded LCpl Honaker, who lost his left

   leg above the knee, his right leg below the knee, and a finger on his left hand. As a result of the

   September 13, 2011 attack and his injuries, LCpl Honaker has experienced severe physical and

   emotional pain and suffering.

          1668. The attack was committed by the Taliban.

          1669. On information and belief, the explosive used in the attack was a CAN fertilizer

   bomb sourced from Fatima Group CAN Fertilizer, which the Haqqani Network purchased from

   Fatima or Pakarab and then transported to al-Qaeda bombmakers operating out of joint al-

   Qaeda/Haqqani Network bomb factories in Pakistan, who converted such fertilizer into an al-

   Qaeda CAN fertilizer bomb derived from al-Qaeda schematics, which the Haqqani Network then

   distributed to the cell that helped commit the attack.

          1670. The attack that injured LCpl Honaker would have violated the laws of war if these

   terrorist groups were subject to them because, among other reasons, the terrorist(s) who planted

   the IED neither wore uniforms nor otherwise identified themselves as enemy combatants and the

   passive detonation system indiscriminately placed civilians at risk.

          1671. LCpl Honaker was a national of the United States at the time of the attack, and

   remains one to this day.

          The Christopher Horns Family

          1672. Private First Class Christopher Horns served in Afghanistan as a member of the

   U.S. Army. On October 22, 2011, PFC Horns was injured in an IED attack in Kandahar




                                                   491
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 507 of 606 PageID #: 507




   Province, Afghanistan. PFC Horns died on October 22, 2011 as a result of injuries sustained

   during the attack.

            1673. The attack was committed by the Taliban.

            1674. On information and belief, the explosive used in the attack was a CAN fertilizer

   bomb sourced from Fatima Group CAN Fertilizer, which the Haqqani Network purchased from

   Fatima or Pakarab and then transported to al-Qaeda bombmakers operating out of joint al-

   Qaeda/Haqqani Network bomb factories in Pakistan, who converted such fertilizer into an al-

   Qaeda CAN fertilizer bomb derived from al-Qaeda schematics, which the Haqqani Network then

   distributed to the cell that helped commit the attack.

            1675. PFC Horns’s murder would have violated the laws of war if these terrorist groups

   were subject to them because, among other reasons, the terrorist(s) who planted the IED neither

   wore uniforms nor otherwise identified themselves as enemy combatants and the passive

   detonation system indiscriminately placed civilians at risk.

            1676. PFC Horns was a national of the United States at the time of the attack and his

   death.

            1677. As a result of the October 22, 2011 attack, PFC Horns was injured in his person

   and/or property. The Plaintiff members of the Horns Family are the survivors and/or heirs of

   PFC Horns and are entitled to recover for the damages PFC Horns sustained.

            The Justin Horsley Family

            1678. Specialist Justin Horsley served in Afghanistan as a member of the U.S. Army.

   On July 22, 2012, SPC Horsley was injured in an IED attack in Logar Province, Afghanistan.

   SPC Horsley died on July 22, 2012 as a result of injuries sustained during the attack.

            1679. The attack was committed by the Haqqani Network, a part of the Taliban.




                                                   492
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 508 of 606 PageID #: 508




            1680. On information and belief, the explosive used in the attack was a CAN fertilizer

   bomb sourced from Fatima Group CAN Fertilizer, which the Haqqani Network purchased from

   Fatima or Pakarab and then transported to al-Qaeda bombmakers operating out of joint al-

   Qaeda/Haqqani Network bomb factories in Pakistan, who converted such fertilizer into an al-

   Qaeda CAN fertilizer bomb derived from al-Qaeda schematics, which the Haqqani Network then

   distributed to the cell that helped commit the attack.

            1681. SPC Horsley’s murder would have violated the laws of war if these terrorist

   groups were subject to them because, among other reasons, the terrorist(s) who committed the

   attack neither wore uniforms nor otherwise identified themselves as enemy combatants, and the

   passive detonation system indiscriminately placed civilians at risk.

            1682. SPC Horsley was a national of the United States at the time of the attack and his

   death.

            1683. As a result of the July 22, 2012 attack, SPC Horsley was injured in his person

   and/or property. The Plaintiff members of the Horsley Family are the survivors and/or heirs of

   SPC Horsley and are entitled to recover for the damages SPC Horsley sustained.

            The Michael Hughes Family

            1684. Mr. Michael Hughes served in Afghanistan as a civilian government contractor

   working for DynCorp, Int'l. On February 10, 2014, Mr. Hughes was injured in an IED attack in

   Kabul Province, Afghanistan. Mr. Hughes died on February 10, 2014 as a result of injuries

   sustained during the attack.

            1685. The attack was committed by the Taliban (including the Haqqani Network, a

   designated FTO at the time of the attack), al-Qaeda (a designated FTO at the time of the attack),




                                                   493
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 509 of 606 PageID #: 509




   and Lashkar-e-Taiba (a designated FTO at the time of the attack) acting together as a joint cell in

   the Kabul Attack Network.

            1686. On information and belief, the explosive used in the attack was a CAN fertilizer

   bomb sourced from Fatima Group CAN Fertilizer, which the Haqqani Network purchased from

   Fatima or Pakarab and then transported to al-Qaeda bombmakers operating out of joint al-

   Qaeda/Haqqani Network bomb factories in Pakistan, who converted such fertilizer into an al-

   Qaeda CAN fertilizer bomb derived from al-Qaeda schematics, which the Haqqani Network then

   distributed to the cell that helped commit the attack.

            1687. Mr. Hughes’s murder would have violated the laws of war if these terrorist groups

   were subject to them because, among other reasons, he was a civilian not taking part in

   hostilities, the terrorist(s) who planted the IED neither wore uniforms nor otherwise identified

   themselves as enemy combatants, and the passive detonation system indiscriminately placed

   civilians at risk.

            1688. Mr. Hughes was a national of the United States at the time of the attack and his

   death.

            1689. As a result of the 10, 2014 attack, Mr. Hughes was injured in his person and/or

   property. The Plaintiff members of the Hughes Family are the survivors and/or heirs of Mr.

   Hughes and are entitled to recover for the damages Mr. Hughes sustained.

            The Eric Hunter Family

            1690. Plaintiff Sergeant Eric Hunter served in Afghanistan as a member of the U.S.

   Army. On May 31, 2012, SGT Hunter was injured in an IED attack in Helmand Province,

   Afghanistan. The attack severely wounded SGT Hunter, who lost his right leg and suffered from

   a severely injured left leg, post-traumatic stress disorder, and a traumatic brain injury. As a




                                                   494
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 510 of 606 PageID #: 510




   result of the May 31, 2012 attack and his injuries, SGT Hunter has experienced severe physical

   and emotional pain and suffering.

          1691. The attack was committed by the Taliban.

          1692. On information and belief, the explosive used in the attack was a CAN fertilizer

   bomb sourced from Fatima Group CAN Fertilizer, which the Haqqani Network purchased from

   Fatima or Pakarab and then transported to al-Qaeda bombmakers operating out of joint al-

   Qaeda/Haqqani Network bomb factories in Pakistan, who converted such fertilizer into an al-

   Qaeda CAN fertilizer bomb derived from al-Qaeda schematics, which the Haqqani Network then

   distributed to the cell that helped commit the attack.

          1693. The attack that injured SGT Hunter would have violated the laws of war if these

   terrorist groups were subject to them because, among other reasons, the terrorist(s) who planted

   the IED neither wore uniforms nor otherwise identified themselves as enemy combatants and the

   passive detonation system indiscriminately placed civilians at risk

          1694. SGT Hunter was a national of the United States at the time of the attack, and

   remains one to this day.

          1695. As a result of the May 31, 2012 attack and SGT Hunter’s injuries, each member

   of the Hunter Family has experienced severe mental anguish, emotional pain and suffering.

          The Tyler Iubelt Family

          1696. Private First Class Tyler Iubelt served in Afghanistan as a member of the U.S.

   Army. On November 12, 2016, PFC Iubelt was injured in a suicide bombing attack in Parwan

   Province, Afghanistan. PFC Iubelt died on November 12, 2016 as a result of injuries sustained

   during the attack.




                                                   495
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 511 of 606 PageID #: 511




            1697. The attack was committed by al-Qaeda (a designated FTO at the time of the

   attack) and the Taliban acting together in a joint al-Qaeda-Taliban cell with al-Qaeda providing

   and training the suicide bomber.

            1698. On information and belief, the explosive used in the attack was a CAN fertilizer

   bomb sourced from Fatima Group CAN Fertilizer, which the Haqqani Network purchased from

   Fatima or Pakarab and then transported to al-Qaeda bombmakers operating out of joint al-

   Qaeda/Haqqani Network bomb factories in Pakistan, who converted such fertilizer into an al-

   Qaeda CAN fertilizer bomb derived from al-Qaeda schematics, which the Haqqani Network then

   distributed to the cell that helped commit the attack.

            1699. PFC Iubelt’s murder would have violated the laws of war if these terrorist groups

   were subject to them because, among other reasons, the terrorist(s) who committed the attack

   were unlawfully wearing the uniform of a base employee in order to gain access to the base and

   the attack indiscriminately placed civilians at risk, killing American contractors, because it

   occurred on a large base with civilians working there.

            1700. PFC Iubelt was a national of the United States at the time of the attack and his

   death.

            1701. As a result of the November 12, 2016 attack, PFC Iubelt was injured in his person

   and/or property. The Plaintiff members of the Iubelt Family are the survivors and/or heirs of

   PFC Iubelt and are entitled to recover for the damages PFC Iubelt sustained.

            Bradley Ivanchan

            1702. Plaintiff Corporal Bradley Ivanchan served in Afghanistan as a member of the

   U.S. Marine Corps. On June 13, 2012, Cpl Ivanchan was injured in an IED attack in Helmand

   Province, Afghanistan. The attack severely wounded Cpl Ivanchan, who suffers from bilateral




                                                   496
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 512 of 606 PageID #: 512




   amputation of both legs, traumatic brain injury, damage to his left hand, and other severe

   injuries. As a result of the June 13, 2012 attack and his injuries, Cpl Ivanchan has experienced

   severe physical and emotional pain and suffering.

             1703. The attack was committed by the Taliban.

             1704. On information and belief, the explosive used in the attack was a CAN fertilizer

   bomb sourced from Fatima Group CAN Fertilizer, which the Haqqani Network purchased from

   Fatima or Pakarab and then transported to al-Qaeda bombmakers operating out of joint al-

   Qaeda/Haqqani Network bomb factories in Pakistan, who converted such fertilizer into an al-

   Qaeda CAN fertilizer bomb derived from al-Qaeda schematics, which the Haqqani Network then

   distributed to the cell that helped commit the attack.

             1705. The attack that injured Cpl Ivanchan would have violated the laws of war if these

   terrorist groups were subject to them because, among other reasons, the terrorist(s) who

   committed the attack neither wore uniforms nor otherwise identified themselves as enemy

   combatants.

             1706. Cpl Ivanchan was a national of the United States at the time of the attack, and

   remains one to this day.

             The Ryan Jayne Family

             1707. Specialist Ryan Jayne served in Afghanistan as a member of the U.S. Army

   Reserve. On November 3, 2012, SPC Jayne was injured in an IED attack in Paktia Province,

   Afghanistan. SPC Jayne died on November 3, 2012 as a result of injuries sustained during the

   attack.




                                                    497
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 513 of 606 PageID #: 513




            1708. The attack was committed by the Haqqani Network (a designated FTO at the time

   of the attack and a part of the Taliban), al-Qaeda (a designated FTO at the time of the attack),

   and Lashkar-e-Taiba (a designated FTO at the time of the attack) acting together in a joint cell.

            1709. On information and belief, the explosive used in the attack was a CAN fertilizer

   bomb sourced from Fatima Group CAN Fertilizer, which the Haqqani Network purchased from

   Fatima or Pakarab and then transported to al-Qaeda bombmakers operating out of joint al-

   Qaeda/Haqqani Network bomb factories in Pakistan, who converted such fertilizer into an al-

   Qaeda CAN fertilizer bomb derived from al-Qaeda schematics, which the Haqqani Network then

   distributed to the cell that helped commit the attack.

            1710. SPC Jayne’s murder would have violated the laws of war if these terrorist groups

   were subject to them because, among other reasons, the terrorist(s) who planted the IED neither

   wore uniforms nor otherwise identified themselves as enemy combatants, and the passive

   detonation system indiscriminately placed civilians at risk.

            1711. SPC Jayne was a national of the United States at the time of the attack and his

   death.

            1712. As a result of the November 3, 2012 attack, SPC Jayne was injured in his person

   and/or property. The Plaintiff members of the Jayne Family are the survivors and/or heirs of

   SPC Jayne and are entitled to recover for the damages SPC Jayne sustained.

            Brian Jergens

            1713. Plaintiff Sergeant Brian Jergens served in Afghanistan as a member of the U.S.

   Army. On August 7, 2011, SGT Jergens was injured in an IED attack in Uruzgan Province,

   Afghanistan. The attack severely wounded SGT Jergens, who suffered from the loss of both legs

   below the knee, the removal of his spleen, abdominal injuries, a cracked vertebra, a broken arm,




                                                   498
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 514 of 606 PageID #: 514




   and the loss of his ring finger on his left hand. As a result of the August 7, 2011 attack and his

   injuries, SGT Jergens has experienced severe physical and emotional pain and suffering.

          1714. The attack was committed by the Taliban.

          1715. On information and belief, the explosive used in the attack was a CAN fertilizer

   bomb sourced from Fatima Group CAN Fertilizer, which the Haqqani Network purchased from

   Fatima or Pakarab and then transported to al-Qaeda bombmakers operating out of joint al-

   Qaeda/Haqqani Network bomb factories in Pakistan, who converted such fertilizer into an al-

   Qaeda CAN fertilizer bomb derived from al-Qaeda schematics, which the Haqqani Network then

   distributed to the cell that helped commit the attack.

          1716. The attack that injured SGT Jergens would have violated the laws of war if these

   terrorist groups were subject to them because, among other reasons, the terrorist(s) who

   committed the attack neither wore uniforms nor otherwise identified themselves as enemy

   combatants.

          1717. SGT Jergens was a national of the United States at the time of the attack, and

   remains one to this day.

          Terence Jones

          1718. Plaintiff Specialist Terence Jones served in Afghanistan as a member of the U.S.

   Army. On February 7, 2012, SPC Jones was injured in an IED attack in Kandahar Province,

   Afghanistan. The attack severely wounded SPC Jones, who suffered the loss of both legs, the

   partial loss of use of his left arm, and a partial penial amputation. As a result of the February 7,

   2012 attack and his injuries, SPC Jones has experienced severe physical and emotional pain and

   suffering.

          1719. The attack was committed by the Taliban.




                                                    499
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 515 of 606 PageID #: 515




          1720. On information and belief, the explosive used in the attack was a CAN fertilizer

   bomb sourced from Fatima Group CAN Fertilizer, which the Haqqani Network purchased from

   Fatima or Pakarab and then transported to al-Qaeda bombmakers operating out of joint al-

   Qaeda/Haqqani Network bomb factories in Pakistan, who converted such fertilizer into an al-

   Qaeda CAN fertilizer bomb derived from al-Qaeda schematics, which the Haqqani Network then

   distributed to the cell that helped commit the attack.

          1721. The attack that injured SPC Jones would have violated the laws of war if these

   terrorist groups were subject to them because, among other reasons, the terrorist(s) who

   committed the attack neither wore uniforms nor otherwise identified themselves as enemy

   combatants.

          1722. SPC Jones was a national of the United States at the time of the attack, and

   remains one to this day.

          The Alexis Kamerman Family

          1723. Ms. Alexis Leigh Kamerman served in Afghanistan as a civilian educator with

   American University of Afghanistan. On January 17, 2014, Ms. Kamerman was injured in a

   complex attack involving a suicide bomber and gunmen in Kabul Province, Afghanistan. Ms.

   Kamerman died on January 17, 2014 as a result of injuries sustained during the attack.

          1724. The attack was committed by the Taliban (including the Haqqani Network, a

   designated FTO at the time of the attack), al-Qaeda (a designated FTO at the time of the attack),

   and Lashkar-e-Taiba (a designated FTO at the time of the attack) acting together as a joint cell in

   the Kabul Attack Network.

          1725. On information and belief, the explosive used in the attack was a CAN fertilizer

   bomb sourced from Fatima Group CAN Fertilizer, which the Haqqani Network purchased from




                                                   500
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 516 of 606 PageID #: 516




   Fatima or Pakarab and then transported to al-Qaeda bombmakers operating out of joint al-

   Qaeda/Haqqani Network bomb factories in Pakistan, who converted such fertilizer into an al-

   Qaeda CAN fertilizer bomb derived from al-Qaeda schematics, which the Haqqani Network then

   distributed to the cell that helped commit the attack.

          1726. Ms. Kamerman’s murder would have violated the laws of war if these terrorist

   groups were subject to them because, among other reasons, she was a civilian not taking part in

   hostilities and was killed while eating at a restaurant.

          1727. Ms. Kamerman was a national of the United States at the time of the attack and

   her death.

          1728. As a result of the attack, Ms. Kamerman was injured in her person and/or

   property. The Plaintiff members of the Kamerman Family are the survivors and/or heirs of Ms.

   Kamerman and are entitled to recover for the damages Ms. Kamerman sustained.

          1729. As a result of the January 17, 2014 attack and Ms. Kamerman’s injuries and

   death, each member of the Kamerman Family has experienced severe mental anguish, emotional

   pain and suffering, and the loss of Ms. Kamerman’s society, companionship, and counsel.

          The Kevin King Family

          1730. Plaintiff Mr. Kevin King served in Afghanistan as a civilian professor teaching at

   American University of AFG. On August 7, 2016, Mr. King was kidnapped at gunpoint just

   outside the front gates of American University of Afghanistan. Mr. King was held hostage under

   deplorable conditions, beaten frequently, and denied adequate medical care for over three years

   before being released in a prisoner exchange on November 19, 2019. The attack severely

   wounded Mr. King, and he has suffered from severe caloric malnutrition, muscle atrophy,

   peripheral neuropathy, hypocalcemia, vitamin D deficiency, low bone mineral density,




                                                    501
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 517 of 606 PageID #: 517




   hyperparathyroidism, frostbite on feet and ankles, a weak bladder, and other physical injuries due

   to repeated beatings. As a result of the August 7, 2016 attack and his injuries, Mr. King has

   experienced severe physical and emotional pain and suffering.

          1731. The attack was committed by the Haqqani Network, a designated FTO at the time

   of the attack and part of the Taliban.

          1732. The attack that injured Mr. King would have violated the laws of war if these

   terrorist groups were subject to them because, among other reasons, he was a civilian college

   professor not taking part in hostilities and was tortured during captivity, and the terrorist(s) who

   committed the attack neither wore uniforms nor otherwise identified themselves as enemy

   combatants.

          1733. Mr. King was a national of the United States at the time of the attack, and remains

   one to this day.

          1734. As a result of the August 7, 2016 attack and Mr. King’s injuries, each member of

   the King Family has experienced severe mental anguish, emotional pain and suffering.

          The Edward Klein Family

          1735. Plaintiff Major Edward Klein served in Afghanistan as a member of the U.S.

   Army. On October 22, 2012, MAJ Klein was injured in an IED attack in Kandahar Province,

   Afghanistan. The attack severely wounded MAJ Klein, who lost both legs above the knee, his

   right arm, and three fingers on his left hand. As a result of the October 22, 2012 attack and his

   injuries, MAJ Klein has experienced severe physical and emotional pain and suffering.

          1736. The attack was committed by the Taliban.

          1737. On information and belief, the explosive used in the attack was a CAN fertilizer

   bomb sourced from Fatima Group CAN Fertilizer, which the Haqqani Network purchased from




                                                   502
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 518 of 606 PageID #: 518




   Fatima or Pakarab and then transported to al-Qaeda bombmakers operating out of joint al-

   Qaeda/Haqqani Network bomb factories in Pakistan, who converted such fertilizer into an al-

   Qaeda CAN fertilizer bomb derived from al-Qaeda schematics, which the Haqqani Network then

   distributed to the cell that helped commit the attack.

             1738. The attack that injured MAJ Klein would have violated the laws of war if these

   terrorist groups were subject to them because, among other reasons, the terrorist(s) who

   committed the attack neither wore uniforms nor otherwise identified themselves as enemy

   combatants.

             1739. MAJ Klein was a national of the United States at the time of the attack, and

   remains one to this day.

             1740. As a result of the October 22, 2012 attack and MAJ Klein’s injuries, each member

   of the Klein Family has experienced severe mental anguish, emotional pain and suffering.

             The Michael Knapp Family

             1741. Sergeant Michael Knapp served in Afghanistan as a member of the U.S. Army.

   On May 18, 2012, SGT Knapp was injured in an indirect fire attack in Kunar Province,

   Afghanistan. SGT Knapp died on May 18, 2012 as a result of injuries sustained during the

   attack.

             1742. The attack was committed by the the Taliban, al-Qaeda (a designated FTO at the

   time of the attack), and Lashkar-e-Taiba (a designated FTO at the time of the attack) acting

   together in a joint cell.

             1743. SGT Knapp’s murder would have violated the laws of war if these terrorist groups

   were subject to them because, among other reasons, the terrorist(s) who committed the attack




                                                   503
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 519 of 606 PageID #: 519




   neither wore uniforms nor otherwise identified themselves as enemy combatants, and

   indiscriminately placed civilians at risk.

            1744. SGT Knapp was a national of the United States at the time of the attack and his

   death.

            1745. As a result of the May 18, 2012 attack, SGT Knapp was injured in his person

   and/or property. The Plaintiff members of the Knapp Family are the survivors and/or heirs of

   SGT Knapp and are entitled to recover for the damages SGT Knapp sustained.

            Brandon Korona

            1746. Plaintiff Sergeant Brandon Korona served in Afghanistan as a member of the U.S.

   Army. On June 23, 2013, SGT Korona was injured in an IED attack in Paktika Province,

   Afghanistan. The attack severely wounded SGT Korona, who suffered from significant injuries

   to his left leg requiring a below-knee amputation in 2017, a fractured right ankle, and a traumatic

   brain injury. As a result of the June 23, 2013 attack and his injuries, SGT Korona has

   experienced severe physical and emotional pain and suffering.

            1747. The attack was committed by the Haqqani Network (a designated FTO at the time

   of the attack and a part of the Taliban), al-Qaeda (a designated FTO at the time of the attack),

   and Lashkar-e-Taiba (a designated FTO at the time of the attack) acting together in a joint cell.

            1748. On information and belief, the explosive used in the attack was a CAN fertilizer

   bomb sourced from Fatima Group CAN Fertilizer, which the Haqqani Network purchased from

   Fatima or Pakarab and then transported to al-Qaeda bombmakers operating out of joint al-

   Qaeda/Haqqani Network bomb factories in Pakistan, who converted such fertilizer into an al-

   Qaeda CAN fertilizer bomb derived from al-Qaeda schematics, which the Haqqani Network then

   distributed to the cell that helped commit the attack.




                                                   504
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 520 of 606 PageID #: 520




             1749. The attack that injured SGT Korona would have violated the laws of war if these

   terrorist groups were subject to them because, among other reasons, the terrorist(s) who

   committed the attack neither wore uniforms nor otherwise identified themselves as enemy

   combatants.

             1750. SGT Korona was a national of the United States at the time of the attack, and

   remains one to this day.

             The Todd Lambka Family

             1751. First Lieutenant Todd Lambka served in Afghanistan as a member of the U.S.

   Army. On August 1, 2012, 1LT Lambka was injured in an IED attack in Paktika Province,

   Afghanistan. 1LT Lambka died on August 1, 2012 as a result of injuries sustained during the

   attack.

             1752. The attack was committed by the Haqqani Network (a part of the Taliban), al-

   Qaeda (a designated FTO at the time of the attack), and Lashkar-e-Taiba (a designated FTO at

   the time of the attack) acting together in a joint cell.

             1753. On information and belief, the explosive used in the attack was a CAN fertilizer

   bomb sourced from Fatima Group CAN Fertilizer, which the Haqqani Network purchased from

   Fatima or Pakarab and then transported to al-Qaeda bombmakers operating out of joint al-

   Qaeda/Haqqani Network bomb factories in Pakistan, who converted such fertilizer into an al-

   Qaeda CAN fertilizer bomb derived from al-Qaeda schematics, which the Haqqani Network then

   distributed to the cell that helped commit the attack.

             1754. 1LT Lambka’s murder would have violated the laws of war if these terrorist

   groups were subject to them because, among other reasons, the terrorist(s) who planted the IED




                                                     505
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 521 of 606 PageID #: 521




   neither wore uniforms nor otherwise identified themselves as enemy combatants, and the passive

   detonation system indiscriminately placed civilians at risk

            1755. 1LT Lambka was a national of the United States at the time of the attack and his

   death.

            1756. As a result of the August 1, 2012 attack, 1LT Lambka was injured in his person

   and/or property. The Plaintiff members of the Lambka Family are the survivors and/or heirs of

   1LT Lambka and are entitled to recover for the damages 1LT Lambka sustained.

            The Jason Landphair Family

            1757. Mr. Jason Landphair served in Afghanistan as a civilian government contractor

   working for Praetorian Standard Inc. On January 29, 2015, Mr. Landphair was injured in an

   insider attack in Kabul Province, Afghanistan. Mr. Landphair died on January 29, 2015 as a

   result of injuries sustained during the attack.

            1758. The attack was committed by the Taliban (including the Haqqani Network, a

   designated FTO at the time of the attack), al-Qaeda (a designated FTO at the time of the attack),

   and Lashkar-e-Taiba (a designated FTO at the time of the attack) acting together as a joint cell in

   the Kabul Attack Network.

            1759. Mr. Landphair’s murder would have violated the laws of war if these terrorist

   groups were subject to them because, among other reasons, the terrorist(s) who committed the

   attack neither wore uniforms nor otherwise identified themselves as enemy combatants.

            1760. Mr. Landphair was a national of the United States at the time of the attack and his

   death.




                                                     506
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 522 of 606 PageID #: 522




             1761. As a result of the January 29, 2015 attack, Mr. Landphair was injured in his

   person and/or property. The Plaintiff members of the Landphair Family are the survivors and/or

   heirs of Mr. Landphair and are entitled to recover for the damages Mr. Landphair sustained.

             The Brandon Landrum Family

             1762. First Lieutenant Brandon Landrum served in Afghanistan as a member of the U.S.

   Army. On May 4, 2013, 1LT Landrum was injured in an IED attack in Kandahar Province,

   Afghanistan. 1LT Landrum died on May 4, 2013 as a result of injuries sustained during the

   attack.

             1763. The attack was committed by the Taliban.

             1764. On information and belief, the explosive used in the attack was a CAN fertilizer

   bomb sourced from Fatima Group CAN Fertilizer, which the Haqqani Network purchased from

   Fatima or Pakarab and then transported to al-Qaeda bombmakers operating out of joint al-

   Qaeda/Haqqani Network bomb factories in Pakistan, who converted such fertilizer into an al-

   Qaeda CAN fertilizer bomb derived from al-Qaeda schematics, which the Haqqani Network then

   distributed to the cell that helped commit the attack.

             1765. 1LT Landrum’s murder would have violated the laws of war if these terrorist

   groups were subject to them because, among other reasons, the terrorist(s) who committed the

   attack neither wore uniforms nor otherwise identified themselves as enemy combatants, and the

   passive detonation system indiscriminately placed civilians at risk.

             1766. 1LT Landrum was a national of the United States at the time of the attack and his

   death.




                                                   507
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 523 of 606 PageID #: 523




          1767. As a result of the May 4, 2013 attack, 1LT Landrum was injured in his person

   and/or property. The Plaintiff members of the Landrum Family are the survivors and/or heirs of

   1LT Landrum and are entitled to recover for the damages 1LT Landrum sustained.

          The David Lau Family

          1768. Plaintiff Sergeant First Class David Lau served in Afghanistan as a member of the

   U.S. Army National Guard. On April 4, 2012, SFC Lau was injured in a suicide bombing attack

   in Faryab Province, Afghanistan. The attack severely wounded SFC Lau, who suffered severe

   injuries to both his legs requiring three years in a limb salvage program, extensive injuries to his

   dominant hand including the loss of a finger resulting in diminished function, severe injuries to

   shoulders and bicep, limb atrophy, dental injuries, loss of hearing, burns, and embedded toxic

   ball bearings. As a result of the April 4, 2012 attack and his injuries, SFC Lau has experienced

   severe physical and emotional pain and suffering.

          1769. The attack was committed by al-Qaeda (a designated FTO at the time of the

   attack) and the Taliban acting together in a joint al-Qaeda-Taliban cell with al-Qaeda providing,

   indoctrinating, and training the suicide bomber.

          1770. On information and belief, the explosive used in the attack was a CAN fertilizer

   bomb sourced from Fatima Group CAN Fertilizer, which the Haqqani Network purchased from

   Fatima or Pakarab and then transported to al-Qaeda bombmakers operating out of joint al-

   Qaeda/Haqqani Network bomb factories in Pakistan, who converted such fertilizer into an al-

   Qaeda CAN fertilizer bomb derived from al-Qaeda schematics, which the Haqqani Network then

   distributed to the cell that helped commit the attack.

          1771. The attack that injured SFC Lau would have violated the laws of war if these

   terrorist groups were subject to them because, among other reasons, the terrorist(s) who




                                                   508
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 524 of 606 PageID #: 524




   committed the attack neither wore uniforms nor otherwise identified themselves as enemy

   combatants.

          1772. SFC Lau was a national of the United States at the time of the attack, and remains

   one to this day.

          1773. As a result of the April 4, 2012 attack and SFC Lau’s injuries, each member of the

   Lau Family has experienced severe mental anguish, emotional pain and suffering.

          Eric Lund

          1774. Plaintiff Sergeant Eric Lund served in Afghanistan as a member of the U.S. Army

   National Guard. On May 20, 2012, SGT Lund was injured in a complex attack involving two

   IEDs followed by small arms fire and rocket propelled grenades in Kandahar Province,

   Afghanistan. The attack severely wounded SGT Lund, who lost both of his arms above the

   elbow, fractured his skull, broke his femur resulting in the loss of one inch of bone, broke his

   tibia, broke his back, and sustained a traumatic brain injury. As a result of the May 20, 2012

   attack and his injuries, SGT Lund has experienced severe physical and emotional pain and

   suffering.

          1775. The attack was committed by the Taliban.

          1776. The attack that injured SGT Lund would have violated the laws of war if these

   terrorist groups were subject to them because, among other reasons, the terrorist(s) who

   committed the attack neither wore uniforms nor otherwise identified themselves as enemy

   combatants and indiscriminately placed civilians at risk.

          1777. SGT Lund was a national of the United States at the time of the attack, and

   remains one to this day.




                                                   509
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 525 of 606 PageID #: 525




            The Chase Marta Family

            1778. Specialist Chase Marta served in Afghanistan as a member of the U.S. Army. On

   May 7, 2012, SPC Marta was injured in an IED attack in Ghazni Province, Afghanistan. SPC

   Marta died on May 7, 2012 as a result of injuries sustained during the attack.

            1779. The attack was committed by the Haqqani Network, a part of the Taliban.

            1780. On information and belief, the explosive used in the attack was a CAN fertilizer

   bomb sourced from Fatima Group CAN Fertilizer, which the Haqqani Network purchased from

   Fatima or Pakarab and then transported to al-Qaeda bombmakers operating out of joint al-

   Qaeda/Haqqani Network bomb factories in Pakistan, who converted such fertilizer into an al-

   Qaeda CAN fertilizer bomb derived from al-Qaeda schematics, which the Haqqani Network then

   distributed to the cell that helped commit the attack.

            1781. SPC Marta’s murder would have violated the laws of war if these terrorist groups

   were subject to them because, among other reasons, the terrorist(s) who committed the attack

   neither wore uniforms nor otherwise identified themselves as enemy combatants, and the passive

   detonation system indiscriminately placed civilians at risk.

            1782. SPC Marta was a national of the United States at the time of the attack and his

   death.

            1783. As a result of the May 7, 2012 attack, SPC Marta was injured in his person and/or

   property. The Plaintiff members of the Marta Family are the survivors and/or heirs of SPC

   Marta and are entitled to recover for the damages SPC Marta sustained.




                                                   510
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 526 of 606 PageID #: 526




             The Ethan Martin Family

             1784. Corporal Ethan Martin served in Afghanistan as a member of the U.S. Army. On

   August 7, 2012, CPL Martin was injured in an insider attack in Paktia Province, Afghanistan.

   CPL Martin died on August 7, 2012 as a result of injuries sustained during the attack.

             1785. The attack was committed by the Haqqani Network (a part of the Taliban), al-

   Qaeda (a designated FTO at the time of the attack), and Lashkar-e-Taiba (a designated FTO at

   the time of the attack) acting together in a joint cell.

             1786. CPL Martin’s murder would have violated the laws of war if these terrorist groups

   were subject to them because, among other reasons, the terrorist who committed the attack was

   unlawfully wearing the uniform of his enemy.

             1787. CPL Martin was a national of the United States at the time of the attack and his

   death.

             1788. As a result of the August 7, 2012 attack, CPL Martin was injured in his person

   and/or property. The Plaintiff members of the Martin Family are the survivors and/or heirs of

   CPL Martin and are entitled to recover for the damages CPL Martin sustained.

             The Wyatt Martin Family

             1789. Specialist Wyatt Martin served in Afghanistan as a member of the U.S. Army.

   On December 12, 2014, SPC Martin was injured in an IED attack in Parwan Province,

   Afghanistan. SPC Martin died on December 12, 2014 as a result of injuries sustained during the

   attack.

             1790. The attack was committed by the Taliban.

             1791. On information and belief, the explosive used in the attack was a CAN fertilizer

   bomb sourced from Fatima Group CAN Fertilizer, which the Haqqani Network purchased from




                                                     511
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 527 of 606 PageID #: 527




   Fatima or Pakarab and then transported to al-Qaeda bombmakers operating out of joint al-

   Qaeda/Haqqani Network bomb factories in Pakistan, who converted such fertilizer into an al-

   Qaeda CAN fertilizer bomb derived from al-Qaeda schematics, which the Haqqani Network then

   distributed to the cell that helped commit the attack.

            1792. SPC Martin’s murder would have violated the laws of war if these terrorist groups

   were subject to them because, among other reasons, the terrorist(s) who committed the attack

   neither wore uniforms nor otherwise identified themselves as enemy combatants.

            1793. SPC Martin was a national of the United States at the time of the attack and his

   death.

            1794. As a result of the December 12, 2014 attack, SPC Martin was injured in his

   person and/or property. The Plaintiff members of the Martin Family are the survivors and/or

   heirs of SPC Martin and are entitled to recover for the damages SPC Martin sustained.

            The Jose Martinez Hernandez Family

            1795. Plaintiff Specialist Jose Martinez Hernandez served in Afghanistan as a member

   of the U.S. Army. On March 3, 2012, SPC Martinez Hernandez was injured in an IED attack in

   Kandahar Province, Afghanistan. The attack severely wounded SPC Martinez Hernandez, who

   suffered from the loss of both of his legs, the loss of his right arm, and a partial amputation of his

   left hand. As a result of the March 3, 2012 attack and his injuries, SPC Martinez Hernandez has

   experienced severe physical and emotional pain and suffering.

            1796. The attack was committed by the Taliban.

            1797. On information and belief, the explosive used in the attack was a CAN fertilizer

   bomb sourced from Fatima Group CAN Fertilizer, which the Haqqani Network purchased from

   Fatima or Pakarab and then transported to al-Qaeda bombmakers operating out of joint al-




                                                    512
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 528 of 606 PageID #: 528




   Qaeda/Haqqani Network bomb factories in Pakistan, who converted such fertilizer into an al-

   Qaeda CAN fertilizer bomb derived from al-Qaeda schematics, which the Haqqani Network then

   distributed to the cell that helped commit the attack.

          1798. The attack that injured SPC Martinez Hernandez would have violated the laws of

   war if these terrorist groups were subject to them because, among other reasons, the terrorist(s)

   who committed the attack neither wore uniforms nor otherwise identified themselves as enemy

   combatants.

          1799. SPC Martinez Hernandez was a national of the United States at the time of the

   attack, and remains one to this day.

          1800. As a result of the March 3, 2012 attack and SPC Martinez Hernandez’s injuries,

   each member of the Martinez Hernandez Family has experienced severe mental anguish,

   emotional pain and suffering.

          The Chester McBride III Family

          1801. Staff Sergeant Chester McBride III served in Afghanistan as a member of the U.S.

   Air Force. On December 21, 2015, SSgt McBride was injured in a suicide bombing attack in

   Parwan Province, Afghanistan. SSgt McBride died on December 21, 2015 as a result of injuries

   sustained during the attack.

          1802. The attack was committed by the Taliban and al-Qaeda (a designated FTO at the

   time of the attack) acting together in a joint al-Qaeda-Taliban cell with al-Qaeda providing and

   training the suicide bomber.

          1803. On information and belief, the explosive used in the attack was a CAN fertilizer

   bomb sourced from Fatima Group CAN Fertilizer, which the Haqqani Network purchased from

   Fatima or Pakarab and then transported to al-Qaeda bombmakers operating out of joint al-




                                                   513
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 529 of 606 PageID #: 529




   Qaeda/Haqqani Network bomb factories in Pakistan, who converted such fertilizer into an al-

   Qaeda CAN fertilizer bomb derived from al-Qaeda schematics, which the Haqqani Network then

   distributed to the cell that helped commit the attack.

            1804. SSgt McBride’s murder would have violated the laws of war if these terrorist

   groups were subject to them because, among other reasons, the terrorist(s) who committed the

   attack neither wore uniforms nor otherwise identified themselves as enemy combatants.

            1805. SSgt McBride was a national of the United States at the time of the attack and his

   death.

            1806. As a result of the 21, 2015 attack, SSgt McBride was injured in his person and/or

   property. The Plaintiff members of the McBride Family are the survivors and/or heirs of SSgt

   McBride and are entitled to recover for the damages SSgt McBride sustained.

            The Matthew McClintock Family

            1807. Sergeant First Class Matthew McClintock served in Afghanistan as a member of

   the U.S. Army National Guard. On January 5, 2016, SFC McClintock was injured in a complex

   attack involving small arms fire in Helmand Province, Afghanistan. SFC McClintock died on

   January 5, 2016 as a result of injuries sustained during the attack.

            1808. The attack was committed by the Taliban.

            1809. SFC McClintock’s murder would have violated the laws of war if these terrorist

   groups were subject to them because, among other reasons, the terrorist(s) who committed the

   attack neither wore uniforms nor otherwise identified themselves as enemy combatants.

            1810. SFC McClintock was a national of the United States at the time of the attack and

   his death.




                                                   514
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 530 of 606 PageID #: 530




          1811. As a result of the January 5, 2016 attack, SFC McClintock was injured in his

   person and/or property. The Plaintiff members of the McClintock Family are the survivors

   and/or heirs of SFC McClintock and are entitled to recover for the damages SFC McClintock

   sustained.

          The Richard McEvoy Family

          1812. Mr. Richard McEvoy served in Afghanistan as a civilian government contractor

   working for DynCorp, Int'l. On August 22, 2015, Mr. McEvoy was injured in a suicide bombing

   attack in Kabul Province, Afghanistan. Mr. McEvoy died on August 22, 2015 as a result of

   injuries sustained during the attack.

          1813. The attack was committed by the Taliban (including the Haqqani Network, a

   designated FTO at the time of the attack), al-Qaeda (a designated FTO at the time of the attack),

   and Lashkar-e-Taiba (a designated FTO at the time of the attack) acting together as a joint cell in

   the Kabul Attack Network.

          1814. On information and belief, the explosive used in the attack was a CAN fertilizer

   bomb sourced from Fatima Group CAN Fertilizer, which the Haqqani Network purchased from

   Fatima or Pakarab and then transported to al-Qaeda bombmakers operating out of joint al-

   Qaeda/Haqqani Network bomb factories in Pakistan, who converted such fertilizer into an al-

   Qaeda CAN fertilizer bomb derived from al-Qaeda schematics, which the Haqqani Network then

   distributed to the cell that helped commit the attack.

          1815. Mr. McEvoy’s murder would have violated the laws of war if these terrorist

   groups were subject to them because, among other reasons, he was a civilian not taking part in

   hostilities, the terrorist(s) who committed the attack neither wore uniforms nor otherwise

   identified themselves as enemy combatants, and the attack indiscriminately placed civilians at




                                                   515
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 531 of 606 PageID #: 531




   risk, killing multiple Afghan civilians, because it occurred on a public road in front of a private

   hospital.

             1816. Mr. McEvoy was a national of the United States at the time of the attack and his

   death.

             1817. As a result of the August 22, 2015 attack, Mr. McEvoy was injured in his person

   and/or property. The Plaintiff members of the McEvoy Family are the survivors and/or heirs of

   Mr. McEvoy and are entitled to recover for the damages Mr. McEvoy sustained.

             The Richard McNulty III Family

             1818. Private First Class Richard McNulty III served in Afghanistan as a member of the

   U.S. Army. On May 13, 2012, PFC McNulty was injured in an IED attack in Khost Province,

   Afghanistan. PFC McNulty died on May 13, 2012 as a result of injuries sustained during the

   attack.

             1819. The attack was committed by the Haqqani Network (a part of the Taliban), al-

   Qaeda (a designated FTO at the time of the attack), and Lashkar-e-Taiba (a designated FTO at

   the time of the attack) acting together in a joint cell.

             1820. On information and belief, the explosive used in the attack was a CAN fertilizer

   bomb sourced from Fatima Group CAN Fertilizer, which the Haqqani Network purchased from

   Fatima or Pakarab and then transported to al-Qaeda bombmakers operating out of joint al-

   Qaeda/Haqqani Network bomb factories in Pakistan, who converted such fertilizer into an al-

   Qaeda CAN fertilizer bomb derived from al-Qaeda schematics, which the Haqqani Network then

   distributed to the cell that helped commit the attack.

             1821. PFC McNulty’s murder would have violated the laws of war if these terrorist

   groups were subject to them because, among other reasons, he was a civilian not taking part in




                                                     516
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 532 of 606 PageID #: 532




   hostilities, the terrorist(s) who committed the attack neither wore uniforms nor otherwise

   identified themselves as enemy combatants, and the attack indiscriminately placed civilians at

   risk, killing multiple Afghan civilians, because it occurred on a public road in front of a private

   hospital.

            1822. PFC McNulty was a national of the United States at the time of the attack and his

   death.

            1823. As a result of the May 13, 2012 attack, PFC McNulty was injured in his person

   and/or property. The Plaintiff members of the McNulty Family are the survivors and/or heirs of

   PFC McNulty and are entitled to recover for the damages PFC McNulty sustained.

            The Dale Means Family

            1824. Lance Corporal Dale Means served in Afghanistan as a member of the U.S.

   Marine Corps. On November 18, 2012, LCpl Means was injured in an IED attack in Helmand

   Province, Afghanistan. LCpl Means died on November 18, 2012 as a result of injuries sustained

   during the attack.

            1825. The attack was committed by the Taliban.

            1826. On information and belief, the explosive used in the attack was a CAN fertilizer

   bomb sourced from Fatima Group CAN Fertilizer, which the Haqqani Network purchased from

   Fatima or Pakarab and then transported to al-Qaeda bombmakers operating out of joint al-

   Qaeda/Haqqani Network bomb factories in Pakistan, who converted such fertilizer into an al-

   Qaeda CAN fertilizer bomb derived from al-Qaeda schematics, which the Haqqani Network then

   distributed to the cell that helped commit the attack.

            1827. LCpl Means’s murder would have violated the laws of war if these terrorist

   groups were subject to them because, among other reasons, the terrorist(s) who planted the IED




                                                   517
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 533 of 606 PageID #: 533




   neither wore uniforms nor otherwise identified themselves as enemy combatants, and the passive

   detonation system indiscriminately placed civilians at risk.

             1828. LCpl Means was a national of the United States at the time of the attack and his

   death.

             1829. As a result of the November 18, 2012 attack, LCpl Means was injured in his

   person and/or property. The Plaintiff members of the Means Family are the survivors and/or

   heirs of LCpl Means and are entitled to recover for the damages LCpl Means sustained.

             The Michael Metcalf Family

             1830. Private First Class Michael Metcalf served in Afghanistan as a member of the

   U.S. Army. On April 22, 2012, PFC Metcalf was injured in an IED attack in Ghazni Province,

   Afghanistan. PFC Metcalf died on April 22, 2012 as a result of injuries sustained during the

   attack.

             1831. The attack was committed by the Haqqani Network, a part of the Taliban.

             1832. On information and belief, the explosive used in the attack was a CAN fertilizer

   bomb sourced from Fatima Group CAN Fertilizer, which the Haqqani Network purchased from

   Fatima or Pakarab and then transported to al-Qaeda bombmakers operating out of joint al-

   Qaeda/Haqqani Network bomb factories in Pakistan, who converted such fertilizer into an al-

   Qaeda CAN fertilizer bomb derived from al-Qaeda schematics, which the Haqqani Network then

   distributed to the cell that helped commit the attack.

             1833. PFC Metcalf’s murder would have violated the laws of war if these terrorist

   groups were subject to them because, among other reasons, the terrorist(s) who planted the IED

   neither wore uniforms nor otherwise identified themselves as enemy combatants, and the passive

   detonation system indiscriminately placed civilians at risk.




                                                   518
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 534 of 606 PageID #: 534




            1834. PFC Metcalf was a national of the United States at the time of the attack and his

   death.

            1835. As a result of the April 22, 2012 attack, PFC Metcalf was injured in his person

   and/or property. The Plaintiff members of the Metcalf Family are the survivors and/or heirs of

   PFC Metcalf and are entitled to recover for the damages PFC Metcalf sustained.

            The Jonathan Metzger Family

            1836. Staff Sergeant Jonathan Metzger served in Afghanistan as a member of the U.S.

   Army National Guard. On January 6, 2012, SSG Metzger was injured in an IED attack in

   Kandahar Province, Afghanistan. SSG Metzger died on January 6, 2012 as a result of injuries

   sustained during the attack.

            1837. The attack was committed by the Taliban.

            1838. On information and belief, the explosive used in the attack was a CAN fertilizer

   bomb sourced from Fatima Group CAN Fertilizer, which the Haqqani Network purchased from

   Fatima or Pakarab and then transported to al-Qaeda bombmakers operating out of joint al-

   Qaeda/Haqqani Network bomb factories in Pakistan, who converted such fertilizer into an al-

   Qaeda CAN fertilizer bomb derived from al-Qaeda schematics, which the Haqqani Network then

   distributed to the cell that helped commit the attack.

            1839. SSG Metzger’s murder would have violated the laws of war if these terrorist

   groups were subject to them because, among other reasons, the terrorist(s) who planted the IED

   neither wore uniforms nor otherwise identified themselves as enemy combatants, and the passive

   detonation system indiscriminately placed civilians at risk.

            1840. SSG Metzger was a national of the United States at the time of the attack and his

   death.




                                                   519
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 535 of 606 PageID #: 535




            1841. As a result of the January 6, 2012 attack, SSG Metzger was injured in his person

   and/or property. The Plaintiff members of the Metzger Family are the survivors and/or heirs of

   SSG Metzger and are entitled to recover for the damages SSG Metzger sustained.

            The Eugene Mills III Family

            1842. Lance Corporal Eugene Mills III served in Afghanistan as a member of the U.S.

   Marine Corps. On June 22, 2012, LCpl Mills was injured in a sniper attack in Helmand

   Province, Afghanistan. LCpl Mills died on June 22, 2012 as a result of injuries sustained during

   the attack.

            1843. The attack was committed by the Taliban.

            1844. LCpl Mills’s murder would have violated the laws of war if these terrorist groups

   were subject to them because, among other reasons, the terrorist(s) who committed the attack

   neither wore uniforms nor otherwise identified themselves as enemy combatants.

            1845. LCpl Mills was a national of the United States at the time of the attack and his

   death.

            1846. As a result of the June 22, 2012 attack, LCpl Mills was injured in his person

   and/or property. The Plaintiff members of the Mills Family are the survivors and/or heirs of

   LCpl Mills and are entitled to recover for the damages LCpl Mills sustained.

            The Travis Morgado Family

            1847. Second Lieutenant Travis Morgado served in Afghanistan as a member of the

   U.S. Army. On May 23, 2012, 2LT Morgado was injured in an IED attack in Kandahar

   Province, Afghanistan. 2LT Morgado died on May 23, 2012 as a result of injuries sustained

   during the attack.

            1848. The attack was committed by the Taliban.




                                                   520
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 536 of 606 PageID #: 536




            1849. On information and belief, the explosive used in the attack was a CAN fertilizer

   bomb sourced from Fatima Group CAN Fertilizer, which the Haqqani Network purchased from

   Fatima or Pakarab and then transported to al-Qaeda bombmakers operating out of joint al-

   Qaeda/Haqqani Network bomb factories in Pakistan, who converted such fertilizer into an al-

   Qaeda CAN fertilizer bomb derived from al-Qaeda schematics, which the Haqqani Network then

   distributed to the cell that helped commit the attack.

            1850. 2LT Morgado’s murder would have violated the laws of war if these terrorist

   groups were subject to them because, among other reasons, the terrorist(s) who planted the IED

   neither wore uniforms nor otherwise identified themselves as enemy combatants, and the passive

   detonation system indiscriminately placed civilians at risk.

            1851. 2LT Morgado was a national of the United States at the time of the attack and his

   death.

            1852. As a result of the May 23, 2012 attack, 2LT Morgado was injured in his person

   and/or property. The Plaintiff members of the Morgado Family are the survivors and/or heirs of

   2LT Morgado and are entitled to recover for the damages 2LT Morgado sustained.

            The Jedidiah Morgan Family

            1853. Plaintiff Corporal Jedidiah Morgan served in Afghanistan as a member of the U.S.

   Marine Corps. On June 20, 2012, Cpl Morgan was injured in an IED attack in Helmand

   Province, Afghanistan. The attack severely wounded Cpl Morgan, who suffered the loss of both

   legs above the knee and the loss of the use of his right hand (due to the loss of muscle and nerves

   which makes him unable to open it). As a result of the June 20, 2012 attack and his injuries, Cpl

   Morgan has experienced severe physical and emotional pain and suffering.

            1854. The attack was committed by the Taliban.




                                                   521
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 537 of 606 PageID #: 537




             1855. On information and belief, the explosive used in the attack was a CAN fertilizer

   bomb sourced from Fatima Group CAN Fertilizer, which the Haqqani Network purchased from

   Fatima or Pakarab and then transported to al-Qaeda bombmakers operating out of joint al-

   Qaeda/Haqqani Network bomb factories in Pakistan, who converted such fertilizer into an al-

   Qaeda CAN fertilizer bomb derived from al-Qaeda schematics, which the Haqqani Network then

   distributed to the cell that helped commit the attack.

             1856. The attack that injured Cpl Morgan would have violated the laws of war if these

   terrorist groups were subject to them because, among other reasons, the terrorist(s) who planted

   the IED neither wore uniforms nor otherwise identified themselves as enemy combatants and the

   passive detonation system indiscriminately placed civilians at risk.

             1857. Cpl Morgan was a national of the United States at the time of the attack, and

   remains one to this day.

             1858. As a result of the June 20, 2012 attack and Cpl Morgan’s injuries, each member

   of the Morgan Family has experienced severe mental anguish, emotional pain and suffering.

             The Sean Mullen Family

             1859. Warrant Officer Sean Mullen served in Afghanistan as a member of the U.S.

   Army. On June 2, 2013, WO1 Mullen was injured in an IED attack in Helmand Province,

   Afghanistan. WO1 Mullen died on June 2, 2013 as a result of injuries sustained during the

   attack.

             1860. The attack was committed by the Taliban.

             1861. On information and belief, the explosive used in the attack was a CAN fertilizer

   bomb sourced from Fatima Group CAN Fertilizer, which the Haqqani Network purchased from

   Fatima or Pakarab and then transported to al-Qaeda bombmakers operating out of joint al-




                                                   522
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 538 of 606 PageID #: 538




   Qaeda/Haqqani Network bomb factories in Pakistan, who converted such fertilizer into an al-

   Qaeda CAN fertilizer bomb derived from al-Qaeda schematics, which the Haqqani Network then

   distributed to the cell that helped commit the attack.

             1862. WO1 Mullen’s murder would have violated the laws of war if these terrorist

   groups were subject to them because, among other reasons, the terrorist(s) who planted the IED

   neither wore uniforms nor otherwise identified themselves as enemy combatants, and the passive

   detonation system indiscriminately placed civilians at risk.

             1863. WO1 Mullen was a national of the United States at the time of the attack and his

   death.

             1864. As a result of the June 2, 2013 attack, WO1 Mullen was injured in his person

   and/or property. The Plaintiff members of the Mullen Family are the survivors and/or heirs of

   WO1 Mullen and are entitled to recover for the damages WO1 Mullen sustained.

             The Brandon Mullins Family

             1865. Specialist Brandon Mullins served in Afghanistan as a member of the U.S. Army.

   On August 25, 2011, SPC Mullins was injured in an IED attack in Kandahar Province,

   Afghanistan. SPC Mullins died on August 25, 2011 as a result of injuries sustained during the

   attack.

             1866. The attack was committed by the Taliban.

             1867. On information and belief, the explosive used in the attack was a CAN fertilizer

   bomb sourced from Fatima Group CAN Fertilizer, which the Haqqani Network purchased from

   Fatima or Pakarab and then transported to al-Qaeda bombmakers operating out of joint al-

   Qaeda/Haqqani Network bomb factories in Pakistan, who converted such fertilizer into an al-




                                                   523
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 539 of 606 PageID #: 539




   Qaeda CAN fertilizer bomb derived from al-Qaeda schematics, which the Haqqani Network then

   distributed to the cell that helped commit the attack.

            1868. SPC Mullins’s murder would have violated the laws of war if these terrorist

   groups were subject to them because, among other reasons, the terrorist(s) who planted the IED

   neither wore uniforms nor otherwise identified themselves as enemy combatants, and the passive

   detonation system indiscriminately placed civilians at risk.

            1869. SPC Mullins was a national of the United States at the time of the attack and his

   death.

            1870. As a result of the August 25, 2011 attack, SPC Mullins was injured in his person

   and/or property. The Plaintiff members of the Mullins Family are the survivors and/or heirs of

   SPC Mullins and are entitled to recover for the damages SPC Mullins sustained.

            The Thomas Murach Family

            1871. Specialist Thomas Murach served in Afghanistan as a member of the U.S. Army.

   On May 4, 2013, SPC Murach was injured in an IED attack in Kandahar Province, Afghanistan.

   SPC Murach died on May 4, 2013 as a result of injuries sustained during the attack.

            1872. The attack was committed by the Taliban.

            1873. On information and belief, the explosive used in the attack was a CAN fertilizer

   bomb sourced from Fatima Group CAN Fertilizer, which the Haqqani Network purchased from

   Fatima or Pakarab and then transported to al-Qaeda bombmakers operating out of joint al-

   Qaeda/Haqqani Network bomb factories in Pakistan, who converted such fertilizer into an al-

   Qaeda CAN fertilizer bomb derived from al-Qaeda schematics, which the Haqqani Network then

   distributed to the cell that helped commit the attack.




                                                   524
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 540 of 606 PageID #: 540




             1874. SPC Murach’s murder would have violated the laws of war if these terrorist

   groups were subject to them because, among other reasons, the terrorist(s) who planted the IED

   neither wore uniforms nor otherwise identified themselves as enemy combatants.

             1875. SPC Murach was a national of the United States at the time of the attack and his

   death.

             1876. As a result of the May 4, 2013 attack, SPC Murach was injured in his person

   and/or property. The Plaintiff members of the Murach Family are the survivors and/or heirs of

   SPC Murach and are entitled to recover for the damages SPC Murach sustained.

             The Liam Nevins Family

             1877. Sergeant First Class Liam Nevins served in Afghanistan as a member of the U.S.

   Army. On September 21, 2013, SFC Nevins was injured in an insider attack in Paktia Province,

   Afghanistan. SFC Nevins died on September 21, 2013 as a result of injuries sustained during the

   attack.

             1878. The attack was committed by the Haqqani Network (a designated FTO at the time

   of the attack and a part of the Taliban), al-Qaeda (a designated FTO at the time of the attack),

   and Lashkar-e-Taiba (a designated FTO at the time of the attack) acting together in a joint cell.

             1879. SFC Nevins’s murder would have violated the laws of war if these terrorist

   groups were subject to them because, among other reasons, the terrorist(s) who committed the

   attack was lawfully wearing the uniform of his enemy.

             1880. SFC Nevins was a national of the United States at the time of the attack and his

   death.




                                                   525
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 541 of 606 PageID #: 541




          1881. As a result of the September 21, 2013 attack, SFC Nevins was injured in his

   person and/or property. The Plaintiff members of the Nevins Family are the survivors and/or

   heirs of SFC Nevins and are entitled to recover for the damages SFC Nevins sustained.

          The Christopher Newman Family

          1882. Staff Sergeant Christopher Newman served in Afghanistan as a member of the

   U.S. Army. On October 29, 2011, SSG Newman was injured in a suicide bombing attack in

   Kabul Province, Afghanistan. SSG Newman died on October 29, 2011 as a result of injuries

   sustained during the attack.

          1883. The attack was committed by the Taliban (including the Haqqani Network), al-

   Qaeda (a designated FTO at the time of the attack), and Lashkar-e-Taiba (a designated FTO at

   the time of the attack) acting together as a joint cell in the Kabul Attack Network.

          1884. On information and belief, the explosive used in the attack was a CAN fertilizer

   bomb sourced from Fatima Group CAN Fertilizer, which the Haqqani Network purchased from

   Fatima or Pakarab and then transported to al-Qaeda bombmakers operating out of joint al-

   Qaeda/Haqqani Network bomb factories in Pakistan, who converted such fertilizer into an al-

   Qaeda CAN fertilizer bomb derived from al-Qaeda schematics, which the Haqqani Network then

   distributed to the cell that helped commit the attack.

          1885. SSG Newman’s murder would have violated the laws of war if these terrorist

   groups were subject to them because, among other reasons, the terrorist(s) who committed the

   attack neither wore uniforms nor otherwise identified themselves as enemy combatants, and the

   attack indiscriminately placed civilians at risk, killing multiple Afghan civilians, because it

   occurred on a busy road near a university.




                                                   526
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 542 of 606 PageID #: 542




            1886. SSG Newman was a national of the United States at the time of the attack and his

   death.

            1887. As a result of the October 29, 2011 attack, SSG Newman was injured in his

   person and/or property. The Plaintiff members of the Newman Family are the survivors and/or

   heirs of SSG Newman and are entitled to recover for the damages SSG Newman sustained.

            The Bryan Nichols Family

            1888. Chief Warrant Officer 2 Bryan Nichols served in Afghanistan as a member of the

   U.S. Army Reserve. On August 6, 2011, CW2 Nichols was injured in an attack on a helicopter

   in Wardak Province, Afghanistan. CW2 Nichols died on August 6, 2011 as a result of injuries

   sustained during the attack.

            1889. The attack was committed by the Haqqani Network (a part of the Taliban) and al-

   Qaeda (a designated FTO at the time of the attack) acting together in a joint al-Qaeda-Taliban

   cell.

            1890. CW2 Nichols’s murder would have violated the laws of war if these terrorist

   groups were subject to them because, among other reasons, the terrorist(s) who committed the

   attack neither wore uniforms nor otherwise identified themselves as enemy combatants.

            1891. CW2 Nichols was a national of the United States at the time of the attack and his

   death.

            1892. As a result of the August 6, 2011 attack, CW2 Nichols was injured in his person

   and/or property. The Plaintiff members of the Nichols Family are the survivors and/or heirs of

   CW2 Nichols and are entitled to recover for the damages CW2 Nichols sustained.




                                                  527
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 543 of 606 PageID #: 543




            The Rob Nichols Family

            1893. Specialist Rob Nichols served in Afghanistan as a member of the U.S. Army. On

   July 23, 2013, SPC Nichols was injured in an IED attack in Wardak Province, Afghanistan. SPC

   Nichols died on July 23, 2013 as a result of injuries sustained during the attack.

            1894. The attack was committed by the Haqqani Network, a designated FTO at the time

   of the attack and part of the Taliban.

            1895. On information and belief, the explosive used in the attack was a CAN fertilizer

   bomb sourced from Fatima Group CAN Fertilizer, which the Haqqani Network purchased from

   Fatima or Pakarab and then transported to al-Qaeda bombmakers operating out of joint al-

   Qaeda/Haqqani Network bomb factories in Pakistan, who converted such fertilizer into an al-

   Qaeda CAN fertilizer bomb derived from al-Qaeda schematics, which the Haqqani Network then

   distributed to the cell that helped commit the attack.

            1896. SPC Nichols’s murder would have violated the laws of war if these terrorist

   groups were subject to them because, among other reasons, the terrorist(s) who planted the IED

   neither wore uniforms nor otherwise identified themselves as enemy combatants and the passive

   detonation system indiscriminately placed civilians at risk

            1897. SPC Nichols was a national of the United States at the time of the attack and his

   death.

            1898. As a result of the July 23, 2013 attack, SPC Nichols was injured in his person

   and/or property. The Plaintiff members of the Nichols Family are the survivors and/or heirs of

   SPC Nichols and are entitled to recover for the damages SPC Nichols sustained.




                                                   528
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 544 of 606 PageID #: 544




            The Nicholas Olivas Family

            1899. Corporal Nicholas Olivas served in Afghanistan as a member of the U.S. Army.

   On May 30, 2012, CPL Olivas was injured in an IED attack in Kandahar Province, Afghanistan.

   CPL Olivas died on May 30, 2012 as a result of injuries sustained during the attack.

            1900. The attack was committed by the Taliban.

            1901. On information and belief, the explosive used in the attack was a CAN fertilizer

   bomb sourced from Fatima Group CAN Fertilizer, which the Haqqani Network purchased from

   Fatima or Pakarab and then transported to al-Qaeda bombmakers operating out of joint al-

   Qaeda/Haqqani Network bomb factories in Pakistan, who converted such fertilizer into an al-

   Qaeda CAN fertilizer bomb derived from al-Qaeda schematics, which the Haqqani Network then

   distributed to the cell that helped commit the attack.

            1902. CPL Olivas’s murder would have violated the laws of war if these terrorist groups

   were subject to them because, among other reasons, the terrorist(s) who planted the IED neither

   wore uniforms nor otherwise identified themselves as enemy combatants and the passive

   detonation system indiscriminately placed civilians at risk.

            1903. CPL Olivas was a national of the United States at the time of the attack and his

   death.

            1904. As a result of the May 30, 2012 attack, CPL Olivas was injured in his person

   and/or property. The Plaintiff members of the Olivas Family are the survivors and/or heirs of

   CPL Olivas and are entitled to recover for the damages CPL Olivas sustained.

            The Kyle Osborn Family

            1905. Sergeant Kyle Osborn served in Afghanistan as a member of the U.S. Army. On

   September 13, 2012, SGT Osborn was injured in a rocket propelled grenade attack in Ghazni




                                                   529
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 545 of 606 PageID #: 545




   Province, Afghanistan. SGT Osborn died on September 13, 2012 as a result of injuries sustained

   during the attack.

            1906. The attack was committed by the Haqqani Network, a part of the Taliban.

            1907. SGT Osborn’s murder would have violated the laws of war if these terrorist

   groups were subject to them because, among other reasons, the terrorist(s) who committed the

   attack neither wore uniforms nor otherwise identified themselves as enemy combatants.

            1908. SGT Osborn was a national of the United States at the time of the attack and his

   death.

            1909. As a result of the September 13, 2012 attack, SGT Osborn was injured in his

   person and/or property. The Plaintiff members of the Osborn Family are the survivors and/or

   heirs of SGT Osborn and are entitled to recover for the damages SGT Osborn sustained.

            The Nicholas Ott Family

            1910. Corporal Nicholas Ott served in Afghanistan as a member of the U.S. Marine

   Corps. On August 10, 2011, Cpl Ott was injured in an IED attack in Helmand Province,

   Afghanistan. Cpl Ott died on August 10, 2011 as a result of injuries sustained during the attack.

            1911. The attack was committed by the Taliban.

            1912. On information and belief, the explosive used in the attack was a CAN fertilizer

   bomb sourced from Fatima Group CAN Fertilizer, which the Haqqani Network purchased from

   Fatima or Pakarab and then transported to al-Qaeda bombmakers operating out of joint al-

   Qaeda/Haqqani Network bomb factories in Pakistan, who converted such fertilizer into an al-

   Qaeda CAN fertilizer bomb derived from al-Qaeda schematics, which the Haqqani Network then

   distributed to the cell that helped commit the attack.




                                                   530
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 546 of 606 PageID #: 546




             1913. Cpl Ott’s murder would have violated the laws of war if these terrorist groups

   were subject to them because, among other reasons, the terrorist(s) who planted the IED neither

   wore uniforms nor otherwise identified themselves as enemy combatants, and the passive

   detonation system indiscriminately placed civilians at risk.

             1914. Cpl Ott was a national of the United States at the time of the attack and his death.

             1915. As a result of the August 10, 2011 attack, Cpl Ott was injured in his person and/or

   property. The Plaintiff members of the Ott Family are the survivors and/or heirs of Cpl Ott and

   are entitled to recover for the damages Cpl Ott sustained.

             The Cody Patterson Family

             1916. Specialist Cody Patterson served in Afghanistan as a member of the U.S. Army.

   On October 6, 2013, SPC Patterson was injured in an IED attack in Kandahar Province,

   Afghanistan. SPC Patterson died on October 6, 2013 as a result of injuries sustained during the

   attack.

             1917. The attack was committed by the Taliban.

             1918. On information and belief, the explosive used in the attack was a CAN fertilizer

   bomb sourced from Fatima Group CAN Fertilizer, which the Haqqani Network purchased from

   Fatima or Pakarab and then transported to al-Qaeda bombmakers operating out of joint al-

   Qaeda/Haqqani Network bomb factories in Pakistan, who converted such fertilizer into an al-

   Qaeda CAN fertilizer bomb derived from al-Qaeda schematics, which the Haqqani Network then

   distributed to the cell that helped commit the attack.

             1919. SPC Patterson’s murder would have violated the laws of war if these terrorist

   groups were subject to them because, among other reasons, the terrorist(s) who planted the IED




                                                    531
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 547 of 606 PageID #: 547




   neither wore uniforms nor otherwise identified themselves as enemy combatants, and the passive

   detonation system indiscriminately placed civilians at risk.

            1920. SPC Patterson was a national of the United States at the time of the attack and his

   death.

            1921. As a result of the October 6, 2013 attack, SPC Patterson was injured in his person

   and/or property. The Plaintiff members of the Patterson Family are the survivors and/or heirs of

   SPC Patterson and are entitled to recover for the damages SPC Patterson sustained.

            The Joseph Perez Family

            1922. Mr. Joseph Perez served in Afghanistan as a civilian government contractor

   working for FedSys. On July 22, 2012, Mr. Perez was injured in an insider attack in Herat

   Province, Afghanistan. Mr. Perez died on July 22, 2012 as a result of injuries sustained during

   the attack.

            1923. The attack was committed by the Taliban.

            1924. Mr. Perez’s murder would have violated the laws of war if these terrorist groups

   were subject to them because, among other reasons, he was a civilian not taking part in

   hostilities, and the terrorist who committed the attack was unlawfully wearing the uniform of his

   enemy.

            1925. Mr. Perez was a national of the United States at the time of the attack and his

   death.

            1926. As a result of the July 22, 2012 attack, Mr. Perez was injured in his person and/or

   property. The Plaintiff members of the Perez Family are the survivors and/or heirs of Mr. Perez

   and are entitled to recover for the damages Mr. Perez sustained.




                                                   532
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 548 of 606 PageID #: 548




          The Ricardo PerezRamos Family

          1927. Plaintiff Sergeant Ricardo PerezRamos served in Afghanistan as a member of the

   U.S. Army. On November 20, 2011, SGT PerezRamos was injured in an IED attack in

   Kandahar Province, Afghanistan. The attack severely wounded SGT PerezRamos, who suffered

   the immediate loss of his left leg in the blast, a spinal cord injury, severe burn, embedded

   shrapnel, and a broken pelvis. As a result of the November 20, 2011 attack and his injuries, SGT

   PerezRamos has experienced severe physical and emotional pain and suffering.

          1928. The attack was committed by the Taliban.

          1929. On information and belief, the explosive used in the attack was a CAN fertilizer

   bomb sourced from Fatima Group CAN Fertilizer, which the Haqqani Network purchased from

   Fatima or Pakarab and then transported to al-Qaeda bombmakers operating out of joint al-

   Qaeda/Haqqani Network bomb factories in Pakistan, who converted such fertilizer into an al-

   Qaeda CAN fertilizer bomb derived from al-Qaeda schematics, which the Haqqani Network then

   distributed to the cell that helped commit the attack.

          1930. The attack that injured SGT PerezRamos would have violated the laws of war if

   these terrorist groups were subject to them because, among other reasons, the terrorist(s) who

   planted the IED neither wore uniforms nor otherwise identified themselves as enemy

   combatants, and the passive detonation system indiscriminately placed civilians at risk.

          1931. SGT PerezRamos was a national of the United States at the time of the attack, and

   remains one to this day.

          1932. As a result of the November 20, 2011 attack and SGT PerezRamos’s injuries,

   each member of the PerezRamos Family has experienced severe mental anguish, emotional pain

   and suffering.




                                                   533
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 549 of 606 PageID #: 549




             The John Perry Family

             1933. Staff Sergeant John Perry served in Afghanistan as a member of the U.S. Army.

   On November 12, 2016, SSG Perry was injured in a suicide bombing attack in Parwan Province,

   Afghanistan. SSG Perry died on November 12, 2016 as a result of injuries sustained during the

   attack.

             1934. The attack was committed by al-Qaeda (a designated FTO at the time of the

   attack) and the Taliban acting together in a joint al-Qaeda-Taliban cell with al-Qaeda providing

   and training the suicide bomber.

             1935. On information and belief, the explosive used in the attack was a CAN fertilizer

   bomb sourced from Fatima Group CAN Fertilizer, which the Haqqani Network purchased from

   Fatima or Pakarab and then transported to al-Qaeda bombmakers operating out of joint al-

   Qaeda/Haqqani Network bomb factories in Pakistan, who converted such fertilizer into an al-

   Qaeda CAN fertilizer bomb derived from al-Qaeda schematics, which the Haqqani Network then

   distributed to the cell that helped commit the attack.

             1936. SSG Perry’s murder would have violated the laws of war if these terrorist groups

   were subject to them because, among other reasons, the terrorist(s) who committed the attack

   was unlawfully wearing the uniform of a base employee in order to gain access to the base and

   the attack indiscriminately placed civilians at risk, killing American contractors, because it

   occurred on a large base with civilians working there.

             1937. SSG Perry was a national of the United States at the time of the attack and his

   death.




                                                    534
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 550 of 606 PageID #: 550




            1938. As a result of the November 12, 2016 attack, SSG Perry was injured in his person

   and/or property. The Plaintiff members of the Perry Family are the survivors and/or heirs of

   SSG Perry and are entitled to recover for the damages SSG Perry sustained.

            The Joseph Peters Family

            1939. Sergeant Joseph Peters served in Afghanistan as a member of the U.S. Army. On

   October 6, 2013, SGT Peters was injured in an IED attack in Kandahar Province, Afghanistan.

   SGT Peters died on October 6, 2013 as a result of injuries sustained during the attack.

            1940. The attack was committed by the Taliban.

            1941. On information and belief, the explosive used in the attack was a CAN fertilizer

   bomb sourced from Fatima Group CAN Fertilizer, which the Haqqani Network purchased from

   Fatima or Pakarab and then transported to al-Qaeda bombmakers operating out of joint al-

   Qaeda/Haqqani Network bomb factories in Pakistan, who converted such fertilizer into an al-

   Qaeda CAN fertilizer bomb derived from al-Qaeda schematics, which the Haqqani Network then

   distributed to the cell that helped commit the attack.

            1942. SGT Peters’s murder would have violated the laws of war if these terrorist groups

   were subject to them because, among other reasons, the terrorist(s) who planted the IED neither

   wore uniforms nor otherwise identified themselves as enemy combatants, and the passive

   detonation system indiscriminately placed civilians at risk.

            1943. SGT Peters was a national of the United States at the time of the attack and his

   death.

            1944. As a result of the October 6, 2013 attack, SGT Peters was injured in his person

   and/or property. The Plaintiff members of the Peters Family are the survivors and/or heirs of

   SGT Peters and are entitled to recover for the damages SGT Peters sustained.




                                                   535
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 551 of 606 PageID #: 551




             The Francis Phillips IV Family

             1945. Staff Sergeant Francis Phillips IV served in Afghanistan as a member of the U.S.

   Army. On May 4, 2013, SSG Phillips was injured in an IED attack in Kandahar Province,

   Afghanistan. SSG Phillips died on May 4, 2013 as a result of injuries sustained during the

   attack.

             1946. The attack was committed by the Taliban.

             1947. On information and belief, the explosive used in the attack was a CAN fertilizer

   bomb sourced from Fatima Group CAN Fertilizer, which the Haqqani Network purchased from

   Fatima or Pakarab and then transported to al-Qaeda bombmakers operating out of joint al-

   Qaeda/Haqqani Network bomb factories in Pakistan, who converted such fertilizer into an al-

   Qaeda CAN fertilizer bomb derived from al-Qaeda schematics, which the Haqqani Network then

   distributed to the cell that helped commit the attack.

             1948. SSG Phillips’s murder would have violated the laws of war if these terrorist

   groups were subject to them because, among other reasons, the terrorist(s) who planted the IED

   neither wore uniforms nor otherwise identified themselves as enemy combatants, and the passive

   detonation system indiscriminately placed civilians at risk.

             1949. SSG Phillips was a national of the United States at the time of the attack and his

   death.

             1950. As a result of the May 4, 2013 attack, SSG Phillips was injured in his person

   and/or property. The Plaintiff members of the Phillips Family are the survivors and/or heirs of

   SSG Phillips and are entitled to recover for the damages SSG Phillips sustained.




                                                    536
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 552 of 606 PageID #: 552




            The Trevor Pinnick Family

            1951. Specialist Trevor Pinnick served in Afghanistan as a member of the U.S. Army.

   On June 12, 2012, SPC Pinnick was injured in an IED attack in Kandahar Province, Afghanistan.

   SPC Pinnick died on June 12, 2012 as a result of injuries sustained during the attack.

            1952. The attack was committed by the Taliban.

            1953. SPC Pinnick’s murder would have violated the laws of war if these terrorist

   groups were subject to them because, among other reasons, the terrorist(s) who planted the IED

   neither wore uniforms nor otherwise identified themselves as enemy combatants, and the passive

   detonation system indiscriminately placed civilians at risk.

            1954. SPC Pinnick was a national of the United States at the time of the attack and his

   death.

            1955. On information and belief, the explosive used in the attack was a CAN fertilizer

   bomb sourced from Fatima Group CAN Fertilizer, which the Haqqani Network purchased from

   Fatima or Pakarab and then transported to al-Qaeda bombmakers operating out of joint al-

   Qaeda/Haqqani Network bomb factories in Pakistan, who converted such fertilizer into an al-

   Qaeda CAN fertilizer bomb derived from al-Qaeda schematics, which the Haqqani Network then

   distributed to the cell that helped commit the attack.

            1956. As a result of the June 12, 2012 attack, SPC Pinnick was injured in his person

   and/or property. The Plaintiff members of the Pinnick Family are the survivors and/or heirs of

   SPC Pinnick and are entitled to recover for the damages SPC Pinnick sustained.

            The Jesse Pittman Family

            1957. Petty Officer 1st Class Jesse Pittman served in Afghanistan as a member of the

   U.S. Navy. On August 6, 2011, PO1 Pittman was injured in an attack on a helicopter in Wardak




                                                   537
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 553 of 606 PageID #: 553




   Province, Afghanistan. PO1 Pittman died on August 6, 2011 as a result of injuries sustained

   during the attack.

            1958. The attack was committed by the Haqqani Network (a part of the Taliban) and al-

   Qaeda (a designated FTO at the time of the attack) acting together in a joint al-Qaeda-Taliban

   cell.

            1959. PO1 Pittman’s murder would have violated the laws of war if these terrorist

   groups were subject to them because, among other reasons, the terrorist(s) who committed the

   attack neither wore uniforms nor otherwise identified themselves as enemy combatants.

            1960. PO1 Pittman was a national of the United States at the time of the attack and his

   death.

            1961. As a result of the August 6, 2011 attack, PO1 Pittman was injured in his person

   and/or property. The Plaintiff members of the Pittman Family are the survivors and/or heirs of

   PO1 Pittman and are entitled to recover for the damages PO1 Pittman sustained.

            The Brandon Prescott Family

            1962. Specialist Brandon Prescott served in Afghanistan as a member of the U.S. Army.

   On May 4, 2013, SPC Prescott was injured in an IED attack in Kandahar Province, Afghanistan.

   SPC Prescott died on May 4, 2013 as a result of injuries sustained during the attack.

            1963. The attack was committed by the Taliban.

            1964. On information and belief, the explosive used in the attack was a CAN fertilizer

   bomb sourced from Fatima Group CAN Fertilizer, which the Haqqani Network purchased from

   Fatima or Pakarab and then transported to al-Qaeda bombmakers operating out of joint al-

   Qaeda/Haqqani Network bomb factories in Pakistan, who converted such fertilizer into an al-




                                                   538
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 554 of 606 PageID #: 554




   Qaeda CAN fertilizer bomb derived from al-Qaeda schematics, which the Haqqani Network then

   distributed to the cell that helped commit the attack.

            1965. SPC Prescott’s murder would have violated the laws of war if these terrorist

   groups were subject to them because, among other reasons, the terrorist(s) who planted the IED

   neither wore uniforms nor otherwise identified themselves as enemy combatants, and the passive

   detonation system indiscriminately placed civilians at risk.

            1966. SPC Prescott was a national of the United States at the time of the attack and his

   death.

            1967. As a result of the May 4, 2013 attack, SPC Prescott was injured in his person

   and/or property. The Plaintiff members of the Prescott Family are the survivors and/or heirs of

   SPC Prescott and are entitled to recover for the damages SPC Prescott sustained.

            The Peter Provost Family

            1968. Mr. Peter Provost served in Afghanistan as a civilian contractor working for Fluor

   Corporation. On November 12, 2016, Mr. Provost was injured in a suicide bombing attack in

   Parwan Province, Afghanistan. Mr. Provost died on November 12, 2016 as a result of injuries

   sustained during the attack.

            1969. The attack was committed by al-Qaeda (a designated FTO at the time of the

   attack) and the Taliban acting together in a joint al-Qaeda-Taliban cell with al-Qaeda providing

   and training the suicide bomber.

            1970. On information and belief, the explosive used in the attack was a CAN fertilizer

   bomb sourced from Fatima Group CAN Fertilizer, which the Haqqani Network purchased from

   Fatima or Pakarab and then transported to al-Qaeda bombmakers operating out of joint al-

   Qaeda/Haqqani Network bomb factories in Pakistan, who converted such fertilizer into an al-




                                                   539
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 555 of 606 PageID #: 555




   Qaeda CAN fertilizer bomb derived from al-Qaeda schematics, which the Haqqani Network then

   distributed to the cell that helped commit the attack.

            1971. Mr. Provost’s murder would have violated the laws of war if these terrorist groups

   were subject to them because, among other reasons, the terrorist(s) who committed the attack

   was unlawfully wearing the uniform of a base employee in order to gain access to the base and

   the attack indiscriminately placed civilians at risk, killing American contractors, because it

   occurred on a large base with civilians working there.

            1972. Mr. Provost was a national of the United States at the time of the attack and his

   death.

            1973. As a result of the November 12, 2016 attack, Mr. Provost was injured in his

   person and/or property. The Plaintiff members of the Provost Family are the survivors and/or

   heirs of Mr. Provost and are entitled to recover for the damages Mr. Provost sustained.

            The Christopher Raible Family

            1974. Lieutenant Colonel Christopher Raible served in Afghanistan as a member of the

   U.S. Marine Corps. On September 15, 2012, LtCol Raible was injured in a complex attack

   involving small arms fire and rocket propelled grenades in Helmand Province, Afghanistan.

   LtCol Raible died on September 15, 2012 as a result of injuries sustained during the attack.

            1975. The attack was committed by the Taliban.

            1976. LtCol Raible’s murder would have violated the laws of war if these terrorist

   groups were subject to them because, among other reasons, the terrorist(s) who committed the

   attack was unlawfully wearing the uniform of his enemy.

            1977. LtCol Raible was a national of the United States at the time of the attack and his

   death.




                                                   540
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 556 of 606 PageID #: 556




           1978. As a result of the September 15, 2012 attack, LtCol Raible was injured in his

   person and/or property. The Plaintiff members of the Raible Family are the survivors and/or

   heirs of LtCol Raible and are entitled to recover for the damages LtCol Raible sustained.

           The Thomas Ratzlaff Family

           1979. Senior Chief Petty Officer (SEAL) Thomas Ratzlaff served in Afghanistan as a

   member of the U.S. Navy. On August 6, 2011, SCPO (SEAL) Ratzlaff was injured in an attack

   on a helicopter in Wardak Province, Afghanistan. SCPO (SEAL) Ratzlaff died on August 6,

   2011 as a result of injuries sustained during the attack.

           1980. The attack was committed by the Haqqani Network (a part of the Taliban) and al-

   Qaeda (a designated FTO at the time of the attack) acting together in a joint al-Qaeda-Taliban

   cell.

           1981. SCPO (SEAL) Ratzlaff’s murder would have violated the laws of war if these

   terrorist groups were subject to them because, among other reasons, the terrorist(s) who

   committed the attack neither wore uniforms nor otherwise identified themselves as enemy

   combatants.

           1982. SCPO (SEAL) Ratzlaff was a national of the United States at the time of the

   attack and his death.

           1983. As a result of the August 6, 2011 attack, SCPO (SEAL) Ratzlaff was injured in

   his person and/or property. The Plaintiff members of the Ratzlaff Family are the survivors

   and/or heirs of SCPO (SEAL) Ratzlaff and are entitled to recover for the damages SCPO (SEAL)

   Ratzlaff sustained.




                                                    541
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 557 of 606 PageID #: 557




          The Jarrold Reeves Jr. Family

          1984. Colonel (Ret.) Jarrold Reeves Jr. served in Afghanistan as a civilian contractor

   working for Fluor Corporation. On November 12, 2016, COL (R) Reeves was injured in a

   suicide bombing attack in Parwan Province, Afghanistan. COL (R) Reeves died on November

   12, 2016 as a result of injuries sustained during the attack.

          1985. The attack was committed by al-Qaeda (a designated FTO at the time of the

   attack) and the Taliban acting together in a joint al-Qaeda-Taliban cell with al-Qaeda providing

   and training the suicide bomber.

          1986. On information and belief, the explosive used in the attack was a CAN fertilizer

   bomb sourced from Fatima Group CAN Fertilizer, which the Haqqani Network purchased from

   Fatima or Pakarab and then transported to al-Qaeda bombmakers operating out of joint al-

   Qaeda/Haqqani Network bomb factories in Pakistan, who converted such fertilizer into an al-

   Qaeda CAN fertilizer bomb derived from al-Qaeda schematics, which the Haqqani Network then

   distributed to the cell that helped commit the attack.

          1987. COL (R) Reeves’s murder would have violated the laws of war if these terrorist

   groups were subject to them because, among other reasons, the terrorist who committed the

   attack was unlawfully wearing the uniform of a base employee in order to gain access to the base

   and the attack indiscriminately placed civilians at risk, killing American contractors, because it

   occurred on a large base with civilians working there.

          1988. COL (R) Reeves was a national of the United States at the time of the attack and

   his death.




                                                    542
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 558 of 606 PageID #: 558




            1989. As a result of the November 12, 2016 attack, COL (R) Reeves was injured in his

   person and/or property. The Plaintiff members of the Reeves Family are the survivors and/or

   heirs of COL (R) Reeves and are entitled to recover for the damages COL (R) Reeves sustained.

            The Chad Regelin Family

            1990. Petty Officer First Class Chad Regelin served in Afghanistan as a member of the

   U.S. Navy. On January 2, 2012, PO1 Regelin was injured in an IED attack in Helmand

   Province, Afghanistan. PO1 Regelin died on January 2, 2012 as a result of injuries sustained

   during the attack.

            1991. The attack was committed by the Taliban.

            1992. On information and belief, the explosive used in the attack was a CAN fertilizer

   bomb sourced from Fatima Group CAN Fertilizer, which the Haqqani Network purchased from

   Fatima or Pakarab and then transported to al-Qaeda bombmakers operating out of joint al-

   Qaeda/Haqqani Network bomb factories in Pakistan, who converted such fertilizer into an al-

   Qaeda CAN fertilizer bomb derived from al-Qaeda schematics, which the Haqqani Network then

   distributed to the cell that helped commit the attack.

            1993. PO1 Regelin’s murder would have violated the laws of war if these terrorist

   groups were subject to them because, among other reasons, the terrorist(s) who planted the IED

   neither wore uniforms nor otherwise identified themselves as enemy combatants, and the passive

   detonation system indiscriminately placed civilians at risk.

            1994. PO1 Regelin was a national of the United States at the time of the attack and his

   death.




                                                   543
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 559 of 606 PageID #: 559




          1995. As a result of the January 2, 2012 attack, PO1 Regelin was injured in his person

   and/or property. The Plaintiff members of the Regelin Family are the survivors and/or heirs of

   PO1 Regelin and are entitled to recover for the damages PO1 Regelin sustained.

          The Joseph Richardson Family

          1996. Sergeant Joseph Richardson served in Afghanistan as a member of the U.S.

   Army. On November 16, 2012, SGT Richardson was injured in a complex attack involving an

   IED and small arms fire in Paktika Province, Afghanistan. SGT Richardson died on November

   16, 2012 as a result of injuries sustained during the attack.

          1997. The attack was committed by the Haqqani Network (a designated FTO at the time

   of the attack and a part of the Taliban), al-Qaeda (a designated FTO at the time of the attack),

   and Lashkar-e-Taiba (a designated FTO at the time of the attack) acting together in a joint cell.

          1998. On information and belief, the explosive used in the attack was a CAN fertilizer

   bomb sourced from Fatima Group CAN Fertilizer, which the Haqqani Network purchased from

   Fatima or Pakarab and then transported to al-Qaeda bombmakers operating out of joint al-

   Qaeda/Haqqani Network bomb factories in Pakistan, who converted such fertilizer into an al-

   Qaeda CAN fertilizer bomb derived from al-Qaeda schematics, which the Haqqani Network then

   distributed to the cell that helped commit the attack.

          1999. SGT Richardson’s murder would have violated the laws of war if these terrorist

   groups were subject to them because, among other reasons, the terrorist(s) who committed the

   attack neither wore uniforms nor otherwise identified themselves as enemy combatants.

          2000. SGT Richardson was a national of the United States at the time of the attack and

   his death.




                                                    544
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 560 of 606 PageID #: 560




             2001. As a result of the November 16, 2012 attack, SGT Richardson was injured in his

   person and/or property. The Plaintiff members of the Richardson Family are the survivors

   and/or heirs of SGT Richardson and are entitled to recover for the damages SGT Richardson

   sustained.

             The Colby Richmond Family

             2002. Sergeant Colby Richmond served in Afghanistan as a member of the U.S. Army.

   On August 25, 2011, SGT Richmond was injured in an IED attack in Helmand Province,

   Afghanistan. SGT Richmond died on August 25, 2011 as a result of injuries sustained during the

   attack.

             2003. The attack was committed by the Taliban.

             2004. On information and belief, the explosive used in the attack was a CAN fertilizer

   bomb sourced from Fatima Group CAN Fertilizer, which the Haqqani Network purchased from

   Fatima or Pakarab and then transported to al-Qaeda bombmakers operating out of joint al-

   Qaeda/Haqqani Network bomb factories in Pakistan, who converted such fertilizer into an al-

   Qaeda CAN fertilizer bomb derived from al-Qaeda schematics, which the Haqqani Network then

   distributed to the cell that helped commit the attack.

             2005. SGT Richmond’s murder would have violated the laws of war if these terrorist

   groups were subject to them because, among other reasons, the terrorist(s) who planted the IED

   neither wore uniforms nor otherwise identified themselves as enemy combatants, and the passive

   detonation system indiscriminately placed civilians at risk.

             2006. SGT Richmond was a national of the United States at the time of the attack and

   his death.




                                                   545
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 561 of 606 PageID #: 561




             2007. As a result of the August 25, 2011 attack, SGT Richmond was injured in his

   person and/or property. The Plaintiff members of the Richmond Family are the survivors and/or

   heirs of SGT Richmond and are entitled to recover for the damages SGT Richmond sustained.

             The Joseph Riley Family

             2008. Specialist Joseph Riley served in Afghanistan as a member of the U.S. Army. On

   November 24, 2014, SPC Riley was injured in a vehicle-born IED attack in Kabul Province,

   Afghanistan. SPC Riley died on November 24, 2014 as a result of injuries sustained during the

   attack.

             2009. The attack was committed by the Taliban (including the Haqqani Network, a

   designated FTO at the time of the attack), al-Qaeda (a designated FTO at the time of the attack),

   and Lashkar-e-Taiba (a designated FTO at the time of the attack) acting together as a joint cell in

   the Kabul Attack Network.

             2010. On information and belief, the explosive used in the attack was a CAN fertilizer

   bomb sourced from Fatima Group CAN Fertilizer, which the Haqqani Network purchased from

   Fatima or Pakarab and then transported to al-Qaeda bombmakers operating out of joint al-

   Qaeda/Haqqani Network bomb factories in Pakistan, who converted such fertilizer into an al-

   Qaeda CAN fertilizer bomb derived from al-Qaeda schematics, which the Haqqani Network then

   distributed to the cell that helped commit the attack.

             2011. SPC Riley’s murder would have violated the laws of war if these terrorist groups

   were subject to them because, among other reasons, the terrorist(s) who committed the attack

   neither wore uniforms nor otherwise identified themselves as enemy combatants and the

   detonation of a vehicle indiscriminately placed civilians at risk.




                                                   546
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 562 of 606 PageID #: 562




            2012. SPC Riley was a national of the United States at the time of the attack and his

   death.

            2013. As a result of the November 24, 2014 attack, SPC Riley was injured in his person

   and/or property. The Plaintiff members of the Riley Family are the survivors and/or heirs of

   SPC Riley and are entitled to recover for the damages SPC Riley sustained.

            The Nathan Rimpf Family

            2014. Plaintiff First Lieutenant Nathan Rimpf served in Afghanistan as a member of the

   U.S. Army. On July 8, 2012, 1LT Rimpf was injured in an IED attack in Ghazni Province,

   Afghanistan. The attack severely wounded 1LT Rimpf, who suffered the loss of his left leg

   below the knee, the loss of his right leg above the knee, and partial paralysis of his right scapula.

   As a result of the July 8, 2012 attack and his injuries, 1LT Rimpf has experienced severe

   physical and emotional pain and suffering.

            2015. The attack was committed by the Haqqani Network, a part of the Taliban.

            2016. On information and belief, the explosive used in the attack was a CAN fertilizer

   bomb sourced from Fatima Group CAN Fertilizer, which the Haqqani Network purchased from

   Fatima or Pakarab and then transported to al-Qaeda bombmakers operating out of joint al-

   Qaeda/Haqqani Network bomb factories in Pakistan, who converted such fertilizer into an al-

   Qaeda CAN fertilizer bomb derived from al-Qaeda schematics, which the Haqqani Network then

   distributed to the cell that helped commit the attack.

            2017. The attack that injured 1LT Rimpf would have violated the laws of war if these

   terrorist groups were subject to them because, among other reasons, the terrorist(s) who planted

   the IED neither wore uniforms nor otherwise identified themselves as enemy combatants and the

   passive detonation system indiscriminately placed civilians at risk.




                                                    547
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 563 of 606 PageID #: 563




            2018. 1LT Rimpf was a national of the United States at the time of the attack, and

   remains one to this day.

            2019. As a result of the July 8, 2012 attack and 1LT Rimpf’s injuries, each member of

   the Rimpf Family has experienced severe mental anguish, emotional pain and suffering.

            The Michael Ristau Family

            2020. Sergeant Michael Ristau served in Afghanistan as a member of the U.S. Army.

   On July 13, 2012, SGT Ristau was injured in an IED attack in Zabul Province, Afghanistan.

   SGT Ristau died on July 13, 2012 as a result of injuries sustained during the attack.

            2021. The attack was committed by the Haqqani Network, a part of the Taliban.

            2022. On information and belief, the explosive used in the attack was a CAN fertilizer

   bomb sourced from Fatima Group CAN Fertilizer, which the Haqqani Network purchased from

   Fatima or Pakarab and then transported to al-Qaeda bombmakers operating out of joint al-

   Qaeda/Haqqani Network bomb factories in Pakistan, who converted such fertilizer into an al-

   Qaeda CAN fertilizer bomb derived from al-Qaeda schematics, which the Haqqani Network then

   distributed to the cell that helped commit the attack.

            2023. SGT Ristau’s murder would have violated the laws of war if these terrorist groups

   were subject to them because, among other reasons, the terrorist(s) who planted the IED neither

   wore uniforms nor otherwise identified themselves as enemy combatants, and the passive

   detonation system indiscriminately placed civilians at risk.

            2024. SGT Ristau was a national of the United States at the time of the attack and his

   death.




                                                   548
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 564 of 606 PageID #: 564




           2025. As a result of the July 13, 2012 attack, SGT Ristau was injured in his person

   and/or property. The Plaintiff members of the Ristau Family are the survivors and/or heirs of

   SGT Ristau and are entitled to recover for the damages SGT Ristau sustained.

           The Heath Robinson Family

           2026. Senior Chief Petty Officer Heath Robinson served in Afghanistan as a member of

   the U.S. Navy. On August 6, 2011, SCPO Robinson was injured in an attack on a helicopter in

   Wardak Province, Afghanistan. SCPO Robinson died on August 6, 2011 as a result of injuries

   sustained during the attack.

           2027. The attack was committed by the Haqqani Network (a part of the Taliban) and al-

   Qaeda (a designated FTO at the time of the attack) acting together in a joint al-Qaeda-Taliban

   cell.

           2028. SCPO Robinson’s murder would have violated the laws of war if these terrorist

   groups were subject to them because, among other reasons, the terrorist(s) who committed the

   attack neither wore uniforms nor otherwise identified themselves as enemy combatants.

           2029. SCPO Robinson was a national of the United States at the time of the attack and

   his death.

           2030. As a result of the August 6, 2011 attack, SCPO Robinson was injured in his

   person and/or property. The Plaintiff members of the Robinson Family are the survivors and/or

   heirs of SCPO Robinson and are entitled to recover for the damages SCPO Robinson sustained.

           The Rodolfo Rodriguez Family

           2031. Sergeant Rodolfo Rodriguez Jr. served in Afghanistan as a member of the U.S.

   Army. On September 14, 2011, SGT Rodriguez was injured in an IED attack in Kandahar




                                                 549
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 565 of 606 PageID #: 565




   Province, Afghanistan. SGT Rodriguez died on September 14, 2011 as a result of injuries

   sustained during the attack.

             2032. The attack was committed by the Taliban.

             2033. On information and belief, the explosive used in the attack was a CAN fertilizer

   bomb sourced from Fatima Group CAN Fertilizer, which the Haqqani Network purchased from

   Fatima or Pakarab and then transported to al-Qaeda bombmakers operating out of joint al-

   Qaeda/Haqqani Network bomb factories in Pakistan, who converted such fertilizer into an al-

   Qaeda CAN fertilizer bomb derived from al-Qaeda schematics, which the Haqqani Network then

   distributed to the cell that helped commit the attack.

             2034. SGT Rodriguez’s murder would have violated the laws of war if these terrorist

   groups were subject to them because, among other reasons, the terrorist(s) who planted the IED

   neither wore uniforms nor otherwise identified themselves as enemy combatants, and the passive

   detonation system indiscriminately placed civilians at risk.

             2035. SGT Rodriguez was a national of the United States at the time of the attack and

   his death.

             2036. As a result of the September 14, 2011 attack, SGT Rodriguez was injured in his

   person and/or property. The Plaintiff members of the Rodriguez Family are the survivors and/or

   heirs of SGT Rodriguez and are entitled to recover for the damages SGT Rodriguez sustained.

             The Matthew Roland Family

             2037. Captain Matthew Roland served in Afghanistan as a member of the U.S. Air

   Force. On August 26, 2015, Capt Roland was injured in an insider attack in Helmand Province,

   Afghanistan. Capt Roland died on August 26, 2015 as a result of injuries sustained during the

   attack.




                                                   550
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 566 of 606 PageID #: 566




            2038. The attack was committed by the Taliban.

            2039. Capt Roland’s murder would have violated the laws of war if these terrorist

   groups were subject to them because, among other reasons, the terrorist who committed the

   attack was unlawfully wearing the uniform of his enemy.

            2040. Capt Roland was a national of the United States at the time of the attack and his

   death.

            2041. As a result of the August 26, 2015 attack, Capt Roland was injured in his person

   and/or property. The Plaintiff members of the Roland Family are the survivors and/or heirs of

   Capt Roland and are entitled to recover for the damages Capt Roland sustained.

            The Angel Roldan Jr. Family

            2042. Mr. Angel Roldan Jr. served in Afghanistan as a civilian government contractor

   working for DynCorp, Int'l. On May 16, 2013, Mr. Roldan was injured in a suicide bombing

   attack in Kabul Province, Afghanistan. Mr. Roldan died on May 16, 2013 as a result of injuries

   sustained during the attack.

            2043. The attack was committed by the Taliban (including the Haqqani Network, a

   designated FTO at the time of the attack), al-Qaeda (a designated FTO at the time of the attack),

   and Lashkar-e-Taiba (a designated FTO at the time of the attack) acting together as a joint cell in

   the Kabul Attack Network.

            2044. On information and belief, the explosive used in the attack was a CAN fertilizer

   bomb sourced from Fatima Group CAN Fertilizer, which the Haqqani Network purchased from

   Fatima or Pakarab and then transported to al-Qaeda bombmakers operating out of joint al-

   Qaeda/Haqqani Network bomb factories in Pakistan, who converted such fertilizer into an al-




                                                   551
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 567 of 606 PageID #: 567




   Qaeda CAN fertilizer bomb derived from al-Qaeda schematics, which the Haqqani Network then

   distributed to the cell that helped commit the attack.

            2045. Mr. Roldan’s murder would have violated the laws of war if these terrorist groups

   were subject to them because, among other reasons, he was a civilian not taking part in

   hostilities, the terrorist(s) who committed the attack neither wore uniforms nor otherwise

   identified themselves as enemy combatants, and the attack indiscriminately placed civilians at

   risk, killing multiple Afghan civilians, because it occurred on a public road during rush hour.

            2046. Mr. Roldan was a national of the United States at the time of the attack and his

   death.

            2047. As a result of the May 16, 2013 attack, Mr. Roldan was injured in his person

   and/or property. The Plaintiff members of the Roldan Family are the survivors and/or heirs of

   Mr. Roldan and are entitled to recover for the damages Mr. Roldan sustained.

            The Christopher Rosebrock Family

            2048. Plaintiff Captain Christopher Rosebrock served in Afghanistan as a member of

   the U.S. Army National Guard. On April 4, 2012, CPT Rosebrock was injured in a suicide

   bombing attack in Faryab Province, Afghanistan. The attack severely wounded CPT Rosebrock,

   who suffers from disfiguring shrapnel wounds, muscular atrophy and reduced mobility in his left

   arm, a concussion, a traumatic brain injury, and blown eardrums. As a result of the April 4, 2012

   attack and his injuries, CPT Rosebrock has experienced severe physical and emotional pain and

   suffering.

            2049. The attack was committed by al-Qaeda (a designated FTO at the time of the

   attack) and the Taliban acting together in a joint al-Qaeda-Taliban cell with al-Qaeda providing,

   indoctrinating, and training the suicide bomber.




                                                   552
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 568 of 606 PageID #: 568




          2050. On information and belief, the explosive used in the attack was a CAN fertilizer

   bomb sourced from Fatima Group CAN Fertilizer, which the Haqqani Network purchased from

   Fatima or Pakarab and then transported to al-Qaeda bombmakers operating out of joint al-

   Qaeda/Haqqani Network bomb factories in Pakistan, who converted such fertilizer into an al-

   Qaeda CAN fertilizer bomb derived from al-Qaeda schematics, which the Haqqani Network then

   distributed to the cell that helped commit the attack.

          2051. The attack that injured CPT Rosebrock would have violated the laws of war if

   these terrorist groups were subject to them because, among other reasons, the terrorist(s) who

   committed the attack neither wore uniforms nor otherwise identified themselves as enemy

   combatants and the attack indiscriminately placed civilians at risk, killing multiple Afghan

   civilians, because it occurred in a public park.

          2052. CPT Rosebrock was a national of the United States at the time of the attack, and

   remains one to this day.

          2053. As a result of the April 4, 2012 attack and CPT Rosebrock’s injuries, each

   member of the Rosebrock Family has experienced severe mental anguish, emotional pain and

   suffering.

          The Nicholas Rozanski Family

          2054. Captain Nicholas Rozanski served in Afghanistan as a member of the U.S. Army

   National Guard. On April 4, 2012, CPT Rozanski was injured in a suicide bombing attack in

   Faryab Province, Afghanistan. CPT Rozanski died on April 4, 2012 as a result of injuries

   sustained during the attack.




                                                      553
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 569 of 606 PageID #: 569




            2055. The attack was committed by al-Qaeda (a designated FTO at the time of the

   attack) and the Taliban acting together in a joint al-Qaeda-Taliban cell with al-Qaeda providing,

   indoctrinating, and training the suicide bomber.

            2056. On information and belief, the explosive used in the attack was a CAN fertilizer

   bomb sourced from Fatima Group CAN Fertilizer, which the Haqqani Network purchased from

   Fatima or Pakarab and then transported to al-Qaeda bombmakers operating out of joint al-

   Qaeda/Haqqani Network bomb factories in Pakistan, who converted such fertilizer into an al-

   Qaeda CAN fertilizer bomb derived from al-Qaeda schematics, which the Haqqani Network then

   distributed to the cell that helped commit the attack.

            2057. CPT Rozanski’s murder would have violated the laws of war if these terrorist

   groups were subject to them because, among other reasons, the terrorist(s) who committed the

   attack neither wore uniforms nor otherwise identified themselves as enemy combatants, and the

   attack indiscriminately placed civilians at risk, killing multiple Afghan civilians, because it

   occurred in a public park.

            2058. CPT Rozanski was a national of the United States at the time of the attack and his

   death.

            2059. As a result of the April 4, 201 attack, CPT Rozanski was injured in his person

   and/or property. The Plaintiff members of the Rozanski Family are the survivors and/or heirs of

   CPT Rozanski and are entitled to recover for the damages CPT Rozanski sustained.

            The Joshua Sams Family

            2060. Plaintiff Corporal Joshua Sams served in Afghanistan as a member of the U.S.

   Marine Corps. On January 12, 2012, Cpl Sams was injured in an IED attack in Helmand

   Province, Afghanistan. The attack severely wounded Cpl Sams, who suffered the loss of both




                                                   554
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 570 of 606 PageID #: 570




   legs above the knee, the loss of two fingers on his right hand, and the loss of his right testicle, his

   anus, his colon, and three feet of intestine, which results in erectile dysfunction, urinary

   incontinence, and a permanent colostomy. As a result of the January 12, 2012 attack and his

   injuries, Cpl Sams has experienced severe physical and emotional pain and suffering.

          2061. The attack was committed by the Taliban.

          2062. On information and belief, the explosive used in the attack was a CAN fertilizer

   bomb sourced from Fatima Group CAN Fertilizer, which the Haqqani Network purchased from

   Fatima or Pakarab and then transported to al-Qaeda bombmakers operating out of joint al-

   Qaeda/Haqqani Network bomb factories in Pakistan, who converted such fertilizer into an al-

   Qaeda CAN fertilizer bomb derived from al-Qaeda schematics, which the Haqqani Network then

   distributed to the cell that helped commit the attack.

          2063. The attack that injured Cpl Sams would have violated the laws of war if these

   terrorist groups were subject to them because, among other reasons, the terrorist(s) who

   committed the attack neither wore uniforms nor otherwise identified themselves as enemy

   combatants.

          2064. Cpl Sams was a national of the United States at the time of the attack, and

   remains one to this day.

          2065. As a result of the January 12, 2012 attack and Cpl Sams’s injuries, each member

   of the Sams Family has experienced severe mental anguish, emotional pain and suffering.

          The Rex Schad Family

          2066. Staff Sergeant Rex Schad served in Afghanistan as a member of the U.S. Army.

   On March 11, 2013, SSG Schad was injured in an insider attack in Wardak Province,




                                                    555
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 571 of 606 PageID #: 571




   Afghanistan. SSG Schad died on March 11, 2013 as a result of injuries sustained during the

   attack.

             2067. The attack was committed by the Haqqani Network, a part of the Taliban.

             2068. SSG Schad’s murder would have violated the laws of war if these terrorist groups

   were subject to them because, among other reasons, the terrorist who committed the attack was

   unlawfully wearing the uniform of his enemy.

             2069. SSG Schad was a national of the United States at the time of the attack and his

   death.

             2070. As a result of the March 11, 2013 attack, SSG Schad was injured in his person

   and/or property. The Plaintiff members of the Schad Family are the survivors and/or heirs of

   SSG Schad and are entitled to recover for the damages SSG Schad sustained.

             The Jonathan Schmidt Family

             2071. Staff Sergeant Jonathan Schmidt served in Afghanistan as a member of the U.S.

   Army. On September 1, 2012, SSG Schmidt was injured in a complex attack involving small

   arms fire and grenades in Ghazni Province, Afghanistan. SSG Schmidt died on September 1,

   2012 as a result of injuries sustained during the attack.

             2072. The attack was committed by the Haqqani Network, a part of the Taliban.

             2073. SSG Schmidt’s murder would have violated the laws of war if these terrorist

   groups were subject to them because, among other reasons, the terrorist(s) who committed the

   attack neither wore uniforms nor otherwise identified themselves as enemy combatants.

             2074. SSG Schmidt was a national of the United States at the time of the attack and his

   death.




                                                    556
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 572 of 606 PageID #: 572




          2075. As a result of the September 1, 2012 attack, SSG Schmidt was injured in his

   person and/or property. The Plaintiff members of the Schmidt Family are the survivors and/or

   heirs of SSG Schmidt and are entitled to recover for the damages SSG Schmidt sustained.

          The Mark Schoonhoven Family

          2076. Staff Sergeant Mark Schoonhoven served in Afghanistan as a member of the U.S.

   Army. On December 15, 2012, SSG Schoonhoven was injured in an IED attack in Kabul

   Province, Afghanistan. SSG Schoonhoven died on January 20, 2013 as a result of injuries

   sustained during the attack.

          2077. The attack was committed by the Taliban (including the Haqqani Network, a

   designated FTO at the time of the attack), al-Qaeda (a designated FTO at the time of the attack),

   and Lashkar-e-Taiba (a designated FTO at the time of the attack) acting together as a joint cell in

   the Kabul Attack Network.

          2078. On information and belief, the explosive used in the attack was a CAN fertilizer

   bomb sourced from Fatima Group CAN Fertilizer, which the Haqqani Network purchased from

   Fatima or Pakarab and then transported to al-Qaeda bombmakers operating out of joint al-

   Qaeda/Haqqani Network bomb factories in Pakistan, who converted such fertilizer into an al-

   Qaeda CAN fertilizer bomb derived from al-Qaeda schematics, which the Haqqani Network then

   distributed to the cell that helped commit the attack.

          2079. SSG Schoonhoven’s murder would have violated the laws of war if these terrorist

   groups were subject to them because, among other reasons, the terrorist(s) who committed the

   attack neither wore uniforms nor otherwise identified themselves as enemy combatants and the

   passive detonation system indiscriminately placed civilians at risk.




                                                   557
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 573 of 606 PageID #: 573




            2080. SSG Schoonhoven was a national of the United States at the time of the attack

   and his death.

            2081. As a result of the December 15, 2012 attack, SSG Schoonhoven was injured in his

   person and/or property. The Plaintiff members of the Schoonhoven Family are the survivors

   and/or heirs of SSG Schoonhoven and are entitled to recover for the damages SSG Schoonhoven

   sustained.

            The Jacob Schwallie Family

            2082. Sergeant Jacob Schwallie served in Afghanistan as a member of the U.S. Army.

   On May 7, 2012, SGT Schwallie was injured in an IED attack in Ghazni Province, Afghanistan.

   SGT Schwallie died on May 7, 2012 as a result of injuries sustained during the attack.

            2083. The attack was committed by the Haqqani Network, a part of the Taliban.

            2084. On information and belief, the explosive used in the attack was a CAN fertilizer

   bomb sourced from Fatima Group CAN Fertilizer, which the Haqqani Network purchased from

   Fatima or Pakarab and then transported to al-Qaeda bombmakers operating out of joint al-

   Qaeda/Haqqani Network bomb factories in Pakistan, who converted such fertilizer into an al-

   Qaeda CAN fertilizer bomb derived from al-Qaeda schematics, which the Haqqani Network then

   distributed to the cell that helped commit the attack.

            2085. SGT Schwallie’s murder would have violated the laws of war if these terrorist

   groups were subject to them because, among other reasons, the terrorist(s) who committed the

   attack neither wore uniforms nor otherwise identified themselves as enemy combatants, and the

   passive detonation system indiscriminately placed civilians at risk.

            2086. SGT Schwallie was a national of the United States at the time of the attack and his

   death.




                                                   558
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 574 of 606 PageID #: 574




          2087. As a result of the May 7, 2012 attack, SGT Schwallie was injured in his person

   and/or property. The Plaintiff members of the Schwallie Family are the survivors and/or heirs of

   SGT Schwallie and are entitled to recover for the damages SGT Schwallie sustained.

          The Samuel Shockley Family

          2088. Plaintiff Staff Sergeant Samuel Shockley served in Afghanistan as a member of

   the U.S. Army. On March 17, 2013, SSG Shockley was injured in an IED attack in Kandahar

   Province, Afghanistan. The attack severely wounded SSG Shockley, who suffered the loss of

   both legs above the knee, the loss of his middle finger and index finger on his right hand, a skin

   graph on his right arm from his elbow to his wrist, and missing a testicle. As a result of the

   March 17, 2013 attack and his injuries, SSG Shockley has experienced severe physical and

   emotional pain and suffering.

          2089. The attack was committed by the Taliban.

          2090. On information and belief, the explosive used in the attack was a CAN fertilizer

   bomb sourced from Fatima Group CAN Fertilizer, which the Haqqani Network purchased from

   Fatima or Pakarab and then transported to al-Qaeda bombmakers operating out of joint al-

   Qaeda/Haqqani Network bomb factories in Pakistan, who converted such fertilizer into an al-

   Qaeda CAN fertilizer bomb derived from al-Qaeda schematics, which the Haqqani Network then

   distributed to the cell that helped commit the attack.

          2091. The attack that injured SSG Shockley would have violated the laws of war if these

   terrorist groups were subject to them because, among other reasons, the terrorist(s) who planted

   the IED neither wore uniforms nor otherwise identified themselves as enemy combatants and the

   passive detonation system indiscriminately placed civilians at risk.




                                                   559
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 575 of 606 PageID #: 575




             2092. SSG Shockley was a national of the United States at the time of the attack, and

   remains one to this day.

             2093. As a result of the March 17, 2013 attack and SSG Shockley’s injuries, each

   member of the Shockley Family has experienced severe mental anguish, emotional pain and

   suffering.

             The Forrest Sibley Family

             2094. Staff Sergeant Forrest Sibley served in Afghanistan as a member of the U.S. Air

   Force. On August 26, 2015, SSgt Sibley was injured in an insider attack in Helmand Province,

   Afghanistan. SSgt Sibley died on August 26, 2015 as a result of injuries sustained during the

   attack.

             2095. The attack was committed by the Taliban.

             2096. SSgt Sibley’s murder would have violated the laws of war if these terrorist groups

   were subject to them because, among other reasons, the terrorist who committed the attack was

   unlawfully wearing the uniform of his enemy.

             2097. SSgt Sibley was a national of the United States at the time of the attack and his

   death.

             2098. As a result of the August 26, 2015 attack, SSgt Sibley was injured in his person

   and/or property. The Plaintiff members of the Sibley Family are the survivors and/or heirs of

   SSgt Sibley and are entitled to recover for the damages SSgt Sibley sustained.

             The Billy Siercks Family

             2099. First Sergeant Billy Siercks served in Afghanistan as a member of the U.S. Army.

   On September 27, 2011, 1SG Siercks was injured in an indirect fire attack in Logar Province,




                                                    560
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 576 of 606 PageID #: 576




   Afghanistan. 1SG Siercks died on September 28, 2011 as a result of injuries sustained during the

   attack.

             2100. The attack was committed by the Haqqani Network, a part of the Taliban.

             2101. 1SG Siercks’s murder would have violated the laws of war if these terrorist

   groups were subject to them because, among other reasons, the terrorist(s) who committed the

   attack neither wore uniforms nor otherwise identified themselves as enemy combatants, and

   indiscriminately placed civilians at risk.

             2102. 1SG Siercks was a national of the United States at the time of the attack and his

   death.

             2103. As a result of the September 27, 201 attack, 1SG Siercks was injured in his person

   and/or property. The Plaintiff members of the Siercks Family are the survivors and/or heirs of

   1SG Siercks and are entitled to recover for the damages 1SG Siercks sustained.

             The Anne Smedinghoff Family

             2104. Ms. Anne Smedinghoff served in Afghanistan as a U.S. Foreign Service Officer

   working for the U.S. Department of State. On April 6, 2013, Ms. Smedinghoff was injured in a

   suicide bombing attack in Zabul Province, Afghanistan. Ms. Smedinghoff died on April 6, 2013

   as a result of injuries sustained during the attack.

             2105. The attack was committed by the Taliban (including the Haqqani Network, a

   designated FTO at the time of the attack), al-Qaeda (a designated FTO at the time of the attack),

   and Lashkar-e-Taiba (a designated FTO at the time of the attack) acting together as a joint cell in

   the Kabul Attack Network.

             2106. On information and belief, the explosive used in the attack was a CAN fertilizer

   bomb sourced from Fatima Group CAN Fertilizer, which the Haqqani Network purchased from




                                                    561
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 577 of 606 PageID #: 577




   Fatima or Pakarab and then transported to al-Qaeda bombmakers operating out of joint al-

   Qaeda/Haqqani Network bomb factories in Pakistan, who converted such fertilizer into an al-

   Qaeda CAN fertilizer bomb derived from al-Qaeda schematics, which the Haqqani Network then

   distributed to the cell that helped commit the attack.

             2107. Ms. Smedinghoff’s murder would have violated the laws of war if these terrorist

   groups were subject to them because, among other reasons, she was a civilian State Département

   Employee not taking part in hostilities and escorting Afghan journalists covering American

   officials donating books to a school.

             2108. Ms. Smedinghoff was a national of the United States at the time of the attack and

   her death.

             2109. As a result of the April 6, 2013 attack, Ms. Smedinghoff was injured in her person

   and/or property. The Plaintiff members of the Smedinghoff Family are the survivors and/or heirs

   of Ms. Smedinghoff and are entitled to recover for the damages Ms. Smedinghoff sustained.

             The Orion Sparks Family

             2110. Staff Sergeant Orion Sparks served in Afghanistan as a member of the U.S. Army.

   On September 26, 2012, SSG Sparks was injured in a suicide bombing attack in Logar Province,

   Afghanistan. SSG Sparks died on September 26, 2012 as a result of injuries sustained during the

   attack.

             2111. The attack was committed by the Taliban (including the Haqqani Network, a

   designated FTO at the time of the attack), al-Qaeda (a designated FTO at the time of the attack),

   and Lashkar-e-Taiba (a designated FTO at the time of the attack) acting together as a joint cell in

   the Kabul Attack Network.




                                                   562
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 578 of 606 PageID #: 578




            2112. On information and belief, the explosive used in the attack was a CAN fertilizer

   bomb sourced from Fatima Group CAN Fertilizer, which the Haqqani Network purchased from

   Fatima or Pakarab and then transported to al-Qaeda bombmakers operating out of joint al-

   Qaeda/Haqqani Network bomb factories in Pakistan, who converted such fertilizer into an al-

   Qaeda CAN fertilizer bomb derived from al-Qaeda schematics, which the Haqqani Network then

   distributed to the cell that helped commit the attack.

            2113. SSG Sparks’s murder would have violated the laws of war if these terrorist groups

   were subject to them because, among other reasons, the terrorist(s) who committed the attack

   neither wore uniforms nor otherwise identified themselves as enemy combatants.

            2114. SSG Sparks was a national of the United States at the time of the attack and his

   death.

            2115. As a result of the September 26, 2012 attack, SSG Sparks was injured in his

   person and/or property. The Plaintiff members of the Sparks Family are the survivors and/or

   heirs of SSG Sparks and are entitled to recover for the damages SSG Sparks sustained.

            The Nicholas Spehar Family

            2116. Petty Officer 2nd Class Nicholas Spehar served in Afghanistan as a member of

   the U.S. Navy. On August 6, 2011, PO2 Spehar was injured in an attack on a helicopter in

   Wardak Province, Afghanistan. PO2 Spehar died on August 6, 2011 as a result of injuries

   sustained during the attack.

            2117. The attack was committed by the Haqqani Network (a part of the Taliban) and al-

   Qaeda (a designated FTO at the time of the attack) acting together in a joint al-Qaeda-Taliban

   cell.




                                                   563
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 579 of 606 PageID #: 579




             2118. PO2 Spehar’s murder would have violated the laws of war if these terrorist groups

   were subject to them because, among other reasons, the terrorist(s) who committed the attack

   neither wore uniforms nor otherwise identified themselves as enemy combatants.

             2119. PO2 Spehar was a national of the United States at the time of the attack and his

   death.

             2120. As a result of the August 6, 2011 attack, PO2 Spehar was injured in his person

   and/or property. The Plaintiff members of the Spehar Family are the survivors and/or heirs of

   PO2 Spehar and are entitled to recover for the damages PO2 Spehar sustained.

             The Cameron Stambaugh Family

             2121. Specialist Cameron Stambaugh served in Afghanistan as a member of the U.S.

   Army. On July 8, 2012, SPC Stambaugh was injured in an IED attack in Wardak Province,

   Afghanistan. SPC Stambaugh died on July 8, 2012 as a result of injuries sustained during the

   attack.

             2122. The attack was committed by the Haqqani Network, a part of the Taliban.

             2123. On information and belief, the explosive used in the attack was a CAN fertilizer

   bomb sourced from Fatima Group CAN Fertilizer, which the Haqqani Network purchased from

   Fatima or Pakarab and then transported to al-Qaeda bombmakers operating out of joint al-

   Qaeda/Haqqani Network bomb factories in Pakistan, who converted such fertilizer into an al-

   Qaeda CAN fertilizer bomb derived from al-Qaeda schematics, which the Haqqani Network then

   distributed to the cell that helped commit the attack.

             2124. SPC Stambaugh’s murder would have violated the laws of war if these terrorist

   groups were subject to them because, among other reasons, the terrorist(s) who committed the

   attack neither wore uniforms nor otherwise identified themselves as enemy combatants.




                                                    564
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 580 of 606 PageID #: 580




          2125. SPC Stambaugh was a national of the United States at the time of the attack and

   his death.

          2126. As a result of the July 8, 2012 attack, SPC Stambaugh was injured in his person

   and/or property. The Plaintiff members of the Stambaugh Family are the survivors and/or heirs

   of SPC Stambaugh and are entitled to recover for the damages SPC Stambaugh sustained.

          Daniel Stamper Jr.

          2127. Plaintiff Sergeant Daniel Stamper Jr. served in Afghanistan as a member of the

   U.S. Army. On April 26, 2012, SGT Stamper was injured in an IED attack in Kandahar

   Province, Afghanistan. The attack severely wounded SGT Stamper, who suffers from a

   traumatic brain injury. As a result of the April 26, 2012 attack and his injuries, SGT Stamper has

   experienced severe physical and emotional pain and suffering.

          2128. The attack was committed by the Taliban.

          2129. On information and belief, the explosive used in the attack was a CAN fertilizer

   bomb sourced from Fatima Group CAN Fertilizer, which the Haqqani Network purchased from

   Fatima or Pakarab and then transported to al-Qaeda bombmakers operating out of joint al-

   Qaeda/Haqqani Network bomb factories in Pakistan, who converted such fertilizer into an al-

   Qaeda CAN fertilizer bomb derived from al-Qaeda schematics, which the Haqqani Network then

   distributed to the cell that helped commit the attack.

          2130. The attack that injured SGT Stamper would have violated the laws of war if these

   terrorist groups were subject to them because, among other reasons, the terrorist(s) who

   committed the attack neither wore uniforms nor otherwise identified themselves as enemy

   combatants.




                                                   565
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 581 of 606 PageID #: 581




            2131. SGT Stamper was a national of the United States at the time of the attack, and

   remains one to this day.

            The Michael Strange Family

            2132. Petty Officer 1st Class Michael Strange served in Afghanistan as a member of the

   U.S. Navy. On August 6, 2011, PO1 Strange was injured in an attack on a helicopter in Wardak

   Province, Afghanistan. PO1 Strange died on August 6, 2011 as a result of injuries sustained

   during the attack.

            2133. The attack was committed by the Haqqani Network (a part of the Taliban) and al-

   Qaeda (a designated FTO at the time of the attack) acting together in a joint al-Qaeda-Taliban

   cell.

            2134. PO1 Strange’s murder would have violated the laws of war if these terrorist

   groups were subject to them because, among other reasons, the terrorist(s) who committed the

   attack neither wore uniforms nor otherwise identified themselves as enemy combatants.

            2135. PO1 Strange was a national of the United States at the time of the attack and his

   death.

            2136. As a result of the August 6, 2011 attack, PO1 Strange was injured in his person

   and/or property. The Plaintiff members of the Strange Family are the survivors and/or heirs of

   PO1 Strange and are entitled to recover for the damages PO1 Strange sustained.

            The Joshua Strickland Family

            2137. Sergeant Joshua Strickland served in Afghanistan as a member of the U.S. Army.

   On September 21, 2013, SGT Strickland was injured in an insider attack in Paktia Province,

   Afghanistan. SGT Strickland died on September 21, 2013 as a result of injuries sustained during

   the attack.




                                                   566
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 582 of 606 PageID #: 582




          2138. The attack was committed by the Haqqani Network (a designated FTO at the time

   of the attack and a part of the Taliban), al-Qaeda (a designated FTO at the time of the attack),

   and Lashkar-e-Taiba (a designated FTO at the time of the attack) acting together in a joint cell.

          2139. SGT Strickland’s murder would have violated the laws of war if these terrorist

   groups were subject to them because, among other reasons, the terrorist who committed the

   attack was unlawfully wearing the uniform of his enemy.

          2140. SGT Strickland was a national of the United States at the time of the attack and

   his death.

          2141. As a result of the September 21, 2013 attack, SGT Strickland was injured in his

   person and/or property. The Plaintiff members of the Strickland Family are the survivors and/or

   heirs of SGT Strickland and are entitled to recover for the damages SGT Strickland sustained.

          The Cameron Stuart Family

          2142. Plaintiff Sergeant Cameron Stuart served in Afghanistan as a member of the U.S.

   Army. On September 30, 2012, SGT Stuart was injured in an IED attack in Kandahar Province,

   Afghanistan. The attack severely wounded SGT Stuart, who suffers from severe damage to his

   left leg, which required several reconstructive surgeries. As a result of the September 30, 2012

   attack and his injuries, SGT Stuart has experienced severe physical and emotional pain and

   suffering.

          2143. The attack was committed by the Taliban.

          2144. On information and belief, the explosive used in the attack was a CAN fertilizer

   bomb sourced from Fatima Group CAN Fertilizer, which the Haqqani Network purchased from

   Fatima or Pakarab and then transported to al-Qaeda bombmakers operating out of joint al-

   Qaeda/Haqqani Network bomb factories in Pakistan, who converted such fertilizer into an al-




                                                   567
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 583 of 606 PageID #: 583




   Qaeda CAN fertilizer bomb derived from al-Qaeda schematics, which the Haqqani Network then

   distributed to the cell that helped commit the attack.

          2145. The attack that injured SGT Stuart would have violated the laws of war if these

   terrorist groups were subject to them because, among other reasons, the terrorist(s) who

   committed the attack neither wore uniforms nor otherwise identified themselves as enemy

   combatants.

          2146. SGT Stuart was a national of the United States at the time of the attack, and

   remains one to this day.

          2147. As a result of the September 30, 2012 attack and SGT Stuart’s injuries, each

   member of the Stuart Family has experienced severe mental anguish, emotional pain and

   suffering.

          Joshua Sust

          2148. Plaintiff Corporal Joshua Sust served in Afghanistan as a member of the U.S.

   Marine Corps. On November 12, 2011, Cpl Sust was injured in an IED attack in Helmand

   Province, Afghanistan. The attack severely wounded Cpl Sust, who suffered the loss of his left

   leg below the knee, open fractures to his left arm, a traumatic brain injury, and post-traumatic

   stress disorder. As a result of the November 12, 2011 attack and his injuries, Cpl Sust has

   experienced severe physical and emotional pain and suffering.

          2149. The attack was committed by the Taliban.

          2150. On information and belief, the explosive used in the attack was a CAN fertilizer

   bomb sourced from Fatima Group CAN Fertilizer, which the Haqqani Network purchased from

   Fatima or Pakarab and then transported to al-Qaeda bombmakers operating out of joint al-

   Qaeda/Haqqani Network bomb factories in Pakistan, who converted such fertilizer into an al-




                                                   568
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 584 of 606 PageID #: 584




   Qaeda CAN fertilizer bomb derived from al-Qaeda schematics, which the Haqqani Network then

   distributed to the cell that helped commit the attack.

          2151. The attack that injured Cpl Sust would have violated the laws of war if these

   terrorist groups were subject to them because, among other reasons, the terrorist(s) who planted

   the IED neither wore uniforms nor otherwise identified themselves as enemy combatants and the

   passive detonation system indiscriminately placed civilians at risk.

          2152. Cpl Sust was a national of the United States at the time of the attack, and remains

   one to this day.

          The Barry Sutton Family

          2153. Mr. Barry Sutton served in Afghanistan as a civilian government contractor

   working for DynCorp Free Zone. On August 22, 2015, Mr. Sutton was injured in a suicide

   bombing attack in Kabul Province, Afghanistan. Mr. Sutton died on August 22, 2015 as a result

   of injuries sustained during the attack.

          2154. The attack was committed by the Taliban (including the Haqqani Network, a

   designated FTO at the time of the attack), al-Qaeda (a designated FTO at the time of the attack),

   and Lashkar-e-Taiba (a designated FTO at the time of the attack) acting together as a joint cell in

   the Kabul Attack Network.

          2155. On information and belief, the explosive used in the attack was a CAN fertilizer

   bomb sourced from Fatima Group CAN Fertilizer, which the Haqqani Network purchased from

   Fatima or Pakarab and then transported to al-Qaeda bombmakers operating out of joint al-

   Qaeda/Haqqani Network bomb factories in Pakistan, who converted such fertilizer into an al-

   Qaeda CAN fertilizer bomb derived from al-Qaeda schematics, which the Haqqani Network then

   distributed to the cell that helped commit the attack.




                                                   569
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 585 of 606 PageID #: 585




            2156. Mr. Sutton’s murder would have violated the laws of war if these terrorist groups

   were subject to them because, among other reasons, he was a civilian not taking part in

   hostilities, the terrorist(s) who committed the attack neither wore uniforms nor otherwise

   identified themselves as enemy combatants, and the attack indiscriminately placed civilians at

   risk, killing multiple Afghan civilians, because it occurred on a public road in front of a private

   hospital.

            2157. Mr. Sutton was a national of the United States at the time of the attack and his

   death.

            2158. As a result of the August 22, 2015 attack, Mr. Sutton was injured in his person

   and/or property. The Plaintiff members of the Sutton Family are the survivors and/or heirs of

   Mr. Sutton and are entitled to recover for the damages Mr. Sutton sustained.

            The Ryan Timoney Family

            2159. Plaintiff Captain Ryan Timoney served in Afghanistan as a member of the U.S.

   Army. On May 20, 2012, CPT Timoney was injured in a suicide bombing attack in Uruzgan

   Province, Afghanistan. The attack severely wounded CPT Timoney, who lost his left leg,

   suffered shrapnel injuries to his left arm, left chest, left abdomen, and left side of his skull, and

   also suffers from spinal pain, seizures, physical limitations, and speech, reading and vision

   difficulty. As a result of the May 20, 2012 attack and his injuries, CPT Timoney has experienced

   severe physical and emotional pain and suffering.

            2160. The attack was committed by the Taliban and al-Qaeda (a designated FTO at the

   time of the attack) acting together in a joint al-Qaeda-Taliban cell with al-Qaeda providing and

   training the suicide bomber.




                                                    570
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 586 of 606 PageID #: 586




          2161. On information and belief, the explosive used in the attack was a CAN fertilizer

   bomb sourced from Fatima Group CAN Fertilizer, which the Haqqani Network purchased from

   Fatima or Pakarab and then transported to al-Qaeda bombmakers operating out of joint al-

   Qaeda/Haqqani Network bomb factories in Pakistan, who converted such fertilizer into an al-

   Qaeda CAN fertilizer bomb derived from al-Qaeda schematics, which the Haqqani Network then

   distributed to the cell that helped commit the attack.

          2162. The attack that injured CPT Timoney would have violated the laws of war if these

   terrorist groups were subject to them because, among other reasons, the terrorist(s) who

   committed the attack neither wore uniforms nor otherwise identified themselves as enemy

   combatants.

          2163. CPT Timoney was a national of the United States at the time of the attack, and

   remains one to this day.

          2164. As a result of the May 20, 2012 attack and CPT Timoney’s injuries, each member

   of the Timoney Family has experienced severe mental anguish, emotional pain and suffering.

          Frederick Tolon

          2165. Plaintiff Sergeant Frederick Tolon served in Afghanistan as a member of the U.S.

   Army. On October 10, 2011, SGT Tolon was injured in a complex attack involving small arms

   fire and indirect fire in Kandahar Province, Afghanistan. The attack severely wounded SGT

   Tolon, who suffers from severely deforming scarring on his chest with shrapnel pieces remaining

   in his chest, nerve damage to, and very limited mobility of, the right arm, permanent partial

   vision loss, traumatic brain injury, tinnitus, post-traumatic stress disorder, and anxiety. As a

   result of the October 10, 2011 attack and his injuries, SGT Tolon has experienced severe

   physical and emotional pain and suffering.




                                                   571
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 587 of 606 PageID #: 587




          2166. The attack was committed by the Taliban.

          2167. The attack that injured SGT Tolon would have violated the laws of war if these

   terrorist groups were subject to them because, among other reasons, the terrorist(s) who

   committed the attack neither wore uniforms nor otherwise identified themselves as enemy

   combatants.

          2168. SGT Tolon was a national of the United States at the time of the attack, and

   remains one to this day.

          The Aaron Torian Family

          2169. Master Sergeant Aaron Torian served in Afghanistan as a member of the U.S.

   Marine Corps. On February 15, 2014, MSgt Torian was injured in an IED attack in Helmand

   Province, Afghanistan. MSgt Torian died on February 15, 2014 as a result of injuries sustained

   during the attack.

          2170. The attack was committed by the Taliban.

          2171. On information and belief, the explosive used in the attack was a CAN fertilizer

   bomb sourced from Fatima Group CAN Fertilizer, which the Haqqani Network purchased from

   Fatima or Pakarab and then transported to al-Qaeda bombmakers operating out of joint al-

   Qaeda/Haqqani Network bomb factories in Pakistan, who converted such fertilizer into an al-

   Qaeda CAN fertilizer bomb derived from al-Qaeda schematics, which the Haqqani Network then

   distributed to the cell that helped commit the attack.

          2172. MSgt Torian’s murder would have violated the laws of war if these terrorist

   groups were subject to them because, among other reasons, the terrorist(s) who planted the IED

   neither wore uniforms nor otherwise identified themselves as enemy combatants, and the passive

   detonation system indiscriminately placed civilians at risk.




                                                   572
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 588 of 606 PageID #: 588




            2173. MSgt Torian was a national of the United States at the time of the attack and his

   death.

            2174. As a result of the February 15, 2014 attack, MSgt Torian was injured in his person

   and/or property. The Plaintiff members of the Torian Family are the survivors and/or heirs of

   MSgt Torian and are entitled to recover for the damages MSgt Torian sustained.

            The Jon Townsend Family

            2175. Private First Class Jon Townsend served in Afghanistan as a member of the U.S.

   Army. On September 16, 2012, PFC Townsend was injured in an insider attack in Zabul

   Province, Afghanistan. PFC Townsend died on September 16, 2012 as a result of injuries

   sustained during the attack.

            2176. The attack was committed by the Haqqani Network, a part of the Taliban.

            2177. PFC Townsend’s murder would have violated the laws of war if these terrorist

   groups were subject to them because, among other reasons, the terrorist who committed the

   attack was unlawfully wearing the uniform of his enemy.

            2178. PFC Townsend was a national of the United States at the time of the attack and

   his death.

            2179. As a result of the September 16, 2012 attack, PFC Townsend was injured in his

   person and/or property. The Plaintiff members of the Townsend Family are the survivors and/or

   heirs of PFC Townsend and are entitled to recover for the damages PFC Townsend sustained.

            Kevin Trimble

            2180. Plaintiff Private First Class Kevin Trimble served in Afghanistan as a member of

   the U.S. Army. On September 17, 2012, PFC Trimble was injured in an IED attack in Kandahar

   Province, Afghanistan. The attack severely wounded PFC Trimble, who lost both legs above the




                                                   573
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 589 of 606 PageID #: 589




   knee, lost his left arm above the elbow, and also suffers from post-traumatic stress disorder and

   partial hearing loss. As a result of the September 17, 2012 attack and his injuries, PFC Trimble

   has experienced severe physical and emotional pain and suffering.

          2181. The attack was committed by the Taliban.

          2182. On information and belief, the explosive used in the attack was a CAN fertilizer

   bomb sourced from Fatima Group CAN Fertilizer, which the Haqqani Network purchased from

   Fatima or Pakarab and then transported to al-Qaeda bombmakers operating out of joint al-

   Qaeda/Haqqani Network bomb factories in Pakistan, who converted such fertilizer into an al-

   Qaeda CAN fertilizer bomb derived from al-Qaeda schematics, which the Haqqani Network then

   distributed to the cell that helped commit the attack.

          2183. The attack that injured PFC Trimble would have violated the laws of war if these

   terrorist groups were subject to them because, among other reasons, the terrorist(s) who planted

   the IED neither wore uniforms nor otherwise identified themselves as enemy combatants and the

   passive detonation system indiscriminately placed civilians at risk.

          2184. PFC Trimble was a national of the United States at the time of the attack, and

   remains one to this day.

          Christopher Van Etten

          2185. Plaintiff Corporal Christopher Van Etten served in Afghanistan as a member of

   the U.S. Marine Corps. On June 13, 2012, Cpl Van Etten was injured in an IED attack in

   Helmand Province, Afghanistan. The attack severely wounded Cpl Van Etten, who suffered the

   loss of his right leg below the knee, the loss of his left leg above the knee, and a traumatic brain

   injury. As a result of the June 13, 2012 attack and his injuries, Cpl Van Etten has experienced

   severe physical and emotional pain and suffering.




                                                   574
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 590 of 606 PageID #: 590




           2186. The attack was committed by the Taliban.

           2187. On information and belief, the explosive used in the attack was a CAN fertilizer

   bomb sourced from Fatima Group CAN Fertilizer, which the Haqqani Network purchased from

   Fatima or Pakarab and then transported to al-Qaeda bombmakers operating out of joint al-

   Qaeda/Haqqani Network bomb factories in Pakistan, who converted such fertilizer into an al-

   Qaeda CAN fertilizer bomb derived from al-Qaeda schematics, which the Haqqani Network then

   distributed to the cell that helped commit the attack.

           2188. The attack that injured Cpl Van Etten would have violated the laws of war if these

   terrorist groups were subject to them because, among other reasons, the terrorist(s) who planted

   the IED neither wore uniforms nor otherwise identified themselves as enemy combatants and the

   passive detonation system indiscriminately placed civilians at risk.

           2189. Cpl Van Etten was a national of the United States at the time of the attack, and

   remains one to this day.

           The Aaron Vaughn Family

           2190. Chief Petty Officer Aaron Vaughn served in Afghanistan as a member of the U.S.

   Navy. On August 6, 2011, CPO Vaughn was injured in an attack on a helicopter in Wardak

   Province, Afghanistan. CPO Vaughn died on August 6, 2011 as a result of injuries sustained

   during the attack.

           2191. The attack was committed by the Haqqani Network (a part of the Taliban) and al-

   Qaeda (a designated FTO at the time of the attack) acting together in a joint al-Qaeda-Taliban

   cell.




                                                   575
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 591 of 606 PageID #: 591




            2192. CPO Vaughn’s murder would have violated the laws of war if these terrorist

   groups were subject to them because, among other reasons, the terrorist(s) who committed the

   attack neither wore uniforms nor otherwise identified themselves as enemy combatants.

            2193. CPO Vaughn was a national of the United States at the time of the attack and his

   death.

            2194. As a result of the August 6, 2011 attack, CPO Vaughn was injured in his person

   and/or property. The Plaintiff members of the Vaughn Family are the survivors and/or heirs of

   CPO Vaughn and are entitled to recover for the damages CPO Vaughn sustained.

            The Kraig Vickers Family

            2195. Senior Chief Petty Officer Kraig Vickers served in Afghanistan as a member of

   the U.S. Navy. On August 6, 2011, SCPO Vickers was injured in an attack on a helicopter in

   Wardak Province, Afghanistan. SCPO Vickers died on August 6, 2011 as a result of injuries

   sustained during the attack.

            2196. The attack was committed by the Haqqani Network (a part of the Taliban) and al-

   Qaeda (a designated FTO at the time of the attack) acting together in a joint al-Qaeda-Taliban

   cell.

            2197. SCPO Vickers’s murder would have violated the laws of war if these terrorist

   groups were subject to them because, among other reasons, the terrorist(s) who committed the

   attack neither wore uniforms nor otherwise identified themselves as enemy combatants.

            2198. SCPO Vickers was a national of the United States at the time of the attack and his

   death.




                                                  576
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 592 of 606 PageID #: 592




          2199. As a result of the August 6, 2011 attack, SCPO Vickers was injured in his person

   and/or property. The Plaintiff members of the Vickers Family are the survivors and/or heirs of

   SCPO Vickers and are entitled to recover for the damages SCPO Vickers sustained.

          The Seth Wakeling Family

          2200. Plaintiff Specialist Seth Wakeling served in Afghanistan as a member of the U.S.

   Army. On September 26, 2013, SPC Wakeling was injured in an IED attack in Wardak

   Province, Afghanistan. The attack severely wounded SPC Wakeling, who lost his left leg below

   the knee and sustained other severe injuries. As a result of the September 26, 2013 attack and his

   injuries, SPC Wakeling has experienced severe physical and emotional pain and suffering.

          2201. The attack was committed by the Haqqani Network, a designated FTO at the time

   of the attack and part of the Taliban.

          2202. On information and belief, the explosive used in the attack was a CAN fertilizer

   bomb sourced from Fatima Group CAN Fertilizer, which the Haqqani Network purchased from

   Fatima or Pakarab and then transported to al-Qaeda bombmakers operating out of joint al-

   Qaeda/Haqqani Network bomb factories in Pakistan, who converted such fertilizer into an al-

   Qaeda CAN fertilizer bomb derived from al-Qaeda schematics, which the Haqqani Network then

   distributed to the cell that helped commit the attack.

          2203. The attack that injured SPC Wakeling would have violated the laws of war if

   these terrorist groups were subject to them because, among other reasons, the terrorist(s) who

   committed the attack neither wore uniforms nor otherwise identified themselves as enemy

   combatants.

          2204. SPC Wakeling was a national of the United States at the time of the attack, and

   remains one to this day.




                                                   577
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 593 of 606 PageID #: 593




            2205. As a result of the September 26, 2013 attack and SPC Wakeling’s injuries, each

   member of the Wakeling Family has experienced severe mental anguish, emotional pain and

   suffering.

            The Nickolas Welch Family

            2206. Specialist Nickolas Welch served in Afghanistan as a member of the U.S. Army.

   On July 23, 2013, SPC Welch was injured in an IED attack in Wardak Province, Afghanistan.

   SPC Welch died on August 6, 2013 as a result of injuries sustained during the attack.

            2207. The attack was committed by the Haqqani Network, a designated FTO at the time

   of the attack and part of the Taliban.

            2208. On information and belief, the explosive used in the attack was a CAN fertilizer

   bomb sourced from Fatima Group CAN Fertilizer, which the Haqqani Network purchased from

   Fatima or Pakarab and then transported to al-Qaeda bombmakers operating out of joint al-

   Qaeda/Haqqani Network bomb factories in Pakistan, who converted such fertilizer into an al-

   Qaeda CAN fertilizer bomb derived from al-Qaeda schematics, which the Haqqani Network then

   distributed to the cell that helped commit the attack.

            2209. SPC Welch’s murder would have violated the laws of war if these terrorist groups

   were subject to them because, among other reasons, the terrorist(s) who planted the IED neither

   wore uniforms nor otherwise identified themselves as enemy combatants, and the passive

   detonation system indiscriminately placed civilians at risk.

            2210. SPC Welch was a national of the United States at the time of the attack and his

   death.




                                                   578
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 594 of 606 PageID #: 594




            2211. As a result of the July 23, 2013 attack, SPC Welch was injured in his person

   and/or property. The Plaintiff members of the Welch Family are the survivors and/or heirs of

   SPC Welch and are entitled to recover for the damages SPC Welch sustained.

            The Jeffrey White Jr. Family

            2212. Specialist Jeffrey White Jr. served in Afghanistan as a member of the U.S. Army.

   On April 3, 2012, SPC White was injured in an IED attack in Khost Province, Afghanistan. SPC

   White died on April 3, 2012 as a result of injuries sustained during the attack.

            2213. The attack was committed by the Haqqani Network (a part of the Taliban), al-

   Qaeda (a designated FTO at the time of the attack), and Lashkar-e-Taiba (a designated FTO at

   the time of the attack) acting together in a joint cell.

            2214. On information and belief, the explosive used in the attack was a CAN fertilizer

   bomb sourced from Fatima Group CAN Fertilizer, which the Haqqani Network purchased from

   Fatima or Pakarab and then transported to al-Qaeda bombmakers operating out of joint al-

   Qaeda/Haqqani Network bomb factories in Pakistan, who converted such fertilizer into an al-

   Qaeda CAN fertilizer bomb derived from al-Qaeda schematics, which the Haqqani Network then

   distributed to the cell that helped commit the attack.

            2215. SPC White’s murder would have violated the laws of war if these terrorist groups

   were subject to them because, among other reasons, the terrorist(s) who planted the IED neither

   wore uniforms nor otherwise identified themselves as enemy combatants, and the passive

   detonation system indiscriminately placed civilians at risk.

            2216. SPC White was a national of the United States at the time of the attack and his

   death.




                                                     579
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 595 of 606 PageID #: 595




          2217. As a result of the April 3, 2012 attack, SPC White was injured in his person

   and/or property. The Plaintiff members of the White Family are the survivors and/or heirs of

   SPC White and are entitled to recover for the damages SPC White sustained.

          The James Wickliff Chacin Family

          2218. Specialist James Wickliff Chacin served in Afghanistan as a member of the U.S.

   Army. On August 12, 2013, SPC Wickliff Chacin was injured in an IED attack in Logar

   Province, Afghanistan. SPC Wickliff Chacin died on September 20, 2013 as a result of injuries

   sustained during the attack.

          2219. The attack was committed by the Haqqani Network, a designated FTO at the time

   of the attack and part of the Taliban.

          2220. On information and belief, the explosive used in the attack was a CAN fertilizer

   bomb sourced from Fatima Group CAN Fertilizer, which the Haqqani Network purchased from

   Fatima or Pakarab and then transported to al-Qaeda bombmakers operating out of joint al-

   Qaeda/Haqqani Network bomb factories in Pakistan, who converted such fertilizer into an al-

   Qaeda CAN fertilizer bomb derived from al-Qaeda schematics, which the Haqqani Network then

   distributed to the cell that helped commit the attack.

          2221. SPC Wickliff-Chacin’s murder would have violated the laws of war if these

   terrorist groups were subject to them because, among other reasons, the terrorist(s) who planted

   the IED neither wore uniforms nor otherwise identified themselves as enemy combatants, and the

   passive detonation system indiscriminately placed civilians at risk.

          2222. SPC Wickliff Chacin was a national of the United States at the time of the attack

   and his death.




                                                   580
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 596 of 606 PageID #: 596




          2223. As a result of the August 12, 2013 attack, SPC Wickliff Chacin was injured in his

   person and/or property. The Plaintiff members of the Wickliff Chacin Family are the survivors

   and/or heirs of SPC Wickliff Chacin and are entitled to recover for the damages SPC Wickliff

   Chacin sustained.

          Brian Williams

          2224. Plaintiff Staff Sergeant Brian Williams served in Afghanistan as a member of the

   U.S. Air Force. On April 25, 2012, SSgt Williams was injured in an IED attack in Helmand

   Province, Afghanistan. The attack severely wounded SSgt Williams, who suffered the

   immediate loss of his left leg below the knee during the blast, which later had to be amputated

   higher, the loss of his left testicle due to trauma, a compound fracture of the left arm, ruptured

   eardrums, missing teeth, soft tissue damage all over his body, and a traumatic brain injury. As a

   result of the April 25, 2012 attack and his injuries, SSgt Williams has experienced severe

   physical and emotional pain and suffering.

          2225. The attack was committed by the Taliban.

          2226. On information and belief, the explosive used in the attack was a CAN fertilizer

   bomb sourced from Fatima Group CAN Fertilizer, which the Haqqani Network purchased from

   Fatima or Pakarab and then transported to al-Qaeda bombmakers operating out of joint al-

   Qaeda/Haqqani Network bomb factories in Pakistan, who converted such fertilizer into an al-

   Qaeda CAN fertilizer bomb derived from al-Qaeda schematics, which the Haqqani Network then

   distributed to the cell that helped commit the attack.

          2227. The attack that injured SSgt Williams would have violated the laws of war if these

   terrorist groups were subject to them because, among other reasons, the terrorist(s) who planted




                                                   581
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 597 of 606 PageID #: 597




   the ID neither wore uniforms nor otherwise identified themselves as enemy combatants and the

   passive detonation system indiscriminately placed civilians at risk.

             2228. SSgt Williams was a national of the United States at the time of the attack, and

   remains one to this day.

             The Clarence Williams III Family

             2229. Specialist Clarence Williams III served in Afghanistan as a member of the U.S.

   Army. On July 8, 2012, SPC Williams was injured in an IED attack in Wardak Province,

   Afghanistan. SPC Williams died on July 8, 2012 as a result of injuries sustained during the

   attack.

             2230. The attack was committed by the Haqqani Network, a part of the Taliban.

             2231. On information and belief, the explosive used in the attack was a CAN fertilizer

   bomb sourced from Fatima Group CAN Fertilizer, which the Haqqani Network purchased from

   Fatima or Pakarab and then transported to al-Qaeda bombmakers operating out of joint al-

   Qaeda/Haqqani Network bomb factories in Pakistan, who converted such fertilizer into an al-

   Qaeda CAN fertilizer bomb derived from al-Qaeda schematics, which the Haqqani Network then

   distributed to the cell that helped commit the attack.

             2232. SPC Williams’s murder would have violated the laws of war if these terrorist

   groups were subject to them because, among other reasons, the terrorist(s) who planted the IED

   neither wore uniforms nor otherwise identified themselves as enemy combatants, and the passive

   detonation system indiscriminately placed civilians at risk.

             2233. SPC Williams was a national of the United States at the time of the attack and his

   death.




                                                    582
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 598 of 606 PageID #: 598




          2234. As a result of the July 8, 2012 attack, SPC Williams was injured in his person

   and/or property. The Plaintiff members of the Williams Family are the survivors and/or heirs of

   SPC Williams and are entitled to recover for the damages SPC Williams sustained.

          The Mark Worley Family

          2235. Plaintiff Sergeant Mark Worley served in Afghanistan as a member of the U.S.

   Army. On August 11, 2012, SGT Worley was injured in an IED attack in Helmand Province,

   Afghanistan. The attack severely wounded SGT Worley, who lost his right leg below the knee,

   and sustained nerve damage in left leg with dropfoot and a deep laceration to his right forearm.

   As a result of the August 11, 2012 attack and his injuries, SGT Worley has experienced severe

   physical and emotional pain and suffering.

          2236. The attack was committed by the Taliban.

          2237. On information and belief, the explosive used in the attack was a CAN fertilizer

   bomb sourced from Fatima Group CAN Fertilizer, which the Haqqani Network purchased from

   Fatima or Pakarab and then transported to al-Qaeda bombmakers operating out of joint al-

   Qaeda/Haqqani Network bomb factories in Pakistan, who converted such fertilizer into an al-

   Qaeda CAN fertilizer bomb derived from al-Qaeda schematics, which the Haqqani Network then

   distributed to the cell that helped commit the attack.

          2238. The attack that injured SGT Worley would have violated the laws of war if these

   terrorist groups were subject to them because, among other reasons, the terrorist(s) who planted

   the IED neither wore uniforms nor otherwise identified themselves as enemy combatants and the

   passive detonation system indiscriminately placed civilians at risk.

          2239. SGT Worley was a national of the United States at the time of the attack, and

   remains one to this day.




                                                   583
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 599 of 606 PageID #: 599




          2240. As a result of the August 11, 2012 attack and SGT Worley’s injuries, each

   member of the Worley Family has experienced severe mental anguish, emotional pain and

   suffering.

          The Sonny Zimmerman Family

          2241. Staff Sergeant Sonny Zimmerman served in Afghanistan as a member of the U.S.

   Army. On July 15, 2013, SSG Zimmerman was injured in an attack involving a recoilless rifle in

   Paktia Province, Afghanistan. SSG Zimmerman died on July 16, 2013 as a result of injuries

   sustained during the attack.

          2242. The attack was committed by the Haqqani Network (a designated FTO at the time

   of the attack and a part of the Taliban), al-Qaeda (a designated FTO at the time of the attack),

   and Lashkar-e-Taiba (a designated FTO at the time of the attack) acting together in a joint cell.

          2243. SSG Zimmerman’s murder would have violated the laws of war if these terrorist

   groups were subject to them because, among other reasons, the terrorist(s) who committed the

   attack neither wore uniforms nor otherwise identified themselves as enemy combatants.

          2244. SSG Zimmerman was a national of the United States at the time of the attack and

   his death.

          2245. As a result of the July 15, 2013 attack, SSG Zimmerman was injured in his person

   and/or property. The Plaintiff members of the Zimmerman Family are the survivors and/or heirs

   of SSG Zimmerman and are entitled to recover for the damages SSG Zimmerman sustained.




                                                   584
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 600 of 606 PageID #: 600




                                       CLAIMS FOR RELIEF

     COUNT ONE: VIOLATION OF THE ANTI-TERRORISM ACT, 18 U.S.C. § 2333(d)
           [All Defendants: Aiding-And-Abetting Liability, Attack Predicate]

          2246. Plaintiffs incorporate their factual allegations above.

          2247. The terrorist attacks that killed or injured Plaintiffs or their family members were

   acts of international terrorism committed by al-Qaeda and the Taliban, including its Haqqani

   Network.

          2248. The terrorist attacks committed by al-Qaeda and the Taliban, including its

   Haqqani Network, which killed or injured Plaintiffs and their family members, were violent acts

   and acts dangerous to human life that violated the criminal laws of the United States and many

   States, or would have violated those laws had they been committed within the jurisdiction of the

   United States or of the States. In particular, each attack constituted one or more of murder,

   attempted murder, conspiracy to murder, kidnapping, and arson, in violation of state law; and the

   destruction of U.S. property by fire or explosive, conspiracy to murder in a foreign country,

   killing and attempted killing of U.S. employees performing official duties, hostage taking,

   damaging U.S. government property, killing U.S. nationals abroad, use of weapons of mass

   destruction, commission of acts of terrorism transcending national boundaries, and bombing

   places of public use, in violation of 18 U.S.C. §§ 844(f )(2) or (3), 956(a)(1), 1114, 1203, 1361,

   2332, 2332a, 2332b, and 2332f, respectively.

          2249. Al-Qaeda’s and the Taliban’s, including its Haqqani Network’s, terrorist attacks

   appear to have been intended (a) to intimidate or coerce the civilian populations of Afghanistan,

   the United States, and other Coalition nations, (b) to influence the policy of the U.S., Afghan,

   and other Coalition governments by intimidation and coercion, and (c) to affect the conduct of




                                                   585
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 601 of 606 PageID #: 601




   the U.S., Afghan, and other Coalition governments by mass destruction, assassination, and

   kidnapping.

          2250. Al-Qaeda’s and the Taliban’s, including its Haqqani Network’s, terrorist attacks

   occurred primarily outside the territorial jurisdiction of the United States.

          2251. Defendants aided and abetted and knowingly provided substantial assistance to al-

   Qaeda and the Taliban, including its Haqqani Network – and aided and abetted and knowingly

   provided substantial assistance to al-Qaeda’s and the Taliban’s, including the Haqqani

   Network’s, attacks on Plaintiffs – by facilitating al-Qaeda’s and the Taliban’s, including the

   Haqqani Network’s, unending supply of Fatima Group CAN Fertilizer for use in CAN fertilizer

   bombs targeting Americans in Afghanistan, and by providing essential U.S. Dollar-related

   financial services to al-Qaeda and Taliban, including Haqqani Network, agents, operatives, and

   fronts to facilitate the repatriation of millions in overseas al-Qaeda, Taliban (including Haqqani

   Network), Lashkar-e-Taiba, Jaish-e-Mohammed, and/or D-Company income back to accounts

   controlled by al-Qaeda and Haqqani Network agents and operatives to finance attacks against

   Americans in Afghanistan.

          2252. The al-Qaeda and Taliban, including Haqqani Network, attacks that killed or

   injured Plaintiffs and their family members were committed, planned, and/or authorized by al-

   Qaeda, which the United States has designated as an FTO under 8 U.S.C. § 1189 since 1999, and

   by the Haqqani Network, which the United States has likewise designated since 2012.

          2253. Plaintiffs are U.S. nationals who were injured in their persons, properties, and/or

   businesses by reason of the terrorist attacks committed by al-Qaeda and the Taliban, including its

   Haqqani Network. Plaintiffs suffered economic, physical, and emotional injuries proximately




                                                    586
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 602 of 606 PageID #: 602




   caused by the attacks; are survivors and/or heirs of U.S. nationals who suffered such injuries; or

   both.

           2254. As a result of Defendants’ liability under 18 U.S.C. § 2333(d), Plaintiffs are

   entitled to recover economic and non-economic damages, including solatium damages.

     COUNT TWO: VIOLATION OF THE ANTI-TERRORISM ACT, 18 U.S.C. § 2333(d)
            [All Defendants: Aiding-And-Abetting Liability, RICO Predicate]

           2255. Plaintiffs incorporate their factual allegations above.

           2256. From at least 2007 through 2016, terrorists from al-Qaeda conspired with Mullah

   Omar and others to conduct and maintain the Taliban, including the Haqqani Network, as a

   terrorist enterprise capable of carrying out sophisticated attacks on American targets in

   Afghanistan. Throughout that time, the Taliban, including the Haqqani Network, was a group of

   associated individuals that functioned as a continuing unit, and the Taliban’s, including the

   Haqqani Network’s, express purpose at all times included violence against, and the expulsion of,

   Americans in Afghanistan. The Taliban, including the Haqqani Network, engaged in, and its

   activities affected, foreign commerce.

           2257. From at least 2007 through 2016, Mullah Omar and other terrorists employed by

   or associated with the Taliban, including the Haqqani Network, and al-Qaeda (including without

   limitation Sirajuddin Haqqani, Jalaluddin Haqqani, Mullah Baradar, Mawlawi Ahmad Bilal, and

   other terrorists described herein) have maintained interests in and conducted the affairs of the

   Taliban, including the Haqqani Network, as an enterprise by engaging in a campaign to expel

   Americans from Afghanistan through crime and anti-American violence (the “Taliban-al-Qaeda

   Campaign”).

           2258. Specifically, Mullah Omar, Sirajuddin Haqqani, and other terrorists employed by

   or associated with the Taliban, including the Haqqani Network, and al-Qaeda conducted and



                                                   587
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 603 of 606 PageID #: 603




   participated in the conduct of the Taliban’s, including the Haqqani Network’s, affairs (and

   conspired to do so) through a pattern of racketeering activity involving crimes that include

   murder, attempted murder, conspiracy to murder, kidnapping, and arson, in violation of state

   law, and the destruction of U.S. property by fire or explosive, conspiracy to murder in a foreign

   country, killing and attempted killing U.S. employees performing official duties, hostage taking,

   damaging U.S. government property, killing U.S. nationals abroad, use of weapons of mass

   destruction, commission of acts of terrorism transcending national boundaries, bombing places

   of public use, financing terrorism, and receiving training from an FTO, in violation of 18 U.S.C.

   §§ 844(f )(2) or (3), 956(a)(1), 1114, 1203, 1361, 2332, 2332a, 2332b, 2332f, 2339C(a)(1)(B),

   and 2339D, respectively. The same terrorists also maintained interests in and control of the

   Taliban (and conspired to do so) through this pattern of racketeering activity.

          2259. The Taliban-al-Qaeda Campaign was an act of international terrorism. It was a

   violent act that was dangerous to human life and that violated the criminal laws of the United

   States prohibiting the conduct or participation in the conduct of an enterprise’s affairs through a

   pattern of racketeering activity, 18 U.S.C. § 1962(c); the maintenance of an interest in or control

   of an enterprise through a pattern of racketeering activity, 18 U.S.C. § 1962(b); and conspiring to

   do either of these acts, 18 U.S.C. § 1962(d); or would have violated these prohibitions had it

   been conducted within the jurisdiction of the United States. The Taliban-al-Qaeda Campaign

   appears to have been intended (a) to intimidate or coerce the civilian populations of Afghanistan,

   the United States, and other Coalition nations, (b) to influence the policy of the U.S., Afghan,

   and other Coalition governments by intimidation and coercion, and (c) to affect the conduct of

   the U.S., Afghan, and other Coalition governments by mass destruction, assassination, and

   kidnapping.




                                                   588
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 604 of 606 PageID #: 604




          2260. The Taliban-al-Qaeda Campaign occurred primarily outside the territorial

   jurisdiction of the United States.

          2261. Plaintiffs are U.S. nationals who were injured in their persons, properties, and/or

   businesses by reason of the Taliban-al-Qaeda Campaign. Specifically, the attacks that injured

   Plaintiffs were part of the pattern of racketeering activity through which Mullah Omar,

   Sirajuddin Haqqani, and other terrorists associated with the Taliban, including the Haqqani

   Network, conducted the affairs of, participated in conducting the affairs of, and maintained an

   interest in or control of the Taliban, including the Haqqani Network. Plaintiffs suffered

   economic, physical, and emotional injuries proximately caused by the Taliban-al-Qaeda

   Campaign; are the survivors and/or heirs of U.S. nationals who suffered such injuries; or both.

          2262. Defendants aided and abetted and knowingly provided substantial assistance to

   the Taliban (including the Haqqani Network), its members, and the Taliban-al-Qaeda Campaign.

   Defendants did so by laundering money for the al-Qaeda, the Taliban, including the Haqqani

   Network, Lashkar-e-Taiba, Jaish-e-Mohammed, and D-Company, that financed the Taliban’s,

   including the Haqqani Network’s, terrorist attacks, and, in the case of the Standard Chartered

   Bank Defendants, by also assuming a role in the Haqqani Network’s bomb-making pipeline by

   enabling Fatima’s and Pakarab’s deliberate supply of Fatima Group CAN Fertilizer to Haqqani

   Network agents, operatives, and fronts to assist the Haqqani Network’s CAN fertilizer bomb

   logistics and undermine U.S. counterinsurgency efforts in Afghanistan.

          2263. The Taliban-al-Qaeda Campaign was committed, planned, and/or authorized by

   al-Qaeda, which the United States has designated as an FTO under 8 U.S.C. § 1189 since 1999,

   and by the Haqqani Network, which the United States has likewise designated since 2012.




                                                  589
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 605 of 606 PageID #: 605




           2264. As a result of Defendants’ liability under 18 U.S.C. § 2333(d), Plaintiffs are

   entitled to recover economic and non-economic damages, including solatium damages.

                                               JURY DEMAND

           2265. In accordance with Federal Rule of Civil Procedure 38(b), Plaintiffs demand a

   trial by jury on all issues so triable.

                                             PRAYER FOR RELIEF

           2266. Plaintiffs request that the Court:

           (a)     Enter judgment against Defendants finding them jointly and severally liable under

                   the Anti-Terrorism Act, 18 U.S.C. § 2333;

           (b)     Award Plaintiffs compensatory and punitive damages to the maximum extent

                   permitted by law, and treble any compensatory damages awarded under the Anti-

                   Terrorism Act pursuant to 18 U.S.C. § 2333(a);

           (c)     Award Plaintiffs their attorney’s fees and costs incurred in this action, pursuant to

                   18 U.S.C. § 2333(a);

           (d)     Award Plaintiffs prejudgment interest; and

           (e)     Award Plaintiffs any such further relief the Court deems just and proper.




                                                    590
Case 1:21-cv-04400-KAM-RML Document 1 Filed 08/05/21 Page 606 of 606 PageID #: 606




   Dated: August 5, 2021

                                        Respectfully submitted,

                                        /s/

                                        Ryan R. Sparacino (pro hac vice forthcoming)
                                        Eli J. Kay-Oliphant
                                        Sparacino PLLC
                                        1920 L Street, NW, Suite 535
                                        Washington, D.C. 20036
                                        Tel: (202) 629-3530
                                        ryan.sparacino@sparacinopllc.com
                                        eli.kay-oliphant@sparacinopllc.com

                                        Counsel for Plaintiffs
